           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 1 of 739
                                                                                                         5/8/2023

                                                                                                         4:42 PM

                  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY                                        5HFHLYHGE\
                                      REGION 8                                                       (3$5HJLRQ9,,,
                                                                                                      +HDULQJ&OHUN

 IN THE MATTER OF:                                 )
                                                   )        Docket No. FIFRA-08-2023-0038
 Berkey International LLC                          )
                                                   )        FIFRA SECTION 13(a)
 Royal Industrial Park, B-2                        )
 869 Km 1.5, Barrio Palmas                         )        STOP SALE, USE, or
 Catano, Puerto Rico 00962                         )        REMOVAL ORDER
                                                   )
 PO Box 2206,                                      )
 Orocovis, Puerto Rico 00720                       )
                                                   )
 Respondent.                                       )


                                             I.        AUTHORITY

1. This Stop Sale, Use, or Removal Order (Order) is issued pursuant to the authority vested in the
   Administrator of the United States Environmental Protection Agency by section 13(a) of the Federal
   Insecticide, Fungicide, and Rodenticide Act, as amended (FIFRA), 7 U.S.C. § 136k(a), which
   authorizes the Administrator of EPA to issue an order prohibiting the sale, use, or removal of any
   pesticide or device by any person who owns, controls, or has custody of such pesticide or device
   whenever there is reason to believe that the pesticide or device is in violation of any provision of
   FIFRA or the pesticide or device has been or is intended to be distributed or sold in violation of any
   provision of FIFRA.

2. The undersigned EPA official has been duly authorized to issue this Order.

                                       II.        GOVERNING LAW

3. Section 12(a)(1)(A) of FIFRA, 7 U.S.C. § 136j(a)(1)(A), provides that it shall be unlawful for any
   person in any state to distribute or sell to any person any pesticide that is not registered under section
   3 of FIFRA, 7 U.S.C. § 136a.

4. Section 12(a)(1)(E) of FIFRA, 7 U.S.C. § 136j(a)(1)(E), provides that it shall be unlawful for any
   person in any state to distribute or sell to any person any pesticide that is misbranded.


5. Section 2(s) of FIFRA, 7 U.S.C. § 136(s), defines a “person” as “any individual, partnership,
   association, corporation, or any organized group of persons whether incorporated or not.”

6. Section 2(t) of FIFRA, 7 U.S.C. § 136(t), defines “pest,” in part, as any “form of terrestrial or
   aquatic plant or animal life or virus, bacteria, or other microorganism (except viruses, bacteria, or
   other microorganisms on or in living man or other living animals) which the Administrator declares
   to be a pest under section 25(c)(1).”




                                                                                                      AR0000001
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 2 of 739



7. Pursuant to the authority in section 25(c)(1) of FIFRA, 7 U.S.C. § 136w(c)(1), the Administrator
   established that “an organism is declared to be a pest under circumstances that make it deleterious to
   man or the environment, if it is: . . . [a]ny fungus, bacterium, virus, prion, or other microorganism,
   except for those on or in living man or other living animals and those on or in processed food or
   processed animal feed, beverages, drugs … and cosmetics . . . .” 40 C.F.R. § 152.5(d).

8. Section 2(h) of FIFRA, 7 U.S.C. § 136(u), defines “pesticide” as “(1) any substance or mixture of
   substances intended for preventing, destroying, repelling, or mitigating any pest, (2) any substance
   or mixture of substances intended for use as a plant regulator, defoliant, or desiccant, and (3) any
   nitrogen stabilizer….”

9. Section 2(gg) of FIFRA, 7 U.S.C. § 136(gg), defines “to distribute or sell” as “to distribute, sell,
   offer for sale, hold for distribution, hold for sale, hold for shipment, ship, deliver for shipment,
   release for shipment, or receive and (having so received) deliver or offer to deliver.”

10. The regulation at 40 C.F.R. § 152.3 further defines the term “distribute or sell” as “the acts of
    distributing, selling, offering for sale, holding for sale, shipping, holding for shipment, delivering for
    shipment, or receiving and (having so received) delivering or offering to deliver, or releasing for
    shipment to any person in any state.”

11. Section 2(p) of FIFRA, 7 U.S.C. § 136(p), defines “label” as “the written, printed, or graphic matter
    on, or attached to, the pesticide or device or any of its containers or wrappers” and defines “labeling”
    in part, as “all labels and all other written, printed, or graphic matter (A) accompanying the pesticide
    or device at any time; or (B) to which reference is made on the label or in literature accompanying
    the pesticide.”

12. Section 2(q)(1) of FIFRA, 7 U.S.C. § 136(q)(1), provides that, among other reasons, a pesticide is
    misbranded if:

       (A) its labeling bears any statement, design, or graphic representation relative thereto or to its
       ingredients which is false and misleading in any particular;

       (B) it is contained in a package or other container or wrapping which does not conform to the
       standards established by the Administrator pursuant to section 136w(c)(3) of this title;

       (C) it is an imitation of, or is offered under the name of, another pesticide;

       (D) its label does not bear the registration number assigned under section 136e of this title
       [FIFRA section 7] to each establishment in which it was produced;

       (E) any word, statement, or other information required by or under authority of this subchapter to
       appear on the label or labeling is not prominently placed thereon with such conspicuousness (as
       compared with other words, statements, designs, or graphic matter in the labeling) and in such
       terms as to render it likely to be read and understood by the ordinary individual under customary
       conditions of purchase and use;


                                                          2




                                                                                                       AR0000002
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 3 of 739



       (F) the labeling accompanying it does not contain directions for use which are necessary for
       effecting the purpose for which the product is intended and if complied with, together with any
       requirements imposed under section 136a(d) of this title [FIFRA section 3(d)], are adequate to
       protect health and the environment; [or]

       (G) the label does not contain a warning or caution statement which may be necessary and if
       complied with, together with any requirements imposed under section 136a(d) of this title
       [FIFRA section 3(d)], is adequate to protect health and the environment[.]

13. Section 2(q)(2) of FIFRA, 7 U.S.C. § 136(q)(2), provides that, among other reasons, a pesticide is
    misbranded if:

       (C) there is not affixed to its container, and to the outside container or wrapper of the retail
       package, if there be one, through which the required information on the immediate container
       cannot clearly be read, a label bearing—
               (i) the name and address of the producer, registrant, or other person for whom produced;
               (ii) the name, brand, or trademark under which the pesticide is sold;
               (iii) the net weight or measure of the content, except that the Administrator may permit
               reasonable variations; and
               (iv) when required by regulation of the Administrator to effectuate the purposes of this
               subchapter, the registration number assigned to the pesticide under this subchapter, and
               the use classification[.]

14. FIFRA’s labeling requirements at 40 C.F.R. part 156 require that labels for pesticide products must
    contain several pieces of information, including the producing establishment number, hazard and
    precautionary statement, and directions for use. 40 C.F.R. § 156.10(a).

                                  III.    BASIS FOR THE ORDER

15. Respondent, Berkey International LLC, is a limited liability company organized under the laws of
    Puerto Rico and is therefore a “person” as that term is defined by section 2(s) of FIFRA, 7 U.S.C.
    § 136(s), subject to FIFRA and its implementing regulations.

16. On November 22, 2022, a representative of the EPA inspected the facility of James Enterprise Inc.
    doing business as Berkey Filters (JEI), located at 1976 Aspen Circle, Pueblo, Colorado 81006, to
    determine compliance with FIFRA.

17. At that November 2022 inspection, the EPA observed Black Berkey Filters and products
    containing Black Berkey Filters being held for distribution and sale.

           a.

18. The Black Berkey Filter product is a water filtration unit that is used in multiple products and may
    be purchased as part of those products or on its own.



                                                       3




                                                                                                  AR0000003
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 4 of 739



19. Travel Berkey Water Filters, Big Berkey Water Filters, Royal Berkey Water Filters, Imperial
    Berkey Water Filters and Crown Berkey Water Filters (Black Berkey Filter Products) are sold
    with Black Berkey Filters inserted in the apparatus.

20. At the November 2022 inspection, EPA Inspectors observed that the Black Berkey Filter labeling
    included the following language:
              “Black Berkey Purification Elements:
                      VIRUSES: >99.999%
                      PATHOGENIC BACTERIA (AND SURROGATES)
                      >99.9999% -Exceeds Purification Standard (Log 6): Bacillius atrophaeus
                      (Anthrax Surrogate)”.

21. At the time of the November 2022 inspection, the EPA observed the following statements regarding
    Black Berkey Filter Products on the website, https://www.berkeyfilters.com/products/black-
    berkey-filter:

       a. “Composition[:] Black Berkey Filters are made of a carbon composite containing high-grade
       coconut shell carbon combined with a proprietary blend of 5 other types of media.”
       b. “Our Black Berkey® Filters (sometimes called Black Berkey Elements) are world famous for
       good reasons. Read below to learn how the Black Berkey® Filters used in all of our systems
       make purified water. It’s a more encompassing level of H20 filtration!”
       c. “The Black Berkey Filters used in all of our systems take water filtration to a whole new level!
       During testing conducted by independent, EPA-approved laboratories, the Black Berkey Filters
       removed a long list of water contaminants with never-before-seen results and significantly raised
       the standard for the water filter industry.”
       d. “A pair of Black Berkey Filters comes standard in all of Berkey Water Filter Systems,
       including the Big Berkey.”
       e. “When drinking water that’s been filtered using a Black Berkey Filter, you can rest assured
       that your water is clean and safe for consumption. In fact, Black Berkey purification elements are
       far more powerful compared to competitors’ water filters.”
       f. “We tested the filters with more than 10,000 times the concentration of harmful pathogens per
       liter of water than is required by industry-standard test protocols. This concentration of
       pathogens is so high that the water exiting the filters should be expected to contain a
       concentration of 100,000 or more pathogens per liter (99.99% reduction — the requirement in
       order to be classified for pathogenic removal).”
       g. “Incredibly, Black Berkey water filter elements removed 100% of the pathogens.”
       h. “After using the Black Berkey Filters, absolutely no pathogens were found in the effluent or
       were able to be detected. This set a new standard, allowing us to classify all systems containing
       the Black Berkey Filters as purifiers.”

22. At the time of the November 2022 inspection, the EPA observed the following statements regarding
    Black Berkey Filter Products on the website, https://berkey-store.com/en/faq/faq-water-filter-
    black-berkey/faq-silver-black-berkey-water-filter.html:




                                                        4




                                                                                                   AR0000004
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 5 of 739



                “Yes, silver is used as an antimicrobial to self-sterilize the Black Berkey® elements.
                Testing was conducted both internally and by Analytical Services, Inc. to ensure that the
                silver used does not leach into the purified water.”

23. These claims indicate that Black Berkey Filter Products are substances or mixtures of substances
    intended for preventing, destroying, repelling, or mitigating any pest, and thus, pesticides pursuant
    to section 2(h) of FIFRA, 7 U.S.C. § 136(u).

24. None of the Black Berkey Filter Products are registered with the EPA.

25. None of the Black Berkey Filter Product labels bear a registration number assigned under FIFRA
    section 7 to the establishment in which the products were produced, making them misbranded
    pursuant to section 2(q)(1)(D) of FIFRA, 7 U.S.C. § 136(q)(1)(D).

26. As a result of that November 2022 inspection, the EPA issued a Stop Sale, Use, or Removal Order,
    FIFRA-08-2023-0011, pursuant to the authority of section 13(a) of FIFRA, 7 U.S.C. § 136k(a), and
    ordered JEI to immediately cease the sale, use, or removal of all Berkey Black Filter Products,
    Sport Berkey Replacement Filters, and Sport Berkey Water Bottle units under its ownership,
    control, or custody, wherever such products are located, except in accordance with the provisions of
    the Stop Sale, Use, or Removal Order, FIFRA-08-2023-0011.

27. As part of the investigation related to the Stop Sale, Use, or Removal Order, FIFRA-08-2023-0011,
    the EPA received information related to the products referenced in the FIFRA Stop Sale, Use, or
    Removal Order, FIFRA-08-2023-0011.

28. EPA has information demonstrating the following:

           a.   Respondent sold or distributed Big Berkey Water Filters;
           b.   Respondent sold or distributed Travel Berkey Water Filters;
           c.   Respondent sold or distributed Crown Berkey Water Filters;
           d.   Respondent sold or distributed Imperial Berkey Water Filters;
           e.   Respondent sold or distributed Royal Berkey Water Filters; and
           f.   Respondent sold or distributed Travel Berkey Water Filters:

29. Accordingly, EPA has reason to believe that Respondent sold or distributed the following Berkey
    Black Filter Products: Travel Berkey Water Filters, Big Berkey Water Filters, Royal Berkey
    Water Filters, Imperial Berkey Water Filters, and Crown Berkey Water Filters.

30. EPA has reason to believe Respondent distributed or sold, and continues to distribute or sell, the
    unregistered pesticides, Black Berkey Filter Products in violation of section 12(a)(1)(A) of
    FIFRA, 7 U.S.C. § 136j(a)(1)(A).

31. EPA has reason to believe Respondent distributed or sold, and continues to distribute or sell, the
    misbranded pesticides Black Berkey Filter Products in violation of section 12(a)(1)(E) of FIFRA,
    7 U.S.C. § 136j(a)(1)(E).


                                                        5




                                                                                                   AR0000005
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 6 of 739



                                            IV.     ORDER

32. Pursuant to the authority of section 13(a) of FIFRA, 7 U.S.C. § 136k(a), EPA hereby orders
    Respondent to immediately cease the sale, use, or removal of all Black Berkey Filter Products,
    under its ownership, control, or custody, wherever such products are located, except in accordance
    with the provisions of this Order.

33. The Black Berkey Filter Products shall not be sold, offered for sale, held for sale, shipped,
    delivered for shipment, received; or, having been so received, delivered, offered for delivery, moved,
    or removed, for any reason, other than in accordance with the provisions of this Order and any
    provisions of any written modifications to this Order.

34. Should Respondent seek an exception to this Order’s prohibitions, Respondent may submit a request
    to EPA, in accordance with the following:

                  a) Requests must be made in writing by electronic mail to Christine Tokarz,
                     Enforcement and Compliance Assurance Division, United States Environmental
                     Protection Agency, at tokarz.christine@epa.gov.

                  b) Any request for movement or removal must include a written accounting of the
                     products to be moved, including the quantity (type, number, and volume of
                     containers) to be moved, the address of the facility from which the products will
                     be moved, the address of the destination facility, and an explanation of the
                     reasons for the request.

                  c) If the movement or removal is for the purposes of disposal, Respondent must
                     provide written proof of disposal to EPA, including proof of compliance with all
                     applicable federal, state, and local laws.

                  d) Any movement or removal of any Black Berkey Filter Products made without
                     prior written authorization from EPA in accordance with this paragraph
                     constitutes a violation of this Order and the distribution or sale of an unregistered
                     and misbranded pesticide in violation of FIFRA.

35. Within 30 days of receipt of this Order, Respondent must submit to EPA a written accounting of the
    Black Berkey Filter Products subject to this Order. The accounting must be submitted to Christine
    Tokarz, at the e-mail address above, and must include the following:

                  a) The complete list of media used in the composition of Black Berkey Filters.

                  b) An accounting of all existing product inventory at any of Respondent’s facilities
                     or warehouses, including the location(s) where the products are held, quantities,
                     and container sizes;

                  c) A list of each shipment of the Black Berkey Filter Products en route to any of
                     Respondent’s establishments from any person on or after the date of this Order.
                     The list shall include the quantities being shipped, including number and types of
                     containers, and amount held by each type of container, the name and address or
                                                        6




                                                                                                    AR0000006
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 7 of 739



                       addresses from which the shipment was shipped and the destination
                       establishment(s); and

                   d) A list of each shipment of Black Berkey Filter Products en route from any of
                      Respondent’s establishments to any person on or after the date of this Order. The
                      list shall include the quantities being shipped, including number and types of
                      containers, and amounts held by each type of container, the establishment from
                      which the shipment was shipped and the destination establishment(s).

36. Respondent must provide EPA with an updated accounting at least every 30 days thereafter until
    Respondent no longer has any Black Berkey Filter Products in its ownership, custody or control.

37. The information requested herein must be provided whether Respondent regards part or all of it as a
    trade secret or confidential business information. Respondent is entitled to assert a claim of business
    confidentiality in accordance with the regulations at 40 C.F.R. § 2.203(b) by labeling such
    information at the time it is submitted to EPA as “trade secret” or “proprietary” or “company
    confidential” or other suitable notice. Information subject to a properly made claim of business
    confidentiality will be disclosed by EPA to the public only in accordance with the procedures set
    forth at 40 C.F.R. part 2, subpart B. If Respondent does not make a proper claim at the time that it
    submits the information in the manner described in 40 C.F.R. § 2.203(b), EPA may make this
    information available to the public without further notice to Respondent.

                                      V.      OTHER MATTERS

38. Respondent may seek federal judicial review of this Order pursuant to section 16 of FIFRA,
    7 U.S.C. § 136n.

39. The issuance of this Order shall not constitute a waiver by EPA of its remedies, either judicial or
    administrative, under FIFRA or any other federal environmental law to address this matter or any
    other matters or unlawful acts not specified in this Order.

40. This Order shall be effective immediately upon receipt by Respondent or any of Respondent’s
    agents.

41. Section 12(a)(2)(I) of FIFRA, 7 U.S.C. § 136j(a)(2)(I), provides that it shall be unlawful for any
    person to violate any order issued under section 13 of FIFRA.

42. This Order shall remain in effect unless and until revoked, terminated, suspended, or modified in
    writing by EPA.

43. If any provision of this Order is subsequently held to be invalid, illegal, or unenforceable, the
    validity, legality and enforceability of the remaining provisions shall not in any way be affected or
    impaired thereby and they shall remain in full force and effect.




                                                         7




                                                                                                     AR0000007
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 8 of 739



                       UNITED STATES
                       ENVIRONMENTAL PROTECTION AGENCY REGION 8



                                                  Digitally signed by
                            DAVID                 DAVID COBB
                                                  Date: 2023.05.04
Date: _____________         COBB
                       By: ____________________________________________________
                                                  18:07:03 -06'00'
                           David Cobb, Section Supervisor
                           Toxics and Pesticides Enforcement Section
                           Enforcement and Compliance Assurance Division




                                           8




                                                                           AR0000008
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 9 of 739
                                                                                                  12/27/2022

                                                                                                    7:00am
                  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                      REGION 8                                                   5HFHLYHGE\
                                                                                               (3$5HJLRQ9,,,
                                                                                                +HDULQJ&OHUN
 IN THE MATTER OF:                                 )
                                                   )        Docket No. FIFRA-08-2023-0011
 James Enterprise, Inc.                            )
 DBA Berkey Filters                                )        FIFRA SECTION 13(a)
                                                   )
 1976 Aspen Circle                                 )        STOP SALE, USE, or
 Pueblo, Colorado 81006                            )        REMOVAL ORDER
                                                   )
 Respondent.                                       )
                                                   )
                                                   )
                                                   )


                                             I.        AUTHORITY

1. This Stop Sale, Use, or Removal Order (Order) is issued pursuant to the authority vested in the
   Administrator of the United States Environmental Protection Agency by section 13(a) of the Federal
   Insecticide, Fungicide, and Rodenticide Act, as amended (FIFRA), 7 U.S.C. § 136k(a), which
   authorizes the Administrator of EPA to issue an order prohibiting the sale, use, or removal of any
   pesticide or device by any person who owns, controls, or has custody of such pesticide or device
   whenever there is reason to believe that the pesticide or device is in violation of any provision of
   FIFRA or the pesticide or device has been or is intended to be distributed or sold in violation of any
   provision of FIFRA.

2. The undersigned EPA official has been duly authorized to issue this Order.

                                       II.        GOVERNING LAW

3. Section 12(a)(1)(A) of FIFRA, 7 U.S.C. § 136j(a)(1)(A), provides that it shall be unlawful for any
   person in any state to distribute or sell to any person any pesticide that is not registered under section
   3 of FIFRA, 7 U.S.C. § 136a.

4. Section 12(a)(1)(E) of FIFRA, 7 U.S.C. § 136j(a)(1)(E), provides that it shall be unlawful for any
   person in any state to distribute or sell to any person any pesticide that is misbranded.

5. Section 12(a)(2)(N) of FIFRA, 7 U.S.C. § 136j(a)(2)(N), provides that it shall be unlawful for any
   person who is a registrant, wholesaler, dealer, retailer, or other distributor to fail to file reports
   required by FIFRA.

6. Section 12(a)(2)(S) of FIFRA, 7 U.S.C. § 136j(a)(2)(S), provides that it shall be unlawful for any
   person to violate any regulation issued under sections 3(a) or 19 of FIFRA.




                                                                                                      AR0000009
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 10 of 739



7. Section 2(s) of FIFRA, 7 U.S.C. § 136(s), defines a “person” as “any individual, partnership,
   association, corporation, or any organized group of persons whether incorporated or not.”

8. Section 2(t) of FIFRA, 7 U.S.C. § 136(t), defines “pest,” in part, as any “form of terrestrial or
   aquatic plant or animal life or virus, bacteria, or other microorganism (except viruses, bacteria, or
   other microorganisms on or in living man or other living animals) which the Administrator declares
   to be a pest under section 25(c)(1).”

9. Pursuant to the authority in section 25(c)(1) of FIFRA, 7 U.S.C. § 136w(c)(1), the Administrator
   established that “an organism is declared to be a pest under circumstances that make it deleterious to
   man or the environment, if it is: . . . [a]ny fungus, bacterium, virus, prion, or other microorganism,
   except for those on or in living man or other living animals and those on or in processed food or
   processed animal feed, beverages, drugs … and cosmetics . . . .” 40 C.F.R. § 152.5(d).

10. Section 2(h) of FIFRA, 7 U.S.C. § 136(u), defines “pesticide” as “(1) any substance or mixture of
    substances intended for preventing, destroying, repelling, or mitigating any pest, (2) any substance
    or mixture of substances intended for use as a plant regulator, defoliant, or desiccant, and (3) any
    nitrogen stabilizer….”

11. Section 2(gg) of FIFRA, 7 U.S.C. § 136(gg), defines “to distribute or sell” as “to distribute, sell,
    offer for sale, hold for distribution, hold for sale, hold for shipment, ship, deliver for shipment,
    release for shipment, or receive and (having so received) deliver or offer to deliver.”

12. The regulation at 40 C.F.R. § 152.3 further defines the term “distribute or sell” as “the acts of
    distributing, selling, offering for sale, holding for sale, shipping, holding for shipment, delivering for
    shipment, or receiving and (having so received) delivering or offering to deliver, or releasing for
    shipment to any person in any state.”

13. Section 2(p) of FIFRA, 7 U.S.C. § 136(p), defines “label” as “the written, printed, or graphic matter
    on, or attached to, the pesticide or device or any of its containers or wrappers” and defines “labeling”
    in part, as “all labels and all other written, printed, or graphic matter (A) accompanying the pesticide
    or device at any time; or (B) to which reference is made on the label or in literature accompanying
    the pesticide.”

14. Section 2(q)(1) of FIFRA, 7 U.S.C. § 136(q)(1), provides that, among other reasons, a pesticide is
    misbranded if:

       (A) its labeling bears any statement, design, or graphic representation relative thereto or to its
       ingredients which is false and misleading in any particular;

       (B) it is contained in a package or other container or wrapping which does not conform to the
       standards established by the Administrator pursuant to section 136w(c)(3) of this title;

       (C) it is an imitation of, or is offered under the name of, another pesticide;

       (D) its label does not bear the registration number assigned under section 136e of this title
       [FIFRA section 7] to each establishment in which it was produced;
                                                        2




                                                                                                       AR0000010
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 11 of 739



       (E) any word, statement, or other information required by or under authority of this subchapter to
       appear on the label or labeling is not prominently placed thereon with such conspicuousness (as
       compared with other words, statements, designs, or graphic matter in the labeling) and in such
       terms as to render it likely to be read and understood by the ordinary individual under customary
       conditions of purchase and use;

       (F) the labeling accompanying it does not contain directions for use which are necessary for
       effecting the purpose for which the product is intended and if complied with, together with any
       requirements imposed under section 136a(d) of this title [FIFRA section 3(d)], are adequate to
       protect health and the environment; [or]

       (G) the label does not contain a warning or caution statement which may be necessary and if
       complied with, together with any requirements imposed under section 136a(d) of this title
       [FIFRA section 3(d)], is adequate to protect health and the environment[.]

15. Section 2(q)(2) of FIFRA, 7 U.S.C. § 136(q)(2), provides that, among other reasons, a pesticide is
    misbranded if:

       (C) there is not affixed to its container, and to the outside container or wrapper of the retail
       package, if there be one, through which the required information on the immediate container
       cannot clearly be read, a label bearing—
               (i) the name and address of the producer, registrant, or other person for whom produced;
               (ii) the name, brand, or trademark under which the pesticide is sold;
               (iii) the net weight or measure of the content, except that the Administrator may permit
               reasonable variations; and
               (iv) when required by regulation of the Administrator to effectuate the purposes of this
               subchapter, the registration number assigned to the pesticide under this subchapter, and
               the use classification[.]

16. FIFRA’s labeling requirements at 40 C.F.R. part 156 require that labels for pesticide products must
    contain several pieces of information, including the producing establishment number, hazard and
    precautionary statement, and directions for use. 40 C.F.R. § 156.10(a).


                                  III.    BASIS FOR THE ORDER

17. Respondent James Enterprise, Inc., doing business as Berkey Filters, is a corporation organized
    under the laws of the State of Colorado and is therefore a “person” as that term is defined by section
    2(s) of FIFRA, 7 U.S.C. § 136(s), subject to FIFRA and its implementing regulations.

18. On November 22, 2022, a representative of the EPA inspected Respondent’s facility located at 1976
    Aspen Circle, Pueblo, Colorado 81006 (the Facility), to determine Respondent’s compliance with
    FIFRA (the Inspection).

19. Upon review of the information collected at the Inspection and upon review of Respondent’s
    website, www.berkeyfilters.com, the EPA has reason to believe Respondent distributed or sold, and
    continues to distribute or sell unregistered and misbranded pesticides, specifically Black Berkey
                                                        3




                                                                                                   AR0000011
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 12 of 739



    Filters, Sport Berkey Replacement Filters, Travel Berkey Water Filters, Big Berkey Water
    Filters, Royal Berkey Water Filters, Imperial Berkey Water Filters, Crown Berkey Water
    Filters, Berkey Light Water Filters, and Sport Berkey Water Bottles, in violation of FIFRA.

         A.     Black Berkey Filters and Products Sold with Black Berkey Filters (Big Berkey
        Water Filters, Royal Berkey Water Filters, Imperial Berkey Water Filters, Crown Berkey
                             Water Filters, and Berkey Light Water Filters)

20. The Black Berkey Filter product is a water filtration unit that is used in multiple products and may
    be purchased as part of those products or on its own.

21. Travel Berkey Water Filters, Big Berkey Water Filters, Royal Berkey Water Filters, Imperial
    Berkey Water Filters, Crown Berkey Water Filters and Berkey Light Water Filters are sold
    with Berkey Black Filters inserted in the apparatus and will be referenced as “Berkey Black Filter
    Products”.

22. Black Berkey Filter labeling includes the following language:
             “Black Berkey Purification Elements:
                    VIRUSES: >99.999%
                    PATHOGENIC BACTERIA (AND SURROGATES)
                    >99.9999% -Exceeds Purification Standard (Log 6): Bacillius atrophaeus
                    (Anthrax Surrogate)”.

23. The EPA observed that Respondent had Berkey Black Filter Products at its Facility being held for
    distribution or sale, and that it offers them for sale and distribution online through its website,
    https://www.berkeyfilters.com/products/black-berkey-filter.

24. Berkey Black Filter Products are available for purchase online at:
    https://www.berkeyfilters.com/products/black-berkey-filter.

25. The EPA observed the following statements regarding Berkey Black Filter Products on the site,
    https://www.berkeyfilters.com/products/black-berkey-filter:

       a. “Composition[:] Black Berkey Filters are made of a carbon composite containing high-grade
       coconut shell carbon combined with a proprietary blend of 5 other types of media.”
       b. “Our Black Berkey® Filters (sometimes called Black Berkey Elements) are world famous for
       good reasons. Read below to learn how the Black Berkey® Filters used in all of our systems
       make purified water. It’s a more encompassing level of H20 filtration!”
       c. “The Black Berkey Filters used in all of our systems take water filtration to a whole new level!
       During testing conducted by independent, EPA-approved laboratories, the Black Berkey Filters
       removed a long list of water contaminants with never-before-seen results and significantly raised
       the standard for the water filter industry.”
       d. “A pair of Black Berkey Filters comes standard in all of Berkey Water Filter Systems,
       including the Big Berkey.”



                                                        4




                                                                                                   AR0000012
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 13 of 739



       e. “When drinking water that’s been filtered using a Black Berkey Filter, you can rest assured
       that your water is clean and safe for consumption. In fact, Black Berkey purification elements are
       far more powerful compared to competitors’ water filters.”
       f. “We tested the filters with more than 10,000 times the concentration of harmful pathogens per
       liter of water than is required by industry-standard test protocols. This concentration of
       pathogens is so high that the water exiting the filters should be expected to contain a
       concentration of 100,000 or more pathogens per liter (99.99% reduction — the requirement in
       order to be classified for pathogenic removal).”
       g. “Incredibly, Black Berkey water filter elements removed 100% of the pathogens.”
       h. “After using the Black Berkey Filters, absolutely no pathogens were found in the effluent or
       were able to be detected. This set a new standard, allowing us to classify all systems containing
       the Black Berkey Filters as purifiers.”

26. The EPA observed the following statements regarding Berkey Black Filter Products on the site,
    https://berkey-store.com/en/faq/faq-water-filter-black-berkey/faq-silver-black-berkey-water-
    filter.html:

               “Yes, silver is used as an antimicrobial to self-sterilize the Black Berkey® elements.
               Testing was conducted both internally and by Analytical Services, Inc. to ensure that the
               silver used does not leach into the purified water.”

27. These claims indicate that Berkey Black Filter Products are substances or mixtures of substances
    intended for preventing, destroying, repelling, or mitigating any pest, and thus, pesticides pursuant
    to section 2(h) of FIFRA, 7 U.S.C. § 136(u).

28. None of the Berkey Black Filter Products are registered with the EPA.

29. None of the Berkey Black Filter Product labels bear a registration number assigned under FIFRA
    section 7 to the establishment in which the products were produced, making them misbranded
    pursuant to section 2(q)(1)(D) of FIFRA, 7 U.S.C. § 136(q)(1)(D).

30. Respondent distributed or sold, and continues to distribute or sell, the unregistered pesticides,
    Berkey Black Filter Products in violation of section 12(a)(1)(A) of FIFRA, 7 U.S.C.
    § 136j(a)(1)(A).

31. Respondent distributed or sold, and continues to distribute or sell, the misbranded pesticides Berkey
    Black Filter Products in violation of section 12(a)(1)(E) of FIFRA, 7 U.S.C. § 136j(a)(1)(E).


               B.     Sport Berkey Replacement Filter and Products Sold with Sport Berkey
                             Replacement Filter (Sport Berkey Water Bottles)

32. The Sport Berkey Replacement Filter product is a water filtration unit that is used in the Sport
    Berkey Water Bottles and may be purchased as part of that product or on its own.



                                                         5




                                                                                                        AR0000013
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 14 of 739



33. Sport Berkey Replacement Filter products are available to purchase online at
    https://www.berkeyfilters.com/products/berkey-sport-filter.

34. A brochure for the Sport Berkey Filter available at
    https://cdn.shopify.com/s/files/1/0167/5480/2788/files/The_Sport_Berkey.pdf?11355, states:

          “The media within the filter element removes contaminants by a surface phenomenon known
          as ‘adsorption’ which results from the molecular attraction of substances to the surface of the
          media. As the bottle is pressed, the source water is forced through the filter. The quality and
          volume of media used, determine the rate of adsorption. The flow rate or time of exposure
          through the filter has been calculated to yield the greatest volume removal of toxic chemicals
          caused by pollution from industry and agriculture. This exclusive filter also incorporates
          proprietary absorbing media that are impregnated into the micro-porous filter for the IONIC
          absorption of pollutants into the filter such as aluminum, cadmium, chromium, copper, lead,
          mercury, and other dangerous heavy metals.”

35. The Sport Berkey Replacement Filter website: https://www.berkeyfilters.com/products/berkey-
    sport-filter, includes the following claims:

           a. “This is the factory original replacement for the filter in the Sport Berkey Water Bottle and
          has the same filtration medium as the larger Black Berkey Filter element.”
          b. “The Sport Berkey® Portable Water Filter is the ideal personal protection traveling
          companion — featuring the IONIC ADSORPTION MICRO FILTRATION SYSTEM. The
          theory behind this innovation is simple. The bottle’s filter is designed to remove and/or
          dramatically reduce a vast array of health-threatening contaminants from questionable sources
          of water, including remote lakes and streams, stagnant ponds and water supplies in foreign
          countries where regulations may be sub standard, at best.”
          c. “The Sport Berkey® Portable Water Filter eliminates or reduces: Harmful microscopic
          pathogens.”

36. The EPA observed that Respondent had Sport Berkey Replacement Filter products at its Facility
    being held for distribution or sale, and that it offers the product for sale and distribution online
    through its website https://www.berkeyfilters.com/products/berkey-sport-filter.

37. These claims on the Sport Berkey Replacement Filter product’s labeling indicate that Sport
    Berkey Replacement Filter is a substance or mixture of substances intended for preventing,
    destroying, repelling, or mitigating any pest, and thus a pesticide pursuant to section 2(h) of FIFRA,
    7 U.S.C. § 136(u).

38. The Sport Berkey Replacement Filter label does not contain an EPA Registration Number or any
    other information regarding registration of the Sport Berkey Replacement Filter as a pesticide
    with the EPA.

39. The EPA has not registered the Sport Berkey Replacement Filter.



                                                        6




                                                                                                    AR0000014
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 15 of 739



40. The Sport Berkey Replacement Filter label does not bear a registration number assigned under
    FIFRA section 7 to the establishment in which the products were produced.

41. Because of the lack of an EPA establishment registration number on the label, Sport Berkey
    Replacement Filter is misbranded pursuant to section 2(q)(1)(D) of FIFRA, 7 U.S.C.
    § 136(q)(1)(D).

42. The Sport Berkey Water Bottles are sold with the Sport Berkey Replacement Filters inserted in
    the apparatus.

43. Because the Sport Berkey Water Bottles are sold with the Sport Berkey Replacement Filters
    inserted in the apparatus, and because the pesticidal claims associated with the Sport Berkey
    Replacement Filters accompany the Sport Berkey Water Bottles, the Sport Berkey Water
    Bottles is also a pesticide pursuant to section 2(h) of FIFRA, 7 U.S.C. § 136(u).

44. The EPA has not registered the Sport Berkey Water Bottle.

45. The Sport Berkey Water Bottle label does not bear a registration number assigned under FIFRA
    section 7 to the establishment in which the products were produced.

46. Because of the lack of an EPA establishment registration number on the label, Sport Berkey Water
    Bottle is misbranded pursuant to section 2(q)(1)(D) of FIFRA, 7 U.S.C. § 136(q)(1)(D).

47. Respondent distributed or sold, and continues to distribute or sell, the following unregistered
    pesticides, the Sport Berkey Replacement Filters and the Sport Berkey Water Bottle, in
    violation of section 12(a)(1)(A) of FIFRA, 7 U.S.C. § 136j(a)(1)(A).

48. The Respondent distributed or sold, and continues to distribute or sell, the following misbranded
    pesticides, the Sport Berkey Replacement Filters and the Sport Berkey Water Bottles, in
    violation of section 12(a)(1)(E) of FIFRA, 7 U.S.C. § 136j(a)(1)(E).

                                            IV.     ORDER

49. Pursuant to the authority of section 13(a) of FIFRA, 7 U.S.C. § 136k(a), EPA hereby orders
    Respondent to immediately cease the sale, use, or removal of all Berkey Black Filter Products,
    Sport Berkey Replacement Filters, and Sport Berkey Water Bottle units (“Subject Products”)
    under its ownership, control, or custody, wherever such products are located, except in accordance
    with the provisions of this Order.

50. The Subject Products shall not be sold, offered for sale, held for sale, shipped, delivered for
    shipment, received; or, having been so received, delivered, offered for delivery, moved, or removed,
    for any reason, other than in accordance with the provisions of this Order and any provisions of any
    written modifications to this Order.

51. Should Respondent seek an exception to this Order’s prohibitions, Respondent may submit a request
    to EPA, in accordance with the following:

                                                        7




                                                                                                      AR0000015
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 16 of 739



                   a) Requests must be made in writing by electronic mail to Christine Tokarz,
                      Enforcement and Compliance Assurance Division, United States Environmental
                      Protection Agency, at tokarz.christine@epa.gov.

                   b) Any request for movement or removal must include a written accounting of the
                      products to be moved, including the quantity (type, number, and volume of
                      containers) to be moved, the address of the facility from which the products will
                      be moved, the address of the destination facility, and an explanation of the
                      reasons for the request.

                   c) If the movement or removal is for the purposes of disposal, Respondent must
                      provide written proof of disposal to EPA, including proof of compliance with all
                      applicable federal, state, and local laws.

                   d) Any movement or removal of any Subject Products made without prior written
                      authorization from EPA in accordance with this paragraph constitutes a violation
                      of this Order and the distribution or sale of an unregistered and misbranded
                      pesticide in violation of FIFRA.

52. Within 30 days of receipt of this Order, Respondent must submit to EPA a written accounting of the
    Subject Products subject to this Order. The accounting must be submitted to Christine Tokarz, at
    the e-mail address above, and must include the following:

                   a) The complete list of media used in the composition of Black Berkey Filters and
                      Sport Berkey Replacement Filters.

                   b) An accounting of all existing product inventory at any of Respondent’s facilities
                      or warehouses, including the location(s) where the products are held, quantities,
                      and container sizes;

                   c) A list of each shipment of the Subject Products en route to any of Respondent’s
                      establishments from any person on or after the date of this Order. The list shall
                      include the quantities being shipped, including number and types of containers,
                      and amount held by each type of container, the name and address or addresses
                      from which the shipment was shipped and the destination establishment(s); and

                   d) A list of each shipment of Subject Products en route from any of Respondent’s
                      establishments to any person on or after the date of this Order. The list shall
                      include the quantities being shipped, including number and types of containers,
                      and amounts held by each type of container, the establishment from which the
                      shipment was shipped and the destination establishment(s).

53. Respondent must provide EPA with an updated accounting at least every 30 days thereafter until
    Respondent no longer has any Subject Products in its ownership, custody or control.

54. The information requested herein must be provided whether Respondent regards part or all of it as a
    trade secret or confidential business information. Respondent is entitled to assert a claim of business
    confidentiality in accordance with the regulations at 40 C.F.R. § 2.203(b) by labeling such
                                                         8




                                                                                                     AR0000016
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 17 of 739



   information at the time it is submitted to EPA as “trade secret” or “proprietary” or “company
   confidential” or other suitable notice. Information subject to a properly made claim of business
   confidentiality will be disclosed by EPA to the public only in accordance with the procedures set
   forth at 40 C.F.R. part 2, subpart B. If Respondent does not make a proper claim at the time that it
   submits the information in the manner described in 40 C.F.R. § 2.203(b), EPA may make this
   information available to the public without further notice to Respondent.

                                      V.      OTHER MATTERS

55. Respondent may seek federal judicial review of this Order pursuant to section 16 of FIFRA,
    7 U.S.C. § 136n.

56. The issuance of this Order shall not constitute a waiver by EPA of its remedies, either judicial or
    administrative, under FIFRA or any other federal environmental law to address this matter or any
    other matters or unlawful acts not specified in this Order.

57. This Order shall be effective immediately upon receipt by Respondent or any of Respondent’s
    agents.

58. Section 12(a)(2)(I) of FIFRA, 7 U.S.C. § 136j(a)(2)(I), provides that it shall be unlawful for any
    person to violate any order issued under section 13 of FIFRA.

59. This Order shall remain in effect unless and until revoked, terminated, suspended, or modified in
    writing by EPA.

60. If any provision of this Order is subsequently held to be invalid, illegal, or unenforceable, the
    validity, legality and enforceability of the remaining provisions shall not in any way be affected or
    impaired thereby and they shall remain in full force and effect.




                                                         9




                                                                                                     AR0000017
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 18 of 739



                        UNITED STATES
                        ENVIRONMENTAL PROTECTION AGENCY REGION 8



                                                  Digitally signed by
                            DAVID                 DAVID COBB
                                                  Date: 2022.12.22
Date: _____________     By: COBB
                            ____________________________________________________
                                                  11:26:00 -07'00'
                            David Cobb, Section Supervisor
                            Toxics and Pesticides Enforcement Section
                            Enforcement and Compliance Assurance Division




                                           10




                                                                            AR0000018
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 19 of 739




+(,121/,1(
Citation: 41 Fed. Reg. 51065 1976




Content downloaded/printed from
HeinOnline (http://heinonline.org)
Wed Jun 24 15:54:41 2015

-- Your use of this HeinOnline PDF indicates your acceptance
   of HeinOnline's Terms and Conditions of the license
   agreement available at http://heinonline.org/HOL/License

-- The search text of this PDF is generated from
   uncorrected OCR text.




                                                                             AR0000019
                         Case 3:24-cv-01106-CVR Document
                                                 NOTICES 57-3 Filed 04/24/24 Page 20 of 739
                                                                                          51065

EPA Reg. N6. 6735-201. Tide Products, Inc.,  Thus, if an article uses physical or                  regulations, no specification is made. For
 BOX 1020, Edinburg TX 78533. TIDE MTA-     mechanical means to trap, destroy, re-                 purposes of enforcement, the Agency will
 THION 5 DUST.Active Ingredients: Mal-. peal, or mitigate any plant or animal life                 consider those classes of devices declared
  atbion (0,0-dimethyl dithlophosphate  of declared to be a pest at 40 CFR 16.14, It
                             5%. Method ofel                                                       to be subject to regulation under section
  diethyl mercaptosuccinate)                                                                       25(c) (4) of the Act as subject to regula-
  Support: Application proceeds under 2(b)       is considered to be a device. If the article
                                                 incorporates a substance or mixture of            tion under sections 8 and 17 as well.
  of interim policy, Application for reregis-
  tration. Pldf6                                 substances intended to prevent, destroy,           IV.    SUmARY or FFRA PRoV.sIONS
EPA"File Symb l 6962-LU. Madison Bionics,        repeal, or mitigate any pest, It is con-                    APPLICABLE TO DEVICES
  11250 W. Addision St., Franklin Park, IL       sidered to be a pesticide.
  60131. PROPER. Active Ingredients: Am-                                                             Any instrument declared to be a device
  monium Oxalate 1.30%; 2,2'-Methylenebls            TMI. DEVICES SUBJECT TO THE ACT               under 40 CFR 162.15 is, upon introduc-
  (3,4,6-Trichlorophenol) 0.30%; Ammonium          Section 25(c) (4) of FP 'RA (7 U.S.C.           tion into channels of trade, subject to the
  Ethylene Diamine Tetraacetate         0.20%;   136w(c) (4)) provides that the Adminis-           provisions discussed below. Those provi-
  2,4.4" - Trichloro-2' - hydroxydiphenylether   trator may specify those classes of de-           sions of the amended FIPRA which per-
  0.10%; Ammonium Ortho Pbenylphenate            vices why spe            ujyt     any o-          tain to devices are in many respects sim-
  0.05%.7 Method of Support: Application         vices which shall be subject to anyU.S.C.
                                                                                     pro-          ilar to those under the 1947 FIFRA (61
  proceeds under 2(b)       of interim policy.   vision of paragraph 2(q) (1)        (7
  P5132                                          136(q) (1)) or section 7 (7 U.S.C. 136e)          Stat. 163; 7 U.S.C. 135-135k). In both
EPA File Symbol 6962-LE. Madison Bionlcs.        of this Act upon his determination that           Acts the Agency is authorized to inspect
 DISINFECTANT 4045. Active Ingredients:          application of such provision is neces-           records showing the delivery, movement,
 Isopropanol 15.00%;- Potassium ortho-           sary to effectuate the purposes of this           or holding of devices (7 U.S.C. 135c,
 phenylphenate 4.40%; Potassium o-benzyl-        Act. On July 3, 1975, the Administrator           136f); to obtain samples of any device
 p-chlorophenate   4.05%;    Tetrasodium         promulgated regulations (40 P.R. 28242)           in the marketplace (7 U.S.C. 135d, 136g);
  ethylenediamine.tetraacetate 1.60%. Meth-                                                        to seize any misbranded device (7 U.S.C.
  od of. Support: Application proceeds under     amending 40 CFR Part 162 pursuant to
                                           this authority. 40 CFR 162.15 now pro-                  135g, 136k) ; to initiate criminal proceed-
 2(a) of interim policy. PM32                                                                      ings against any person violating any
                                                              as defined in FIFRA
EPA Pile Symbol 807-A. Allen Chelca1 Co., vides that devicessubject to the require-                provision of the Act (7 U.S.C. 135f, 136Z);
 3235 N. W. 37th St., Miami FL 33142. ALCO section 2(h) are
 TOWER BIOCIDE #13. Active Ingredients: ments of FIFRA section 2(q) (1) (A) -(G)                   and. in cooperation with the Secretary
  D iso di uim        cyanodithiomidocarbonate   and to those provisions of FIFRA section          of the Treasury, to sample, examine, and
  3.68%; Potassium N-methyldithiocarba-          7 which are necessary to effectuate the           detain any imported device which vio-
  mate 5.07%. Method of Support: Applica-        purposes    of   FIFRA with       respect   to    lates the provisions of the Act (7 U.S.C.
  tion proceeds under 2(b) of interim policy,    devices.                                          135h, 136o).
  PM33                                             The preamble to these regulations at               The differences In the provisions of the
  [FRDoc.76-34122 Filed 11 -18-76;8:45 am]       40 P.R. 28266 declared that to effectuate         two Acts with respect to requirements
                                                 the purposes of the Act, devices subject          applicable to devices, lie primarily in the
                    - [to                          sections 2(q) (1) and 7 include but are         greater specification of jurisdiction and
            S[FRL 616-5]                         notlhhited to:                                    reulatory requirements provided by the
 PEST CONTRAL DEVICES AND DEVICE                   (A), Certain ultraviolet light systema,         1972 amendments. For example, while a
                   PRODUCERS                     ozone generators, water filters and air filters   device, unlike a pesticide, is not subject
                                                 (except those containing        substances or     to the section 3 registration requirement
     Consolidation and Clarification of          mixtures of substances which are pesticides).     of PIFRA, section 12 of the Act makes
                   ReRq uirements,               and ultrasonic devices, for which claims are
                                                                                                   clear the intent of the Act that subject
                    L PURPOSE                    made to kill, inactivate, entrap, or sup-         devices and persons dealing with devices
                                                 press the growth of fungi, bacteria, or viruses   be held responsible for those obligations,
  "e Requirements applicable to pest             in various sites; (B) certain high frequency
control devices and device producers             sound generators, carbide cannons, foils, and     other than registration, that are imposed
have been set forth in various regula-           rotating devlces, for which claims are made       by the Act. Jurisdiction to regulate de-
tions promulgated pursuant to the Fed- to repel birds; (C) black light traps, fly traps,           vices Is expanded to ntra- as well as
eral Insecticide, Fungicide, and Roden-
                                                                                    and
                                                 electronic and heat screens, fly ribbons,         interstate commerce (7 U.S.C. 136j(a)
                                              entrap for
                                          or paper,
ticide Act, as amended (86 Stat. 973; 89S fly                   claims are made to kill
                                                         which insects;                            (1)).    Similarly, section 9(a) of the
                                                      certain           and (D) mole               amended FIFRA specifies that entry for
Sat.751; 7 U.S.C. 136 et seq.) ("P-IMA!, thumpers, sound repellents, folts and rotat-
or "the Act"). The purpose of this notice Ing devices, for which claims are made to                the purpose of inspecting and obtaining
is ti provide a consolidation and clarifi-       repel certain mammals.                            samples of devices "packaged, labeled,
cation of all such requirements. e                 The preamble further specifies those            and released for shipment is permitted
                                                                                                   into "any establishment or other place
              31. DEFINITIONS                    instruments declared to be of a character         where 0      * devices are held for dis-
   At section 2(h) of FIFRA (7 U.S.C. 136-       unnecessary to be subject to this Act in          tribution or :sale (7 U.S.C. 136g(a)).
 (h)) the term "device" is defined to            order to carry out the purposes of the               With respect to affirmative regulatory
mean:                                            Act. These include:                               requirements, section "2(q) (1) of the
* .;-any instrumint or contrivance (other           (1) Those which depend for their eifec-        amended FRA expands the definition
                                                 tiveness more upon the performance of the         of misbranding as it applies to devices
-than a firearm) which is intended for trap-                                                       subject to the Act.(7 U.S.C. 136(q) (1)).
                                                               the deviceItself,
                                                 person using the                on the, per-
                                                                           than and
ping, destroying, repelling, or mitigating any   formance of       device
pest or any other farm of plant or animal           (2) Those which operate to entrap ver-         Section 7 of the amended FIFRA is
life (other than man and other than bacteria,    tebrate animals.                                  totally new, requiring the registration
virus, or other microorganism on or in living       Products generally falling within these        of establishments which produce devices
 man or other living animals); but not in-       two categories include rat and mouse traps,       declared subject to the Act (7 UZS.C.
cluding equipment used for the application       fly swatters, tillage equipment for weed con-     136e). In addition to the provisions of
of pesticides when sold separtely therefrom.     trol and fish traps.                              the Act allowing the inspection of rec-
  To more clearly identify the types of            Section 8 of FIFRA (7 U.S.C. 136f)              ords kept by producers and distributors
products to which the requirements dis-          provides for such record-keeping and              of devices, section 8(a) of the amended
cussed in this Notice apply, the term             record inspection requirements as the            PIFRA requires producers of devices sub-
"device" must be contrasted with the             Administrator determines necessary for            Ject to the Act to maintain such books
term "pesticide," which is defined at sec-       effective enforcement of the Act. Section         and records as the Administrator re-
tion 2(u) of FIFRA to mean:                      17 specifies the requirements to be placed        quires by regulation (7 U.S.C. 136f(a)).
 * * * any substance or mixture of substances     on the import and export of devices. In          Finally, section 17(a) of FIFRA, as
                                                                                                   amended, specifically imposes the same
 intended for preventing, destroying, repel. neither of these sections is there a pro-             recordkeepng requirements on producers
 ling, or mitigating any pest, and any sub- vision that the Administrator declare
 stance or mixture of substances -intended                                                         of devices Intended for export by making
 for use as plant regulator, defoliant, or desic- those claises of devices subject to these        such producers subject to the require-
 cant.                                            sections of the Act; and in the attendant        ments of section 8.



                                      FEDERAL REGISTER,   VOL 41, NO. 225-FRIDAY, NOVEMBER 19, 1976




                                                                                                                                             AR0000020
                  Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 21 of 739
51066                                                              NOTICES
V. ELABORATION OF SPECIFIC REQUIRE-              pursualit to section 25(c) to be subject              169.2(d): Records showing the follow-
     MENTS APPLICABLE TO DEvIcEs                 to the provisions of section 7 of the             ing information regarding the shipment
  A. Section 2(q) (1), MisbrandingPro-           Act!'                                             of devices: (1) Brand name of device, (2)
visions (7 U.S.C. 136(q) (1)). With pro-,              Section 7 Imposes three basic require-      Name and address of the consignee, (3)
mulgation of the regulations at 40 CFR            ments: (1) Registration of device-pro-           Name of originating carrier, (4) Date
162.15, which invoked the authority of            ducing establishments, (2) labeling              shipped or delivered for shipment, and
section 25(c) (4) to specify devices sub-         which reflects the EPA establishment              (5) Quantities shipped or delivered for
ject to sections 2(q) and 7 of the Act,           number assigned to the establishment In          shipment.
the labeling requirements of the 1947             which the device-was produced, and (3)              These records shall be retained for two
FIFRA to which devices had been sub-              submission of annual production reports.         years.
ject were expanded (7 U.S.C. 135(z) (1)). subject      All establishments in which devices             169.2(e): Inventory records with re-
Those misbranding provisions of section                       to the Act are produced must be      spect to the types and amounts of de-
2(q) (1) of the amended FIFRA which registered with the Environmental Pro-                         vices in stock which he has produced,
the Administrator has made applicable tection                 Agency as producing establish-       These records may be disposed of when
to devices are listed at 40 CPR Part ments.                   This includes foreign establish-     a more current inventory record Is pre-
 162.15(b). In summary, a device will be ments in which devices shipped to the                     pared.
subject to enforcement action if                  United States. are produced, as well as              169.2(h): In the case of devices in-
                                                  establishlments located in the United            tended solely for export to any foreign
    2(q) (1) (A): -Its labeling bears any state- States which produce devices for export.
ments, designs or graphic representations                                                          country, copies of the Speciflcations or
relative thereto or to its ingredients which
                                                       To register establishments, producers       directions of the foreign purchaser for
are false or misleading in any particular;,       should obtain from an EPA regional               the production of the devices. These rec-
    2(q) (1) (B): Its packaging or wrapping office the Application for Registration                ords shall be retained for two years after
fails to conform with standards established of Pesticide-Producing Establishments                  expiration of the contract.
pursuant to section 25(c) (3) (Such stand- (EPA Form 3540-8). The applications re-                    Pursuant to the authority of sectioll
ards have not, as of this date, been issued quire such information as the name and                 8(b) of the Act, 40 CFR 169.3(b) requires
by the Administrator; at such time as they address of the company headquarters                     that distributors, carriers, dealers or
are, the question of their applicability to and the names and addresses of all de-
devices will be addressed);           -                                                            other persons who sell or deliver (or of-
   2(q) (1) (C): It Is an imitation of, or is
                                                  vice-producing establishments owned              fer to sell or deliver) devices declared
offered for sale under the name-of another and operated by the company. This ap-                   subject to the Art, allow Inspection of
 device;                                         -plication     must be submitted to the re-       the records they have pertaining to the
    2(q) (1)(D): Its label tails to bear the gional office on or before January 18,                following:
 establishment number,                             1976. Upon receipt of a completed appli-            (1) The delivery or holding of the de-
    2(q) (1) (E): Required information is not      cation, the regional office shall register       vice and quantity held; (2) Date of ship-
.promlnently displayed on the label;               each establishment listed
    2(q) (1) (F) : It lacks adequate directions sign each establishment anand          shall as-
                                                                                    EPA estab-
                                                                                                    ment and receipt; (3) Name and address
for use; or                                                                                         of consignee and consignor; and (4) Any
    2(q) (1) (0): It lacks an adequate warning lishment number. This EPA establish-                guarantees received pursuant to section
 or caution statement.                             ment number must be displayed on all             12(b) (1).
                                                   devices released for shipment by the es-            D. Section 17, Imports and Exports (Q
    40 CFR 162.10(a) (5) provides an in- tablishment after 90 days after the pro-                   U.S.C. 136o). On August 1, 1975, regulh-
 terpretation of what the term "false and ducer is notified of the assigned number.                 tions (19 CPR Part 12.1) for the Imple-
 misleading" may include in the context                  The production reports (EPA Form           mentation of section 17, Imports and Ex-
 of FIFRA section 2(q) (1) (A) misbrand- 3540-16) must be submitted to thev re-
 ing:                                                                                              ports, were Published In the FEDERAL REa-
                                                   gional office .within thirty days after         ISTER (40 PR 32321). These regulations
    A false or misleading statement concern- notification of reglstration and by Feb-               require that devices produced by foreign
 Ing the coniposition of the product;              ruary 1 each year thereafter.                   manufacturers and imported Into the
    A false or misleading statement concern-            C. Section 8, Books and Records (7
 Ing the effectiveness of -the product; -                                                          United States comply with all require-
    A false or misleading statement about the
                                                   U.S.C. 136f). On September 18, 1974,             ments applicable to domestic producers,
 value of the product for purposes other than regulations (40 CM Part 169) for the                 In addition, the regulations require an
 as a device;                                      implementation of section 8. Books and           importer to submit to EPA a Notice of
    A falle or misleading comparison with Records, were published in the FEDERAL                   Arrival of Pesticides and Devices (EPA
 ether devices;                                    REGISTER (39 P.R. 33512). Pursuant to            Form 3540-1, available at any EPA of.
    Any statement directly or indirectly im-       the authority of section 8(a) of the Act,        fice) for review and determination as to
 plying that the device is recommended or these regulations- (at 40 CFR 162.2)
 endorsed by any, agency of the Federal Gov- specify those records pertaining to de-                whether the shipment should be sampled
 ernment;                                                                                          and/or permitted entry Into the United
    A true statement used in such away as to
                                                   velopment, testing, production, holding,         States. The Act also provides that sam-
 give a false or misleading impression to the and distribution, which all producers of              ples may be collected and examined and
 purchaser.                                        devices declared-subject to the Act are          that shipments may be permitted entry,
    Label disclaimers which negate or detract required to maintain and submit to in-                detained until brought into complanco,
 from labeling statements required under the spection. These requirements apply to                  destroyed, or re-exported.
 Act and regulations; or                            domestic and foreign persons producing
    Non-numelecal and/or comparative state- devices for sale and distribution in the                   With respect to devices produced In
 ments on the safety of the product.                                                                this country for export, section 17(a) of
                                                    United States and to domestic producers         the FIFRA as amended requires that
     B. Section 7, Registration of Establish- who export devices.                                   such devices must be prepared or packed
 ments (7 U.S.C. 136e). On November 6,                   Specifically, producers of devices sub-    in accordance with the specifications or
  1973, regulations (40 CFR Part 167) for ject to the Act are required to maintain                  directions of the foreign purchaser and
  the implementation of section 7, Regis- the following records: "                                  that producers of such devices must
 tration of Establishments, were published               169.2(b): Records showing the brand        maintain books and records pursuant to
  in the FEDERAL REGISTER (38 P.R. 30557). names and quantities of devices pro-                     section 8(a).
 The scope of the requirements is set forth duced. These records shall be retained
 at § 167.2(a) : !'All establishments, as de- for two years.                                            VI. ENFoRcEmENT AunioITIES
  fined in this part, which produce any                  169.2(c): Records showing the follow-        Section 9(a) (7 U.S.C. 136(g) (a)) of
  pesticide or device subject to the provi- ing information regarding the receipt of               the Act authorizes officers of the Agency
  sions of this section, must be registered, devices: (1) Brand name of device, (2)                to inspect any establishment or other
  pursuant to the requirements of these Name and address of shipper, (3) Name                      place where a device is held for distribu-
  regulations * * " At-§ 167.1(k) the term of delivering carrier, (4) Date received,               tion or sale in order to obtain a sample of
  "device" is defined as " * * any device and (5) Quantities received.                             the device as packaged, labeled and re-
                                                                                                   leased for shipment, and samples of any
  or class of devices as defined by the Act              These records shall be retained for two   containers or labeling for the device. Of-
  and determined by the Administrator years.                                                       ficers of the Agency are also authorized

                                     FEDERAL REGISTER, VOL 41,     NO. 225-FRIDAY, NOVEMBER 19, 1976




                                                                                                                                        AR0000021
                       Case 3:24-cv-01106-CVR Document
                                                NOTICES 57-3 Filed 04/24/24 Page 22 of 739 51067

      to inspect books and records required to lngton, D.C. 20250, had fied an applica-             would likely be once in 6 to 10 years, and
      be maintained under section 8(a) and tion with the EPA to register the pest-                  therefore exposure of fish and wildlife to
      coples of records which, are available icide product TM BIOCONTROL-1                   con-   this product would be minimaL Because
     under section 8(b).                              taning 3.5 percent of the active in-          the data submitted by the registrant have
          Pursuantto section 12 (a) (2) (B) of the gredient polyhedral inclusion bodies of          adequately demonstrated that this prod-
     Act, it is unlawful for any -personto re- Douglas Fir Tussock Moth nucleopolyhe-               uct Is fundamentally different from the
     fuse to keep or to permit inspection of drosis virus which was not previously                  products for which the fish and wildlife
     books and records, or to refuse to permit registered at the time of submission. The            testing requirements were designed, a
     inspection of an establishment. Pursuant application received from the USFS             pro-   waiver of the data listed above'is both
-    to section 12(a) (1) (F) of the Act, it is posed that the product be used in aerial            appropriate and acceptable.
     unlawful to sell or distribute any device application to control Douglas Fir Tus-                 This application was approved Au-
     which is misbranded. Finally, pursuant sock Moth and that the product be class-                gust 11, 1976, and the product has been
     to section 12(a) (2) (L) of the Act, it Is ified for general use. PAM17.                       assigned the EPA Registration No.
     unlawful to violate any provision of sec- . Having considered the evidence sub-                27586-1. Notice of registration is given in
      tion 7.                                         mitted by USPS in their application for       accordance with the regulations (40 CFR
          Upon    a finding  of  any  imlawful   act, registration and the data submitted in        180.7(d) (2)) for the enforcement of
     the Administrator        may    assess  a  civil support thereof, the Administrator has        the Federal Insecticide, Fungicide, and
                                       14(a)  of the  made a written finding pursuant to the        Rodenticide Act (FIFRA), as amended
     penalty pursuant to section                      regulations (40 CPR 180.6(a) (3)) with         (86 Stat. 973; 89 Stat. 751, 7 U.S.C. 136(ap
     Act or initiate criminal proceedings      pur-
     suant to section 14(b) of the Act. If, respect            to whether such properties of TM     et seq.).
     upon inspection or tests, a device is be- from   Biocontrol-I are fundamentally different         Test data and other information sub-
                                                             the factors considered by EPA in       mitted in support of this registration as
     lieved to be in violation of-the Act, or if establishing the data requirements set
   - it   is believed that a device is intended to forth in the Registration Guidelines. Al-        well as such other scientific information
     be distributed or sold in violation of the                                                     deemed relevant to the registration deci-
                                                               the Guidelines were published as
     Act, a Stop Sale, Use or Removal Order though                rules in the FrzRAr   Rzcxssz't
                                                                                                    sion, except for such material protected
     may be Issued pursuant to section 13(a). proposedon June 25, 1975 (40 FR 26802) ,'and have
                                                                                                    by section 3(c) (1) (D) and section (10)
     Additionally, section 13(b) authorizes In not                                                  of FIFRA. will be available for public in-
                                                            as yet been promulgated in their        spection in the office of the Information
     rem seizure proceedings in a federal dis- -final form, the basic data requirements
     trict court against      any   device which   Is                                               Coordination Section, Technical Services
     misbranded or which, when used in ac- resent     set forth in the proposed Guidelines rep-     Division (WH-569), Offce of Pesticide
     cordance with the requirements imposed necessary           the data currently considered       Programs, Room EB-31, East Tower, 401
     under the Act causes unreasonable ad- a pesticide             to support the registration of   M St., Washington, D.C. 20460.
                                                                      product. Acordingly, the
  -verse effects upon the environment. notification of data waiver will apply to                       It is suggested that persons interested
     Finally, the Administrator may seek in- the supporting data now required by the                in viewing these data notify the Infor-
     junctive relief pursuant to section 16(c) Agency and set forth In the proposed                 mation Coordination Section, either by
     to prevent and restrain, violations of the                                                     letter at the above .address or by tele-
     Act.                                             Guidelines.                                   phone at 202/426-2690, prior to visiting
                   VIL PUBLIC COrMNT                     The Administrator has found that the
                                                      submission of certain data is not neces-      the EPA Headquarters Office so that
          The Administrative Procedure Act (5 Isary for determining whether TM Blo-                 clearance procedures may be instituted
    'U.S.C. 533(b)) provides that the solici- control-1 will generally cause unreason-              and the appropriate data made available
     tation of comments Is not required of able adverse effects on man or the en-                   for review purposes pursuant to the reg-
     Federal agencies for "interpretative vironment. Specifically, the following                    ulations for section 3(c) (2) of FIFRA
     rules, general statements of policy, or required data have been waived by the                   (40 CFR 162.7(f)).
     rules of agency organization, procedure, Administrator for the polyhedral inclu-                  Dated: November 15, 1976. -
     or -ractice." EPA has determined that sion bodies of the nucleopolyhedrosis vi-                                   Eawnr L. JomsoN,
     this Notice falls within this exemption rus of the Douglas Fir Tussock Moth:
     from the requirement to solocit public                                                            Deputy Assistant,Administration
                                                         1. Avian 8-day dietary L. study utlliLng                   for PesticidesProgram.
     commint. Nonetheless, interested per- a native upland game bird, preferably bob-
     sons may submit written comments re- white quail.                                               IFR Doz.79-34120 Fled 11-18-76;8:45 ami
     garding the policy set forth in this                2. Acute Lt studies to 06 hours on a na-
     Notice to the Pesticides and Toxic Sub- tive cold and warm water species of fish.                          [FRL 647-2; OPP- 3000QI/l
     stances Enforcement Division (EN-342), preferably utilizing trout and bluegZI sun-
      Oflfice of Enforcement, U.S. Environ-                                                                   PESTICIDE PROGRAMS
     mental Protection Agency, 401 M St., hours,         3. Acute aquatic invertebrate L,, to 48
                                                              preferably utilizing daphnia sp.       Intent to Process Pesticide Products for
     SW, Washington, D.C. 20460. Three                                                                    Reregistration--Sperm Whale Oil
    -copies of these comments should be sub-             The primary basis of this waiver is
     mitted to facilitate the work of the EPA due to the natural presence of the nu-                   The Deputy Assistant Administrator,
     and others interested in inspecting such cleopolyhedrosis virus In the environ-                Office of Pesticide Programs, Environ-
    -documents.                                       ment and its role in bringing about the       mental Protection Agency (EPA) has de-
                                                      collapse of epizootlc Douglas Fir Tus-        termined that the use of pesticide prod-
          Dated: November 8, 1976.                    sock Moth populations. During out-            ucts containing sperm whale oil which
                         STAxLL*Y W. LEGRO,                                                         has already been stockplleddoes not re-
                      Assistant Administrator         breaks of the Tussock Moth, large
                                for Enforcement.      amounts of this virus are naturally re-       sult in fatality to members of endan-
                                                      leased 'into the environment. Moreover,       gered species; accordingly, such product
         1F. Doc.76-34119 niled 11-18-7-68:45 am]      data presented by the registrant demon-      registrations will be returned to the Reg-
                                                      strate that a much greater amount of          Lstration Division, Office of Pesticide Pro-
                 -[IEL 646-2; OPP-30114A l            this virus is released naturally nto'the      grams, for processing according to nor-
                                                       environment through ther collapse of
                   PESTICIDE PROGRAMS                 Douglas Fir Tussock Moth populations          mal reregistration and classification
      Approval of Application to Register Pesti. than is released through the application           procedures.
          cide Product Containing A New Active of this .product as a suppression                      I. Regulatory provisons. On July 3,
           Ingredient and Waiver of Data              measure.                                      1975 (40 FR 28242), EPA promulgated
          On Apri1 21, 1976, the Environmental           Finally, It should be noted that this      regulations (40 CM 162) for the regis-
      Protection Agency (EPA) gave notice product can be used against only one                      traton, reregistration, and classification
        (41 F R 16692) that the United States pest, the Douglas Fir Tussock Moth, and               of pesticldes, pursuant to Section 3 of
      Forest Service (USFS), 1205-B (RPE), that infestations of this pest are cyclic in             the Federal Insecticide, Fungicide and
      14th and Independence Ave. SW, Wash- nature; the maximum use of this product


                                        FEDERAL REGISTER, VOL 41, NO. 225--FRIDAY, NOVEMBER         19, 1976




                                                                                                                                             AR0000022
 Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 23 of 739




   FIFRA ENFORCEMENT RESPONSE POLICY
FEDERAL INSECTICIDE, FUNGICIDE, AND RODENTICIDE ACT




            Waste and Chemical Enforcement Division
                    Office of Civil Enforcement
         Office of Enforcement and Compliance Assurance
          United States Environmental Protection Agency

                          December 2009




                                                                      AR0000023
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 24 of 739


                FIFRA ENFORCEMENT RESPONSE POLICY

                                         TABLE OF CONTENTS

I.     INTRODUCTION ............................................................................................................... 4

II.    OVERVIEW OF THE POLICY..........................................................................................4

III.   DETERMINING THE LEVEL OF ACTION .....................................................................5

       A.        Notices of Warning ..................................................................................................5

       B.        Notices of Detention (Section 17)............................................................................6

       C.        Stop Sale, Use, or Removal Orders (SSURO).........................................................6
                 1.     Issuance of a SSURO...................................................................................7

       D.        Seizures ....................................................................................................................8

       E.        Injunctive Relief.......................................................................................................9

       F.        Civil Administrative Penalties .................................................................................9

       G.        Denials, Suspensions, Modifications, or Revocations of
                  Applicator Certifications......................................................................................11
                 1.     Suspension .................................................................................................11
                 2.     Denial/Revocation......................................................................................12

       H.        Recalls....................................................................................................................12
                 1.     Cancelled and Suspended Products ...........................................................12
                        a.          Mandatory Recalls .........................................................................12
                        b.          Voluntary Recalls...........................................................................13
                 2.     Other Recalls..............................................................................................13

       I.        Criminal Proceedings.............................................................................................13
                 1.    Parallel Criminal and Civil Proceedings....................................................14

       J.        State and Federal Roles in Enforcement of FIFRA ...............................................15

       K.        Press Releases and Advisories ...............................................................................15

IV.    ASSESSING ADMINISTRATIVE PENALTIES.............................................................15

       A.        Computation of the Penalty ...................................................................................15
                 1.   Independently Assessable Violations ........................................................16
                 2.   Size of Business .........................................................................................17
                 3.   Gravity of the Violation .............................................................................18
                 4.   Base Penalty Amount.................................................................................18

                                                                 -2-
                                                                                                                                          AR0000024
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 25 of 739


                   5.        Adjustments for Case-Specific Factors......................................................19
                   6.        Economic Benefit of Noncompliance........................................................20
                             a.      Economic Benefit from Delayed Costs
                                      and Avoided Costs .......................................................................21
                             b.      Calculation of Economic Benefit from
                                      Delayed and Avoided Costs.........................................................21
                             c.      Additional Information on Economic Benefit ...............................23
                   7.        Ability to Continue in Business/Ability to Pay .........................................23

         B.        Modifications of the Penalty..................................................................................25
                   1.    Graduated Penalty Calculations.................................................................25
                   2.    Voluntary Disclosure .................................................................................26
                   3.    Adjusting the Proposed Civil Penalty in Settlement..................................27
                         a.      Factual Changes .............................................................................27
                         b.      Negotiations Involving Only the Amount of Penalty ....................27
                                 i.      Good Faith Adjustments ....................................................27
                                 ii.     Special Circumstances/Extraordinary Adjustments...........27
                                 iii.    Supplemental Environmental Projects (SEPs)...................28

APPENDICES

APPENDIX A - FIFRA VIOLATIONS AND GRAVITY LEVELS ...........................................29

APPENDIX B - GRAVITY ADJUSTMENT CRITERIA ............................................................34

APPENDIX C - SUMMARY OF TABLES..................................................................................36

APPENDIX D - FIFRA CIVIL PENALTY CALCULATION WORKSHEET ...........................38

APPENDIX E – ENFORCEMENT RESPONSE POLICY FOR FIFRA
                SECTION 7(c) – PESTICIDE PRODUCING
                ESTABLISHMENT REPORTING REQUIREMENTS
                (June 2007).....................................................................................................

APPENDIX F – FIFRA: WORKER PROTECTION STANDARD (WPS)
                 PENALTY POLICY – INTERIM FINAL
                 (September 1997)...........................................................................................

APPENDIX G – ENFORCEMENT RESPONSE POLICY FOR THE FIFRA
                GOOD LABORATORY PRACTICES (GLP) REGULATIONS
                (September 1991)...........................................................................................




                                                             -3-
                                                                                                                               AR0000025
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 26 of 739


                                       I. INTRODUCTION
        This document sets forth guidance for the U.S. Environmental Protection Agency (EPA
or the Agency) to use in determining the appropriate enforcement response and penalty amount
for violations of the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA or the Act). 1
The goal of this Enforcement Response Policy (ERP) is to provide fair and equitable treatment of
the regulated community, predictable enforcement responses, and comparable penalty
assessments for comparable violations. The policy is designed to allow swift resolution of
environmental problems and to deter future violations of FIFRA by respondents, as well as other
members of the regulated community.

        This policy supersedes the “Enforcement Response Policy for the Federal Insecticide,
Fungicide, and Rodenticide Act (FIFRA)” issued on July 2, 1990 and other FIFRA penalty
policies, except for the following policies, which remain in effect: the June 2007 “Enforcement
Response Policy for FIFRA Section 7(c), Pesticide Producing Establishment Reporting
Requirement”; the September 1997 “FIFRA: Worker Protection Standard (WPS) Penalty Policy
– Interim Final”; and the September 1991 “Enforcement Response Policy for the FIFRA Good
Laboratory Practices (GLP) Regulations.” These policies are to be used as supplements to this
policy to determine the appropriate enforcement response for the referenced programs. We have
attached these policies as appendices to this document for ease of use.

       This guidance applies only to violations of EPA’s civil regulatory programs. It does not
apply to enforcement pursuant to criminal provisions of laws or regulations that are enforced by
EPA. The procedures set forth in this document are intended solely for the guidance of
government professionals. They are not intended and cannot be relied on to create rights,
substantive or procedural, enforceable by any party in litigation with the United States. The
Agency reserves the right to act at variance with this policy and to change it at any time without
public notice.

                           II. OVERVIEW OF THE POLICY
        This Enforcement Response Policy is divided into three main sections. The first section,
“Determining the Level of Action,” describes the Agency’s options for responding to violations of
FIFRA. The second section, “Assessing Civil Administrative Penalties,” elaborates on EPA’s
policy and procedures for calculating civil penalties to be assessed in administrative cases against
persons who violate FIFRA. The third section, the appendices, contains tables to be used in
calculating civil penalties for this ERP and the other FIFRA penalty policies that remain in effect.
The appendices to this ERP are: (1) Appendix A - FIFRA Violations and Gravity Levels; (2)
Appendix B - Gravity Adjustment Criteria; (3) Appendix C - The Summary of Tables; (4)
Appendix D - The FIFRA Civil Penalty Calculation Worksheet; (5) Appendix E - “Enforcement
Response Policy for FIFRA Section 7(c), Pesticide Producing Establishment Reporting
Requirement” (June 2007); (6) Appendix F – “FIFRA: Worker Protection Standard (WPS) Penalty
Policy – Interim Final” (September 1997); and Appendix G – Enforcement Response Policy for the
FIFRA Good Laboratory Practices (GLP) Regulations.


1
 For purposes of this Policy and its Appendices, the terms “pesticide” and “pesticide product” include, as
applicable, “pesticide,” “antimicrobial pesticide,” “device,” “pesticide product,” “pesticidal substance,” and/or
“plant incorporated protectant” as these terms are defined and used in FIFRA § 2(u), (mm), and (h), and 40 C.F.R.
Parts 152 - 174.

                                                       -4-
                                                                                                                AR0000026
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 27 of 739



              III. DETERMINING THE LEVEL OF ACTION
       Once the Agency finds that a FIFRA violation has occurred, EPA will need to determine
the appropriate level of enforcement response for the violation. FIFRA provides EPA with a
range of enforcement options. These options include:

       -- Notices of Warning under sections 9(c)(3), 14(a)(2), and 14(a)(4);

       -- Notices of Detention under section 17(c);

       -- Stop Sale, Use, or Removal Orders under section 13(a);

       -- Seizures under section 13(b);

       -- Injunctions under section 16(c);

       -- Civil administrative penalties under section 14(a);

       -- Denials, suspensions, modifications, or revocations of applicator certifications under
       40 C.F.R. Part 171;

       -- Referral for criminal proceedings under section 14(b); and

       -- Recalls.

        To ensure national consistency in FIFRA enforcement actions, EPA enforcement
professionals should use this ERP as a guide in considering the facts and circumstances of each
case and the company’s compliance history to ensure an enforcement response appropriate for
the particular violations. Each of the potential enforcement responses is discussed below.

A.     Notices of Warning
        FIFRA §§ 14(a)(2), 14(a)(4), and 9(c)(3) provide EPA with the authority to respond to
certain violations of FIFRA with a Notice of Warning (NOW) to the violator. Under FIFRA §
14(a)(2), EPA may not assess a penalty for violations by a private applicator or other person not
covered by section 14(a)(1) without having issued a written warning or citation for a prior
violation of FIFRA by that person, “except that any applicator not included [in paragraph
14(a)(1)] who holds or applies registered pesticides, or uses dilutions of registered pesticides,
only to provide a service of controlling pests without delivering any unapplied pesticide to any
person so served . . . may be assessed a civil penalty . . . of not more than $500 for the first
offense nor more than $1,000 for each subsequent offense.” For all persons not covered by the
exception in section 14(a)(2), EPA should issue a Notice of Warning for a first-time violation.

        A state citation for a violation that would also be considered a violation under FIFRA,
can be used to meet the requirement of a citation for a prior violation under FIFRA § 14(a)(2).
For this purpose, the prior citation may be a notice of warning and does not have to include a
penalty. The prior citation does not have to be related to the current violation; it may be for any
FIFRA violation.

                                               -5-
                                                                                                   AR0000027
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 28 of 739


         Regions may issue a NOW or assess a penalty of up to $500 2 for the first offense by any
applicator within the scope of the exception set forth in section 14(a)(2). Section 9(c)(3) permits
EPA to issue a written Notice of Warning for minor violations of FIFRA in lieu of instituting a
penalty action if the Administrator believes that the public interest will be adequately served by
this course of action. Generally, a violation will be considered minor under this section if the
total “gravity adjustment value,” as determined from Appendix B of this ERP, is three or less. A
Notice of Warning may also be appropriate for certain first-time recordkeeping violations as
listed in Appendix A (for example, late Section 7 reports that meet the guidelines of the FIFRA
Section 7 ERP). FIFRA § 14(a)(4) provides that EPA may choose to issue a Notice of Warning
in lieu of a penalty action if EPA determines that the violation occurred despite the exercise of
due care or the violation did not cause significant harm to health or the environment.

B.      Notices of Detention
        A shipment of a pesticide or device may not be imported into the United States until EPA
makes a determination of the admissibility of that shipment. FIFRA § 17 authorizes EPA to
refuse admission of a pesticide or device into the United States if EPA determines that the
pesticide or device violates any provisions of the Act. EPA may deny entry of a pesticide or
device by refusing to accept the Notice of Arrival or by issuing a Notice of Detention and
Hearing. Upon receiving a copy of the Notice of Detention, the Department of Homeland
Security, through the U.S. Customs and Border Protection (Customs), will refuse delivery to the
consignee. If the consignee has neither requested a hearing nor exported the pesticide or device
within 90 days from the date of the notice, Customs will oversee destruction of the pesticide or
device.

        Customs regulations for enforcement of FIFRA § 17(c) (19 C.F.R. Part 12.110 - 12.117)
allow Customs to release a shipment to the importer or the importer’s agent before EPA inspects
the shipment only if (1) the Customs District Director receives a completed Notice of Arrival
signed by EPA indicating the shipment may be released and (2) the importer executes a bond in
the amount of the value of the pesticide or device, plus duty. When a shipment of pesticides is
released under bond, the shipment may not be used or otherwise disposed of until the
Administrator has determined the admissibility of that shipment. Should the shipment
subsequently be refused entry and the importer or agent fails to return the pesticide or device, the
bond is forfeited.

C.      Stop Sale, Use, or Removal Orders (SSURO)
      FIFRA § 13 provides EPA the authority to issue a Stop Sale, Use, or Removal Order
(SSURO) to any person who owns, controls, or has custody of a pesticide or device, whenever
EPA has reason to believe on the basis of inspection or tests that:
      (1) a pesticide or device is in violation of any provision of the Act;
      (2) a pesticide or device has been, or is intended to be, distributed in violation of the Act;
      or
      (3) the registration of a pesticide has been cancelled by a final order or has been suspended.


2
 Each of the FIFRA penalty amounts referenced in this document has been increased pursuant to the Debt
Collection Improvement Act of 1996, which requires federal agencies to periodically adjust the statutory
maximum penalties to account for inflation. The inflation adjustment is based on the date of the
violation. See 40 C.F.R. Part 19.
                                                  -6-
                                                                                                     AR0000028
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 29 of 739


        EPA should generally seek a civil penalty in addition to the SSURO when EPA confirms
that a violation of FIFRA has occurred. EPA has established criteria to ensure judicious use of
the authority to stop the sale or use of a pesticide and to order its removal. SSUROs can be a
useful enforcement response, particularly for more serious violations and situations that pose a
significant risk, as described further below.

        1.      Issuance of a SSURO

         A SSURO is among the most expedient and effective remedies available to EPA in its
efforts to prevent illegal sale, distribution, and use of pesticides. Unlike a seizure, EPA does not
need to bring action in federal court and does not need to take custody of the materials. The
advantages of a SSURO over other responses are that: (1) it may be issued whenever EPA has
reason to believe that the product is in violation of the Act; (2) it is easier to prepare and issue
than a seizure; (3) it governs all of the product under the ownership, custody, or control of the
individual receiving the SSURO regardless of where the product is located; (4) it can be written
to include future amounts of the product that may come into custody of the respondent; and (5) it
can easily be adapted to particular circumstances.

        EPA should issue a SSURO against persons who own, control, or have custody of
pesticides in the following categories:

        -- Pesticides for which there is reason to believe that there is a potential hazard to human
        health or the environment because they are either not registered or are over-formulated,
        under-formulated, or adulterated as to present a potentially serious health hazard. 3

        -- Pesticides or devices with labeling that is materially misleading or fraudulent and, if
        followed by a user, is likely to cause a significant health hazard or serious adverse
        environmental effect. For example, a pesticide lacking a required restricted use label is
        an especially serious labeling violation. A SSURO should be issued for labeling on
        products that: (1) are ineffective for the purposes claimed; (2) are so chemically deficient
        as to affect the product’s efficacy; or (3) bear false or misleading safety claims.

        -- Pesticides or devices that are the subject of a recall in instances where the responsible
        party refuses to remove, is recalcitrant in removing, or is unable to remove the product
        from the channels of trade.

        -- Pesticides or devices that are in violation of FIFRA and for which a civil penalty has
        been issued but the registrant has not brought the product into compliance.

        -- Pesticides that have been suspended under FIFRA § 6.

        EPA may also issue a SSURO if a product has been cancelled under any section of
FIFRA or suspended under FIFRA §§ 4 or 3(c)(2)(B) and the existing stock deadlines have
expired at that level of sale, distribution, or use. In addition, EPA may issue a SSURO to address
serious violations that present a threat of harm where there has also been a large volume of sales.


3
 This may include pesticides packaged in improper or damaged containers, or pesticides that are so
inadequately labeled as to make their safe or effective use unlikely or impossible.
                                                 -7-
                                                                                                     AR0000029
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 30 of 739


        When a SSURO is issued to a basic registrant for a registered pesticide product, the
issuing office should ensure that the terms of the SSURO are equally applicable to the
supplemental registrations of the product, as appropriate. In those cases, the SSURO should
separately cite the supplemental registrations and copies should be sent to all known
supplemental registrants.

D.       Seizures
       FIFRA § 13(b) gives EPA the authority to initiate in rem condemnation proceedings in
U.S. District Court. Once a court grants EPA’s request for authority to conduct a seizure, FIFRA
§ 9(b)(3) authorizes officers or employees designated by the Administrator to obtain and execute
warrants for the purpose of seizing any pesticide or device that is in violation of the Act.
Seizures may be executed with the assistance of the U.S. Marshals Service.

        Under FIFRA § 13(b), EPA may initiate seizure actions in District Court against any
pesticide or device that is being transported or, having been transported, remains unsold or in
original unbroken packages, or that is sold or offered for sale in any state, or that is imported
from a foreign country, if:
        (1) a pesticide is adulterated or misbranded;
        (2) a pesticide is unregistered;
        (3) a pesticide has labeling that does not bear the information required by the Act;
        (4) a pesticide is not colored or discolored as required;
        (5) a pesticide bears claims or directions for use that differ from those made in
        connection with its registration;
        (6) a device is misbranded; or
        (7) a pesticide or device causes unreasonable adverse effects on the environment even
        when used in accordance with FIFRA requirements.

        These circumstances are similar to the circumstances under which EPA would issue a
SSURO. Because a SSURO is an administrative action, it can be issued more quickly than a
seizure, which requires judicial action. The SSURO is therefore the more expedient enforcement
response. Nevertheless, the Agency should consider initiating a seizure in the following
circumstances:

        EPA has issued a SSURO but the recipient of the order has not complied with it;

        EPA has reason to believe that a person, if issued a SSURO, would not comply with it;

        The pesticide at issue is so hazardous that it should be removed from the marketplace,
         place of storage, or place of use to prevent any chance of harm to human health or the
         environment;

        The seizure will be used to support a recall; or


        It is necessary to dispose of products being held under a SSURO for which the
         responsible party has indicated it will not take corrective action.



                                                 -8-
                                                                                                    AR0000030
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 31 of 739



E.       Injunctive Relief
        FIFRA § 16(c) gives EPA the authority to initiate actions in U.S. District Court seeking
permanent injunction, preliminary injunction, or temporary restraining order. Because an
injunction is an extraordinary form of relief, the Agency’s arguments supporting injunction must
be clear and compelling. As a party seeking permanent injunction, EPA would need to
demonstrate one of the following: (1) other remedies would be inadequate or not available
administratively either in restraining the violation or in preventing unreasonable risk to human
health or the environment; (2) the Agency has already diligently exercised all appropriate
administrative remedies (such as SSUROs and civil penalties) yet the violation or threat of
violation continues unabated; or (3) irreparable injury, loss, or damage will result if the relief
sought is not granted.

       When seeking a preliminary injunction or temporary restraining order, the U.S. must
demonstrate that: (1) immediate and irreparable injury, loss, or damage will result if the
requested relief is not granted; and (2) EPA is likely to prevail at trial, based on the facts before
the court.

       Under FIFRA, a number of specific circumstances may justify injunctive relief. These
include:

        Violation of a Section 6 suspension or cancellation order;

        Violation of a SSURO where a civil penalty or criminal prosecution would not provide a
         timely or effective remedy to deter further violations;

        Continued production, shipment, sale, distribution, or use of an unregistered pesticide
         after the Agency has taken civil or criminal action;

        A person continues to sell, distribute, or make available for use a restricted use pesticide
         (RUP) other than in accordance with FIFRA § 3(d), after the Agency has taken an
         enforcement response;

        A person continues to violate the FIFRA § 17 import or export requirements after the
         Agency has taken an enforcement response;

        A person continues to use a pesticide in a manner inconsistent with its labeling, in a
         manner contrary to an experimental use permit, or repeats any violation of FIFRA, after
         EPA has taken an enforcement response.

F.       Civil Administrative Penalties
        A civil penalty is the preferred enforcement response for most violations. A civil penalty
is appropriate where the violation:




                                                 -9-
                                                                                                    AR0000031
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 32 of 739


           (1) presents an actual or potential risk of harm to humans or the environment, 4 or would
           impede EPA’s ability to fulfill the goals of the statute; and
           (2) was apparently committed as a result of ordinary negligence (as opposed to criminal
           negligence), inadvertence, or mistake; and the violation either:
                   (a) involves a violation by any registrant, commercial applicator, wholesaler,
                   dealer, retailer, or other distributor, or any applicator within the scope of the
                   exception set forth in FIFRA § 14(a)(2) (no prior warning is required by FIFRA
                   for violators in this category); or
                   (b) involves a private applicator or other person not listed above who has received
                   a prior Notice of Warning or citation for a FIFRA violation (as described in
                   section III.A).

        FIFRA § 14(a)(1) provides that a registrant, commercial applicator, wholesaler, dealer, or
other distributor may be assessed a civil penalty of up to $5,000 for each violation. FIFRA §
14(a)(2) authorizes the Administrator to assess a private applicator or other person a penalty of
up to $1,000 for each violation occurring after the issuance of a Notice of Warning or a citation
for a prior FIFRA violation. Additionally, any applicator within the scope of the exception set
forth in FIFRA § 14(a)(2) may be assessed a civil penalty of up to $500 for the first offense, and
up to $1,000 for each subsequent offense.

        Each of these penalty amounts has been increased pursuant to the Debt Collection
Improvement Act of 1996, which requires federal agencies to periodically adjust the statutory
maximum penalties to account for inflation. EPA has thus increased the maximum penalty
amounts for FIFRA violations. For violations of FIFRA § 14(a)(1) that occur on or after January
12, 2009, the maximum civil penalty has increased to $7,500 for each violation. Violations prior
to that date may be assessed up to $6,500 for each violation. For violations of FIFRA § 14(a)(2)
that occur on or after January 12, 2009, the maximum civil penalty has increased to $1,100 for
each violation following the first offense by both private applicators and any applicator within
the scope of the exception set forth in FIFRA § 14(a)(2). Additional penalty inflation increases
are expected to occur periodically and such increases are incorporated by reference into this
ERP.

        As the statutory definitions of “distribute or sell” and “commercial applicator” indicate,
and as the conference report for the Federal Pesticide Act of 1978 5 confirms, any applicator,
including a “for hire” applicator, who holds or applies an unregistered pesticide to provide a
service of controlling pests without delivering any unapplied pesticide, will be considered a
distributor of pesticides and will be subject to the higher penalties set forth in FIFRA § 14(a)(1)
and 14(b)(1). Any applicator, other than a private applicator, who uses or supervises the use of a
restricted use pesticide (RUP), whether or not that applicator is certified, is a commercial
applicator and is subject to the higher penalties set forth in section 14(a)(1) and 14(b)(1). Any
applicator, including a certified applicator, who holds or applies a general use pesticide (GUP) or
an unclassified pesticide in violation of FIFRA will be subject to the lower penalties set forth in
section 14(a)(2) and 14(b)(2).




4
   In such cases, the Agency should consider issuing a SSURO or other injunctive relief in addition to a
civil penalty.
5
    Senate Report No. 95-1188, September 12, 1978, pp. 44 and 45.

                                                        - 10 -
                                                                                                       AR0000032
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 33 of 739



G.      Denials, Suspensions, Modifications, or Revocations of
         Applicator Certifications
        Regulations governing certification of pesticide applicators (40 C.F.R. Part 171)
authorize EPA to deny, suspend, or revoke a federally issued applicator certification if the holder
of the certification violates FIFRA or its regulations. The Agency views enforcement actions
affecting certification status as a very strong measure, to be taken only when the “public health,
interest, or welfare warrants immediate action,” 40 C.F.R. § 171.11(f)(5)(i). Therefore, EPA will
deny, suspend, modify, or revoke a federal certification only in response to serious violations or
against persons with a history of noncompliance.

        1.      Suspension

        In response to violations by applicators that have previously received a civil complaint
for FIFRA violations and where none of the factors for revocation (discussed in paragraph G.2.
below) are present, EPA will seek suspension of the individual applicator’s federal certification,
as well as assess a civil penalty against the employer. EPA may also suspend certifications of
commercial applicators who violate restricted use pesticides recordkeeping requirements, 40
C.F.R. § 171.11(c)(7); 40 C.F.R. § 171.11(f)(1)(iii). For purposes of this section of the policy,
EPA will not distinguish between commercial and private applicators. A suspension has a more
substantial impact on commercial applicators because it affects their primary business activity.
Recommended suspension periods are set forth on the chart below.

                                 Recommended Suspension Periods

                     First enforcement                Second enforcement          Third enforcement
                           action                            action 6                    action
Enforcement remedy Penalty action                     Penalty action             Penalty action
Base suspension     N/A                               4 months                   6 months
period
Additional          N/A                               2 months for each          2 months for each
suspension time for                                   additional violation       additional violation
multiple violations                                   (up to a limit of 8        (up to a limit of 12
                                                      months total)              months total)

        If EPA decides to suspend certification, it must notify the applicator of the grounds upon
which the suspension is based and the time period during which the suspension will be in effect.
In order for the suspension to function as a deterrent, the suspension should take effect during the
time when the applicator is most likely to be applying restricted use pesticides. In cases where
the violation involved keeping fraudulent records (i.e., where the violator intentionally concealed
or misrepresented the true circumstances and the extent of the use of restricted use pesticides),
EPA may revoke the violator’s certification in response to the initial infraction.




6
  For purposes of this section, the second and third enforcement actions must occur within five years of
the original civil administrative complaint.
                                                  - 11 -
                                                                                                        AR0000033
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 34 of 739


       2.      Denial/Revocation

        The denial or revocation of a certification deprives an applicator of the authority to apply
restricted use pesticides and forces the applicator to acquire or re-acquire certification. EPA will
not consider an application to acquire or re-acquire certification for at least six months following
a denial or revocation. Therefore, EPA will deny or revoke a certification only where:
        (1) a violation resulted in a human fatality or created an imminent danger of a fatality;
        (2) a violation resulted in severe damage to the environment or created an imminent
        danger of severe damage to the environment;
        (3) a misuse violation has resulted in significant contamination of food and water;
        (4) the violator’s certification has been suspended as a result of a previous serious
        violation;
        (5) the violator’s certification has been suspended three times within the past five years;
        or
        (6) a person has maintained or submitted fraudulent records or reports.

         If EPA pursues an action to deny, revoke, or modify an applicator’s certification, EPA
will notify the applicant or federal certificate holder of:
         (1) the ground(s) upon which the denial, revocation, or modification is based;
         (2) the time period during which the denial, revocation, or modification is effective,
         whether permanent or otherwise;
         (3) the conditions, if any, under which the individual may become certified or recertified;
         and
         (4) any additional conditions EPA may impose.
EPA must also provide the federally certified applicator an opportunity to request a hearing prior
to final Agency action to deny, revoke, or modify the certificate.

H.     Recalls

       1.      Suspended or Cancelled Products

         FIFRA § 19(b) gives EPA the authority to recall pesticide products if the registration of a
pesticide has been suspended and cancelled and EPA finds that a recall is necessary to protect
public health or the environment. Where the product registration has been suspended or
cancelled, EPA will request either a voluntary or mandatory recall. When EPA believes that a
recall is necessary to protect public health or the environment and the product registration has
not been suspended or cancelled, EPA may request an informal recall, which is also voluntary.

        EPA should only request a recall where the evidence clearly supports the need for such
action. EPA will base the decision that a product should be withdrawn from the market on
information in the sample file, including laboratory analyses, staff evaluations and opinions, and
other available information. All information supporting a recall decision should be included in
the official file.

               a.      Mandatory Recalls

        If a product is suspended and cancelled, a voluntary recall by the registrant and others in
the chain of distribution may be sufficient. However, if the Agency believes that a voluntary
recall will not ensure protection of human health or the environment, mandatory recall
procedures under FIFRA §§ 19(b)(3) and (4) can be used to require registrants, distributors, or
                                                - 12 -
                                                                                                 AR0000034
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 35 of 739


sellers of a cancelled pesticide to:
        (1) recall the pesticide;
        (2) make available storage facilities to accept and store existing stocks of the suspended
        and cancelled pesticide;
        (3) inform the EPA of the location of the storage facility;
        (4) inform the EPA of the progress of the recall;
        (5) provide transportation of the pesticide on request; and
        (6) take reasonable steps to inform holders of the recall and transportation provisions.
Persons conducting the recall must comply with transportation, storage, and disposal
requirements set forth in the recall plan developed and approved under FIFRA § 19(b).

               b.      Voluntary Recalls

         Recalls other than those described in section 1.a., above, are voluntary. A voluntary
recall is appropriate if EPA finds that it can be “as safe and effective as a mandatory recall.”
Voluntary recalls can be used where the cancelled product is either potentially hazardous when
used as directed, ineffective for the purposes claimed, or significantly violative in nature. For a
voluntary recall, EPA will ask the registrant to develop a recall plan. The effectiveness of these
recalls depends on the cooperation of the company involved. The company may seek EPA’s
assistance in developing or implementing a recall plan, but it is not required to do so.

       2.      Other Recalls

        A product does not have to be suspended or cancelled for EPA to request a recall. The
Agency should consider asking the company to do an informal recall of a product when its use as
directed by the label is likely to result in:
        (1) injury to the user or handler of the product;
        (2) injury to domestic animals, fish, wildlife, or plant life;
        (3) physical or economic injury because of ineffectiveness or due to the presence of
        actionable residues; or
        (4) identifiable adverse effects on the environment.
For example, EPA may issue an informal recall for an antimicrobial product that fails efficacy
testing for a public health organism when the product is distributed to hospitals or other health
care facilities.

        In cases posing more serious threats, the Agency may monitor the progress of an informal
recall and may ask the company to submit progress reports and to notify state officials to ensure
that the recall occurs. These informal recalls are generally accompanied by a civil penalty action
or a SSURO. In cases where a recall is necessary but the level of potential hazard is not great or
when it is unlikely that significant amounts of the defective product remain in the marketplace,
the recall may be conducted entirely by the company with no monitoring by EPA or state
officials.

I.     Criminal Proceedings
       FIFRA § 12 specifically lists the unlawful acts that are subject not only to civil and
administrative enforcement but also to criminal enforcement. (For further information on
criminal enforcement investigations see Chapter 18 of the Pesticides Inspection Manual, “FIFRA


                                               - 13 -
                                                                                                 AR0000035
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 36 of 739


Criminal Enforcement.”) Section 14(b) provides the authority to proceed with criminal sanctions
against violators, as follows.

       A registrant, applicant for a registration, or producer who knowingly violates the Act is
        subject, upon conviction, to a fine of not more than $50,000 or imprisonment for up to
        one year, or both.

       A commercial applicator of a restricted use pesticide, or any other person not described
        above who distributes or sells pesticides or devices, who knowingly violates the Act is
        subject, upon conviction, to a fine of not more than $25,000 or imprisonment for up to
        one year, or both.

       A private applicator or other person not included above who knowingly violates the Act
        is subject, upon conviction, to a fine of not more than $1,000, or imprisonment for not
        more than 30 days, or both.

        FIFRA § 14(b)(1) and (2) include the requirement that the violation be committed
“knowingly.” An act is committed “knowingly” by a person who has the general intent to do the
action(s) constituting the violation. A specific intent to violate FIFRA or knowledge of its
regulations is not a necessary element of the crime. Thus, the government must generally prove
that the defendant knew of the conduct that constituted the violation and that the person’s
action(s) was voluntary and intentional and not the result of an accident or mistake of fact.

        In addition, pursuant to the Alternative Fines Act (18 U.S.C. § 3571), the FIFRA criminal
fine amounts for an individual or an organization 7 may be substantially increased if the violation
results in death. All acts of the regulated community exhibiting actual or suspected criminal
conduct should be discussed with EPA’s regional or Headquarters Criminal Enforcement
Counsel or brought to the attention of the Criminal Investigation Division (CID) for possible
investigation.

        1.      Parallel Criminal and Civil Proceedings

        Although the majority of EPA’s enforcement actions are brought as either a civil action
or a criminal action, there are instances when it is appropriate to bring both a civil and a criminal
enforcement response. These include situations where the violations merit the deterrent and
retributive effects of criminal enforcement, yet a civil action is also necessary to obtain an
appropriate remedial result, and where the magnitude or range of the environmental violations
and the available sanctions make both criminal and civil enforcement appropriate.

        Active consultation and cooperation between EPA’s civil and criminal programs, in
conformance with all legal requirements including OECA’s Parallel Proceedings Policy
(September 24, 2007), is critical to the success of EPA’s overall enforcement program. The
success of any parallel proceedings depends upon coordinated decisions by the civil and criminal
programs as to the timing and scope of their activities. For example, it will often be important
for the criminal program to notify civil enforcement managers that an investigation is about to
become overt or known to the subject. Similarly, the civil program should notify the criminal


7
  As used in Title 18 of the United Sates Code, the term “organization” means a person other than an
individual.
                                                  - 14 -
                                                                                                       AR0000036
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 37 of 739


program when there are significant developments that might change the scope of the relief. In
every parallel proceeding, communication and coordination should be initiated at both the staff
and manager levels and should continue until resolution of all parallel matters.

J.     State and Federal Roles in Enforcement of FIFRA
        State governments have primary enforcement authority for both civil and criminal
pesticide use violations under FIFRA §§ 26 and 27. States are allowed 30 days to commence
appropriate enforcement actions for such violations. While Congress delegated to the states
primary enforcement authority for pesticide use violations, FIFRA does not create exclusive
enforcement jurisdiction in the states. A state may waive its primary enforcement responsibility
or make a referral to the United States for federal action.

        EPA has primary enforcement authority over violations concerning the sale or
distribution of pesticides. Examples of such violations include failure to report a pesticide’s
unreasonable adverse effects on the environment, distribution of an unregistered pesticide,
violations of a cancellation order or an EPA SSURO, and fraudulent labeling, advertising, or
registration of a pesticide. FIFRA violations that are not use violations may be investigated and
prosecuted on the federal level without waiting for state authorities to exercise their enforcement
responsibility. Under most circumstances EPA will inform the state of an EPA investigation
being conducted within its borders.

K.     Press Releases and Advisories
        EPA may, at its discretion, issue a press release or advisory to notify the public of the
filing of an enforcement action, settlement, or adjudication concerning a person’s violation of
FIFRA. A press release can be a useful tool to notify the public of Agency actions for FIFRA
noncompliance and to educate the public on the requirements of FIFRA. Some regions routinely
issue press releases to inform the public of FIFRA settlements. Issuance of a press release or
advisory must not be an item of negotiation during settlement.

      IV. ASSESSING CIVIL ADMINISTRATIVE PENALTIES
A.     Computation of the Penalty
       In determining the amount of a civil penalty, FIFRA § 14(a)(4) requires EPA to consider
the appropriateness of the penalty to the size of respondent’s business, the effect of the penalty
on respondent’s ability to continue in business, and the gravity of the violation.

        For each type of violation associated with a particular product, the penalty amount is
determined in a seven-step process considering the Section 14(a)(4) criteria listed above. These
steps are:
        (1) determine the number of independently assessable violations [Section IV.A.1.
        Independently Assessable Violations];

       (2) determine the size of business category for the violator, using Table 1 [Section
       IV.A.2. Size of Business];


                                               - 15 -
                                                                                                 AR0000037
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 38 of 739


       (3) determine the gravity of the violation for each independently assessable violation
       using Appendix A [Section IV.A.3. Gravity of Violation];

       (4) determine the “base” penalty amount associated with the size of business (Step 2)
       and the gravity of violation (Step 3) for each independently assessable violation, using
       the matrices in Table 2 [Section IV.A.4. Base Penalty Amount];

       (5) determine the “adjusted” penalty amount based on case-specific factors using the
       Gravity Adjustment Criteria in Appendix B and Table 3 [Section IV.A.5. Adjustment for
       Case-Specific Factors];

       (6) calculate the economic benefit of noncompliance [Sections IV.A.6. Economic Benefit
       of Noncompliance]; and

       (7) consider the effect that payment of the total penalty amount plus economic benefit of
       noncompliance derived from the above calculation will have on the violator’s ability to
       continue in business [Section IV.A.7 Ability to Continue in Business/Ability to Pay].

       A civil penalty may be further modified in accordance with Section IV.B.1. Graduated
Penalty Calculations, Section IV.B.2. Voluntary Disclosure, and Section IV.B.3. Adjusting the
Proposed Civil Penalty in Settlement.

       1.      Independently Assessable Violations

        A separate civil penalty, up to the statutory maximum, will be assessed for each
independent violation of the Act. A violation is considered independent if it results from an act
(or failure to act) which is not the result of any other violation for which a civil penalty is to be
assessed or if at least one of the elements of proof is different from any other violation.

        Consistent with the above criteria, the Agency considers violations that occur from each
sale or shipment of a product (by product registration number, not individual containers) or each
sale of a product to be independent violations. 8 There may also be situations where two
unlawful acts arise out of one sale or shipment, such as the sale of a product that is both a
misbranded pesticide and an unregistered pesticide. Similarly, under the pesticide use
regulations, one application of a pesticide may lead to multiple misuse violations. For example,
if an applicator mixes pesticides over the rate prescribed by the label and during the same
application allows pesticide to drift onto non-target areas, each of those acts would be a
separately assessable violation of FIFRA § 12(a)(2)(G).

        Each of these independent violations of FIFRA is subject to civil penalties up to the
statutory maximum. For example, when EPA can document that a registrant has distributed a
misbranded product (one single EPA product registration number) in four separate shipments,
EPA will allege four counts of selling or distributing a misbranded product. Similarly, when
EPA can document that a registrant has shipped four separate misbranded products (four separate
EPA product registration numbers) in a single shipment, EPA will plead four counts of selling or


8
  Independent violations which can be documented as both per sale and per shipment are to be calculated
only as either per sale or per shipment, whichever is more appropriate based on the supporting
documentation.
                                                 - 16 -
                                                                                                    AR0000038
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 39 of 739


distributing a misbranded product. In use cases that EPA handles, the Agency will allege three
misuse violations when a commercial applicator who misuses a restricted use product on three
occasions (either three distinct applications or three separate sites). If a dealer sells a restricted
use pesticide (RUP) to six uncertified persons, other than in accordance with FIFRA § 3(d), EPA
will plead six violations of FIFRA.

        On the other hand, the Agency will assess a penalty for one violation arising from a
single event or action (or lack of action) that is an unlawful act under FIFRA for multiple reasons
unless the event or action results in two unlawful acts for which at least one element of proof
differs. For instance, a person can be assessed a civil penalty of up to the statutory maximum for
the sale and/or distribution of an unregistered, cancelled or suspended pesticide under FIFRA §
12(a)(1)(A). If the unregistered pesticide is actually a product whose registration had been
cancelled, EPA cannot allege two separate violations of FIFRA § 12(a)(1)(A) since the sale or
distribution related to a single event or transaction. However, the Agency could separately allege
a violation of a cancellation order under FIFRA § 12(a)(2)(K). In this example, the violation of
the cancellation order is independent of the sale and distribution of the unregistered product.

         Another example of a dependent violation is multiple misbrandings on a single product
label. EPA may assess a count of misbranding each time that a misbranded product is sold or
distributed. For example, a registrant who sells or distributes four distinct shipments of a
misbranded pesticide product generally may be assessed four counts of misbranding.
If a single product label is misbranded in one way or ten ways, as defined by FIFRA § 2(q), it is
still misbranding on a single product label and is considered a single violation of FIFRA §
12(a)(1)(E). Note, however, for pesticide use regulations, where the applicator fails to follow
two label requirements, for example, does not follow the prescribed application rate and does not
provide the prescribed personal protective equipment, there are two separate violations.

        When a product label is grossly misbranded such that two or more misbrandings assigned
Level 2 in Appendix A are present, the gravity level is adjusted upward to a Level 1 to address
the seriousness of the misbranding.

       2.      Size of Business

        In order to provide equitable penalties, civil penalties that will be assessed for violations
of FIFRA will generally decrease as the size of the business decreases. Size of business is
determined based on an individual’s or a company’s gross revenues from all revenue sources
during the prior calendar year. If revenue data for the previous year appears to be
unrepresentative of the general performance of the business or the income of the individual, an
average of the gross revenues for the three previous years may be used. Further, the size of
business and gross revenue figures are based on the corporate family rather than a specific
subsidiary or division of the company which is involved with the violation (including all sites
owned or controlled by the foreign or domestic parent company) unless the subsidiary or division
is independently owned.

                As shown in the FIFRA Civil Penalty Matrices in Table 2, the appropriateness of
the penalty to the size of the respondent’s business is based on three distinct size of business
categories. Further, because gross revenues of persons listed in FIFRA § 14(a)(1) [registrants,
commercial applicators, wholesalers, dealers, retailers, or other distributors] will generally be
higher than gross incomes of persons listed in FIFRA § 14(a)(2) [private applicators and other

                                                - 17 -
                                                                                                   AR0000039
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 40 of 739


persons not listed in 14(a)(1)], the policy has separate size of business categories for Section
14(a)(1) persons and Section 14(a)(2) persons. The size of business categories for FIFRA §
14(a)(1) and Section 14(a)(2) violators are listed in Table 1. Revenue includes all revenue from
an entity and all of the entity’s affiliates. When no information of any kind is available
concerning a respondent’s size of business, the penalty should be calculated using the Category I
size of business.

                                                 TABLE 1

                For section 14(a)(1) violators, the size of business categories are:

                                 I - over $10,000,000 a year
                                 II - $1,000,000 - $10,000,000 a year
                                 III - under $1,000,000 a year

                For section 14(a)(2) violators, the size of business categories are:

                                 I - over $1,000,000 a year
                                 II - $300,000 - $1,000,000 a year
                                 III - under $300,000 a year

        3.      Gravity of the Violation

        The “gravity level” established for each violation of FIFRA is listed in Appendix A of
this ERP. The level assigned to each violation of FIFRA represents an assessment of the relative
severity of each violation. The relative severity of each violation considers the actual or
potential harm to human health and the environment which could result from the violation and
the importance of the requirement to achieving the goals of the statute. The gravity level, which
is determined from the chart in Appendix A, is then used to determine a base penalty figure from
the FIFRA Civil Penalty Matrices in Step 4 below. In Step 5, the dollar amount derived from the
matrix can be adjusted upward or downward depending on the actual circumstances of each
violation.

        4.      Base Penalty Amount

        The size of business categories and gravity levels are broken out in the FIFRA Civil
Penalty Matrices shown in Table 2. Each cell of the matrix represents the Agency’s assessment
of the appropriate civil penalty, within the statutory maximum, for each gravity level of a
violation and for each size of business category. Because FIFRA imposes different statutory
ceilings on the maximum civil penalty that may be assessed against persons listed in FIFRA
Section 14(a)(1) and persons listed in Section 14(a)(2), this policy has separate penalty matrices
for Section 14(a)(1) violators and Section 14(a)(2) violators.

       With the exception of any applicator within the scope of the exception set forth in FIFRA
§ 14(a)(2), EPA will only use the Section 14(a)(2) penalty matrix for persons falling under
FIFRA § 14(a)(2) who have previously been issued a Notice of Warning or prior citation. 9


9
  FIFRA § 14(a)(2) states that private applicators are only subject to civil penalties after receiving a
notice of warning or following a citation for a prior violation. A notice of warning or citation for a prior
                                                    - 18 -
                                                                                                           AR0000040
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 41 of 739


        When a civil penalty is the appropriate response for a first-time violation by any
applicator within the scope of the exception set forth in FIFRA § 14(a)(2), EPA will seek the
statutory maximum civil penalty. Subsequent violations will be assessed using the FIFRA §
14(a)(2) civil penalty matrix below.

                                                 TABLE 2

                             Civil Penalty Matrix for FIFRA § 14(a)(1)

                                                   SIZE OF BUSINESS
 LEVEL OF            I – over $10,000,000            II -- $1,000,000 -          III – under $1,000,000
VIOLATION                                               $10,000,000
  Level 1                    $7,500                         7,150                          7,150

   Level 2                   7,150                           5,670                         4,250

   Level 3                   5,670                           4,250                         2,830

   Level 4                   4,250                           2,830                         1,420



                            Civil Penalty Matrix for FIFRA § 14(a)(2) 10

                                                   SIZE OF BUSINESS
 LEVEL OF            I – over $1,000,000             II -- $300,000 -             III – under $300,000
VIOLATION                                              $1,000,000
  Level 1                    $1,100                        1,100                           1,100

   Level 2                   1,100                           1,030                          770

Levels 3 & 4                 1,030                           770                            650



        5.      Adjustments for Case-Specific Factors

       The Agency has assigned adjustments, based on the gravity adjustment criteria listed in
Appendix B, for each violation relative to the specific characteristics of the pesticide involved,
the harm to human health and/or harm to the environment, compliance history of the violator,



violation may include an action by either EPA or a delegated state if the prior violation would be a
violation of federal law.
10
   This 14(a)(2) matrix is only for use in determining civil penalties issued subsequent to a notice of
warning or following a citation for a prior violation, or in the case of a “for hire” applicator using a
registered general use pesticide, subsequent to the issuance of a prior civil penalty.


                                                    - 19 -
                                                                                                           AR0000041
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 42 of 739


and the culpability of the violator. Then the gravity adjustment values from each gravity
category listed in Appendix B are to be totaled. The dollar amount found in the matrix will be
raised or lowered, not to exceed the statutory maximum, based on the total gravity values in
Table 3. Once this base penalty amount is calculated, it should be rounded to the nearest $100,
in accordance with Amendments to Penalty Policies to Implement Penalty Inflation Rule 2008 -
(Nakayama, 2008). 11

                                                 TABLE 3

Total Gravity Value              Enforcement Remedy
from Appendix B
3 or below                       No action or Notice of Warning (60% reduction of matrix value
                                 recommended where multiple count violations exist)
4                                Reduce matrix value 50%
5                                Reduce matrix value 40%
6                                Reduce matrix value 30%
7                                Reduce matrix value 20%
8                                Reduce matrix value 10%
9 to 11                          Assess matrix value
12                               Increase matrix value 10% **
13                               Increase matrix value 20% **
14                               Increase matrix value 30% **
15                               Increase matrix value 40% **
16                               Increase matrix value 50% **
17 or above                      Increase matrix value 60% **
** Matrix value can only be increased to the statutory maximum.

6.      Economic Benefit of Noncompliance

        The Agency’s Policy on Civil Penalties (EPA General Enforcement Policy #GM-21),
dated February 16, 1984, mandates the recapture of any significant economic benefit of
noncompliance (EBN) that accrues to a violator from noncompliance with the law. Economic
benefit can result from a violator delaying or avoiding compliance costs or when the violator
realizes illegal profits through its noncompliance. A fundamental premise of the 1984 Policy is
that economic incentives for noncompliance are to be eliminated. If, after the penalty is paid,
violators still profit by violating the law, there is little incentive to comply. Therefore,
enforcement professionals should always evaluate the economic benefit of noncompliance in
calculating penalties. Note that economic benefit can only be added to the proposed penalty up
to the statutory maximum penalty.

       An economic benefit component should be calculated and added to the gravity-based
penalty component when a violation results in “significant” economic benefit to the violator.
“Significant” is defined as an economic benefit that totals more than $10,000 for all violations
alleged in the complaint. In the interest of simplifying and expediting an enforcement action,
enforcement professionals may use the “rules of thumb” (discussed in section 6.b below) to


11
  http://www.epa.gov/compliance/resources/policies/civil/penalty/amendmentstopenaltypolicies-
implementpenaltyinflationrule08.pdf

                                                     - 20 -
                                                                                                   AR0000042
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 43 of 739


determine if the economic benefit will be significant. Distribution and sale of unregistered and
misbranded pesticides are examples of violations that are likely to result in significant economic
benefits. For certain FIFRA requirements, the economic benefit of noncompliance may be
relatively insignificant (e.g., failure to submit a report on time).

        EPA generally will not settle cases for an amount less than the economic benefit of
noncompliance. However, the Agency’s 1984 Policy on Civil Penalties explicitly sets out three
general areas where settling for less than the economic benefit may be appropriate. Since the
issuance of the 1984 Policy, the Agency has added a fourth exception for cases where ability to
pay is a factor. The four exceptions are:

       •   The economic benefit component is an insignificant amount (defined for purposes of
           this policy as less than $10,000);

       •   There are compelling public concerns that would not be served by taking a case to
           trial;

       •   It is unlikely, based on the facts of the particular case as a whole, that EPA will be
           able to recover the economic benefit in litigation; and

       •   The company has documented an inability to pay the total proposed penalty.

               a.     Economic Benefit from Delayed Costs and Avoided Costs

         Delayed costs are expenditures that have been deferred by the violator’s failure to comply
with the requirements. The violator eventually will spend the money to achieve compliance.
Delayed costs are either capital costs (i.e. equipment), if any, or one-time non-depreciable costs
(e.g., registration fees for pesticides that are eventually registered).

        Avoided costs are expenditures that will never be incurred, as in the case of an unlawfully
distributed unregistered pesticide that is subsequently removed from commerce and never
registered by the Agency. In this example, avoided costs include all the costs associated with
product registration because the product was never registered. Those costs were never and will
never be incurred. Those avoided costs might include the registration fees, annual maintenance
fees, and costs associated with the testing that would have been required to support a pesticide
registration or to support specific claims about the product.

               b.     Calculation of Economic Benefit from Delayed and Avoided Costs

        Since 1984, it has been Agency policy to use either the BEN computer model or “rules of
thumb” to calculate the economic benefit of noncompliance. The “rules of thumb” are straight-
forward methods to calculate economic savings from delayed and avoided compliance
expenditures. They are discussed more fully in the Agency’s General Enforcement Policy #GM-
22, entitled “A Framework for Statute-Specific Approaches to Penalty Assessments," issued on
February 16, 1984, at pages 7-9. The “rule of thumb” methodology is available in a Lotus
spreadsheet available to EPA enforcement professionals from the Special Litigation and Projects
Division of the Office of Civil Enforcement. Enforcement professionals may use the “rules of
thumb” whenever the economic benefit penalty is not substantial (generally under $10,000) and
use of an expert financial witness may not be warranted. If the “rules of thumb” yield an amount

                                               - 21 -
                                                                                                    AR0000043
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 44 of 739


over $10,000, the case developer should use the BEN model and/or an expert financial witness to
calculate the higher economic benefit penalty. Using the “rules of thumb,” the economic benefit
of delayed compliance may be estimated at: 5% per year of the delayed one-time capital costs, if
any, and/or one-time non-depreciable costs for the period from the date the violation began until
compliance was or is expected to be achieved. For avoided annual costs, the “rule of thumb” is
the annual expenses avoided until the date compliance is achieved less any tax savings. These
rules of thumb do not apply to avoided one-time or avoided capital costs. Enforcement
professionals should calculate the economic benefit of avoided one-time and avoided capital
costs, if any, by using the BEN model.

        The primary purpose of the BEN model is to calculate economic savings for settlement
purposes. The model can perform a calculation of economic benefit from delayed or avoided
costs based on data inputs, including optional data items and standard values already contained
in the program. Enforcement professionals wishing to use the BEN model should take the Basic
BEN training course offered by the Special Litigation and Projects Division in cooperation with
NETI. Enforcement professionals who have questions while running the model can access the
model’s help system which contains information on how to: use BEN, understand the data
needed, and understand the model’s outputs.

        The economic benefit component should be calculated for the entire period for which
there is evidence of noncompliance, i.e., all time periods for which there is evidence to support
the conclusions that the respondent was violating FIFRA and thereby gained an economic
benefit. Such evidence should be considered in the assessment of the penalty assessed for the
violations alleged or proven, up to the statutory maximum for those violations. In certain cases,
credible evidence may demonstrate that a respondent received an economic benefit for
noncompliance for a period longer than the period of the violations for which a penalty is sought.
In such cases, it may be appropriate to consider all of the economic benefit evidence in
determining the appropriate penalty for the violations for which the respondent is liable. For
example, in a case where credible evidence demonstrates that a respondent sold an unregistered
pesticide during the past four years but the specific violations for which EPA has chosen to seek
a penalty all occurred within the past two years, the economic benefit should be calculated for
the four-year period. In such a case, the economic benefit component of the penalty for the
specific sales transactions during the past two years should be based on a consideration of the
economic benefit gained for the four-year period, but the total penalty is limited to the statutory
maximum for the specific violations alleged and proven. 12

         In most cases, the violator will have the funds gained through non-compliance available
for its continued use and/or competitive advantage until it pays the penalty. Therefore, for cases
in which economic benefit is calculated by using BEN or by a financial expert, the economic
benefit should be calculated through the anticipated date a consent agreement would be entered.
If the matter goes to hearing, this calculation should be based on a penalty payment date
corresponding with the relevant hearing date. It should be noted that the respondent will
continue to accrue additional economic benefits after the hearing date, until the assessed penalty
is paid. However, there are exceptions for determining the period of economic benefit when



12
 When considering the economic benefit of noncompliance that accrued to the respondent more than five years
prior to the filing of a complaint or a pre-filing Consent Agreement, the litigation team should consult with the
Waste and Chemical Enforcement Division.

                                                        - 22 -
                                                                                                                    AR0000044
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 45 of 739


using a “rule of thumb.” In those instances, the economic benefit is calculated in the manner
described in the first paragraph of this subsection.

               c.     Economic Benefit Gained from Illegal Sales of Unregistered Pesticides

        In addition to delayed and avoided costs, an economic benefit may accrue to a violator of
FIFRA from the sale of unregistered or misbranded pesticides. The economic benefit derived
from sales of unregistered or misbranded pesticides is sometimes referred to as “illegal profits”
or “illegal competitive advantage.” Illegal profits economic benefit is fundamentally different
from the economic benefit calculated by using the BEN model. Unlike the delayed/avoided
benefits addressed through BEN, this type of economic benefit is based on the profits generated
by violating the law. Care should be taken to insure that any calculation of a benefit derived
from illegal profits does not include profits attributable to lawful operations of the facility or
delayed or avoided costs already accounted for in the BEN calculation. In most cases, a violator
will realize either benefits from delayed/avoided costs or from illegal profits; however, whenever
the facts and circumstances of the case provide a sufficient basis to calculate illegal profits and
the Region is able to obtain sufficient information, the Region should calculate the benefits due
to illegal profits and add it to any other type of economic benefit that has been calculated.

       7.      Ability to Continue in Business/Ability to Pay

       FIFRA § 14(a)(4) requires the Agency to consider the effect of the penalty on the
respondent’s ability to continue in business when determining the amount of the civil penalty.
There are several sources available to assist enforcement professionals in determining a
respondent’s ability to pay. Enforcement professionals considering a respondent’s ability to
continue in business should consult “A Framework for Statute-Specific Approaches to Penalty
Assessments,” (cited above) and EPA General Enforcement Policy PT.2-1 (previously codified
as GM-#56), entitled “Guidance on Determining a Violator’s Ability to Pay a Civil Penalty”
(December 16, 1986). In addition, the Agency has three computer models available to help
assess whether violators can afford compliance costs and/or civil penalties: ABEL, INDIPAY
and MUNIPAY. INDIPAY analyzes individual taxpayers’ claims about inability to pay.
MUNIPAY analyzes cities, towns, and villages’ ability to pay. These models are designed for
settlement purposes only.

        ABEL is an EPA computer model that is designed to assess inability to pay claims from
corporations and partnerships. The evaluation is based on the firm’s excess cash flow. ABEL
looks at the money coming into the entity, and the money going out. It then looks at whether the
excess cash flow is sufficient to cover the firm’s environmental responsibilities (i.e., compliance
costs) and the proposed civil penalty. Because the program only focuses on a violator’s cash
flow, there are other sources of revenue that should also be considered to determine if a firm is
unable to pay the full penalty. These include:

      Certificates of deposit, money market funds, or other liquid assets;

      Reduction in business expenses such as advertising, entertainment, or compensation of
       corporate officers;

      Sale or mortgage of non-liquid assets such as company cars, aircraft, or land;


                                               - 23 -
                                                                                                AR0000045
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 46 of 739


        Related entities (e.g., the violator is a wholly owned subsidiary of Fortune 500 company).

         The complaint will notify the respondent of its right under the statute to have EPA
consider its ability to continue in business in determining the amount of the penalty. Any
respondent may raise the issue of ability to pay/ability to continue in business in its answer to the
complaint or during the course of settlement negotiations. If a respondent raises the inability to
pay as a defense in its answer or in the course of settlement negotiations, the Agency should ask
the respondent to present appropriate documentation, such as tax returns and financial
statements. The respondent must provide records that conform to generally accepted accounting
principles and procedures at its expense. If the proposed penalty exceeds the respondent’s ability
to pay, the penalty may be reduced to a level consistent with FIFRA § 14(a)(4). If a respondent
does not provide sufficient information to substantiate its claim of inability to pay the calculated
penalty, then EPA may draw an inference from available information that the respondent has the
ability to pay the calculated penalty. 13

        A respondent may argue that it cannot afford to pay the proposed penalty even though the
penalty as adjusted does not exceed EPA’s assessment of its ability to pay. In such cases, EPA
may consider a delayed payment schedule calculated in accordance with Agency installment
payment guidance and regulations. 14 In exceptional circumstances, EPA may also consider
further adjustment below the calculated ability to pay.

        Finally, EPA will generally not collect a civil penalty that exceeds a violator’s ability to
pay as evidenced by a detailed tax, accounting, and financial analysis. However, it is important
that the regulated community not choose noncompliance as a way of aiding financially troubled
businesses. Therefore, EPA reserves the option, in appropriate circumstances, of seeking a
penalty that might exceed the respondent’s ability to pay, cause bankruptcy, or result in a
respondent’s inability to continue in business. Such circumstances may exist where the
violations are egregious or the violator refuses to pay the penalty. However, if the case is
generated out of an EPA regional office, the case file must contain a written explanation, signed
by the regional authority duly delegated to issue and settle administrative penalty orders under
FIFRA, which explains the reasons for exceeding the “ability to pay” guidelines. To ensure full
and consistent consideration of penalties that may cause bankruptcy or closure of a business, the
regions should consult with the Waste and Chemical Enforcement Division (WCED). 15




13
   Note that under the Environmental Appeals Board ruling in In re: New Waterbury, LTD, 5 E.A.D. 529 (EAB
1994), in administrative enforcement actions for violations under statutes that specify ability to pay (which is
analogous to ability to continue in business) as a factor to be considered in determining the penalty amount, EPA
must prove it adequately considered the appropriateness of the penalty in light of all of the statutory factors.
Accordingly, enforcement professionals should be prepared to demonstrate that they considered the respondent’s
ability to continue in business as well as the other statutory penalty factors and that their recommended penalty is
supported by their analysis of those factors. EPA may obtain information regarding a respondent’s ability to
continue in business from the respondent, independent commercial financial reports, or other credible sources.
14
   See, 40 C.F.R. § 13.18.
15
    In accordance with the November 1, 1994 memorandum entitled, “Final List of Nationally Significant Issues and
Process for Raising Issues to TPED.” This final implementation guidance was developed in follow-up to Steve
Herman’s July 11, 1994 memorandum on “Redelegation of Authority and Guidance on Headquarters’ Involvement
in Regulatory Enforcement Cases.”

                                                        - 24 -
                                                                                                                 AR0000046
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 47 of 739



B.     Modifications of the Penalty

       1.      Graduated Penalty Calculations

        In instances where inspectors or case developers obtain records which evidence multiple
sales or distributions for the same violations, the Region may apply a “graduated” penalty
calculation. The graduated method should only be applied after a consideration of the actual or
potential serious or widespread harm caused by the violations, the toxicity of the pesticides
involved, and the culpability of the violator. The graduated penalty method should not be used
in cases involving highly culpable violators or violations that caused an actual serious or
widespread harm to human health or the environment. In cases involving violations that present
potential serious or widespread harm to human health or the environment, the Region should
decide whether application of the graduated penalty method is appropriate based on the
circumstances of the individual case.

        In no case is the graduated penalty method mandated and the Agency maintains its
statutory right to assess penalties of up to the statutory maximum for each violation, when
appropriate. For highly culpable parties the penalty should be calculated at the full value for all
violations. After considering the factors described above and determining that a graduated
penalty method is appropriate, the Region may calculate the penalty in accordance with Table 4
below. Table 4 provides for three separate graduated systems based on the three “size of
business” categories.

                                             TABLE 4

                                   Graduated Penalty Tables

             Number of           CATEGORY I “SIZE OF BUSINESS”
            Distributions                  RESPONDENTS
               1 – 100           100% of calculated per violation penalty
             101 – 400               25% of per violation penalty
                > 400                10% of per violation penalty

             Number of           CATEGORY II “SIZE OF BUSINESS”
            Distributions                   RESPONDENTS
                1 – 20            100% of calculated per violation penalty
               21 – 40                25% of per violation penalty
                 > 40                 10% of per violation penalty

             Number of          CATEGORY III “SIZE OF BUSINESS”
            Distributions                  RESPONDENTS
                 1–5             100% of calculated per violation penalty
                6 – 20               10 % of per violation penalty
                 > 20                 5% of per violation penalty

        Graduated penalties should generally be calculated separately for each type of violation
and for each product (in other words, on a “per product violation” basis). In cases involving
similar product violations (for example, violations involving products that contain the same

                                               - 25 -
                                                                                                  AR0000047
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 48 of 739


active ingredient and the same violative conduct on the part of the respondent), the Agency has
the discretion to group together similar product violations for the graduated penalty calculation.

        To calculate penalties using the graduated penalty method, the “adjusted” penalty amount
must first be determined in accordance with Steps 1-5 of section IV.A Computation of the
Penalty, above. The next step is to apply the graduated penalty calculation separately for each
product violation, beginning with the first sale/distribution at 100% and proceeding to calculate
the reduced penalty depending on the size of business. After the graduated penalty amount is
calculated for each separate product violation, the Agency should add together the graduated
penalty amounts for all of the product violations.

        For example, a Category II business distributes two products with a total of three
violations. For Product 1, the Agency is alleging misbranding (a Level 3 violation) and
distribution of an unregistered pesticide (a Level 1 violation), each for 61 shipments. For
Product 2, the Agency is alleging distribution of an unregistered pesticide (a Level 1 violation)
for 90 shipments. After applying the case-specific factors, no adjustments to the base penalties
were made. The graduated penalty calculation would proceed as follows:

       Product 1, Misbranding (Level 3):
              Violations 1-20 @ 100% = 20 violations @ $ 4,250 =            $ 85,000
              Violations 21- 40 @ 25% = 20 violations @ $ 1,063 =           $ 21,260
              Violations 41- 61 @ 10% = 21 violations @ $ 425 =             $ 8,925

       Product 1, Unregistered (Level 2):
              Violations 1-20 @ 100% = 20 violations @ $ 5,670 =            $113,400
              Violations 21- 40 @ 25% = 20 violations @ $ 1,418 =           $ 28,360
              Violations 41- 61 @ 10% = 21 violations @ $ 567 =             $ 11,907

       Product 2, Unregistered (Level 2):
              Violations 1-20 @ 100% = 20 violations @ $ 5,670 =            $113,400
              Violations 21- 40 @ 25% = 20 violations @ $ 1,418 =           $ 28,360
              Violations 41- 90 @ 10% = 50 violations @ $ 567 =             $ 28,350

        When the graduated penalty method is applied to the example case, the penalty is
$438,962, which is significantly lower than the $1,115,420 [(61 x 4,250) + (61 x 5,670) + (90 x
5, 670)] penalty that would be calculated without applying the graduated penalty.

       2.      Voluntary Disclosure

         Facilities that conduct an environmental audit or implement a compliance management
system and promptly self-disclose any violations may be eligible for a significant reduction in
the gravity-based penalty if they meet the nine criteria established in EPA’s Audit Policy
(Incentives for Self-Policing: Disclosure, Correction and Prevention of Violations: Final Policy
Statement, April 11, 2000). A facility may also be eligible for penalty reductions if they meet
the specific criteria outlined in the “Small Business Compliance Policy” (May 11, 2000). If a
facility self-discloses violations that do not qualify under the Audit Policy or Small Business
Compliance Policy, the Agency may consider a company’s willingness to disclose as good faith
(see Section IV.B.3.b.i. Good Faith Adjustments).



                                                - 26 -
                                                                                                 AR0000048
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 49 of 739


       3.      Adjusting the Proposed Civil Penalty in Settlement

       Certain circumstances may justify adjustment of the proposed penalty. These
circumstances may come to EPA’s attention when a respondent files an answer to a civil
complaint or during pre-filing settlement discussions under the Consolidated Rules of Practice
Governing Administrative Assessment of Civil Penalties, 40 C.F.R. Part 22.

               a.      Factual Changes

        EPA will recalculate the proposed penalty if the respondent can demonstrate that the size
of business category, the gravity level, or the gravity adjustment criteria (Appendix B) used to
derive the penalty is inaccurate. Adjustments to the proposed civil penalty may also be
appropriate if the respondent can demonstrate an inability to pay the civil penalty (see Section
IV.A.7. Ability to Continue in Business/Ability to Pay). Where additional facts indicate that the
original penalty is not appropriate, EPA will calculate a new penalty consistent with the new
facts. The burden is on the respondent to raise those factors which may justify the recalculation.

               b.      Negotiations Involving Only the Amount of the Penalty

       In some cases the respondent may admit to all jurisdictional and factual allegations
alleged in the complaint and may desire a settlement conference limited to the amount of the
proposed penalty. The following sections describe adjustments that EPA may consider during
settlement negotiations if the specific case meets the criteria set forth below.

                       i.     Good Faith Adjustments

        During the course of settlement negotiations, EPA may consider evidence of significant
good faith efforts by the respondent to comply with FIFRA prior to the discovery of the
violation(s) by EPA or a state as well as the respondent’s good faith efforts to comply with
FIFRA expeditiously after the discovery of the violation(s) by EPA or a state. In such instances,
EPA may reduce the penalty by as much as 20 percent below the proposed penalty, if such a
reduction would serve the public interest. A reduction for good faith efforts to comply is not
mandated in any case. Such a reduction in penalty should only occur where there is an
appropriate showing by respondent and finding by the Agency. Additionally, no reduction based
on good faith efforts of the respondent should extend beyond a total of 20 percent of the
proposed penalty without a showing of “special circumstances,” as discussed below. No
downward adjustment should be made if the Respondent fails to correct the violation(s) promptly
after EPA or a state discovers the violation(s). Moreover, no downward adjustment should be
made because respondent lacks knowledge concerning either applicable requirements or
violations committed by respondent.

                       ii.    Special Circumstances/Extraordinary Adjustments

       Should EPA determine in a particular case that equity would not be served by adjusting
the proposed penalty by only the allowable 20 percent adjustment for good faith, the FIFRA
program manager may approve an adjustment to the proposed penalty for up to an additional 20
percent. In such cases, the case file must include substantive reasons why the extraordinary
reduction of the civil penalty was appropriate, including: (1) setting forth the facts of the case;
(2) why the penalty derived from the FIFRA civil penalty matrices and gravity adjustment was

                                               - 27 -
                                                                                                 AR0000049
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 50 of 739


inequitable; (3) how all other methods for adjusting or revising the proposed penalty would not
adequately resolve the inequity; and (4) the manner in which the adjustment of the penalty
effectuated the purposes of the Act. The FIFRA program manager’s concurrence in the
extraordinary reduction must be included in the case file.

                      iii.    Supplemental Environmental Projects (SEPs)

        To further EPA’s goals to protect and enhance public health and the environment, certain
environmentally beneficial projects, or Supplemental Environmental Projects (SEPs), may be
included in the settlement. SEPs are environmentally beneficial projects which a respondent
agrees to undertake in settlement of an environmental enforcement action, but which the
respondent is not otherwise legally required to perform. In return, some percentage of the cost of
the SEP is considered as a factor in establishing the final penalty to be paid by the respondent.
EPA has broad discretion to settle cases with appropriate penalties. Evidence of a violator’s
commitment and ability to perform a SEP is a relevant factor for EPA to consider in establishing
an appropriate settlement penalty. While SEPs may not be appropriate in settlement of all cases,
they are an important part of EPA’s enforcement program. Whether to include a SEP as part of a
settlement of an enforcement action is within the sole discretion of EPA. EPA will ensure that
the inclusion of a SEP in settlement is consistent with “EPA Supplemental Environmental
Projects Policy,” effective May 1, 1998, or as revised.


                                      APPENDICES
Appendix A - FIFRA Violations and Gravity Levels

Appendix B - Gravity Adjustment Criteria

Appendix C - Summary of Tables

Appendix D - FIFRA Civil Penalty Calculation Worksheet

Appendix E – Enforcement Response Policy for FIFRA Section 7(c) – Pesticide Producing
Establishment Reporting Requirements

Appendix F – FIFRA: Worker Protection Standard (WPS) Penalty Policy – Interim Final

Appendix G – Enforcement Response Policy for the FIFRA Good Laboratory Practices (GLP)
Regulations




                                               - 28 -
                                                                                               AR0000050
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 51 of 739



                                APPENDIX A
              FIFRA VIOLATIONS AND GRAVITY LEVELS

FIFRA         CODE     VIOLATION                                                                 LEVEL
SECTION
12(a)(1)(A)   1AA      Sold or distributed a pesticide NOT REGISTERED under section 3            1
                       or one whose registration was CANCELLED or SUSPENDED,
                       except to the extent authorized by the administrator.
12(a)(1)(A)   1AB      Registrant, wholesaler, dealer, retailer, or any other distributor        2
                       ADVERTISED, or otherwise “offered for sale” in any medium a
                       pesticide that was NOT REGISTERED under section 3 or that was
                       CANCELLED or SUSPENDED, other than in accordance with
                       Agency policy.
12(a)(1)(B)   1BA      CLAIMS made for a pesticide as part of its sale or distribution           2
                       differed substantially from those accepted in connection with
                       registration
12(a)(1)(B)   1BB      Registrant, wholesaler, dealer, retailer, or the other distributor        2
                       ADVERTISED, or otherwise “offered for sale” in any medium a
                       registered pesticide product for an UNREGISTERED USE, other
                       than in accordance with Agency policy.
12(a)(1)(C)   1CA      Sold or distributed a pesticide whose COMPOSITION DIFFERED                2
                       from the composition represented in the registration
12(a)(1)(D)   1DA      Sold or distributed a pesticide that has not been COLORED or              2
                       DISCOLORED pursuant to section 25(c)(5)
12(a)(1)(E)   1EA      Sold or distributed a pesticide or device which is MISBRANDED in          2i
12(a)(1)(F)            that the labeling has a statement, design, or graphic representation
2(q)(1)(A)             that is false or misleading.
12(a)(1)(E)   1EB      Sold or distributed a pesticide or device which is MISBRANDED in          21
12(a)(1)(F)            that the package or other container or wrapping does not conform to
2(q)(1)(B)             the standards established pursuant to section 25(c)(3) (e.g., not
                       contained in child-resistant packaging or safety containers).
12(a)(1)(E)   1EC      Sold or distributed a pesticide or device that is MISBRANDED in           21
12(a)(1)(F)            that it is an imitation of, or is offered for sale under the name of,
2(q)(1)(C)             another pesticide.
12(a)(1)(E)   1ED      Sold or distributed a pesticide or device that is MISBRANDED in           4
12(a)(1)(F)            that the label did not bear the registration number assigned under
2(q)(1)(D)             section 7.
12(a)(1)(E)   1EE      Sold or distributed a pesticide or device that is MISBRANDED in           3
12(a)(1)(F)            that any words, statements, or other information required by the Act
2(q)(1)(E)             were not prominently placed on the label or labeling in such a way
                       as to make it readable or understandable.
12(a)(1)(E)   1EF      Sold or distributed a pesticide or device that is MISBRANDED in           1
12(a)(1)(F)            that the label, or labeling accompanying it, did not contain directions
2(q)(1)(F)             for use necessary to make the product effective and to adequately
                       protect health and the environment.
12(a)(1)(E)   1EG      Sold or distributed a pesticide or device that is MISBRANDED in           21


                                        - 29 -
                                                                                          AR0000051
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 52 of 739


FIFRA              CODE   VIOLATION                                                                   LEVEL
SECTION
12(a)(1)(F)               that the label did not contain a warning or caution statement
2(q)(1)(G)                adequate to protect health and the environment (precautionary
                          statements)
12(a)(1)(E)        1EH    Sold or distributed a non-registered pesticide intended for export          21
2(q)(1)(H)                that is MISBRANDED in that the label did not have a prominently
                          displayed “Not Registered for Use in the United States of America”
12(a)(1)(E)        1EI    Sold or distributed a pesticide that is MISBRANDED in that the              3
2(q)(2)(A)                label did not bear an ingredient statement on the immediate
                          container which is presented or displayed under customary
                          conditions of purchase.
12(a)(1)(E)        1EJ    Sold or distributed a pesticide that is MISBRANDED in that the              2
2(q)(2)(B)                labeling does not contain a statement of the use classification under
                          which the product was registered
12(a)(1)(E)        1EK    Sold or distributed a pesticide that is MISBRANDED in that there is
2(q)(2)(C)                not a label affixed to the pesticide container, and to the outside
                          wrapper of the retail package if the required information on the
                          immediate container cannot be clearly read, a label bearing all of the
                          following information:
                              (i)      the name and address of the producer, registrant, or           3
                                       person for whom produced
                              (ii)     the name brand, or trademark under which the pesticide         4
                                       is sold
                              (iii) the net weight or measure of the contents; and                    4
                              (iv)     when required by regulation, the registration number           3
                                       assigned to the pesticide.
12(a)(1)(E)        1EL    Sold or distributed a pesticide that is MISBRANDED in that the              1
2(q)(2)(D)                pesticide is sold in quantities highly toxic to man and the label failed
                          to bear the skull and crossbones, and the word “poison,”
                          prominently in red on a contrasting background color, and a
                          statement of practical treatment.
12(a)(1)(E)        1EM    Sold or distributed a pesticide that is ADULTERATED in that: (i)            2
2(c)(1)-(3)               the strength or purity falls below the professed standard of quality
                          expressed on the labeling; (ii) any substance has been substituted
                          wholly or in part for the pesticide; or (iii) any valuable constituent of
                          the pesticide has been wholly or in part abstracted.
12(a)(2)(A)        2AA    DETACHED, ALTERED, DEFACED, OR DESTROYED, in                                2
                          whole or in part, any LABELING required under the Act.
12(a)(2)(B)(i)     2BA    Refused to PREPARE, MAINTAIN, or SUBMIT any RECORDS                         2
                          required under sections 5, 7, ii 8, 11, or 19.
12(a)(2)(B)(ii)    2BB    Refused to SUBMIT any REPORTS required by or under sections 5,              2
                          6, 7,2 8, 11, or 19.
12(a)(2)(B)(ii)    2BC    A registrant refused to submit REPORTS under section 6(a)(2)                1
                          regarding UNREASONABLE ADVERSE EFFECTS of their
                          pesticide.
12(a)(2)(B)(iii)   2BD    Person refused to allow ENTRY, INSPECTION, COPYING OF                       2
                          RECORDS, or SAMPLING authorized by this Act.
12(a)(2)(C)        2CA    Person gave a GUARANTY or undertaking provided for in section               2

                                            - 30 -
                                                                                               AR0000052
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 53 of 739



FIFRA          CODE     VIOLATION                                                              LEVEL
SECTION
                        12(b) which was FALSE in any particular.
12(a)(2)(D)    2DA      Person used their personal advantage or revealed to persons other      3
                        than those authorized by the Act any INFORMATION acquired
                        under the Act that was CONFIDENTIAL.
12(a)(2)(E)    2EA      Registrant, wholesaler, dealer, retailer, or other distributor         2
                        ADVERTISED a RESTRICTED USE PESTICIDE without
                        indicating that the product was restricted.
12(a)(2)(F)    2FA      Person DISTRIBUTED, SOLD, MADE AVALIABLE FOR USE,                      3
                        or USED a RESTRICTED USE PESTICIDE for a purpose other                 2
                        than in accordance with section 3(d) or regulations issued.
12(a)(2)(F)    2FB      Person distributed, sold, or made available for use, or used, a        2
                        RESTRICTED USE PESTICIDE without maintaining the
                        RECORDS required by regulations (A Notice of Warning should be
                        issued for first-time partial violations. Violations continuing
                        subsequent to the issuance of a civil complaint are to result in a
                        suspension- see “Denials, Suspensions, Modifications, or
                        Revocations of Applicator Certifications” section of this ERP).
12(a)(2)(G)    2GA      Person USED a registered pesticide in a manner inconsistent with its   2
                        labeling.
12(a)(2)(H)    2HA      Person USED a pesticide under an EXPERIMENTAL USE                      2
                        PERMIT contrary to the provisions of the permit.
12(a)(2)(I)    2IA      Person violated any order issued under section 13 (i.e., STOP          1
                        SALE, USE, OR REMOVAL ORDER, or SEIZURES.
12(a)(2)(J)    2JA      Person violated any SUSPENSION ORDER issued under section 6.           1
12(a)(2)(J)    2JB      Person violated any SUSPENSION ORDER issued under section              2
                        3(c)(2)(B) or 4.
12(a)(2)(K)    2KA      Person violated any CANCELLATION ORDER issued under the                1
                        Act on grounds of UNREASONABLE ADVERSE EFFECTS.
12(a)(2)(K)    2KB      Person violated any CANCELLATION ORDER issued under the                2
                        Act on grounds OTHER THAN UNREASONABLE ADVERSE
                        EFFECTS.
12(a)(2)(K)    2KC      Person failed to submit a SECTION 6(g) NOTICE when required.           2
12(a)(2)(K)    2KD      Person submitted a NOTABLY LATE SECTION 6(g) NOTICE.                   3
12(a)(2)(K)    2KE      Person submitted an INCOMPLETE or INCORRECT SECTION                    3
                        6(g) NOTICE.
12(a)(2)(L)    2LA      PRODUCED a pesticide or active ingredient subject to the Act in an     2
7(a)2                   UNREGISTERED ESTABLISHMENT.
12(a)(2)(L)    2LB      Producer FAILED TO SUBMIT, or submitted NOTABLY LATE, a                2
7(c)(1)2                REPORT to the administrator, under SECTION 7, which indicates
                        the types and amounts of pesticides or active ingredients which they
                        are currently producing, which they produced during the year, and
                        which they sold or distributed during the past year.
12(a)(2)(L)    2LC      Producer submitted a LATE REPORT to the administrator, under           4
7(c)(1)2                SECTION 7, which indicates the types and amounts of pesticides or
                        active ingredients which they are currently producing, which they
                        produced during the year, and which they sold or distributed during

                                        - 31 -
                                                                                        AR0000053
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 54 of 739


FIFRA          CODE    VIOLATION                                                               LEVEL
SECTION
                       the past year (civil complaint issued only if the producer does not
                       respond to a Notice of Warning or there is a subsequent violation
                       within three year timeframe from the first violation).
12(a)(2)(L)    2LD     Producer submitted an INCOMPLETE SECTION 7 REPORT with                  3
7(c)(1)2               MINOR OMISSIONS of the required information (civil complaint
                       issued only if the producer does not respond to a Notice of Warning
                       or there is a subsequent violation within three year timeframe from
                       the first violation).
12(a)(2)(L)    2LE     Producer submitted an INCOMPLETE or a FALSE SECTION 7                   2
7(c)(1)                REPORT with MAJOR OMISSIONS or ERRORS of the required
                       information.
12(a)(2)(L)    2LF     Upon request of the administrator for the purposes of the issuance of   1
7(c)2                  a section 13 Stop Sale Orders, a PRODUCER FAILED TO
                       PROVIDE the names and addresses of any recipients of any
                       pesticides produced in any of his registered establishments.
12(a)(2)(M)    2MA     Person KNOWINGLY FALSIFIED all or any part of an application            1
                       for registration, application for an experiment use permit, any
                       information submitted under section 7, any records required to be
                       maintained by the Act, any reports filed under the Act, or any
                       information marked as confidential and submitted to the
                       administrator under any provision of the Act.
12(a)(2)(N)    2NA     A registrant, wholesaler, dealer, retailer, or other distributor        2
                       FAILED TO FILE REPORTS (other than reports addressed in the
                       section 7(c) ERP) required by the Act.
12(a)(2)(O)    2OA     Person ADDED A SUBSTANCE TO or TOOK any substance from                  2
                       a pesticide in a manner that may defeat the purpose of the Act.
12(a)(2)(P)    2PA     Person USED a pesticide in TESTS ON HUMAN BEINGS in                     1
                       violations of the conditions specified by the Act.
12(a)(2)(Q)3   2QA     Person FALSIFIED INFORMATION RELATING to the TESTING                    1
                       of any pesticide (or any of its ingredients, metabolites, or
                       degradation products)that the person knows will be furnished to the
                       administrator, or will become a part of any records required to be
                       maintained by the Act
12(a)(2)(Q)3   2QB     Person falsely represented compliance with the FIFRA Good               2
                       Laboratory Practice (GLP) regulations as a result of a HIGH
                       LEVEL GLP violation.
12(a)(2)(Q)3   2QC     Person falsely represented compliance with the FIFRA Good               3
                       Laboratory Practice (GLP) regulations as a result of a MID LEVEL
                       GLP violation.
12(a)(2)(Q)3   2QD     14(a)(1) person falsely represented compliance with the FIFRA           4
                       Good Laboratory Practice (GLP) regulations as a result of a LOW
                       LEVEL GLP violation.
12(a)(2)(Q)3   2QE     14(a)(2) person falsely represented compliance with the FIFRA           3
                       Good Laboratory Practice (GLP) regulations as a result of a LOW
                       LEVEL GLP violation.
12(a)(2)(R)3   2RA     Person submitted DATA KNOWN TO BE FALSE in support of                   1
                       registration.

                                        - 32 -
                                                                                        AR0000054
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 55 of 739



FIFRA             CODE          VIOLATION                                                                    LEVEL
SECTION
12(a)(2)(S)4      2SA           Person sold, distributed, or used an UNREGISTERED pesticide in
                                violation of a REGULATION ISSUED UNDER SECTION 3(a).
12(a)(2)(S)4      2SB           Person violated any REGULATION ISSUED UNDER SECTION
                                19.




1
  If a label has two or more Level 2 misbranding violations, the appropriate gravity level is increased to
Level 1.
2
  Section 7(c)(1) violations are covered in the Enforcement Response Policy for FIFRA Section 7(c),
Pesticide producing Establishment Reporting requirement dated June 2007.
3
  Violations regarding laboratory practice are covered in the FIFRA Good Laboratory Practice (GLP)
Regulations dated September 30, 1991.
4
  Gravity levels for these violations will be assigned in subsequent ERPs.




                                                   - 33 -
                                                                                                         AR0000055
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 56 of 739




                                         APPENDIX B
                         GRAVITY ADJUSTMENT CRITERIA1

VIOLATION        VALUE CIRCUMSTANCES
GRAVITY
OF HARM
Pesticide        3           Toxicity - Category I pesticides, signal word “Danger,” restricted use
                             pesticides (RUPs), pesticides with flammable or explosive characteristics (i.e.,
                             signal words “Extremely Flammable” or “Flammable”), or pesticides that are
                             associated with chronic health effects (mutagenicity, oncogenicity,
                             teratogenicity, etc.) or pesticide is unregistered and the ingredients or labeling
                             indicate Category I toxicity.
                 2           Toxicity - Category II, signal word “Warning” or pesticide unregistered and
                             unknown, but not expected to meet Category I toxicity criteria.
                 1           Toxicity – Category III or IV, signal word “Caution” or pesticide unregistered
                             and ingredients lower or minimum risk category.
Harm to       5              Actual serious or widespread1 harm to human health.
Human Health
              3              Unknown or potential serious or widespread harm to human health
              1              Minor2 potential or actual harm to human health.
              0              Negligible3 harm to human health anticipated.
Environmental 5              Actual serious or widespread1 harm to the environment (e.g., crops, water,
Harm                         livestock, wildlife, wilderness, or other sensitive natural areas).
              3              Unknown or potential serious or widespread1 harm to the environment health
              1              Minor2 potential or actual harm to the environment.
              0              Negligible3 harm to the environment anticipated.
Compliance    4              Violator with more than one prior violation of FIFRA.
History4
              2              Violator with one prior violation of FIFRA.
              0              No prior FIFRA violations.
Culpability5  4              Knowing or willful violation of the statute.6 Knowledge of the general
                             hazardousness of the activity.
                 2           Culpability unknown or violation resulting from negligence.
                 1           Violation resulted from negligence. Violator instituted steps to correct the
                             violation immediately after discovery of the violation.
                 0           Violation was neither knowing nor willful and did not result from negligence.
                             Violator instituted steps to correct the violation immediately after discovery of
                             the violation.


                                        APPENDIX B NOTES
1
  For the purposes of this ERP, serious or widespread harm refers to actual or potential harm which does
not meet the parameters of minor harm or negligible harm, as described below.



                                                  - 34 -
                                                                                                      AR0000056
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 57 of 739




2
  For the purposes of this ERP, minor harm refers to actual or potential harm which is, or would be of
short duration, no lasting effects or permanent damage, effects are easily reversible, and harm does not, or
would not result in significant monetary loss.
3
  For the purposes of this ERP, negligible harm refers to no actual or potential harm or actual or potential
harm which is insignificant or unnoticeable and has no lasting effects or permanent damage or monetary
loss.
4
  The following considerations apply when evaluating compliance history for the purposes of Appendix
B:
        (a) In order to constitute a prior violation, the prior violation must have resulted in: (1) a final
        order, either as a result of an uncontested complaint, or as a result of a contested complaint which
        is finally resolved against the violator; (2) a consent order, resolving a contested or uncontested
        complaint by the execution of a consent agreement; (3) the payment of a civil penalty by the
        alleged violator in response to the complaint, whether or not the violator admits to the allegations
        of the complaint; or (4) conviction under the FIFRA’s criminal provisions.

        A notice of warning (NOW) will not be considered a prior violation for the purposes of the
        gravity adjustment criteria, since no opportunity has been given to contest the notice.
        Additionally, a stop sale, use, or removal order (SSURO) issued under FIFRA section 13 will not
        be considered as compliance history.

        (b) To be considered a compliance history for the purposes of Appendix B, the violation must
        have occurred within five years of the present violation. This five-year period begins on the date
        of a final order, consent order, or payment of a civil penalty.

        (c) Generally, companies with multiple establishments are considered as one when determining
        compliance history. If one establishment of a company commits a FIFRA violation, it counts as
        history when another establishment of the same company, anywhere in the country, commits
        another FIFRA violation

        (d) An enforcement action or citation issued by a state lead agency will count as a prior violation
        if all the above considerations are met.
5
  EPA enforcement officials are not required to determine culpability at the time the complaint is issued
(especially if this information is not readily available). EPA enforcement officials may instead assign a
weighting factor of 2 (culpability unknown), at the time of the issuance of the complaint. Culpability
adjustments may be reconsidered during settlement negotiations.
6
 The Agency may also consider criminal proceedings for “knowing and willful” violations. See the
“Criminal Proceedings” section of this ERP.




                                                   - 35 -
                                                                                                         AR0000057
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 58 of 739




                             -36-
                                                                     AR0000058
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 59 of 739




                                             TABLE 3

                            GRAVITY ADJUSTMENT CRITERIA

Total Gravity Value from Appendix B                 Enforcement Remedy
3 or below                                          No action or Notice of Warning (60%
                                                    reduction of matrix value recommended where
                                                    multiple count violations exist)
4                                                   Reduce matrix value 50%
5                                                   Reduce matrix value 40%
6                                                   Reduce matrix value 30%
7                                                   Reduce matrix value 20%
8                                                   Reduce matrix value 10%
9 to 11                                             Assess matrix value
12                                                  Increase matrix value 10% **
13                                                  Increase matrix value 20% **
14                                                  Increase matrix value 30% **
15                                                  Increase matrix value 40% **
16                                                  Increase matrix value 50% **
17 or above                                         Increase matrix value 60% **

** Matrix value can only be increased to the statutory maximum.




                                                - 37 -
                                                                                             AR0000059
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 60 of 739




                                  APPENDIX D
          FIFRA CIVIL PENALTY CALCULATION WORKSHEET

 Respondent:                                     Brief Description of Violation

 Docket No.:
 APPENDIX A
 1. Violation
 2. FTTS Code & Violation Level
 TABLE 1
 3. Violator Category & Size of
 Business Category
 APPENDIX A
 4. Gravity of the Violation
 TABLE 2
 5. Base Penalty
 APPENDIX B
 6. Gravity Adjustments
    a. Pesticide Toxicity
    b. Harm to Human Health
    c. Environmental Harm
    d. Compliance History
    e. Culpability
    f. Total Gravity Adjustment
 (Add 6a - 6e)
 TABLE 3
 7. Percent & Dollar Adjustment
 8. Economic Benefit
 TABLE 4
 9. Graduated Penalty
 10. Final Penalty


________________________                                ________________________
Case Development Officer                                Date



                                      - 38 -
                                                                                  AR0000060
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 61 of 739




                             Example
          FIFRA CIVIL PENALTY CALCULATION WORKSHEET

 Respondent:                                      Brief Description of Violation

 Docket No.:
 APPENDIX A                                             §12(a)(1)(C)
 1. Violation
 2. FTTS Code & Violation Level                            1CA / 2
 TABLE 1                                           §14(a)(1) / Category I
 3. Violator Category & Size of
 Business Category
 APPENDIX A
 4. Gravity of the Violation                                    2
 TABLE 2                                                    $7,150
 5. Base Penalty
 APPENDIX B
 6. Gravity Adjustments                                         1
    a. Pesticide Toxicity
    b. Harm to Human Health                                     3
    c. Environmental Harm                                       3
    d. Compliance History                                       0
    e. Culpability                                              2
    f. Total Gravity Adjustment                                 9
 (Add 6a - 6e)
 TABLE 3                                            Assess Matrix Value
 7. Percent & Dollar Adjustment
 8. Economic Benefit
 TABLE 4                                                 Not applied
 9. Graduated Penalty
 10. Final Penalty                            $7,150 x 10 Violations = $71,500

________________________                                 ________________________
Case Development Officer                                 Date




                                     - 39 -
                                                                                   AR0000061
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 62 of 739




                                                                     AR0000062
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 63 of 739




                                                                     AR0000063
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 64 of 739
            United States
            Environmental Protection Agency                    Revised 2019




            Federal Insecticide,
            Fungicide, and
            Rodenticide Act
            (FIFRA) Inspection
            Manual




                          U.S. Environmental Protection Agency
                    Office of Enforcement and Compliance Assurance
                                   Office of Compliance
                              1200 Pennsylvania Avenue, NW
                                  Washington DC, 20460




                                                                      AR0000064
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 65 of 739




                                         DISCLAIMER

This Inspection Manual is an inspection support tool provided by the U.S. Environmental
Protection Agency (EPA), for use by EPA regions, states and tribes conducting federal
inspections under the Federal Insecticide, Fungicide, and Rodenticide Act. This Inspection
Manual is not a regulation and, therefore, does not add, eliminate or change any existing
regulatory requirements. The statements in this document are intended solely as guidance.
This document is not intended, nor can it be relied on, to create any rights enforceable by any
party in litigation with the United States. EPA, state and tribal officials may decide to follow the
guidance provided in this document, or to act at variance with the guidance, based on analysis
of specific-site circumstances. This guidance may be revised without public notice to reflect
changes in EPA’s policy.




                                                                                                  AR0000065
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 66 of 739


                                          FOREWORD

The purpose of this Manual is to assist inspectors who conduct inspections pursuant to the
Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA). This Manual applies to all FIFRA
inspections.

To help us update the Manual so that it remains a viable working tool, readers are encouraged
to offer suggestions, amendments and constructive criticism generated by their field experience
and use of the Manual. Comments should be forwarded to Helene Ambrosino at EPA
Headquarters ambrosino.helene@epa.gov, 202-564-2627.




                                                                                                AR0000066
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 67 of 739




                                    REVISION HISTORY


February 2014 — Chapter 6 was revised at the request of EPA’s Office of Civil Enforcement. The
revision sets forth a protocol on obtaining records documenting the distribution and sale of
sampled product.

March 2014 — Changed contact for comments on the Manual.

August 2019

 Chapter      Revision
 General      A comprehensive review and update of the 2013 FIFRA Inspection Manual to reflect
              clarifications and new policy, guidance, etc,, as appropriate.
 1            Updated CBI section.
              Updated Exhibit 1-1.
              Deleted Exhibit 1-2.
              Added reference Interim Policy on Inspection Streamlining and Standardization.
 2            Deleted Exhibit 2-1 and referenced EPA health and safety courses in the chapter.
              Added reference to 2016 Biosecurity Guidance.
 3            Added new guidance and policies.
              Added language on new SOPs for field activities.
 4            Updated the Interagency Referral section.
 5            Updated language concerning Notice of Inspection and Consent to Entry.
 6            Updated Payment for Samples section.
              Updated language concerning the sampling of Liquid Material.
              Updated language in Samples Showing Shipment to delete reference to collecting
              one year’s worth of records.
 8            Deleted reference to obsolete Form 3540-20.
 9            Added a reference to the National List of Active Establishments available online.
              Added additional bullets to section on pre-inspection preparation.
              Added checklists for container/containment inspections.
 12           Updated language concerning imports to include references to ACE and Foreign
              Trade Zones.
 16           Added language on the difference between a “statement” and an “affidavit”.
              Added reference to Interim Policy on Inspection Streamlining and Standardization.




                                                                                                  AR0000067
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 68 of 739




              FIFRA INSPECTION MANUAL

                                 TABLE OF CONTENTS

Chapter 1: General Information

Chapter 2: Health and Safety

Chapter 3: Pesticide Law, Policy and Compliance Strategies

Chapter 4: Federal, State and Tribal Cooperation

Chapter 5: Gaining Entry

Chapter 6: Pesticide Product Sampling

Chapter 7: Residue and Environmental Sampling

Chapter 8: Use Inspections

Chapter 9: Establishment Inspections

Chapter 10: Experimental Use Permit Inspections

Chapter 11: Restricted Use Pesticides: Dealer and Applicator Records Inspections

Chapter 12: Pesticide/Device Import and Export Inspections

Chapter 13: Cancellation and Suspension

Chapter 14: Stop Sale, Use, or Removal Orders

Chapter 15: Recalls

Chapter 16: Inspection Reports and Supporting Documentation

Chapter 17: Enforcement




                                                                                   AR0000068
            Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 69 of 739




                                     CHAPTER ONE
                                 GENERAL INFORMATION

                                                                             CONTENTS
Standards of Professional Conduct ...................................................................................................................................2
Professional Attitude .............................................................................................................................................................. 3
Attire and Personal Protective Equipment .................................................................................................................... 3
Relationships with Industry and the Public ..................................................................................................................3
Gifts, Favors and Meals...........................................................................................................................................................3
Knowledge Required of a FIFRA Inspector .................................................................................................................... 4
Small Businesses .......................................................................................................................................................................5
Disclosure of Official Information...................................................................................................................................... 5
    Requests for Information by Industry or the Public ............................................................................................. 5
    Confidential Business Information .............................................................................................................................. 5
    Procedures for CBI Acquired by an EPA Inspector During an Inspection ................................................... 6
    Procedures for CBI Requested by a State or Tribal Inspector .......................................................................... 6
Exhibit 1-1: EPA Federal Forms used for FIFRA.......................................................................................................... 8
    FIFRA Inspection Forms ................................................................................................................................................... 8
    Other FIFRA Forms ............................................................................................................................................................. 8




                                                                                                                                                                                    AR0000069
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 70 of 739




                  GENERAL INFORMATION
This manual provides guidance to inspectors conducting pesticide inspections under the
authority of the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA). It includes
recommended procedures and forms for federal inspections.
Inspections are conducted in five phases: (1) inspection preparation; (2) entry and opening
conference; (3) observations and evidence collection; (4) receipt for samples/statement(s) and
closing conference; and (5) inspection reporting. Conducting all inspections in this manner will
ensure that the inspector fulfills the statutory requirements for conducting inspections
authorized under Sections 8 and 9 of FIFRA. EPA has developed forms for use during inspections
that will assist the inspector in completing all phases. For a complete listing of the forms, see
Exhibit 1-1.


                  STANDARDS OF PROFESSIONAL CONDUCT

The following standards of ethics must be observed at all times. The inspector shall:
•   Conduct investigations within the framework of the United States Constitution and with due
    consideration for individual rights, regardless of race, sex, creed or national origin.
•   Uphold the Constitution, laws and regulations of the United States and all governments
    therein and never be a party to their evasion.
•   Never use any information obtained confidentially in the performance of governmental
    duties as a means of making private profit.
•   Never commit any act (or failure to act) in a manner that might be construed as being
    motivated by personal or private gain (conflict of interest).
•   Never discriminate by dispensing special favors or privileges to anyone, whether for
    remuneration or not; and never accept, for his/her or their families, favors or benefits
    under any circumstances.
•   Develop and report facts of an investigation completely, objectively and accurately.
•   Make no promises of any kind; government employees (inspectors) cannot bind
    government enforcement.
•   Continually attempt to improve professional knowledge and technical skill in the
    investigative field.




Chapter 1                                                                                   Page 2


                                                                                               AR0000070
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 71 of 739




                             PROFESSIONAL ATTITUDE

Because the inspector is often the initial or only contact between the Agency and industry or
the public, he/she must be tactful, courteous and diplomatic, while establishing an atmosphere
of cooperation through a firm but responsive attitude.


            ATTIRE AND PERSONAL PROTECTIVE EQUIPMENT

Good public relations and practical common sense require appropriate dress for inspection
activities. Protective clothing is required for many inspections. Inspectors must wear any safety
equipment that may be customary in the establishment being inspected. Chapter 2 provides
additional information on personal protective safety equipment.


            RELATIONSHIPS WITH INDUSTRY AND THE PUBLIC

It is important to establish good working relationships with industry, the public and consumers.
The inspector must introduce himself/herself by name, title and organization, present his/her
credentials and explain the purpose of the visit. The inspector must not speak of any product
manufacturer or person in a derogatory manner. All information acquired in the course of an
inspector's duties is to be used for official purposes only.
There may be times when an inspector is requested to provide advice that amounts to
compliance assistance. See the “National Policy on the Role of the EPA Inspector in Providing
Compliance Assistance during Inspection.”
If an inspector is approached by a member of the public, including the media, during an
inspection, the inspector should respectfully refer any inquiries concerning the inspection to
the EPA (or appropriate state/tribal) press office. The inspector must not divulge any
information about the inspection. Where the media representative is persistent, it may be
necessary to stop the inspection temporarily to allow time to consult with the EPA (or
appropriate state/tribal) press office.


                             GIFTS, FAVORS AND MEALS

An inspector shall not accept anything of value from industry or the public for, or because of,
any official act he/she has performed or will perform. However, an inspector may accept
refreshments of nominal value in the ordinary course of a luncheon or dinner meeting or other
meetings or on inspection tours when it is not proper or feasible for the inspector to pay. For
more information on ethics standards, visit the U.S. Office of Government Ethics.




Chapter 1                                                                                  Page 3


                                                                                                 AR0000071
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 72 of 739




              KNOWLEDGE REQUIRED OF A FIFRA INSPECTOR

A FIFRA Inspector must have knowledge of FIFRA and its implementing regulations (at 40 C.F.R.
Parts 150-189), as well as the other requirements set forth in EPA Orders 1440.2 and 3500.1
including all Health and Safety Requirements (see Chapter 2).
A good inspector must have certain communication and intuitive skills in order to complete a
thorough investigation. The inspector must know how to:
•   Substantiate all statements of witnesses with facts or items of evidence.
•   Collect and document evidence to support a successful civil action, criminal prosecution or
    seizure.
•   Accurately and clearly write an inspection report, containing all information, data and other
    records, such as photos, gathered during the inspection.
•   Obtain respect, inspire confidence and maintain the good will of the public, industry and
    consumers during interviews.
•   Conduct sampling procedures in a safe and professional manner, preserving the chain of
    custody.
•   Use good interview techniques and detect discrepancies or lack of good faith during
    interviews.
•   Be accurate, thorough, unbiased and fair while conducting an investigation/inspection and
    preparing the inspection report.
•   Testify in court.

In addition, an inspector should have generalized knowledge of the following federal laws and
regulations that could be relevant to an inspection in that the facility being inspected may be
subject to additional regulations. Links are included where available on-line:
•   Clean Air Act (CAA)
•   Federal Water Pollution Control Act (FWPCA)/ Clean Water Act (CWA)
•   Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA) and
    Superfund Amendments and Reauthorization Act (SARA)
•   Endangered Species Act (ESA)
•   Emergency Planning and Community Right-To-Know Act (EPCRA)
•   Federal Food, Drug, and Cosmetic Act (FFDCA)
•   Hazardous Materials Transportation Act (HMTA)
•   Occupational Safety and Health Act (OSHA)
•   Resource Conservation and Recovery Act (RCRA)
•   Safe Drinking Water Act (SDWA)
•   Toxic Substances Control Act (TSCA)
•   Appropriate state pesticide and environmental legislation
•   Department of Transportation (DOT) Regulations



Chapter 1                                                                                  Page 4


                                                                                               AR0000072
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 73 of 739




•   Department of Homeland Security (DHS) – Customs and Border Protection Regulations at 19
    C.F.R.; in particular sections 12.110 – 12.117
•   Federal Facility Compliance Act (FFCA)


                                  SMALL BUSINESSES

EPA provides a variety of resources to help small businesses understand and comply with
federal and state law, in part, due to the Small Business Regulatory Enforcement Fairness Act
(SBREFA). The EPA Small Business Resources Information Sheet is required to be given out
during every inspection. The flyer provides useful information on resources for small business
that may be faced with environmental compliance issues.


                  DISCLOSURE OF OFFICIAL INFORMATION

REQUESTS FOR INFORMATION BY INDUSTRY OR THE PUBLIC

The Freedom of Information Act (FOIA) governs the disclosure of information to industry and
the public. Information about FOIA is available at http://www.epa.gov/foia/.
Federal inspectors as well as state or tribal inspectors performing federal inspections shall
not release under FOIA or similar state law, any notes, documents, reports, etc. obtained or
prepared in connection with a FIFRA inspection until such time as authorized by EPA. Should
the state or tribe receive a FOIA or similar request for documentation relative to an open or
ongoing FIFRA inspection, the state or tribe shall contact the EPA regional FIFRA program
office or headquarters FIFRA Enforcement Office. EPA inspectors should refer to the
“Interim Policy on Inspection Report Timeliness and Standardization”, issued by OECA on
June 29, 2018 or any subsequent final policy.

CONFIDENTIAL BUSINESS INFORMATION

Sections 10 and 12(a)(2)(D) of FIFRA address the protection of trade secrets and confidential
business information (CBI). Only persons authorized by EPA are allowed access to CBI. See
“FIFRA Information Security Manual”. Information received that is marked “trade secret” or
“confidential” must not be copied unless authorized in writing by EPA.
The written authorization to make copies must contain the following information:
    1. The name of the recipient of the copy.
    2. The intended purpose for which the copy is to be used.
    3. The manner in which the copy is to be disposed of after use.

When a member of the public, or a representative from a state, local, tribal or federal agency
requests access to any information considered confidential, the person handling the request

Chapter 1                                                                                 Page 5


                                                                                                 AR0000073
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 74 of 739




must comply with the procedures set forth in Subpart B of 40 C.F.R Part 2. All such requests
must be referred to the appropriate EPA regional office.
State and tribal inspectors conducting inspections using federal credentials to conduct FIFRA
section 8 and 9 inspections are not authorized to obtain or access CBI on behalf of EPA unless
the claim of CBI has been waived. Additionally, where state or tribal inspectors are conducting
an inspection under their own state or tribal authority, they may have CBI authority under state
or tribal law.
Where a state or tribal inspector is conducting an inspection on behalf of EPA using federal
credentials and records claimed as CBI are necessary to complete the inspection, the inspector
must use the procedures described below. Check with your EPA regional office for the name of
the current Document Control Officer (DCO).

PROCEDURES FOR CBI ACQUIRED BY AN EPA INSPECTOR DURING AN
INSPECTION

During an opening conference, the inspector should raise the facilities right to make a claim of
CBI. The following procedures must be adhered to when an EPA inspector receives FIFRA CBI:
   1. The information received shall be marked as “FIFRA CBI” or the red FIFRA CBI cover
      sheet shall be attached to the information.
   2. The CBI information shall be placed in an envelope, sealed and marked, “CBI—To Be
      Opened ONLY by Addressee” and the name of the Regional DCO. This envelope is then
      to be placed into another envelope which is normally addressed and sealed, with no
      indication that it contains CBI.
   3. The envelope shall be given to the Regional DCO to be properly logged in as CBI.
   4. CBI must be maintained only in a locked filing cabinet or safe.


PROCEDURES FOR CBI REQUESTED BY A STATE OR TRIBAL INSPECTOR

During an opening conference, the inspector should raise the facilities right to make a claim of
CBI. The following procedures apply to state/tribal inspectors using federal credentials and
federal authority:
   1. The inspector shall request that the establishment place any information claimed to be
       CBI in a double sealed envelope.
   2. The inspector shall list the requested information claimed to be CBI on the “Receipt for
       Samples” and/or “Statement Form”.
   3. The inspector shall provide the owner/operator with a correct address for the EPA
       Regional DCO to submit the CBI to EPA or, alternatively, the inspector may accept the
       double wrapped package containing CBI and deliver it unopened to EPA.



Chapter 1                                                                                  Page 6


                                                                                               AR0000074
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 75 of 739




   4. The inspector shall clearly document the list of requested information claimed to be CBI
       to be sent to the EPA DCO in the inspection report.
   5. The inspector shall send the inspection report, noting the CBI requested on the “Receipt
       for Samples” and/or “Statement Form” and in the inspection report, to the EPA Regional
       Office or Headquarters, as appropriate.




Chapter 1                                                                               Page 7


                                                                                            AR0000075
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 76 of 739




            EXHIBIT 1-1: EPA FEDERAL FORMS USED FOR FIFRA

FIFRA INSPECTION FORMS

The FIFRA inspection forms listed below are to be used during all inspections conducted using
federal credentials. A region can supply the forms to regional staff, state lead agencies or tribal
pesticide programs for use during an inspection conducted under federal authority and federal
credentials. The forms cannot be changed or modified. Forms:
   •   3540-2 Notice of Inspection
   •   3540-3 Receipt for Samples
   •   3540-4 Sample Jacket Cover Page
   •   3540-13 Copy of Invoice/Shipping Records
   •   3540-17 History of Sample (PDF) (516K, 1 pp)
   •   3540-25 Notice of Inspection - Use/Misuse (Interactive PDF) (515K, 1 pp)
   •   3540-26 Receipt for Samples - Use/Misuse (Interactive PDF) (515K, 1 pp)
   •   3540-27 Stop Sale, Use, Removal Notice (Interactive PDF) (442K, 1 pp)
   •   3540-41 Chain of Custody Form (PDF) (307K, 2 pp)
   •   3540-42 Statement (Interactive PDF) (512K, 2 pp)
   •   3540-43 FIFRA Photo Log
   •   7500-2 Official Sample Seal




FIGURE 1 - EPA OFFICIAL SAMPLE SEAL


OTHER FIFRA FORMS

   •   3540-1 Notice of Arrival of Pesticides and Devices
   •   3540-8 Application for Registering a Pesticide, Device or Active Ingredient Producing
       Establishment
   •   3540-16 Pesticide Report for Pesticide-Producing and Device-Producing Establishments




Chapter 1                                                                                    Page 8


                                                                                                 AR0000076
            Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 77 of 739




                                            CHAPTER TWO
                                         HEALTH AND SAFETY

                                                                                CONTENTS

Introduction...............................................................................................................................................................................3
Personal Protective Equipment.......................................................................................................................................3
    Eye Protection .......................................................................................................................................................................3
    Foot Protection ..................................................................................................................................................................... 4
    Hand Protection .................................................................................................................................................................. 4
    Ear Protection ...................................................................................................................................................................... 5
    Nasal, Mouth and Respiratory Protection .................................................................................................................5
    Head Protection.................................................................................................................................................................... 6
    Back Protection .................................................................................................................................................................... 6
    Clothing Protection ............................................................................................................................................................. 6
General Safety Precautions................................................................................................................................................... 7
    Awareness .............................................................................................................................................................................. 7
    Man-Lifts and Cage-Type Elevators ............................................................................................................................. 8
        Cage-Type Elevators ...................................................................................................................................................... 9
        Man-lifts .............................................................................................................................................................................. 9
    Ladder Safety .........................................................................................................................................................................9
    Lifting Safety ....................................................................................................................................................................... 10
    Machine and Equipment Safety .................................................................................................................................. 10
    Safety Signs.......................................................................................................................................................................... 10
    Electrical Safety ................................................................................................................................................................. 10
    Confined Spaces................................................................................................................................................................. 10
Safety While Sampling ......................................................................................................................................................... 11
    Sampling Near Trucks and Trailers .......................................................................................................................... 12
    Sampling Rail Cars............................................................................................................................................................ 12
        Boxcars ............................................................................................................................................................................ 13
        Hopper Cars.................................................................................................................................................................... 13

Chapter 2                                                                                                                                                                            Page 1




                                                                                                                                                                                            AR0000077
            Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 78 of 739




    Sampling Bins and Tanks .............................................................................................................................................. 14
    Sampling Bagged or Packed Products ...................................................................................................................... 15
    Sampling Bulk Bagged Products (Large Volume Bags)..................................................................................... 15
Hazards and Hazardous Materials.................................................................................................................................. 15
    Exposure to Hazardous Materials .............................................................................................................................. 17
    Hazards ................................................................................................................................................................................. 17
    Entry and Exit..................................................................................................................................................................... 18
    Inspector Responsibilities............................................................................................................................................. 18
Environmental Biological Hazards ................................................................................................................................. 18
    Be Aware of Pathogen Hazards During an Inspection ................................................................................. 18
    Protecting Against Environmental Pathogens ...................................................................................................... 19
    Common Pathogens ......................................................................................................................................................... 20
Travel Safety ............................................................................................................................................................................ 23
    Vehicle Safety ..................................................................................................................................................................... 23
    Personal Safety .................................................................................................................................................................. 24
    Lodging Safety .................................................................................................................................................................... 24




Chapter 2                                                                                                                                                                          Page 2




                                                                                                                                                                                          AR0000078
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 79 of 739




                      HEALTH AND SAFETY

                                     INTRODUCTION

Manufacturing plants, blenders, processors, elevators, mills and warehouses can be hazardous
work environments. Inspection of these places will, at times, include potentially hazardous
situations. Personal health and safety must be a top priority for every inspector. To ensure
maximum protection under any and all conditions:
   •   Prepare and plan for health and safety.
   •   Always bring and use safety equipment.
   •   Be aware of potential dangers posed at each type of establishment.
   •   Exercise care and use common sense at all times.
   •   Prevent accidents by specifically requesting and conforming to known safety practices. If
       there are questions about the safe way to do a job, ask a supervisor for help and
       instruction.
   •   Contact regional Safety, Health and Environmental Management Program Manager
       for pertinent health and safety information and to determine the eligibility and
       need for medical monitoring.
Note that EPA’s Office of Compliance offers Health and Safety courses for inspectors that
conduct field activities and are required to receive and maintain federal inspector credentials.


                    PERSONAL PROTECTIVE EQUIPMENT

FIFRA inspections take place in locations that may pose health and safety dangers to inspectors.
Additionally, industrial solvents, pesticides, or fertilizers can corrode or destroy equipment,
clothing and footwear. Therefore, it is critical to use Personal Protective Equipment (PPE)
during FIFRA inspections. The following list of PPE is provided. Note that all PPE require regular
cleaning, visual checks and maintenance.

EYE PROTECTION

Types of eye protection include:
   •   Goggles—Goggles form a tight seal around the eye area and provide an impervious
       barrier against objects getting into the eyes. They often may be uncomfortable and hard

Chapter 2                                                                                  Page 3




                                                                                               AR0000079
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 80 of 739




       to see through because of condensation. Goggles may be directly vented, indirectly
       vented or non-vented. Directly vented goggles may be used for particle deflection. They
       will not, however, be impervious to liquids. Indirectly vented goggles will afford
       protection from particles as well as most liquid spatters. Non-vented goggles should be
       used when dealing with anhydrous ammonia.
   •   Face shield—Face shields form a plane of protection in front of the eyes. The eyes, nose,
       and mouth can be protected from direct (perpendicular to the shield) exposure. Objects
       or substances coming from other directions, however, may get into the face or eyes.
       When not in use, the face shield may be flipped out of the way to wipe the face. A shield
       may also be easily used over prescription glasses. A face shield affords only secondary
       protection and must be used with either goggles or safety glasses.
   •   Safety glasses—Safety glasses are available in either clear lenses or prescription lenses.
       Like the shield, they do not afford protection from non-direct exposure. Side guards are
       available to protect from non-direct exposure and must be used to make them more
       effective. If glare may be a problem, tinting may be added.

FOOT PROTECTION

Types of foot protection include:
   •   Footwear (shoes or work boots)—Footwear should be comfortable to wear, fit properly
       and provide proper support. Secondly, it must have a steel toe or protective support in
       case objects are dropped on the foot. The sole and heel of the footwear must be
       appropriate for the working environment. Do not wear slick-soled shoes or sneakers.
       Use proper protective mechanisms to prevent your feet from being exposed to
       pesticides or caustic chemicals. Workers have become seriously ill from exposure
       through shoes or boots due to the footwear material soaking up the pesticide and
       exposing the person through skin contact. A good practice is to “waterproof” footwear;
       this function should be performed regularly.
   •   Rubber or neoprene boots or galoshes—Ordinary work boots or shoes are not suitable
       when handling pesticides. Rubber boots or neoprene boots must be worn. Rubber boots
       provide a protective barrier against water and some solvents. They also may be easily
       cleaned. Neoprene boots will afford protection from various chemicals and solvents.
       Either “gum” boots, pull-over boots, or buckle boots may be used.
   •   Tyvek booties—Tyvek booties can be worn over shoes/boots and add a large degree of
       protection from absorption of chemicals into shoes, boots, and the body.

HAND PROTECTION


Chapter 2                                                                                  Page 4




                                                                                               AR0000080
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 81 of 739




Hand protection comes in many forms. The class and material of gloves used must be taken into
account when selecting the proper type for use. Certain gloves may have long shanks and afford
protection for the wrist or lower arm. Be aware that cuffs present a hazard by allowing material
to collect in the cuff or getting caught in machinery. When necessary, inspectors must use the
following to protect their hands:
   •   Work gloves (cotton or jersey)—Cotton or jersey work gloves will provide warmth in the
       winter and some protection from dirt and blisters. Be careful not to use cotton or cloth
       gloves when working with pesticides, chemicals, or solvents. Cloth gloves will act as a
       wick and absorb these products, allowing continued contact with the skin.
   •   Disposable latex gloves—Disposable latex gloves are easy to use and afford protection
       from some fertilizers, seed treatments, dirt, grease, non-corrosive materials or liquids.
       They are easy to use and readily disposable. However, some people may be allergic to
       latex. If a rash occurs, seek proper medical attention. A disadvantage of latex gloves is
       that they do not afford protection against corrosive materials or certain chemicals.
       When using latex gloves, determine for what products the gloves are rated.
   •   Heavy rubber gloves—Heavy rubber gloves afford the best protection when working
       around pesticides or other similar products. These gloves are easily rinsed or cleaned
       when liquids are spilled on them.

EAR PROTECTION

Types of ear protection include:
   •   Disposable foam plugs—Disposable foam plugs are inexpensive, easily stored and used;
       but they may be uncomfortable to wear. Make sure the plugs are rated with the proper
       protection for the environment you will be working in.
   •   Padded hearing protectors—Padded hearing protectors are the typical “headphone”
       type protectors. They afford noise protection as well as a cover for the ear. Usually they
       are rated higher than typical plugs and prevent compacting in the ear canal.

NASAL, MOUTH AND RESPIRATORY PROTECTION
NOTE: THE USE OF RESPIRATORS AND SELF CONTAINED BREATHING APPARATUSES (SCBA’S) REQUIRES
“FIT TESTING” AND A YEARLY CERTIFICATION OF THE “FIT TEST.” IN ADDITION, MEDICAL MONITORING
IS REQUIRED. ALL CERTIFICATION RECORDS SHOULD BE RETAINED BY THE INSPECTOR’S SUPERVISOR.

Respiratory protection equipment includes:
   •   Disposable dust masks—Disposable dust masks are easily worn and afford little or no
       protection from pesticides. However, they may be used for general dust and limited


Chapter 2                                                                                  Page 5




                                                                                                AR0000081
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 82 of 739




       airborne particulates. Dust masks only prevent particles from passing through, and offer
       little or no protection against caustic or dangerous fumes, pesticides, etc.
   •   Respirator—Respirators usually contain various filters that can be interchanged
       depending upon the hazards of the working environment. Filters are rated for particular
       substances. Be aware of the respirator’s rating and the protection it affords. Likewise,
       be aware of the respirator’s limitations. Respirators must never be used in oxygen-
       deficient environments.
            o NOTE: Facial hair may prevent a tight seal.
            o Test according to the manufacturer’s directions to ensure an air-tight seal.
            o Achieving an air-tight seal may present a greater problem for women than for
               men because many respirators are sized to fit a man’s face. Ensure that a tight fit
               can be achieved prior to leaving the office.
   •   Air packs—Self-contained breathing apparatuses (SCBA) contain a mask, oxygen tank,
       and regulator. Before using SCBA, inspectors must have attended the 40-hour Hazard
       Materials Training course and obtained a physician's approval to wear it. It is extremely
       important that two SCBA-trained people be on hand when entering oxygen deficient
       environments. ALL CERTIFICATION RECORDS SHOULD BE RETAINED BY THE INSPECTOR’S
       SUPERVISOR.


HEAD PROTECTION

Proper head protection is recommended during most inspections. Steel or molded hats protect
the head and skull from falling objects or head height obstacles.

BACK PROTECTION

When lifting heavy objects, use a proper back support or lift belt.

CLOTHING PROTECTION

The inspector should wear clothing protection to prevent-cross contamination of sites and/or
samples as well as providing protection to the inspector and preventing contamination of the
inspector’s home or office. Inspectors should use the following:
   •   Cloth coveralls—Protective outerwear is available to be worn over your normal
       clothing. Lightweight coveralls can be used during the summer months while insulated
       coveralls can be used in the winter. These coveralls will keep clothing from receiving
       stains while in dirty work environments.



Chapter 2                                                                                    Page 6




                                                                                                AR0000082
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 83 of 739




   •   Tyvek coveralls—Tyvek is an extremely lightweight, disposable paper-like substance
       that is extremely hard to tear. Tyvek is the preferred material because, unlike cloth, it
       does not absorb and, if contaminated, can be discarded. Tyvek is chemical-resistant.


                         GENERAL SAFETY PRECAUTIONS

Generally, while conducting inspections:
   •   Inspectors must inform facility personnel where they are going to be within the facility.
       Inspectors should specifically request information on possible dangers or areas to avoid
       during the inspection. Follow all safety requirements established by facility. For
       example, vehicular traffic within the plant grounds may not follow normal movement
       patterns nor obey usual traffic rules. Also, the nature and size of equipment used may
       make it difficult for the driver to see persons working nearby.
   •   Wearing jewelry, ties, loose flowing clothing, having long flowing hair, etc. can pose a
       safety hazard to the inspector around equipment or machinery.
   •   Prior to entering the plant or facility, inquire about the firm's safety polices. Many firms
       require visitors to wear a hard hat and/or safety glasses. Hardhats should be worn at all
       times while on manufacturing and warehouse premises.
   •   Safety shoes with non-slip soles and heels should be worn. Clothing should be close
       fitting. Make sure laces are tied.
   •   Flashlights should be carried, especially when work assignments involve the upper floors
       or basements.
   •   Dust masks or properly rated respirators should be worn in dust-laden environments.
   •   If there is a need to use a protective device that has not been supplied or if there are
       safety concerns, notify a supervisor.
   •   While in the establishment, make sure equipment is secure during transit. A pen in a
       shirt pocket may fall out during the inspection and may fall into the firm’s equipment or
       product. A probe, flashlight, or folder may slip or fall during climbing or conducting the
       inspection. This may cause personal injury or injury to other employees.

AWARENESS

An inspector must not enter a grain elevator, grain mill, warehouse, railroad tank/car, or silo
unless the facility’s supervisory personnel have been alerted as to his/her presence and the
location where he/she will be working. Workers in the area should know who an inspector is
and where he/she will be working or planning to work, and what he/she will be doing.
Inspectors must not enter areas where they have no official purpose.
Chapter 2                                                                                    Page 7




                                                                                                   AR0000083
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 84 of 739




Plant, elevator, mill and warehouse fires are not uncommon. Know the location of exits,
telephones, and first aid equipment, and especially emergency evacuation routes and
procedures. Read and follow all warning signs.
Construction and maintenance work is often being performed during business operations in all
plants. This activity may increase the possibility of fire or other mishaps. Keep a safe distance
from construction and maintenance activities.
When entering an elevator, mill, or warehouse from bright outside light, vision may be
temporarily impaired. Stop and let your eyes adjust before continuing the inspection. Be aware
of the surroundings. Avoid stepping on manhole covers since they may slide from underfoot.
Be conscious of the machinery being used in the vicinity. Observe conditions surrounding the
various products to be sampled, with emphasis on the danger of front-end loaders, hopper and
tank cars, forklifts, conveyor belts, motor drives, mixers or blenders, welding and cutting
equipment, drag and screw conveyors, falls from heights and electrical equipment. Stay clear of
machinery, whether it is operating or not. The “dead” machinery may be started by a remote
control switch located in another part of the plant. Do not sit or step on a motionless conveyor
belt. Cross over conveyors only on cross bridges or walk around the belt end.
Watch for wet floors. Dust caused by loading or unloading feed, fertilizer, or related products
can mix with the moisture on the floors, making them extremely slippery and hazardous.
When the air is dust laden, the ability to see is reduced. This can be dangerous. In this
environment, protect both eyes and respiratory system with the proper equipment.
High pressure air lines must not be used to blow dust from clothing or the body. Foreign matter
such as metal fragments, oil, or water can be blown under the skin or into eyes, causing a
painful or serious injury.
Grain dust is extremely dangerous, because it is highly explosive, and may cause loss of life and
property. There should be NO SMOKING at any time in an elevator, mill, or facility. Additionally,
flash attachments to cameras or other equipment that generates sparks may ignite a dust
explosion. Therefore, the concentration of grain dust in the atmosphere should be monitored
for explosive levels. It is imperative that inspectors discuss their needs with facility staff prior
to entering a facility with airborne dust concentrations that might be explosive.
Grain elevators are fumigated frequently. Request the fumigation schedule prior to entering or
inspecting the elevator.

MAN-LIFTS AND CAGE-TYPE ELEVATORS

Most mills and elevators have elevating devices to transport personnel between working levels.
They are normally cage-type elevators or continuous vertical belt-type lifts. Do not use man-lifts



Chapter 2                                                                                    Page 8




                                                                                                  AR0000084
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 85 of 739




or elevators for emergency evacuation of the plant. Power failure or shutdown will cause
equipment to stop, possibly trapping occupants.



                                    CAGE-TYPE ELEVATORS

The cage-type elevator is similar to a passenger elevator, except much smaller. When using the
cage-type elevator, keep the door closed, and operate it per the posted instructions. If there
are no posted instructions, request instructions from elevator or plant personnel. The
maximum load capacity must be posted in the elevators and observed by all persons using the
elevators.

                                           MAN-LIFTS

Never attempt to ride a man-lift without getting the proper instruction in its operation. When
riding an endless belt man-lift, always take the following precautions:
   •   Face the belt.
   •   Keep feet firmly on the steps.
   •   Hold on to the hand holds with both hands.
Freight, packaged goods, or sampling equipment must not be carried or handled on any man-
lift. Only tools which fit entirely within a pocket, backpack or tool belt should be carried on
man-lifts.

LADDER SAFETY

Take the following precautions when using ladders:
   •   Never use a ladder that has cracked rails or rungs or has slivers on rails.
   •   Never use a portable straight ladder that is not equipped with safety feet, unless the
       ladder is securely fastened in place.
   •   Always climb and descend a ladder facing the rungs and rails.
   •   Do not climb movable straight ladders unless the foot of the ladder is about one quarter
       of the ladder length away from the wall.
   •   Use only a ladder for climbing; use of chairs, boxes or other makeshift ladders invites
       injury.
   •   Always use a ladder with safety feet to enter a boxcar or truck. Do not jump from a
       boxcar or truck.

Chapter 2                                                                                  Page 9




                                                                                                  AR0000085
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 86 of 739




LIFTING SAFETY

Never attempt to lift an object that is too heavy to handle alone. Get assistance to lift heavy
objects. When lifting heavy objects, make sure to follow these safety precautions:
   •   Get close to the load.
   •   Keep your back vertical, bend your legs.
   •   Lift slowly, feel the load react through your legs.
   •   If needed or warranted, use a proper back support and lift belt.

MACHINE AND EQUIPMENT SAFETY

When working around machinery, always take the following precautions:
   •   Never attempt to operate any machinery.
   •   Never remove a machinery guard or shield on a piece of equipment while it is running.
       Guards must never be removed unless absolutely necessary for equipment inspection. If
       guards are removed, steps need to be taken to ensure the equipment is not started and
       the guards are replaced promptly once the inspection is complete. Some agencies do
       not permit removal under any condition. If an emergency arises, be prepared by
       discussing the topic with a supervisor.

SAFETY SIGNS

Respect all safety signs in the plant; they are posted for everyone’s safety. Failure to obey signs
can cause injury. The words “caution” and “warning” are there for a reason. Pay attention to
directions provided.

ELECTRICAL SAFETY

Never tamper with electrical equipment. Electricity can kill quickly.

CONFINED SPACES

Confined space entry has resulted in more deaths and injury than any other source in the
industry, therefore, it is essential to recognize and carefully evaluate the situation prior to
entry. See the discussion on “Hazards and Hazardous Materials” starting on page 15 of this
Chapter.




Chapter 2                                                                                   Page 10




                                                                                                  AR0000086
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 87 of 739




The Occupational Safety and Health Administration 1 defines a confined space as a space that:

   •   Is large enough and so configured that an employee can bodily enter and perform
       assigned work;
   •   Has limited or restricted means for entry or exit (for example, tanks, vessels, silos,
       storage bins, hoppers, vaults, and pits are spaces that may have limited means of
       entry.); and
   •   Is not designed for continuous employee occupancy.
In addition, any space that meets the above criteria, and has a depth of 4.5 feet or more from
the plane of entry to the plane upon which the worker will perform their work or when a
person's head or feet pass the plane of entry or any other opening is considered a confined
space.
A confined space is particularly hazardous when it meets one or more of the following criteria:
            o Contains or has a potential to contain a hazardous atmosphere.
            o Contains a material that has the potential for engulfing an entrant.
            o Has an internal configuration such that a person could be trapped or asphyxiated
              by inwardly converging walls or by a floor which slopes downward and tapers to
              a smaller cross-section.
            o Contains any other recognized serious safety or health hazard.


                              SAFETY WHILE SAMPLING

Prior to sampling, assess the conditions to be encountered when inspecting trucks, rail cars or
storage areas. Be cognizant of fumigant warning-agent odors; however, remember that some
toxic fumigants have no odor. Rather than take any chances, check with management to
eliminate any risk of exposure. DOT regulations and pesticide labels usually require that
warning signs be placed on rail cars containing fumigated commodities. If there is a fumigant
notice on the car, especially if it has a recent date (3 days or less), or if you detect a fumigant
odor, do not open it. Notify the firm management to have a qualified person determine if it is
safe to open the car. The firm's qualified person must open the doors on both sides of the car
and allow the car to air out for a prescribed length of time before allowing anyone to enter.
Remember, some fumigants may not have a detectable odor, but are still a hazard.
Do not enter trucks, rail cars, or storage areas during the application of these materials, or
enter where the materials have been applied unless the atmosphere has been certified safe by
a competent person.


1 29 CFR §1910.146.


Chapter 2                                                                                    Page 11




                                                                                                  AR0000087
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 88 of 739




SAMPLING NEAR TRUCKS AND TRAILERS

Sampling around moving trucks and trailers presents a hazardous working climate. The key
factor to prevention of accidents in this area is alertness. Stay constantly aware of moving
vehicles and the fact that drivers can be careless. Follow these safety guidelines for sampling
trucks and trailers:
   •   Be sure that the driver knows that someone is sampling his load so that he will not move
       the truck until sampling is completed. It may be a good idea to chock or block the
       wheels of the truck or trailer.
   •   If a fumigant has been applied, reread physical hazards statement on the product label
       or the MSDS sheet, prior to sampling.
   •   Use a ladder to get into and out of trailers. If the ladder is slick, wipe it off with paper
       towels or a cloth prior to ascending.
   •   Always carry or lift probes and other equipment into trucks and between units. Never
       toss or throw equipment.
   •   Do not ride on running boards or crawl under trucks or trailers.
   •   Always be alert and watch for moving vehicles.
   •   On van-type trailers, the driver is required to open doors. Always check the security of
       the doors before entering.
When probing, always be alert for hidden obstructions such as cross braces and bars as well as
the sides and bottom of the trailers. Hitting such obstructions with a sudden force can cause
serious injuries as well as damage to the trailer and probe. To prevent such occurrences, do not
put weight onto the probe from a standing or running position.
Always be alert for overhead obstacles. Power lines, lights, building overhangs, and other
potential hazards can cause severe injury. Stay alert.

SAMPLING RAIL CARS

Railroads are always hazardous work environments. Personnel performing sampling on boxcars
and hopper cars must be very careful. Minimize the possibility of an accident or injury by
knowing and observing the rules of safety.
Notification is required when entering any boxcar or hopper car in a railroad yard or car siding.
Inspectors who are part of a team or by themselves must be certain that appropriate personnel
are aware of where they are working and the length of time it will take to obtain the samples.
Different departments may have specific rules regarding the entry into the box car. Consult a
supervisor for all necessary instructions. Persons that must be notified include:


Chapter 2                                                                                     Page 12




                                                                                                      AR0000088
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 89 of 739




   •   Manager of the plant.
   •   Person in charge of unloading.
   •   Track-master responsible for the movement of trains.
The person or persons notified prior to sampling of boxcars or hopper cars must also be notified
when you are finished.
Railcars to be sampled are classified as either boxcars or hopper cars. The physical
characteristics of the two are completely different and the hazards involved are unique.
Therefore, each will be covered separately.

                                           BOXCARS

First, assess the boxcar’s condition. Next, notice the seal that must be broken. A cutting tool
such as side cutters or a pry bar must be used to cut or break the seal. Wear protective eye
wear when breaking the seal. Seal locking mechanisms often fly apart as they are broken and
may also be sharp and cut hands or skin.
Opening and closing car doors can be hazardous. When using a pry bar, push the door away
from you. Never stand beside the door; it may come free of its track and fall.
Note the condition of the grain door and watch for protruding nails and steel strapping. Place
sampling equipment on the door sill and climb into the car. Never throw sampling equipment
into the car before entering.
Check the inside of the car for protruding nails, bolt heads, etc. Older boxcars may have wire,
rods, or wooden cross braces; use care not to strike them.
When probing, do not place excessive body weight onto the probe from a standing position. Rib
or shoulder injury may occur if the material or product is shallow and the end of the probe
strikes the floor.
Use the same care in dismounting from the car as when entering. Do not throw sample or
equipment from the car; it could hit someone below or damage the equipment or sample.

                                         HOPPER CARS

The hopper car is a special purpose type carrier that requires sampling from the top through
either individual hatches or a continuous opening down the center of the car. Because of its
unique construction and the longer and heavier equipment required for sampling, it is probably
more dangerous to sample than a boxcar.
The first thing to look for when approaching a hopper car is electric power lines above or close
to the car. Inspectors have been seriously injured as a result of the sampling probe coming in


Chapter 2                                                                                  Page 13




                                                                                                  AR0000089
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 90 of 739




contact with electric lines. If lines are present, extreme care and caution must be used during
the sampling operation.
Check the condition of the car's ladders. If a ladder is damaged, loose, or bent, go to the other
end of the car and check for a more secure ladder. Ascend the ladder carefully.
Watch for the approach of a switch engine or switched car while working atop hopper cars. If,
during sampling, the car is moved and there is no time to get down from (or out of) the car,
kneel or sit down to lessen the possibility of falling from the car.
Care must be used in breaking seals. Many lids and hatch covers are quite heavy and require
proper lifting techniques. A back brace will help prevent injury. When probing is started, care
must be taken not to probe into the sides of the hopper car bottoms; this will cause the probe
to stop suddenly.
While atop hopper cars, be especially careful if there is spilled, loose, or wet product or dust. In
winter, there may be ice, frost, or snow. Safety belts are required by OSHA regulations to enter
a hopper car since it is a confined space. It is the inspector’s responsibility to decide whether or
not the condition presents such a hazard as to deem the car too dangerous for sampling at that
time.
High winds during the sampling of a hopper car can blow the hatch covers on the inspector or
blow the inspector or his/her equipment off of the car. Such conditions are considered too
hazardous for sampling activities.
Never sample a hopper car from above when any partial or incomplete unloading is occurring.
Hopper bins may present a false “skin” or layer that can break and trap persons attempting to
collect samples. It is a potential deadly situation. Notify the person in charge of unloading when
you are finished sampling.

SAMPLING BINS AND TANKS

Be alert and take proper safety precautions in plants, silos, bins, pits and any closed areas
where bulk products are stored and asphyxiation hazards exist. If certain products are
improperly stored, improperly handled, or decomposing, dangerous amounts of carbon dioxide
or other gases may deplete the oxygen supply in these areas. Never enter closed bins or tanks
for the purpose of obtaining probe samples without prior approval of a supervisor. Prior to
entering a bin or tank, the inspector must determine that the oxygen content of the bin or tank
is sufficient to sustain life. Do not enter fumigated or treated bins or tanks until a “Gas Free
Certificate” or an “Entry Permit” (with multiple confined space requirements) has been posted.
When it is necessary to enter a bin, advise the facility supervisor and workers in the bin area
before entering, and again when the bin is cleared. Turn-heads, spouts and trippers must not be
set for that bin. Before entering a bin, it must be inspected first from the top to make sure that
no grain is hung up. Do not jump down on top of the grain -- there may be a cavity caused by
Chapter 2                                                                                   Page 14




                                                                                                  AR0000090
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 91 of 739




crusted grain which could break. Do not enter bins without a proper safety belt. People have
lost their lives by entering bins without taking the proper precautions.




SAMPLING BAGGED OR PACKED PRODUCTS

Stay alert when collecting samples during the bagging or packaging process, and when samples
are stored in a warehouse. Remove any loose-fitting jewelry. Check-weighing requiring the
removal of bags or packages from the line can cause injury. Be alert for the movement of
forklifts used to move the commodity. Stacked paper or polypropylene bags can shift or may
fall easily. When sampling stacked bags or containers on pallets and a ladder is required, ensure
the ladder provides stable footing before using.

SAMPLING BULK BAGGED PRODUCTS (LARGE VOLUME BAGS)

One of the trends in some industries is to go to large 2,000-pound bags instead of the typical
50-pound package. Frequently, these bags are transported in a frame and tend to be double
lined. The outside bag is a tough canvas or plastic material while the inner bag is a simple plastic
liner. Typically, these bags will be six or seven feet tall and can only be accessed from the top. If
a ladder is needed, secure it properly before attempting to sample. Also, be aware that the
outer material is slippery and weight applied to a stack may cause the stack to shift or slip and
induce a hazardous situation.


                    HAZARDS AND HAZARDOUS MATERIALS

Chemical compounds are commonly used to control or eliminate insect infestations in
agricultural products or in containers used to store or transport these products. Such chemical
compounds can present a serious hazard when used in an indiscriminate manner or when
individuals disregard necessary safety precautions through ignorance or poor judgment. No
individual is immune to the toxicity of these chemicals. There may be many different reactions
to exposure to these toxic chemicals, such as a reduction in the body's natural resistance that
can compound the effect of the exposure.
Chemical applications to agricultural products or to containers used to store or transport these
products may be separated into three categories, each offering a different degree of hazard.
When describing a chemical application of a commodity or container, proper terminology must
be used, as it can indicate the degree of hazard involved in the application.
The following lists the types of hazardous pesticides that are commonly encountered during
pesticide inspections:

Chapter 2                                                                                    Page 15




                                                                                                  AR0000091
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 92 of 739




       •   Contact-type pesticides—Active ingredients such as malathion and pyrethrum are
           contact-type pesticides (i.e., their effectiveness depends upon the insects coming in
           contact with the material). Contact pesticides can be applied directly to the commodity
           or used to eliminate an infestation within a container. Inspectors must not enter or
           remain in an area while these materials are being applied as sprays or until all vapors or
           mists have settled from the atmosphere. Vapor contact and absorption through the skin
           and the vapor or mist entering the respiratory system can cause ill effects.
       •   Smoke and fog-type pesticides—Resmethrin, piperonyl butoxide, pyrethrins, malathion
           and diclorvos (DDVP) are among the active ingredients typically used in foggers. These
           pesticides are used to treat unoccupied residential, greenhouse and commercial areas
           and transportation equipment. Such areas must not be entered until the time specified
           in the Directions for Use has passed. Most fogger propellants are flammable. 2
       •   Fumigant pesticides—Use of fumigants in elevators, mills, and warehouses is not
           unusual. If a fumigant or unidentifiable odor is detected, check with plant personnel and
           determine the source of the odor. Fumigants are hazardous to breathe, even at low
           concentrations. Spray treatments of grain and storage areas within facilities, elevators
           and mills are common. Avoid breathing vapor from sprays. If accidental contact is made,
           wash the area of the body contacted with mild soap and water. Remove and thoroughly
           wash clothing, including shoes. Report mishaps to the supervisor and seek the
           recommendation of a physician.
           Fumigants are normally liquid or solid chemical compounds which, when released into
           the atmosphere, readily turn to the gaseous state. These products are extremely toxic to
           humans and must be handled or dealt with using extreme caution. When a commodity
           has been fumigated, a percentage of the fumigant is absorbed by the commodity. This
           fumigant will be desorbed during the aeration process at a retarded rate. After a
           container has been fumigated, aerated, and resealed, it is possible for a dangerous
           concentration of the fumigant to build up within the container. When a certificate is
           issued by a competent person, perform the inspection duties within a two-hour period
           after testing and issuance of the certificate, provided that the fumigated area has
           remained open to the atmosphere. In the event the two-hour time period has been
           exceeded or the container sealed, a new test and certificate by the competent person is
           required.
Do not enter storage containers during the application of these materials or enter a container
where the materials have been applied unless the atmosphere within the containers has been
certified safe by a competent person.



2
    PR Notice 98-6 (6 pp, 17 K) - Flammability Labeling Requirements for Total Release Fogger Pesticides.


Chapter 2                                                                                                   Page 16




                                                                                                                AR0000092
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 93 of 739




Residues remaining on container surfaces, after the application of smoke and fog or fumigant
type pesticides, are more toxic than the contact-type residues. When performing vessel storage
examinations, inspectors may pick up residue on their hands while climbing or descending
ladders. Do not eat, smoke or use toilet facilities until hands are thoroughly washed with soap
and water.

EXPOSURE TO HAZARDOUS MATERIALS

Indications of exposure to a chemical compound include, but are not limited to, the following
symptoms:
   •   Skin irritation (rash, burning sensation, dryness and sensitivity).
   •   Watering of the eyes (also burning sensation).
   •   Dryness of the nasal passages.
   •   Coughing.
   •   Shortness of breath.
   •   Congestion in the chest.
   •   Nausea and vomiting.
   •   Light-headedness.
   •   Intoxication.
   •   Ashen complexion.
   •   Agitation.
Make sure there is easy access to the emergency telephone numbers such as police, fire
department, medical doctor or hospital, rescue service or state or local poison control center.
Inspectors must stay aware of their physical condition and surroundings. Horseplay, in any
form, is dangerous and strictly prohibited.
Do not take chances where chemical compounds are involved.
If the inspector has any reason to suspect that an inspection poses a potentially harmful or fatal
exposure, check with the company’s responsible officer. If, after checking, the inspector still has
concerns about the potential for harm, he/she must not perform the inspection. Inspectors
should consult with their supervisor when such conditions are found.
Report to a supervisor all injuries, no matter how minor they may seem, as well as unsafe
conditions and unsafe acts that might be the cause of an accident.

HAZARDS

Chapter 2                                                                                  Page 17




                                                                                                AR0000093
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 94 of 739




Accidents, occupational illness and fatalities can occur through asphyxiation, fire and explosion,
exposure to substances, falls, electrocution, and a host of other specific hazards. Flammable
atmospheres can result from an enriched oxygen atmosphere, vaporization of flammable
liquids, concentrations of combustible dust, workplace byproducts or desorption of chemicals
from surface coatings.
Too much oxygen, even a small percent above the 20.9 percent normally found in our
atmosphere, will cause an increase in the range of flammability. A flammable atmosphere is
created when the oxygen-combustibility mixture is neither too rich nor too lean for combustion
to occur. If inadequate ventilation occurs, flammable gasses such as propane, methane or
hydrocarbons can be trapped in a confined space. Since a number of these vapors or gases are
heavier than air, they may sink and become concentrated at the lower level of the confined
space.
Combustible dust concentrations can often be found in grain elevators and silo storage areas.

ENTRY AND EXIT

The size of the entry orifice must be taken into account when considering rescue actions.
Barriers to entry, and ladders or the lack thereof, must also be considered. Workers may fall off
ladders, develop claustrophobia or become lodged in the entry orifice.

INSPECTOR RESPONSIBILITIES

Inspectors must report any hazardous conditions in connection with confined space entry or
any safety equipment defects to the facility manager immediately. Without exception, no
inspector shall enter a confined space unless it is absolutely necessary, and only when two or
more other persons are present, in case an emergency should arise.


                   ENVIRONMENTAL BIOLOGICAL HAZARDS

The risk to the inspector of contracting disease from pathogens is extremely small. However,
steps should still be taken to minimize exposure during an inspection. Note that in April of 2016
EPA issued Biosecurity Procedures for Visits to Livestock and Poultry Facilities.

BE AWARE OF PATHOGEN HAZARDS DURING AN INSPECTION

Walking in or around buildings or crawling beneath a building can bring a person into contact
with pathogens, stinging or biting arthropods and insects. Rodent, bird and bat feces can be
encountered in any attic, crawlspace, garage, basement or feed mill. Bird feces can be found
accumulated on the ground outside and on rooftops.


Chapter 2                                                                                 Page 18




                                                                                                AR0000094
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 95 of 739




Bacteria are everywhere in the soil and on every surface. Pathogenic bacteria are most likely
encountered where animal feces, decaying food, or decaying animal matter is located.
Mishandling rodent or animal carcasses also brings contact with potentially pathogenic
bacteria.
Histoplasmosis risk is greatest where bird or bat feces have accumulated in or on top of soil.
Cryptococcoses is most likely in accumulations of pigeon feces in attics, false ceilings, and
warehouses.
Hantavirus contact is most likely in areas where rodent activity is detected and there is a large
amount of droppings and/or the smell of urine. Attics, closets, storerooms, cellars, basement,
garages and warehouses must all be viewed for the potential for encountering mice and other
rodents. Hantavirus risk is extremely low.
Bee and wasp stings can occur upon accidental stumbling into a nest of these social insects.
Spider bites can occur when putting on shoes or clothes in which the spider is hiding or when
moving a board, landscape timber or other item under which the spider is hiding.

PROTECTING AGAINST ENVIRONMENTAL PATHOGENS

Appropriate PPE needs to be worn by each person who enters an area where pathogens may be
encountered. PPE that may offer appropriate protection include respirator, protective gloves,
unvented goggles, Tyvek coveralls, leather boots/rubber overshoes (or rubber boots),
disinfectant soap, disinfectant sprays, and insect repellent. Additionally:
   •   Recognize areas of potential risk, including: numerous rodent droppings; bird droppings
       on soil, on floors, in attics, etc.; excessively dusty conditions; excess decaying food
       debris or other decaying organic matter; presence of dead rodents, birds, or other
       animals present (presence of blow flies and fly pupae); evidence of raccoons, possums,
       or skunks living in the structure; and older buildings.
   •   Wear a respirator, eye protection, and protective gloves in suspect environments.
       Persons who have facial hair (i.e. beard) will not achieve a tight enough seal with any
       respirator.
   •   Keep all cuts carefully bandaged, especially on hands. Wear gloves.
   •   Spray rodent droppings, rodent nests, and dead rodents with a disinfectant spray prior
       to handling or entering a suspect area. Other dead animals must also be treated with
       disinfectant before handling. Use a pump type sprayer to dispense the product; an
       aerosol product may disturb small particles and increase exposure.
   •   Never attempt to sweep up or vacuum animal droppings, as dust will become airborne.
       Spray such areas with disinfectant, let sit for a short period prior to wiping up with rags
       or paper towels (if they have to be handled at all).

Chapter 2                                                                                  Page 19




                                                                                                 AR0000095
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 96 of 739




   •   Remove and dispose of disposable gloves, Tyvek coveralls, and booties immediately
       after exiting the contaminated area. Continue to wear a respirator and gloves if possible
       when removing coveralls as dust on the coveralls could become airborne.
   •   Immediately after removing contaminated items, place them in a plastic bag, spray
       additional disinfectant solution in the bag, tightly-seal the bag, and properly dispose of
       the bag.
   •   Disinfect nitrile, rubber, or latex gloves in an approved disinfectant solution. Rinse
       thoroughly.
   •   While wearing protective gloves, clean the respirator face piece with disinfectant
       solution and rinse thoroughly. Store the respirator in a sealed Ziploc-type bag.
   •   When walking or working in areas where ticks could be present (wooded areas, tall
       grass), tuck pant legs into boots or socks and spray pant legs with insect repellant
       (unless taking residue samples). It should be noted that if collecting samples or entering
       an area where samples may be collected, the use of insect repellants may cross-
       contaminate the sample.
   •   Avoid entering any area where a dog or wild mammal may be present. Any animal
       acting strangely must be avoided.

COMMON PATHOGENS

An inspector should be aware of some common pathogens and their epidemiology in order to
take appropriate precautions during inspections.
   •   Salmonella
            o A bacterium.
            o Present in the surrounding environment, including the soil. Especially common
               where decaying food materials are present.
            o Causes food poisoning. Sometimes fatal depending on the type and lack of
               treatment.
            o Enters the body by ingestion, usually in infected food or from contact with
               unwashed hands.
   •   Staphylococcus
            o A bacterium.
            o Present in the surrounding environment, including the soil. Especially common
               where decaying food materials are present.


Chapter 2                                                                                   Page 20




                                                                                                AR0000096
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 97 of 739




            o Causes infections in cuts and also in eyes. Severe flesh necrosis can occur.
                 Fatalities are rare except if the bacteria enter the bloodstream (septicemia).
            o Enters the body through breaks in the skin caused by cuts, abrasions, and
                 blisters.
   •   E. coli
            o A bacterium.
            o Present in human and animal feces.
            o Causes severe food poisoning. A particular strain, not likely to be encountered,
                 can be fatal.
            o Enters the body by ingestion of contaminated food or from contact with
                 unwashed hands.
   •   Histoplasma capsulatum
            o A fungus.
            o Present in accumulated bird, chicken, and bat feces in contact with the soil. The
                 feces enrich the soil allowing the fungus to proliferate.
            o Spores become airborne when feces are disturbed.
            o Causes respiratory illness (histoplasmosis) and also blindness. Can be fatal, but
                 fatalities are rare.
            o Enters the body by inhalation of fungal spores and through the eyes.
   •   Cryptococcus neoformans
            o A pathogenic yeast (fungus).
            o Present in accumulated pigeon feces within buildings. Does not need to be in
                 contact with the soil.
            o Spores become airborne when feces are disturbed.
            o Causes respiratory illness (cryptocaccosis). Can develop into cryptococcal
                 meningitis that takes the form of severe headaches, vomiting, vertigo, and
                 dizziness. Most serious to persons with existing lung disease, diabetes,
                 Hodgekin’s lymphoma or leukemia.
            o Enters the body by inhalation of fungal spores.
   •   Hantavirus
            o Biosafety Level 4 virus. Twelve different Hantaviruses have been discovered to
                 date but only one type is confirmed to cause human disease.

Chapter 2                                                                                    Page 21




                                                                                                  AR0000097
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 98 of 739




            o Carried by the white footed mouse or deer mouse, Peromyscus maniculatus. Has
                not been found in house mouse populations. Other types of Hantaviruses have
                been isolated from other types of rodents, including the cotton rat and voles.
            o Virus is spread through aerosolized droplets of deer mouse urine and on
                microscopic particles of dust infected by urine or associated with deer mouse
                droppings. Handling deer mouse carcasses also poses a risk.
            o Causes Hantavirus Pulmonary Syndrome (HPS), which causes a victim's lungs to
                fill with fluid, sometimes causing cardiac arrest.
            o Deer mice are found most often in areas bordered by woods and fields.
   •   Rabies
            o A virus.
            o Spread by the bite of an infected animal or by improper handling of infected
              animal carcasses.
            o In urban areas, skunks, raccoons, coyotes, and dogs are the primary reservoirs.
            o Affects the central nervous system. Always fatal unless treated.
   •   Borrelia burgdorferi (Lyme Disease)
            o A bacterium.
            o Carried and spread by various ticks but especially the deer tick, Ixodes dammini.
            o The reservoir in the wild is the deer mouse.
            o Causes a myriad of symptoms depending on which body system is attacked.
              Attack of the nervous system is the most serious but can cause arthritic-like
              symptoms. If undiagnosed and untreated for too long, damage to the body may
              be irreversible.
   •   Insect and arthopod stings
            o Effects due to venom from bees, wasps, scorpions, and some ants.
            o General swelling and localized reactions are normal.
            o Sensitive individuals can lapse into anaphylactic shock which can be fatal.
   •   Spider bite
            o Effects are due to the venom of black widow spiders and brown recluse spiders.
            o Black widow venom affects the nervous system causing most muscle systems in
              the body to cramp. Rarely fatal except in young children and the elderly.



Chapter 2                                                                                   Page 22




                                                                                                AR0000098
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 99 of 739




            o Brown recluse venom causes collapse of microscopic blood vessels in area of
              bite. Lack of blood and nutrients in affected area leads to tissue death and
              necrosis. Secondary Staphylococcus infections can lead to more serious necrosis
              and possibly to loss of the affected limb.
            o Plastic surgery is sometimes necessary depending on the seriousness and
              location of the bite.
            o Black Widow –




            o Brown Recluse –




                                     TRAVEL SAFETY

Inspectors may be required to travel several thousand miles a year in order to cover assigned
areas or territories. This may be in an Agency-owned vehicle or in the inspector’s own vehicle.
Regardless, a few key safety points or checks will prove valuable in preventing or minimizing
breakdowns and accidents.

VEHICLE SAFETY

Before starting the vehicle, make a quick check of the vehicle's condition. Pay close attention to
the tires. Worn tires, low tire pressure or punctures in tires may cause a blowout while on the
road. Agricultural establishments often will have metal parts, screws, nails, or similar items in
the driveway areas of the firm or business. As such, it may be wise to make a visual inspection
prior to leaving inspected a firm or business.
It is also important how equipment is arranged in the vehicle. An inspector is required to carry a
vast amount of equipment and supplies. This equipment needs to be arranged and secured in
Chapter 2                                                                                 Page 23




                                                                                               AR0000099
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 100 of 739




case of a quick stop or collision. In such a case, an unsecured piece of equipment may act as a
projectile inside the car. Therefore, attention must be paid to how equipment is stored and
secured. Take time and make sure everything is in proper position to avoid unnecessary risks.
In addition, inspectors may be required to transport hazardous materials or samples as part of
their duties. Ensure that samples are stored in a manner that would not create a hazard if
broken, spilled, or otherwise released. Also, vapors from these products may be dangerous and
must not be stored in the passenger compartment of the vehicle. Hazardous materials must
also be properly packaged to prevent breakage and these packages must be secured to prevent
them from rolling around.
Vehicle maintenance cannot be overstated. Depending upon EPA and/or GSA guidelines, make
sure to routinely check the maintenance of the vehicle. Tires, brakes, fluids, hoses, belts, etc.,
must all be checked on a regular basis. Inspectors often find themselves in rural or unpopulated
areas. While no examination will guarantee unwanted breakdowns, there is a good chance of
minimizing them.
Once in the vehicle, always wear a seat belt.

PERSONAL SAFETY

Always carry a first-aid kit complete with bandages, topical antibiotic dressings and antiseptic
cleansers. Cuts, scrapes, and bruises are commonplace when working around equipment. Be
prepared to treat them rapidly and effectively.
It is advisable to keep current with immunizations. Pay particular attention to tetanus shots and
periodical boosters. Discuss with your physician or the Public Health Service physician potential
side effects of new medications, such as nausea, drowsiness, or ability to perform your job
safely. Read warnings on over-the-counter medication.
Avoid, if at all possible, becoming involved in a confrontational situation. If, however, a
situation becomes confrontational, the inspector should exit the inspection site and contact
their management and/or the U.S. Marshal Service, police, etc. Obtain a warrant before re-
entering the site to continue the inspection.

LODGING SAFETY

When arriving at a motel or hotel, try to park in well-lit areas. Be aware of persons in parking
garages and lots. When parked, lock the vehicle. It is best not to leave any type of valuables in
the vehicle. If valuables must be stored in the vehicle, try to cover or hide them. Depending on
weather conditions (heat and cold), and for security and to ensure chain-of-custody, it may be
necessary to remove samples from the vehicle and store them in the motel/hotel room or in a
secure area.


Chapter 2                                                                                 Page 24




                                                                                                   AR0000100
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 101 of 739




Be aware of the people in the lobby when checking in. Pay attention to the surroundings.
Once in the room, pay attention to the security mechanisms provided. If dead bolt locks and
chains are in place, use them.
Locate the nearest exit in case of fire or an emergency. Usually, evacuation instructions will be
posted in the room. If not, make a visual check of how to get out safely.
Use the peep hole in the door to visually identify persons knocking on the door. If the person
claims to be a hotel or motel employee, get the person’s name and verify via telephone with
the front desk before letting the person into the room. If the person is indeed an employee,
they will not mind.
Check your room for pests and unsafe conditions. Bedbug infestations in motels and hotels are
increasingly common. Check bedding, closets, dresser drawers, etc. for these pests and other
pests before completely settling into the room. Any pests should be brought to the attention of
the motel/hotel management. For more information on how to identify bedbugs go to:
https://www.epa.gov/bedbugs/bed-bugs-appearance-and-life-cycle.




Chapter 2                                                                                  Page 25




                                                                                                 AR0000101
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 102 of 739




                           CHAPTER THREE
                      PESTICIDE LAW, POLICY AND
                       COMPLIANCE STRATEGIES

                                                                                CONTENTS

Statutory Authority For Pesticide Regulation................................................................................................................... 2
Regulations .................................................................................................................................................................................. 2
Compliance and Enforcement Policies and Strategies .................................................................................................. 3
    Standard Operating Procedures ...................................................................................................................................... 4
Pesticide Registration............................................................................................................................................................... 4
    Pesticides Requiring Registration .................................................................................................................................... 4
    Products Not Considered Pesticides............................................................................................................................... 5
    Pesticides Exempt from Registration ............................................................................................................................. 5
Unregistered Pesticides ........................................................................................................................................................... 6
Supplemental Distribution (40 C.F.R. §152.132) ........................................................................................................ 7
Section 24(c) Registrations (40 C.F.R. §§162.150-162.156) ................................................................................... 8




                                                                                                                                                                                          AR0000102
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 103 of 739




              PESTICIDE LAW, POLICY AND
               COMPLIANCE STRATEGIES

            STATUTORY AUTHORITY FOR PESTICIDE REGULATION

The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA or the Act) was first passed in
1947 and has been amended numerous times, most recently by the Pesticide Registration
Improvement Extension Act of 2012. FIFRA provides EPA with the authority to oversee, among
other things, the registration, distribution, sale and use of pesticides. The Act (7 U.S.C. §§136-
136(y)) applies to all types of pesticides, including insecticides, herbicides, fungicides,
rodenticides, antimicrobials and devices. FIFRA covers both intrastate and interstate commerce.
For an overview of FIFRA, go to Summary of the Federal Insecticide, Fungicide and Rodenticide
Act.


                                        REGULATIONS

The pesticide regulations are codified and found in Title 40 of the Code of Federal Regulations,
Protection of Environment, Chapter 1, Environmental Protection Agency, Parts 150 to 189.1
Specifically:
40 C.F.R. Part 152     Pesticide registration and classification procedures
40 C.F.R. Part 153     Registration policies and interpretations
40 C.F.R. Part 154     Special review procedures
40 C.F.R. Part 155     Registration standards and registration review
40 C.F.R. Part 156     Labeling requirements for pesticides and devices
40 C.F.R. Part 157     Packaging requirements for pesticides and devices
40 C.F.R. Part 158     Data requirements for pesticides
40 C.F.R. Part 159     Statements of policies and interpretations
40 C.F.R. Part 160     Good Laboratory Practice Standards
40 C.F.R. Part 161     Data requirements for registration of anti-microbial pesticides
40 C.F.R. Part 162     State registration of pesticide products
40 C.F.R. Part 164     Rules of practices governing hearings under FIFRA arising from refusals to
                       register, cancellations of registrations, chances of classifications,

1 https://www.govinfo.gov/app/collection/cfr/2018/title40/chapterI/subchapterE




Chapter 3                                                                                   Page 2



                                                                                               AR0000103
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 104 of 739


                      suspensions of registrations and other hearings called pursuant to section
                      6 of the Act
40 C.F.R. Part 165    Pesticide management and disposal
40 C.F.R. Part 166    Exemption of Federal and State agencies for use of pesticides under
                      emergency conditions
40 C.F.R. Part 167    Registration of pesticide and active ingredient producing establishments,
                      submission of pesticide reports
40 C.F.R. Part 168    Statements of enforcement policies and interpretations
40 C.F.R. Part 169    Books and records of pesticide production and distribution
40 C.F.R. Part 170    Worker protection standard
40 C.F.R. Part 171    Certification of pesticide applicators
40 C.F.R. Part 172    Experimental use permits
40 C.F.R. Part 173    Procedures governing the rescission of state primary enforcement
                      responsibility for pesticide use violations
40 C.F.R. Part 174    Procedures and requirements for plant-incorporated protectants
40 C.F.R. Part 176    Time-limited tolerances for emergency exemptions
40 C.F.R. Part 178    Objections and requests for hearings
40 C.F.R. Part 179    Formal evidentiary public hearing
40 C.F.R. Part 180    Tolerances and exemptions for pesticide chemical residues in food


   COMPLIANCE AND ENFORCEMENT POLICIES AND STRATEGIES

FIFRA inspectors may find the following pesticide policies and enforcement documents to be
relevant:
   •    Pesticide Management and Disposal Compliance Strategy.
   •    Interim Policy on Inspection Report Timeliness and Standardization
   •    Guidance on Investigating Pesticide Related Bee Incidents
   •    FIFRA Compliance Monitoring Strategy
   •    Fact Sheet on Pesticides Sales in eCommerce
   •    Digital Image Guidance
   •    Use of Mobile Field Inspection Tools.
   •    Role of Inspector in Providing Compliance Assistance.



Chapter 3                                                                                   Page 3



                                                                                              AR0000104
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 105 of 739


   •    Final Policy Affirming the EPA Authority to Access Facilities and Conduct Inspections
        Without Providing Personally Identifiable Information.
   •    Fumigation Toolbox.
   •    Worker Protection Standard Guidance.
   •    Antimicrobial Sampling Guidance.
   •    Pesticide Registration (PR) Notices.
   •    Enforcement Response Policy for FIFRA Container/Containment Regulations Appendix H
        (March 2012).
   •    FIFRA Enforcement Response Policy (December 2009).
   •    Enforcement Response Policy for FIFRA Section 7(c) (May 2010).
   •    Final Interpretive Rule.



Standard Operating Procedures

All EPA regional and program offices which conduct field activities have implemented a field
quality management system in accordance with the EPA Quality Assurance Field Activities
Procedure (CIO 2105-P-02.0). All EPA field activities, including FIFRA compliance inspections,
must be conducted in accordance with relevant field activity procedures.




                               PESTICIDE REGISTRATION

FIFRA section 3 states that no person in any state may distribute or sell to any person a pesticide
that is not registered, unless exempted by section 3(b). Implementing regulations at 40 C.F.R.
Parts 152-167 establish the requirements for product registration. Inspectors who wish to learn
more about pesticide registration procedures may consult:
   •    Pesticide Registration Manual.
   •    EPA’s pesticide registration portal.

Pesticides Requiring Registration
A product is required to be registered if any or all the following conditions exist:
   •    A product meets the definition of a pesticide in section 2(u) of FIFRA and 40 C.F.R.
        §152.15.
   •    The product's labeling and other material make pesticidal claims.

Chapter 3                                                                                      Page 4




                                                                                                 AR0000105
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 106 of 739


   •    A product is represented in any manner that implies it is being used as a pesticide.
   •    The product contains one or more active ingredients and has no commercially valuable
        use as distributed or sold other than use for pesticidal purpose or use for manufacture of
        a pesticide.
   •    The person who distributes or sells the substance has actual or constructive knowledge
        that the substance will be used or is intended to be used for a pesticidal purpose.

Products Not Considered Pesticides
Certain products do not meet these criteria and are not considered to be pesticides (40 C.F.R.
§§152.8 and 152.10). These products include:
   •    Deodorizers, bleaches, and cleaning agents.
   •    Products not containing toxicants, intended only to attract pests for survey or detection
        purposes, and labeled accordingly.
   •    Products intended to exclude pests only by providing a physical barrier against pest
        access, and which contain no toxicants, such as certain pruning paints for trees.
   •    Products intended for use only for the control of fungi, bacteria, viruses or other
        microorganisms in or on living man or animals, and labeled accordingly.
   •    Products intended for use only for control of internal invertebrate parasites or
        nematodes in living man or animals, and labeled accordingly.
   •    Products intended only to aid the growth of desirable plants.

Pesticides Exempt from Registration
Other classes of products are considered to be pesticide products but are exempt from
registration (40 C.F.R. §152.25). These products are, however, subject to the misbranding
provisions of FIFRA, which require adequate labeling and identification of products to ensure
safe shipment and use. Exempt products include:
   •    Treated articles or substances. An article or substance treated with, or containing, a
        pesticide to protect the article or substance itself (for example, paint treated with a
        pesticide to protect the paint coating, or wood products treated to protect the wood
        against insect or fungus infestation), if the pesticide is registered for such use.
   •    Pheromones and pheromone traps. Pheromones and identical or substantially similar
        compounds labeled for use only in pheromone traps, and pheromone traps in which
        those compounds are the sole active ingredient(s) (40 C.F.R. §152.25(b)).
   •    Preservatives for biological specimens (40 C.F.R. §152.25(c)).
   •    Vitamin hormone horticultural products consisting of mixtures of plant hormones, plant
        nutrients, inoculants or soil amendments that meet all of the criteria in 40 C.F.R.
        §152.25(d).

Chapter 3                                                                                      Page 5




                                                                                                  AR0000106
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 107 of 739


   •    Products consisting of foods and containing no active ingredients, which are used to
        attract pests.
   •    Natural cedar blocks, chips, shavings, balls, chests, drawer liners, paneling and needles
        that meet all of the criteria in 40 C.F.R. §152.25(f).
   •    Minimum risk pesticides. Products containing the active ingredients listed in 40 C.F.R.
        §152.25(g) are exempt from the requirements of FIFRA, alone or in combination with
        other substances listed, provided that all of the criteria of 40 C.F.R. §152.25 are met.


                             UNREGISTERED PESTICIDES

FIFRA inspectors may encounter unregistered products that claim to be pesticides (i.e., product
advertising or labeling with statements such as “new formula kills bugs on contact”) and are sold
or distributed in violation of FIFRA. Inspectors that discover unregistered pesticide products
should obtain product labels, samples, marketing or advertising materials and any other
evidence that indicates the product is pesticidal. The inspector should include these materials
and evidence in the inspection report for EPA to determine whether the product is an
unregistered pesticide. If inspectors are not sure whether a particular product is a pesticide,
they can call EPA during the inspection and collect evidence for subsequent EPA review.
An unregistered pesticide, or a pesticide whose registration has been cancelled or suspended
may be distributed, sold or transferred as follows (40 C.F.R. §152.30):
   •    An unregistered pesticide may be transferred between registered establishments
        operated by the same producer. The pesticide must be labeled in accordance with 40
        C.F.R. Part 156.
   •    An unregistered pesticide may be transferred between registered establishments not
        operated by the same producer if:
        1. The transfer is solely for the purpose of further formulation, packaging, or labeling
           into a product that is registered,
        2. Each active ingredient in the pesticide at the time of transfer is present as a result of
           incorporation into the pesticide of either a registered product, or a pesticide that is
           produced by the registrant of the final product, and
        3. The product is labeled in accordance with 40 C.F.R. Part 156.
   •    An unregistered pesticide may be distributed or sold in accordance with the terms of an
        experimental use permit issued under FIFRA section 5 if the product is labeled in
        accordance with 40 C.F.R. §172.6. In addition, an unregistered pesticide may be
        distributed or sold in accordance with the provisions of 40 CFR §172.3 (use of a pesticide
        for which an experimental use permit is not required) provided the product is labeled in
        accordance with 40 C.F.R. Part 156.


Chapter 3                                                                                     Page 6




                                                                                                   AR0000107
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 108 of 739


   •    An unregistered pesticide may be transferred within the United States solely for export if
        it meets the following conditions: (1) the product is prepared and packaged according to
        the specifications of the foreign purchaser and (2) the product is labeled in accordance
        with 40 C.F.R. Part 156.
   •    An unregistered pesticide may be distributed or sold in accordance with the terms of an
        emergency exemption under FIFRA section 18 if the product is labeled in accordance
        with 40 C.F.R. Part 156.
   •    An unregistered, suspended or cancelled pesticide may be transferred solely for disposal
        in accordance with FIFRA section 19 or an applicable Administrator's order. The product
        must be labeled in accordance with 40 C.F.R. Part 156.
   •    Existing stocks of a formerly registered pesticide that has had its registration canceled or
        suspended may be distributed or sold to the extent and in the manner specified in an
        order issued by the EPA. The inspector should collect production records and
        sale/distribution records so that EPA can verify that the products were in existence prior
        to the date of EPA’s cancellation order.


         SUPPLEMENTAL DISTRIBUTION (40 C.F.R. §152.132)

A registered product can be supplementally distributed (also known as private labels), which
allows a distributor to market the product under his/her own brand name. The following
conditions must be met:
   •    The product must have the same composition as the primary registered pesticide and
        must be produced, labeled and packaged in a registered establishment operated by the
        same producer (or under contract in accordance with 40 C.F.R. §152.30).
   •    The product labeling must bear the same claims as the primary product. Specific claims
        may be deleted if by so doing no other changes are required.
   •    The distributed product must not be repackaged (must remain in the producer's
        unopened container). However, distributors can repackage and re-label provided they
        are a registered pesticide producing establishment and they have a contract with the
        registrant for repackaging.
   •    The label must bear the EPA Registration Number of the primary registered product and
        the distributor's company number must appear as a suffix to the registration number.
        For example, on supplementally distributed products, the EPA Registration Number will
        appear as:


               EPA Reg. # XXXXX-YYY-ZZZZZ



Chapter 3                                                                                     Page 7




                                                                                                 AR0000108
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 109 of 739


        (The first part of the registration number (XXXXX) is the basic registrant’s company
        number, the second part (YYY) is the registrant’s product number and the third part
        (ZZZZZ) is the distributor’s company number. Note, the distributor is a supplemental
        registrant.)
   •    Distributor products may bear the name and address of the distributor.
The registrant must submit an Application for Supplemental Registration of Distributor (EPA
Form 8570-5) to OPP.


 SECTION 24(c) REGISTRATIONS (40 C.F.R. §§162.150-162.156)

Under section 24(c), states may register a federally registered product for additional uses if a
special local need exists. In addition, 40 C.F.R. §162.152 allows state registration of new
formulations under certain circumstances. States must notify EPA in writing within ten working
days from the date a state issues, amends or revokes a registration. Notification of state
registrations or amendments to registrations include the effective date of the registration or
amendment, a confidential statement of the formula of any new product and a copy of the draft
labeling reviewed and approved by the state (provided that labeling previously approved by EPA
as part of a federal registration does not need to be submitted). The notification of revocation
of a registration by a state must indicate the effective date of revocation and state the reasons
for revocation. Within 60 days after the effective date of the registration or amendment, states
must submit a copy of the final printed labeling approved by the state.
EPA may request, when appropriate, that a state submit any data used to determine that
unreasonable adverse effects will not be caused when it registers any use described in 40 C.F.R.
§162. States are required to submit two copies of the requested data within 15 working days of
receipt of this request from EPA.
The state may not issue a section 24(c) registration that requires a new food or feed tolerance.
OPP shares section 24(c) registrations with the regional offices. The inspector will have access to
this product information.




Chapter 3                                                                                   Page 8




                                                                                               AR0000109
             Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 110 of 739




                              CHAPTER FOUR
                         FEDERAL, STATE AND TRIBAL
                               COOPERATION

                                                                                    CONTENTS


Background.......................................................................................................................................................................................... 2
Authorities .......................................................................................................................................................................................... 2
    Authority of the States................................................................................................................................................................ 2
    State Primacy ................................................................................................................................................................................. 2
    The Role of Tribes ........................................................................................................................................................................ 3
    Referral Procedures Under FIFRA Sections 26 and 27 ................................................................................................. 3
    Cooperative Enforcement Agreements ............................................................................................................................... 4
When to Use Federal Credentials/Forms/SOPs ................................................................................................................... 5
    Using State/Tribal Credentials, Forms and Procedures............................................................................................... 5
    Using Federal Credentials/Forms/SOPS ............................................................................................................................ 5
Interagency Referrals ...................................................................................................................................................................... 6
    Memorandum of Understanding ........................................................................................................................................ 6
    Procedures ..................................................................................................................................................................................... 6
        FDA and USDA Referrals to EPA ................................................................................................................................. 6
        EPA Referrals to FDA and USDA ........................................................................................................................................ 7
        Referrals between EPA and State or Tribal Agencies.......................................................................................... 7
    Interagency Response to Emergency Situations ........................................................................................................... 7
Exhibit 4-1: Interagency Referral Format ........................................................................................................................... 8




                                                                                                                                                                                            AR0000110
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 111 of 739




              FEDERAL, STATE AND TRIBAL
                    COOPERATION

                                         BACKGROUND

State and tribal pesticide regulatory agencies throughout the United States work cooperatively with
the EPA to enforce federal, state and tribal pesticide statutes. This collective and collaborative
enforcement effort exists due to the contributions of highly qualified and trained government
officials working at each of these levels of government.
EPA provides funding and guidance to states and tribes to carry out pesticide enforcement activities
to protect human health and the environment. The states and tribes, in turn, direct these resources
toward efforts to address both federal and state or tribal pesticide management priorities.
Among the primary objectives of this working partnership include:
   •   Protecting the public and the environment by ensuring pesticide product compliance and
       proper use.
   •   Improving coordination of the federal and state or tribal pesticide enforcement program(s).
   •   Working together to identify challenges nationally and within the states and tribes, resolve
       cases and deal with the problems.
   •   Improving targeting of resources by tailoring the program to meet the local needs and
       concerns of each state or tribe.
   •   Providing more efficient use of resources through cooperation with state and tribal offices
       and personnel.


                                        AUTHORITIES

AUTHORITY OF THE STATES

Section 24(a) of FIFRA authorizes a state to regulate the sale or use of any federally registered
pesticide or device in that state, but only if and to the extent the state regulation does not permit
any sale or use prohibited by FIFRA. The state may not impose labeling or packaging requirements
in addition to or different from those required by FIFRA. However, Section 24(c) authorizes
additional uses of federally registered pesticides under certain circumstances to address special
local needs.

STATE PRIMACY


Chapter 4                                                                                       Page 2



                                                                                                    AR0000111
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 112 of 739


Sections 26 and 27 of FIFRA set forth the conditions under which states may receive primary
enforcement responsibility (primacy) for pesticide use violations and authorizes the Administrator
to override or rescind primacy in certain situations. On January 5, 1983, EPA published a Final
Interpretive Rule in the Federal Register to provide operational guidance for FIFRA sections 26 and
27. Procedures governing the rescission of primacy are codified at 40 C.F.R. Part 173.

THE ROLE OF TRIBES

Tribes cannot be granted primacy under FIFRA. However, EPA does provide cooperative
agreements to tribes who cooperate with EPA for the enforcement of FIFRA and who have
developed their own Tribal Codes for pesticide use on tribal lands. See discussion below on
cooperative agreements. If a tribal inspector uses tribal credentials for an inspection, enforcement
can be pursued by the Tribal Counsel. If EPA credentials are used for an inspection, the inspection
file and all information will be forwarded by the tribe to the EPA regional office.

REFERRAL PROCEDURES UNDER FIFRA SECTIONS 26 AND 27

Section 27 of FIFRA requires EPA to refer any information to the states indicating a significant
violation of pesticide use laws. In accordance with the Final Interpretive Rule governing FIFRA
sections 26 and 27, EPA, in consultation with each state, will identify priority areas, in writing, for
formal referral to the state. These priority areas will consist of those pesticide activities in the state
that present the greatest potential for harm to health and the environment. The priority areas will
be revised on an annual basis based upon the effectiveness of the programs in reduction of the
harm associated with pesticide use in the state. This negotiated written agreement between the
state and the region will contain the criteria for the selection of significant pesticide use cases.
All pesticide use cases identified as “significant” are referred to the state by EPA in writing and will
be formally tracked as set forth in the Final Interpretive Rule. All other use cases will be referred to
the state for information purposes and will not be formally tracked. For any “significant” case
referred to the state, only state credentials and procedures shall be used and followed. Upon
conclusion of a formally referred significant case, the complete original file must be sent to the EPA
Regional office.
In determining the adequacy of a state’s enforcement response, the following factors are
considered:
   (1) Whether the state followed proper sampling and other evidence gathering techniques.
   (2) Whether the state responded expeditiously to the referral.
   (3) Whether all inculpatory or exculpatory events or information have been documented.
If the state's enforcement response is inadequate and the region is unable to persuade the state to
correct any deficiencies through communications with the state, the region may pursue its own
enforcement response after notifying the state. That notification should summarize the facts
relating to the state inspection, discuss the reasons for EPA's determination that the action is
inadequate and state that the EPA will initiate its own enforcement action.
Chapter 4                                                                                           Page 3



                                                                                                       AR0000112
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 113 of 739


The state has 90 days after the notice to correct any deficiencies. If after that time the
Administrator determines that the state program remains inadequate, the Administrator may
rescind, in whole or in part, the state’s primary enforcement responsibility for pesticide use
violations.
Neither sections 26 or 27 of FIFRA limits the authority of the Administrator to enforce the Act where
the Administrator determines that emergency conditions exist that require immediate action and
the state authority is unwilling or unable to respond to the emergency.

COOPERATIVE ENFORCEMENT AGREEMENTS

While sections 26 and 27 of FIFRA allow EPA to give primary enforcement responsibility to states, it
does not extend that authority to tribes. However, section 23 of FIFRA authorizes EPA to enter into
cooperative agreements with the states, territories and Indian tribes to delegate the authority to
cooperate in the enforcement of FIFRA and to assist in the training and certification of pesticide
applicators.
EPA and the states and tribes perform different roles in the cooperative enforcement agreement
program. Some areas of responsibility are listed below:
   Environmental Protection Agency:
   •   Provides federal funding to assist the states and tribes through cooperative agreements.
   •   Provides national focus and program oversight.
   •   Provides national guidance, compliance/enforcement strategies and policies.
   •   Provides training for state and tribal inspectors and lab personnel.
   •   Delegates authority to states and tribes and provides federal credentials for state and tribal
       inspectors to conduct federal inspections where state or tribal authority is lacking.
   •   Initiates federal civil and criminal enforcement actions for violations of FIFRA that are
       referred to EPA by the states or tribes.
   •   Keeps states and tribes informed of relevant information about pesticide compliance/non-
       compliance and pesticide use/misuse nationwide
   States and tribes:
   •   Assist with funding for the cooperative enforcement agreement program.
   •   Participate in the development of national guidance, compliance/enforcement strategies
       and policies.
   •   Ensure compliance with both federal and state or tribal pesticide laws by conducting an
       inspection and sampling program.
   •   Initiate state or tribal enforcement actions for violations of state or tribal laws.



Chapter 4                                                                                          Page 4



                                                                                                     AR0000113
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 114 of 739


   •   Refer fully documented cases of violations of FIFRA to EPA for federal civil or criminal
       enforcement action.
   •   Document and refer to EPA potential violations of other federal statutes.
   •   Keep EPA informed of relevant information about pesticide compliance/non-compliance and
       pesticide use/misuse within the state or tribal lands.


            WHEN TO USE FEDERAL CREDENTIALS/FORMS/SOPS

An inspector must never use both state or tribal authority and federal authority for the same
inspection.

USING STATE/TRIBAL CREDENTIALS, FORMS AND PROCEDURES

A state inspector must always use state authority, state credentials, state forms and state
procedures when conducting inspections where the state has primacy. If the inspector initiates an
inspection under state/tribal authority but discovers possible federal, rather than state, violations,
the state may refer the federal violations to EPA for further investigation and/or enforcement
action. Tribes should use their own credentials when they have authority under their laws and
codes to conduct the inspection. Similarly, a tribe may refer any suspected federal violations to EPA
for further investigation and/or enforcement action.

USING FEDERAL CREDENTIALS/FORMS/SOPS

The state or tribe must use federal credentials/forms/procedures when conducting inspections that
they do not have the authority to conduct under their own state laws or tribal codes or in instances
where EPA makes a formal referral to the state or tribe to investigate on behalf of the Agency.
Tribes should use federal credentials to inspect where the tribe lacks its own authority or where it
lacks authority to monitor and enforce Federal-only requirements. Generally, tribal inspectors will
be authorized to conduct inspections on EPA’s behalf only within the boundaries of the tribe’s
Indian Country.
Even with EPA credentials, states are not authorized to conduct inspections on tribal lands unless
allowed by a written agreement between the tribe and the state.
When states or tribes with cooperative enforcement agreements use federal credentials, federal
inspection forms and federal inspection procedures, the inspector must send the original inspection
report and files to the applicable EPA office. The state or tribe may retain a copy of the file, to be
used if asked to participate in EPA’s enforcement actions. It should be noted that federal law,
including FOIA and the requirements pertaining to CBI, apply when states or tribes are conducting
any inspection using federal credentials (see Chapter 1).




Chapter 4                                                                                         Page 5



                                                                                                    AR0000114
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 115 of 739


                                INTERAGENCY REFERRALS

Section 22(b) of FIFRA directs the Administrator to cooperate with other federal and state agencies
in carrying out the provisions of the Act. The objective is to improve management controls and
response to pesticide-related cases that are referred between:
   •   EPA and the Food and Drug Administration (FDA).
   •   EPA and the United States Department of Agriculture (USDA).
   •   EPA and United States Customs and Border Protection (CBP)(see Chapter 12).
   •   EPA and other federal and state agencies.

MEMORANDUM OF UNDERSTANDING

The Memorandum of Understanding (MOU) between FDA, USDA, and EPA on Regulatory Activities
Concerning Residues of Drugs, Pesticides and Environmental Contamination in Foods and Imported
Pesticides and Devices, provides that:
   1. FDA district offices will notify appropriate EPA regional offices when they encounter,
      through investigation or sample analysis, pesticide residues on foodstuffs that may be the
      result of the misuse of pesticides. EPA, in turn, will notify FDA whenever pesticide misuse is
      found which might result in illegal pesticide residues in food.
   2. Each agency is to keep the other agency informed of the results of its follow-up and
      regulatory actions.

PROCEDURES
FDA and USDA Referrals to EPA
Field staff of FDA and USDA will refer cases of suspected pesticide misuse to EPA when:
   (1) They are in possession of evidence that clearly demonstrates a pesticide was used on the
       food, feed, meat or poultry in a manner contrary to its EPA-approved use and labeling.
   (2) FDA or USDA laboratory results show residues of a pesticide for which FDA regulatory action
       would be initiated against the food, feed, meat or poultry because:
       •    The tolerance for the pesticide is exceeded.
       •    No tolerance (or exemption from tolerance) has been established or the tolerance has
            been revoked and the level of residue appears to be due to purposeful use as opposed to
            environmental or some other unavoidable source of contamination.
       •    The misuse occurred while the food, feed, meat or poultry was in domestic production,
            shipment or storage. (Note: Imports found to contain illegal pesticide residues at time of
            entry are not to be referred to EPA). FDA and USDA retain authority to detain, seize or
            destroy any illegal or contaminated commodity.

Chapter 4                                                                                       Page 6



                                                                                                   AR0000115
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 116 of 739


       •    The person or firm that misused the pesticide is known or suspected.
FDA and USDA also will inform EPA of any other state or local agencies that have been notified.
The EPA response to FDA and USDA illegal residue referrals will normally be a referral to the
appropriate state or tribal lead pesticide agency for follow-up. Referrals will be tracked and
reported to FDA and USDA in accordance with procedures established by the regions.

EPA Referrals to FDA and USDA
The USDA enforces pesticide tolerances on agricultural products including meat, poultry and some
egg products. The FDA enforces pesticide tolerances for all other food products. EPA inspectors
may discover potentially illegal pesticide residues on food or agriculture products during FIFRA
inspections. When EPA discovers potentially illegal residues, it must refer the matter to the FDA or
USDA so the product can be intercepted and tested as necessary. Examples of situations that might
result in illegal pesticide residues include accidental pesticide spills, excessive pesticide use in a crop
nearing harvest, fruit or grain fumigation over the prescribed rates, pesticide misuse in a food-
processing facility or the misuse of pesticides in and around slaughterhouses.

Referrals between EPA and State or Tribal Agencies
EPA may make formal or informal referrals to the states or tribes and vice versa. Referrals should
include the following elements whenever possible:
   •   Cover letter/memo containing:
            o A description of the situation.
            o Requests for specific actions from receiving agency.
            o Recommendations for receiving agency.
            o A description of any enforcement actions planned or taken.
            o A list of important deadlines.
   •   Complete inspection report (including all attachments and documentation).

INTERAGENCY RESPONSE TO EMERGENCY SITUATIONS

If an inspector encounters an emergency situation, such as pesticide misuse or incidents that may
result in harmful human exposure, the inspector should immediately inform an EPA manager
and/or supervisor in addition to the inspection target. Emergency situations may require
immediate interagency action, and EPA must notify the necessary agencies immediately so that the
hazardous situation can be corrected promptly.




Chapter 4                                                                                           Page 7



                                                                                                       AR0000116
               Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 117 of 739


                    EXHIBIT 4-1: INTERAGENCY REFERRAL FORMAT

                        1. REFERRAL TO                                                           2. REFERRED BY
Agency:                                                                    Agency:
Location:                                                                  Referring Official:
                                                                           Phone Number:
           3. DATE REFERRAL FORWARDED                                                   4. OTHER AGENCIES NOTIFIED
Date Mailed:                                                               Other Agencies Notified and Contact Person in Each:
Advance Telephone or other electronic Notification
Given:
           •    No
           •    Yes
Date:
To Whom:
                                 5. DESCRIPTION OF INCIDENT/REASON FOR REFERRAL



                   6. FIRM RESPONSIBLE                                                7. FIRM (INDIVIDUAL) AFFECTED
Name and Location of Firm Responsible for Problem: Name and Location of Firm or Individual Affected by
                                                   Problem:

               8. DATE REFERRAL RECEIVED                                                    9. REVIEWING OFFICIAL
Date of Telephone Notification:                                            Name/Title of Person Responsible for Determining
                                                                           Response to Referral:
Date Received by Mail:
                                                                           Phone Number:
                                                      10. FOLLOW-UP DECISION
 Immediate Follow-up                                                       No Follow-up        Reason:


 Non-Immediate Follow-up                                                  Date Follow-up Decision Made:

                                                            11. ACTION TAKEN
Describe follow-up and results.


                                                         12. FEEDBACK REPORT
Send a copy of completed form to this address at referring agency:


Referring Agency: Complete Blocks 1-7 and 12.
Receiving Agency: Complete Blocks 8-11, and send to address in Block 12.




Chapter 4                                                                                                                 Page 8



                                                                                                                              AR0000117
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 118 of 739




                                                CHAPTER FIVE

                                              GAINING ENTRY

                                                                 CONTENTS

Statutory Inspection Authorities ........................................................................................................... 2
Notice of Inspection versus Consent to Enter ....................................................................................... 3
Gaining Entry to Private Property.......................................................................................................... 3
   Exceptions to the Warrant Requirement .......................................................................................... 4
      Consent........................................................................................................................................... 4
      Open Fields ..................................................................................................................................... 4
      Exigent Circumstances ................................................................................................................... 4
      Plain View ....................................................................................................................................... 5
   Making Sure Consent Is Informed ..................................................................................................... 5
   What to Do if Consent to Inspect is Denied ...................................................................................... 6
Warrant Authority ................................................................................................................................. 6
   Procedures ......................................................................................................................................... 7
      Obtaining the Warrant ................................................................................................................... 7
      Contacting the U.S. Attorney ......................................................................................................... 7
      Requirements for Obtaining a Warrant ......................................................................................... 7
      Executing the Warrant ................................................................................................................... 8
      Denial of Entry ................................................................................................................................ 9
      Inspecting with a Warrant .............................................................................................................. 9
      Returning the Warrant ................................................................................................................. 10
      Challenges to the Warrant ........................................................................................................... 10
Exhibit 5-1: Model Warrant ................................................................................................................. 12
Exhibit 5-2: Model Warrant ................................................................................................................. 14




                                                                                                                                                  AR0000118
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 119 of 739




                                   Gaining Entry

                        STATUTORY INSPECTION AUTHORITIES

FIFRA section 9(a), 7 U.S.C. §136g(a), provides the authority for an inspector to enter, at reasonable
times, any establishment or other place where pesticides or devices are being held for distribution
or sale, for the purpose of inspecting and obtaining samples of any pesticides or devices packaged,
labeled and released for shipment, and samples of any containers or labeling for such pesticides or
devices.

In addition, section 9(a) provides authority to enter, at reasonable times, any place where there is
being held any pesticide, the registration of which has been suspended or canceled for the purpose
of determining compliance with section 19 of the Act.

FIFRA section 12(a)(2)(B), 7 U.S.C. §136j(a)(2)(B), makes it unlawful for any person to refuse to
allow any entry, inspection or sampling authorized by FIFRA.

FIFRA section 8(a), 7 U.S.C. §136f(a), describes the Administrator’s authority to prescribe
regulations requiring producers, registrants and applicants for registration to maintain records with
respect to their operations and the pesticides and devices produced and to make these records
available for inspection and copying.

FIFRA section 8(b), 7 U.S.C. §135f(b), requires producers, registrants, applicants for registration,
distributors, carriers, dealers or any other person who distributes or sells any pesticide or device
subject to FIFRA, to make available for inspection and copying all records showing the delivery,
movement or holding of pesticides or devices, including the quantity, the date of shipment and
receipt and the name of the consignor and consignee, upon request.

FIFRA section 12(a)(2)(B), 7 U.S.C. §136j(a)(2)(B), makes it unlawful for any person to refuse to
prepare, maintain, or submit any records and reports required by or under sections 5, 6, 7, 8, 11 or
19. In addition, this section makes it unlawful for any person to refuse to allow any entry,
inspection, copying of records or sampling authorized by FIFRA.




Chapter 5                                                                                       Page 2




                                                                                                    AR0000119
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 120 of 739




               NOTICE OF INSPECTION VERSUS CONSENT TO ENTER

The main function of a Notice of Inspection is to satisfy the requirement in FIFRA Section 8 and 9 to
present “a written statement as to the reason for the inspection, including a statement as to
whether a violation of the law is suspected. If no violation is suspected, an alternate and sufficient
reason shall be given in writing”. Securing consent to enter private property is a Constitutional
requirement and is different from the FIFRA presentation requirement. Consent to enter may be
given to the inspector verbally (and noted by the inspector in field notes) or by signing the Notice
of Inspection. The absence of a Facility Official’s signature on the Notice of Inspection does not
invalidate the Notice of Inspection or establish that consent to the inspection was not provided or
that the proper procedures were not followed.


                        GAINING ENTRY TO PRIVATE PROPERTY

To conduct an inspection, the inspector must gain entry to private property. The U.S.
Constitution, however, guarantees a reasonable expectation of privacy. Therefore, to gain entry
to private property to conduct an inspection, EPA needs to obtain a warrant UNLESS the inspector
receives the informed consent from the owner of the property or from a person in control of the
property in the absence of the owner. If consent is denied and a warrant is necessary, a warrant
can be based on “probable cause” or a “neutral administrative inspection scheme.” “Probable
cause” is a reasonable suspicion that a violation has occurred. EPA conducts inspections
pursuant to a neutral inspection scheme when it is not doing “for cause” inspections. A neutral
inspection scheme allows for a non-arbitrary method of identifying inspection targets and the
neutral selection of establishments for inspection. A “neutral inspection scheme” as a basis for
inspection was developed by the U.S. Supreme Court in Marshall v. Barlow's Inc., 436 U.S. 307
(1978).
To conduct an inspection using FIFRA authority, inspectors must present EPA credentials, use
EPA forms and EPA procedures. Inspections conducted under state pesticide statutory
authorities must follow state authorities, presenting state credentials and using state form(s),
and in accordance with established state inspectional protocols. Showing appropriate
credentials and providing an adequate Notice of Inspection serve an important function in
gaining entry, under these circumstances, and informs the property owner as to the purpose
and authority for the inspection.
Unless it is to the advantage of EPA, inspection targets are not notified of a pending FIFRA
inspection. It is Agency policy that inspections conducted under FIFRA are unannounced
inspections. EPA conducts unannounced inspections, with no prior contact with the
establishment, company or any individual prior to the arrival of the inspector at the location.


Chapter 5                                                                                          Page 3




                                                                                                    AR0000120
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 121 of 739




EXCEPTIONS TO THE WARRANT REQUIREMENT

                                              CONSENT

An inspector can enter private property to conduct inspections by obtaining valid consent. For
the consent to be valid, it must be freely and voluntarily given and not given because of duress,
misrepresentation or coercion (either expressed or implied). While the law does not require that
a subject be advised of his/her right to refuse to give consent, if the inspector believes such
knowledge may be helpful in validating the consent and in overcoming any taint of implied
coercion, he/she may inform the consenting party of his/her right to refuse voluntary entry. In
addition, the person granting the consent must be authorized to do so. The inspector must be
certain that the consenting party is the owner or has the premises under his/her control and has
at least the apparent authority to give consent.
If a FIFRA inspector plans to make multiple visits to the same location for inspection or sampling
purposes, the inspector must gain consent for each entry unless the inspector obtained prior
consent to cover all necessary entries. Accordingly, at the onset of an inspection, the inspector
must seek to gain consent sufficient to authorize all entry and sampling activities he/she
contemplates will be necessary to complete the inspection.

                                            OPEN FIELDS

“Open fields” are areas where a landowner normally does not have a reasonable expectation of
privacy. While the preferred procedure is to obtain valid consent prior to entry, the courts have
established that inspectors may enter open, private lands in the official performance of their
duties. The inspector may technically be a trespasser on private property, but this fact will not
prevent the lawful use of any evidence obtained in these open fields. This inspection authority
does not extend to a residence or the area immediately surrounding a residence.

                                     EXIGENT CIRCUMSTANCES

The law does not require a public official to stand by helplessly while a serious offense
endangering human health or the public safety is occurring on private property. If there is
insufficient time to procure a warrant before serious harm will occur and if consent to enter
cannot be readily obtained, an inspector may enter the property to assist in preventing
imminent harm to human life. Because of the heavy burden imposed on the Agency to show
that its entry without authority was justified, this doctrine shall be used only in rare and
emergency circumstances.




Chapter 5                                                                                       Page 4




                                                                                                     AR0000121
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 122 of 739




                                             PLAIN VIEW

There is no reasonable expectation of privacy concerning things in “plain view.” The plain view
doctrine is an acknowledgment by the courts that an inspector lawfully engaged in the course of
his/her duties is not required to wear blinders or close his/her eyes to whatever is occurring
around him/her. This principle applies regardless of the nature of the inspection (use, producer,
marketplace, etc.). The following elements are required for a plain view observation:
     •    Lawfully present—The inspector must be justified in being where he/she is at the time
          the plain view observation is made. Lawful presence may be gained through such
          avenues as statutory authority, a valid search warrant, consent or “open fields.”
     •    Inadvertent discovery—The inspector must discover the evidentiary items accidentally.
          The plain view doctrine will not apply if the inspector has probable cause to believe that
          an item is on certain premises and goes on those premises with the intention of
          searching for that item; such a discovery is not inadvertent.
     •    Apparently incriminating nature—The inspector must have reasonable grounds to
          believe immediately, without further investigation, that the item in plain view
          constitutes evidence of a violation of the law.

MAKING SURE CONSENT IS INFORMED

Both sections 8 and 9 of FIFRA require that the inspector present to the owner, operator or
agent in charge, appropriate credentials and a written statement (Notice of Inspection) as to the
reason for the inspection and a statement as to whether the inspector suspects a FIFRA
violation. If no violation is suspected, the inspector should mark that the inspection is a “neutral
inspection scheme” on the Notice of Inspection form. However, if the inspector suspects a
violation, the inspector must mark that the inspection is “for cause” and clearly state the
suspected violation (i.e. suspected unregistered pesticides in violation of FIFRA) on the Notice of
Inspection form. The inspector must fill out the Notice of Inspection form properly and
completely. If the inspector is unsure whether the inspection is “for cause” or a “neutral
inspection scheme” the inspector should contact his or her supervisor before attempting to
gain entry.
Upon arrival at the establishment, the inspector must:
     1. Identify and introduce himself/herself to the owner, operator, or agent in charge of the
        establishment (responsible official of the facility), in a professional manner.
     2. Present EPA credentials. Do not relinquish possession of the credential and do not allow
        anyone to make copies of the credential. As noted above, for FIFRA inspections, the

Chapter 5                                                                                       Page 5




                                                                                                    AR0000122
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 123 of 739




          inspector must present only EPA credentials. Do not present both EPA and state
          credentials during entry.
     3. Request to discuss the purpose of the inspection with the owner, operator or agent in
        charge and any other responsible official(s) of the facility.
     4. Issue the owner, operator, or agent in charge a completed Notice of Inspection (EPA
        Form 3540-2) (Exhibit 1-1), which contains the reason for the inspection and whether
        the inspection is “neutral scheme inspection” or “for cause” (including any suspected
        violations). As stated above, the absence of a Facility Official’s signature will not
        invalidate the Notice of Inspection, or establish that consent to the inspection was not
        provided or that proper procedures were not followed.
These entry procedures are critical to ensure that an inspection is conducted legally, with the
informed consent of the responsible official of the establishment and that any evidence
gathered during the inspection can be used in an enforcement proceeding.

WHAT TO DO IF CONSENT TO INSPECT IS DENIED

The inspector must explain the authority to conduct inspections under sections 8 and 9 of FIFRA
and that not permitting the inspection would constitute a violation of section 12(a)(2)(B)(iii). If
consent to conduct and complete the inspection is still denied, the inspector must leave the
facility and immediately call his/her supervisor and provide information on the denial of entry.
The supervisor and/or an EPA attorney may negotiate entry or EPA may seek a warrant to
continue the inspection.


                                    WARRANT AUTHORITY

If consent is denied, a warrant can be sought based on “probable cause” or a “neutral
administrative inspection scheme”. “Probable cause” is a reasonable suspicion that a violation
has occurred. EPA conducts inspections pursuant to a neutral inspection scheme when it is not
doing “for cause” inspections. A neutral inspection scheme allows for a non-arbitrary method of
identifying inspection targets and the neutral selection of establishments for inspection. See,
“The Conduct of Inspections after the Barlow’s Decision” (GM-5) cited at the beginning of this
Chapter. Under FIFRA section 9(b), officers or employees, duly designated by the Administrator,
may obtain and execute warrants authorizing the following:
     •    Entry for the purposes of sections 8 and 9.
     •    Inspection and reproduction of all records showing the quantity, date of shipment, and
          names of the consignor and consignee of any pesticide or device found in violation of
          FIFRA at any establishment and, in the event of the inability of any person to produce
Chapter 5                                                                                         Page 6




                                                                                                      AR0000123
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 124 of 739




          records containing such information, all other records and information relating to such
          delivery, movement or holding of the pesticide or device.
     •    Seizure of any pesticide or device that is in violation of FIFRA.
To support the request for a warrant, the inspector must prepare detailed notes giving the
name of the person approached, his/her title, time of denial, reason for denial (if given) and
reason for inspection (i.e., “probable cause” or “neutral inspection scheme”). This information
is essential to ensuring a warrant is obtained.
Note that refusal of entry is not necessarily a prerequisite to obtaining a warrant. EPA may
obtain a pre-inspection warrant where the company has a history of prior refusal, or the
distance to a U.S. attorney or a magistrate is so considerable that excessive travel time would be
required if entry were denied.

PROCEDURES

                                       OBTAINING THE WARRANT

The inspector plays a significant role in seeking a warrant. His/her knowledge and experience
relating to the denial of entry are crucial to the drafting of warrant documents. The inspector is
responsible for: (1) obtaining information that specifically describes the premises to be searched;
(2) providing specific information with regard to the reason(s) for the inspection, including the
items to be inspected; and (3) helping to determine which laws apply or may have been violated.
Drafting warrant documents is a particularly important area where attorneys and inspectors
must work as a team.

                                   CONTACTING THE U.S. ATTORNEY

To obtain a search warrant, EPA must contact the U.S. Attorney’s Office in the district in which the
property is located and assist the assigned Assistant U.S. Attorney in preparing the warrant and
any necessary affidavits.

                             REQUIREMENTS FOR OBTAINING A WARRANT

When seeking a warrant, three documents must be prepared: (1) an application for a warrant;
(2) one or more affidavits in support of the warrant; and (3) the warrant itself. Each document
must contain a caption with the district court of jurisdiction, the title of the action, and the title
of the particular document. Exhibit 2-1 is an example of an affidavit to support an application



Chapter 5                                                                                           Page 7




                                                                                                         AR0000124
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 125 of 739




for a warrant. Exhibit 2-2 is an example of a warrant that may be prepared for the magistrate's
signature.
The application for a warrant must identify the statute (FIFRA) and regulations under which the
Agency is seeking the warrant and identify clearly the site or establishment to be inspected
(including, if possible, the owner and/or operator of the site). The U.S. Attorney or Assistant U.S.
Attorney must sign the application.
The affidavits in support of the warrant application are crucial. Each affidavit must consist of
consecutively numbered paragraphs describing all of the facts that support the issuance of the
warrant (probable cause). If there is no probable cause, the warrant must recite or incorporate
by reference the neutral administrative scheme that is the basis for inspecting the particular
establishment. Someone with personal knowledge of all the facts stated must sign each affidavit,
although that person can rely upon “hearsay” or secondhand knowledge - this person would
most likely be the inspector who has been denied entry. Note that an affidavit is a sworn
statement that must either be notarized or personally sworn to before the magistrate.
The warrant itself is a direction to an appropriate official (an EPA inspector, law enforcement
personnel or other federal officer) to enter a specifically described location and perform
specifically described inspection functions. Because the inspection is limited by the terms of the
warrant, it is important to specify to the broadest extent possible the areas that are intended to
be inspected, any records to be inspected, any sample to be taken, any articles to be seized, etc.
Note, however, that a vague or overly broad warrant will probably not be signed by the
magistrate and may prove susceptible to constitutional challenge.
The warrant must be ready for the magistrate’s signature at the time of submission. Once the
magistrate signs the draft warrant, it is an enforceable document.
Either following the magistrate's signature or on a separate page, the draft warrant must contain
a “return,” which is used to report that the warrant was executed. The return is to be signed and
dated by the inspector after completing the inspection (see “Returning the Warrant” below).

                                      EXECUTING THE WARRANT

Once a judge or magistrate signs the warrant, the inspector may execute the warrant. Warrants
are executed only by a physical entry onto the premises and must be executed without undue
delay. The warrant will usually direct that it be executed during daylight hours and specify the
date by which it must be executed. It is customary to show the property owner a copy of the
warrant or provide a copy. If more than one person will be conducting the inspection, it is
important that the inspection team members determine each member's role (i.e., who is going to
do what and when) before going to the facility.


Chapter 5                                                                                        Page 8




                                                                                                     AR0000125
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 126 of 739




                                          DENIAL OF ENTRY

Where there is high probability that EPA will be refused entry, even with a warrant, or there
exists a likelihood of threats of violence, the inspector must be accompanied by a U. S. Marshal,
county sheriff, state or local police officer when executing the warrant. For reasons of personal
safety, the inspector must not attempt forcible entry of the facility at his/her own initiative.
If the facility representative refuses entry to an inspector holding a warrant but not
accompanied by a law enforcement officer, the inspector must leave and so inform the Assistant
U. S. Attorney and the designated EPA attorney. They will take appropriate action, such as: (1)
sending the inspector back to the facility, accompanied by law enforcement personnel or (2)
seeking a citation for contempt.
Where law enforcement personnel accompany the inspector, the law enforcement officer will
execute the warrant. If a refusal or threat to refuse occurs, the inspector must abide by the law
enforcement officer’s decision whether to leave, seek forcible entry or take other action.

                                   INSPECTING WITH A WARRANT

Except as described below, the inspector must conduct the inspection strictly in accordance with
the warrant. If the warrant authorizes sampling, the inspector must be sure to follow all
procedures carefully, including the presentation of receipts for all samples taken (see Chapter
17 for product sampling procedures). If the warrant authorizes EPA to take records or other
property, the inspector must provide a receipt for the property taken and maintain an
inventory. The judge or magistrate will examine the inventory as part of the warrant return to
ensure that the inspector did not exceed the warrant’s authority and will become an exhibit to
the original warrant when returned to the court.
Inspectors must keep the following points in mind when conducting an inspection pursuant to a
warrant:
     •    Inspectors should only collect evidence within the scope of the warrant.
     •    Be aware of other possible evidence of wrongdoing. Such evidence generally is
          obtainable as long as the inspector has the lawful authority to be where he/she is and
          the evidence is in “plain view” (as described in this Chapter).
     •    The warrant will specify whether the inspector needs to split samples and how to handle
          certain documents on site (i.e., whether documents may be removed or copied and
          removed). If, for some reason, document removal is not possible or authorized in the
          warrant, arrange for the documents to be copied, scanned or photographed on site. If
          the inspector anticipates a large number of records, EPA recommends the use of a


Chapter 5                                                                                      Page 9




                                                                                                    AR0000126
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 127 of 739




          portable scanner or laptop, or, if not available, the inspector can dictate the contents of
          the documents into a recording device.
     •    As with all inspections, interview as many individuals as possible. There are no
          restrictions on asking questions, although there is no obligation for the facility's
          representatives or employees to respond.
     •    If the inspector believes that the facility may have intentionally destroyed records, the
          inspector should make observational notes in his/her field notebook and inspection
          report and contact his/her supervisor as soon as possible. EPA’s criminal enforcement
          division may need to be notified if intentional record destruction is observed.

                                      RETURNING THE WARRANT

A warrant is “returned” when EPA submits a written report to the court describing when and
where the warrant was executed, who executed the warrant, an inventory of the records or
samples collected and, if a copy of the warrant was given to someone, the return must list that
person's name and address. The inspector must work as a team with the EPA attorney to
provide the information necessary to return the warrant within the time restriction required by
the court. Failure to return the warrant in a timely manner could result in contempt action
against the executing officials. The person who executes the warrant (i.e., the person who
performs the inspection) must sign the return form and give it and the warrant to the U.S.
Attorney, who will formally file the documents with the court.

                                    CHALLENGES TO THE WARRANT

The possibility always exists that a facility representative will challenge a warrant and the
evidence obtained. The warrant and all evidence gathered pursuant to it, or portions of
evidence obtained in an otherwise valid warrant, can be overturned by the court. Some of the
typical bases for challenges to a warrant or evidence (whether or not they are successful)
include the following:
     •    Insufficient cause for issuance of the warrant.
     •    Insufficient statement or affidavit supporting the warrant.
     •    Inaccurate information in the supporting statement or affidavit.
     •    Insufficient description of the premises or items to be seized.
     •    Searches beyond the scope of the warrant.
     •    Failure to follow appropriate procedures for serving or returning the warrant.


Chapter 5                                                                                        Page 10




                                                                                                      AR0000127
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 128 of 739




To avoid challenges relating to EPA’s authority under a warrant, all FIFRA inspectors should
follow the procedures provided above for obtaining, executing, and returning a warrant.




Chapter 5                                                                                      Page 11




                                                                                                 AR0000128
              Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 129 of 739




                                        EXHIBIT 5-1: MODEL WARRANT


                                              United States District
                                                     Court
                                 For the                 District of


       In the Matter of the Search of:                                   Docket No.
         (Briefly describe the property to be searched                   Case No.
         or identify the business by name and address)

                       AFFIDAVIT IN SUPPORT OF APPLICATION FOR A WARRANT
       ______ (your name) _________, being duly sworn upon his oath, according to law, deposes and
       says:

       1. I am duly authorized (title)_ of the (division), United States Environmental Protection Agency,
          Region     . I hereby apply for a warrant pursuant to Section 9 of the Federal Insecticide,
          Fungicide, and Rodenticide Act, as amended, 7 U.S.C. Section 136 et seq., for the
          inspection and/or sampling of the items named below in the possession, custody or control
          of the (name of company or owner).
       2. This warrant in sought under Section 9 of the Federal Insecticide, Fungicide, and Rodenticide
          Act, as amended, (7 U.S.C. Section 136g), which provides:
“(b) WARRANTS - For purposes of enforcing the provisions of this Act and upon a showing to an officer
       of court of competent jurisdiction that there is reason to believe that the provisions of this Act
       have been violated, officers or employees duly designated by the Administrator are empowered
       to obtain and to execute warrants authorizing –
       “(1)                     entry for the purpose of this section;
“(2)   inspection and reproduction of all records showing the quantity, date of shipment, and the
       name of consignor and consignee of any pesticide or device found in the establishment which is
       adulterated, misbranded, not registered (in the case of a pesticide) or otherwise in violation of
       this Act and in the event of the inability of any person to produce records containing such
       information, all other records and information relating to such delivery, movement, or holding
       of the pesticide or device; and
   3. (Name of establishment, person, or place) is a (describe its business) that the undersigned compliance
      officer of the United States Environmental Protection Agency has reason to believe is in
      violation of the Federal Insecticide, Fungicide and Rodenticide Act, as amended. This belief is
       Chapter 5                                                                                      Page 12



                                                                                                               AR0000129
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 130 of 739




    based upon the following facts and information: (summarize the reasons why a violation is suspected and
    the facts justifying the suspicions).

4. The (inspection, reproduction of records, sampling, issuance of the stop sale, use or removal order) will be
   carried out with reasonable promptness, and a copy of the results of analyses performed on any
   samples or material collected will be furnished to the owner or operator of the subject
   establishment or property.

5. The compliance officer may be accompanied by one or more other compliance officers of the
   United States Environmental Protection Agency.
6. The undersigned compliance officer requests immediate entry to (Name of establishment or place) to
   perform the inspection, reproduction of records, sampling, or the issuance of a stop sale, use or
   removal order [optional, if necessary].
7. A return will be made to the court at the completion of the inspection, reproduction of records,
   sampling or issuance of a stop sale, use or removal order.
8. The authority of the issuance of the inspection warrant is Section 9 of the Federal Insecticide,
   Fungicide, and Rodenticide Act, as amended, and Camara v. Municipal Court of the City and
   County of San Francisco, 387 U.S. 523 (1967), See v. City of Seattle, 387 U.S. 541 (1967), and
   Marshall v. Barlow’s Inc., 436 U.S. 307 (1978).

                                                     ______________________________
                                                     Applicant’s signature

                                                     ______________________________
                                                     Printed name and title

    Sworn before and signed in the presence of ______________________________
                                                     Notary public’s signature

                                                     ______________________________
                                                     Printed name

                    My Commission expires on         ______________________________




    Chapter 5                                                                                         Page 13



                                                                                                            AR0000130
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 131 of 739




                                   EXHIBIT 5-2: MODEL WARRANT

                                 United States District Court
                            For the               District of


 In the Matter of the Search of:                                     Docket No.
 (Briefly describe the property to be searched                       Case No.
 or identify the business by name and address)



 Warrant for Inspection, Reproduction of Records, Sampling, and Issuing Stop Sale,
 Use or Removal Order of Pesticides or Devices Pursuant to the Federal Insecticide,
        Fungicide, and Rodenticide Act, as amended, (7 U.S.C. Section 136).
To ___(Name)___, ___(Title)___, ___(Division)__, Environmental Protection Agency, Region ___, and any
other duly authorized enforcement officer of said division:
Application having been made and probable cause shown, by (Name of Officer), for inspection and
sampling of packaged, labeled and released pesticides or devices, as well as labeling and containers
found in the establishment described below; and for inspection and reproduction of records
showing quantity, date of shipment, and the name of consignor and consignee of any pesticide or
device found in said establishment which is adulterated, misbranded, not registered in the case of a
pesticide or otherwise in violation of the Federal Insecticide, Fungicide, and Rodenticide Act, as
amended, or should such records not be available for inspection, all other available records and
information relating to such delivery, movement, or holding of any pesticide or device which is in
violation of the said Act; for the issuance or surveillance of any stop sale, use or removal order of
any pesticide or device which is in violation of the said Act; all within the establishment or place
described as:
                                                 ______________________________
                                                 Name of establishment or place
                                                 ______________________________
                                                 Address
                                                 ______________________________
                                                 City, State and Zip Code
-or-
Application having being made and probable cause shown, by (Name of Officer), for inspection or
sampling of pesticide used in violation of the said Act, at the place described as:

Chapter 5                                                                                    Page 14




                                                                                                  AR0000131
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 132 of 739


                                                   ______________________________
                                                   Name of establishment or place
                                                   ______________________________
                                                   Address
                                                   ______________________________
                                                   City, State and Zip Code


Pursuant to the Federal Insecticide, Fungicide, and Rodenticide Act, as amended, the federal
regulations promulgated thereunder, and the decisions of Camara v. Municipal Court of the City
and County of San Francisco, 387 U.S. 523 (1967), See v. City of Seattle, 387 U.S. 541 (1967), and
Marshall v. Barlow’s Inc., 436 U.S. 307 (1978) you are authorized to enter (immediately) the above
described premises upon presenting this warrant and therein carry out the inspections, sampling,
reproduction of records, and/or issuance or surveillance of any stop sale, use of removal order
described above.
Date and time issued: __________________                     ______________________________
                                                             Signature of Magistrate


                                          Return of Service
I hereby certify that a copy of the within warrant was served by presenting a copy of the same to
(facility owner of agent) on (date) at (location of establishment or place).

              ______________________________
              Signature of person making service

              ______________________________
              Printed name and title


                                                    Return
Inspection of the establishment described in this warrant was completed on (date).
              ______________________________
              Signature of person conducting inspection

              ______________________________
              Printed name and title




Chapter 5                                                                                     Page 15




                                                                                                 AR0000132
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 133 of 739




                         CHAPTER SIX
                 PESTICIDE PRODUCT SAMPLING

                                                                                  CONTENTS

Statutory Authority ................................................................................................................................................................ 3
Objectives ...................................................................................................................................................................................3
Policy .............................................................................................................................................................................................3
Types of Samples ....................................................................................................................................................................4
Sample Procedures ................................................................................................................................................................ 5
    Numbering of Samples (whether physical or documentary) ............................................................................6
    Duplicate Samples ............................................................................................................................................................. 6
    Small-Sized Units ............................................................................................................................................................... 7
    Larger-Sized Units ............................................................................................................................................................. 8
    Dry Material .......................................................................................................................................................................... 8
    Liquid Material......................................................................................................................................................................8
    Gas or Fumigants .................................................................................................................................................................9
    Labels ........................................................................................................................................................................................9
    Samples Via Internet Purchase ...................................................................................................................................... 9
After Sampling ....................................................................................................................................................................... 10
    Restoring Lot to Order ................................................................................................................................................. 10
    Preparing the Receipt for Samples ........................................................................................................................ 10
    Payment for Samples .................................................................................................................................................... 11
Sample Documentation ....................................................................................................................................................... 11
    Responsibility ................................................................................................................................................................... 11
    Records Showing Shipment ....................................................................................................................................... 12
         Invoice ............................................................................................................................................................................. 13
         Bill of Lading................................................................................................................................................................ 13
         Freight Bill .................................................................................................................................................................... 13
         Waybill ............................................................................................................................................................................. 14
         Mail or Parcel Service Shipments ...................................................................................................................... 14
         Shipments by Noncommercial Vehicle............................................................................................................ 14




                                                                                                                                                                                               AR0000133
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 134 of 739




       Statement ....................................................................................................................................................................... 15
Sample Preparation, Custody and Handling............................................................................................................... 15
   Identification of Samples and Labels ........................................................................................................................ 15
   Identification of Documents ......................................................................................................................................... 16
       Records ............................................................................................................................................................................ 16
       Accompanying Literature, Labeling, Photographs and Exhibits .............................................................. 16
   Sample Custody and Integrity .................................................................................................................................. 16
       The EPA Official Sample Seal and Polybagging ........................................................................................... 16
       Sample Integrity and Transfer ............................................................................................................................ 17
   Mode of Transfer ............................................................................................................................................................. 18
       Hand Delivery .............................................................................................................................................................. 18
       Common Carrier ......................................................................................................................................................... 18
       U.S. Postal Service ...................................................................................................................................................... 19
Exhibit 6-1: Examples of Records ................................................................................................................................ 20




                                                                                                                                                                                        AR0000134
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 135 of 739




            PESTICIDE PRODUCT SAMPLING

                              STATUTORY AUTHORITY

FIFRA section 9(a) authorizes any officer or employee duly designated by the Administrator to
enter, at a reasonable time, any establishment or other place where pesticides or devices are
held for distribution or sale for the purpose of inspecting and obtaining samples of any
pesticides or devices packaged, labeled and released for shipment and samples of any
containers or labeling for such pesticides or devices. This includes the sampling of pesticides
and devices that have been produced by the establishment within the past two years and exist
elsewhere in the channels of trade.
FIFRA section 9 requires the inspector to offer the establishment representative duplicate
samples of physical samples collected during the inspection.
FIFRA section 12(a)(2)(B) makes it unlawful for any person to refuse to allow a “duly designated
agent of the EPA Administrator” to take a sample of any pesticide pursuant to FIFRA section 9.


                                       OBJECTIVES

An official sample of a pesticide formulation or device is necessary for use as evidence in many
of the enforcement actions taken resulting from a producer, marketplace or dealer inspection.
A sample must be suitable to support an allegation that a violation has occurred. Therefore, the
sample must conform to the rules regarding admissibility of evidence; specifically, the inspector
must establish the chain of custody for the sample(s), where the sample has been and how it
was treated once it was collected. A properly collected, prepared and documented sample
includes the following:
•   A sufficient portion of a batch of a pesticide for laboratory analysis.
•   Photographs and copies of records, data or correspondence.
•   Labeling and/or literature, or copies of these items, pertaining to the sampled product
    and/or batch.
•   Signed statements from persons who may potentially serve as witnesses.
•   Properly filled out chain-of-custody forms


                                           POLICY

Use the procedures outlined in this chapter to collect and prepare samples. The inspector
should fully document any deviations from these procedures in his or her field notebook.

Chapter 6                                                                                     Page 3




                                                                                                 AR0000135
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 136 of 739




Deviations from the procedures in this manual may be very important to the laboratory when
analyzing the samples.
Promptly deliver or forward samples and records to the laboratory. Do not hold pesticide
formulation samples for more than five working days from the time of collection to the time of
shipment to the laboratory.
There are four main potential sources of pesticide product samples: (1) inspections of pesticide
producing and device producing establishments (see Chapter 9); (2) marketplace inspections
(see Chapter 9); (3) use inspections (see Chapter 8) and (4) import inspections (see Chapter 12).
Obtain lists from your EPA regional office of pesticides or devices produced at various
establishments. Unregistered pesticides, investigational samples or pesticides or devices that
are not available at a producer’s establishment may be available for sampling at a marketplace,
such as wholesale and retail establishments, farm dealerships, seed, feed and fertilizer outlets
and many home improvement stores.


                                   TYPES OF SAMPLES

Official samples may be used as part of legal or regulatory actions. There are four types of
official pesticide product samples - physical, induced, documentary and import.
   •    Physical samples are actual samples of the pesticide formulation or device. The physical
        sample may include the original labeled packaging, copies of or photographs of the label
        and all other labeling associated with the pesticide or device. Collect copies of any
        records showing the distribution or sale of the physical sample for documentary
        purposes. Shipping records, bills of lading, waybills, etc., are important because they can
        substantiate the distribution or sale of the pesticide product or device and are vital to all
        enforcement cases. A sample usually consists of the entire container of the pesticide or
        device. When large containers are involved or when small amounts of a pesticide are
        necessary for analyses, the inspector may choose to subsample the pesticide. This type
        of sample consists of a portion of the pesticide removed from the original container and
        placed in a sample container and identified properly. In addition, the label and any
        additional labeling and/or collateral literature and/or photographs must be documented
        and identified with the same number as the subsample container. The official sample
        consists of the physical subsample and the label/labeling and is counted as one sample.
        If a subsample is collected, the original container that the sample was collected from
        should be properly re-sealed and identified (i.e., “4 oz. removed on 01/01/2012 by EPA
        for sampling purpose,” inspector’s initials).
   •    Induced samples (IND) of pesticides or devices are physical samples that are obtained
        by mail, telephone, or the internet. Complete documentation is necessary, including the
        original advertisement. A webpage printout may be advertising of the pesticide product,
        but consult your supervisor before collecting this evidence

Chapter 6                                                                                      Page 4




                                                                                                  AR0000136
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 137 of 739




   •    Documentary samples (DOC) are official samples collected in lieu of or in addition to
        taking physical samples. Documentary samples may suffice when the chemistry of a
        pesticide is not suspect. Inspectors have some flexibility when collecting documentary
        samples, but should strive to collect the best evidence. In order of preference,
        documentary samples may consist of:
            o Photographs of the entire label of the actual container observed by the inspector
                at the time of inspection. Photograph all sides, including the top and bottom,
                and photograph the entire product as observed in its retail or warehouse
                location.
            o For products that may have already been produced and are not on hand,
                authenticate bin labels or specimen labels by having the owner/operator identify
                them as identical to the labels on product already sold/distributed and covered
                by invoices and shipping records obtained during the inspection. Further,
                establish authentication by obtaining a written notation on the reverse side of
                the label/labeling, as well as a written statement by the owner/operator, that
                labels obtained during the inspection are identical to the labels on the products
                sold/distributed.
            o Specimen labels or other labels obtained by the inspector from sources other
                than at the establishment or place where the pesticide was observed. The more
                removed a specimen or other label is from the actual label observed, the greater
                the effort must be to authenticate the label. These labels must be authenticated
                by the agent-in-charge, suspect or witness in an official statement on the Receipt
                for Samples and/or Statement Forms, as identical to the original label observed
                by the inspector.
   •    Import samples (IMP) are physical or documentary samples of pesticide formulations or
        devices imported into the United States from foreign countries. Documentation for
        imported shipments should include U.S. Customs and Border Protection (CBP) entry
        papers, foreign invoices, shippers’ bills of lading, and records showing movement from
        the port of entry. See Chapter 12, “Pesticide/Device Import and Export Inspections.”


                                SAMPLE PROCEDURES

Inspectors should ensure that sufficient sampling equipment is on hand prior to conducting the
inspection. For a listing of suggested equipment, see Chapter 7, “Residue and Environmental
Sampling.” Immediately following the collection of a sample, the sample should be: (1) officially
sealed; (2) labeled; and (3) documented in inspection notes and inspection forms. Collect
official pesticide formulation and/or documentary samples from material that is packaged,
labeled and deemed released for shipment by the manufacturer or, in the case of producing
establishments, has been introduced into the channels of trade in the past two years. The term
“packaged, labeled and released for shipment” refers to the point in the production and
marketing of a pesticide/device where (1) the product has been produced and (2) has been
Chapter 6                                                                                   Page 5




                                                                                               AR0000137
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 138 of 739




introduced into the channels of trade or it is the intent of the producer that such product be
introduced into the channels of trade.
At the producer establishment, document intent to introduce the product into the channels of
trade by (1) the producer’s assertion that the material being sampled is representative of what
is actually sold in the marketplace or (2) storage of the product in a loading dock, warehouse or
other area where finished goods are held before sale or distribution.
If an inspector can determine that a product is at a distributor or in a wholesale or retail
marketplace, that product has been “released for shipment” by the producing establishment
and therefore subject to inspection and sampling.

NUMBERING OF SAMPLES (WHETHER PHYSICAL OR DOCUMENTARY)

Every sample requires an identifying number. An example of a sample number consists of: (1)
the date (mmddyy); (2) the inspector’s credential number (3) an inspection sample sequence
number including subsample numbering (A, B, C, or 001, 002, 003); and (4) the inspector’s
initials.
For example, 01/09/2012-17942-123-001-MP
   •    01/09/2012 = date
   •    17942 = inspector credential number
   •    123 = inspection sequence number
   •    001 = sample or subsample number
   •    MP = inspector initials

DUPLICATE SAMPLES

The inspector should inquire whether the facility would like duplicate samples. If the inspected
facility requests duplicate samples, they should be collected, identified, labeled and officially
sealed in the same manner as the inspector’s official samples. In the case of a larger sized unit,
EPA defines a duplicate sample as an equal amount of the product taken in the same manner
from the same container. In the case of small-sized units, a duplicate sample is the same
number of units taken from the same shipping containers and bearing the same batch or code
numbers, if coded.
Small-sized units should not be subdivided for the following reasons: (1) the integrity of the
sample is easier to maintain and defend; (2) contamination during sampling is minimized; (3)
the possibility of exposure to the inspector and personnel of the firm is diminished; and (4) the
laboratory can conduct a net content check on the unit collected, if necessary.


Chapter 6                                                                                    Page 6




                                                                                                 AR0000138
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 139 of 739




SMALL-SIZED UNITS

Small-sized units are units intended for retail distribution, containing liquids of one gallon or
less or solids weighing 20 pounds or less. Take samples from original, previously unopened
shipping cases. If more than one batch or lot number is present, take samples from the
predominant code or batch. If it is necessary to sample more than one batch or lot, write all lot
and batch numbers on the Receipt for Samples to identify the lots or batches. If the labels are
not identical, sample all sizes and submit different sizes under separate sample numbers. In
addition, record the number of cases of each size. When only a case code is evident, identify
the case code. If different sized containers are present and the labels are identical, except for
net contents, sample only one size and record the number of cases of each size in the
inspection report. Describe all non-sampled lot numbers in the inspection report.
Table 6-1 provides guidance on the number of units that should be collected. However, the
inspector may need to consult with the laboratory to determine the amount of pesticide
required for analysis.
               TABLE 6-1 - SAMPLE SIZES TO COLLECT FOR PESTICIDE PRODUCTS

            Product Type                                        Quantity to Collect
  Small-Size Units (liquids and solids)
  Active Ingredients more
                                     Collect enough units to total at least 10 oz.
  than 1%
  Active Ingredients less            Collect enough units to total at least 10 oz.
  than 1%
  Pressurized containers             Collect at least three units
  Larger Size Units (Liquids and Solids)
  Active ingredients less
                                     Collect at least 10 oz. from each of two containers*
  than 10%
  Active ingredients more
                                     Collect at least 10 oz. from each of two containers*
  than 10%
  Tank Mixes                         Collect at least one 10 oz. sample in addition to a 10 oz.
                                     sample of the formulation (refrigerate immediately)
* Sample each container in duplicate if any non-uniformity is evident (i.e., layering, sediment, gross particle-size
differences or color non-uniformity.)
* For antimicrobial pesticides, please contact the laboratory for volumes necessary for testing.




Chapter 6                                                                                                       Page 7




                                                                                                                       AR0000139
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 140 of 739




LARGER-SIZED UNITS

Larger-sized units (also known as “bulk” units) are those units that contain more than one
gallon of liquid or weigh more than 20 pounds of solid material and are for commercial use.
Because of the size of these units, inspectors should take a sample of contents of the unit.
Depending on the size of the bulk unit, the inspector can take a sample of liquid material by
pouring it into a sample container or by withdrawing a sample from the exit valve or other
existing opening in the bulk unit. When taking a sample from an exit valve, the inspector may
need to let the product flow for a short time before taking the sample. When sampling granular
or powder product from bulk units, the inspector may draw the sample by using an available
pull-out sleeve at the top of the bag or, where there is no existing opening in the bag, use a
sharp object (i.e., knife) to create an opening. When creating an opening, the inspector should
be cautious not to make a hole larger than necessary to accommodate the sampling equipment.
Special situations may warrant deviations from these guidelines. If so, the inspector should take
the entire large-size unit as the sample and submit it to the laboratory.

DRY MATERIAL

A previously unused, disposable plastic tube available from golf equipment suppliers or home
supply stores or a clean grain trier should be used for each batch or lot sampled to avoid any
possibility of contamination. Clean glass and metal containers and sampling equipment with a
proper solvent (hexane, alcohol, etc.) and air-dry prior to placing the sample into the container.
Clean the tube or trier with a proper solvent and insert it diagonally into the bag through the
seam or the “dog ear” to obtain a representative sample of the material from different sections
of the bag. Use properly cleaned glass or metal (paint type) containers to contain the sample.
Use either a non-stick or polyethylene-lined lid in conjunction with the glass containers for
formulation samples. Properly dispose of the tube and other contaminated sampling material.
Thoroughly clean the trier with soap and water or solvent and dry before each use or reuse.
See Table 6-1 for recommended sample sizes to collect; consult with the laboratory if you are
unsure.

LIQUID MATERIAL

A previously unused, disposable plastic tube, clean glass trier or siphon should be used for each
batch or lot sampled to avoid any possibility of contamination.
Inspectors should take a representative sample of liquid material. If the label states to
thoroughly agitate the material prior to use, agitate by rolling and shaking the can, barrel, or
drum before sampling, if possible. Use glass bottles as sample containers. Either non-stick or
polyethylene-lined lids are satisfactory for liquid formulation samples. Do not use rubber or
paper-lined lids. Properly dispose of the tubing and other contaminated sampling material.

Chapter 6                                                                                    Page 8




                                                                                                   AR0000140
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 141 of 739




Consult with your sample analysis laboratory if you are unsure of the amount of product to
sample.
A vaccutaner with siphon tube, which has a vacuum in the tube, usually used for blood
sampling, can be used in some cases to sample liquid material in large containers. It is relatively
easy to use and does not have a large amount of waste to be disposed of, other than the tube
and sample needle that is used to puncture the end of the vaccutaner. These devices may be
purchased from hospital supply stores and are an inexpensive method of sample collection.
Decreased exposure to the inspector from the pesticide itself may be an additional advantage
to using this type of sampling container.

GAS OR FUMIGANTS

The inspector should NEVER attempt to take a physical sample of a gas or fumigant product.
Instead of a physical sample, the inspector should conduct an inspection of the container and
obtain a photograph of the container and the label. If efficacy or formulation data is required
for a gas or fumigant product, request that information during the inspection or through an
information request letter.

LABELS

A duplicate label, copy or photograph of the label must accompany each physical sample. Do
not remove the container labeling, because this will cause the pesticide to be misbranded. Bin
labels may be used for this purpose. The inspector must make a word-for-word comparison of
this label with the labeling on the container sampled to ensure that they are identical. If bin
labels are not available, fully legible photographs of all portions of the label are necessary.
Another photograph of the entire container, showing the position of the label on the container,
should also be obtained. Instant processing, 35mm, or digital cameras may provide the word-
for-word substitute for a label, if the camera can zoom in on the label language.
An inspector should be careful to view the digital photo, if possible, to see if the image is sharp
enough to obtain the word-for-word comparison of specimen and actual product labeling.

SAMPLES VIA INTERNET PURCHASE

An inspector may find potentially violative pesticides or devices online, through web searches
and/or tips and complaints. To sample a product from the internet, the inspector may purchase
the product and have it delivered to him/her. When collecting an internet sample, the following
protocol may be helpful to ensure sample integrity and provide adequate documentation of the
sampling process used:
   •    Use an EPA Purchase Card or other secure means of purchasing the product.


Chapter 6                                                                                     Page 9




                                                                                                  AR0000141
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 142 of 739




   •    Plan for the delivery point (NOT the EPA office building or address site); this could be a
        mail box, post office box location or other established location where U.S. Mail, or
        commercial deliveries can be made.
   •    Document sample integrity and establish chain-of-custody by documenting in the case
        file:
            o The product purchase order and record of payment;
            o The receipt of the product at the specified delivery location or the tracking
              number and record of delivery by U.S. Mail or commercial carrier;
            o The inspector’s observations of the package and photos of all sides of the
              shipping container prior to opening;
            o Photos of the open package to document the package, packing material,
              container etc.; and
            o Photos of the actual product ordered (including the full label and container) and
              any labeling that accompanied the product.
   •    As with any sample obtained, identify an internet sample using the sample identification
        protocol described in this Chapter. Chain of Custody begins after the integrity of the
        sample (official identification and sealing) has been established by EPA.
   •    If sending the product for testing and analysis, determine if chemistry and/or efficacy
        testing/analysis are necessary. Then ship the sample to the EPA laboratory for analysis
        and include the Chain-of-Custody Record Form (EPA Form 3540- 41, see Exhibit 1-1).
        Ship the sample following DOT and/or commercial carrier shipping procedures for
        pesticides and keep all documents relating to the chain of custody in the case file.


                                    AFTER SAMPLING

RESTORING LOT TO ORDER

The inspector should attempt to restore a sampled lot on the premises to an orderly condition.
Clean up spillage. Close containers. Return hand trucks, tools, rags, glue pots and other supplies
or equipment to their proper pre-sampling position. Some facilities will restore lots to order
after inspectors sample and may instruct an inspector to allow them to restore the area to its
pre-sampling condition.

PREPARING THE RECEIPT FOR SAMPLES

Issue a Receipt for Samples (EPA Form 3540-3; see Exhibit 1-1) for all samples collected. Identify
each sample on the Receipt for Samples with the name of the product, EPA Registration

Chapter 6                                                                                    Page 10




                                                                                                 AR0000142
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 143 of 739




Number, batch/lot number, other identifying product information and sample identification
number. The inspector and the owner, operator or agent in charge of the establishment should
sign the Receipt for Samples.
The preparation of the Receipt for Samples should be self-explanatory. It is the inspector’s
responsibility that the facility representative understands that by signing the Receipt, he/she is
acknowledging the fact that the physical and documentary samples were obtained from
products that were packaged, labeled and released for shipment or, having been shipped, were
being held for distribution or sale. Provide the establishment copy of the Receipt for Samples to
the facility and retain the inspector’s copy. In addition, make a copy of the Receipt for Samples
Form and include it with any samples sent to a laboratory.

PAYMENT FOR SAMPLES

FIFRA requires that EPA be allowed to inspect and sample but it is silent on the need to
compensate. Distributors and dealers can be offered invoice costs plus a nominal charge
(usually 10 to 15%) for freight, handling and storage. Producers can be offered their production
cost.


                             SAMPLE DOCUMENTATION

RESPONSIBILITY

Document samples in accordance with this section. Ensure that the records obtained are those
covering the specific pesticide product(s) or device(s) sampled.
Do not remove the firm’s only copy of any record. If duplicates are not available, photocopy,
photograph or hand copy all necessary records. Examine all copies to ensure that they clearly
contain all relevant markings that appear on the original. Hand copies of records on EPA forms
must be accurate and legible.
Identify all copies (this includes the firm’s original copies) with the inspection sample sequence
number (any sample or sub-sample number), the date (mm/dd/yyyy), and the inspector’s
initials (i.e., Sample number-Date -Credential number-Initials). The inspector should mark
“EPA,” the date and his or her initials in an inconspicuous manner on the reverse side of the
original records from which copies were made. If the firm’s record has information on both
sides, the inspector’s identification should appear inconspicuously in a clear space and be
circled. These procedures will ensure positive identification of the document copies in question.
For distributor-level suspected violations, the inspector should document the handling and
storage of the sampled product and establish the source and distribution for any accompanying
literature and or labeling.


Chapter 6                                                                                  Page 11




                                                                                               AR0000143
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 144 of 739




See Exhibit 6-1 for types of records that may be collected as documentary evidence relating to a
sample.

RECORDS SHOWING SHIPMENT

Collecting records that document the movement of pesticides or devices in the channels of
trade is an integral part of sample collection. These records indicate the responsible party in
misbranding and/or adulteration cases and are key to shifting primary responsibility away from
the retailers. In addition, these records are vital in determining an appropriate penalty since
each shipment or sale is a separate violation of FIFRA. When there are suspected FIFRA
violations, inspectors should attempt to document sufficient evidence of separate
shipments/sales or collect records documenting separate days of shipments or sales. Obtain
invoices, transportation, shipping and/or purchase records for each official sample of a
pesticide or device collected. Collect computer-generated records indicating shipments/sales of
suspect pesticides or devices. Identify these records in the same manner as the physical or
documentary sample itself. A Statement (EPA Form 3540-42; see Exhibit 1-1) signed by the
dealer, identifying both the lot sampled, and/or the applicable records should be collected.
Have the dealer sign and initial the inspector’s copies of the records obtained to prove that
he/she provided them on the date of the inspection.
While records collected are not samples, they are identified as “exhibits” to be included and
identified in the inspection report and identified with the date of collection and the inspector’s
initials along with an exhibit number.
Note that distribution and sales records may be in hard copy but also may be in an alternate
format. Inspectors should always attempt to obtain hard copy records, if possible, either as
copies of individual invoices or as a computer printout of the individual transactions. However,
inspectors should be prepared to collect and gather records in other media (electronic records).
If distribution/sales records are not available for collection during the on-site inspection, the
inspector should request such records by a certain date (i.e., within the next 10 business days).
For inspections conducted using EPA authority, inspectors should obtain records documenting
the distribution and sale of each sampled product based on the following protocol:
•   When conducting a for-cause inspection or whenever an inspector believes a sample
    collected is in violation of FIFRA, the inspector should obtain a minimum of fifteen (15)
    related distribution and sales records for those sampled pesticide products, if available.
•   When conducting a neutral scheme/routine inspection and the inspector obtain pesticide
    product samples but has no reason to suspect that the sample are violative, collect a
    minimum of five (5) related distribution and sales records per pesticide product sampled, if
    available.
•   Inspectors always have the discretion to collect more than the minimum required
    distribution and sales records when the inspector believes that, based on his/her

Chapter 6                                                                                   Page 12




                                                                                                AR0000144
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 145 of 739




    observations during the inspection, gathering the additional evidence would be
    appropriate.
•   Inspectors also have the discretion to request additional records by post-inspection
    information request or through a follow-up inspection in order to obtain the additional
    records to adequately document the suspected violative distributions and sales of the
    sampled product.


                                            INVOICE

The invoice shows the seller’s intent to offer the pesticide or device for sale or distribution. It
may provide such information as the value of the goods, carrier, and date of shipment. If
duplicates or photocopies of the invoice are unavailable, photograph the invoice or copy it by
hand on EPA Form 3540-13, Section 1, “Copy of Invoice and Shipping Record” (see Exhibit 1-1).
In the absence of an invoice, purchase orders, receiving records, canceled checks and
correspondence may be substituted.

                                        BILL OF LADING

The shipper who delivers the goods to the carrier for shipment makes out the bill of lading (BL).
It is an order for the carrier to move the goods. When the carrier’s agent signs the BL, he or she
acknowledges receipt of the shipment. Note that the date the carrier’s agent signs the BL is the
date of the shipment and this may or may not be the same date that the BL is filled out. The
carrier’s office in the city of origin of shipment will maintain a copy of the BL. Normally, the
following information is found on the BL: (1) name and address of shipper; (2) name and
address of consignee; (3) date of shipment; (4) name of carrier; (5) rail car number, if
applicable; and (6) a description of the goods. If duplicate copies or photocopies are
unavailable, the inspector should obtain a photograph or hand copy the BL information onto
EPA Form 3540-13; see Exhibit 1-1.

                                         FREIGHT BILL

This record is completed by the transportation company for the purpose of collecting freight
charges. It should include the same information as found on the BL, plus information about the
carrier’s handling of the shipment and cost involved. Railroads prepare freight bills at their
destination offices, where copies can be obtained. Steamship and airline companies usually
combine the BL and freight bill into one form. Copies are filed at both the origin and destination
offices of these carriers. Truck lines prepare freight bills at the originating office, and both the
origin and destination offices should have copies. The pesticide dealer will usually have a freight
bill if he/she received the goods directly.



Chapter 6                                                                                    Page 13




                                                                                                 AR0000145
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 146 of 739




The inspector should obtain a photograph or photocopy of the freight bill or, if necessary, hand
copy the freight bill information on to EPA Form 3540-13; see Exhibit 1-1. Enter the type of
shipping record in block 23 of the form. Sections 1 and 11 may be executed together on one
sheet if necessary. If only one section is used, leave the other section blank and submit the
entire page of Form 3540-13.

                                             WAYBILL

A transportation company uses a waybill in its own operations. The waybill accompanies the
shipment during transit. Shippers or consignees do not receive copies of waybills but the
inspector can obtain them from the carrier, if necessary. Other transportation records are
generally more readily available than waybills. Airfreight waybill numbers are designed so that
the originating line and point of origin are encoded within the waybill number. Each airline has
a numerical code description indicated by the first two digits of the number. The three
subsequent letters indicate the point of origin.
For example, waybill number 01LGA designates American Airlines (01) as the carrier and La
Guardia Field (LGA) as the point of origin. Most airline offices have a copy of “Official Air Freight
Transmittal Manual,” which lists all the codes. Photograph or hand copied the waybill into
section 11 of EPA Form 3540-13, if duplicate copies or photocopies are unavailable.

                           MAIL OR PARCEL SERVICE SHIPMENTS

Marketplace samples—Attempt to obtain the original packaging that contains the address
sticker. If the original packaging is not available, the inspector should get a signed statement
(EPA form 3540-42, see Exhibit 1-1) from an individual with knowledge of the shipment. The
statement should contain the facts concerning the shipment.
Induced samples—When the inspector receives an induced sample directly by mail or parcel
service, the sample documentation should include the portion of the wrapper showing name
and address of the sender, the postmark or postage meter tape or any shipping marks. A copy
of the air bill or other shipping record is also to be maintained as part of the sample
documentation. Other necessary records include photocopies of the money order or cancelled
check, the letter placing the order and the original advertisement.

                        SHIPMENTS BY NONCOMMERCIAL VEHICLE

When a vehicle operated by the shipper or dealer was used to ship pesticides/devices and no
commercial shipping records are available, the inspector should obtain a statement of the facts
concerning the shipment. The inspector should use EPA Statement Form 3540-42; see Exhibit 1-
1. The statement should cover the facts known to the dealer regarding the actual point of
origin, the date of shipment, the ownership and operator of the vehicle, and the invoice from
the shipper or the dealers receiving, warehousing and/or inventory records.
Chapter 6                                                                                     Page 14




                                                                                                   AR0000146
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 147 of 739




                                        STATEMENT

Obtain a Statement (EPA Form 3540-42, see Exhibit 1-1) from persons who have dealt with the
pesticides/devices or records sampled and who have relevant and pertinent knowledge.
Statements are in writing and signed by the person writing the statement. A statement fulfills
the same function as an affidavit, but differs in that it is not under oath. See, Chapter 16,
“Inspection Reports and Supporting Documentation,” for more information on Statements.


            SAMPLE PREPARATION, CUSTODY AND HANDLING

IDENTIFICATION OF SAMPLES AND LABELS

Identify each sample with the inspection sample sequence number (any sample or subsample
number), the date (mm/dd/yyyy), inspector’s credential number and inspector’s initials. Write
this information with permanent ink (e.g., permanent marker) on the container so as not to
obscure any portion of the label(ing) or package. When more than one unit is collected, identify
each unit with a separate sample number. If it is necessary to take subsamples of the main
sample, these can be identified as extensions of the main sample number (e.g. 12345-001 or
12345-A). All collateral labeling, including circulars and inner instruction sheets, should be
similarly identified. Circulars that have been removed from the sample for identification should
be reinserted into the original packages.
Additionally, when identifying larger size unit samples, unless identical bin labels are not
available, make a hand-written label for each subsample that provides at least the following
information for the safety of those who will handle the sampled product:
   (1) brand name of the product;
   (2) principal active ingredients and labeled concentrations in percent;
   (3) company or name and address as shown on label;
   (4) distinguishing marks or code numbers;
   (5) “poison” and skull and crossbones stamped in red ink if the product’s label was so
       marked (poison labels must also be affixed to the outside of the sample bag); and
   (6) the EPA Registration Number, if present.
The above instructions also apply to all small-sized samples that are wrapped and sealed in such
a way as to obscure the product’s label. Copies of appropriate bin labels can be taped to each
container, if available, in lieu of the above information.



Chapter 6                                                                                Page 15




                                                                                               AR0000147
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 148 of 739




IDENTIFICATION OF DOCUMENTS

                                            RECORDS

Identify all sample records collected, in the inspector’s handwriting, by including the inspection
sample sequence number, the date and the inspector’s initials. This identification should
appear as close to the upper right corner as possible. The inspector should also identify each
original record in the same manner or on the reverse side of the original document(s). Return
the original(s) to the facility at the closing conference after making copies.

            ACCOMPANYING LITERATURE, LABELING, PHOTOGRAPHS AND EXHIBITS

Identify this material, in the inspector’s handwriting, by including the sample number, date and
initials. Do not mark on the face of photographs. All identification marks should be on the
border of the photograph. Each photograph should be identified as to which panel of label it
represents (i.e., front panel, back panel, left side or right side panel). A photograph showing the
entire label and its placement on the container should be submitted. If it is a black and white
photo, a notation of the color of the warning statement should be made on the photograph.
Document the source of any accompanying labeling or literature collected in the inspection
report (or equivalent narrative). When using digital photography the inspector should follow
the guidelines in the Digital Image Guidance for EPA Civil Inspections and Investigations.

SAMPLE CUSTODY AND INTEGRITY

Chain of custody begins when the inspector obtains the sample and properly identifies it; this
establishes custody of the sample and ensures integrity of the evidence.
Samples are prepared by placing the sample(s) in an inverted clear polyethylene bag (4-mil
thickness). It is important that the sample label be readable through the plastic bag. Seal each
sample in a separate bag. In addition to ensuring custody, the polyethylene bag provides some
degree of containment in case of breakage or leakage.
Evidence bags are also an acceptable means of securing a sample and establishing custody.
NOTE: Evidence bags have an identifying area on the bag to be completed by the inspector
with a permanent marker and a tear-away strip to be identified and included with the
Inspection Report and/or the Inspector’s copy of the Receipt for Samples.

                  THE EPA OFFICIAL SAMPLE SEAL AND POLYBAGGING

All physical samples are sealed officially by placing a completed EPA Official Sample Seal (EPA
Form 7500-2, Exhibit 1-1) with the signature of inspector, sample number, date, name and title
of inspector printed. There is also space for a regional office location to be noted on the form.
   1. Use the sample preparation procedures described above.
Chapter 6                                                                                   Page 16




                                                                                                 AR0000148
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 149 of 739




   2. Invert the polybag (turning inside out) to have the sealed seam inside the polybag.
   3. Place the identified sample(s) in the polybag.
   4. Twist the top of the polybag and tie a knot in the bag. Note: leave enough room at the
      top of the bag to fold down over the knot.
   5. Fold the top of the polybag down over the knot and re-twist the bag.
   6. Apply monofilament, masking or other type tape around the polybag, at the area just
      below the knot.
   7. Complete the EPA Official Sample Seal (EPA Form 7500-2,see Exhibit 1-1) and peel away
      the backing of the Seal.
   8. Apply the Seal around the taped area of the bag by bringing the two ends of the seal
      together, and then press the seal together until it reaches the bag area.
   9. Secure the sample(s) assuring chain-of-custody procedures until the sample(s) are sent
      or delivered to the laboratory.
If it becomes necessary to break an official seal, remove the seal from the bag and then initial
and date the seal. Then mount the broken seal on a piece of paper and include it with the
inspection report to provide a continuous history of the sample. Re-seal the sample with a new
EPA Official Sample Seal. This should be noted in the Chain-of-Custody Record (EPA Form 3540-
41; see Exhibit 1-1).

                           SAMPLE INTEGRITY AND TRANSFER

The procedures governing sample integrity and sample custody begin from the point of
collection and continue through each transfer of the physical sample. Sample integrity refers to
steps necessary to ensure that nothing has compromised the chemical or physical integrity of
the sample. Sample custody refers to the steps necessary to verify where the sample has been
and what has happened to it, documented in a Chain-of-Custody Record (EPA Form 3540-41;
see Exhibit 1-1).
Following collection, documentation, and initiation of chain-of-custody, samples must be stored
in a secure area prior to transfer to the laboratory. Transfer pesticide product samples to the
laboratory, in order of preference, either by: (1) direct personal transfer or (2) common air or
ground carrier.
General guidelines:
       (a) Samples should be submitted to the laboratory within five days of collection;
       (b) Glass containers must never be packaged directly against each other, either within
           the same plastic bag or within the shipping container;
       (c) If necessary, provide refrigeration or freezing during shipment;

Chapter 6                                                                                  Page 17




                                                                                               AR0000149
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 150 of 739




       (d) The sample label, whether for a prepackaged unit or for sub-sampled material,
           should always be readable through the plastic bag;
       (e) Liquid samples should not be packaged with solids in the same outer shipping
           container;
       (f) A copy of the Investigation Summary Report or equivalent form, if used, should be
           included with the samples, protected in a protective bag or sleeve;
       (g) The laboratory director or designee should be notified by telephone that the
           samples are being shipped, the mode of transfer and the expected arrival date;
       (h) Use packing materials and adsorbent materials to help prevent spills and
           contamination during shipment; and
       (i) Provide the lab with any pertinent information with regard to the sample(s),
           including information on the solvents(s) that were used to clean the sample
           container, sampling equipment.
       (j) Safety Data Sheet (SDS) for the product should be included in the shipment.

MODE OF TRANSFER

                                        HAND DELIVERY

Hand delivery to the laboratory is the preferred method of sample transfer. Follow all
requirements for sample integrity and sample custody, as set forth above. Any authorized
individual may transfer official samples to the testing laboratory as long as all such transfers are
fully documented with respect to dates and signatures on the Chain-of-Custody Form (EPA
Form 3540-41; see Exhibit 1-1).

                                      COMMON CARRIER

If pesticide formulation or related samples cannot be hand-delivered to the laboratory, the
services of a commercial shipping or overnight package firm (either surface or air) are
preferred. Note that the United States Department of Transportation (DOT) regulates
transportation by common carrier, particularly concerning the conveyance of hazardous
materials, which includes many pesticides. DOT requires that persons responsible for working
with hazardous materials (hazmat) must have hazmat training.
Because DOT regulations are frequently updated, the pesticide inspector is advised to obtain
the latest edition of these regulations to ensure full knowledge of pertinent additions and
deletions (49 C.F.R. 105 through 199). Many pesticides are listed in the Hazardous Materials
Table in 49 C.F.R. 172.101 or are listed according to their hazardous properties as being
poisons, oxidizers, corrosives, flammables or pressurized gases.

Chapter 6                                                                                    Page 18




                                                                                                 AR0000150
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 151 of 739




In most cases, the pesticide label can be used to identify the hazard category, as the EPA
Pesticide Registration Division classification system is almost identical to that being used by
DOT. The DOT table cites the appropriate labeling, maximum quantity that can be shipped per
package and specific regulation requirements and exemptions for packaging. The Hazardous
Materials Table also contains an appendix that gives the reportable quantities for certain
materials. These are quantities that must be reported on the shipping papers, if appropriate, to
meet EPA reportable release requirements.
For quick reference, see the DOT publication, “How to use the HMR.”
Two major parcel service companies, United Parcel Service and Federal Express, each have toll
free numbers to assist the inspector in the use of their services for transporting hazardous
materials.
Federal Express       1-800-463-3339        http://www.fedex.com/us/
United Parcel Service 1-800-322-1333        http://www.ups.com/
Pesticide formulations that do not fall under any of the hazardous categories may be shipped as
unrestricted. However, packaging should at least meet the requirements of the DOT ORM-A
classification (49 C.F.R. Part 173).

                                    U.S. POSTAL SERVICE

Except in emergencies, the U.S. Postal Service should only be used to transfer small quantities
of nonhazardous solid pesticides formulations to the laboratory, such as antimicrobial
pesticides of low concentration (below 5%). Specific restrictions exist on the mail-ability of
poisons, flammables, oxidizers and corrosives and explanations are provided in the USPS
Publication 52 - Hazardous, Restricted and Perishable Mail. Ship all samples by Registered or
Certified Mail with a Return Receipt Request in order to maintain proper chain-of-custody.




Chapter 6                                                                                 Page 19




                                                                                              AR0000151
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 152 of 739




                    EXHIBIT 6-1: EXAMPLES OF RECORDS

The following are examples of records that an inspector may obtain during an inspection:
   •    Market Place Inspection and Sampling
            o Invoices
            o Shipping records
            o Bills of lading
            o Freight bills
            o Waybills–if imported by or exported by air
            o U.S. Mail or commercial carrier shipping records
   •    Producer Establishment/Dealer/RUP Dealer Inspection and Sampling
            o Invoices
            o Shipping records (of received manufacturing use or technical products)
            o Bills of lading
            o Freight bills
            o Waybills – as above
            o U.S. Mail or commercial carrier shipping records
            o Export records
            o Foreign Purchaser Acknowledgement Statement
            o Child resistant packaging records
            o Certification statement
            o Test verification
            o Packaging /Re-packaging agreement(s) or contracts
            o List of acceptable containers
            o Supplemental registration agreements and re-packaging agreements
            o Sources of all technical (manufacturing use) pesticide products or chemicals
              (copies of all documentation of the purchase of these materials (invoices,
              shipping records, bills of lading, etc.)
            o Guarantees offered for each product (copies)
            o Records of disposal of residues, old chemicals, etc.

Chapter 6                                                                               Page 20




                                                                                             AR0000152
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 153 of 739




            o Records of sale of RUP products to certified applicators
            o Inspection and maintenance records for refillable containers




Chapter 6                                                                    Page 21




                                                                                 AR0000153
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 154 of 739




                     CHAPTER SEVEN
               RESIDUE AND ENVIRONMENTAL
                        SAMPLING

                                                                                CONTENTS

Introduction ................................................................................................................................................................................ 3
General Sampling Guidelines ............................................................................................................................................ 3
Sampling Plan ...........................................................................................................................................................................4
    Technical Data .....................................................................................................................................................................4
    Weather Data .......................................................................................................................................................................5
    Sample Selection ................................................................................................................................................................ 5
    Sampling Equipment ........................................................................................................................................................ 6
    Incident Site .......................................................................................................................................................................... 7
Sample Containers ...................................................................................................................................................................8
Receipt for Samples .................................................................................................................................................................8
Sample Collection and Preservation ................................................................................................................................. 9
    Grid Sampling ........................................................................................................................................................................ 9
    Foliage Sampling ..................................................................................................................................................................9
        Discrete Foliage Sampling ..................................................................................................................................... 10
        Composite Foliage Sampling ................................................................................................................................... 11
        Grid Pattern Foliage Sampling............................................................................................................................. 11
        Crop Damage Residue Incidents ......................................................................................................................... 12
    Human Exposure Incidents........................................................................................................................................ 13
    Property Loss Incidents ............................................................................................................................................... 14
    Agricultural Pesticide Misuse ...................................................................................................................................... 15
    Structural Pesticide Misuse ....................................................................................................................................... 16
    Soil Sampling ..................................................................................................................................................................... 16
        Discrete Soil Sampling (Known Depth) .......................................................................................................... 16
        Grid Pattern For Soil Sampling ............................................................................................................................... 18
        Composite Soil Sampling .......................................................................................................................................... 19


Chapter 7                                                                                                                                                                         Page 1


                                                                                                                                                                                         AR0000154
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 155 of 739




    Discrete Sediment Sampling ........................................................................................................................................ 19
    Water ..................................................................................................................................................................................... 20
        Discrete Surface Water Sampling ...................................................................................................................... 20
    Air ........................................................................................................................................................................................... 20
        Air Sampling Indoors ............................................................................................................................................... 21
        Air Sampling Outdoors ............................................................................................................................................ 21
    Animal, Birds, Fish and Bee Sampling .................................................................................................................. 21
    Surface Wipe Sampling ................................................................................................................................................ 22
        Discrete Surface Sampling ..................................................................................................................................... 22
        Grid Pattern For Surface Sampling ................................................................................................................... 23
    Clothing ................................................................................................................................................................................ 23
Sampling in Support of Residue and Environmental Sampling ......................................................................... 23
    Pesticide Formulations (Technical Grade) ........................................................................................................ 24
    Tank Mix .............................................................................................................................................................................. 24
Sample Storage, Preservation and Shipping .......................................................................................................... 25
    Storage and Preservation ........................................................................................................................................... 25
Shipping Procedures .......................................................................................................................................................... 26




Chapter 7                                                                                                                                                                                Page 2


                                                                                                                                                                                                AR0000155
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 156 of 739




          RESIDUE AND ENVIRONMENTAL
                   SAMPLING

                                      INTRODUCTION

Residue and environmental sampling may be necessary when there has been a spill or when
there is suspected pesticide misuse. Suspected human, animal, crop, or environmental
contamination can require quick action to determine exposure or to prevent contaminated
commodities from entering the food chain. Pesticides that degrade quickly will require sampling
soon after their application to detect their presence.
A sample should support an allegation that a violation has occurred. Therefore, the sample
must conform to the rules regarding admissibility of evidence; specifically, the inspector must
document how the sample was obtained and then establish the chain of custody by proving
where the sample has been and how it was treated since it was collected.


                       GENERAL SAMPLING GUIDELINES

The following general guidelines apply:
   •    Make a sampling plan and be prepared to adapt it to the requirements of the individual
        investigation.
   •    Have and use the necessary sampling tools, containers and personal protective
        equipment appropriate for the particular inspection.
   •    Do not contaminate yourself or cross-contaminate the samples. Always wear clean
        disposable gloves, protective clothing and safety equipment as required by the pesticide
        label, regulations and policy when entering fields/areas or handling samples. Change
        gloves between each sample collected. Change protective clothing as needed. See
        Chapter 2, “Health and Safety.”
Composite sample - A combination of two or more sub-samples to produce a homogeneous
sample. Composite samples are used to identify suspected chemicals when the area, crop or
material is suspected to be uniformly contaminated.
Duplicate samples - Two or more samples collected from the same area having comparable
conditions.
Split sample - The division of a sample into two equal and identical portions. This is usually
done at the laboratory.



Chapter 7                                                                                    Page 3


                                                                                                 AR0000156
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 157 of 739




Use dilution sample - A use dilution is a formulated pesticide that has been blended with a
carrier such as water, and is ready to be applied by an end user. If the use dilution is made with
a concentrate, a sample of the concentrate should also be obtained for analysis. Additionally, a
photograph of label(ing) and container of the concentrate should be obtained.

Residue sample - A residue sample is usually collected from the natural environment (soil,
water, vegetation, bees, hives, fish, animals), but may be from non-environmental sources. A
residue sample is collected for a variety of reasons, but usually to determine if pesticide
residues are present in the media sampled. Swab samples may also be taken to detect residue
on an object. Collect residue samples in accordance with federal sampling procedures. Sample
containers must be identified with the sample number, the date and the inspector’s initials.
Take photographs and draw a diagram of the area so that they will be accurate depictions of
what the inspector did and/or observed in the sampling area. Photographs should be identified
in the same manner as the sampling container.

Control Sample - Prior to sampling, take a control sample when investigating an incident site.
Take the control sample from an area outside of the incident site. This will help establish the
boundaries of the incident.


                                    SAMPLING PLAN

A sampling plan is necessary as a framework for the inspection. It enables the inspector to
gather all relevant information needed before, during and after the inspection. At times there
may be information that can be gathered prior to sampling. However, often there will be time
constraints that reduce the ability to collect certain data prior to sampling. To develop a
sampling plan, review any available notes, statements, permits, use reports and technical data
on the alleged pesticides involved.

TECHNICAL DATA

Technical data will assist in determining sample types, methods and location, a time frame in
which to collect samples and whether there should be any special handling or sample
preparation procedures. The inspector may benefit from referring to the Farm Chemicals
Handbook, Crop Protection Chemicals Reference, Pesticide Product Description, which contains
information on toxicology and is commercially available. The following represents technical
data that may be useful to the inspector:
   •    Chemical properties
            o Formulation
            o Half-life


Chapter 7                                                                                   Page 4


                                                                                                  AR0000157
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 158 of 739




            o Metabolites
            o Physiological and biochemical behavior
            o Foliar absorption characteristics
            o Translocation action
            o Behavior in or on soils
            o Absorption and leaching characteristics
            o Microbial breakdown
            o Loss from photodecomposition and volatilization
            o Hydrolysis
   •    Toxicological properties
            o Toxicity to humans/wildlife/fish
            o Acute/chronic toxicity
            o Poisoning symptoms
   •    Laboratory qualifications
            o Method of analysis
            o Analytical sensitivity
            o Availability of method and/or reference standard(s)

WEATHER DATA

Weather data, at the time and place of incident occurrence, if available, will help in determining
drift patterns, volatilization rates, off-target movement of pesticides, etc. This information can
be obtained from the National Weather Service, local agencies and airports:
   •    Wind speed and direction
   •    Rainfall
   •    Temperature
   •    Inversion
   •    Humidity

SAMPLE SELECTION

Selecting the sample type(s) will depend on the type of incident that allegedly occurred. For
example, if the incident involved:

Chapter 7                                                                                  Page 5


                                                                                                AR0000158
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 159 of 739




   •    Drift of a pesticide on people—the sample type could include total foliage (i.e., total
        residue on foliage) in a gradient pattern and clothing of the contacted person(s).
   •    Drift of pesticide on people harvesting a commodity—the sample types may include
        total foliage in gradient pattern, total commodity, dislodgeable foliage and clothing.
   •    Misuse of a pesticide resulting in animal, fish or bee kills – the sample types may include
        dead animals, fish, bees, honey and pollen as well as foliage samples or swab samples.
   •    Misuse of a pesticide in a confined space —the sample types may include various soil
        samples and surface wipe samples.
   •    Crop damages from run-off containing a pesticide—the sample types may include total
        soil or total foliage in a gradient pattern, total commodity and total plant.
   •    Fumigation of places like railcars, ships, containers, grain silos, or bins, homes or
        structures —the sample types may include a sample of the commodity and a
        photograph of any placard that provided notice of the fumigation.
Note that when sampling in confined spaces, such as crawlspaces, railcars, ships and containers,
additional safety precautions should be followed. See Chapter 2, “Health and Safety.”
The purpose of sampling is to collect evidence to determine if a violation occurred. An
investigator will have to use his/her best judgment in selecting the appropriate sample types
based on the information gathered. For drift incidents, the inspector will need to determine
when the pesticide in question was applied, so as to decide whether to sample vegetation or
soil. If the available plants have a heavy canopy, thus allowing limited soil exposure to direct
spray, vegetation should be chosen as the sample of choice. If vegetation at the incident site is
limited, excessive time has passed since the application, there is new plant growth or heavy
rains could have reduced the concentration, soil should be the sample of choice.
Whatever sample type is used, a sample must be representative of the media being sampled if
it is to provide the basis on which to determine that a violation exists. This requires the
selection of sampling points that will be representative. In addition, keep in mind the statistical
considerations that affect representative sampling, such as variability in sample collection
methods; frequency of samples taken over a period of time; and number of samples collected.

SAMPLING EQUIPMENT

Use clean sampling containers. Sampling containers may include bottles, metal cans, triers and
aluminum foil. Sampling containers should be new or have been properly cleaned. Prior to use,
containers should be washed and rinsed with hexane or isopropyl alcohol, and permitted to air
dry. (NOTE: Decontaminate containers used to sample sulfonyl urea pesticide products in a
5% solution of chlorine for 1 minute of contact time.) Note what solvent was used to clean and
decontaminate all sampling equipment and sampling containers on the Receipt for Samples.


Chapter 7                                                                                       Page 6


                                                                                                   AR0000159
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 160 of 739




All sampling equipment must be stored in the office or locked vehicle in an uncontaminated
designated location. For smaller equipment, an enclosed, airtight container is recommended.
Larger equipment can be wrapped in an uncontaminated cloth or stored in a polyethylene bag
but will need to be cleaned and decontaminated again prior to use.
Equipment, gear and items that may be useful for taking samples include:
   •    Notebook, notepaper, computer or other electronic device used to record information,
        camera.
   •    Clear plastic bags (4 mil thickness), jars and/or cans with lids (various sizes) and
        aluminum foil.
   •    Commercially available evidence bags that are pre-printed with chain-of-custody and
        evidence fields to be filled in by the inspector.
   •    Personal safety equipment and clothing, such as coveralls, respirator, goggles, hardhat,
        powder free disposable and rubber gloves, boots, rain suit, waders.
   •    Labels, tape, stapler, evidence tags, official sample seals or evidence tape, masking tape.
   •    Shovel, hand spade, knife, pruning shears, trowel, spatula or leaf punch.
   •    Hexane, isopropyl alcohol, distilled water and paper towels.
   •    Sterile wipes and precut templates of a size equal to 4”x4” opening in the center.
   •    Measuring tapes, stakes, camera, film, extra batteries, extra SD Card and accessories.
   •    Ice chests (coolers, styrofoam), re-useable freezer packs, wet ice or dry ice (caution: do
        not handle dry ice with bare hands or allow samples to directly contact the dry ice).
   •    Permanent markers, pencil, pen, note pad and record book.
   •    County or city map, aerial maps and topographical maps, global positioning system
        (GPS) device.
   •    Disposable core tubes and siphon tubes.

INCIDENT SITE

Survey the incident site and create a site diagram depicting the following:

   •    Structures.

   •    Crop type, maturity, acreage.

   •    Physical surroundings as landmarks:

            o Telephone poles (note the ID number on the pole) adjacent to crops.

            o Roads, streets, buildings and other important identifying factors.

            o Sampling medium (foliage, surface areas, etc.)

            o Trees.

Chapter 7                                                                                   Page 7


                                                                                                AR0000160
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 161 of 739




            o Waterways.

   •    Location of workers.

   •    Crop/plant damage.

   •    Spotting on leaves, walls, floors, vehicles.

   •    Pesticide containers in storage.

   •    Location of odor complaint, if applicable.

Draw the diagram of the incident site as near to scale as possible with north at the top. As
samples are collected, identify their location(s) and distances on the diagram. The diagram
must be large enough to include all of the details and be legible.


                                  SAMPLE CONTAINERS

Identify all samples collected with the sample number (and sub-sample number, if applicable),
date and inspector’s initials and place them in a large 18”x 30”, inverted, heavy polyethylene
bag or evidence bag. Seal the polyethylene bag as follows:
   •    Twist the top of the bag and tie a knot in the inverted bag.
   •    Fold the top of the bag down over the knot and twist the bag around the knot.
   •    Apply several wraps of masking, duct or monofilament tape below the knot.
   •    Apply the EPA Official Sample Seal (EPA Form 7500-2, see Exhibit 1-1)(or if a state/tribal
        inspection, the equivalent state/tribal sample seal) around the tape. Identify the official
        sample seal with the sample number, date, city and state of collection and the
        inspector’s name and signature.
For one-liter amber containers:
   •    Tape individual containers around the cap and deep into the neck with masking,
        monofilament or duct tape.
   •    Place the inspector’s initials across the tape.
   •    Follow all other procedures for identifying, logging and sealing the sample.


                                  RECEIPT FOR SAMPLES

Fill out a Receipt for Samples in ink and include a copy with the samples sent to the laboratory.
Place the Receipt for Samples in a separate sealed plastic bag to prevent moisture absorption.
Note that this is in addition to the Receipt for Samples given to the owner or operator of the

Chapter 7                                                                                    Page 8


                                                                                                 AR0000161
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 162 of 739




property where the sample collection is being conducted. On the Receipt for Samples being
sent to the laboratory:
   •    Identify the sample material as accurately as possible.
   •    If possible, identify specific pesticides or classes (e.g., organophosphates, phenoxys)
        suspected to have caused the problem. Also include the phrase “WARNING PESTICIDES”
        on the Receipt for Samples to warn laboratory personnel.
   •    Copy identifying numbers on the sample container exactly on the Receipt for Samples to
        identify the sample for the laboratory.
   •    Identify the solvent (if any) used to clean sampling equipment.


                  SAMPLE COLLECTION AND PRESERVATION

Physical pesticide sampling may include concentrated pesticide formulations, diluted pesticide
solutions, and any substance or material suspected to be contaminated (environmental residue
samples).

GRID SAMPLING

Grid pattern sampling is recommended for incident sites because it represents a logical,
systematic approach to collecting samples. The particular grid pattern is created once the
inspector arrives at the incident site. The grid is intended to measure the extent of
contamination at the whole site. Each point on the grid represents a location where a sample is
taken. Grids should be constructed to begin sampling at the point of least suspected
contamination and working towards the point of greatest suspected areas of contamination.
The number of points on the grid, as well as the distance between each point, will be at the
inspector’s discretion. Note the grid location for each sample taken. When grid sampling is
completed, the inspector should create a diagram of the grid and include it with the inspection
report. Grid sampling will be discussed with more specificity in the sections below on the Types
of Residue and Environmental Samples.

FOLIAGE SAMPLING

Pesticide drift or other misapplications of pesticides are often documented by sampling and
analyzing foliage or whole plants for residues. The sampling techniques described below are
applicable for most agricultural crops as well as nonagricultural vegetation.




Chapter 7                                                                                Page 9


                                                                                              AR0000162
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 163 of 739




                                 DISCRETE FOLIAGE SAMPLING

Collect foliage from specific areas in the field. The purpose of collecting the sample from
specific areas is to identify residue delineation between the sample areas and to maintain
sampling uniformity. It is important to identify the location of the sample site within the field
because the sample and incident site diagram may be used as evidence in an administrative or
judicial action. The size of the sample area will vary with the type of location.
At all sites, collect a control sample from an area with vegetation similar to that within the
affected areas. It is absolutely critical that the control sample be taken from an area known to
be free of any contamination from the pesticides in question. A contaminated control sample
will destroy the usefulness of other samples as evidence.
Collect samples in a sequential order from the least anticipated residue concentration to the
greatest anticipated concentration (i.e., control, suspected drift area, then target area). This will
help reduce the potential for cross-contamination of samples. Take enough samples to
establish boundaries of contamination. (The lab can always discard unnecessary samples later.
It is rarely possible to collect additional samples afterward.)
For field crops and non-crop areas (weeds, fallow fields, etc.), the size of the sample site should
be approximately a 25-foot square (or 625 square feet).
For orchards and ornamentals, collect samples from approximately four mature trees/vines
(rectangle or square area). The area will vary depending on the size of the incident site, the size
of the plants and foliage within the site and the number of samples intended to be collected.
Remember, measure the sample area and record it in the investigative notes.
Try to collect foliage of similar type (e.g., grasses or broadleaves only), if possible. It will make it
easier to extrapolate the data. If similar type foliage is not available throughout the sampling
area, collect different types of foliage. Place each type of foliage in different containers.
Select foliage from all sides of the plant or tree unless drift is suspected. In this case, collect the
foliage from the side of the plants allegedly exposed to the drift. For most situations, collect the
foliage from the outer leaves of the plant or tree. It may be necessary to uproot the whole plant
if systemic pesticide absorption is suspected. Do not select foliage that is in contact with soil.
Only collect leaves; do not include twigs or branches. Remember, new growth which was not
subject to chemical application may affect the results of an analysis.
Collect enough foliage from the specific sample area to permit proper analysis or screening. If
composite, duplicate or split samples are requested, increase the sample size accordingly.
Contact the laboratory if in doubt regarding sample size.
Vegetation samples must be wrapped in aluminum foil (pre-rinsed with hexane or isopropyl
alcohol and air dried) and placed in large 18” x 30”, inverted, heavy polyethylene bags or
evidence bags; alternately, vegetation samples can be collected in glass containers.


Chapter 7                                                                                       Page 10


                                                                                                     AR0000163
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 164 of 739




Chill, refrigerate, or freeze samples as soon as possible. An ice chest, containing bagged ice or
re-useable freezer packs, can be carried into the field for this purpose. If samples are frozen
after collection, they must remain frozen. See section on Sample Storage, Preservation and
Shipping.
Ship samples to the laboratory as soon as possible after they are collected, following proper
chain-of-custody procedures.

                               COMPOSITE FOLIAGE SAMPLING

Composite samples are taken to determine whether an area is contaminated and to determine
whether more thorough, discrete sampling is warranted. After taking a control sample, a
composite sample is made up of several sub-samples that are of equal volume or weight and
are combined to represent a field or site.

                             GRID PATTERN FOLIAGE SAMPLING




                         FIGURE 7-1: GRID PATTERN EXAMPLES FOR FOLIAGE

If misapplication to part of a field is suspected, but the treated area is unknown, this type of
sampling pattern should be used to help identify the treated area.
Collect samples in a grid pattern following the procedures indicated for a discrete foliage
sample. Each sample represents one point on the grid for that field or site, therefore, do not
composite them.


Chapter 7                                                                                   Page 11


                                                                                                   AR0000164
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 165 of 739




After a control sample is taken, the sampling grid pattern in the incident site should start from
the edge of the field, depending on the field size. As a rule of thumb, the distance from the
edges should represent approximately 10 percent of the width and length of the field or site.
For example, a site 1,000 feet wide and 2,000 feet long (approximately 46 acres) has a starting
point 100 feet in from the width and 200 feet in from the length. Samples should be in line
with, and at an equal distance apart from, one another in the grid pattern. Record the sample
locations in the investigative notes and diagram(s).
If using the grid pattern to establish drift, collect at least one additional sample from each of
the adjacent fields that are suspected of being the source of contamination.
Each foliage sample from a site should be of similar type and taken from the same location on
the plant/tree. Identify the location and area from which each sample was taken on the
diagram with distances from landmarks, from field borders and between samples clearly
indicated.

                             CROP DAMAGE RESIDUE INCIDENTS

After taking a control sample, take samples in a line, at approximately equal intervals, from a
non-suspected area to the target treated area.




             FIGURE 7-2: GRID SAMPLING DIAGRAM - CROP DAMAGE RESIDUE INCIDENT




Chapter 7                                                                                    Page 12


                                                                                                    AR0000165
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 166 of 739




HUMAN EXPOSURE INCIDENTS

After taking a control sample, take samples in a line, at approximately equal intervals, starting
from where there is suspected human exposure and moving outward toward the treated area.
These samples will be in addition to wipe samples from vehicles, vegetation/soil samples in grid
pattern and clothing samples, if appropriate.




                 FIGURE 7-3: GRID SAMPLING DIAGRAM - HUMAN EXPOSURE INCIDENT




Chapter 7                                                                                Page 13


                                                                                              AR0000166
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 167 of 739




PROPERTY LOSS INCIDENTS

Where there is suspected property loss or damage that does not involve crop damage or
foliage, take samples of the suspected damaged property, as well as vegetation/soil samples in
a grid pattern, wipe samples from vehicles and clothing samples, if necessary.
When taking vegetation/soil samples in a grid pattern, take a control sample from outside the
treatment site, and then collect samples in a line, at approximately equal intervals, starting
from an area of suspected property damage and moving toward the treated area.
When there are multiple areas where pesticide(s) have been applied, the same grid pattern is
used as previously described, but samples are obtained in two directions toward the treated
areas.




               FIGURE 7-4: GRID SAMPLING DIAGRAM -PROPERTY LOSS INCIDENT




Chapter 7                                                                               Page 14


                                                                                             AR0000167
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 168 of 739




AGRICULTURAL PESTICIDE MISUSE

After taking a control sample, take samples in a line, at approximately equal intervals, starting
from an area outside the treatment site, ideally where there is suspected exposure, and move
toward the treated area. Take vegetation/soil samples in a grid pattern, samples of
commodities, wipe samples from vehicles and clothing samples, if necessary.




              FIGURE 7-5 - GRID SAMPLING DIAGRAM - AGRICULTURAL PESTICIDE MISUSE




Chapter 7                                                                                  Page 15


                                                                                                AR0000168
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 169 of 739




STRUCTURAL PESTICIDE MISUSE

Where there is suspected structural pesticide misuse, take a control sample from outside the
treatment area. Begin grid sampling outside the treated area and move inward toward the
treated area.
Take samples of the suspected damaged property, as well as vegetation/soil samples in a grid
pattern, wipe samples from vehicles and clothing samples, if necessary.




              FIGURE 7-6: GRID SAMPLING DIAGRAM ­ STRUCTURAL PESTICIDE MISUSE


SOIL SAMPLING

                      DISCRETE SOIL SAMPLING (KNOWN DEPTH)

Collect soil samples at a known depth when the pesticide is suspected of being incorporated,
band treated, shanked or moved below the soil surface through leaching. If the samples are not
collected at the proper depth, the sample results will be misleading. This type of sampling may
be collected in a grid pattern within a field or site.

Chapter 7                                                                              Page 16


                                                                                               AR0000169
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 170 of 739




After taking a control sample, select a specific sample location and measure an area of
approximately one square foot. Record the measured sample area in the investigative notes.
If it is suspected that chemical leaching has occurred at the sample site, dig a sampling hole and
collect soil from various depths (e.g., 3-6 inches, 6-9 inches). After digging the hole,
decontaminate the sampling instrument and clear away the soil at the depth desired to obtain
the sample. Decontaminate the sampling instrument and use a clean container to collect the
sample.
If a soil probe is available, remove the soil to the beginning depth to sample. Take several core
samples to the desired depth using the probe. NOTE: It is not recommended to use the probe
when a band or side-dress treatment was used. Since it is difficult to determine where the band
treatment is located, the probe technique could miss the pesticide and give misleading results.
                           SOIL SAMPLING IN FURROWED FIELDS
Chemicals may have been applied in bands or side-dressed in furrowed fields. In order to
sample from the appropriate area, a shovel is needed to cut across sections perpendicular to
the direction of the furrow at each sample site.

                                         SINGLE ROW
After taking a control sample, start at the center of the furrow and sample across the bed to the
center of the opposite furrow. Collect soil from an area 3–6 inches wide and 12-14 inches deep
as measured from the top of the bed.

                                        DOUBLE ROWS
If the field is laid out in double row beds, sample from center of furrow to center of bed at 3–6
inches width and 12-14 inches depth.
Mark the location of the sample area on the diagram indicating distances from each sample,
depth and width of sample, landmarks and field borders.
Single row beds: combine soil from the area outlined in the figure below and place in a 1 quart
container.
Double row beds: Center furrow to center bed.




Chapter 7                                                                                 Page 17


                                                                                               AR0000170
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 171 of 739




                          FIGURE 7-7: SOIL SAMPLING IN FURROWED FIELDS


                             GRID PATTERN FOR SOIL SAMPLING

There are several pesticides (e.g. DCPA and chlorothalonil) that are long-lasting in the
environment and adhere to soil particles. Cultivating practices (i.e., disking) and wind can move
these particles from adjacent fields to a crop, creating a potential residue problem. Therefore,
grid pattern sampling results can be used to document the transport of the soil particles. Grid
soil sampling is usually conducted to prove drift from a treated area. If drift is suspected to have
occurred to a field and the pesticide can be detected in soil, then grid sampling may be of use.
Collect soil samples at the appropriate depth in a grid pattern following the procedures
indicated for a discrete soil sample. Each sample will represent one point on the grid for that
field or site. Do not composite these samples.
After taking the control sample, start the sampling grid pattern from the edge of the field,
depending on the field size. As a rule of thumb, the closest sample distance from the edges
should represent 10 percent of the width and length of the field or site. Each sample should be
in line with, and at an equal distance apart from, the other samples in the grid pattern. Record
the sample locations in the investigative notes.
Always take samples from an area of suspected lowest concentration and move in a direction
towards the area of highest concentration, most likely the treatment site.




Chapter 7                                                                                   Page 18


                                                                                                  AR0000171
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 172 of 739




                          FIGURE 7-8: GRID PATTERN EXAMPLES FOR SOIL


                                 COMPOSITE SOIL SAMPLING

The composite sample is made up of several sub-samples that are combined to represent a field
or site. For example, in Figure 7-8, all the grid point samples taken from one area would be
combined to make one composite sample. Composite sampling is appropriate in certain
specific instances. Where there is a need to merely establish that a pesticide was applied,
composite sampling may be used.

DISCRETE SEDIMENT SAMPLING

Pesticide residues can accumulate in the bottom sediment of lakes and streams. It may be
necessary to conduct sediment sampling to determine the pesticide source.
There are commercially available devices for sediment sampling, but these devices often
require extensive cleaning between sampling to prevent cross-contamination. Directly scooping
sediment into a glass container is recommended for shallow sampling situations. Alternatively,
a disposable core tube can be used to collect sediment.
To collect the sample, carefully lower the disposable core tube, the container or other sampling
device through the water into the sediment. Minimize disturbing the sediment. Retrieve
approximately one quart of sediment. Transfer sediment directly into a clean container. Seal
with a Teflon or foil-lined lid.
Mark the location of the sample area on the diagram indicating distances from each sample,
landmarks and field borders.


Chapter 7                                                                               Page 19


                                                                                             AR0000172
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 173 of 739




Dispose of or clean sampling tools. Rinse the collection container, if used, with hexane or
isopropyl alcohol and allow to air dry prior collecting additional sediment samples.

WATER

Pesticide residues may be found in surface water such as lakes, streams or ponds resulting from
some type of misuse (i.e., off-site drift, overspray). If pesticide contamination of groundwater is
suspected, contact the supervisor to determine the appropriate federal, state or local agency
for follow-up.

                          DISCRETE SURFACE WATER SAMPLING

When sampling surface water, sample as close as possible to the apparent source of
contamination. If the suspected pesticide is water soluble, the sample must be drawn from a
lower depth. If the pesticide is oil-based, or oil is a part of the tank mix and the alleged
misapplication was made across the water surface, then the sample can be drawn from the
surface layer.
Use two clean one-liter amber glass containers with an aluminum foil or Teflon seal under a
screw cap. If amber glass containers are not available, use two one-quart large mouth
containers and wrap each container with aluminum foil to exclude light.
Lower the glass container to the desired depth with the cap on. Remove the cap under water
and allow the container to fill. Replace the cap and lift the container out of the water. For
samples taken from the surface, dip the container into the water surface and allow it to fill.
Containers must be filled completely to the rim, with no air space between lid and the
container contents so pesticides cannot volatilize.
It is preferable to take several samples from different locations. Alternatively, a composite
sample may be taken by combining sub-samples from different locations around the body of
water and combining in two clean one-liter/quart containers.
Mark the location of the sample area on the diagram indicating distances from each sample,
landmarks and field borders.
Samples must be chilled or refrigerated and shipped as soon as possible, following proper
chain-of-custody procedures. DO NOT ALLOW SAMPLES TO FREEZE. An ice chest can be carried
into the field for this purpose.

AIR

Generally, EPA laboratory staff conducts volume air sampling in concert with the inspector.
Since they have the unique equipment, chemicals, knowledge and experience needed to
operate air sampling equipment, it is recommended that they be contacted if volume air

Chapter 7                                                                                  Page 20


                                                                                                 AR0000173
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 174 of 739




sampling is needed. The inspector will retain the lead for the investigation and other personnel
will assist.
There are two types of air samplers used. High volume samplers are used to measure low
concentrations of pesticides over long periods of time and low volume samplers are used to
measure high concentrations of pesticides over shorter periods of time. EPA laboratory staff or
ESD will make the decision as to which air sampler will be used. Both high volume and low
volume sampling equipment draws air through glass cylinders containing a medium designed to
capture the pesticides of interest for analysis by the laboratory.

                                  AIR SAMPLING INDOORS

Either high-volume or low-volume sampling equipment can be used depending on expected
concentrations. Air sampling equipment produces a moderate noise. It should be positioned
where it will not unnecessarily disturb other persons in the structure, if possible.
High-volume sampling equipment must be vented out of the dwelling to ensure that air will not
be recycled through the machine.
Rooms with cigarette smoke or gas appliances must be avoided; any gases or suspended smoke
particles in the area will contaminate the sample.

                                 AIR SAMPLING OUTDOORS

Sampling equipment must be positioned to avoid exposure to engine exhausts, running motors,
cigarette smoke or any other non-target air contaminants.
Sampling equipment must also be protected from rain and direct sprays from application
machinery. Shelter hoods are used to protect the equipment in such situations.
Air samples must be sealed and delivered directly to the lab, following proper chain-of-custody
procedures.

ANIMAL, BIRDS, FISH AND BEE SAMPLING

Where there has been an animal, bird, fish or bee kill, samples must be taken to substantiate
the cause. If possible, sample dead animals, birds, fish and bees before they decompose.
Using disposable gloves, place the small animals, birds and fish in a heavy, inverted
polyethylene bag and chill, as soon as possible. At least 500 grams (approximately 1 pound) is
needed per sample.
Collect a minimum of four ounces (approximately 1 cup) of dead bees or honey and a minimum
of one ounce of pollen from the affected honey bee colonies. It may also be desirable to collect
foliage samples or swab samples from around the hive. Since bees can forage several miles


Chapter 7                                                                                Page 21


                                                                                                AR0000174
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 175 of 739




from the colony, samples can be collected of various blooming plants in the foraging area if it
can be determined. Remember to collect enough for each analysis. Place each sample in a
clean, unused container. See “Guidance for the Inspection of Alleged Cases of Pesticide-Related
Bee Kill Incidents” Also, the following website has more information:
https://catalog.extension.oregonstate.edu/pnw591.
Chill all animal, fish, birds and bee samples upon collection to prevent further degradation. If
decomposition is evident, note on the Receipt for Samples and the Inspection Report.

SURFACE WIPE SAMPLING

Surface wipe sampling is conducted to establish the presence of a pesticide on a surface.

                               DISCRETE SURFACE SAMPLING

When possible, select a site showing visible residue. Try to avoid areas known to contain waxes
because they may interfere with the analysis. Smooth “inert” surfaces are the preferred area to
collect the sample (i.e., windshield). Sampling uneven surfaces (such as rugs, furniture, walls,
walkways, counters), however, is also possible. Before entering the area to be sampled, take a
control sample.
While wearing disposable latex gloves, tape a template to the sample surface. A template can
be a piece of cardboard with a four inch square opening. The purpose of the template will be
to delineate the sample area at the target site. A new template and gloves must be used for
each sample location so prepare as many templates as necessary ahead of time. If a template
cannot be placed on target site, delineate the sample area using masking tape laid out to create
a four inch sampling square. Photograph the area and templates.
Surface areas are sampled using sterile cotton pads (2” x 3”) or filter paper discs moistened
with solvent. While wearing disposable latex gloves, pour isopropyl alcohol or hexane over the
cotton pad and moisten it completely. Shake off excess solvent. Do not contaminate the solvent
by placing the cotton pad over the mouth of the solvent bottle. The target area of the template
is to be thoroughly wiped. If it is an irregular surface, the sample may be obtained by dabbing.
Place the sampling pad or disc in a clean container. Using a permanent marker, identify the
sample collection number, date and inspector’s initials on the sample container. Place each
sample collected in a large polyethylene bag.
Record the surface area type and sample location on the Receipt for Samples, on the
incident diagram, and in the investigative notes. Other information recorded on the Receipt
for Samples includes the solvent used, the suspected ingredients in the pesticide spray
solution and whether the surface sample represents pesticides in concentrate, tank mix or
residue from drift or overspray.



Chapter 7                                                                                  Page 22


                                                                                                   AR0000175
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 176 of 739




Store the samples in the freezer or refrigerator and ship to the laboratory in a manner that
maintains the integrity of the sample, following proper chain-of-custody procedures.

                         GRID PATTERN FOR SURFACE SAMPLING

Grid patterns can be used for surface wipe sampling to establish the extent of contamination.
For example, it may necessary to establish that a broadcast carpet treatment occurred when
labeling only allowed a baseboard treatment. Grid surface samples can also be taken to
establish a drift pattern in or on a structure.
Always collect a control sample prior to any other sampling. At a treatment site, sample from
an area of lowest concentration and move in a direction towards the area of highest
concentration to prevent contamination of samples. The grid pattern should be in straight lines
and all grid points should be an equal distance apart.
Create a diagram of the sampling area. On the diagram, identify the location from which each
sample was taken. Include distances from landmarks, such as walls, and distances between
samples.
Follow the procedures for taking discrete surface samples, as described above. Each sample
represents one point on the grid for that site. Do not composite the samples.

CLOTHING

Collect footwear and clothing only when contamination is suspected. It may be necessary to
collect clothing and footwear samples away from the incident site. The applicator or the
person(s) who reported the incident may not be found at the incident site.
Should the history of the clothing be unknown, attempt to find out about the integrity of the
clothing sample. Ask if the clothing has been washed since the incident. If the clothing has been
washed, the inspector should not collect the sample.
Inform the individual who is providing the clothing that the clothing will not be returned.
Wrap each article in aluminum foil prior to placing it into an inverted 18”x 30”, or larger, heavy
clear polyethylene bag. Properly knot and seal each bag. Identify and officially seal samples
immediately as they are taken.


     SAMPLING IN SUPPORT OF RESIDUE AND ENVIRONMENTAL
                         SAMPLING

While conducting residue and environmental sampling the inspector may encounter
technical pesticide formulations and tank mixes used during the suspected mis-application
that has given rise to the inspection. Samples of these products should be taken to check


Chapter 7                                                                                  Page 23


                                                                                                AR0000176
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 177 of 739




for mis-formulation, adulteration, cross-contamination and other potential problems. The
results of this sampling and analysis will be relevant to the inspection.
While safety issues are important when conducting residue and environmental sampling,
different safety issues may be present when collecting samples of formulations and tank
mixes. Therefore, review Chapter 2, “Health and Safety”, and any precautionary
statements on product labeling prior to collecting the sample.

PESTICIDE FORMULATIONS (TECHNICAL GRADE)

Read and follow all precautionary statements on the label before sampling a formulated
pesticide material (i.e., protective clothing and equipment requirements). If a label is not
available, wear the maximum safety equipment (respirator, Tyvek suit, coveralls, rubber gloves,
rubber boots and goggles).
Chapter 6, “Pesticide Product Sampling”, provides guidelines on sampling a pesticide product.
However, if possible, collect the entire container with its contents. Smaller samples can always
be collected from the larger container.
Sample tools, if re-useable, must be cleaned with hexane or isopropyl alcohol and air dried
before collecting additional samples.
Avoid cross-contaminating samples by keeping these samples separate from all other samples
(i.e., residue) at all times.
To avoid cross-contamination:
   •    Liquid bulk samples are to be collected in 8 oz. amber glass bottles with Teflon lined
        caps.
   •    Dry bulk samples are to be collected in glass pint or quart containers, or pint or quart
        size metal paint containers.
Review the pesticide label for storage instructions. Chill the sample to store and ship, unless
otherwise stated on the label. Do not allow the sample to freeze.

TANK MIX

Laboratory analysis of tank mix samples will help to identify the active ingredient and any
possible contaminants in the tank mixture, or other characteristics of the mixture.
Use 8 or 16 ounce amber glass containers with Teflon-lined lids to collect samples. Do not allow
tank mix solutions to contact rubber or plastic as these materials may affect the analytical
results. Thoroughly agitate the liquid in the tank before sampling.
Using a clean or decontaminated siphon and bulb suction apparatus, collect a sample from the
tank. If the solution is adequately mixed to ensure uniformity, a sample can be collected from

Chapter 7                                                                                  Page 24


                                                                                                   AR0000177
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 178 of 739




the drain system. Application rigs can be sampled at spray boom nozzles. Following actual
application, have the operator loosen boom nozzles and drain the pesticide mix into the sample
container. Be sure that the operator tightens the nozzles on the boom after the sample has
been taken.
Chill the sample to store and ship. Do not allow the sample to freeze. Do not store or ship tank
mix samples with or near foliage or soil samples.
Decontaminate all tools and change or wash gloves to prevent cross-contamination of samples.


            SAMPLE STORAGE, PRESERVATION AND SHIPPING

The proper collection, storage and shipping of samples are all critical elements of the sampling
process and can affect the analysis results. Steps must be taken early in the sampling process to
avoid anything that could compromise the integrity of the sample, such as loss, contamination
or tampering.
Ideally, samples should be analyzed as soon as possible after they are collected. In many
situations, however, this may not be possible and consideration must then be given to assuring
the integrity of the sample by utilizing proper storage, preservation and shipping methods.

STORAGE AND PRESERVATION

If samples must be stored temporarily, it is best to refrigerate or even freeze them to prevent
deterioration of the sample and degradation of the chemical. Contact the supervisor or
laboratory if in doubt about the specific requirements for storage of a particular kind of sample.
All samples should be stored in an insulated cooler to protect from extreme heat and cold
during transit to the laboratory from the time of collection. In extremely hot conditions, it may
be necessary to include ice inside the cooler in order to maintain the integrity of the sample.
The inspector should read and follow the label statement for storing the samples under or over
the listed temperatures.
Table 7-1 summarizes the general requirements for preserving various sample types during
storage (i.e., field and laboratory) and shipping to the laboratory. Refer to the specific sample
type in the “Sampling Procedures” section of Chapter 6 in this manual for additional
information.




Chapter 7                                                                                  Page 25


                                                                                                    AR0000178
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 179 of 739




                                         TABLE 7-1: SAMPLE PRESERVATION

 Sample Type                         Container            Field               Storage   Ship
 Foliage
 Discrete                            PB                   C                   F         DI
 Grid                                PB                   C                   F         DI
 Composite                           PB                   C                   F         DI
 Dislodgeable                        GJ                   C                   R         WI
 Commodity (field, packed) PB                             C                   R         WI
 Soil
 Discrete (surface)                  GJ                   C                   F         DI
 Discrete (known depth)              GJ                   C                   F         DI
 Discrete (furrowed field)           GJ                   C                   F         DI
 Grid                                GJ                   C                   F         DI
 Composite                           GJ                   C                   F         DI
 Sediment                            GJ                   C                   F         DI
 Water                               GJ                   WI                  R         WI
 Air                                 GJ                   DI                  F         DI
 Animals, fish, birds, bees          GJ                   C                   F         DI
 Surface
 Wipe                                GJ                   C                   F         DI
 Grid                                GJ                   C                   F         DI
 Clothing                            PB                   C                   F         DI
 Tank-Mix                            GJ                   C                   R         WI
NOTE: All sample containers are to be sealed in a plastic bag in the field.
(C) — Chill (wet Ice or freezer pack )
(DI) — Dry Ice
(F) — Freeze
(GJ) — Glass Jar/sealed in Plastic Bag
(R) — Refrigerate
(PB) — Sealed in Plastic Bag
(WI) — Wet Ice


                                     SHIPPING PROCEDURES

Packaging and shipping samples must be done properly, using care to ensure that they remain
intact when they arrive at the laboratory. Maintain the chain of custody. Pesticide formulation


Chapter 7                                                                                      Page 26


                                                                                                   AR0000179
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 180 of 739




samples must be packaged to avoid spillage, leakage or deterioration and the possibility of
endangering the safety of persons or the environment. Ship samples in accordance with
Department of Transportation (DOT) regulations. See Chapter 6, “Pesticide Product Sampling”,
for shipping information.




Chapter 7                                                                             Page 27


                                                                                          AR0000180
             Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 181 of 739




                                                    CHAPTER EIGHT
                                                   USE INSPECTIONS

                                                                                 CONTENTS

Statutory Authority................................................................................................................................................................... 2
Objectives .................................................................................................................................................................................... 3
Use Inspections .......................................................................................................................................................................... 3
    Health and Safety During a Use Inspection ................................................................................................................ 4
    Inspector Obligations and Procedures..................................................................................................................... 4
    Use Inspection Procedures ............................................................................................................................................ 4
    Discussions with Owner/Operator/Applicator or Agent in Charge of Property ....................................... 8
Instructions for Conducting For Cause Use Inspections ........................................................................................... 9
    Inspector Obligations and Procedures..................................................................................................................... 9
    Reports ................................................................................................................................................................................... 11




                                                                                                                                                                                              AR0000181
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 182 of 739




                           USE INSPECTIONS

                               STATUTORY AUTHORITY

FIFRA section 12(a)(2)(G) states, “it shall be unlawful for any person to use any registered
pesticide in a manner inconsistent with its labeling.”
FIFRA section 2(ee) states that the phrase “to use any registered pesticide in a manner
inconsistent with its labeling” means to use a pesticide in a manner not permitted by the
labeling. For example, if an inspector finds a person using a pesticide outdoors that is labeled
“for indoor use only,” the person has used the pesticide “in a manner inconsistent with its
labeling” in violation of FIFRA. FIFRA Section 2(ee) does not include:
   •   Applying a pesticide at a rate, concentration or frequency less than specified on the
       labeling, unless the labeling specifically prohibits deviation from the specified rate,
       concentration or frequency.
   •   Applying a pesticide against any target pest not specified on the labeling if the
       application is to the crop, animal or site specified on the labeling, unless the
       Administrator has required that the labeling specifically state that the pesticide may be
       used only for the pests specified on the labeling after the Administrator has determined
       that the use of the pesticide against other pests would cause an unreasonable and
       adverse effect on the environment.
   •   Employing any method of application not prohibited by the labeling.
   •   Mixing a pesticide or pesticides with a fertilizer when such mixture is not prohibited by
       the labeling.
   •   Any use of a pesticide in conformance with FIFRA sections 5 (Experimental Use Permits),
       18 (Exemption of Federal or State Agencies — Emergency Exemption) or 24 (Authority of
       the States).
   •   Any use of a pesticide in a manner that the Administrator determines to be consistent
       with the purposes of the Act.
FIFRA section 26 authorizes primary enforcement responsibility to states for pesticide use
violations. However, EPA retains pesticide use authority for the advertising related to 40 C.F.R.
Part 168.22(b)(5) and Federal Register at 57 FR 19,174, May 28, 1986. See Chapter 4.


Chapter 8                                                                                      Page 2



                                                                                                   AR0000182
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 183 of 739




                                        OBJECTIVES

The objectives of use inspections are to:
   •   Determine whether pesticides are being used in accordance with label instructions.
   •   Collect information about pesticide use and pesticide label and labeling materials.
   •   Determine compliance with Worker Protection Standards, if pesticides are used in an
       agricultural setting.


                                    USE INSPECTIONS

In states without primacy, and on federal and tribal lands, EPA conducts (1) a routine inspection
program and (2) for cause investigations of reported cases of misuse and suspected pesticide
related incidents. Additionally, EPA conducts use inspections where: (1) states have waived their
FIFRA section 26 authority; (2) states have not acted in a timely manner (FIFRA section 27); or (3)
at the request of states or tribes.
Pesticide use inspections encompass a wide variety of circumstances and inspection sites. The
primary focus of a use inspection is to determine whether pesticides are being used properly, in
accordance with the pesticide label and applicable Worker Protection Standards. Pesticide use
inspections include, but are not limited to, the following locations:
   •   Agricultural (commercial and private)
            o Field crops
            o Orchards/groves
            o Greenhouses/nurseries
            o Sod farms
            o Forests
            o Vegetable and specialty crops

   •   Nonagricultural (commercial, public and not-for-hire)
            o Residential sites
            o Structures
            o Rights-of-way
            o Aquatic environments

Chapter 8                                                                                    Page 3



                                                                                                 AR0000183
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 184 of 739




            o Hospitals/nursing homes/clinics
            o Veterinary sites
            o Lawns, ornamentals and golf courses
            o Grain elevators

   •   Use inspections can be initiated at either the site of application or the applicator’s place
       of business.
Pesticide use activities include storage, handling, mixing/loading, transportation, application and
disposal. Use inspections may be performed during any use activity. Use inspections may also
occur where pesticides have previously been applied, including inspections at the end of a
growing season when the crops are being harvested.

HEALTH AND SAFETY DURING A USE INSPECTION

In addition to the requirements and recommendations contained in Chapter 2 on Health and
Safety, at all times during use inspections, the inspector should be aware of biosecurity. See
EPA’s biosecurity guidance for guidelines to be followed when entering and exiting farms,
ranches, etc.

INSPECTOR OBLIGATIONS AND PROCEDURES

Before beginning any federal use inspection, the owner, operator or agent in charge must be
issued a written Notice of Use/Misuse Inspection (EPA Form 3540-25; see Exhibit 1-1). The
Notice must include the reason for the inspection and whether the inspection is “for cause” or
based on a “neutral inspection scheme”. If the inspection is “for cause” the Notice must indicate
the nature of the suspected violations. The Notice of Use/Misuse Inspection Form contains a
“consent” statement that the inspector shall read to the person from whom consent is sought.
The form also has a space for the person to sign to provide a written record of the authorization
to enter and/or sample based on consent. The absence of a Facility Official’s signature on the
Notice of Inspection does not invalidate the Notice of Inspection, or establish that consent to
the inspection was not provided or that the proper procedures were not followed. See, Chapter
5, “Gaining Entry,” for more information.

USE INSPECTION PROCEDURES

Collecting records that document pesticide use is an essential part of every use inspection.
Inspectors should obtain records that contradict or corroborate statements regarding pesticide

Chapter 8                                                                                     Page 4



                                                                                                  AR0000184
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 185 of 739




use. Evidence of any incidents or accidents concerning pesticide use should also be collected.
Records collected should be identified as exhibits and attached to the Inspection Report. See,
Chapter 16, “Inspection Report and Supporting Documentation,” for more information.
Specifically, FIFRA inspectors should gather the following information during a use inspection
and then include the information in the Inspection Report:
   •   Person interviewed—Name, address and telephone number.
   •   Applicator—Name, address, telephone number and certification number.
   •   Site of application—Name, address, telephone number; type of business (hospital, aerial
       applicator, golf course, etc.); crop; area or object treated; target pest; date and time of
       application; weather at time of application; and any other relevant information.
   •   Pesticide applied—Brand name, EPA Registration Number, EPA Establishment Number,
       batch number, classification (i.e., general or restricted use) and type of formulation.
   •   Rate of application—Method of application, dilution rate, diluted material applied per
       unit and actual active per unit.
   •   Samples collected – Physical samples can be taken of formulation, diluted material and
       residue. It is essential to collect documentary samples as well as physical samples when
       misuse is suspected. Collect a physical sample of the product if a problem is suspected
       with product chemistry or where misuse is suspected. Samples may also be collected to
       substantiate that pesticides were properly mixed and applied. The inspector must give
       the owner, operator, applicator or agent in charge of the establishment a copy of the
       completed and signed Receipt for Pesticide Use/Misuse Samples (EPA Form 3540-26; see
       Exhibit 1-1). For specific sampling procedures, see Chapters 6 “Pesticide Product
       Sampling” and Chapter 7 “Residue and Environmental Sampling.” Types of samples:
            o Documentary evidence: Collect documentary evidence when a physical sample of
              the product is not necessary or available, including those circumstances where no
              problem with the chemistry of the pesticide is suspected. Documentary evidence
              consists of anything other than a physical sample (e.g., bin labels or photographs
              of labels or labeling, advertising, invoices, shipping records or bills of lading, etc.).
              When collecting a bin label, the inspector must obtain a statement by a company
              representative that the bin label is/was identical to the label on the product that
              was sold or distributed as per the sales records.
            o Physical samples:
                      Formulation samples—If the user is obtaining unusual or adverse results
                       from the use of a product and his/her use is in accordance with label

Chapter 8                                                                                       Page 5



                                                                                                    AR0000185
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 186 of 739




                      directions, collect a sample of the commercially packaged pesticide to
                      determine whether it was mis-formulated, contaminated or adulterated.
                      Also collect a formulation sample for each use dilution to verify that
                      problems associated with the use dilution are not related to the pesticide
                      itself. Make a reasonable effort to collect a sample at the user and/or
                      dealer/distributor level. If it is necessary to obtain a sample from a
                      previously opened container, obtain a statement from the user that the
                      product has not been altered (see Chapters 6 and 7 on formulation
                      sampling).
                     Diluted material—Sample pesticides that are diluted or mixed for use at
                      the user level whenever there is reason to believe that the pesticides may
                      have been diluted or mixed in a manner inconsistent with the label. NOTE:
                      Dilution samples may also be used to show that the diluted pesticide was
                      consistent with the label directions, however, it is best to reserve use of
                      these samples for when it is believed that mixing differs from the label
                      directions or an improper pesticide was selected – since they are often
                      difficult to collect and preserve. Obtain a copy of the registered product’s
                      pesticide label to accompany the sample of diluted material. If a
                      photograph of the label and/or an identical label copy cannot be obtained
                      to accompany the sample, hand write the pertinent portions of the label
                      (ingredient statement and applicable dilution/mixing directions) and
                      include them with the sample. If not observed first hand, obtain a
                      statement and/or record copy from the user telling how the material was
                      diluted and mixed. Because the dilution rate may vary with the
                      specifications of the application equipment used, obtain information
                      regarding the type of application equipment used and its calibration. If the
                      pesticide is being applied in accordance with FIFRA section 2(ee)
                      recommendations, document the source of those recommendations with
                      a copy of the recommendations and/or a statement from the applicator.
                     Residue samples—Residue samples are obtained to determine the
                      residual presence of pesticides on articles. These may include plant
                      materials, animal tissues, soil, drinking water, surfaces, air, runoff water
                      and other inanimate materials. Collect a residue sample when there is
                      reason to believe that a pesticide may have been misapplied.
   •   Were the labeling instructions followed?—Include a thorough review of the label(s)
       encountered and documentation that the pesticide(s) was/were used as specified by the
       label. Individual pesticide labels vary greatly, so it is critical that the inspector carefully

Chapter 8                                                                                       Page 6



                                                                                                     AR0000186
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 187 of 739




       document the correct label(s) involved and how the various use directions were
       followed. Specific areas of pesticide use to be addressed should include but are not
       limited to the following areas:
            o      Target pest
            o      Method and rate of application
            o      Re-entry interval
            o      Crop, area, or object treated
            o      Applicator certification
            o      Disposal (rinsate/containers)
            o      Mixing/loading instructions
            o      Diluent/additives
            o      Worker Protection Standards
            o      Protective clothing and equipment
            o      Precautionary statements
            o      Environmental precautions
            o      Transportation/storage
            o      Pre-harvest intervals
            o      Spray intervals or application intervals
            o      Classification
            o      Relevant weather restrictions
            o      Endangered species protection restrictions
            o      Groundwater protection restrictions
   •   Records Review—Review records required to be maintained under federal and/or state
       regulations, and obtain copies. Determine what records are being maintained by the
       applicator/firm, review pertinent records and document the pesticide application in
       question. Pesticide application records for adjoining properties and field history(s) can be
       used to document pesticide drift. Request a copy of any record that may substantiate
       violations. Under federal law, applicators are only required to keep records for restricted
       use pesticide (RUP) use. However, state requirements may specify that all pesticide
       applicator records be maintained by the applicator.

Chapter 8                                                                                   Page 7



                                                                                                 AR0000187
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 188 of 739




   •   Storage Facility Conditions—Take note of the types of pesticides in storage (i.e.,
       restricted, canceled, suspended). Inspect the storage area and take note of: (1) any
       leaking containers; (2) the security of restricted use pesticides; and (3) the proper
       segregation of pesticide types (for example, rodenticides should be segregated from
       other pesticides). Check the product label for storage requirements, if any.
   •   Worker Protection Standard (agricultural use only)—The applicability of the Worker
       Protection Standard should be determined. The regulation governing the Worker
       Protection Standard is found at 40 C.F.R. Part 170. Inspectors may use the EPA Worker
       Protection Standard Inspection Manual and the EPA Worker Protection Field Inspection
       Pocket Guide. Address the following items during the inspection if the Worker Protection
       Standard applies:
            o Information at the central location
            o Application records
            o Pesticide safety training
            o Decontamination supplies
            o Notice of application and posting of application
            o Early entry requirements
            o Emergency assistance procedures

DISCUSSIONS WITH OWNER/OPERATOR/APPLICATOR OR AGENT IN CHARGE OF
PROPERTY

Inspectors should discuss proper pesticide use with the owner/operator, applicator or agent in
charge, such as: (1) the existence and purpose of FIFRA; (2) the importance of following label
directions; and (3) the need to use pesticides safely, so as to protect human health and the
environment by observing all label precautions during all phases of use, including mixing,
application, storage, and disposal. If any problems or discrepancies noted during the inspection
require immediate corrective action, these problems should be brought to the attention of the
applicator or owner/operator so that immediate corrective action may be taken.
The inspector should note in the Inspection Report what was discussed and any voluntary
corrective actions. FIFRA inspectors should also report any problems and discrepancies to EPA
and should not discuss potential civil or criminal action that EPA may take to address misuse
violations with the owner/operator or pesticide applicator.



Chapter 8                                                                                 Page 8



                                                                                               AR0000188
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 189 of 739




  INSTRUCTIONS FOR CONDUCTING FOR CAUSE USE INSPECTIONS

EPA may conduct a “for cause” pesticide use inspection in response to suspected pesticide
misuse incidents or Worker Protection Standard violations to develop the necessary evidence to
support a civil or criminal FIFRA enforcement action.
In a “for cause” use inspection, the inspector may be required to visit a number of sites,
interview various persons, and collect a number of pesticide samples. The inspector
investigating a case of alleged misuse is trying to find and document answers to a number of
specific questions. Typical persons that may be questioned include, but are not limited to the
following:
   •   Complainants (i.e., the person who complained of an incident, such as pesticide
       exposure, drift, injury)
   •   Physicians/veterinarians
   •   Pesticide applicators
   •   Pest control operators
   •   Pesticide dealers/distributors
   •   Eye witnesses
   •   Other federal, state and/or local agencies
   •   Cooperative Extension operators
   •   Other experts
   •   Property owners
   •   Agricultural employers/employees

INSPECTOR OBLIGATIONS AND PROCEDURES

Due to the potential for harm to humans and the environment posed by pesticide misuse and
the need to be responsive to public concern, it is important that the inspector initiate “for
cause” inspections as soon as possible. Time is of the essence; the chances of finding pesticide
residues in environmental samples can decrease over time.
   •   The Notice of Inspection – For Use/Misuse inspections use EPA Form 3540-25, see Exhibit
       1-1.



Chapter 8                                                                                   Page 9



                                                                                                   AR0000189
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 190 of 739




   •   Interview complainant, witnesses, applicator and other parties involved. Take
       statement(s) using EPA Form 3540-42, see Exhibit 1-1.
   •   Thoroughly collect and document evidence pertaining to the pesticide use including, but
       not limited to:
            o Photographs, originals or copies of labels and labeling for pesticides used.
            o Photographs or video tapes showing actual pesticide misuse and/or damage
              caused by an alleged misuse.
            o Application records and central location information (if involving WPS—refer to
              WPS guidance).
            o Copies of the applicator certification documents.
            o Statements from the property owner, applicator, owner/operator or witnesses
              that can attest to the relevant circumstances.
            o Statements from physicians or copies of medical records (may require a medical
              release).
            o Copies of any available investigation reports completed by other agencies or
              companies such as state or local agencies or insurance companies.
            o Sketches, diagrams or maps of the area treated and surrounding properties.
            o Samples (physical or documentary).
            o Written recommendations (advisor, consultants, USDA/Cooperative Extension
              Service bulletins, etc.).
            o State and/or locally required permits and/or notifications.
            o Weather records.
            o Certification/licensing records.
            o Additional labeling (supplemental labels).
            o Regulations/standards.
            o Work order or mix/load sheets.
            o Application records from application(s) to adjoining properties.
            o Employee records (WPS).
   •   Complete a narrative report of the investigation to include details of the inspection.


Chapter 8                                                                                    Page 10



                                                                                                  AR0000190
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 191 of 739




REPORTS

Write a narrative inspection report as soon as possible following the completion of the pesticide
use/misuse inspection. At a minimum, an inspection report for a suspected use violation should
include reference to all information gathered. Include what pesticide was used; where it was
applied (site/crop/residential area, etc.); how it was applied (method, dilution rate, application
rate, application equipment, safety equipment, etc.); weather conditions (if appropriate); who
the suspected responsible party is; and when the pesticide was applied. In addition, include all
other relevant information such as consequences of the application (drift, crop damage, illness
or injury); explanation of samples, photographs and other evidence collected; and a description
of any follow-up that may be warranted. Attach all completed forms and documents gathered
during the course of the inspection to the narrative report as exhibits. See, Chapter 16,
“Inspection Report and Supporting Documentation” for more information.




Chapter 8                                                                                 Page 11



                                                                                                AR0000191
                 Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 192 of 739




                                 CHAPTER NINE
                           ESTABLISHMENT INSPECTIONS

                                                                                      CONTENTS

Establishment Inspection Objectives .............................................................................................................................................. 3
Inspection Procedures........................................................................................................................................................................... 4
    Scope of Establishment Inspections ........................................................................................................................................... 4
    Pre-Inspection Preparation ............................................................................................................................................................ 4
    Entry and Opening Conference ..................................................................................................................................................... 5
    Conducting the Inspection .............................................................................................................................................................. 7
        Label Review.................................................................................................................................................................................... 7
        EPA Establishment Number and EPA Registration Number ....................................................................................... 8
        Books and Records ........................................................................................................................................................................ 9
        Confidential Business Information ....................................................................................................................................... 10
        Sampling .......................................................................................................................................................................................... 11
        Receipt for Samples .................................................................................................................................................................... 11
        Statements ...................................................................................................................................................................................... 12
        Closing Conference ...................................................................................................................................................................... 12
    Preparing the Inspection Report................................................................................................................................................ 13
Marketplace Establishment Inspections ...................................................................................................................................... 13
    Additional Information for Marketplace Inspections ........................................................................................................ 14
    When to Conduct Marketplace Inspections ........................................................................................................................... 14
    Places to Inspect................................................................................................................................................................................ 14
        What is a “Pool Shooter”? ......................................................................................................................................................... 15
    Pesticide Product Review.............................................................................................................................................................. 16
    Shipping Records .............................................................................................................................................................................. 16
Bulk Repackager Inspections ........................................................................................................................................................... 17
Exhibit 9-1: Producer Establishment Inspection Checklist ................................................................................................. 19
Exhibit 9-2: Marketplace Inspection Checklist.......................................................................................................................... 24
Exhibit 9-3: Format for any Establishment Inspection Report ......................................................................................... 26
Exhibit 9-4: Conducting the Labeling Review for Producer Establishment Inspections ......................................... 28
Exhibit 9-5: Books and Records Maintenance and Retention—Producer Establishment Inspection ............... 31
Exhibit 9-6: Pesticide Container-Containment Inspection Checklist ............................................................................... 33




                                                                                                                                                                                                 AR0000192
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 193 of 739


Exhibit 9-7: Pesticide Container Inspection Checklist for States with Equivalent Containment Programs .... 53




                                                                                                      AR0000193
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 194 of 739




         ESTABLISHMENT INSPECTIONS

                 ESTABLISHMENT INSPECTION OBJECTIVES

The objectives of establishment inspections are to:
   •    Deter and reduce nonompliance by maintaining a strong, timely and active
        enforcement presence to achieve environmental and human health protection.
   •    Deter noncompliance by maintaining appropriate levels of compliance monitoring
        activity, particularly in noncompliant sectors of the regulated community.
   •    Identify those establishments where a pesticide, device or active ingredient used in
        producing an end-use pesticide is being produced, or locations where pesticides are
        being packaged, re-packaged, labeled or re-labeled, to monitor industry compliance
        with the registration requirements of producing establishments.
   •    Ensure industry compliance with product registration, formulation, packaging and
        labeling requirements prior to and during the distribution of pesticides and devices in
        the channels of trade; and detect and obtain samples of any unregistered,
        adulterated or misbranded pesticides or devices being distributed or sold.
   •    Ensure that restricted use pesticides (RUP) are distributed or sold in accordance with
        FIFRA.
   •    Ensure that books and records required by FIFRA and the implementing regulations
        are being prepared, maintained and/or submitted to the Agency, so that EPA can:
            o Identify areas of potential future harm to human health or the environment
              for purposes of possible suspension, cancellation or enforcement action;
            o Identify the responsible establishment in the event of a recall or stop sale
              order which may be issued to curtail any adverse effects to human health or
              the environment;
            o Increase the completeness and effectiveness of EPA recalls of suspended or
              canceled pesticides;
            o Identify and locate violative batches of pesticides;
            o Identify and locate shipments of violative pesticides and devices;
            o Determine compliance with requirements concerning disposal and storage of
              pesticides, pesticide containers and pesticide-related wastes (on the
              label/labeling of the product).
   •    Collect and develop evidence to support legal actions when violations of FIFRA are
        found at establishments that produce, distribute and sell pesticides or devices.


Chapter 9                                                                                Page 3


                                                                                                  AR0000194
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 195 of 739

   •    Verify compliance with annual production reporting requirements of section 7 of
        FIFRA.
Note that EPA maintains a list of active establishments on its website, available at:
https://www.epa.gov/compliance/national-list-active-epa-registered-foreign-and-domestic-
pesticide-andor-device-producing


                            INSPECTION PROCEDURES

Establishment inspections may be conducted at a variety of facilities. For example, an
establishment can be the facility of a registrant, pesticide formulator, bulk re-packager, toll
manufacturer, importer, broker, shipper, dealer, retailer or distribution center. Note, if an
establishment inspection concerns “Restricted Use Pesticides: Dealer and Applicator Records
Inspections”, also see Chapter 11. If an establishment inspection concerns “Pesticide/Device
Import/Export Program”, also see Chapter 12. Other information pertinent to establishment
inspections can be found in Chapter 1, “General Information,” Chapter 2, “Health and
Safety,” Chapter 5, “Gaining Entry”, Chapter 16, “Inspection Reports and Supporting
Documentation,” Chapter 6, “Pesticide Product Sampling” and Chapter 7, “Residue and
Environmental Samples”.

SCOPE OF ESTABLISHMENT INSPECTIONS

The scope of the inspection will depend on the type of activities in which the establishment is
engaged. For example, the scope of an inspection at a pesticide/device producing
establishment will be broader than an inspection at a U. S. Customs and Border Protection
(CBP) central examination site or CBP bonded warehouse holding a shipment of an imported
pesticide/device. Establishments may be engaged in a combination of activities, including
repackaging and/or relabeling, bulk repackaging, retail sale of restricted use pesticides, retail
sale of general use pesticides, custom blending, and/or commercial application. The
inspector must be familiar with the regulatory requirements that pertain to the particular
establishment.
The scope of an inspection, including the number and type of samples to be collected, may
be based on the type of establishment and other inspection-specific information gathered
during the pre-inspection preparation. Exhibits 9-1 through 9-5 may serve as guides for
planning the scope of and completing an establishment inspection.
When collecting samples of pesticides or devices that have been packaged, labeled and
released for shipment (PLRS), samples may include pesticides or devices produced by the
establishment within the past two years and exists elsewhere in the channels of trade.




PRE-INSPECTION PREPARATION

Chapter 9                                                                                 Page 4


                                                                                                  AR0000195
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 196 of 739

The quality of an establishment inspection can be enhanced by conducting pre-inspection
research to prepare for the inspection:
   •    Identify the name and address of the establishment and the products produced (by
        name and EPA Registration Number). Obtain a minimum of two years of data for all
        pesticide and device production from the EPA FIFRA Section Seven Tracking System
        (SSTS).
   •    Obtain copies of all labels, supplemental labels and confidential statements of
        formula (CSFs) for each pesticide produced at the establishment. Labels are publicly
        available from OPP’s Pesticide Product Labeling System (PPLS). The latest CSF
        provides information on the source(s) of the technical or manufacturing product(s)
        the establishment uses to produce the end-use product or other products that are
        produced at the establishment and are available from the product registration jacket
        at OPP.
        NOTE: The CSF is CBI and cannot be provided to state or tribal inspectors.
   •    Review inspection history—state, tribal and EPA inspection files.
   •    Review enforcement history—state, tribal and EPA enforcement files, including any
        settlements, notices of warning or stop sale orders.
   •    Identify EPA Establishment Numbers assigned under section 7, if the site is (or was) a
        pesticide/device producing establishment, or the EPA company number assigned by
        EPA if the site is a registrant or manufacture of its registered pesticide products.
   •    Perform an internet search of the establishment to verify any other addresses that
        may be associated with the actual physical location and an internet search on the
        product(s) being inspected and the corporate structure of the facility.
   •    Verify the registration status of each product produced at the establishment in OPPIN
        (Office of Pesticide Programs Information Network).

ENTRY AND OPENING CONFERENCE

See Chapter 5, “Gaining Entry.” During an opening conference, the inspector should raise the
facilities right make a claim of CBI. Additionally, during the opening conference, the inspector
must begin obtaining necessary information on the facility to complete the narrative portion
of the establishment inspection report. Obtain copies of all documents discussed during the
opening conference. This information includes, but is not limited to, the following:
   •    Confirm the proper business name, site address, mailing address and telephone
        number(s) of the establishment. If there is a related and/or parent company, include
        the proper business name(s), site address(es), mailing address(es) and telephone
        number(s) of all related firms.
   •    The names and titles of the principal officers, partners or owners of the
        establishment.

Chapter 9                                                                                Page 5


                                                                                                   AR0000196
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 197 of 739

    •    The person(s) attending the opening conference (complete names, titles and
         telephone numbers of the responsible officials of the establishment present at the
         opening conference).
    •    The number of pesticides registered, produced, sold or distributed by the
         establishment (including the brand names and EPA Registration Number of the
         pesticides). 1
    •    Supplemental or distributor registration agreements or contracts, contract
         manufacturing agreements, bulk repackaging agreements – obtain copies of each.
    •    Authorizations and/or toll repackaging agreements with other businesses regulated
         under FIFRA.
    •    Guarantees provided by the establishment or to the establishment, pursuant to
         section 12(b)(1) of FIFRA.
    •    Records showing the pesticides distributed or sold by the establishment, sorted by
         product name, EPA Registration Number (manufacturing/batch codes or lot numbers,
         if present), and indicating the quantity and date of each sale or distribution. Note
         that FIFRA defines “distribute or sell” as “to distribute, sell, offer for sale, hold for
         distribution, hold for sale, hold for shipment, ship, deliver for shipment, release for
         shipment, or receive and (having so received) deliver or offer to deliver.
         NOTE: Sales and distribution records may be claimed as CBI and, if so, cannot be
         provided to state or tribal inspectors, except as provided in Chapter 1 of this
         Manual.
    •    Obtain records of pesticides/devices being imported, including the name and address
         of a contract import broker, if used to broker the product, as well as the name and
         address of the person the product is being imported to.
    •    Obtain records of consignees who received the pesticide/devices.
    •    Obtain records of any exported pesticides/devices including a copy of the Foreign
         Purchaser Acknowledgment Statement (FPAS) and other records.
    •    Record all manufacturing use product information, including the name of the product,
         the EPA Registration Number, EPA Establishment Number and the name and address
         on the label or container.
Note: Although EPA maintains some of this information in data bases and compliance files,
inspectors should go over this information during the inspection to confirm the information
that is on file with EPA.



1 Though the Agency tracks pesticide registrations, the establishment may believe that they have

“additional” pesticide products registered with EPA, when in actuality some registrations have been
suspended or canceled. The inspector should include this list in the inspection report, and note any
discrepancies or differences between the establishment’s records and EPA’s records.

Chapter 9                                                                                              Page 6


                                                                                                            AR0000197
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 198 of 739

CONDUCTING THE INSPECTION
Upon completion of the opening conference, the inspection should include label reviews, books
and records reviews and sampling. These inspection activities may be conducted in any order
depending on the inspector’s preference and the facility being inspected.

                                         LABEL REVIEW

Label reviews are used to determine compliance with the required elements identified in 40
C.F.R. 156.10(a). The inspector should collect bin labels or photographs of pesticides or
devices packaged, labeled and released for shipment (PLRS). PLRS pesticides or devices
include those which may have been produced by the establishment within the past two years
and exist elsewhere in the channels of trade. Compliance determinations based on the
inspector’s label review are the purview of the regional EPA enforcement team (case officer
and attorney).
Elements of pesticide product labels:
   •    Name, brand name or trademark under which product is sold.
   •    The name and address of the producer, registrant, supplemental registrant,
        distributor or person for whom the pesticide is produced.
   •    Net contents.
   •    EPA Registration Number.
   •    EPA Establishment Number.
   •    Ingredient statement totaling 100% of ingredients (active ingredients must be listed
        by the percentage).
   •    Precautionary statement (i.e., “Caution,” “Warning,” “Danger,” “Keep out of Reach of
        Children”) as prescribed by 40 C.F.R 156, subpart D.
   •    Directions for use.
   •    Disclaimer statement.
   •    Worker protection directions—if applicable.
   •    Legibility and typeset (6 point or larger).
   •    If the use classification is “Restricted Use Pesticide,” this statement must appear on
        the front panel of the pesticide product.
   •    Any suspected false or misleading statements as described in 40 C.F.R 156.10(a)(5).
If the pesticide product is for agricultural use and subject to the WPS requirements, the
label must have the following required WPS statements:

   •    Specific worker protection statements—40 C.F.R 156, subpart K.
   •    Application restrictions.

Chapter 9                                                                                 Page 7


                                                                                                 AR0000198
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 199 of 739

   •    Product-type identification statements.
   •    Warning statements using an alternate language commonly spoken and read by
        workers.
   •    Restricted-entry statements.
   •    Personal protective equipment statements.
   •    Specific container labeling—40 C.F.R 156, subpart H.
NOTE: Copies of the “EPA accepted” label can be obtained from the Pesticide Product
Labeling System (PPLS) at: https://iaspub.epa.gov/apex/pesticides/f?p=PPLS:1. If PPLS does
not have the latest accepted label, the inspector and/or manager should obtain the label
from the product registration file. The label obtained from the establishment should be a
true, accurate, and complete representation of the label affixed to the immediate
container of the PLRS pesticide.
The inspector should document any pesticide labels which are damaged, obscured or
illegible. All words, statements, graphic representations, designs or other information
required on the label and labeling must be clearly legible to a person with normal vision and
must be placed with such conspicuousness (as compared with other words, statements,
designs or graphic matter on the label) and expressed in such terms as to render it likely to
be read and understood by the ordinary individual under customary conditions of purchase
and use. The location of the label on the pesticide product package is critical—for example, a
label inside a box or beneath a dust cover does not meet the prominence and legibility
requirement. Inspectors should document any labeling practices which do not make FIFRA
labeling requirements prominent and legible.
When labeling is collected, the inspector should collect a statement from the establishment
which states clearly that the label provided to the inspector is the identical label to the label
attached to the pesticide/device for distribution and sale. If multiple labels exist for one
product, the inspector should clarify which label was associated with which
sales/distributions of the product.
Note that the Agency has the authority to take photographs of any pesticide or device being
inspected that is labeled and released for shipment in lieu of or in addition to obtaining
samples of bin labeling. Take a photograph of all relevant pesticide/device labels and
containers. Should management object to the use of cameras in their establishment, the
inspector should request that the material to be photographed be moved to a non-sensitive
area of the establishment (such as the loading dock).
See Exhibit 9-4 for more information on conducting a label review for a producer
establishment inspection.

            EPA ESTABLISHMENT NUMBER AND EPA REGISTRATION NUMBER

The EPA Establishment Number (EPA Est. No.) is a facility identifier comprised of a company
number, a two letter state or three letter country code, and a number indicating the order of

Chapter 9                                                                                  Page 8


                                                                                                    AR0000199
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 200 of 739

the establishment registered in a given state or country. For example: EPA Est. No. 80156-NY-
002 would indicate the second establishment registered for company number 80156, which
is located in the State of New York.
In addition to labeling requirements at 40 C.F.R. Part 156, the establishment number must
appear on the product label, or on the immediate container of the product. If the
establishment number cannot be seen or clearly read through the wrapping or packaging, it
must also appear on the outside container or wrapper of the product. (40 C.F.R 156.10(f))
The establishment number is often grouped together with the EPA Registration Number (EPA
Reg. No.), but such placement is not required.
Devices must be produced in registered producing establishments and they must have an
EPA Establishment Number on the device or the device’s label; however, devices do not
require an EPA Registration Number.
Producers may seek approval from the EPA Office of Enforcement and Compliance Assurance
(OECA)–Office of Compliance (OC), Washington, D.C., 20460, for various techniques or
formats for displaying the establishment number.
The following are examples of approved formats that may be adapted for use by pesticide
producers:
       EPA Est. No. 123-IN-1, 123-IN-2, 123-MA-1
       or
       EPA Est. No. 123-IN-1, -2, -MA-1
Where an inspector encounters a label with multiple establishment numbers, the label must
indicate which establishment was the producing establishment of the pesticide product or
device. For example, a company (registrant number 123) that has three registered
establishments (two in Indiana (IN) and one in Massachusetts (MA)), may print all three
establishment numbers on the label or immediate container. However, the establishment
where the product was produced must be clearly denoted, i.e., with a clear marking such as a
saw-cut, notch, arrow or other similar indicator. It must be clear which EPA establishment
produced the pesticide product or device.
A producer may add its own code number to identify the actual production site. A statement
following the numbers tells the inspector where to look on the container for the actual
producing establishment. For example,
       “EPA Est. No. 123-IN-1 (a), 123-IN-2 (b), 123-MA-1 (c)
       See the last letter on the bottom of the container for actual establishment.”

                                   BOOKS AND RECORDS

A books and records inspection is an integral part of every establishment inspection. See
Exhibit 9-5. FIFRA section 8(b) authorizes the inspector to have access to and to copy (1) all
records showing the delivery, movement or holding of any pesticide or device, including the
quantity, the date of shipment and receipt, and the name of the consignor and consignee, or

Chapter 9                                                                               Page 9


                                                                                                 AR0000200
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 201 of 739

(2) in the event of the inability of any person to produce records containing such information,
all other records and information relating to such delivery, movement or holding of the
pesticide or device. Note: Any inspection with respect to any records and information shall
not extend to financial data, sales data other than shipment data, pricing data, personnel
data and research data (other than that for a registered pesticide or to a pesticide for which
an application for registration has been filed).
An inspector should collect documentary evidence which is representative of how the firm
maintains its records. This may include photographs and/or photocopies of records of
receiving, production, distribution, sales, manufacturing, contract agreements, labeling, etc.
The inspector also should photograph products and their container packaging to support a
books and records inspection. Typical records reviewed and collected include, but are not
limited to:
   •    Pesticide sales and/or distribution records.
   •    Shipping records.
   •    Manifests.
   •    Invoices.
   •    Bills of lading.
   •    Any record that documents the product’s production and movement in the channels
        of trade. This may include the product’s name, EPA Registration Number. or other
        information identifying the product.
Exhibit 9-5 can be used as a tool during a Producer Establishment inspection to ensure all
documents that show the production of the pesticide from start to finish are retained by the
establishment. The inspector should ask the retention period for each record shown on Exhibit 9-
5 to verify the establishment’s record keeping procedures match the “Retention Period” column
and check each record/document for the required information listed under the
record/document name as denoted by “a, b, c.”

The inspector should make every effort to collect sufficient evidence of pesticide/device sale
and/or distribution records for the products at the establishment. In many situations one
year’s worth of evidence may be sufficient. Many establishments keep records electronically
and can print out or provide pesticide/device sale and/or distribution records on a CD or
portable USB (memory stick/thumb drive). FIFRA inspectors have the authority to review
electronic records and to request that they be copied and presented in paper form. If paper
copies of electronic records cannot be generated at the time of the inspection, the inspector
must note on the Receipt for Samples and/or Statement form the records requested to be
sent to EPA as a follow-up to the inspection. The inspector shall specify the date by which
EPA should receive the requested records. Provide mailing instructions to the establishment.

                           CONFIDENTIAL BUSINESS INFORMATION

See Chapter 1, “General Information” and Chapter 16, “Inspection Reports and Supporting
Documentation.” Some records obtained during establishment inspections may be claimed
Chapter 9                                                                               Page 10


                                                                                                 AR0000201
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 202 of 739

as FIFRA confidential business information (CBI). If the owner, operator or agent in charge of
the establishment declares certain records as FIFRA CBI, the inspector must follow the
procedures in Chapter 1 of this Manual.

                                           SAMPLING

See Chapter 6, “Pesticide Product Sampling.” Prior to sampling:
   •    Determine if the owner or operator in charge wants duplicate samples.
   •    Make a stock survey of all the pesticides/devices in inventory and packaged, labeled
        and released for shipment into the channels of trade.
   •    Inspect all technical or manufacturing use chemicals or registered products, to obtain
        the evidence necessary to determine whether the claims made on the label are in
        compliance with FIFRA. Collect samples for chemistry analysis, as necessary.
During sampling:
   •    Collect physical samples only from pesticides/devices that are packaged, labeled and
        released for shipment.
   •    As an official sample, inspectors may collect “bin labels” for all pesticides/devices that
        the producing establishment is or may be producing or are held in inventory or that
        may have been produced by the establishment within the past two years and may
        exist elsewhere in the channels of trade.
   •    As an official sample for all pesticide products used in the manufacturing process, the
        inspector may collect a documentary sample of the product (photograph of the entire
        label and entire container). Collect records on how, where and from whom the
        establishment obtained each product.

                                    RECEIPT FOR SAMPLES

FIFRA section 9(a)(2) requires the inspector to provide to the owner, operator or agent in
charge of the establishment a receipt for any samples taken during the inspection, describing
the samples obtained and, if requested, to provide a portion of each sample equal in volume
or weight to the portion retained. If an analysis of the samples is made, a copy of the results
must be provided. Carefully complete a Receipt for Samples (EPA Form 3540-3; Exhibit 1-1),
clearly identifying each sample collected by:
   •    Sample number with subsample, if any. An example of a sample number consists of:
        (1) the date (mmddyy); (2) the inspector’s credential number (3) the inspection
        sequence (including sample or subsample numbering (A, B, C, or 001, 002, 003)); (4)
        the inspector’s initials. For example, 01/09/2012-17942-123-001-MP
            o 123 = inspection sequence number
            o 001 = sample or subsample number
            o 17942 = inspector credential number
Chapter 9                                                                                 Page 11


                                                                                                     AR0000202
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 203 of 739

            o 01/09/2012 = date
            o MP = inspector initials
   •    Quantity of pesticide/device collected from a total quantity of product in inventory.
   •    Brand name.
   •    EPA Registration Number.
   •    EPA Establishment Number.
   •    Active ingredient.
   •    Net content.
   •    Batch codes or lot number(s).
   •    Name of registrant, producer, supplemental registrant, distributor or person for
        whom the pesticide/device is produced.
The Receipt for Samples Form must be completed in its entirety and signed by both an
establishment representative and the inspector. A copy of the Receipt for Samples must be
left with the owner, operator or agent in charge of the establishment.

                                        STATEMENTS

It may be necessary to also obtain a statement during an inspection detailing any facts told to
the inspector during the inspection which may be relevant to the inspection and/or
documentation, samples, etc. For example, a statement may be a critical piece of evidence to
establish that a collected label is identical to the label associated with documented sales. Use
Statement Form 3540-42; Exhibit 1-1. The inspector should prepare the statement by
printing or scripting very legibly, describing the facts (as heard) or any relevant points that
were made to the inspector. Upon completion of the statement, the inspector should ask the
owner/operator to read the statement and sign in the appropriate block. If the inspector has
made an incorrect statement on the statement form, the inspector should ask the
owner/operator to put a line through the statement and initial the location. If the
owner/operator refuses to sign the statement, the inspector should note this fact on the
statement form or in the operator’s signature block and the inspector should initial that
block and sign the form in the appropriate inspector signature block. The inspector should
retain the original statement form and a leave copy with the owner/operator at the closing
conference.

                                   CLOSING CONFERENCE

Always hold a closing conference with the establishment representative(s). The conference
can be used to:
   •    Clarify any outstanding issues found during the inspection.



Chapter 9                                                                               Page 12


                                                                                                AR0000203
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 204 of 739

   •    Identify any documentation that was not readily available during the inspection that
        may need to be collected and sent to the EPA-DCO. Items to be provided at a
        specified later date should also be listed on the Receipt for Samples Form, the
        statement form or both. A confirmation letter should also be sent to the
        establishment to reiterate the documents required and the due date for providing the
        documents.
   •    Answer any questions and address any concerns that the owner, operator or agent in
        charge of the establishment may have. The inspector must be careful to answer only
        those questions that are within his/her knowledge and expertise or direct the
        establishment representative(s) to appropriate EPA regional personnel on those
        issues that cannot be readily answered.
   •    Avoid making any statements regarding compliance status or enforcement.

PREPARING THE INSPECTION REPORT

A narrative report or inspection report must be completed for each establishment inspected.
The inspection report should be completed as soon as possible after the inspection. See
Chapter 16, “Inspection Reports and Supporting Documentation.”


             MARKETPLACE ESTABLISHMENT INSPECTIONS

See Exhibit 9-3. In addition to the general objectives of an establishment inspection, the
following objectives are relevant for marketplace inspections:
   •    To detect and obtain samples of any unregistered or misbranded pesticides or devices
        being sold, distributed or marketed to the public.
   •    To determine whether restricted-use pesticides are being sold in accordance with
        FIFRA.
   •    To review labeling, advertising material, as well as accompanying literature, and other
        claims to determine whether any false or misleading claims are being made for the
        product.
   •    To document and/or review the label and any accompanying literature to determine
        if the product is an unregistered pesticide or a misbranded pesticide or device.
   •    To obtain samples of products that were not available for sampling at the producer’s
        establishment.
   •    To follow-up on recalls, stop sales, suspensions and cancellations.
   •    To obtain samples of products subject to deterioration.
   •    To determine whether supplementary FIFRA sections 18 or 24(c) labeling has been
        provided by registrant/producer.


Chapter 9                                                                               Page 13


                                                                                               AR0000204
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 205 of 739

ADDITIONAL INFORMATION FOR MARKETPLACE INSPECTIONS

Once lawful entry has been gained, the inspector should survey the pesticides and devices
being offered for sale as follows:
   •    Review the labels and/or labeling.
   •    Inquire whether there are supplemental FIFRA section 18 or 24(c) labels and whether
        they are provided to those receiving the products. Obtain copies for review.
   •    If a violation is discovered, collect a sample to support findings.
   •    If the label violation is serious enough that it may create a hazard, the regional
        supervisor should be called immediately to discuss the advisability of placing a Stop
        Sale, Use, or Removal Order (SSURO) on the misbranded or unregistered product.
        (See Chapter 14, “Stop Sale, Use or Removal Orders” for instructions on issuing
        SSUROs.)
   •    If a cancelled or suspended product is encountered, this fact should be brought to the
        attention of the inspector’s supervisor, who will determine the appropriate course of
        action.
Photographic evidence should be taken whenever appropriate and possible. Voluntary
corrective actions should be noted in the inspection report.

WHEN TO CONDUCT MARKETPLACE INSPECTIONS

In general, marketplace inspections should be scheduled by seasonal demands. For example,
during the growing season, feed, seed and fertilizer outlets are good sources of agricultural
pesticide products. Spring and summer are good seasons to inspect for swimming pool and
spa products. During the winter months, urban outlets could be surveyed for household
pesticide products. Additionally, such inspections might be triggered at any time by a citizen
complaint or tip.




PLACES TO INSPECT

An inspector must always remain alert to the distribution pattern of pesticides/devices in
his/her area. Both wholesale and retail distributors should be kept under surveillance to be
sure that only registered and properly labeled pesticides and devices are being sold. The
following lists some suggested distribution points for inspecting pesticides and devices:
   •    Animal health and veterinarian suppliers.
   •    Veterinarians.
   •    Hardware stores.
   •    Barber and beauty supply dealers.
Chapter 9                                                                               Page 14


                                                                                                 AR0000205
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 206 of 739

   •    Chemical suppliers.
   •    Dairy equipment supply dealers.
   •    Medical and dental suppliers.
   •    Feed, seed and fertilizer dealers.
   •    Hotel and restaurant suppliers.
   •    Janitorial supply dealers.
   •    Paint dealers.
   •    Pest control operations.
   •    Swimming pool, spa and waterbed dealers.
   •    Retail and wholesale grocers.
   •    Lawn and garden supply dealers.
   •    Retail outlets, including “big box stores.”
Additional leads to new sources of unregistered pesticides include the following:
   •    Dealers (question dealer regarding others in the same business).
   •    Local newspaper advertisements.
   •    Trade journals.
   •    Yellow Pages telephone directories.
   •    Information from state officials.
   •    E-commerce (internet samples).
   •    Pool shooters (see below).
   •    Marine Supply stores/warehouses.
Note: Antimicrobials, treated articles, pet products, swimming pool and pond products,
paints, etc., are excellent products for review in addition to typical farm, home, and garden
pesticides.

                                WHAT IS A “POOL SHOOTER”?

A “pool shooter” is an individual or company who, as part of its business, obtains large bulk
quantities of swimming pool chemicals to treat residential and commercial pools. Pool
shooters fill their application equipment from bulk container(s) of pesticide, and then apply
the pesticide directly to pools or into dispensing or metering equipment for later use by pool
staff. In this instance the container on the vehicle of the pool company vehicle is known as a
“service container.” Inspectors that encounter pool shooters should pay special attention to
container/containment regulations, proper handling and use, and pesticide label directions
to ensure that the chemicals are being used properly and that the pesticides used are labeled

Chapter 9                                                                              Page 15


                                                                                                 AR0000206
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 207 of 739

properly and registered for use in pools. It should also be noted that although the pool
shooter is not considered a producing establishment, if the pool shooter obtains its
swimming pool chemicals by a bulk delivery to its facility or by having its own tank truck or
other bulk container filled at a distributor facility, the facility from which it obtains its product
must be registered as an EPA pesticide producing establishment and must comply with the
FIFRA section 7 reporting requirements for this bulk repackaging/product transfer activity.
Inspectors should verify the registered status of the pool shooter supplier facility.

PESTICIDE PRODUCT REVIEW

   •    Note any products requiring child resistant packaging (CRP). CRP requirements are
        found at 40 C.F.R. Part 157. Whether a particular pesticide must comply with these
        requirements is determined at registration. The inspector needs to determine if the
        registration requires compliance with CRP. If the registration requires compliance
        with CRP, the inspector should check for proper packaging.
   •    Note and document any canceled/suspended pesticides.
   •    Observe products for leaking containers.
   •    Note security/safety of restricted use pesticides in storage.

SHIPPING RECORDS

Inspectors should follow the same procedures for marketplace inspections as for
establishment inspections and should collect pesticide/device sale and/or distribution
records, including shipping records, manifests and invoices, to document movement in the
channels of trade. Document the product back to the distributor and/or producer of the
product. Make every effort to document sufficient (one year) sales and distribution records
for each suspected violative product. If only computer-generated records are available, these
should be collected by the inspector. If actual records are unavailable, document this fact in a
statement form signed by the agent-in-charge with an explanation of where the records are
and how they can be obtained. Clearly convey the nature of records, the time frame of
records and deadlines by which the records must be provided.
In some large chain stores or big-box stores, it may be difficult to obtain records. However,
records linking the product back to a distribution center may still be obtained. If the
distribution location is not within the region or state, the inspector may need to work closely
with an inspector in the other region or state to have that inspector obtain the needed
records, tracking back to the production of the product. Ensure that this is documented
completely in the inspection report and also in the field notebook.
Once the inspector has obtained records linking the product back to a distribution center, it
is then necessary to go to the distribution center to obtain documentation linking the
product back to the producing establishment. This may require cooperation with other
regions or other states.


Chapter 9                                                                                   Page 16


                                                                                                    AR0000207
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 208 of 739


                        BULK REPACKAGER INSPECTIONS

With the growing trend for pesticides to be shipped and held in bulk quantities, inspectors
may inspect establishments that handle bulk pesticides. Most bulk establishments handle
agricultural herbicides; however, other industries use bulk quantities of chemicals such as
sodium hypochlorite and quaternary ammonium disinfectants. In some cases (certain
herbicides) a bulk amount could be a very small quantity. In addition to the general
objectives of an establishment inspection, the following objectives are relevant for bulk
repackager inspections:
   •    Ensure industry awareness of its obligations for packaging, labeling and
        recordkeeping.
   •    Document any potential violations.
   •    Verify evidence necessary to determine compliance with the container/containment
        regulations.
   •    Verify evidence necessary to determine compliance with annual production reporting
        requirements of section 7 of FIFRA.
If the facility receives bulk quantities of pesticides intended to be dispensed into a
customer’s spray tank for subsequent use, the inspection should proceed as a marketplace
inspection. If the facility receives pesticides in bulk quantities (under contract to the basic
registrant) and subsequently repackages the product (without alteration) into other labeled
tanks for the purpose of distribution, the inspection should proceed as a producer
establishment inspection.
Particular items to check at a bulk site include, but may not be limited to, the following:
   •    Labels on all bulk storage tanks.
   •    If the firm is repackaging, verify that there is a manufacturing contract between the
        firm and the basic registrant that authorizes the firm to repackage the product.
        Obtain a copy of this record.
   •    Conduct a label review in accordance with Exhibit 9-4.
   •    Take samples, as appropriate, in accordance with established procedures in Chapter
        6.
   •    Review sales invoices to verify if transfer is occurring in bulk quantities.
   •    If any production activities are taking place (i.e., labeling, relabeling, packaging,
        repackaging, producing, or otherwise changing the container of the pesticide or
        device) verify that the establishment is registered with EPA and that production
        reports are accurate.
For berms, pads, and other containment structures:
   •    Ascertain whether there is information on the construction of the containment(s).


Chapter 9                                                                                  Page 17


                                                                                                  AR0000208
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 209 of 739

   •    Check, observe and note in the inspection report the conditions of containment(s).
        Document any problems with containment(s).
   •    Conduct a capacity verification for each containment to ensure that it meets the
        capacity and the regulations at 40 C.F.R. 165.
For containers:
   •    Visually inspect containers.
   •    Obtain records for the testing of each refillable container and each container’s
        specific identifying number.
   •    Obtain records for cleaning and residue removal of each container prior to refilling.
   •    Obtain records of any containers removed from service.
   •    Labeling of containers—Does the registrant of the product provide the
        refiller/repackager with container labels for each product produced/refilled?
   •    The Compliance Strategy for Containers and Containment, the Pesticide Container
        Inspection Checklist and Pesticide Container-Containment Inspection Checklist




Chapter 9                                                                                  Page 18


                                                                                                 AR0000209
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 210 of 739


          EXHIBIT 9-1: PRODUCER ESTABLISHMENT INSPECTION
                             CHECKLIST

                                  May be used as an inspection tool.

Firm Inspected: ______________________________________________________________

EPA Establishment Number: ____________________________________________________

Authorized Representative: _____________________________________________________

Address: ____________________________________________________________________

City: _______________________           State: _____________           Zip: ______________

Telephone Number: ___________________________________________________________

Credentials Presented: ________________________________________________________

Notice of Inspection Issued: ____________________________________________________

Reason for Inspection: _________________________________________________________

Violation Suspected: __________________________________________________________

     •    Names, Titles and Telephone Numbers of Principal Officers, Partners or Owners: __________

          _____________________________________________________________________

     •    Related Firms and Addresses of Said Companies: _____________________________
          _____________________________________________________________________

PESTICIDE/DEVICE LABEL, LABELING AND PACKAGING INSPECTION

Pesticides Packaged, Labeled and Released for Shipment/FIFRA section 9(a)

1.        Brand Name(s): _________________________________________________________
2.        EPA Registration Number(s): ______________________________________________
3.        Label and Labeling Review/40 C.F.R. 156: ________________________________



Chapter 9                                                                                   Page 19


                                                                                                      AR0000210
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 211 of 739

Child-Resistant Packaging Requirements for Each Pesticide Product Packaged, Labeled and
Released For Shipment/40 C.F.R. 157

1.     Criteria Requiring Child-Resistant Packaging: _________________________________
2.     Unit Packaging: ________________________________________________________
RECORDS RETENTION REQUIREMENTS FOR PESTICIDE PRODUCTION

Records of Production of Pesticides/40 C.F.R. 169.2(a)

1.     Brand Name: __________________________________________________________
2.     EPA Registration Number/Experimental-Use Permit Number: ___________________
3.     Amounts Produced per Batch:* ____________________________________________
4.     Batch Identification: ____________________________________________________
5.     Length of Retention of Records: ___________________________________________
Records of Production of Devices/40 C.F.R. 169.2(b)

1.     Brand Name: __________________________________________________________
2.     Quantities of Device(s) Produced:* _________________________________________
Records of Receipt of Pesticides, Devices and Active Ingredients/40 C.F.R. 169.2(c)

1.     Brand Name of Pesticide, Device or Common or Chemical Name of Active Ingredient:
       _____________________________________________________________________

2.     Name and Address of Shipper: ____________________________________________
3.     Name of Delivering Carrier: _______________________________________________
4.     Date Received by Establishment: __________________________________________
5.     Quantities Received: ____________________________________________________
6.     Retention of Records: ___________________________________________________
Records of Shipment of Pesticides and Active Ingredient/40 C.F.R. 169.2(d)

1.     Brand Name of Pesticide, or Common or Chemical Name of Active Ingredient: ______
       _____________________________________________________________________

2.     Name and Address of Consignee: __________________________________________
3.     Where the Pesticide Under a FIFRA Section 5 Permit, Section 18 Exemption or section
       24(c) Registration is/was Produced: ________________________________________
Chapter 9                                                                             Page 20


                                                                                             AR0000211
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 212 of 739

4.     Name of Originating Carrier: ______________________________________________
5.     Date Shipped or Delivered for Shipment: ____________________________________
6.     Quantities Shipped or Delivered for Shipment: _______________________________
7.     Retention of Records: ___________________________________________________
Other Records/40 C.F.R. 169.2

1.     Inventory Records: ______________________________________________________
2.     Copies of All Domestic Advertising of the Restricted Uses of Any Pesticide Registered
       for Restricted Use: ______________________________________________________
       Retention of Records: ___________________________________________________

3.     Copies of Guarantees Given Pursuant to FIFRA section 12(b)(1): __________________
       Retention of Records: ___________________________________________________

4.     Records on the Method of Disposal, Dates of Disposal, Location of the Disposal
       Site(s), and the Types and Amounts of Pesticides, Device or Active Ingredients
       Disposed of by the Producer/Contractor:
       ___________________________________

5.     FIFRA Records: ________________________________________________________
       Retention of Records: ___________________________________________________

6.     RCRA Records: _________________________________________________________
Records Retention Requirements of Child Resistant Packaging/40 C.F.R. 157.36

1.     Description of the Packaging for Each Registration: ____________________________
2.     Certification Statement for Each Registration: ________________________________
3.     Test Data Verification of Child Resistance for Each Registration: __________________
4.     Records Verifying that the Packaging Meets the Compatibility and Durability
       Standards: ____________________________________________________________
Records Requirements under the Pesticide Export Policy/40 C.F.R. 168, Subpart D

1.     Confidential Statement of Formula for Pesticides Not Registered Under FIFRA:* _____
2.     Specifications or Directions of the Foreign Purchaser: __________________________
3.     Bilingual Labeling and Other Required Labeling: ______________________________
Chapter 9                                                                             Page 21


                                                                                               AR0000212
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 213 of 739

4.      Foreign Purchaser Acknowledgment Statements: _____________________________
5.      Establishment/Foreign Purchaser Contracts: ________________________________

RECORDS REPORTING REQUIREMENTS FOR REGISTRANTS/ PESTICIDE
PRODUCING ESTABLISHMENTS

1.      Application for Amended Registration/40 C.F.R. 152.44: __________________
2.      Modifications to Registration Not Requiring Amended Applications/40 C.F.R. 152.46:
        _______________________________________________________________
3.      Currency of Address of Record and Authorized Agent/40 C.F.R. 152.122:
        _____________________________________________________________________
4.      Submission of Information Pertaining to Adverse Effects/FIFRA section 6(a)(2), 40
        C.F.R. 152.125, and 153, Subpart D: ___________________________________
5.      Supplemental Distribution/40 C.F.R. 152.132: __________________________
6.      Transfer of Registration(s)/40 C.F.R. 152.135: ___________________________
7.      Initial Production Reports/Section 7(c) and 40 C.F.R. 167:* ___________________
8.      Annual Production Reports / Section 7(c) and 40 C.F.R. 167:*___________________
9.      Notification of Stored Pesticides With Canceled or Suspended Registrations/FIFRA
        section 6(g): ___________________________________________________________
POLICY ON BULK PESTICIDE REPACKAGING

1.      Bulk Repackaging/Contract Bulk Repackaging Agreements: ____________________
2.      Complete End-Use Labeling/Bulk Containers: ________________________________
3.      Complete End-Use Labeling/Mini-Bulk Containers: ___________________________

ADDITIONAL INFORMATION
1.      Private Labeling by a Contractor: __________________________________________
2.      Private Labeling Under Contract for Another Registrant/Distributor: ______________
3.      Contract Manufacturing Agreements: _____________________________________

TECHNICAL OR MANUFACTURING USE PESTICIDES OR CHEMICALS

1. Ensure that products that require registration have the appropriate EPA Registration
     Number, EPA Establishment Number and proper labeling.

Chapter 9                                                                             Page 22


                                                                                             AR0000213
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 214 of 739

2. Collect invoices, shipping records, bills of lading manifests, and common carrier records
    that pertain to each technical or manufacturing use product.
3. Collect any contract manufacturing agreements where the establishment is producing a
    pesticide from another firm, etc. (e.g., supplemental distributor, supplementally
    registered product, distributor product).

(*) – Note – This is CBI information which can only be viewed by federal inspectors.




Chapter 9                                                                               Page 23


                                                                                               AR0000214
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 215 of 739


          EXHIBIT 9-2: MARKETPLACE INSPECTION CHECKLIST

                                       May be used as an inspection tool

Firm Inspected: ________________________________________________________________

Authorized Representative: _______________________________________________________

Address: ______________________________________________________________________

City: ______________________________         State: _____________   Zip: ______________

Telephone Number: _____________________________________________________________

Credentials Presented: ___________________________________________________________

Notice of Inspection Issued: ______________________________________________________

Reason for Inspection: ___________________________________________________________

Violation Suspected: ____________________________________________________________

    •    Names, Titles and Telephone Numbers of Principal Officers, Partners or Owners: ______
         ________________________________________________________________________

    •    Related Firms and Site Addresses of Said Companies: ___________________________
         _______________________________________________________________________

PESTICIDE LABEL, DEVICE LABEL, LABELING, AND PACKAGING INSPECTION

Pesticides Packaged, Labeled and Released for Shipment/FIFRA section 9(a)

         1.      Brand Name(s): ____________________________________________________

         2.      EPA Registration Number(s): _________________________________________

         3.      Label and Labeling Review/40 C.F.R. 156: ___________________________

Child-Resistant Packaging Requirements for Each Pesticide Product Packaged, Labeled and
Distributed-Sold/40 C.F.R. 157

         1.      Criteria Requiring Child-Resistant Packaging: ____________________________


Chapter 9                                                                                  Page 24


                                                                                                 AR0000215
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 216 of 739

       2.       Unit Packaging: ____________________________________________________

Records of Shipment of Pesticides, Devices and Active Ingredients/40 C.F.R. 169.3

       1.       Brand Name of Pesticide or Device: ________________________________________

       2.       Name of Originating Carrier: ______________________________________________

       3.       Date Shipped or Delivered for Shipment: _______________________________________________

       4.       Quantities Shipped or Delivered for Shipment: _______________________________

       5.       Bill of Lading, shipping records, invoices, etc.: ________________________________

Other Records

       1.       Copies of All Domestic Advertising of Pesticide/40 C.F.R. 168.22: ________________
       2.       Copies of Guarantees Given Pursuant to FIFRA section 12(b)(1): __________________




Chapter 9                                                                                       Page 25


                                                                                                          AR0000216
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 217 of 739


 EXHIBIT 9-3: FORMAT FOR ANY ESTABLISHMENT INSPECTION
                        REPORT



            Report on Establishment Inspection to Determine Compliance with FIFRA




                                   Establishment Name
                                       Street Address
                                [Mailing Address if different]
                                    City, State Zip Code




                                     Date of Inspection
                                     Month Day, Year




                                         Performed by:
                            U.S. Environmental Protection Agency
                                    Office/Division/Branch
                                             Address
                                      City, State Zip Code
                            FIFRA Establishment Inspection Report
                                 [Inspection No. 01FIFRA ___]




Chapter 9                                                                           Page 26


                                                                                          AR0000217
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 218 of 739

I.        Company Information
          A.     Company Name
          B.     Establishment Registration Number
          C.     Responsible Official
          D.     Type of Ownership

II.       Date of Inspection
III.      Participants
          A.     Company
          B.     U.S. EPA/State

IV.       Objectives
       To inspect/investigate ... the Federal Insecticide, Fungicide and Rodenticide Act
(FIFRA).
V.        Company Background
VI.       Inspection Summary
          A.     Opening Conference
          B.     Inspection Observations and Sample Collection
          C.     Closing Conference

VII.      Attachments
          A.     Establishment Inspection Report Form
          B.     FIFRA Notice of Inspection
          C.     FIFRA Receipt for Samples
          D.     EPA Chain of Custody
          E.     Statements
          F.     Labeling
          G.     Sample Reports of Analysis
          H.     Photographs
          I.     Diagrams


(Inspector’s Signature)                      (Date)
(Inspector’s Name)
(Title)
EPA region, state or tribal affiliation




Chapter 9                                                                              Page 27


                                                                                             AR0000218
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 219 of 739


      EXHIBIT 9-4: CONDUCTING THE LABELING REVIEW FOR
           PRODUCER ESTABLISHMENT INSPECTIONS

When conducting a producer establishment inspection, a word-for-word comparison with the
registered label, when available, should be made of all labels being reviewed. The inspector
should ascertain compliance with all stipulations of the letter of acceptance.
The inspector may perform label comparisons to “bin” labels. Official samples may only be
collected from the products that are packaged, labeled and released for shipment. However,
a “bin” labeling review can provide a valuable background for follow-up sampling at
consignees and obtaining voluntary corrective action at the producer level. Copies of all “bin
labels” should be collected as documentary evidence (“DOC”) and identified on the Receipt
for Samples Form. Additionally, a Statement Form (EPA Form 3540-42), signed by the
company official, should be obtained to link the “bin label” to the actual labeled product or
specific batches of product previously produced, sold or distributed.
Establishment Inspections (Marketplace, Producer, Dealer, Bulk Facility, etc.)
When conducting a basic label review, the inspector should be aware of labeling
requirements and be alert for products that may be violative. The following paragraphs list
some of the things an inspector should be aware of:
Product name, brand or trademark.
Name of manufacturer, registrant or person for whom manufactured—If the product is not
produced by the registrant, the name must be qualified by “packed for...,” “distributed by...,”
“sold by...,” or a similar statement.
EPA Registration Number—The EPA Registration Number may be listed as “EPA Registration
No. XXXX-XX,” “EPA Reg. No. XXXX-XX,” or “EPA Reg. No. XXX-XX-YYYY.” (The “YYYY” is the
supplemental registrant’s company number.)
EPA Establishment Number—The EPA Establishment Number may appear in any location on
the label or immediate container; however, it must appear on the outside container or
wrapper of the package if the EPA Establishment Number on the immediate container cannot
be clearly read through the outside wrapper or container. It must be listed as “EPA Est. XXXX-
(state abbreviation)-XX,” or “EPA EST NO. XXXX (state abbreviation)-XXX”; EPA Est. XXXX-XXX
(foreign abbreviation).
Net content statement—The net contents must be given in units commonly used in the
United States (i.e., pounds, ounces, pints, quarts, gallons). Metric units may also be listed.
Liquid units must be used if the product is liquid and weight units must be used if the product
is solid, semisolid or viscous. Contents must be expressed in terms of the largest unit present.
Ingredient statement—The ingredient statement usually appears on the front panel. The
names used for each ingredient shall be the accepted common name, if there is one,
followed by the chemical name. Ingredients should total 100%. The common name may be
used alone if it is well known.


Chapter 9                                                                               Page 28


                                                                                                  AR0000219
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 220 of 739

       NOTE: The ingredient statements for products containing arsenic must have a
       substatement giving the percentage of total and water-soluble arsenic, each
       calculated as elemental arsenic.
Warning or citation statements—The signal words, “Danger,” “Warning” or “Caution” and
the statement “KEEP OUT OF THE REACH OF CHILDREN” must appear on the front panel of
the label. Any substances in quantities highly toxic to humans must bear all of the following
on the label: (1) a skull and crossbones; (2) the word “POISON” in red on a contrasting
background; and (3) a statement of practical treatment. In addition, the label must contain
precautionary statements necessary to prevent injury to humans and the environment.
Directions for use—Directions for using the product must include the following: (1) the site
of application; (2) the rate of application; (3) instructions for frequency and timing
applications; (4) restrictions and warnings; (5) any other pertinent information necessary for
the protection of the public; and (6) target pest.
Legibility of labeling—Product labeling must be clearly legible and easy to read by a person
with normal vision. All required label or labeling text shall appear in the English language.
However, the Agency may require or the applicant may propose additional text in other
languages as is considered necessary to protect the public. When additional text is necessary,
all labeling requirements will be applied equally to both the English and other language
versions of the labeling.
Statement of use classification—All restricted use products (RUPs) must have the RUP
statement on the top center of the label.
If a review of “bin” labels, for which there is no product packaged, labeled, and released for
shipment, reveals a discrepancy, it should be brought to the attention of the producer
establishment management. Names and addresses of the consignees of the misbranded
product should be obtained to follow up the investigation and collect samples of the product.
The inspector should collect labels, samples, and take photographs of all products found with
potential violations. The inspector should exercise care in obtaining the proper shipping
records such as the sale and distribution records associated with the actual or potential
labeling violations.
If the inspector discovers a serious violation that may require immediate action, he/she
should call his/her EPA supervisor while still in the vicinity of the establishment to determine
what follow-up might be necessary to address the violation.
Accompanying labeling—Copies of accompanying labeling initialed and dated by a
responsible company representative should be collected and documented.
When violative labeling is collected, it should be documented with a statement signed by a
responsible individual of the firm, which clearly states that relationship of the labeling to the
goods including the following:
Description of labeling—Describe briefly each piece of literature by name and also the
manner in which the literature was received. State the quantity of such labeling on hand.

Chapter 9                                                                                 Page 29


                                                                                                    AR0000220
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 221 of 739

Location of labeling—Report the location of each piece of literature and how much each is
on hand.
Methods of distribution—Determine how the labeling is distributed (i.e., accompanied
product, shipped under separate cover).
Source of Labeling—Was the labeling sent to the dealer by the shipper of the product or was
it prepared by the dealer? If received from the shipper of the product, document the
shipment of the labeling. If prepared by the dealer, determine whether the producer
provided the test.
Instructions to dealer—The manufacturer or shipper sometimes provides sales promotion
instructions to the dealer. Obtain copies of such instructions, if available, as well as any
verbal instructions on how to use them.




Chapter 9                                                                              Page 30


                                                                                               AR0000221
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 222 of 739


 EXHIBIT 9-5: BOOKS AND RECORDS MAINTENANCE AND RETENTION—
               PRODUCER ESTABLISHMENT INSPECTION

Establishment: _____________________________ Inspection Date: ___________________
                                                                                   Maintained?   Retention
                    Records/Documents                                  40 C.F.R.
                                                                                   Yes    No      Period
 1. Pesticide Production (batch)                                      169.2(a)                   2 years
        a.   Product name
        b.   EPA reg. no. or EUP no.
        c.   Amount per batch & batch identification number
 2. Device Production                                                 169.2(b)                   2 years
        a.   Brand name
        b.   Quantity produced
 3. Receiving                                                         169.2(c)                   2 years
        a.   Brand name of the pesticide or device, or common or
             chemical name of the active ingredient
        b.   Name and address of shipper
        c.   Name of delivering carrier
        d.   Date received
        e.   Quantities received
 4. Shipping                                                          169.2(d)                   2 years
        a.   Brand name of the pesticide or device, or common or
             chemical name of the active ingredient
        b.   Name and address of consignee
        c.   Where the pesticide is produced under an EUP,
             special exemption or special local need
        d.   Name of originating carrier
        e.   Date shipped or delivered for shipment
        f.   Quantities shipped or delivered for shipment
 5. Inventory                                                         169.2(e)                   replace by
        a.   Types and amounts of pesticide or active ingredients                                current
        b.   Quantities of device in stock
                                                                                                 inventory
 6. Advertising for RUPs                                              169.2(f)                   2 years
        a.   Copies of all domestic advertising for RUPs to include
             any advertising the producer has prepared, including
             any radio or TV scripts for such products
 7. Guarantee                                                         169.2(g)                   1 year after
        a.   Copies of all guarantees given pursuant to FIFRA                                    expiration
             §12(a)(2)(C)




Chapter 9                                                                                               Page 31


                                                                                                           AR0000222
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 223 of 739


 8. Export                                                              169.2(h)                       2 years
          a.   Copies of the specification or directions for the                                       after
               foreign purchaser for production of pesticide, device    168.75(c)(3)
                                                                                                       expiration
               or active ingredient
                                                                        168.85(a)                      of contract
          b.   Copies of product labels and labeling
          c.   Copies of signed foreign purchase acknowledgement
               statements
          d.   Copies of instructions provided to foreign purchasers
          e.   Copies of exporter certification
          f.   Identity of coded research products




 9. Disposal                                                            169.2(i)                       20 years2
          a.   Method of disposal
          b.   Dates of disposal
          c.   Location of disposal sites
          d.   Types of pesticides and active ingredient disposed of
          e.   Pesticide container statement
          f.   Deviation from normal practice
 10. Tests on Humans                                                    169.2(j)                       20 years
          a.   Names and addresses of subject tested
          b.   Dates and types
          c.   Written consent of subjects to test
          d.   Information and instructions given subjects
          e.   Adverse effects
 11. Research Data                                                      169.2(k)                       Permanent
          a.   All raw data, interpretations, evaluations and reports                                  while
               supporting a product registration or tolerance
                                                                                                       registration
               petition
                                                                                                       is valid &
                                                                                                       producer is
                                                                                                       in business
 12. Child Safe Packaging                                               157.36                         as long as
          a.   Description of packaging                                                                registration
          b.   Certification statements
                                                                                                       is in effect
          c.   Test data verification
          d.   Verification of compatibility & durability of package
Comments:




Inspector Signature: _____________________________________________ Date:____________________________




2 May be sent to EPA for maintenance after 3 years



Chapter 9                                                                                                     Page 32


                                                                                                               AR0000223
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 224 of 739


    EXHIBIT 9-6: PESTICIDE CONTAINER-CONTAINMENT INSPECTION
                             CHECKLIST




Chapter 9                                                                     Page 33


                                                                               AR0000224
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 225 of 739




Chapter 9                                                                     Page 34


                                                                               AR0000225
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 226 of 739




Chapter 9                                                                     Page 35


                                                                               AR0000226
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 227 of 739




Chapter 9                                                                     Page 36


                                                                               AR0000227
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 228 of 739




Chapter 9                                                                     Page 37


                                                                               AR0000228
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 229 of 739




Chapter 9                                                                     Page 38


                                                                               AR0000229
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 230 of 739




Chapter 9                                                                     Page 39


                                                                               AR0000230
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 231 of 739




Chapter 9                                                                     Page 40


                                                                               AR0000231
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 232 of 739




Chapter 9                                                                     Page 41


                                                                               AR0000232
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 233 of 739




Chapter 9                                                                     Page 42


                                                                               AR0000233
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 234 of 739




Chapter 9                                                                     Page 43


                                                                               AR0000234
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 235 of 739




Chapter 9                                                                     Page 44


                                                                               AR0000235
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 236 of 739




Chapter 9                                                                     Page 45


                                                                               AR0000236
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 237 of 739




Chapter 9                                                                     Page 46


                                                                               AR0000237
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 238 of 739




Chapter 9                                                                     Page 47


                                                                               AR0000238
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 239 of 739




Chapter 9                                                                     Page 48


                                                                               AR0000239
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 240 of 739




Chapter 9                                                                     Page 49


                                                                               AR0000240
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 241 of 739




Chapter 9                                                                     Page 50


                                                                               AR0000241
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 242 of 739




Chapter 9                                                                     Page 51


                                                                               AR0000242
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 243 of 739




Chapter 9                                                                     Page 52


                                                                               AR0000243
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 244 of 739


    EXHIBIT 9-7: PESTICIDE CONTAINER INSPECTION CHECKLIST FOR
         STATES WITH EQUIVALENT CONTAINMENT PROGRAMS




Chapter 9                                                                     Page 53


                                                                               AR0000244
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 245 of 739




Chapter 9                                                                     Page 54


                                                                               AR0000245
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 246 of 739




Chapter 9                                                                     Page 55


                                                                               AR0000246
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 247 of 739




Chapter 9                                                                     Page 56


                                                                               AR0000247
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 248 of 739




Chapter 9                                                                     Page 57


                                                                               AR0000248
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 249 of 739




Chapter 9                                                                     Page 58


                                                                               AR0000249
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 250 of 739




Chapter 9                                                                     Page 59


                                                                               AR0000250
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 251 of 739




Chapter 9                                                                     Page 60


                                                                               AR0000251
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 252 of 739




Chapter 9                                                                     Page 61


                                                                               AR0000252
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 253 of 739




Chapter 9                                                                     Page 62


                                                                               AR0000253
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 254 of 739




Chapter 9                                                                     Page 63


                                                                               AR0000254
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 255 of 739




Chapter 9                                                                     Page 64


                                                                               AR0000255
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 256 of 739




Chapter 9                                                                     Page 65


                                                                               AR0000256
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 257 of 739




Chapter 9                                                                     Page 66


                                                                               AR0000257
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 258 of 739



                                 CHAPTER TEN
                           EXPERIMENTAL USE PERMIT
                                 INSPECTIONS


                                                                                 CONTENTS

Authority ....................................................................................................................................................................................... 2
Regional EUP Inspection Program ..................................................................................................................................... 2
Conducting the EUP Inspection ........................................................................................................................................ 3
    Adverse Effects ...................................................................................................................................................................... 5
Inspection Report ...................................................................................................................................................................... 5




                                                                                                                                                                                            AR0000258
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 259 of 739




             EXPERIMENTAL USE PERMIT
                   INSPECTIONS

                                        AUTHORITY

FIFRA section 12(a)(2)(H) makes it unlawful for any person to use any pesticide that is under an
experimental use permit (EUP) contrary to the provisions of such permit.
FIFRA section 5 authorizes the Administrator to grant an application for a EUP when it has been
determined that the applicant needs such a permit in order to accumulate information
necessary to register a pesticide. Regulations governing EUPs are found in 40 C.F.R. Part 172.
FIFRA section 5(c) states that use of a pesticide under an EUP shall be under the supervision of
the Administrator and subject to the terms, conditions and periods of time prescribed in the
permit. The permit will authorize EUP inspections.
FIFRA section 5(e) authorizes the Administrator to revoke any EUP, at any time, if he/she finds
that the terms or conditions of the permit are being violated or that the terms or conditions are
inadequate to avoid unreasonable adverse effects on the environment as that term is defined
by FIFRA.
The Office of Pesticide Programs (OPP), Registration Divisions (Antimicrobial Division,
Biopesticides and Pollution Prevention Division, and the Registration Division) review EUP
applications and issue the EUP permit. OPP also has the authority to modify or revoke an EUP
permit.
OPP will furnish a copy of each EUP, the accepted label, names of the participants, and terms of
the program to the region where the pesticide testing will occur.
A state may issue EUPs (40 C.F.R. §§172.20 through 172.26). However, tribes may not issue
EUPs.


                    REGIONAL EUP INSPECTION PROGRAM

The objectives of FIFRA section 5 inspections are to (1) determine whether the terms and
conditions of the permit are adequate to avoid unreasonable adverse effects on the
environment and (2) determine whether the terms and conditions of the permit are being met.
Each regional office is responsible for the supervision of the experimental uses conducted in its
region. State agencies participating in cooperative enforcement agreements may conduct EUP
inspections on behalf of EPA consistent with the procedures in this Manual. Procedures will be
the same as for EPA unless modified by grant agreements or regional policy.

Chapter 10                                                                                 Page 2



                                                                                               AR0000259
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 260 of 739




Each regional office will establish its own inspection schedule based on the following list of
priorities:
   •    EUPs for pesticides that are completely new classes of compounds (e.g., juvenile
        hormones).
   •    EUPs for chemicals with special potential hazards to humans or the environment, such
        as:
             o Highly toxic products.
             o Products with propensity to drift.
             o Products with high terrestrial or aquatic mobility.
             o Products of a particularly persistent nature.
   •    EUPs for chemicals with previously registered uses that were subject to adverse action
        by EPA.
   •    EUPs for chemicals manufactured by companies that have a history of noncompliance,
        inadequate supervision or other indications of problems.
   •    EUPs for those chemicals that may potentially have a widespread major use (e.g.,
        chemicals that will replace a major pesticide that has been canceled by the Agency).
   •    Any other EUPs for which OPP or OECA has requested special information or monitoring.


                       CONDUCTING THE EUP INSPECTION

The inspector must obtain and review a copy of the specific EUP and its accepted label.
Specifically, the inspector should ensure that all unregistered pesticides, shipped or used as
part of a EUP, have a label with the following elements:
   •    The prominent statement, “For Experimental Use Only”;
   •    The Experimental Use Permit number;
   •    The statement, “Not for sale to any person other than a participant or cooperator of the
        EPA-approved Experimental Use Program”;
   •    The name, brand or trademark;
   •    The name and address of the permittee, producer or registrant;
   •    The net contents;
   •    An ingredient statement;
   •    Warning or caution statements;

Chapter 10                                                                                  Page 3



                                                                                                 AR0000260
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 261 of 739




   •    Any appropriate limitations on entry of persons into treated areas;
   •    The EPA Establishment Number, except in those cases where application of the pesticide
        is made solely by the producer; and
   •    The directions for use, except that the Administrator may approve the use of the
        experimental program as labeling provided that such program is to be distributed with
        the product.
If a registered pesticide is shipped or used as part of an EUP, the product should either bear the
EPA accepted label, or a supplemental label that EPA approved specifically for use in the EUP.
Inspectors should document the pesticide labels and include in the inspection report both the
EPA accepted labels and the labels in use at the EUP site, so EPA can verify that the permit
holder is in compliance with FIFRA.
In addition, the FIFRA inspector should verify that the EUP terms, such as the total acreage and
use site, match the actual acreage and use site of the EUP. Any variation between what the
EUP allows and what is occurring at the EUP site may be a FIFRA violation and should be
documented in the inspection report.
The following items must be checked for compliance with the EUP provisions in addition to any
specific instructions issued by the regional office:
   •    The pesticide label and labeling in use at the EUP site must be the same as the EUP
        accepted label and labeling (see above for the required elements of an EUP label).
   •    The products must be applied in accordance with the EUP accepted label directions and
        precautions, and within the terms of the permit.
   •    If testing activities are taking place, such activities must be supervised by a
        representative of the permittee.
   •    The inspector should check for evidence of adverse effects (e.g., worker complaints,
        signs of plant/crop damage from the application of non-herbicides, etc. See list below.).
   •    If evidence of adverse effects is observed, the inspector should ask for documentation
        to prove that EPA headquarters has been notified of this adverse effect.
   •    The amount of pesticide sold or provided must be consistent with the amount in the
        EUP.
   •    The quantities of product shipped and/or received must be consistent with the
        quantities in the EUP and the shipments must have been made to designated
        participants only.
   •    Food or feed that is not covered by a tolerance must be disposed of in accordance with
        the EUP.


Chapter 10                                                                                  Page 4



                                                                                               AR0000261
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 262 of 739




   •    Unused pesticide must be disposed of in accordance with EUP instructions.
In certain instances, follow-up inspections may be required to verify crop rotation, crop
destruction, grazing restrictions, etc.

ADVERSE EFFECTS

The following adverse effects must be documented and reported to EPA:
   •    Accidents observed or claimed.
   •    Non-target animal or bee kills (domestic or wild).
   •    Phytotoxicity to non-target plants (in or out of the target site).
   •    Unique problems with handling, preparing, mixing or applying the pesticide.
   •    Other complaints.


                                   INSPECTION REPORT

See Chapter 16, “Inspection Reports and Supporting Documentation.” If follow-up inspections
are required to verify crop rotation, crop destruction, grazing restrictions, or other practices,
the inspector should note this in the report and submit additional reports for each follow-up
inspection.
The inspector should document any discrepancies between the EUP terms and the actual
conditions of the EUP site and include evidence of any potential violation (such as photographs,
statements, documentation and samples) in the inspection report. Since EUPs may involve
experimental and/or toxic products, the inspector must immediately report any suspected
violation to the EPA regional office and should expedite the preparation of the EUP inspection
report.
The inspector must submit a written report to EPA where the inspection was conducted by the
state.




Chapter 10                                                                                  Page 5



                                                                                               AR0000262
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 263 of 739



                         CHAPTER ELEVEN
                    RESTRICTED-USE PESTICIDES:
                      DEALER AND APPLICATOR
                       RECORDS INSPECTIONS

                                                                                 CONTENTS

Statutory Authority ................................................................................................................................................................... 2
Objectives...................................................................................................................................................................................... 2
Inspection Procedures ............................................................................................................................................................. 3
    RUP Dealer Inspection ........................................................................................................................................................ 3
    RUP Applicator Inspection ................................................................................................................................................ 4




                                                                                                                                                                                           AR0000263
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 264 of 739




 RESTRICTED-USE PESTICIDES: DEALER
     AND APPLICATOR RECORDS
           INSPECTIONS

                                STATUTORY AUTHORITY

FIFRA section 11 and 40 C.F.R. Part 171 (see, in particular, 171.11(g)) require dealers and
commercial applicators to maintain records of sales, distribution and application of restricted-
use pesticides (RUPs).
FIFRA section 8(b) states that any producer, distributor, carrier or dealer shall furnish, upon
request of any officer or employee of EPA, all records showing the delivery, movement or
holding of pesticides.
FIFRA section 12(a)(2)(F) states that it shall be unlawful for any person to distribute or sell, or to
make available for use, or to use, any registered pesticide classified for restricted use for some
or all purposes other than in accordance with FIFRA section 3(d) and any regulation thereunder,
except that it shall not be unlawful to sell, under regulations issued by the Administrator, a
restricted use pesticide to a person who is not a certified applicator for application by a certified
applicator.


                                          OBJECTIVES

The restricted use pesticide (RUP) classification restricts a product, or its uses, to use by a
certified pesticide applicator or under the direct supervision of a certified applicator. Because
RUPs may be applied only by or under the direct supervision of trained and certified applicators,
inspectors should review Chapter 8, “Use Inspections,” and Chapter 9, “Establishment
Inspections” to become familiar with records maintained by retail dealers and commercial
applicators that distribute and/or use RUPs. When inspecting facilities that use, produce, sell or
distribute RUPs, the inspector should review these records to establish:
    •    Compliance with FIFRA record keeping requirements regarding sales, distribution and
         application of RUPs.
    •    That RUPs are sold only to certified applicators or non-certified persons for application
         by a certified applicator who is specifically certified for the use of the particular RUP.
This chapter provides direction for inspections conducted under federal authority in states and
in Indian country. Under 40 C.F.R. Part 171, EPA may approve state and tribal plans for
certification of applicators of restricted use pesticides. Federal inspectors can, under the
Chapter 11                                                                                     Page 2




                                                                                                   AR0000264
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 265 of 739



authority of FIFRA section 8(b), conduct dealer record inspections in states and Indian country
that have EPA-approved plans for the certification of RUP applicators under 40 C.F.R. Part 171.
Since many state and tribal pesticide laws and regulations, including those pertaining to record
keeping, may be more extensive than federal requirements, federal inspectors should familiarize
themselves with the state or tribe’s pesticide laws and regulations prior to conducting these
inspections. In cases where state or tribal violations are documented, the inspection file and
inspection report must be forwarded to the respective state or tribe for follow-up and/or or
enforcement action.


                              INSPECTION PROCEDURES

The inspector should follow the procedures outlined in Chapter 8, “Use Inspections,” and
Chapter 9, “Establishment Inspections”.
Review records to determine compliance with FIFRA and to ascertain whether all the required
information is being maintained. Document any deficiencies (e.g., through photocopies,
photographs, statements).

RUP DEALER INSPECTION

Under 40 C.F.R. § 171.11(g), every retail dealer of RUPs in states or Indian country where EPA
conducts the applicator certification and training program must report to EPA the dealer’s
business name and the name and address of each of its dealerships. The dealer must submit
revisions to this report as necessary. The inspector should check for evidence to establish
compliance with this requirement. The inspector should also note and record any state dealer
license held and its expiration date. A dealer that makes RUPs available to a certified applicator
or an uncertified person must keep a record of each transaction. A dealer that is also an
applicator of restricted-use pesticides must comply with the record keeping requirements that
pertain to applicators.
RUP dealers are required to maintain two primary types of sales records which are subject to
Agency review: (1) sales to certified applicators and (2) sales to uncertified persons.
For sales to certified applicators, records of each transaction must be retained for 24 months
and must include the following information:
   •    Name and address of each certified person to whom the pesticide was made available
        for use.
   •    Certified applicator’s certification number, expiration date, certification categories and
        name of state or other governmental unit issuing the certificate.
   •    Product name, EPA Registration Number and state Special Local Need Registration
        Number (if any) on the pesticide label.
Chapter 11                                                                                    Page 3




                                                                                                 AR0000265
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 266 of 739



   •    Amount of the pesticide sold and made available for use in the transaction.
   •    Date of the transaction.
For sales to uncertified persons, records of each transaction must be retained for 24 months and
must include the following information:
   •    Name and address of the uncertified person to whom the pesticide was made available
        for use by a certified applicator.
   •    Name and address of the certified person who will use the restricted-use pesticide.
   •    Certified applicator’s certification number, expiration date, certification categories and
        name of state or other governmental unit issuing the certificate.
   •    Product name, EPA Registration Number and state Special Local Need Registration
        Number (if any) on the label of the pesticide.
   •    Amount of pesticide sold and made available for use in the transaction.
   •    Date of the transaction.
RUP dealers’ stocks should be inspected and RUPs inventoried. The inspector should document
the following situations:
   •    Sales to non-certified persons or for use by non-certified persons.
   •    Discrepancies between physical inventories and the amount of product documented in
        transactions (determined by a books and records inspection including computer
        inventories).
   •    Improperly labeled products, including agricultural pesticides lacking worker protection
        label statements.
   •    Suspended or canceled products sold and/or held for sale and distribution.
   •    Damaged products and any corrective actions taken.
   •    Improperly stored products.

RUP APPLICATOR INSPECTION

In any state or Indian country that does not have an EPA-approved certification plan, anyone
who uses or supervises the use of any RUP must be certified by EPA. The inspector should check
the certified applicator's certification number, certification categories and expiration date.
Commercial applicators and those who contract with commercial applicators to apply RUPs to
property owned by another person must maintain applicator records for at least 24 months
from the date of pesticide use. Records should include the following information (40 C.F.R.
§171.11(c)(7)):
Chapter 11                                                                                    Page 4




                                                                                                 AR0000266
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 267 of 739



   •    Name and address of the person for whom the pesticide was applied.
   •    Location of the pesticide application.
   •    Target pests.
   •    Specific crop or commodity and site to which the pesticide was applied.
   •    Date and time of application.
   •    Product/trade name and EPA Registration Number of the pesticide applied.
   •    Amount of pesticide applied and percentage of active ingredient per unit of pesticide
        used.
   •    Disposal information.
Pesticide stocks should be inspected and RUPs inventoried. The inspector should document the
following occurrences:
   •    Discrepancies between physical inventories and amount used (determined by a books
        and records inspection including computer inventories).
   •    Improperly labeled products, including agricultural pesticides lacking worker protection
        label statements.
   •    Suspended or canceled products being held for use.
   •    Damaged products and any corrective actions taken.
   •    Improperly stored products.
   •    Improper disposal of container, excess pesticide or rinsate.
   •    Application of an RUP outside a category for which the applicator is certified.




Chapter 11                                                                                 Page 5




                                                                                                AR0000267
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 268 of 739




                                                          CHAPTER TWELVE
             PESTICIDE/DEVICE IMPORT AND
                 EXPORT INSPECTIONS

                                                                                 CONTENTS

Authority ...................................................................................................................................................................................... 2
Exports ......................................................................................................................................................................................... 2
    Export of EPA Registered Pesticides ........................................................................................................................... 2
    Export of Unregistered Pesticides ................................................................................................................................3
    Inspection and Sampling ................................................................................................................................................ 3
         Procedures........................................................................................................................................................................3
         Pre-Inspection Activities (Regional Office Function) ................................................................................. 4
         On-Site Inspection Activities (Regional/State Function).......................................................................... 5
Imports......................................................................................................................................................................................... 6
    Automated Commercial Environment / International Trade Data System (ACE/ITDS) ..............6
    Import of Unregistered Pesticides ............................................................................................................................ 7
    Import of Research & Development Pesticides .................................................................................................. 7
    Import of Registered Pesticides and Devices ........................................................................................................... 7
    Foreign-Trade Zones .......................................................................................................................................................... 8
    Regional Office ...................................................................................................................................................................... 8
    Inspections and Sampling ........................................................................................................................................... 10
         Import Sampling ......................................................................................................................................................... 10
         Inspection without Sampling ............................................................................................................................... 11
         EPA Regional Office Procedure after Inspection............................................................................................. 11
Exhibit 12-1: FIFRA Export Inspection Checklist ..................................................................................................... 13
Exhibit 12-2: FIFRA Import Inspection Checklist .................................................................................................... 16
Exhibit 12-3: Model Release Notice ............................................................................................................................... 18
Exhibit 12-4: Model Notice of Refusal of Admission............................................................................................... 19
Exhibit 12-5: Model Notice of Detention and Hearing ........................................................................................... 21




                                                                                                                                                                                             AR0000268
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 269 of 739




        PESTICIDE/DEVICE IMPORT AND
            EXPORT INSPECTIONS

                                        AUTHORITY

FIFRA section 17 governs the importation and exportation of pesticides and devices. Sections
17(a) and 17(b) govern pesticides and devices intended for export and notifications to foreign
governments. Section 17(c) governs the importation of pesticides and devices.
See FIFRA section 17 and 40 C.F.R. Part 168, Subpart D (Export Policy and Procedures for
Exporting Unregistered Pesticides). Additionally, see 19 C.F.R. 12.110 - 12.117 (U.S. Customs
and Border Protection (CBP) regulations pertaining to import of pesticides and devices).


                                          EXPORTS

Pesticides may be exported from the United States whether they are registered, unregistered,
canceled or suspended—provided certain criteria are met. For example, all pesticides, devices
or active ingredients intended for export are subject to the labeling requirements of FIFRA
regulations at 40 C.F.R. Part 156. In addition, certain label items must be in both the English
language and in the language of the importing country, if English is not the predominantly
spoken language or the language used in conducting official business in the importing country.
Examples of these label items are the warning, caution, ingredient and practical treatment (first
aid) statements; and the word “poison” when it is required on the label.
For the purposes of regulating the exportation of pesticides, the export regulations at 40 C.F.R.
Part 168, Subpart D, divide exported pesticides into categories, as outlined below, with differing
requirements for each category. For information on labeling requirements for exported
pesticides, see PR Notice 99-1 and the Export Policy.

EXPORT OF EPA REGISTERED PESTICIDES

EPA registered pesticides must be exported with EPA approved labels and must bear labeling in
both the English language and in the language of the importing country, if English is not the
predominantly spoken language, or the language used in conducting official business in the
importing country.




Chapter 12                                                                                 Page 2


                                                                                                AR0000269
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 270 of 739




EXPORT OF UNREGISTERED PESTICIDES

Unregistered pesticides and pesticide devices must have bilingual labeling when exported to
non-English speaking countries. The labels of these products also must include the statement
“Not Registered for Use in the United States of America.”
Anyone exporting unregistered pesticides must first obtain a signed statement from the foreign
purchaser acknowledging that the purchaser understands that the pesticide is not registered
for use in the United States and cannot be sold in the United States. This statement is called a
Foreign Purchaser Acknowledgment Statement (FPAS) and must be obtained prior to the first
export shipment of a particular unregistered pesticide to a particular purchaser for each
country on an annual basis. The seller must send a copy of the FPAS to the EPA Office of
Pesticide Programs (OPP), Field and External Affairs Division (FEAD); the inspector can find this
form on file with OPP.
On January 18, 2013, EPA revised the regulations on labeling of pesticide products and devices
intended solely for export. Unregistered pesticide products shipped between registered
establishments operated by the same producer will have to follow the labeling requirements in
40 CFR Part 168. This rule is intended to ensure appropriate handling of unregistered pesticide
products as they move in commerce before they actually leave the United States.

INSPECTION AND SAMPLING

Export inspections are generally conducted at producing establishments, but pesticides and
devices intended for export may be encountered during port visits where pesticides might be
stored pending export.

                                        PROCEDURES

For routine inspections, the general procedure is to obtain evidence necessary to establish
compliance with FIFRA and the export regulations. A checklist is provided to assist inspectors to
ensure that all requisite activities have been covered (see Exhibit 12-1). For “for cause”
inspections, follow the specific instructions on the EPA referral.
Most export inspections will be included along with FIFRA section 8 books and records
inspections, conducted at producing establishments. These will involve the review and
collection of export pesticide/device labels, shipping documents, sales invoices, statements,
and other documents which can be used to document the export of pesticide/device products.
Pesticides for export can be contract produced and shipped domestically to another company
for exportation. In these cases, it may be necessary to conduct inspections at both the
producing establishment and the company that is actually responsible for the exportation of
the product. (See Chapter 9, “Establishment Inspections”, for more information on producer
establishment inspections).



Chapter 12                                                                                 Page 3


                                                                                               AR0000270
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 271 of 739




The inspector should obtain a copy of the FPAS for each unregistered pesticide and cross-
reference the date of the exporter’s receipt of the FPAS with the actual date of sale or
distribution of the unregistered pesticide. The unregistered pesticide cannot be legally
exported until the FPAS is received by the U.S. exporter. Any sale or distribution of the
unregistered pesticide prior to the exporter’s receipt of the FPAS is unlawful, unless otherwise
exempted by FIFRA section 17.
During export inspections, the inspector, through discussions with responsible company
officials and subsequent review of company records, must be able to clearly document the
items identified below. When information is not available or cannot be clearly documented by
obtaining copies of records, the inspector must obtain a statement (use EPA Statement Form
3540-42; Exhibit 1-1) from responsible company officials that clearly documents the procedures
used by the company when exporting pesticides or devices.
Some of the information to be obtained during these inspections may be claimed as FIFRA
Confidential Business Information (CBI). See Chapter 1, “General Information”, for more
information on CBI.

              PRE-INSPECTION ACTIVITIES (REGIONAL OFFICE FUNCTION)

The federal EPA inspector should conduct the following pre-inspection activities:
   •    Review and copy section 7 establishment production data submitted to the region and
        found in the Section Seven Tracking System (SSTS) or on copies of EPA Form 3540-16
        submitted to the region for all registered/unregistered products or devices exported for
        the targeted calendar year(s).
   •    Develop a comprehensive list of registered/unregistered products or devices exported in
        the targeted calendar year(s) by the targeted establishment. Regional listings of
        registered/unregistered products or devices, product name and establishment
        name/address and other establishment and company information should be obtained
        from SSTS.
   •    Review and copy all Confidential Statements of Formula (CSFs) or chemical formulation
        statements, if available at the region, or obtained from the Office of Pesticide Programs
        for all products identified above. Develop a list of all unregistered products identified as
        not having product formulas on file prior to the inspection so that the inspector can
        obtain any missing formulas at the time of the inspection. Note on this listing if product
        formulas were not submitted to the region along with the production data in EPA Form
        3540-16 for each calendar year. Product formulas may be CBI and shall not be shared
        with states that may conduct or be part of inspection activities.
   •    Assemble sampling equipment that will be taken on inspection. See a listing of
        suggested equipment in Chapter 7.



Chapter 12                                                                                    Page 4


                                                                                                  AR0000271
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 272 of 739




             ON-SITE INSPECTION ACTIVITIES (REGIONAL/STATE FUNCTION)

The inspector must present credentials and issue a Notice of Inspection (NOI) (see Form 3540-2;
Exhibit 1-1) to the owner/operator, or agent-in-charge. The reason for the inspection must be
stated in the NOI and, if a violation is suspected, this must be disclosed in writing on the NOI.
For each registered/unregistered product or device exported in the targeted calendar year(s):
   •    Obtain evidence that clearly shows the company responsible for the product and its
        export. Obtain evidence that describes past and present corporate relationships, such as
        mergers, takeovers and/or other corporate transactions and any agreement expressing
        the nature and responsibilities between the companies involved in the export of the
        pesticide/device.
   •    Obtain copies of the CSF, if available; otherwise, obtain a copy of the complete formula
        of the product. (Note: The CSF and formula of the product contain confidential business
        information (CBI) and cannot be viewed, copied or obtained by a state inspector. An EPA
        federal inspector cannot view/copy the CSF unless cleared for CBI; state inspectors using
        federal credentials cannot obtain copies of the CSF’s or any CBI materials. See Chapter 1
        of this Manual.)
   •    Obtain copies of the specification or directions from the foreign purchaser for the
        production of such pesticides, devices or active ingredients. (40 C.F.R. 169.2(h)(1))
   •    Obtain copies of label(s) and supplemental labeling, including bilingual label(s), used for
        each export. (40 C.F.R. 169.2(h)(2)) If product label(s)/labeling are not available, obtain
        bin labels/labeling. In either case, the inspector shall obtain a statement (see Statement
        Form 3540-42; Exhibit 1-1) from the responsible company official certifying that the
        labels/labeling collected are identical to those used on the exported product. If a
        particular product label is being used for more than one country, the statement must
        include the name of each country.
   •    If registered/unregistered pesticides or devices are packaged, labeled and released for
        shipment at the time of the inspection, obtain a physical sample or obtain documentary
        evidence (labels/labeling and photographic evidence) of all such products.
   •    Obtain copies of all FPAS of a particular product to a particular purchaser for each
        importing country. (40 C.F.R. 169.2(h)(3))
   •    Obtain documentation showing the dates and amounts of each registered/unregistered
        product or device shipped and country of destination (e.g., bills of lading, manifests,
        invoices, consignee lists). (40 C.F.R. 169.2(d)) If these documents contain CBI, only
        federal EPA inspectors can obtain this documentation. See Chapter 1 for more
        information on CBI.
   •    Note in the inspection report if any of the documents above were not maintained by the
        facility. If the facility does not maintain records listed above, obtain a statement from

Chapter 12                                                                                      Page 5


                                                                                                   AR0000272
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 273 of 739




        the responsible official as to why the records were not maintained by the facility and the
        actual location of the records/documents, if known.
   •    Request that copies of all missing records and/or product labels be sent to the EPA
        regional office by a specific date.
For instances where the facility/establishment claims that a product is for “research and
development” or “experimental” purposes and a FPAS, therefore, was not required:
   •    Obtain a statement from the responsible company official specifically describing the
        basis for any such claims.
The FIFRA Export Inspection Checklist (Exhibit 12-1) will assist the inspector covering all the
above items.


                                           IMPORTS

Imported pesticides and devices are subject to the same registration, labeling requirements,
and exemptions as domestically produced pesticides and devices. Prior to the import of
pesticides or devices into the United States, the importer of record is required to submit a
Notice of Arrival (NOA).

AUTOMATED COMMERCIAL ENVIRONMENT / INTERNATIONAL TRADE DATA
SYSTEM (ACE/ITDS)
The International Trade Data System (ITDS) is the single window whereby regulated entities can
electronically file and process their entry and agency-specific information for multiple agencies in a
single location, rather than separately with each agency. The Automated Commercial Environment
(ACE) implementation supports the ITDS; it is a platform that provides a single, centralized access
point for the trade community to connect with CBP and its Partner Government Agencies (PGA).

As of December 31, 2016, EPA had commenced its required transition to the ACE system. The
primary purpose of ACE is to automate electronic review of Notices of Arrival. While ACE
electronically processes the majority of NOAs, importers may continue to file paper NOAs (EPA
Form 3540-1), should they so choose. These paper NOAs will continue to be reviewed and
approved by EPA as necessary.
ACE provides EPA with the ability to periodically check filings and allows for additional data
mining to target inspections. Each region should develop a set of Standard Operating
Procedures (SOPs) for using ACE within their region.




Chapter 12                                                                                     Page 6


                                                                                                   AR0000273
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 274 of 739




IMPORT OF UNREGISTERED PESTICIDES

Under certain conditions, unregistered pesticides will be allowed to enter the United States.
These conditions are found in 40 C.F.R. 152.30 and in PR Notice 99-1. An unregistered pesticide
may be imported if:
   (1) It is transferred between registered establishments operated by the same producer (all
       EPA label requirements must be met, except the product should not have an EPA
       Registration Number or EPA Establishment Number). Where the establishments are not
       operated by the same producer, see 40 C.F.R. 152.30 for additional requirements;
   (2) It is distributed for use under an experimental use permit (EUP);
   (3) It is distributed for use under an emergency exemption;
   (4) It is imported solely for the purpose of formulation or packaging; and for subsequent
       export provided certain requirements are met; see PR Notice 99-1, or
   (5) It is imported for research and development purposes not requiring an experimental use
       permit (EUP).

IMPORT OF RESEARCH & DEVELOPMENT PESTICIDES

Substances, including mixtures of substances, being imported for research and development
(R&D) must comply with FIFRA section 17(c) and 19 C.F.R. 12.110 through 12.117.
Substances are regulated either by FIFRA, the Toxic Substances Control Act (TSCA) or the
Federal Food, Drug, and Cosmetics Act (FFDCA). If the substance is characterized as a pesticidal
chemical, then it is regulated under FIFRA. If the substance is characterized as a pharmaceutical
chemical, then it is regulated under FFDCA. Substances that are neither pesticidal nor
pharmaceutical most likely are regulated under TSCA. TSCA exempts TSCA regulated R&D
chemicals from the import requirements of the TSCA statute and regulations. FIFRA does not
exempt pesticidal R&D chemicals from the import requirements.
An R&D product is deemed to be a pesticide when it has been determined by the company to
have potential pesticidal potential properties. At that time, the company has determined that
the product has pesticidal value and further research will be conducted to support registration.
The inspector may encounter an R&D product at universities, laboratories or sponsors
performing research, or possibly ports of entry for imports.

IMPORT OF REGISTERED PESTICIDES AND DEVICES

Before registered pesticides or devices can be imported into the United States, the importer
must submit a Notice of Arrival. The EPA regional office shall:
   •    Complete Part II of the NOA, indicating the disposition to be made of the shipment of
        pesticides or devices upon its arrival in the United States.

Chapter 12                                                                                 Page 7


                                                                                                AR0000274
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 275 of 739




    •    Return the completed NOA to the importer or its agent.
Normally, an import broker will represent the importer in obtaining CBP clearance.
Upon the arrival of a shipment of pesticides or devices, the importer (or broker) shall present to
Customs and Border Protection (CBP) at the port of entry the NOA completed by the EPA
regional office indicating the appropriate CBP action to be taken with respect to the shipment.

FOREIGN-TRADE ZONES
Foreign-trade zones (FTZ)(known internationally as free-trade zones) are secure areas legally outside the
customs territory of the United States. They are usually located in or near CBP ports of entry, industrial
parks or terminal warehouse facilities. CPB is responsible for activating foreign-trade zones, securing
them, controlling dutiable merchandise moving in and out of them, protecting and collecting the
revenue. Merchandise lawfully brought into these zones may be stored, sold, exhibited, broken up,
repacked, assembled, distributed, salvaged, relabeled, destroyed, processed, graded, cleaned, mixed
with foreign or domestic merchandise, or otherwise manipulated or manufactured. Imported pesticides,
registered or not, require notification to EPA upon arrival into these zones.

Pesticides entering foreign-trade zones typically involve one of three scenarios:

    •    Import comes in to FTZ and is destined immediately for entry into United States commerce.
    •    Import comes in to FTZ and further production occurs (e.g. formulation, labeling, or packaging
         changes); pesticide product leaving the FTZ is either distributed into United States commerce or
         is exported.
    •    Import comes in to FTZ and is exported at some later date.


REGIONAL OFFICE

The EPA regional office supervisor/import coordinator and pesticide inspectors should maintain
a cooperative working relationship with CBP and customs brokers. This is vital to understanding
the way each different port of entry conducts its business. Upon receipt of the NOA, the
regional office should review the NOA for completeness and determine whether to inspect
and/or sample based on the following:
    •    Pesticides/devices suspected of noncompliance (e.g., unregistered pesticides and/or
         unregistered establishments).
    •    Pesticides/devices with a violative history (the region may have knowledge of a violative
         product or company).
    •    First-time import of a pesticide/device to the region.
    •    Pesticides/devices imported regularly with a good history of compliance (i.e., high
         volumes).




Chapter 12                                                                                         Page 8


                                                                                                       AR0000275
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 276 of 739




If a decision is made to inspect the imported pesticide/device, indicate in Part II of the NOA
what action to take or take appropriate action via ACE. The options are:
   •    Detention of the pesticides/devices by CBP for inspection by EPA. The expenses
        associated with the detention must be borne by the importer. It is important that the
        inspection be conducted as soon as possible since the fate of the shipment is
        determined by the inspection. This type of inspection is likely to occur at the port of
        entry, as the shipment is not usually released to the importer until EPA determines
        compliance. The shipment may have been picked up by the consignee under an
        immediate delivery entry (usually an electronic entry) (19 C.F.R. 142.21-142.22). In such
        cases, the shipping company or the import broker should be requested to locate and
        hold the product for inspection.
   •    Release of the shipment of pesticides/devices under bond. See 19 C.F.R. 113.61 and
        113.62. In accordance with section 17(c) of FIFRA, EPA may instruct CBP to release a
        shipment of pesticides/devices under a bond for the return of the imports to the
        custody of CBP. When this option is chosen the shipment is technically being detained
        because the pesticides/devices cannot be used or otherwise disposed of until EPA
        conducts an inspection and makes a determination. This type of inspection will take
        place at the consignee’s facility and must proceed following normal protocol for
        establishment inspections. Whenever circumstances permit, EPA should consult with
        CBP personnel at the port of entry to ensure that the bond set by CBP is of an amount
        significant enough to compel the importer to hold the shipment for inspection.
        Circumstances such as prior knowledge of the quantity and/or estimated value of the
        shipment as well as the status of the cooperative working relationship between EPA and
        CBP personnel at the port of entry will dictate the feasibility of such a consultation. In
        special circumstances where concern exists that a bond may not stop distribution of the
        products, the EPA regional office should consider issuing a Stop Sale, Use or Removal
        Order (SSURO).
If the EPA regional office instructs CBP either to detain the imported pesticides/devices, or to
release the shipment under a bond, an EPA inspector must be prepared to conduct an
inspection. Documentary samples of labels and/or pesticides/devices can be taken to
determine compliance with FIFRA.
If released under bond, the commodity may likely be moved to a “bonded warehouse”, or other
location under bond away from the port of entry. The container(s) are still under CBP control,
but the Notice of Inspection and Receipt for Samples will be issued to the bonded warehouse
owner, or responsible party (not to CBP). NOTE: At a bonded warehouse only the stevedores
can open and unload a container of imported or exported goods at ports of entry or bonded
warehouses. The location of detained pesticide import shipments is determined by CBP and
carried out by the import broker. The location will be a CBP licensed and bonded warehouse
operated by a private storage/warehouse company, or to a location taken under bond and
determined by CBP.

Chapter 12                                                                                  Page 9


                                                                                                   AR0000276
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 277 of 739




INSPECTIONS AND SAMPLING

Imported pesticides/devices can be inspected at different ports of entry or other locations
depending on how the shipment arrived in the United States and the CBP status of the
shipment.
Upon arrival at the inspection site, the inspector must introduce himself/herself to CBP, the
warehouse owner and other parties and must present federal credentials (as all import
inspections are conducted under FIFRA sections 8 and 9), explain the purpose of the inspection
and issue a Notice of Inspection (Form 3540-2, see Exhibit 1-1) with the reason for inspection.
The Notice of Inspection must be issued to the person who has control of the product at the
time of the inspection. CBP never takes custody of the product during the importation/entry of
the shipment. Thus, the Notice of Inspection is never issued to CBP; rather, it will be issued to
the importer, import broker, bonded warehouse owner or shipper of the import.
An inspector’s checklist for imports is provided at Exhibit 12-2.

                                      IMPORT SAMPLING

Physical samples should be collected if EPA suspects that the pesticide product has been
adulterated or suspects that the composition of the pesticide product is different from the CSF
in connection with the registration of the product. For all other suspected or observed
violations, documentary samples are sufficient to demonstrate a violation of FIFRA and provide
sufficient weight of evidence to instruct CBP to refuse entry of the import shipment, if
necessary. Documentary samples will always include photographs of the label and labeling on
the pesticide, cases or containers in the import shipment.
The inspector must take the following steps when obtaining samples:
   •    Issue a Receipt for Samples for any samples taken. Use EPA Form 3540-3, see Exhibit 1-
        1. Give the Receipt to the individual that received the Notice of Inspection.
   •    If physical samples are obtained, submit the sample to the appropriate laboratory and
        ask the laboratory to expedite the analysis, following chain-of-custody procedures.
   •    Inform the EPA supervisor/import coordinator that a sample has been collected and
        sent for analysis, specifying the name of the laboratory.
   •    When taking a sample, it is recommended that the inspector also obtain a statement to
        document information about the sample. Use EPA Form No. 3540-42, Exhibit 1-1.
Following a sample collection, and while waiting for chemical analysis or case review, the
pesticide will have to be detained. The import broker and CBP agent must determine the
location where the pesticide is held. The shipment must be kept intact until EPA makes a
determination of compliance. The inspector should exchange telephone numbers with all
parties involved, so as to expedite communication regarding further actions with regard to the
commodity.

Chapter 12                                                                                Page 10


                                                                                               AR0000277
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 278 of 739




                               INSPECTION WITHOUT SAMPLING

Prior to inspection of detained shipments, a copy of the label should be obtained from the EPA
product manager in the Office of Pesticide Programs or from the Pesticide Product Labeling
System (PPLS) at: https://iaspub.epa.gov/apex/pesticides/f?p=PPLS:1.
When conducting an inspection without sampling, the inspector should complete the following
steps:
   •    Present credentials.
   •    Issue the Notice of Inspection.
   •    Review the labeling for mandatory label requirements.
   •    Check for collateral labeling such as booklets and pamphlets.
   •    Check condition of the lot or batch of product.
   •    Review and copy all import records, bills of lading, manifests and other documentation.
If a label or labeling violation is noted, the inspector should photograph or photocopy the label
for documentary evidence. See Chapter 6 for more information on sampling procedures.

                  EPA REGIONAL OFFICE PROCEDURE AFTER INSPECTION

                         MERCHANDISE IN COMPLIANCE WITH FIFRA
If the imported pesticide/device is found to be in compliance with FIFRA, the regional office
must notify CBP that the shipment may be released to the consignee. A model Release Notice is
included as Exhibit 12-3.
One way to standardize the way EPA regions notify CBP that the shipment may be released may
be to “cc” the District Director of CBP at the port of entry on a Release Notice addressed to the
importer of record. For purposes of expediting the Notice, EPA regional personnel should fax a
copy of the release notice to their CBP staff counterpart at the port of entry.
                           MERCHANDISE IN VIOLATION OF FIFRA
If the imported pesticide/device is found to be in violation of FIFRA, the EPA regional office
must refuse admission of the pesticides/devices into the country. EPA must notify the
consignee of this refusal. This procedure is consistent with the CBP regulation in 19 C.F.R.
12.117(b). A model Notice of Refusal of Admission is found at Exhibit 12-4. See Exhibit 12-5 for
a Notice of Detention and Hearing. The consignee is given 20 days to submit written material
or, at the option of the consignee, appear before EPA and introduce testimony to show cause
why the shipment must not be destroyed or refused entry. If no hearing is requested or, after
consideration of the evidence, it is still the opinion of EPA that the shipment is in violation of
FIFRA, the importer has 90 days from the date of receipt of the Notice of Refusal of Admission
to export the violative products out of the U.S.

Chapter 12                                                                                 Page 11


                                                                                                AR0000278
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 279 of 739




One way to standardize the way regions notify CBP that the shipment has been refused
admission may be to “cc” the District Director of CBP at the port of entry on a Notice of Refusal
of Admission addressed to the importer of record. For purposes of expediting the Notice, EPA
Regional personnel should fax a copy of the Notice to their CBP staff counterpart at the port of
entry. If this does not occur, CBP, in cooperation with EPA, may oversee the destruction of the
pesticides/devices, although this is done as a last resort because of the expense to CBP and the
public.
Possible violations of FIFRA can include any of the unlawful acts described in sections 12(a)(1)
and 12(a)(2) of FIFRA. These include but are not limited to: distribution of an unregistered
pesticide, distribution of a misbranded or an adulterated pesticide or device, and failure to file
reports required by FIFRA. Stop Sale, Use, Removal Orders (SSUROs) and Seizures under section
13 of FIFRA can be issued for imports suspected of being in violation of the Act. NOTE: There is
always an importer of record for every import shipment and it is this person who is held liable
for any violations. Import brokers act as agents of the importer of record and become jointly
liable if a violative product is found to be distributed (imported) into the United States. A FIFRA
import inspection checklist (Exhibit 12-2) will assist the inspector.
Pesticides and devices may also be inspected by CBP and sampled following release of the
product to a point of destination (not released under bond). The FIFRA Notice of Arrival of
Pesticides and Devices (EPA Form 3540-1, Exhibit 1-1) will list the destination of the shipment.
Therefore, the inspector can also conduct an import inspection at the destination location.
Should there be any discrepancies, the inspector should notify the EPA supervisor immediately
to determine the next steps by EPA and/or CBP.




Chapter 12                                                                                 Page 12


                                                                                                AR0000279
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 280 of 739




        EXHIBIT 12-1: FIFRA EXPORT INSPECTION CHECKLIST

Company: ______________________________           Establishment No.: ___________________

Address: ______________________________________________________________________

Inspection Date: ________________________________________________________________

Inspector’s Name and Phone Number: ______________________________________________

Product(s) Name and (EPA Reg. #): _________________________________________________

EPA Establishment Number: _______________________________________________________

   Part I - Documentation Obtained                                             Yes/No/Exhibit #
   1. Are §7 production reports (EPA Form 3540-16) included for this
      product for each targeted calendar year? [If reporting discrepancies
      were found, note in “Comments” section on page 2 of this form.]
   2. Is the Confidential Statement of Formula or chemical formula
      included for this product?
   3. Are production specifications/directions of the foreign purchaser
      included for this product?
      If not, take a statement from the appropriate company official as to
      why these records are not maintained by the facility. Is the actual
      location of the records known and included?
   4. Are label(s)/supplemental labeling included for this product for each
      country to which it was exported?
      No. of countries: _____________ No. of labels: ______________

   5. If product labels/labeling were not available, are bin labels included
      for this product?
      Take a statement from the responsible company official which should
      state whether or not the labels/labeling or bin labels/labeling
      collected are identical to those used on the exported product(s)?
      Is photographic evidence of the product that was packaged, labeled
      and released for shipment at the time of the inspection included?
   6. If labels were not available for inspection, is a statement from the
      appropriate company official included as to why labels were not
      maintained by the facility? Is the actual location of the labels known
      and included?
   7. Are Foreign Purchaser Acknowledgment Statements (FPAS), as
      required by §17(a)(2), included for the first shipment each year of a


Chapter 12                                                                            Page 13


                                                                                          AR0000280
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 281 of 739




         particular product to a particular purchaser for each importing
         country?
         If not, is a statement included?

      8. If the unregistered product was claimed to be a “research &
          development” or an “experimental” pesticide, is a statement
          included from the responsible company official specifically describing
          the basis for such claims?
      9. OPTIONAL: If the unregistered product is claimed “substantially
          similar” to an EPA registered product, is a copy of the label for the
          registered product and Confidential Statement of Formula or
          chemical information for the registered product included?
      10. Is evidence of exported shipments included that clearly shows the
          product name, date(s) of each shipment, amounts of each shipment,
          and country of destination for each shipment? (This can include Bills
          of Lading, Invoices and List of Consignees.)
      11. Is evidence included that clearly shows the company responsible for
          the product and its export? Is evidence included that clearly
          describes past and present corporate relationships, such as, mergers,
          takeovers and/or other corporate transactions/agreements?
      12. Was information included for this product for all periods requested?



COMMENTS: _________________________________________________________________

_____________________________________________________________________________

_____________________________________________________________________________

Part II - Labeling Requirements and Review

Does the label/labeling for this exported product bear the following information? Attach a
separate Part II sheet for each product label and foreign destination.

Product Name: __________________________              Foreign Destination: ___________________

                                                                           Yes        No
 1.       EPA Establishment Number?
 2.       Ingredient statement?
 3.       Name/address of producer/registrant?
 4.       Statement of net weight or measure?
 5.       Use Classification statement? (Restricted Use or General
          Use Pesticide)

Chapter 12                                                                              Page 14


                                                                                             AR0000281
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 282 of 739




 6.     Precautionary statements? (Warning and caution
        statements)
 7.     If highly toxic, are “skull & crossbones,” the word Poison
        and statement of practical treatment shown?
 8.     For unregistered products, does label bear the
        statement “Not Registered for Use in the United States
        of America”?
 9.     If the predominant language of the importing country is
        not English, are #’s 2, 6, 7 and 8 above also expressed in
        the language of the importing country? (Note that this
        information is required on both registered and
        unregistered products.)


Label Comments: ______________________________________________________________

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________




Chapter 12                                                              Page 15


                                                                             AR0000282
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 283 of 739




          EXHIBIT 12-2: FIFRA IMPORT INSPECTION CHECKLIST

              For use after the regional office import coordinator determined that a
              shipment is to be inspected and setup a location for the inspection.


1. Inspector’s name/number: _____________________________________________________
2. Location of shipment to be inspected:            __________________________________________
                                                    __________________________________________
                                                    __________________________________________
Obtain the following information from the Notice of Arrival (NOA) Form 3540-1 or the papers
accompanying the shipment.
 3. Importer/Consignee Address                            4. Shipper Address




 5. Broker Agent Address                                  6. Carrier




7. EPA Registration Number _________________                 8. EPA Establishment Number ___________
9. Brand Name of Product ________________________________________________________
10. Major Active Ingredients and Percentage of Each ___________________________________
_________________________________________________________________________________________________________________

__________________________________________________________________________________________________________________

______________________________________________________________________________
______________________________________________________________________________
______________________________________________________________________________

11. Unit Size ____________ 12. Quantity _____________ 13. Total Net Weight ____________



Chapter 12                                                                                               Page 16


                                                                                                               AR0000283
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 284 of 739




 Inspection Procedures                                                  Check if applicable

 14. Obtain a copy of the EPA approved label from the EPA regional
     office.




 15. Issue NOI and show federal credentials to appropriate person.

 16. Collect photographs of the label(s) and labeling on the
     container(s) of the import shipment. Review for conformity with
     label requirements. (Procedures for conducting label reviews can
     be found in the FIFRA Inspection Manual.)

 17. Collect all records regarding import of shipment such as:
                                                                        __________________
                           Copies of NOA                                __________________
                           Foreign invoices
                           Shipping records (i.e., manifests or
                               waybills)
 18. Review other label information in books, pamphlets, circulars
    and displays—if applicable.

 19. Document the physical condition of the lot.

 20. Photograph containers and the labels thereon.

 If physical samples are taken, follow these additional steps

 21. Note on the Receipt for Sample that it is an import sample and
     identify with “IMP” preceding the sample number.

 22. Request that the laboratory expedite the analysis.

 23. Ensure that the product container is properly resealed.

 24. Notify the regional office that the samples have been collected.




Chapter 12                                                                           Page 17


                                                                                          AR0000284
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 285 of 739




                   EXHIBIT 12-3: MODEL RELEASE NOTICE

CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Name
Title
Company Name
Company Address


Re:    RELEASE NOTICE
       Entry Number (Assigned by Customs and Border Protection) (Product Name)


Dear (Company President’s Name):
In connection with the enforcement of the Federal Insecticide, Fungicide, and Rodenticide Act
(FIFRA or the Act), 7 U.S.C. 136 et seq., the United States Environmental Protection Agency has
completed its consideration of the following shipment. Base on examination of samples or
other evidence, the Agency concludes that, pursuant to section 17(c) of the Act, you need not
further detain the merchandise.
Sample Number (if an inspection has been conducted):
Product Name:
Shipper/Manufacturer:
Consignee:
Entry Number:
Date of Importation:
Port of Entry:

This Notice does not constitute assurance that the merchandise involved complies with all
provisions of the Act and in no way precludes further action should the Agency determine that
the merchandise is in violation of any federal environmental requirement.
                                            Sincerely,
                                            /s/
                                            (Name and Title)




Chapter 12                                                                              Page 18


                                                                                             AR0000285
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 286 of 739




      EXHIBIT 12-4: MODEL NOTICE OF REFUSAL OF ADMISSION

CERTIFIED MAIL
RETURN RECEIPT REQUESTED


Name
Title
Company Name
Company Address


Re:    NOTICE OF REFUSAL OF ADMISSION
       Entry Number (Assigned by Customs and Border Protection) (Product Name)


Dear (Company President’s Name):

In connection with the enforcement of the Federal Insecticide, Fungicide, and Rodenticide Act
(FIFRA or the Act), 7 U.S.C. 136 et seq., the United States Environmental Protection Agency has
examined samples or other evidence with respect to the following shipment:
Sample Number (if an inspection has been conducted):
Product Name:
Shipper/Manufacturer:
Consignee:
Entry Number:
Date of Importation:
Port of Entry:


It appears that the product is not in compliance with the Act and is subject to refusal of
admission due to the following violations (Describe violations).
The Agency hereby notifies you that your merchandise has been refused admission. You must
export this merchandise, under supervision of the U.S. Customs and Border Protection (CBP),
within ninety (90) calendar days from the date of this Notice (or within such time as otherwise
specified by EPA) or within such additional time as the District Director of CBP specifies. Failure




Chapter 12                                                                                   Page 19


                                                                                                 AR0000286
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 287 of 739




to do so may result in either the destruction of the merchandise as authorized by the Act, or, if
the shipment has been released to you under bond, in any action necessary to enforce the
terms of said bond.
                                             Sincerely,
                                             /s/
                                             (Name and Title)




Chapter 12                                                                                Page 20


                                                                                               AR0000287
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 288 of 739




      EXHIBIT 12-5: MODEL NOTICE OF DETENTION AND HEARING

CERTIFIED MAIL
RETURN RECEIPT REQUESTED

Name
Title
Company Name
Company Address

Re:    NOTICE OF DETENTION AND HEARING
       Entry Number (Assigned by Customs and Border Protection) (Product Name)

Dear (Company President’s Name):

In connection with the enforcement of the Federal Insecticide, Fungicide and Rodenticide Act
(FIFRA or the Act), 7 U.S.C. 136 et seq., the United States Environmental Protection Agency has
examined samples or other evidence concerning the shipment described below and has
determined that said shipment is in violation of the Act. You should continue to withhold the
merchandise from distribution or sale pending a final decision as to whether it shall be
admitted or refused admission.

Pursuant to Section 17(c) of the Act, the Agency hereby affords you an opportunity to offer
such explanation as you wish for the Agency’s consideration. You should file your answer,
signed by you or your attorney, with this office within twenty (20) calendar days after your
receipt of this Notice. Please indicate in your response if you wish to present your views
verbally so that we may set a date for such presentation to be held in this office or via
teleconference.

Sample Number (if an inspection has been conducted):
Product Name:
Shipper/Manufacturer:
Consignee:
Entry Number:
Date of Importation:
Port of Entry:

Upon examination, it appears the product(s) failed to comply with the provisions of the Act in
that (describe violation). I am enclosing a copy of EPA’s FIFRA Enforcement Response Policy.

                                            Sincerely,
                                            /s/ (Name and Title)


Chapter 12                                                                               Page 21


                                                                                               AR0000288
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 289 of 739



                CHAPTER THIRTEEN
           CANCELLATION AND SUSPENSION


                                                                               CONTENTS

Statutory Authority................................................................................................................................................................... 2
    Cancellation............................................................................................................................................................................. 2
    Suspension ............................................................................................................................................................................. 3
Inspection Objective ................................................................................................................................................................. 3
Procedures During Inspections ........................................................................................................................................... 4
    Producer Establishment Inspections ........................................................................................................................ 4
    Marketplace Inspections ................................................................................................................................................. 4
    Use Inspections .................................................................................................................................................................... 5
Storage and Disposal of Suspended or Canceled Pesticides .................................................................................... 5




                                                                                                                                                                                        AR0000289
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 290 of 739




       CANCELLATION AND SUSPENSION

                               STATUTORY AUTHORITY

FIFRA sections 3(c)(2)(B), 4(d) and 4(f) provide the Administrator with the authority to cancel
and/or suspend the registration of a pesticide for failure of the registrant to provide, or commit
to provide, data required by the Agency.
FIFRA section 6 provides the Administrator with the authority to cancel the registration of a
pesticide for unreasonable adverse effects on the environment or to suspend the registration if
it is necessary to prevent an imminent hazard.
FIFRA section 13 provides the Administrator with the authority to issue Stop Sale, Use, Removal
Orders (SSURO) and Seizure whenever there is reason to believe on the basis of inspection or
tests that a pesticide or device has been or is intended to be distributed or sold in violation of
FIFRA or when the pesticide has been cancelled or suspended.
The Administrator cancels the registration of a pesticide at the end of five years unless the
registrant (or other interested party acting with the registrant’s concurrence) requests renewal
of the registration before the end of the five years.
FIFRA section 12(a)(2)(J) makes it unlawful to violate any suspension order issued under
sections 3(c)(2)(B), 4 or 6.
FIFRA section 12(a)(2)(K) makes it unlawful to violate any cancellation order issued under the
Act or to fail to submit a notice in accordance with section 6(g).
FIFRA section 12(a)(1)(A) makes it unlawful to distribute or sell any pesticide that is not
registered under section 3 or whose registration has been canceled or suspended, except to the
extent that distribution or sale otherwise has been authorized by the Administrator under
FIFRA.

CANCELLATION

EPA is authorized to cancel a pesticide registration when existing risks related to the use of the
pesticide are unacceptable and registrants either have not made, or cannot make, necessary
changes to the terms and conditions of the registration to address the unacceptable risks. In
addition, EPA can cancel a pesticide registration for reasons unrelated to risk, such as
nonpayment of maintenance fees. Registrants can voluntarily cancel pesticide registrations at
any time. When the Agency decides to cancel the registration of a pesticide product, it prepares
a Notice of Intent to Cancel (NOIC) that is published in the Federal Register and sent to
registrants. The Agency then provides a Final Cancellation Order, which is also published in the

Chapter 13                                                                                  Page 2



                                                                                                 AR0000290
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 291 of 739




Federal Register and sent to registrants. The Cancellation Order includes the date by which the
product may no longer be produced, sold and distributed.

SUSPENSION

EPA may suspend pesticide registration pursuant to FIFRA section 3(c)(2)(B) to halt further
distribution and sale of a pesticide product by the registrant and any supplemental registrants
or supplemental distributors until the suspension is lifted by EPA. Consumers who have already
purchased such products may continue to use them according to the labels. Product suspension
is most common when EPA determines that additional data is required to support an existing
registration of a pesticide. In such cases, the Agency notifies all registrants of the pesticide
through issuance of a FIFRA Data Call-In Notice (DCI). The DCI will require each affected
registrant to provide evidence within 90 days that the affected registrant is taking appropriate
steps to respond to the DCI. It also sets deadlines for the data submission and may specify
interim deadlines. If a registrant fails to comply with a DCI requirement, EPA may issue a Notice
of Intent to Suspend (NOIS) the registration of the pesticide. If the registrant fails to submit
timely or adequate data to satisfy the DCI or fails to take any additional step required by the
DCI, EPA may suspend the pesticide. The suspension becomes final and effective 30 days after
EPA issues the NOIS, unless within that time period, one of the following two things happens:
   •    The registrant demonstrates that it has fully complied with the requirements that
        served as a basis for the NOIS, or
   •    A person adversely affected by the Notice makes a timely and adequate request for a
        hearing. If a hearing is requested, it will be conducted according to the requirements of
        FIFRA section 6(d) and the procedural regulation at 40 C.F.R. Part 164.
Under special circumstances, a registrant may be allowed continued sale or use of existing
stocks of canceled and/or suspended pesticide products.


                               INSPECTION OBJECTIVE

The inspector’s role is to gather the information necessary for EPA to determine compliance
with the Agency’s suspension or cancellation order. It is the policy of EPA to follow up all
suspension and/or cancellation orders with appropriate surveillance and regulatory action, as
dictated by the nature of the suspension or cancellation order. Compliance monitoring
strategies are generally developed for each suspension and/or cancellation order.
The inspector should be aware that not all suspended pesticides present a risk or imminent
hazard. If there is any question about the basis for the suspension, treat the product as posing a
potential hazard. Inspectors may find an updated list of all currently suspended pesticides at
https://www.epa.gov/pesticide-reevaluation/suspension-registrations-under-fifra.


Chapter 13                                                                                  Page 3



                                                                                               AR0000291
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 292 of 739




                      PROCEDURES DURING INSPECTIONS

The regional office can provide the inspector with a copy of the suspension order, which will
include the basis for the suspension. The inspector must carefully review and be familiar with
the terms of the suspension or cancellation order, since terms may vary. For example,
producers cannot continue to produce cancelled products and may only sell “existing stocks” of
products (i.e., products already produced and packaged for sale as of the date of the
cancellation order).

PRODUCER ESTABLISHMENT INSPECTIONS

If canceled or suspended pesticides are discovered during a producer establishment inspection,
the inspector should take the following steps:
   •    Immediately notify his/her EPA supervisor about the production of a canceled or
        suspended product. The EPA supervisor will decide whether a SSURO or other action is
        appropriate.
   •    Gather production records associated with the cancelled or suspended product,
        showing the date, quantity, batch number (if available) of production.
   •    Gather the dates and distribution records associated with the cancelled or suspended
        product, showing the date, quantity and recipient of each shipment.
   •    Obtain an official sample of the product.
   •    Determine whether the products are being held for disposal. If held for disposal,
        inventory the lot and determine what disposal steps have been taken.
   •    Determine if and when the establishment was notified of EPA's order.

MARKETPLACE INSPECTIONS

If canceled or suspended pesticides are discovered during marketplace inspections, the
inspector should take the following actions:
   •    Immediately notify his/her EPA supervisor about the production of a cancelled or
        suspended product. The EPA supervisor will determine if a SSURO or other action is
        appropriate.
   •    Document the receipt of the shipment by the marketplace establishment.
   •    Document the further sale or distribution by the marketplace establishment.
   •    If the product was shipped in violation of a cancellation/suspension order, visit the
        producer to determine whether other consignees may be involved. This may require


Chapter 13                                                                                  Page 4



                                                                                                AR0000292
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 293 of 739




        that the inspector/EPA supervisor coordinate this activity if the producing establishment
        is in another state or EPA region.
   •    In documenting shipment, distribution, sale, etc. of canceled or suspended products,
        document individual batch numbers of the products as well as sales records for
        products.
   •    Link the product from the marketplace back to the producing establishment (by way of a
        dealer) to the registrant of the product.

USE INSPECTIONS

If canceled or suspended pesticides are discovered during use inspections, the inspector should
contact his/her supervisor to initiate the process for issuing a SSURO.


         STORAGE AND DISPOSAL OF SUSPENDED OR CANCELED
                           PESTICIDES

FIFRA Section 19 provides EPA with the authority to regulate the storage, transportation and
disposal and recall of pesticides. In addition to the authority to require data on storage and
disposal methods, FIFRA also authorizes EPA to establish labeling requirements for
transportation, storage and disposal of the pesticide and its container. The law also enables EPA
to take enforcement action for violations (see FIFRA sections 19(a) and 6(g)). EPA may require
registrants and distributors to recall suspended and canceled pesticide products. The Agency is
authorized, pursuant to FIFRA section 19(a)(1)(c) to require registrants to give evidence of their
financial capacity to carry out such a recall.
To facilitate any recalls of this kind, EPA may require all persons who sell, distribute or
commercially use pesticides to notify EPA, state, local and tribal officials of the quantities and
locations of suspended and canceled pesticides in their possession.
A registrant who wishes to become eligible for reimbursement of storage costs incurred as a
result of a recall must submit a plan of storage and disposal of the pesticide that meets criteria
set forth in FIFRA Section 19. Registrants will be reimbursed for portions of their storage costs
that are attributable to delays in approval of storage plans.
A producer or exporter of pesticides, registrant of a pesticide, applicant for registration of a
pesticide, applicant for or holder of an experimental use permit, commercial applicator, or any
person who distributes or sells any pesticide who possesses a pesticide that has had its
registration canceled or suspended must notify the Administrator and appropriate officials in
accordance with the Order. The notification must include the following information:
   •    The quantity of the pesticide in possession.
   •    The place at which the pesticide is stored.
Chapter 13                                                                                    Page 5



                                                                                                     AR0000293
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 294 of 739




                       CHAPTER FOURTEEN
                   STOP SALE, USE, OR REMOVAL
                             ORDERS

                                                                               CONTENTS

Statutory Authority ................................................................................................................................................................ 2
Background ................................................................................................................................................................................ 2
Procedures .................................................................................................................................................................................3
    Serving the SSURO............................................................................................................................................................... 3
    Refusal to Accept SSURO ................................................................................................................................................ 4
    No One Available to Accept Service of the SSURO .............................................................................................4
    Disposing of Pesticides Covered by a SSURO....................................................................................................... 4
    Follow-up Inspections ..................................................................................................................................................... 4
    Violations of a SSURO ...................................................................................................................................................... 5
Exhibit 14-1: Model Stop Sale, Use, or Removal Order .............................................................................................6




                                                                                                                                                                                       AR0000294
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 295 of 739




STOP SALE, USE, OR REMOVAL ORDERS

                               STATUTORY AUTHORITY

FIFRA section 13(a) authorizes the Administrator to issue a Stop Sale, Use, or Removal Order
(SSURO) to any person who owns, controls or has in their custody any pesticide or device
where:
   •    The Administrator has reason to believe that the pesticide or device is in violation of any
        provision of the Act;
   •    The violative pesticide or device has been or is intended to be distributed or sold in
        violation of FIFRA; or
   •    The pesticide has been suspended or cancelled.
After EPA issues a SSURO against a pesticide or device, no person can sell, use, or remove the
pesticide or device except in accordance with the provisions of the SSURO.
FIFRA section 13(b) authorizes the seizure of any pesticide or device for confiscation and
condemnation. Section 13(c) sets forth requirements for the disposition of pesticides or devices
after condemnation.
FIFRA section 12(a)(2)(I) makes it unlawful for any person to violate any order issued under
section 13.


                                       BACKGROUND

SSUROs may be issued any time a pesticide or device is in violation of the Act. SSUROs,
however, are generally reserved for situations involving a potential hazard to health or the
environment. A SSURO:
   •    Can be expeditiously issued when EPA has a reason to believe a product is in violation of
        FIFRA.
   •    Extends to all of the violative pesticide material or devices under the custody or control
        of the person to whom the order is served.
   •    Keeps the responsibility for product disposal with the person to whom the order is
        served.
A SSURO will be prepared by EPA headquarters or a regional office. See Exhibit 14-1 for an
example of a SSURO. The following summarizes the steps in the SSURO process:
   •    Identify the violation and develop evidence to support the existence of the violation.

Chapter 14                                                                                   Page 2



                                                                                                 AR0000295
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 296 of 739




   •    Prepare a complete description of the pesticide or device for EPA to include in a SSURO,
        such as the address of the product location, the EPA Registration Number, EPA
        Establishment Number, active ingredients, or product batch or lot codes.
   •    Prepare and issue the SSURO.
   •    Monitor compliance with the SSURO.
   •    Amend the SSURO as necessary to allow movement of the product for final disposition.
   •    Vacate the SSURO upon compliance with FIFRA or disposal or reconditioning of the
        material.


                                       PROCEDURES

SERVING THE SSURO

Only EPA may issue federal SSUROs. However, EPA may request that a state inspector serve
SSUROs at specified locations. The SSURO is served to the owner, operator or agent in charge of
the establishment which has custody of the violative pesticide product or device. SSUROs are
also served upon the registrant at its headquarters location if the establishment with
custody/control isn’t the same as the owner. EPA headquarters or the regional office may elect
to serve the SSURO in person or by certified mail (return receipt requested).
The inspector should begin the service of the SSURO like an inspection, with presentation of
credentials and Notice of Inspection. The “Violation Suspected” section of the Notice of
Inspection must match the violation described in the SSURO. The inspector must explain to the
recipient the scope and meaning of the SSURO and the obligation which it places on him/her as
recipient. The explanation must include the fact that the product covered by SSURO cannot be
sold, used or removed unless the SSURO is amended or vacated by a further SSURO issued by
the EPA regional office or headquarters. The inspector must also provide the name of the EPA
contact person.
The inspector can then review and collect records, as necessary, to document violative activity,
and take inventories, if not done previously. If any samples or documents are collected, the
proper inspection and sample collection procedures must continue to be followed.
The inspector will determine the amount of the product covered by the SSURO that is under the
control of the person to whom the order is served. This information can be listed on a Notice of
SSURO (EPA Form 3540-27; see Exhibit 1-1), affixed to the product(s) and also reported to the
EPA regional office and/or headquarters. This Notice of SSURO is not to be used in lieu of a
SSURO, but may be used to identify product inventory which is subject to a SSURO already
issued.


Chapter 14                                                                                Page 3



                                                                                              AR0000296
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 297 of 739




REFUSAL TO ACCEPT SSURO

In the event that the person to whom the order is served refuses to accept the SSURO, the
inspector shall leave a copy of the order at the establishment and explain the following to the
recipient:
   •    The SSURO becomes effective when delivered and is binding on the recipient whether or
        not he/she accepts it.
   •    The recipient may discuss the SSURO with the contact person at EPA who is named in
        the SSURO.
   •    The recipient may be liable for a civil and/or criminal penalty for violating the terms of
        the SSURO as well as for the violation described in the SSURO.
The inspector should make a detailed record in his/her field notebook of this conversation and
his/her actions for possible use at any subsequent hearing or court action.

NO ONE AVAILABLE TO ACCEPT SERVICE OF THE SSURO

If an inspector attempts to deliver a SSURO and the owner or agent is not present, a copy of the
SSURO may be attached to the entry door of the establishment but another copy must be
served by certified mail (return receipt requested) or similar method and tracked. The inspector
should keep a record of his/her actions.

DISPOSING OF PESTICIDES COVERED BY A SSURO

EPA may issue a subsequent SSURO to permit the custodian of the product to bring the product
into compliance or to properly dispose of it. Such orders can either be served in person, by
certified mail or a method where delivery can be tracked. The original SSURO must be
amended or terminated to permit movement of the product.

FOLLOW-UP INSPECTIONS

Inspectors should consult with EPA prior to follow-up inspections to assure compliance with a
SSURO. Standard inspection procedures should be followed. Presentation of credentials and a
written Notice of Inspection must be issued stating that the purpose of the inspection is to
assure compliance with the SSURO issued on the pesticide(s) or device(s) listed in the SSURO.
The inspector must confirm that the owner or agent received the SSURO and record the date
received, if possible. The stock affected by the SSURO must be counted and documented,
including package sizes and lot numbers. Any discrepancies between quantities in inventory and
amounts stated in the SSURO must be resolved and documented.



Chapter 14                                                                                   Page 4



                                                                                                 AR0000297
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 298 of 739




In addition to the above information, the inspector should:
   •    Confirm that the company satisfied the data requirements that were the basis of the
        suspension or voluntarily cancellation, if applicable, by obtaining a copy of an official
        notification by the Office of Pesticide Programs that the requirements were satisfied
        and the SSURO was lifted. After obtaining this documentation the inspector may
        terminate the inspection.
   •    Determine if the company has requested or received any additional guidance from EPA
        concerning disposal. If so, copy and identify the guidance document(s). Provide the
        name of the state organization that will assist the company with disposal.
   •    Determine if the company has informed producing distributors and/or contacted
        manufacturers. If so, copy and identify record(s) of these contacts.
   •    Inspect production records for products named in the order and compare them to the
        effective date of the SSURO.
   •    Photograph or photocopy records showing production after the effective date of the
        SSURO or last production prior to the effective date. Depending on the specifics of the
        SSURO, production may not be prohibited but sale and distribution of the violative
        product are prohibited. To determine whether there have been unlawful sales, it is
        necessary to look at production records. The volume of production after the
        notification must physically remain in stock at the producing establishment. Shipping
        records can also be reviewed to establish whether or not products have been sold or
        distributed. If the SSURO is batch/lot specific, the SSURO may not prohibit production or
        sale/distribution of product not included in the violative batch/lot.
   Some information obtained during the follow-up inspections may be claimed as FIFRA CBI
   (Confidential Business Information). For more information on CBI, see Chapter 1.

VIOLATIONS OF A SSURO

If a violation of a SSURO is discovered during a follow-up inspection, the inspector must:
   •    Report the violation to the EPA regional or headquarters office immediately.
   •    Document the violation (including the name, title and duties of the person responsible
        for the violation) and send a written report to the EPA regional or headquarters office.




Chapter 14                                                                                    Page 5



                                                                                                    AR0000298
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 299 of 739




     EXHIBIT 14-1: MODEL STOP SALE, USE, OR REMOVAL ORDER

(Note – Currently, EPA’s OECA is developing an improved model SSURO that will be
inserted as Exhibit 14-1 when it becomes available.)

                    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                         REGION __
                                     STREET ADDRESS
                                   CITY, STATE ZIP CODE



IN THE MATTER OF                                )       Stop Sale, Use or
                                                )       Removal Order
Respondent’s Name                               )
Respondent’s Address                            )       DOCKET NO: FIFRA- _(docket number)_
Respondent’s City, State and Zip Code           )
                                                )
                                                )
____________________________________            )


                                           I. AUTHORITY

    1. This Stop Sale, Use, or Removal Order (“Order”) is issued pursuant to the authority
       vested in the Administrator of the United States Environmental Protection Agency
       (“EPA”) by Section 13(a) of the Federal Insecticide, Fungicide, and Rodenticide Act, as
       amended (AFIFRA”), 7 U.S.C. §136k(a), which authorizes the Administrator of the EPA to
       issue an order prohibiting the sale, use, or removal of any pesticide or device by any
       person who owns, controls, or has custody of such pesticide or device whenever there is
       reason to believe that, ___(Name of the pesticide, device or product)___, the pesticide or device
       is in violation of any provision of FIFRA, or the pesticide or device has been or is
       intended to be distributed or sold in violation of any provision of FIFRA. This authority
       was redelegated to the Regional Administrator of EPA Region __on ___(date)___ by
       Delegation No. 5-12, and was further redelegated within EPA Region __ to the Director
       of ___(division name)___ Division and to the Associate Director for ___(office name)___ on
       ___(date)___.

    2. Section 12(a)(1)(A) of FIFRA, 7 U.S.C. §136j(a)(1)(A), makes it unlawful for any person in
       any State to sell or distribute to any person any pesticide that is not registered under
       Section 3 of FIFRA, 7 U.S.C. §136a, or whose registration has been canceled or
       suspended unless otherwise authorized by EPA under FIFRA.


Chapter 14                                                                                       Page 6



                                                                                                     AR0000299
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 300 of 739




   3. Pursuant to Section 3(a) of FIFRA, 7 U.S.C. §136a(a), no person in any State may
      distribute or sell to any person any pesticide that is not registered under FIFRA.

   4. Pursuant to Section 2(u) of FIFRA, 7 U.S.C. §136(u), the term “pesticide” includes “any
      substance or mixture of substances intended for preventing, destroying, repelling, or
      mitigating any pest.”

   5. Pursuant to Section 2(t) of FIFRA, 7 U.S.C. §136(t), the term “pest” includes fungus,
      bacteria and “other microorganisms.”

   6. The regulations implementing FIFRA give further guidance on what constitutes a
      pesticidal purpose, stating that a substance is considered to be intended for a pesticidal
      purpose, and thus to be a pesticide requiring registration, if, among other things, the
      person who distributes or sells the substance “claims, states or implies (by labeling or
      otherwise) . . . [t]hat the substance . . . can or should be used as a pesticide.” 40 C.F.R.
      §152.15(a)(1). In addition, a substance is considered to be a pesticide requiring
      registration if the person who distributes or sells the substance “has actual or
      constructive knowledge that the substance will be used, or is intended to be used, for a
      pesticidal purpose.” 40 C.F.R. §152.15(c).

   7. Pursuant to Section 2(gg) of FIFRA, 7 U.S.C §136(gg), to Adistribute or sell” means to
      distribute, sell, offer for sale, hold for distribution, hold for sale, hold for shipment, ship,
      deliver for shipment, release for shipment, or receive and (having so received) deliver or
      offer to deliver.

   8. Sections 2(gg) and 12(a)(1)(A) of FIFRA, 7 U.S.C. §§136(gg) and 136j(a)(1)(A), make it
      unlawful for any person to “offer for sale” any pesticide if it is unregistered. EPA’s
      regulations at 40 C.F.R. §168.22 clarify that such prohibition extends to advertisements
      in any advertising medium to which pesticide users or the general public have access.

   9. This Order requires __(Respondent’s Name)__ to stop the sale, use, or removal of
      unregistered pesticides owned, controlled, or in its custody at or from its establishment
      located at or in the vicinity of ___(Respondent’s Address)___, or at or from any other
      establishment wherever located. __(Respondent’s Name)___ shall undertake all actions
      required by this Order, and comply with all requirements of this Order, including any
      subsequent modifications to this Order.

                                      II. BASIS FOR ORDER

   10. __(Respondent’s Name)___ (“Respondent Name”) or “Respondent”), located at ___(Respondent’s
       Address)__, is a Aperson” as that term is defined at Section 2(s) of FIFRA, 7 U.S.C. §136(s).



Chapter 14                                                                                     Page 7



                                                                                                   AR0000300
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 301 of 739




   11. Respondent is and, at all times relevant to this Order, was the owner and/or operator of
       an establishment located at or in the vicinity of located at ___(Respondent’s Address)__ (the
       “Facility”).

   12. On ___(Date)__, representatives of the ___(EPA Region, State or Tribe)___, duly authorized to
       conduct inspections under the authorities of Section 8 and Section 9 of FIFRA, 7 U.S.C.
       §§136f and136g, conducted inspections at Respondent’s Facility.

   13. During the inspections, the ___(EPA Region, State or Tribe)__inspectors collected a sample
       package of ___(Product Name)__, EPA Reg. No.: _______, from a sealed case on site which
       included the following label language:

             a. “For wiping hard non-porous environmental surfaces and patient care
                equipment”.
             b. “Suggested areas of usage: Medical, Dental and Laboratory Counters, Exam
                Tables, Carts, Point of Care Equipment, Telephone, Sink Tops.”

   14. During the inspections, the ___(EPA Region, State or Tribe)__ inspectors also collected a
       sample package of ___(Product Name)__ from a sealed case on site which included label
       language similar to the EPA registered ___(Product Name)__ product, EPA Reg. No.:
       _______, including the following:
             a. “Diluted Bleach Wipes for Hard Non-Porous Surfaces & Patient Care Equipment”.
             b. “Suggested areas of usage: External cleaning of dialysis machines, chairs and
                equipment, as well as, laboratory counters, exam tables and sink tops.”

   15. According to the ___(Date)__, ___(EPA Region, State or Tribe)__inspection report, the ___(EPA
       Region, State, or Tribe)__ inspectors presented an ___(Company Name)__ officer with a
       printout from the ___(Company Name)__ website during the inspection that contained
       multiple disinfection claims in connection with ___(Product Name)__.

   16. In a letter addressed to ___(EPA Region, State or Tribe)__dated the same day of the
       inspection, the same ___(Company Name)__officer stated that any reference to disinfection
       in connection with ___(Product Name)__ on the ___(Company Name)__ website was an error
       and would be removed.

   17. As of ___(Date)__, ___(Company Name)__website included the following language in
       connection with its ___(Product Name)__:
             a. At ___(Company’s Web Site URL)___ characterization of the product as a “Surface
                Disinfectant[ ]”.
             b. At ___(Company’s Web Site URL and subpage URL)___ the statement: “This pre-diluted,
                ready to use wipe meets the CDC Recommendations and OSHA requirements,

Chapter 14                                                                                      Page 8



                                                                                                       AR0000301
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 302 of 739




                while being consistent with many medical equipment manufacturers’
                recommendations for surface decontamination”.
             c. At ___(Company’s Web Site URL)___, the statements:
                    (i). “___(Product Name)__ meet the CDC Recommendations and OSHA
                           requirements (1:100 dilution is consistent with many medical
                           equipment manufacturers’ recommendations)”.
                    (ii). ___(Product Name)__ reduce the risk of cross contamination . . . and
                           eliminate stability problems associated with bleach buckets, or diluted
                           spray”.
                    (iii). a “Stability of Bleach” table illustrating the concentration of bleach over
                           thirty (30) minutes of exposure.
                    (iv). “APPROPRIATE FOR THE FOLLOWING MARKETS: Medical & Health Care
                           Labs, Dialysis, Long Term Health Care, Acute Hospital, Dentistry,
                           Ambulatory Care, Veterinary”.
             d. At ___(Company’s Web Site URL)___, the statements:
                    (i). “Would you like a convenient, time saving method for surface
                           contamination?”.
                    (ii). ___(Product Name)__ meet the CDC Recommendations and OSHA
                           requirements (1:100 dilution is consistent with many medical
                           equipment manufacturers’ recommendations)”.
                    (iii). ___(Product Name)__ reduce the risk of cross contamination . . . and
                           eliminate stability problems associated with bleach buckets, or diluted
                           spray”.
                    (iv). a “Stability of Bleach” table illustrating the concentration of bleach over
                           thirty (30) minutes of exposure.
                    (v). “APPROPRIATE FOR THE FOLLOWING MARKETS: Medical & Health Care
                           Labs, Dialysis, Long Term Health Care, Acute Hospital, Dentistry,
                           Ambulatory Care, Veterinary”.
                    (vi). procedures for use for “Decontamination of Surfaces”.
                    (vii). under “CDC Guidelines and Recommendations for 1:100 Diluted Bleach
                           Solution”:

                                Environmental Infection Control of Healthcare Facilities- June
                                2003
                                “If the surface is nonporous …and sodium hypochlorite solution is
                                used, a dilution of 1:100 for decontaminating assuming that A) the
                                worker assigned to clean the spill is wearing gloves and other
                                personal protective equipment to the task, B) most of the organic
                                matter of the spill has been removed with absorbent material and
                                C) the surface has been cleaned to remove residual organic
                                matter.”
Chapter 14                                                                                     Page 9



                                                                                                   AR0000302
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 303 of 739




                              Recommendation for Preventing Transmission of Infections
                              among Chronic Hemodialysis Patients MMWR50 (RR05); 1-43
                              “Intermediate level disinfection kills bacteria and most viruses and
                              is accomplished by using a 1:100 dilution of bleach (300-600 mg/L
                              free chlorine). For a blood spill, immediately clean the area with a
                              1:100 dilution of household bleach.”
                              Draft Guideline for Disinfection and Sterilization in Healthcare
                              Facilities HICPAC 2/20/2002
                              “If sodium hypochlorite solutions are selected use a 1:100 dilution
                              (500 ppm available chlorine) to decontaminate nonporous
                              surfaces after cleaning a small spill of either blood or OPIM [other
                              potentially infectious material].”
                              Guideline for Infection Control in Dental Healthcare Settings -
                              2003, 2003MMWR (RR17)
                              “Sodium hypochlorite is an inexpensive and effective intermediate
                              level germicide. Concentrations ranging from 500 ppm to 800
                              ppm of chlorine (1:100 dilution of 5.25% bleach and tap water, or
                              approximately 1/4 cup of 5.25% bleach to 1 gallon of water) are
                              effective on environmental surfaces that have been cleaned of
                              visible contamination.”

             e. at (___(Company’s Web Site URL)___ the following statements:
                    (i).   procedures for use for “Disinfection of Surfaces”.
                    (ii). “Wipe the desired surface to be disinfected”.
                    (iii). under “CDC Guidelines and Recommendations for 1:100 Diluted Beach
                           Solution”:

                         Environmental Infection Control of Healthcare Facilities- June 2003
                         “If the surface is nonporous …and sodium hypochlorite solution is used, a
                         dilution of 1:100 for decontaminating assuming that A) the worker assigned to
                         clean the spill is wearing gloves and other personal protective equipment to
                         the task, B) most of the organic matter of the spill has been removed with
                         absorbent material and C) the surface has been cleaned to remove residual
                         organic matter.” (for more detailed information click here)
                         Recommendation for Preventing Transmission of Infections among
                         Chronic Hemodialysis Patients MMWR50 (RR05); 1-43
                         “Intermediate level disinfection kills bacteria and most viruses and is
                         accomplished by using a 1:100 dilution of bleach (300-600 mg/L free
                         chlorine). For a blood spill, immediately clean the area with a 1:100 dilution of
                         household bleach.” (for more detailed information click here)
                         Draft Guideline for Disinfection and Sterilization in Healthcare Facilities
                         HICPAC 2/20/2002
                         “If sodium hypochlorite solutions are selected use a 1:100 dilution (500 ppm

Chapter 14                                                                                        Page 10



                                                                                                        AR0000303
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 304 of 739



                         available chlorine) to decontaminate nonporous surfaces after cleaning a
                         small spill of either blood or OPIM [other potentially infectious (for more
                         detailed information click here)
                         material].”
                         Guideline for Infection Control in Dental Healthcare Settings - 2003,
                         2003MMWR (RR17)
                         “Sodium hypochlorite is an inexpensive and effective intermediate level
                         germicide. Concentrations ranging from 500 ppm to 800 ppm of chlorine
                         (1:100 dilution of 5.25% bleach and tap water, or approximately 1/4 cup of
                         5.25% bleach to 1 gallon of water) are effective on environmental surfaces
                         that have been cleaned of visible contamination.” (for more detailed
                         information click here)

   18. At ___(Company’s Web Site URL)___, ___(Product Name)__ “09301-100 ___(Product Name)__
       Singles 1:100 - Quantity: 100 pkgs per Box” and “09302-50 ___(Product Name)__ Doubles
       1:100 - Quantity: 50 pkgs per Box” are available to the public for online purchasing.

   19. Together, the language described in paragraphs 14 and 17, above, claim, state, or imply
       that ___(Product Name)__ can or should be used as a pesticide.

   20. ___(Product Name)__ is a pesticide, as defined in Section 2(u) of FIFRA, 7 U.S.C. §136(u),
       and 40 C.F.R. §§152.3 and 152.15.

   21. ___(Product Name)__ is not registered with EPA as a pesticide, and has never been so
       registered.

   22. Respondent owns, controls and/or has custody of the ___(Product Name)__ described
       herein, and has sold or distributed or intends to sell or distribute such product to other
       persons, in violation of Sections 12(a)(1)(A) of FIFRA, 7 U.S.C. §§136j(a)(1)(A).

                                            III. ORDER

   23. This Order requires Respondent to stop the sale, use, or removal of unregistered
       pesticides owned, controlled, or in the custody of Respondent at or from an
       establishment located at or in the vicinity of ___(Establishment Address)__, or at or from any
       other establishment wherever located. Respondent shall undertake all actions required
       by this Order, and comply with all requirements of this Order, including any subsequent
       modifications to this Order.

   24. EPA hereby orders the Respondent to stop the sale, use or removal of ___(Product
       Name)__.

   25. This Order shall pertain to all quantities (in all packaging types and sizes) of ___(Product
       Name)__, owned, controlled, or in the custody of Respondent or any parties acting as

Chapter 14                                                                                       Page 11



                                                                                                       AR0000304
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 305 of 739




      agents for Respondent wherever they may be located. The product covered by this
      Order shall not be distributed, sold, offered for sale, held for distribution, held for sale,
      held for shipment, shipped, delivered for shipment, released for shipment, received and
      (having been so received) delivered or offered for delivery, moved, used or removed for
      any reason, other than in accordance with the provisions of this Order or any such
      further order as may be issued by EPA in connection with the pesticide product
      identified in this Order.

   26. Violation of the terms or provisions of this Order may subject Respondent and/or any
       responsible individuals to civil or criminal penalties as prescribed in Section 14 of FIFRA,
       7 U.S.C. §136l.

   27. The issuance of this Order shall not act as a waiver by EPA of any enforcement or other
       authority available to EPA under FIFRA or any other federal statute.

   28. This Order shall be effective immediately upon receipt by Respondent or any agents of
       Respondent.

   29. This Order shall remain in effect unless and until revoked, terminated, suspended, or
       modified, in writing, by EPA.

   30. For instructions as to the ultimate disposition of all existing stocks of ___(Product Name)__,
       and for technical assistance regarding any matter addressed in this Order, please
       contact:

              (Regional Pesticide Staff Person Name)
              (Region Division / Branch, and Mail Code)
              U.S. EPA, Region ???
              (Regional Address)
              Phone: ( ) #
              Fax: ( ) #
              E-mail:

   31. For questions regarding legal matters relating to this Order, you or your attorney may
       contact:
              (ORC Attorney’s Name), Esq. (Mail Code)
              (Division / Branch)
              U.S. EPA, Region ???
              (Regional Address)
              Phone: ( ) #
              Fax: ( ) #
              E-mail:
______________                 ______________________________________________________
Date                                    (Name of EPA Director), Director   (Name of Division)

Chapter 14                                                                                      Page 12



                                                                                                    AR0000305
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 306 of 739




                                                CHAPTER FIFTEEN
                                                    RECALLS

                                                                                CONTENTS

Statutory Authority ................................................................................................................................................................ 2
    Voluntary Recall .................................................................................................................................................................2
    Mandatory Recall ............................................................................................................................................................... 2
    Contents of Recall Plan ....................................................................................................................................................3
Objectives ...................................................................................................................................................................................3
Recall Procedures ..................................................................................................................................................................... 3
    Process ....................................................................................................................................................................................3
    Levels of Recalls .................................................................................................................................................................. 4
    Notification to the Company ...........................................................................................................................................4
Inspection Procedures............................................................................................................................................................4
    Initial Visit to Company(s) Identified in the Recall................................................................................................ 5
    Follow-Up to Recall ............................................................................................................................................................. 5
    Follow-Up after Completion of Recall ......................................................................................................................... 5
    Reporting ................................................................................................................................................................................ 5
        Initial Recall Report ...................................................................................................................................................5
        Interim Reports ............................................................................................................................................................ 6
        Final Recall Reports ................................................................................................................................................... 6




                                                                                                                                                                                           AR0000306
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 307 of 739




                                       RECALLS

                               STATUTORY AUTHORITY

FIFRA section 19(b) authorizes the recall of products if the registration of a pesticide has been
suspended or canceled under section 6 or when the Administrator finds that a recall is
necessary to protect health or the environment.

VOLUNTARY RECALL

If, after determining that a recall is necessary, the Administrator finds that voluntary recall by
the registrant and others in the chain of distribution may be as safe and effective as a
mandatory recall, the Administrator shall request the registrant of the pesticide to submit,
within 60 days of the request, a plan for the voluntary recall of the pesticide. If such a plan is
requested and submitted, the Administrator shall approve the plan and order the registrant to
conduct the recall in accordance with the plan unless the Administrator determines, after an
informal hearing, that the plan is inadequate to protect health or the environment.

MANDATORY RECALL

If, after determining that a recall is necessary, the Administrator does not request the
submission of a voluntary recall plan or finds such a plan to be inadequate, the Administrator
shall issue a regulation that prescribes a plan for the recall of the pesticide. A regulation issued
under this paragraph may apply to any person who is or was a registrant, distributor or seller of
the pesticide or any successor in interest to such a person.
A regulation prescribing a mandatory recall may require any person that is subject to the
regulation to:
   •    Arrange to make available one or more storage facilities to receive and store the
        pesticide to which the recall program applies and inform the Administrator of the
        location of each such facility.
   •    Accept and store at such a facility those existing stocks of such pesticide that are
        tendered by any other person who obtained the pesticide directly or indirectly from the
        person that is subject to such regulation.
   •    On the request of a person making such an offer, provide for proper transportation of
        the pesticide to a storage facility.
   •    Take such reasonable steps as the regulation may prescribe to inform persons who may
        be holders of the pesticide of the terms of the recall regulation and how those persons


Chapter 15                                                                                   Page 2



                                                                                                 AR0000307
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 308 of 739




        may tender the pesticide and arrange for transportation of the pesticide to a storage
        facility.

CONTENTS OF RECALL PLAN

A recall plan established under FIFRA section 19(b) shall include:
   •    The level in the distribution chain to which the recall is to extend and a schedule for
        recall.
   •    The means to be used to verify the effectiveness of the recall.
Failure to comply with a voluntary/mandatory recall may result in the issuance of a stop sale,
use or removal order to the consignees of the pesticide in question.


                                         OBJECTIVES

The recall program is designed to remove any violative product from the market as
expeditiously as possible. Recalls may be initiated in any case in which the available information
indicates that the product is (1) potentially hazardous when used as directed or (2) ineffective
for the purpose(s) claimed in the registration. A product will be considered for recall when,
among other things, its use as directed would likely result in the following:
   •    Economic or physical injury to the user or handler of the product.
   •    Injury to animals or plants where direct application is made.
   •    Injury resulting from illegal residues.
   •    Injury to fish or wildlife.
   •    Other adverse effects on the environment.
A recall may be made after the cancellation by EPA of a product due to lack of existing
tolerance, environmental damage caused by a pesticide’s labeled uses, or EPA actions taken
under the Food Quality Protection Act of 1996 during a pesticide’s registration or re-
registration, such as cancellation due to harm to workers, or human health risk analysis.


                                      RECALL PROCEDURES

PROCESS

The following summarizes the steps by Office of Pesticide Programs and the Office of General
Counsel in the recall process:



Chapter 15                                                                                   Page 3



                                                                                                  AR0000308
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 309 of 739




   •    Identify the violation and develop evidence to support the violation and the hazard
        presented.
   •    Prepare a complete description of the material to be recalled and the level in the
        distribution chain to which the recipient will be requested to remove the product.
   •    Prepare and issue the recall.
Inspectors participate in the process by monitoring the quantities returned from each location
and by monitoring the disposition of all returned material.

LEVELS OF RECALLS

The level of recall refers to the point in the distribution chain from which the product is to be
recalled. The determination of that point is based on the potential hazard, use pattern and
distribution pattern of the product. The levels of recall can extend to the following:
   •    Pesticide products under the registrant’s control.
   •    Products in the chain of distribution not under the control of the registrant.
   •    User-level recalls. Recalls at this level generally are requested only in cases where there
        is a very serious hazard to human health or the environment.

NOTIFICATION TO THE COMPANY

 A notification will be sent to the registrant’s headquarters ordering a recall. The letter will
include:
   •    A brief summary of why EPA is requesting a recall.
   •    A request that the company provide EPA with the amount and location of product that
        is being recalled (if it is known).
   •    A request that EPA be provided with information on all steps taken in connection with
        the recall and an accounting of the amount that was actually recalled.
Additionally, EPA may provide draft recall letters for the company to send to their primary and
secondary distributors and for those distributors to send to their customers.
The company is encouraged to contact EPA and discuss the notice. In urgent cases, EPA will
initially notify the company by telephone and/or facsimile.


                              INSPECTION PROCEDURES

After the company has received notification of recall from EPA, an inspector will be assigned to
monitor the recall. EPA will provide the inspector with the recall notification. In some instances,

Chapter 15                                                                                     Page 4



                                                                                                    AR0000309
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 310 of 739




the inspector may receive a strategy from EPA’s Office of Enforcement and Compliance
Assurance for monitoring the recall. If OECA has not provided a strategy, the EPA regional
supervisor and the inspector must develop their own strategy before proceeding. The inspector
will receive a copy of any recall agreement between the registrant(s) and EPA. Each recall is
unique. The inspector must review and understand the terms of the recall before conducting an
inspection.

INITIAL VISIT TO COMPANY(S) IDENTIFIED IN THE RECALL

An initial visit must be planned to occur approximately 30 days after the date of the recall
notification. The 30-day time period provides adequate time for the company to respond to the
recall notification and decide upon a course of action. The inspector must review the progress
of the recall with the responsible company official and obtain copies of documents, records and
correspondence used by the company in the recall. If the inspector discovers that the terms of
the recall are not being met (e.g., failure to notify distributors as required), the inspector must
document the noncompliance. This may be accomplished by photocopying appropriate
documents or taking statements from knowledgeable persons.

FOLLOW-UP TO RECALL

The inspector may conduct interim visits to the company or receive status reports from the
company to document how the recall is proceeding.

FOLLOW-UP AFTER COMPLETION OF RECALL

Once EPA receives information that the inspector located all available pesticide products and
that the products were either returned or held, the regional EPA pesticide supervisor may
decide to visit a select number of consignees to determine the effectiveness of the recall. Each
consignee visited must be asked whether the firm received a recall letter, whether any of the
pesticide products in question was on hand and, if so, whether the company complied with the
recall letter. The inspector should document responses.

REPORTING

All inspection reports must be provided to the regional supervisor for evaluation and a
summary of the inspection reports must be forwarded to EPA headquarters.

                                  INITIAL RECALL REPORT

The initial visit report must be a narrative that reflects the company’s efforts to implement the
recall and will include:


Chapter 15                                                                                  Page 5



                                                                                                AR0000310
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 311 of 739




   •    When appropriate, a list of consignees to whom the recall letters were mailed and the
        date(s) sent.
   •    Any documentation obtained during the visit.

                                      INTERIM REPORTS

Interim reports must be submitted on: (1) a regular basis as required by the compliance
strategy, and (2) whenever any new information becomes available.

                                   FINAL RECALL REPORTS

The final recall report is the inspector’s narrative summarizing actions taken by the company
and must be submitted as soon as the recall is completed in accordance with the recall
notification. This report must include the following information:
   •    Name of the product being recalled.
   •    EPA Registration Number of the product being recalled.
   •    Batch number(s) of the product being recalled.
   •    Name, address and contact for the company that received EPA’s letter requesting the
        recall of the product.
   •    Action taken by the company, such as:
             o Number of consignees the company had and number of consignees they
               contacted.
             o Actual amount of the product the company distributed to consignees.
             o Amount of products the consignees still have in their control.
             o Number of consignees that returned product.
             o Total amount of product returned for all of the consignees.
   •    What the company did with the product. (Did they dispose of it or reuse it?)
   •    Which consignees the inspector visited; dates of inspections; and documented
        discrepancies.




Chapter 15                                                                                Page 6



                                                                                                AR0000311
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 312 of 739




                      CHAPTER SIXTEEN
                  INSPECTION REPORTS AND
                SUPPORTING DOCUMENTATION

                                                                               CONTENTS

Introduction ............................................................................................................................................................................... 2
Purpose of Written Reports ................................................................................................................................................ 2
    Communicate ...................................................................................................................................................................... 2
    Provide a Basis for Compliance Determination/Action ..................................................................................... 2
    Releasability of Written Reports and Records ....................................................................................................... 3
Five Steps in Writing a Narrative Report....................................................................................................................... 3
    Step 1—Plan ......................................................................................................................................................................... 3
    Step 2—Organize the Material ...................................................................................................................................... 3
    Step 3—Write ....................................................................................................................................................................... 3
    Step 4—Evaluate................................................................................................................................................................. 4
    Step 5—Rewrite .................................................................................................................................................................. 4
    Essentials of A Good Report ........................................................................................................................................... 4
CBI Considerations.................................................................................................................................................................. 5
Report Format........................................................................................................................................................................... 6
Supporting Documentation ................................................................................................................................................. 6
    Field Notebooks ................................................................................................................................................................. 6
    Statements ............................................................................................................................................................................ 7
    Photographs ........................................................................................................................................................................ 8
    Drawings and Maps ......................................................................................................................................................... 9
    Printed Matter .................................................................................................................................................................... 9
    Mechanical Recordings .................................................................................................................................................. 9
Exhibit 16-1: FIFRA Establishment Inspection Report Example ....................................................................... 10
Exhibit 16-2: FIFRA Use/Misuse Investigation Report Example .......................................................................... 12




                                                                                                                                                                                        AR0000312
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 313 of 739




            INSPECTION REPORTS AND
          SUPPORTING DOCUMENTATION

                                      INTRODUCTION

Information gathered and presented by inspectors is essential to the success of the
enforcement program. The inspector must be able to prepare clear, objective and well-
documented written inspection reports.


                         PURPOSE OF WRITTEN REPORTS

COMMUNICATE

The main purpose of a written inspection report is to clearly and concisely communicate a
complete and factual record of the inspection process, observations and results to the reader,
from the opening conference, through the inspection/collection of samples, to the closing
conference. To communicate effectively, the report must be a complete and accurate record of
what was discovered and what occurred during the inspection. The report shall not contain any
opinions of the inspector and shall not make any conclusions of law.

PROVIDE A BASIS FOR COMPLIANCE DETERMINATION/ACTION

The inspection report must contain information and documentation about the inspection that
will enable a case review officer to determine:
   •    the facility’s compliance with FIFRA and
   •    that the inspector followed statutory requirements for:
             o presenting credentials,
             o issuing a Notice of Inspection, containing a reason for the inspection,
             o collecting evidence and issuing a Receipt for Samples.
If enforcement action is warranted, the inspection report must contain all the elements
necessary to support any alleged violations. For example, if an inspector discovers an
unregistered pesticide, the inspector must gather the complete pesticide label (i.e., front and
back panels and any associated booklets or labeling materials) and/or take high resolution
digital photographs of the product, and collect shipment and/or distribution information for the
product, along with any other relevant information about the product and include this

Chapter 16                                                                               Page 2



                                                                                             AR0000313
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 314 of 739




information in the inspection report. If an inspection report is not complete or accurate, EPA
may have to expend additional time and resources.

RELEASABILITY OF WRITTEN REPORTS AND RECORDS

The regulated community sometimes requests copies of written reports and records associated
with inspections. The Freedom of Information Act (FOIA) governs the disclosure of information
to industry and the public and is discussed in Chapter 1. Federal inspectors, as well as state or
tribal inspectors performing federal inspections, shall not release any notes, documents,
reports, etc. obtained or prepared in connection with a FIFRA inspection until such time as
authorized by EPA. EPA inspectors should refer to the “Interim Policy on Inspection Report
Timeliness and Standardization”, June 29, 2018 issued by OECA or any subsequent final policy.


             FIVE STEPS IN WRITING A NARRATIVE REPORT

STEP 1—PLAN

By planning how facts must be presented in the inspection report prior to the inspection, the
inspector can improve the quality of the inspection report as well as the inspection itself. It
should be noted that some elements that will need to be included in or with the report (i.e.,
samples analysis) may not be available at the time of report preparation. Do not delay
preparing the report while waiting for sample analysis. Sample analysis can be added as an
exhibit to the report when it becomes available.

STEP 2—ORGANIZE THE MATERIAL

All information gathered during the inspection must be reviewed for relevance and
completeness. This includes inspection report forms, field notebooks and checklists. The field
notebook and/or inspection checklists are useful tools for developing the narrative report, but
cannot replace a narrative report. Any identified gaps in the information must be resolved by
follow-up telephone calls or follow-up inspections. The material must then be organized in the
order that it will be presented in the report.

STEP 3—WRITE

While writing the inspection report, keep the following in mind:
   •    The inspection report should be a complete record of what occurred at the inspection,
        including conversations that took place, documentation that was collected and physical
        samples that were collected. Photographic evidence should be included when
        appropriate.


Chapter 16                                                                                 Page 3


                                                                                                  AR0000314
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 315 of 739




   •    Just report the facts as to what was observed. Do not include opinions or conclusions of
        law. Keep the reader in mind. When preparing an inspection report, assume that the
        reader knows nothing about the case except what is in the report. The report must
        construct a complete and accurate picture of the entire inspection, step-by-step.
   •    The report should be peer-reviewed before it is finalized.

STEP 4—EVALUATE

After writing the report, review the report from the viewpoint of the reader and answer the
following questions:
   •    Does it answer the questions—who, what, when, where, why and how?
   •    Is each asserted fact supported, with a citation provided, by a document, picture,
        sample, recorded observation or statement from an individual?
   •    Is it fair, concise, complete, accurate and logical? Is any part ambiguous?
   •    Does it communicate clearly?
   •    Is there any other information needed to fulfill the purpose of the investigation?
   •    Can supervisors and reviewers make appropriate decisions based on this report?
   •    Are any further inquiries necessary?
Proofread the report to check for inconsistencies, unnecessary repetition, tone, omissions and
typographical errors.

STEP 5—REWRITE

Correct those portions of the narrative that were identified as needing improvement.

ESSENTIALS OF A GOOD REPORT

   •    Fairness—The report must be objective, impartial, unbiased and unemotional. Convey
        facts so they speak for themselves. Avoid rumors, gossip, or offensive remarks or
        language. To test for fairness, read the material aloud to ensure the report is conveying
        the proper tone for the reader and the purpose of the report.
   •    Accuracy—The information must be stated precisely and accurately in plain language.
        The inspection report must under no circumstances include the inspector’s conclusions
        regarding compliance or noncompliance. The goal is to present the facts clearly. If the
        inspector wants to communicate certain opinions to the reviewer, these opinions must
        be contained in a memorandum to the file or legal office separate from the inspection
        report and be marked “enforcement confidential” and “attorney-client privileged.”

Chapter 16                                                                                   Page 4


                                                                                                AR0000315
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 316 of 739




        These memoranda are usually “to the file” and identified as “Not for FOIA release.” In an
        enforcement case, the entire inspection report is subject to discovery by the opposing
        side. If conclusions of law or opinions are in the report, it may weaken the inspector’s
        credibility. In addition, the inspector may have been wrong about a violation. Attorney-
        client privilege typically protects a separate memorandum of findings or conclusions
        from discovery.
   •    Completeness—Include all information observed. Something that may seem irrelevant
        at the time of the inspection may prove relevant later on. All known facts should be
        reported either in the text or as an attachment, so that no further explanation is
        needed. The report must answer the questions “who, what, when, where, why and
        how.” Each asserted fact should be supported, with a citation provided, by a document,
        picture, sample, recorded observation or a statement from an individual.
   •    Sources of evidence—Always report the source of information (including their job title)
        and document where samples were obtained.
   •    Attachments—The report will consist of a narrative portion with appropriate
        attachments that are labeled and consistently referenced in the report so that they are
        easy to follow and find. The attachments will support and document that the inspector
        followed statutory requirements and will be used as the basis to make a decision as to a
        facility’s compliance status. Always reference attachments parenthetically in the
        narrative portion of the report and consecutively number in the order mentioned.
   •    Facts indicating weaknesses in the case—Explanations from the individuals being
        interviewed or important facts that point to weaknesses in the case should not be
        omitted. Subsequent disclosure of facts indicating weaknesses that were known by the
        report writer but not disclosed may compromise any potential enforcement action.
        Disclosure of any potential weaknesses in the report will give reviewers an opportunity
        to determine the appropriate a course of action.
   •    Conciseness—Concise writing includes facts, details and necessary explanation, but is
        free of all that is elaborate or non-essential. Conciseness is not what is said, but how it is
        said. Use short sentences with active verbs and paragraphs whenever possible.
   •    Clarity and logical presentation—The report must be written clearly in order to avoid
        misinterpretations. Writing takes time and effort. Order thoughts and arrange them
        logically, and select the words that will best convey the thoughts to the reader.


                                 CBI CONSIDERATIONS

An inspector may encounter Confidential Business Information (CBI) during an inspection.
Examples of CBI may include:
   •    Establishment’s pesticide production records,

Chapter 16                                                                                     Page 5


                                                                                                   AR0000316
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 317 of 739




   •    Batch records,
   •    Product formulation, and/or
   •    Annual pesticide production reports.
Those portions of the report that contain CBI must be treated in accordance with FIFRA CBI
procedures. See Chapter 1 for more information on CBI procedures.


                                    REPORT FORMAT

The inspection report consists of a narrative report with several attachments. See Exhibits 16-1
and 16-2 for examples of inspection report outlines.


                         SUPPORTING DOCUMENTATION

In addition to physical samples, documentary support is necessary for an enforcement case.
These documents may include field notebooks, statements, copies of records, photographs,
drawings and maps, printed matter and mechanical recordings. Establishing a chain of custody
is just as important for supporting documentation as it is for pesticide product sampling and
residue and environmental sampling. The chain of custody establishes where the document
has been and how it has been treated since it was collected. See Chapter 6 (Pesticide Product
Sampling) and Chapter 7 (Residue and Environmental Samples) for additional information.

FIELD NOTEBOOKS

The field notebook is the core of all inspection documentation. The field notebook (preferably
bound) is part of the Agency's files and is not the inspector's personal record. Notebooks must
be held indefinitely as supporting documentation to the inspection file. The field notebook is
intended to provide accurate and inclusive documentation of all inspection activities and to
provide a basis for written inspection reports. Inspectors shall record only facts and pertinent
observations using objective language, free of personal feelings.
It is essential for the inspector to keep detailed records of inspections, investigations, samples
collected, etc. to serve as an aid in writing reports and giving testimony. The following types of
information shall be included in the field notebook:
   •    Observations. Record all conditions, practices and other observations that will be useful
        in preparing the inspection report or will contribute to establishing valid evidence.
   •    Unusual conditions and problems. Note and describe in detail any unusual conditions
        and problems encountered during the course of the inspection visit.




Chapter 16                                                                                   Page 6


                                                                                                AR0000317
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 318 of 739




   •    General information. List names and titles of personnel encountered and the activities
        they perform, along with any statements they may have made and other general
        information.

Inspectors should either have separate field notebooks for each inspection or clearly identify
each inspection separately in the field notebook so that copies of the notes applicable to the
inspection can be included in the case file should enforcement action be taken.

STATEMENTS

An inspector should obtain statements from persons having knowledge of the facts pertinent to
a potential violation. Use EPA Statement Form 3540-42 (Exhibit 1-1). The purpose of obtaining
a statement is to have a written record containing factual information to be used to determine
if there has been a violation or to document an alleged violation. Statements are similar to
affidavits except that the statement is not made under oath. The following procedures and
considerations may be helpful in developing a proper statement:
   •    Determine the need for a statement. Will a statement provide useful factual
        information that will help to determine whether a violation occurred or to show a
        violation occurred? Is the person making the statement qualified to do so by having
        personal knowledge?
   •    Identify the person making the statement (name, position, address, etc.).
   •    Explain why the person is qualified to make the statement.
   •    Use a simple narrative style (avoid stilted language).
   •    Narrate the facts in the words of the person making the statement (use the first-person
        singular).
   •    Present the facts in chronological order, unless the situation calls for some other
        arrangement.
   •    Read the statement to the person (preferably in the presence of a witness) and make
        any necessary changes, initialing all corrections or changes.
   •    Ask the person making the statement to write a brief concluding paragraph indicating
        that he/she read and understood the statement. This safeguard will counter a later
        claim that the person did not know what he/she was signing.
   •    Have the person sign the statement. The inspector must also sign and date the
        statement. Be sure to provide a copy of the statement to the signer, if requested.
   •    If he/she refuses to sign the statement, elicit a verbal acknowledgment that it is true
        and correct, and then record that acknowledgement on the statement. The inspector
        should initial or sign the statement nearby the written verbal acknowledgement, and
        also sign the statement in the appropriate block at the bottom of the form.




Chapter 16                                                                                Page 7


                                                                                                 AR0000318
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 319 of 739




Note that FIFRA inspectors may not take affidavits or statements under oath or affirmation
except where the inspector is authorized under state law to take affidavits or statements under
oath or affirmation (e.g., a notary).

PHOTOGRAPHS

Photographs are valuable as evidence as they provide an objective record of the conditions at
the time of inspection. EPA encourages inspectors to use high-resolution digital photography to
document the products and devices observed during inspection. When taking photographs
during an inspection, follow these steps:
   •    Follow the guidelines in the EPA Digital Image Guidance for EPA Civil Inspections and
        Investigations.

   •    All photos should be recorded on the EPA Photo Log, EPA Form 3540-43 (see Exhibit 1-
        1).
   •    Chain-of-custody procedures apply to photos. Keep all digital and/or original hard copy
        photos in a secure location and do not alter photos in any way. If an alteration is
        necessary (cropped, enlarged, etc), save a copy of the original for reference.
   •    Digital photographs are preferable, but if photographs are taken on film, the inspector
        must immediately identify the location, date, inspector's initials and related sample
        number (if applicable). The field notebook should identify the order in which
        photographs are taken and, once developed, the same information should be written on
        the back of the photo itself.
   •    It is sometimes useful to photograph a subject from a point that will indicate the
        location and direction of the subject. The addition of an object of known size, such as a
        person, car, coin or ruler will help indicate the size of the subject. This is known as using
        a reference by which to judge size, distance or location.
   •    Do not take photographs of written records or reports that are or may be considered
        CBI. However, pesticide products, product labels and establishments are generally not
        considered CBI and not subject to confidentiality claims. Although EPA has the authority
        to take photographs during inspection, if there is sensitive or confidential material in the
        establishment, the inspector shall request that pesticides be moved to a non-sensitive
        area of the establishment (such as the loading dock) for photographs.
   •    Videography is also appropriate in enforcement documentation. The same
        recommendations apply to videography as apply to photography.




Chapter 16                                                                                     Page 8


                                                                                                   AR0000319
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 320 of 739




DRAWINGS AND MAPS

Schematic drawings, maps, charts and other graphic records may be useful in documenting a
violation. Drawings and maps should be simple and free of extraneous details. Basic
measurements must be included to provide a scale for interpretation and compass points must
be included.
All drawings, maps, etc. must be identified with the inspector's initials, the date, sample
number and any other pertinent information (e.g., “not drawn to scale”). It would be useful to
identify the source of any commercial map, chart or other graphic record.

PRINTED MATTER

Brochures, literature, labels and other printed matter can provide important information
regarding a firm's conditions and operations. These materials may be collected as
documentation. All printed matter must be identified with date, inspector's initials and related
sample numbers.

MECHANICAL RECORDINGS

Records produced electronically or by mechanical apparatus can be used as evidence. Follow
normal chain-of-custody procedures in collecting electronic records.




Chapter 16                                                                                 Page 9


                                                                                              AR0000320
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 321 of 739




  EXHIBIT 16-1: FIFRA ESTABLISHMENT INSPECTION REPORT
                         EXAMPLE




                                   Establishment Name
                                       Street Address
                               (Mailing Address, if different)
                                    City, State Zip Code




                                    Date of Inspection




                                       Performed by:
             U.S. Environmental Protection Agency (or state/tribal government)
                                  Office/Division/Branch
                                           Address
                                    City, State Zip Code
                          FIFRA Establishment Inspection Report
                             [Inspection No. __ FIFRA _____]




Chapter 16                                                                       Page 10



                                                                                     AR0000321
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 322 of 739




    I.        Company Information
              A. Company Name
              B. Establishment Registration Number
              C. Responsible Official(s) [Include full name, title and telephone number]
              D. Type of Ownership
    II.       Date of Inspection
    III.      Participants
              A. Company
              B. U.S. EPA [or state/tribe]
    IV.       Inspection Objectives
    V.        Company Background
    VI.       Inspection Summary
              A. Opening Conference
              B. Inspection Observations and Sample Collection
              C. Closing Conference
    VII.      Index of Attachments
              A. Standard Forms
                      1. FIFRA Notice of Inspection
                      2. Receipt for Sample
                      3. Chain of Custody
              B. Evidence
                      1. Photographs
                      2. Copy of Label on Physical Sample
                      3. Copy of Records
                             a. Records of Inbound Shipments
                             b. Production Records
                             c. Inventory Records
                             d. Shipping Records
                      4. Product, Device or Bin Labels/Labeling
                      5. Statements
                      6. Laboratory Analysis

_____________________________________________         ________________________________________
Inspector’s Name and Title                            Date




Chapter 16                                                                                       Page 11


                                                                                                     AR0000322
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 323 of 739




EXHIBIT 16-2: FIFRA USE/MISUSE INVESTIGATION REPORT EXAMPLE




                                Name of Suspected Violator
                                       Street Address
                               (Mailing Address, if different)
                                    City, State Zip Code




                                    Date of Inspection




                                       Performed by:
             U.S. Environmental Protection Agency (or state/tribal government)
                                  Office/Division/Branch
                                           Address
                                    City, State Zip Code
                               FIFRA Use Inspection Report
                             [Inspection No. __ FIFRA _____]




Chapter 16                                                                       Page 12


                                                                                     AR0000323
            Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 324 of 739




       I. Participants

              A. Complainant/Address/Telephone Number
              B. Certified Applicator/Company Name/Address/Telephone Number
              C. Suspected Violator/Company Name/Address/Telephone Number
II.       Circumstances
              A. What Happened and Where
              B. How and What was Reported
III.      Chemical Information (EPA Reg. No., brand name, specific language on the label that is
          relevant to the investigation)
IV.       Investigation
              A. Investigator’s Activities in Sequential Order
              B. Statements (who, when and what)
              C. Mapping/Photographs (where, what)
              D. Sampling (what type of sample(s) were collected and where, what analyzed for)
              E. Records (sales or application)
              F. Weather Data (what records were obtained, from whom, date obtained, what do
                 the records show)
V.        Attachments




       Chapter 16                                                                             Page 13


                                                                                                   AR0000324
          Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 325 of 739




                                                   CHAPTER SEVENTEEN
                                                     ENFORCEMENT

                                                                                 CONTENTS

Civil Enforcement ...................................................................................................................................................................... 2
    Hearings.................................................................................................................................................................................... 2
    Prehearing Preparation...................................................................................................................................................... 2
    Serving as a Witness in a Hearing .................................................................................................................................. 3
    The Direct Examination ..................................................................................................................................................... 4
    Cross Examination................................................................................................................................................................ 4
Criminal Enforcement.............................................................................................................................................................. 5
    The Criminal Provisions of FIFRA.................................................................................................................................. 6
    FIFRA’s Relationship to Other Federal Criminal Laws .......................................................................................... 6
    Special Attention to Defendant’s Rights .................................................................................................................. 6
    Criminal Enforcement at EPA .......................................................................................................................................... 7
    Recognizing Potential Criminal Violations ................................................................................................................. 8
    Searches .................................................................................................................................................................................... 9
    Compelling the Production of Information ............................................................................................................. 10
    Discovery............................................................................................................................................................................... 11
    Initiating Criminal Investigations ............................................................................................................................... 11
    Conducting a Criminal Investigation ......................................................................................................................... 11
    Security of Criminal Investigations ............................................................................................................................ 12
    Parallel Criminal and Civil Proceedings ................................................................................................................... 13
    Compliance with the Jencks Act ................................................................................................................................... 13
    Participation in Grand Jury Investigations .............................................................................................................. 14




                                                                                                                                                                                            AR0000325
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 326 of 739




                               ENFORCEMENT
If violations of law are detected during an inspection and documented properly, EPA may initiate
a civil or criminal enforcement action. EPA typically initiates a civil enforcement action by filing
an administrative complaint with the Office of Administrative Law Judges, pursuant to the
procedural rule set forth in 40 C.F.R. Part 22. EPA may also initiate a criminal action in federal
court to address knowing and willful FIFRA violations. This chapter will focus on the role of the
FIFRA inspector during enforcement proceedings.


                                  CIVIL ENFORCEMENT

HEARINGS

At a FIFRA enforcement hearing, the inspector may serve several roles. As part of the
enforcement team, the inspector’s knowledge is critical in determining the violations and
preparing documents for hearings. Most importantly, the inspector may be called upon to serve
as a fact and/or expert witness in civil and criminal proceedings and may be required to provide
testimony and documents in support of EPA’s enforcement action.

PREHEARING PREPARATION

Any inspection may result in an enforcement action. Therefore, inspectors should approach each
and every inspection as if it will go to trial—scrupulous attention to procedure, highly
professional conduct and detailed, solid documentation. To prepare for a hearing, the inspector
may be asked to:
   •    Ensure the inspection file is complete and organized. Go over the facts of the case with
        the assigned attorney before any complaint is filed. If you suspect there are any
        problems with the potential evidence in the case, bring those problems to the attention
        of your attorney right away.
   •    Meet with the assigned attorney to determine your involvement in the hearing and to go
        over expected testimony. Ask what the attorney intends to prove by your testimony, and
        how the attorney intends to use any documents or items of potential evidence collected
        during the inspection. Ask any questions of the attorney at the earliest opportunity. It
        will be too late to find out what you are supposed to do once the hearing begins.
   •    Clear your calendar for the days you will be needed as a witness. Your attendance will be
        mandatory.

Chapter 17                                                                                   Page 2




                                                                                                AR0000326
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 327 of 739




SERVING AS A WITNESS IN A HEARING

Demeanor matters when serving as a witness. An inspector’s demeanor must reflect the serious
nature of the proceeding. Here are some tips:
   •    Do not discuss the case with anyone that is not part of the EPA team. Hold discussions
        among the EPA team only when you are in a location where no one else can overhear.
   •    Do not whisper, talk or cause any disturbances in the courtroom.
   •    Sit in the seats provided for the spectators but as near the front as possible since the EPA
        attorney may need to consult with you during the hearing.
   •    Do not bring magazines or newspapers into the courtroom. The inspector should listen
        intently to the proceeding while in the courtroom.
   •    Do not react to testimony given by other witnesses or at statements made by the
        defense attorney. Negative reactions make the witness appear unprofessional.
   •    Be on time and be available immediately when called to testify.
   •    Expect to stay in the courtroom when not testifying to listen to the testimony of other
        witnesses. It may trigger a forgotten fact, a memory or an interpretation. Note that you
        may be instructed to leave the courtroom and, if so, leave calmly.
   •    Do not interrupt the attorney while the hearing is in progress. If you must convey
        information, write it down and hand him/her the note. He/she will look at it when
        he/she can concentrate. If necessary, he/she can ask for a recess and talk to you.
   •    When in doubt about anything, consult the government attorney.
   •    When called to the witness stand go directly to the desk of the clerk of the court (or the
        judge) to be sworn in.
   •    The judge or clerk will ask you to swear that your testimony will be true. The answer is
        “yes” or “I will” depending on how the oath is worded. If you cannot in good conscience
        “swear under oath,” state that you wish to “affirm” your testimony. Inform the
        government attorney of this prior to the hearing.
   •    Your testimony will be taken down by tape recording or manual transcription by the
        court reporter. Therefore, answers to questions must be made verbally rather than by
        shaking or nodding your head. Dimensions and directions must be given verbally rather
        than demonstrated.
   •    Always pause before answering clearly and distinctly. Pausing gives the attorney time to
        object to the question, if necessary.
   •    The judge may ask you a question from the bench. Address him/her as “Your Honor” and
        answer the question.
Chapter 17                                                                                   Page 3




                                                                                                 AR0000327
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 328 of 739




   •    You must be objective and professional. A calm demeanor projects confidence.
        Therefore, do not show hostility toward the defendant or the opposing counsel.
   •    If you need to use acronyms or technical terms, make sure you explain what they mean.
        You must make sure your attorney knows the terms before the hearing and that the
        court reporter knows what they are and how to spell them. Try to use everyday language
        when possible.
   •    Always tell the truth.
   •    Answer only the question asked. Do not volunteer additional information.
   •    Do not be afraid to say, “I do not know,” or “I do not understand the question,” if indeed
        you do not know the answer. This answer must never be used to be evasive. You may be
        qualified as an “expert witness” but this does not mean you are infallible; you can only
        answer the questions to the best of your ability.
   •    Do not give personal opinions unless qualified as an expert witness.

THE DIRECT EXAMINATION

Direct examination is conducted by the EPA attorney. Before the hearing, the EPA attorney will
prepare the inspector by reviewing every question you will be asked during direct examination
and every answer you will give.
The EPA attorney will ask the witness to identify themselves and describe their connection to
the case. This will “lay the foundation” for the witness’s testimony. Inspectors will then be
asked about their first-hand knowledge of pertinent facts in the case. This will establish the
witness as a fact witness and will identify the intended subject of the testimony.
Most inspectors will serve as a fact witness and will testify to what they did, saw and heard.
However, if the inspector will also serve as an expert witness, a foundation will be laid to
establish the specialized knowledge or skills that qualify him/her as an expert. Typically,
questions that will establish the requisite expertise will focus on education, training or
experience.

CROSS EXAMINATION

Cross examination is conducted by opposing counsel. The purpose of cross examination is to
cast doubt on the direct testimony. This can be done by attacking credibility, showing
inconsistencies, attacking underlying facts and by attacking opinions, amongst other methods.
The inspector should project a calm, professional demeanor and avoid being defensive. Under
cross examination, you will be subject to more vigorous questioning than under direct
examination. Special tips for cross examination:

Chapter 17                                                                                  Page 4




                                                                                                 AR0000328
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 329 of 739




   •    Opposing counsel may try to confuse you or get you angry. This is intentional. Remain
        calm, do not react and answer the question to the best of your ability.
   •    Opposing counsel may challenge your truthfulness, your credentials, your ability to do
        your job or your conclusions. This is intentional. Remain calm, do not react and answer
        the question to the best of your ability.
   •    Opposing counsel may ask compound questions (more than one question at a time) or
        rapid questions. Remain calm and answer at your own pace. You may ask for questions
        to be repeated or restated.
   •    Do not be argumentative.
   •    Opposing counsel will deliberately ask questions to elicit a “yes” or “no” answer.
        However, if you need to elaborate, do so.
   •    Opposing counsel may pose hypothetical questions that require you to give an opinion or
        draw a conclusion. As a fact witness (as opposed to an expert witness) you may not give
        opinions. Therefore, avoid answering hypothetical questions.
   •    Do not agree with the opposing attorney just to get him/her to stop badgering you.
   •    If the cross-examiner should misquote any of your earlier testimony when asking a
        question, you should correct them before answering the question.
   •    If you make an error while testifying, correct it at the first opportunity. If you discover
        the error after you have completed your testimony and have been dismissed as a
        witness, discuss the matter with the government attorney as soon as possible. If you
        have made an error, admit it and explain it, if possible.


                               CRIMINAL ENFORCEMENT

The mission of EPA’s criminal enforcement program is to investigate, help prosecute and deter
the most egregious environmental offenders. Our nation’s environmental laws include criminal
provisions that address knowing and negligent environmental violations. Criminal enforcement
brings to bear the possibility of incarceration and monetary fines that are EPA’s strongest
sanctions.
FIFRA inspectors are among the pesticide enforcement personnel most likely to initially detect
criminal environmental violations. Any FIFRA inspector who uncovers what he/she believes to be
any type of criminal environmental offense must bring this fact promptly to the attention of
their EPA supervisor and, in turn, notify the EPA criminal enforcement counsel of Special Agents.
Many environmental criminal investigations and prosecutions can trace their beginnings to a
single telephone call by an alert inspector.


Chapter 17                                                                                      Page 5




                                                                                                      AR0000329
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 330 of 739




The Federal Law Enforcement Training Center in Brunswick, Georgia, can provide special training
for interested FIFRA inspectors (and other environmental technical personnel) involved in
criminal investigations.

THE CRIMINAL PROVISIONS OF FIFRA

FIFRA section 14(b) makes the knowing violation of any provision of FIFRA punishable as a crime
subject to criminal penalties consisting of fines and/or a term of imprisonment. More severe
criminal penalties are provided for convicted defendants who are pesticide registrants,
applicants for registration, pesticide producers and commercial applicators than for private
pesticide applicators. See FIFRA sections 14(b)(1) and 14(b)(2).
FIFRA section 12 specifically lists the unlawful acts that are subject not only to civil and
administrative enforcement, but also to criminal investigation and prosecution. A FIFRA
inspector must be alert to the fact that the commission of any of these unlawful acts may
potentially represent a criminal case.

FIFRA’S RELATIONSHIP TO OTHER FEDERAL CRIMINAL LAWS

Individuals and companies that commit environmental crimes often commit additional violations
of the U.S. Criminal Code (Title 18), such as conspiracy, obstruction of justice, mail fraud and
wire fraud. When these offenses are associated with alleged environmental crimes, EPA
investigates and assists in the prosecution of such matters by the Department of Justice (DOJ).
Criminal environmental conduct may also be prosecuted under one of the other environmental
laws or one of the general criminal laws. For example, submission of false information as part of
a pesticide registration may not only constitute a violation of FIFRA but also the federal false
statement statute and conspiracy laws. See 18 U.S.C. Sections 1001 and 371, respectively.
Criminal activity involving pesticides may violate other environmental statutes enforced by EPA.
For example, the unlawful disposal of pesticides may be a criminal violation of the Resource
Conservation and Recovery Act (RCRA) or if the disposal was into a river, such conduct could
amount to a criminal violation of the Clean Water Act (CWA). The prosecution team will decide
under which statute to proceed and what other factors may be relevant, including the evidence
available to establish an offense and the different penalty levels of the involved statutes.

SPECIAL ATTENTION TO DEFENDANT’S RIGHTS

Investigations of alleged criminal activities place even greater responsibilities on EPA’s Special
Agents. Because more severe penalties may be imposed on individuals convicted of violating the
criminal provisions of environmental laws or other statutes, there are greater constitutional
safeguards to protect their rights. Thus, it is of critical importance that all participants in criminal
investigations be fully aware of these safeguards and conduct themselves accordingly. Special
Chapter 17                                                                                       Page 6




                                                                                                    AR0000330
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 331 of 739




Agents of the Criminal Investigation Division (CID) provide the necessary instructions and
directions to the investigation team on these matters. The constitutional rights of defendants
must be fully protected, from the beginning of a criminal investigation until it is completed, and
established investigation procedures must be followed. The potential defendant may desire to
conceal his or her criminal activities and, upon detection, frequently challenge to the procedures
used to apprehend them and seize evidence of their criminal misconduct.
These challenges to the government's case principally stem from the Fourth Amendment’s
“Exclusionary Rule” which prohibits the use of evidence during the prosecution of a defendant
whose constitutional rights were violated by the procedures used to collect that evidence. Also
excluded is any information subsequently derived from improperly collected evidence. The
procedures used by EPA's CID are designed to ensure protection of the defendant's rights and
leave a documentary record of the investigation that will support admission of the resulting
evidence into a prosecution.
Another frequent procedural challenge occurs when a suspect provides statements to a law
enforcement officer after being taken into custody. The Special Agent must first issue a
“Miranda Warning” and obtain a knowing waiver of such rights if the statements are to be
admissible evidence. Defendants also have a right against self-incrimination. This means that a
defendant can be silent and make the government prove its case. Thus, Special Agents are
specially trained in their responsibilities relative to advising individuals of their constitutional
rights during non-custodial and custodial interviews.

CRIMINAL ENFORCEMENT AT EPA

The Criminal Investigative Division (CID) staff is a part of the Office of Criminal, Enforcement,
Forensics and Training (OCEFT) in Washington, D.C., with Special Agents operating out of field
units at all regional offices. EPA Special Agents are federal law enforcement officers with the full
authority to conduct investigations, carry firearms, make arrests for any federal crime and
execute search and arrest warrants.
OCEFT works closely with the Department of Justice (DOJ) and state agencies that prosecute
environmental crimes; federal, state and tribal law enforcement agencies; and with other EPA
programs. OCEFT works primarily with DOJ’s Environmental Crimes Section and the United
States Attorneys to build strong cases for prosecution and occasionally works with state and
tribal prosecutors. During investigations, OCEFT frequently combines its expertise with that of
other law enforcement groups (such as the Department of Interior’s Fish and Wildlife Service or
the Department of Agriculture’s Forest Service) to investigate cases with possible violations of a
wide variety of laws. Criminal enforcement also relies on scientists, regulators, permit writers
and other experts working in sister EPA offices such as the air, water and hazardous waste
programs and civil enforcement.


Chapter 17                                                                                     Page 7




                                                                                                   AR0000331
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 332 of 739




During the execution of a criminal search warrant, support for forensic evidence collection such
as sampling, monitoring and site documentation is provided by National Enforcement
Investigations Center (NEIC) personnel, with additional support provided by Field Operations
Program (FOP) personnel. EPA technical personnel, such as engineers and field inspectors, have
received special training to assist the criminal investigative staff when needed. NEIC’s specialized
laboratories employ scientists, engineers, analysts, technicians and environmental and
computer specialists to perform the essential science for environmental investigations. In
addition to its accredited field support, the NEIC also provides forensic analytical support with its
accredited laboratory. The NEIC Field Branch provides sampling and evidence collection support
to CID. This support is provided both by the Lakewood staff and six outplaced technical staff
stationed in six of the ten CID offices across the country. The Field Branch also provides multi-
disciplinary teams that conduct investigations in support of civil case development. The
investigations include multi-media and single-media inspections led by NEIC regulatory and
technical experts who work closely with regional and state enforcement partners to identify
potential compliance deficiencies.
CID's National Computer Forensics Laboratory (NCFL) has Special Agents trained to seize and
analyze digital evidence, such as that found on computers, "PDAs" and cell phones. NEIC and
NCFL all play critical roles, as do a number of other forensic, investigative, legal and
prosecutorial partners, in successfully making cases.
Attorneys specializing in environmental crimes prosecutions advise on environmental
regulations, enforcement-related legislation and other complex legal issues that arise during
day-to-day operations of a national law enforcement program. The Legal Counsel Division’s
attorneys are experienced in both criminal and environmental law (as well as the civil
enforcement program) and work with the investigators and DOJ in the investigation and
prosecution of criminal cases. They provide legal guidance and training in criminal enforcement
matters. A FIFRA inspector should not hesitate to contact any Special Agent or criminal
enforcement counsel to ask questions or discuss any aspect (general or specific) of the criminal
enforcement program. However, please note that the criminal enforcement program generally
cannot discuss grand jury materials or privileged information with its civil enforcement
counterparts.

RECOGNIZING POTENTIAL CRIMINAL VIOLATIONS

FIFRA inspectors should not attempt an in-depth investigatory analysis of whether criminal
conduct has occurred or is occurring at regulated sources. Special Agents are specifically trained
to collect evidence necessary to support any criminal charges.
FIFRA inspectors should refer to the Criminal Investigation Division (CID) any conduct or action
that may potentially constitute criminal violations, such as:
   •    Knowing or willful behavior—defined as criminal under all federal statutes, or
Chapter 17                                                                                    Page 8




                                                                                                 AR0000332
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 333 of 739




   •    Fraudulent reporting—defined under all statutes and the United States code as criminal
        behavior.
The primary factor distinguishing a criminal case from a civil case is the INTENT of the
VIOLATOR. Environmental crimes are committed either knowingly or willfully which means that
the violator intends to commit an unlawful act, or engage in the prohibited conduct (i.e., not by
accident or mistake) and should know or has full knowledge that the act is prohibited by law or
regulation. Although environmental crimes usually are not committed with the specific goal of
harming other people or the environment, they generally involve putting personal financial gain
over public health and safety. In other words, most environmental crimes involve lying, cheating
and stealing based upon a strong financial incentive.
Evidence of criminal wrongdoing may be blatant or subtle. The FIFRA inspector must try to learn
as much as possible when one of the scenarios listed below is detected. The following should be
brought to the attention of CID:
   •    Conflicting data— When two sets of books or inconsistent pesticide production, sale or
        distribution reports exist for the same product and/or facility.
   •    Conflicting stories—When an inspector is told one thing and learns something quite
        different through a record review, personal observation, or interview with a different
        person.
   •    Unsubstantiated data—When record keeping and reporting information cannot be
        verified or substantiated.
   •    Deliberate actions—When an employee says he/she was told or ordered to do
        something by his/her supervisor(s) that the FIFRA inspector knows to be illegal.
   •    Claims of ignorance about requirements—When those interviewed deny any knowledge
        of FIFRA requirements, yet documentation displaying knowledge is discovered in records,
        statements or interviews.
FIFRA inspectors are in a unique position to identify possible criminal activities such as falsified
information in records and reports and illegal pesticide use. Facility staff employees may also
volunteer information to inspectors about possible criminal activities. If any of these or other
problems raise the inspector’s suspicions, he/she must attempt to obtain further information
through interviews, observations and records reviews and promptly refer findings to CID.

SEARCHES

Criminal Investigators/Special Agents may search a person or the person's property when
seeking evidence of alleged criminal activity only under the following circumstances: (1) with the
person's consent; or (2) after obtaining a warrant based upon sworn testimony that
demonstrates the existence of “probable cause” to believe that a crime has been committed and

Chapter 17                                                                                     Page 9




                                                                                                   AR0000333
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 334 of 739




that the search is necessary to obtain evidence of the crime. The probable cause standard for
obtaining a warrant in a criminal investigation is far more stringent than for a warrant in a civil
enforcement case.
EPA's Special Agents seek and execute criminal warrants, but FIFRA inspectors may be requested
to accompany criminal investigators to aid in the investigation. In such cases, FIFRA inspectors
must follow the instructions of the criminal investigator since any evidence collected outside the
authority of the search warrant would be considered to be illegally obtained and generally
inadmissible at trial.
It is important to point out, however, that evidence of a crime discovered through civil
enforcement activity is generally admissible in court to prove the crime. For example,
information collected by a FIFRA inspector during a routine inspection (with consent or in an
administrative warrant) could be admitted as evidence in a criminal case provided it was lawfully
obtained during his or her normal course of duties. Similarly, evidence of a crime obtained in
accordance with the open fields doctrine (e.g., an observation of illegal pesticide use from a
public road) may be admissible.
Inspectors frequently ask how the reading of Miranda rights applies to the facility staff they
interview, particularly if the interviewee's answer to questions begins to suggest that there may
be criminal activity. Miranda rights only apply when a person is placed in custody, that is, once
he or she has been arrested or otherwise deprived of freedom of action in any significant way by
a law enforcement officer. Information provided in routine interviews is lawfully obtained
evidence that may be used in furtherance of a criminal investigation and prosecution.

COMPELLING THE PRODUCTION OF INFORMATION

In addition to obtaining evidence through a search warrant, a prosecutor may subpoena
witnesses to provide information through testimony to a grand jury. Although someone may be
subpoenaed to require him/her to provide information in a civil proceeding, the prosecutor's
ability to compel information in a criminal investigation is more powerful:
   •    A witness who fails to appear in response to a subpoena is subject to immediate arrest.
   •    An uncooperative witness can be forced to provide information through an enforceable
        court order.
For long-established and compelling policy reasons, testimony provided to a grand jury is secret
and severe penalties are imposed on anyone who violates that secrecy. These secrecy rules may
severely limit what can be disclosed by an agent concerning an investigation to persons not on
the grand jury list of approved individuals. However, other non-grand jury information may be
shared with the civil enforcement program.
Persons subpoenaed for a civil proceeding are obligated as follows:

Chapter 17                                                                                   Page 10




                                                                                                  AR0000334
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 335 of 739




   •    If a witness fails to comply with a subpoena, penalties can only be obtained after a
        hearing (a process that can take weeks).
   •    In addition, the information provided by the witness cannot be kept confidential if it falls
        within the scope of the other side's discovery requests.

DISCOVERY

Defense counsel may attempt to learn information about the government's case by directly
contacting an EPA inspector. While an inspector is not prohibited from communicating with
defense counsel, the inspector is in no way required to talk to defense counsel and should not
do so without first consulting with an EPA attorney and having counsel present during the
conversation.

INITIATING CRIMINAL INVESTIGATIONS

Criminal leads arise from a variety of sources, including tips from EPA regions, states and tribes,
calls from disgruntled workers, anonymous tips and information from other law enforcement
organizations. Leads are evaluated by the Special Agent in Charge (SAC) and an assigned agent,
with a determination made within 45 days as to whether the lead should be opened as an
investigation or referred elsewhere (e.g., civil enforcement at EPA, the state regulatory
authority, or another federal agency). The factors involved in determining whether to open an
investigation include whether the alleged violation resulted in real or potential harm, what type
of conduct was involved, and various legal, technical and regulatory considerations. The initial
assessment of a lead may also involve legal personnel—the Regional Criminal Enforcement
Counsel (RCEC)—and technical personnel—NEIC Technical Coordinator (NTC)—working closely
with the case agent. Both RCECs and NTCs are commonly co-located in the SAC offices.

If the reliability of the lead is unclear, the Special Agent will conduct a preliminary inquiry to
determine the credibility of the allegation and make an initial assessment for the need of a more
thorough investigation. This initial inquiry is brief and involves no extensive commitment of
resources or time. The purpose is to reach an initial determination of the need for a complete
investigation. The agent may consult with program enforcement personnel and legal staff to
help determine whether a particular violation warrants criminal enforcement action.

CONDUCTING A CRIMINAL INVESTIGATION

If a decision is made to pursue a criminal investigation, the Special Agent contacts the regional
legal program and other appropriate offices to determine whether any civil enforcement action
is pending or contemplated against the investigative target. If technical support for the
investigation is needed, CID requests that the appropriate regional program Division Director(s)

Chapter 17                                                                                  Page 11




                                                                                                 AR0000335
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 336 of 739




designate specific individuals to work on the investigation. All these activities are carried out in
consultation with the Office of Criminal Enforcement, Forensics and Training.
CID uses investigative techniques similar to those employed by its law enforcement
counterparts. After the receipt of lead information, state and federal environmental records and
databases may be reviewed to determine a suspect company's regulatory history or an
individual's criminal history. In all cases, interviews are conducted to gain a detailed view of the
facts, and that often leads to more detailed investigative steps, such as surveillance of a facility
or suspected individuals, issuance of grand jury subpoenas (through the Department of Justice),
execution of search warrants where probable cause of criminal violations exists and the use of
traditional covert and technical investigative techniques. Special agents review documents and
data from environmental, inspection and other databases and files and determine what
additional expertise is needed to prove the crime in court. The Special Agent manages the
investigation, under the supervision of the SAC, and is responsible for the following:
   •    Determining the basic investigative approach.
   •    Conducting interviews.
   •    Assembling and reviewing records.
   •    Planning and performing surveillance.
   •    Coordinating with the U.S. Attorney’s office and other federal, state and local law
        enforcement agencies.
   •    Communicating with informants.
   •    Contacting other witnesses.
   •    Performing other investigative functions.
   •    Completing all required reports.
   •    Carrying out all coordination and notification requirements.
Inspectors may be assigned to assist the Special Agent in one or more of these above duties as
requested by CID.

SECURITY OF CRIMINAL INVESTIGATIONS

FIFRA inspectors who have knowledge of criminal investigations should not disclose the
information or discuss any criminal investigations with anyone outside of the Agency.
Agency policy is to neither confirm nor deny the existence of a criminal investigation. If a FIFRA
inspector receives a written or verbal request for information from a third party (e.g., the news
media), it must be immediately referred to the CID Special Agent who will determine the


Chapter 17                                                                                    Page 12




                                                                                                  AR0000336
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 337 of 739




response in consultation with other Agency offices. In general, the Department of Justice (DOJ)
responds to such inquiries.
If a FIFRA inspector possesses written materials pertaining to a criminal investigation, he/she
must treat these materials with special care and attention and ensure that they are stored in
secure office space, in locked filing cabinets and/or evidence vaults.

PARALLEL CRIMINAL AND CIVIL PROCEEDINGS

FIFRA includes both civil and criminal enforcement authorities and EPA may use both authorities
to identify and resolve FIFRA violations. FIFRA inspectors should note that the Agency may
pursue criminal and civil enforcement actions on separate but “parallel” tracks. Even if the
parallel criminal and civil enforcement actions relate to the same violation, EPA maintains a clear
distinction between the two proceedings. FIFRA inspectors must follow these guidelines when
involved in ongoing parallel proceedings:
   1. Until the Agency refers a matter to the DOJ for possible criminal prosecution, all FIFRA
      inspectors who are EPA employees may continue to collect information/data from
      potential defendants with the understanding that it may be used in either a civil or a
      criminal enforcement action. However, once the Agency has referred a matter to the
      Department of Justice for possible criminal prosecution, all FIFRA inspectors and other
      EPA employees should not continue to collect information/data from potential criminal
      defendants, unless they are acting as an investigator for the prosecutor's office or CID
      and have clear authority to obtain such information/data for an existing regulatory
      purpose that is wholly separate and independent of the criminal investigation.
   2. EPA reserves the right to take criminal or civil enforcement action based on information
      obtained by FIFRA inspectors. Therefore, FIFRA inspectors (whether EPA employees or
      not) shall never tell a person or entity that EPA will not use the information obtained
      during an inspection as evidence in a criminal or civil case.
   3. Direct any questions concerning parallel proceedings to the criminal or civil enforcement
      counsel at EPA.

COMPLIANCE WITH THE JENCKS ACT

The purpose of the federal Jencks Act (18 U.S.C. §3500) is to allow the defendant in a criminal
prosecution to have, for impeachment purposes, all of the relevant and competent statements
of a governmental witness. If the defense’s ability to cross-examine a witness is impeded
because the government lost, either deliberately or inadvertently, the Jencks Act material, the
Court may decide either not to allow the witness to testify or to strike the witness's entire
testimony. Needless to say, the effect of excluding a government witness's testimony could be


Chapter 17                                                                                 Page 13




                                                                                                  AR0000337
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 338 of 739




significant. Courts expect law enforcement agencies, including EPA, to have procedures to
preserve potential Jencks Act material.
Essentially, the Jencks Act provides that the relevant notes, records and reports of a witness
who has testified for the government in a criminal prosecution must be turned over to the
defense if the defense requests them through the court. The request can only be made after
direct examination of the witness, and material that does not relate to the subject matter of the
testimony is exempt from disclosure. The effect is limited, after-the-fact discovery. (In civil cases,
discovery processes give the other side almost unlimited access to government information on
the case prior to trial.)
For the inspector, the principle effect of the Jencks Act is to underscore one of the major points
of this Manual—that accurate and complete notes, records and reports are not only good
practice, but essential for ensuring a successful enforcement action whether administrative, civil
or criminal. Further, notes and records must be factual and contain no opinions or biases of the
inspector. Finally, to avoid any potential appearance that Jencks Act material has been lost or
intentionally destroyed, the inspector must not throw anything away, not even a scrap of paper
with rough calculations on it, without first consulting with the criminal investigation team. All
materials associated with a criminal investigation must be stored in accordance with security
procedures.

PARTICIPATION IN GRAND JURY INVESTIGATIONS

If a FIFRA inspector that is an EPA employee is called upon to assist in a grand jury investigation
under DOJ’s supervision, he/she must follow the “Agency Guidelines for Participation in Grand
Jury Investigations.” Copies of these guidelines are available from the RCECs and OECA.




Chapter 17                                                                                    Page 14




                                                                                                  AR0000338
8/14/23, 1:36 PM     Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                             Pesticide Registration Filed 04/24/24
                                                                          Introduction | USPage
                                                                                            EPA 339 of 739




                An official website of the United States government



                                                                                                                                                MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual:
            Introduction
            In this chapter:



                       Introduction
                       Why register pesticides with EPA
                       The label is the law!
                       How to use This manual




            Introduction
            This manual is intended as a resource for companies and individuals who wish to have their pesticide products
            registered by the U.S. Environmental Protection Agency (EPA). EPA’s pesticide review and oversight is conducted by the
            Office of Pesticide Programs (OPP) <https://epa.gov/pesticide-contacts> within the Office of Chemical Safety and Pollution
            Prevention. OPP comprises nine divisions of scientists, regulatory specialists, and other staff. This manual includes
            information on many types of registration actions; however, it utilizes the procedures for registering a “new” pesticide
            product in most of its examples.




            Why Register Pesticides with EPA
            Under the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA), EPA regulates all pesticides that are sold and
            distributed in the United States. The term “pesticides <https://epa.gov/ingredients-used-pesticide-products/basic-information-about-
            pesticide-ingredients>” includes pesticides, herbicides, rodenticides, antimicrobial products, biopesticides, and other
            substances used to control a wide variety of pests. A pesticide product is defined as a pesticide in the particular form
            (including composition, packaging, and labeling) in which the pesticide is, or is intended to be, distributed or sold and
            includes any physical apparatus used to deliver or apply the pesticide if distributed or sold with the pesticide. (40 CFR
            152.3).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                                                                            1/9
                                                                                                                                                         AR0000339
8/14/23, 1:36 PM     Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                             Pesticide Registration Filed 04/24/24
                                                                          Introduction | USPage
                                                                                            EPA 340 of 739




            Before any pesticide product that EPA has not exempted from registration requirements can be lawfully sold or
            distributed, EPA performs a rigorous, comprehensive scientific assessment of the product, resulting in a registration
            decision. Under this review, the Agency evaluates



                      the product’s active ingredient(s) <https://epa.gov/pesticide-registration/registration-information-type-pesticide>,
                      other constituent substances (including inert ingredients <https://epa.gov/pesticide-registration/inert-
                      ingredients-overview-and-guidance>), and

                      the proposed use pattern(s)




            to ensure that, when the product is used according to labeled directions, no unreasonable adverse effects on human
            health or the environment will occur.

            When EPA has determined that no unreasonable adverse effects to human health or the environment will result from
            the sale or distribution of a pesticide product, it grants the applicant a license or “registration” to legally sell and
            distribute the product in the United States. Once an EPA registration has been granted, applicants will then need to
            comply with the individual registration requirements imposed by the States in which they wish to market their product.
            Refer to Chapter 17 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority> for
            information on State regulatory authorities. The establishment in which a pesticide product is produced must also be
            registered. Refer to Chapter 14 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or>
            for information on pesticide producing establishments.




            The Label is the Law!
            Once EPA has granted a registration, EPA not only notifies the requesting company of the decision but also will approve
            a submitted label for the product. All registered products must include an approved label on every package. The
            pesticide product’s label is a legal document. The label is the law! Once EPA approves a label during the registration
            evaluation, it generally may not be altered or changed by the company unless specifically authorized by EPA during a
            subsequent label review.

            A pesticide product’s label is of utmost importance as the label is the primary mechanism to inform the end-user about
            how to use and apply the product to achieve the product’s useful functions, as well as which precautions must be
            followed to protect both human health and the environment. Thus, as part of any registration application submitted to
            EPA, applicants must provide a proposed label containing detailed information. During its review, EPA can approve the
            label as submitted, approve the label with comments, or disapprove the submitted label.

            For more information on labels, see Chapter 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-
            pesticide-product> in this manual. More detailed information on labels can be found in EPA’s Label Review Manual
            <https://epa.gov/pesticide-registration/label-review-manual>.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                                                                     2/9
                                                                                                                                                  AR0000340
8/14/23, 1:36 PM     Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                             Pesticide Registration Filed 04/24/24
                                                                          Introduction | USPage
                                                                                            EPA 341 of 739




            How to Use This Manual
            Companies and individuals seeking to obtain pesticide registrations are referred to as pesticide “applicants”
            throughout this manual. After applicants have a pesticide registered, they are referred to as “registrants.”

            Registered pesticides generally can be divided into two categories: manufacturing-use products that are used to
            formulate other pesticide products and end-use products that are distributed or sold to the user for controlling pests or
            defoliating, desiccating, or regulating the growth of plants. While both the manufacturing-use and end-use products
            must be registered, the focus of this manual is applications for the registration of end-use products. Applicants should
            contact a registration ombudsman <https://epa.gov/pesticide-contacts/contacting-epa-about-regulating-pesticides-issues> for questions
            concerning the registration of manufacturing-use products that aren’t addressed in this manual.

            This manual is organized into 21 chapters (see Table of Contents at right) that comprehensively discuss issues related
            to the registration of pesticide products. Each chapter includes a list of references that can be used to further
            understand the issues presented.

            In addition to describing EPA’s registration process, this manual also provides detailed information about the
            responsibilities of applicants/registrants - before, during, and after the review process.

            The manual begins with a high-level overview of the entire pesticide registration process <https://epa.gov/node/186165>
            aimed at those who have not previously registered a pesticide product. It summarizes the information in the other
            chapters of the manual.

            In Chapter 1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide> there are
            discussions of the legal and statutory framework of EPA’s oversight of pesticides in the United States and what types of
            products are required to undergo an EPA evaluation. Chapter 1 also provides an overview of how to have a pesticide
            evaluated by EPA - the types of data required, how it is submitted, and other supporting documentation.

            Chapters 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product>, 3
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations>, and 4 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-4-additional-considerations> provide specific information to help applicants
            determine data and other registration requirements depending on whether their product is classified as an
            antimicrobial, biopesticide, or conventional chemical pesticide.

            Chapter 5 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees> discusses changes that were
            made to EPA’s pesticide review program following enactment of the Pesticide Registration Improvement Act of 2003
            (PRIA), which was subsequently reauthorized by the Pesticide Registration Improvement Renewal Act of 2007 (PRIA 2)
            and the Pesticide Registration Improvement Extension Act of 2012 (PRIA 3) <https://www.govinfo.gov/content/pkg/uscode-
            2012-title7/html/uscode-2012-title7-chap6-subchapii-sec136w-8.htm>. PRIA established pesticide registration fees for some
            registration actions, requiring applicants to pay a fee, in exchange for which, EPA is obligated to reach registration
            decisions within defined timeframes.

            Chapters 6 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide> and 7
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation> discuss amendments to
            currently registered pesticides and instances that do not require EPA review but that can be accomplished by
            notification to EPA.

            Chapter 8 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients> explains how EPA considers
            inert ingredients in the evaluation of pesticide products and what type of documentation is required for review. Inert
            ingredients are pesticide product ingredients that are not active against target pests.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                                                                             3/9
                                                                                                                                                            AR0000341
8/14/23, 1:36 PM     Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                             Pesticide Registration Filed 04/24/24
                                                                          Introduction | USPage
                                                                                            EPA 342 of 739




            Chapter 9 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered> explains what
            requirements must be adhered to when companies that are not the original registrant distribute a registered pesticide
            product.

            Chapter 10 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements> addresses data
            compensation issues that arise if an applicant chooses to cite a different company’s proprietary data for EPA’s review.

            Chapter 11 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions> discusses tolerance
            petitions, i.e., which data are required and how EPA evaluates food uses of pesticides to determine whether a maximum
            residue level of the chemical can remain on food without causing harm to people, including sensitive populations such
            as infants and children.

            Chapter 12 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit> discusses data
            requirements and EPA review procedures for “Experimental Use Permits” (EUPs). An EUP is a permit authorized under
            FIFRA section 5 that allows applicants to conduct testing of a new proposed pesticide or new proposed use.

            In Chapter 13 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices>, “Devices” are discussed in
            detail. In general, if a pest is controlled by a physical or mechanical action, the product may be considered a “device”
            and may not require registration by EPA. Devices are subject to other types of regulatory oversight, as listed in 40 CFR
            152.500.

            Chapters 14 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or>, 15
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential>, and 16
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and> provide specific
            information on obtaining an EPA Establishment Number, how to submit data and Confidential Business Information to
            EPA, and how to transfer product registrations and data rights to different companies.

            Chapters 17 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority> and 18
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency> present useful information on
            the role played by state regulatory agencies and other federal agencies in pesticide oversight in the United States.
            Registrants may also have certain obligations under state and other federal agencies.

            Chapters 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> and 20
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them> provide detail on obtaining
            publications and forms related to pesticides.

            Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications> gives specific
            directions for submitting applications to EPA, and how to contact appropriate offices within the Office of Pesticide
            Programs.


            For More Information
            Code of Federal Regulations citations are available in the e-CFR                .




                                                Registration Manual Table of Contents


               Pesticides Registration Manual Home Page <https://epa.gov/pesticide-registration/pesticide-registration-manual>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                                                                        4/9
                                                                                                                                                       AR0000342
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                            Pesticide Registration Filed 04/24/24
                                                                         Introduction | USPage
                                                                                           EPA 343 of 739




               Introduction

               How to Register a Pesticide Product – A Guide for Applicants New to the Process <https://epa.gov/pesticide-
               registration/how-register-pesticide-guide-applicants-new-process>


                 1. Requirements for Pesticide Registration and Registrant Obligations <https://epa.gov/pesticide-registration/pesticide-
                   registration-manual-chapter-1-overview-requirements-pesticide>

                 2. Registering a Pesticide Product <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-
                   pesticide-product>

                 3. Additional Considerations for Biopesticide Products <https://epa.gov/pesticide-registration/pesticide-registration-manual-
                   chapter-3-additional-considerations>

                 4. Additional Considerations for Antimicrobial Products <https://epa.gov/pesticide-registration/pesticide-registration-manual-
                   chapter-4-additional-considerations>

                 5. Registration Fees <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees>
                 6. Amending a Registered Pesticide Product <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-
                   amending-registered-pesticide>

                 7. Notifications and Minor Formulation Amendments <https://epa.gov/pesticide-registration/pesticide-registration-manual-
                   chapter-7-notifications-and-minor-formulation>

                 8. Inert Ingredients <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients>
                 9. Supplemental Distribution of a Registered Pesticide <https://epa.gov/pesticide-registration/pesticide-registration-manual-
                   chapter-9-supplemental-distribution-registered>

               10. Data Compensation Requirements <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-
                   compensation-requirements>

               11. Tolerance Petitions <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions>
               12. Applying for an Experimental Use Permit <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-
                   applying-experimental-use-permit>

               13. Devices <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices>
               14. How to Obtain an EPA Establishment Number <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-
                   14-how-obtain-epa-company-or>

               15. Submitting Data and Confidential Business Information <https://epa.gov/pesticide-registration/pesticide-registration-
                   manual-chapter-15-submitting-data-and-confidential>

               16. Transfer of Product Registrations and Data Rights <https://epa.gov/pesticide-registration/pesticide-registration-manual-
                   chapter-16-transfer-product-registrations-and>

               17. State Regulatory Authority <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-
                   authority>

               18. Other Federal or State Agency Requirements <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-
                   other-federal-or-state-agency>

               19. How to Obtain Publications <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-
                   publications>

               20. Forms and How to Obtain Them <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-
                   obtain-them>

               21. Directions for Submitting Applications and Contacting EPA <https://epa.gov/pesticide-registration/pesticide-registration-
                   manual-chapter-21-directions-submitting-applications>


               Appendices



https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                                                                    5/9
                                                                                                                                                   AR0000343
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                            Pesticide Registration Filed 04/24/24
                                                                         Introduction | USPage
                                                                                           EPA 344 of 739




                   Appendix A: Guidance Documents <https://epa.gov/pesticide-registration/pesticide-registration-manual-appendix-guidance-
                   documents>

                   Appendix B: Examples of Registrant Documents <https://epa.gov/pesticide-registration/pesticide-registration-manual-
                   appendix-b-examples-registrant-documents>

                   Appendix C: Pesticide Forms Overview Table <https://epa.gov/pesticide-registration/pesticide-registration-manual-appendix-c-
                   pesticide-forms-overview-table>

                   Appendix D: Examples of Completed Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-appendix-d-
                   examples-completed-forms-0>




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON FEBRUARY 6, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                                                                   6/9
                                                                                                                                                 AR0000344
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                            Pesticide Registration Filed 04/24/24
                                                                         Introduction | USPage
                                                                                           EPA 345 of 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                             7/9
                                                                                                            AR0000345
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                            Pesticide Registration Filed 04/24/24
                                                                         Introduction | USPage
                                                                                           EPA 346 of 739




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                                                             8/9
                                                                                                                                            AR0000346
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR Document     57-3 Manual:
                                            Pesticide Registration Filed 04/24/24
                                                                         Introduction | USPage
                                                                                           EPA 347 of 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-introduction                             9/9
                                                                                                            AR0000347
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      348
                                                                                                      Process | USof
                                                                                                                  EPA739


               An official website of the United States government



                                                                                                                                               MAIN MENU



             Search EPA.gov



            Pesticide                                       CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            How to Register a Pesticide – A Guide for
            Applicants New to the Process
                Guidance Document: Registration Manual

                How to Register a Pesticide Product – A Guide for Applicants New to the Process

                Issued By: Office of Pesticide Programs, Office of Chemical Safety and Pollution Prevention,
                United States Environmental Protection Agency

                Date of Issuance: January 15, 2021

                This guidance document is an addition to the Pesticide Registration Manual originally
                issued on April 20, 2017

                Unique ID: EPA 705-G-2021-3726

                Related Authority: 7 U.S.C. 136 et seq.

                Summary: This document is an introductory resource for companies and individuals who
                wish to sell their pesticide products in the United States.

                Non-Binding Disclaimer: This guidance was prepared pursuant to Executive Order 13891 and
                “EPA Guidance; Administrative Procedures for Issuance and Public Petitions” (85 FR 66230,
                October 19, 2020). The contents of this document do not have the force and effect of law and
                are not meant to bind the public in any way. This document is intended only to provide
                clarity to the public regarding existing requirements under the law or agency policies.



            On this page:
               Overview
               Learn about the pesticide product registration process
               Determine what type of product you have




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                                                  1/11
                                                                                                                                                        AR0000348
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      349
                                                                                                      Process | USof
                                                                                                                  EPA739


               Determine what data you need to support your product
               Determine the registration fee and review timeframe for your product
               Consider using a consultant
               Talk to EPA about your plans once you have read the guidance
               Obtain an EPA company number
               Complete the application package
               Submit the application package and pay the fee
               Respond to any issues raised during EPA’s review process
               EPA makes regulatory determination
               Apply for state registration
               Additional requirements for pesticide producers and applicants




            Overview
            Welcome to the pesticide product registration process. This page is an introductory resource for companies and
            individuals who wish to sell their pesticide products in the United States. While this provides a high-level summary of
            the registration process, applicants are responsible for fully understanding the Federal Insecticide, Fungicide and
            Rodenticide Act (FIFRA) <https://epa.gov/node/39777> and its regulations.

            Under FIFRA, EPA regulates all pesticides that are sold or distributed in the United States. A pesticide is:

               A substance intended to prevent, destroy, repel or mitigate pests;
               A substance intended for use as a plant regulator, defoliant or desiccant; or
               Any nitrogen stabilizer <https://epa.gov/node/127393>.

            The three major pesticide types are:

               Conventional pesticides such as insecticides, herbicides, fungicides and rodenticides;
               Antimicrobial pesticides such as sterilants, sporicides, disinfectants, sanitizers, germicides, and products that
               control growth of microorganisms of economic and aesthetic significance; and
               Biopesticides such as biochemicals, microbe-containing (microbial) pesticides and plant-incorporated protectants
               (PIPs).

            Most end-use pesticide products also contain inert (other) ingredients, or substances in addition to the active
            ingredient(s). Manufacturing-use products, on the other hand, are intended and labeled for formulation and
            repackaging into end-use pesticide products. They often do not contain intentionally added inert ingredients but may
            contain impurities that need to be specified. See Chapter 2 <https://epa.gov/node/32677> of this Registration Manual for more
            information.

            Before a pesticide product can be lawfully sold or distributed, EPA performs a comprehensive scientific assessment of
            the product, resulting in a regulatory decision (i.e., whether or not to approve the product for sale and/or distribution in
            the United States). In accordance with FIFRA, registered pesticides cannot cause unreasonable risks to humans or the
            environment.




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                              2/11
                                                                                                                                     AR0000349
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      350
                                                                                                      Process | USof
                                                                                                                  EPA739


            There are some pesticides EPA has exempted from the federal requirement for registration. To determine whether your
            product is exempt, please review 40 CFR 152.25 and this page about minimum risk pesticides
            <https://epa.gov/node/64449>. The linked pages provide information that should permit you to determine if your product
            meets the criteria for the exemption. If you determine the product does not meet the criteria, registration would be
            required.

            Before you contact EPA with questions about the registration process, please read this webpage and review the
            materials it references. These resources will answer some of your questions and help you ask questions specific to your
            situation.



            Learn about the pesticide product registration
            process.
            First, read the Introduction and the first two chapters of this Pesticide Registration Manual <https://epa.gov/node/17603>,
            which is a valuable resource that provides all the information you need on this process. We also recommended you
            refer to the Label Review Manual <https://epa.gov/node/29541> for drafting the product label for your pesticide.



            Determine what type of product you have.
            Each pesticide type has a different process for registration:

               Conventional Pesticides <https://epa.gov/node/17605>
               Biopesticides <https://epa.gov/node/17619>
               Antimicrobial Pesticides <https://epa.gov/node/17607>



            Determine what data you need to support your
            product.
            In evaluating a pesticide registration application, EPA assesses a wide variety of studies to determine the likelihood of
            adverse effects (i.e., risk) to human health and the environment from exposures associated with use of the product.

            Applicants must generate scientific data to address concerns about the identity, composition, potential adverse effects
            and environmental fate of each pesticide. These data allow us to evaluate whether a pesticide might affect a range of
            non-target organisms, including humans, plants, animals, and endangered or threatened species. Learn about data
            requirements <https://epa.gov/node/19057>

            You may also discuss and confirm the data and labeling requirements with EPA before submitting your application.
            Answering the following questions may help you better determine your data needs:




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                                  3/11
                                                                                                                                          AR0000350
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      351
                                                                                                      Process | USof
                                                                                                                  EPA739


               Will you provide data, cite data, or use other methods (e.g., data waiver or bridging, supported by scientific
               rationale) to support the proposed product?

                   All products must be supported by data (e.g., product chemistry, acute and chronic toxicity, environmental fate
                   and ecological effects, etc.) for the proposed use pattern. Learn more about:

                   Health Effects Test Guidelines <https://epa.gov/node/85855>
                   Product Properties Test Guidelines <https://epa.gov/node/85833>
                   Ecological Effects Test Guidelines <https://epa.gov/node/85847>
                   Residue Chemistry Test Guidelines <https://epa.gov/node/85853>
                   Microbial Pesticide Test Guidelines <https://epa.gov/node/85867>
                   Biochemicals Test Guidelines <https://epa.gov/node/85863>
                   Data Requirements for Registration of Antimicrobial Pesticides <https://epa.gov/node/82271>

                   If your proposed product is substantially similar <https://epa.gov/node/32677> to another EPA-registered product, you
                   may be able to rely on existing studies.
                   You must choose whether to conduct studies and submit the data, cite studies already evaluated by EPA, or use
                   other methods available to fulfill data requirements.
                   If you are citing another company’s data, you must first determine whether you need to pay or get authorization
                   from the data’s owner to use it.

               Learn about data compensation requirements. <https://epa.gov/node/34345>
               View a list of companies that have submitted data to EPA <https://epa.gov/node/86423>.

               If you do not own the source of the active ingredient (the technical source), the technical source is registered (has an
               EPA registration number), and you are relying on the citation of that product to fulfill the data requirements for the
               active ingredient (generic data), you can use the Formulator’s Exemption form (Form 8570-27
               <https://epa.gov/sites/production/files/2013-08/documents/8570-27.pdf>) to address the generic data requirements specific to the
               active ingredient.
               If the technical source is not EPA registered, or the use patterns on your proposed label are not supported by a
               technical source that is EPA registered, you will be responsible for addressing all generic data requirements
               <https://epa.gov/node/19057> by submitting studies, citing existing data from registered sources or using other methods
               (e.g., providing scientific rationale).
               Will you be making claims about your product’s effectiveness against public health pests <https://epa.gov/node/57607>?
               Efficacy (product performance) data are required if your product will be making claims against public health pests,
               pests that affect building structure (e.g., termites), or certain invasive pests.

               Learn about product performance test guidelines <https://epa.gov/node/85829>
               Learn about efficacy testing for pesticides targeting certain invertebrate pests <https://epa.gov/node/140837>

               The Agency generally does not require submission of efficacy data to support non-public health-related claims (e.g.,
               control of odor-causing bacteria, weeds, plant pathogens). However, the applicant is still responsible for ensuring
               that these products perform as intended by developing and keeping efficacy data on file. EPA retains the right to
               require submission of efficacy data for non-public health related claims on a case-by-case basis.




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                                    4/11
                                                                                                                                           AR0000351
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      352
                                                                                                      Process | USof
                                                                                                                  EPA739


                Will your pesticide be used on food or feed crops or in a food processing or storage area? If so, a tolerance or an
                exemption from the requirement of a tolerance <https://epa.gov/node/72001> must be established for each active and
                inert ingredient in the formulation before the pesticide can be registered. See Chapter 5 of this Pesticide
                Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees#fees> for more
                information on costs and timeframes.


            Determine the registration fee and review timeframe
            for your product.
            The Pesticide Registration Improvement Act (PRIA) <https://epa.gov/node/44857> requires that EPA charge registration fees
            and assign a review timeframe for each registration application. These fees and timeframes vary depending on the type
            of activity being requested.

                Before submitting the application, see the fee determination decision tree <https://epa.gov/node/45435> to identify the
                PRIA category of your application, EPA’s interpretation of the category of your application, the required fee, and the
                review timeframe.

                    Fees may be reduced under some circumstances <https://epa.gov/node/49547>. There are provisions for waiving up to
                    75 percent of the fee if you qualify as a small business. The fee waiver application must be submitted with the
                    registration application. Learn more about fee waivers for small businesses <https://epa.gov/node/46523>.

                In some circumstances, applications may be exempt from registration fees.
                    Learn more about Inter-Regional Project Number 4 (IR-4) exemptions <https://epa.gov/node/46547>
                    Learn more about exemptions for federal and state governments <https://epa.gov/node/46567>
                Learn more about fees. <https://epa.gov/node/158729>


            Consider using a consultant.
            If you have not previously registered a pesticide product, it may be helpful to obtain the services of a regulatory
            consultant. An experienced consultant can help you navigate the registration process, which will save time and
            resources. To identify a consultant, consider doing a web search on “pesticide regulatory consultant” or contacting a
            trade group for assistance.

            EPA does not endorse or make any recommendations for any consultant. We strongly recommend you interview several
            consultants and check at least three recent references before selecting one.

            Applicants located outside of the United States must have an agent residing in the United States to act on their behalf in
            all registration matters. This agent may or may not be a regulatory consultant.

            The appropriate way to designate a consultant or agent is explained in Chapter 14 of this Pesticide Registration Manual
            <https://epa.gov/node/39329>.




            Talk to EPA about your plans once you have read the
            guidance.
            It is EPA’s hope that the material in this preface and the rest of the Pesticide Registration Manual provides applicants
            with all of the information they need to submit a registration application.




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                                               5/11
                                                                                                                                                       AR0000352
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      353
                                                                                                      Process | USof
                                                                                                                  EPA739


            If, however, you have additional questions that are not covered in these materials, EPA staff may be available to address
            your questions via email, phone calls or an in-person meeting. These opportunities provide avenues to discuss and
            confirm data needs, pesticidal claims, and labeling requirements that apply to your application. It is helpful if you
            provide as many details as possible about your proposed application in an introductory email to the appropriate EPA
            registration contact for your product.

                Contact the appropriate division based on your pesticide type <https://epa.gov/node/16875>.
                Learn more about pre-application meetings for antimicrobial pesticide applications <https://epa.gov/pesticide-
                registration/antimicrobial-pesticide-registration#meeting>.




            Obtain an EPA company number.
            An EPA company number is a unique identifier assigned to a company that wishes to register a pesticide with EPA.
            These companies are commonly called registrants.

            Registrants must obtain a company number prior to registering their first product with the Agency. To obtain the
            company number <https://epa.gov/pesticide-registration/pesticide-registration-manual-how-obtain-company-number-and-register-
            official#:~:text=how%20to%20request%20a%20company,correspondence%20to%20the%20official%20address.>, send a signed letter on
            company letterhead to request a company number and establish an official address with EPA.



            Complete the application package.
            Make sure you have all required contents of the application package <https://epa.gov/pesticide-registration/pesticide-registration-
            manual-chapter-2-registering-pesticide-product#required>.




            Submit the application package and pay the fee.
            For more information on submitting the package, review the following chapters of the Registration Manual:

                Chapter 15 (Submitting Data and Confidential Business Information) <https://epa.gov/node/34457>
                Chapter 20 (Forms and How to Obtain Them) <https://epa.gov/node/34535>
                Chapter 21 (Directions for Submitting Applications and Contacting EPA) <https://epa.gov/node/34537>

            Learn more about paying PRIA application fees <https://epa.gov/node/46913>. ​



            Respond to any issues raised during EPA’s review
            process.
            When EPA receives the application and applicable PRIA fee, the Agency has 21 days, known as the 21-day Content
            Screen <https://epa.gov/node/46899>, to determine if the application has all required components. EPA will determine
            whether it contains all:

                Forms;
                Composition;
                Labeling;
                Data formatted as described in the Agency’s guidance (PR Notice 11-3 <https://epa.gov/node/51183>); and




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                                     6/11
                                                                                                                                             AR0000353
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      354
                                                                                                      Process | USof
                                                                                                                  EPA739


                Documentation of fee payment, including any requests for a fee reduction or waiver or exemption.

            Any deficiencies identified during the 21-day Content Screen that are not corrected by the applicant during the
            screening process may lead to EPA’s rejection of the application and retention of 25 percent of the fee.

            Some examples of issues found during this part of the review process:

                Missing or unsigned forms.
                Missing data or scientific rationale in lieu of data, or unacceptable scientific rationale or bridging argument.
                Inert ingredients <https://epa.gov/node/17833> not approved by EPA.

            Following the 21-day Content Screen, EPA checks to make sure the application is ready for comprehensive review,
            which is called the 45/90-day Preliminary Technical Screen. In conducting this screening, EPA determines whether the
            data and information submitted with the application are:

                Adequate and sufficient;
                Consistent with the proposed labeling and any proposed tolerance or tolerance exemption; and
                Sufficient such that a full review could result in the granting of the application.

            If the application fails the technical screening and cannot correct the deficiencies within 10 business days after receipt
            of EPA’s notification of the failure, EPA will reject the application and retain part of the application fee based on the Fee
            Reduction Tables <https://epa.gov/pria-fees/overview-pria-fee-reduction-and-refund-formula>.

            Applicants can use the Checklists for 45/90 Preliminary Technical Screen <https://epa.gov/node/47055> to help ensure their
            applications are complete and may submit completed checklists with their applications.

            Once your application passes both the 21-day Content Screen and 45/90-day Preliminary Technical Screen, EPA will
            complete a comprehensive science review. Any data deficiencies or additional information needed to complete the
            reviews will result in EPA notifying the applicant of the issues. The applicant will have 75 days to make corrections or
            additions to complete the application.

            If the applicant believes that the deficiencies cannot be corrected within 75 days, the applicant can propose a new date
            by which the application will be complete. If, after 75 days, the applicant has not responded, or if the applicant
            subsequently fails to complete the application within the time scheduled for completion, EPA will terminate any action
            on the application and will treat the application as if it had been withdrawn by the applicant. Any refunds provided will
            be calculated using the Fee Reduction Tables <https://epa.gov/pria-fees/overview-pria-fee-reduction-and-refund-formula>.


            EPA makes regulatory determination.
            EPA will make a regulatory decision using risk assessments based on review of the submitted data, information and
            proposed label.

            If EPA grants the registration, the registration may be either unconditional or conditional <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide#unconditional>.




            Apply for state registration.
            If your application is approved by EPA, you must then apply for registration in the states where you plan to sell your
            product.




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                               7/11
                                                                                                                                       AR0000354
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      355
                                                                                                      Process | USof
                                                                                                                  EPA739


                Find contact information for state pesticide regulatory agencies                 <http://npic.orst.edu/reg/state_agencies.html>.




            Additional requirements for pesticide producers and
            applicants.
            If you are producing or formulating a pesticide, you must comply with FIFRA Section 7, Registration of Establishments.

                Obtain an establishment number <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-
                company-or> for each place or facility where you will manufacture the product.

                Note that annual reports are required for establishments <https://epa.gov/compliance/pesticide-establishment-registration-and-
                reporting>, even if there is no production.


            Once your product is registered, you also must pay annual registration maintenance fees <https://epa.gov/pesticide-
            registration/annual-pesticide-registration-maintenance-fees>.


            This has been a general overview of the pesticide product registration process. The resources on this page have
            extensive information, but you may contact us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> if
            you still have questions.



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON MARCH 2, 2023




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                                           8/11
                                                                                                                                                   AR0000355
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      356
                                                                                                      Process | USof
                                                                                                                  EPA739




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                   9/11
                                                                                                                           AR0000356
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      357
                                                                                                      Process | USof
                                                                                                                  EPA739



            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                                   10/11
                                                                                                                                            AR0000357
8/14/23, 1:36 PM    Case 3:24-cv-01106-CVR      Document
                                      How to Register a Pesticide 57-3
                                                                  – A GuideFiled   04/24/24
                                                                            for Applicants         Page
                                                                                           New to the      358
                                                                                                      Process | USof
                                                                                                                  EPA739




https://www.epa.gov/pesticide-registration/how-register-pesticide-guide-applicants-new-process                                  11/11
                                                                                                                           AR0000358
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 359
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



            Pesticide                                       CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 1 -
            Overview of Requirements for Pesticide
            Registration and Registrant Obligations
            In this chapter:
                Introduction                                                                                      Registration Manual
                Laws and Regulations Pertaining to Pesticide Registration                                          Table of Contents
                Identifying Which Products Require Registration
                    Substances vs. Devices                                                                       Pesticides Registration Manual

                    Definition of Intent                                                                         Home Page <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                    Toxicity to Humans and Nontarget Organisms
                                                                                                                 manual>
                Products or Substances that Are Regulated but Not Registered as
                Pesticides                                                                                       Introduction
                                                                                                                 <https://epa.gov/pesticide-
                    Adjuvants
                                                                                                                 registration/pesticide-registration-
                    Devices
                                                                                                                 manual-introduction>
                    Pesticide Intermediates
                    Pesticides and Pest Control Organisms Exempt from Registration                               How to Register a Pesticide
                    Requirements                                                                                 Product – A Guide for Applicants
                                                                                                                 New to the Process
                Pesticides Intended for Use on Food or Feed                                                      <https://epa.gov/pesticide-
                Import and Export of Pesticides                                                                  registration/how-register-pesticide-guide-

                Types of Pesticide Registration                                                                  applicants-new-process>

                    Obtaining a Registration for a Pesticide Product                                               1. Requirements for Pesticide
                    Obtaining a Supplemental Registration to Distribute a Product                                    Registration and Registrant
                    Registered by Someone Else                                                                       Obligations
                    Amending the Registration of a Product Already Registered with                                 2. Registering a Pesticide
                    EPA                                                                                               Product <https://epa.gov/pesticide-
                    Unconditional/Conditional Registration                                                           registration/pesticide-registration-
                                                                                                                     manual-chapter-2-registering-
                Registrant Obligations
                                                                                                                     pesticide-product>
                State Pesticide Regulatory Agencies
                Enforcement and Compliance



https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                                1/23
                                                                                                                                                            AR0000359
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 360
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




                Contacts for Additional Information                                                      3. Additional Considerations for
                References Cited in Chapter 1                                                               Biopesticide Products
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-3-additional-
            Introduction                                                                                    considerations>

            This chapter provides an overview of the federal laws that govern EPA’s                      4. Additional Considerations for
            oversight of pesticide use in the United States. The chapter also                               Antimicrobial Products
                                                                                                            <https://epa.gov/pesticide-
            introduces concepts further elaborated in later chapters of this manual,
                                                                                                            registration/pesticide-registration-
            such as which products are subject to EPA’s review, how EPA evaluates a
                                                                                                            manual-chapter-4-additional-
            pesticide chemical’s toxicity to humans or other organisms, how EPA
                                                                                                            considerations>
            evaluates a chemical’s environmental risk, how EPA evaluates pesticides
            intended for use on food crops and nonfood sites, different types of EPA                     5. Registration Fees
            responses, role of state regulations, and obligations of companies and                          <https://epa.gov/pesticide-

            individuals seeking a pesticide registration (referred to as "applicants").                     registration/pesticide-registration-
                                                                                                            manual-chapter-5-registration-fees>

                                                                                                         6. Amending a Registered
                                                                                                            Pesticide Product
            Laws and Regulations Pertaining                                                                 <https://epa.gov/pesticide-

            to Pesticide Registration                                                                       registration/pesticide-registration-
                                                                                                            manual-chapter-6-amending-
            The primary federal law that governs how EPA oversees pesticide use in                          registered-pesticide>
            the United States is the Federal Insecticide, Fungicide, and Rodenticide
                                                                                                         7. Notifications and Minor
            Act (FIFRA) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
                                                                                                            Formulation Amendments
            rodenticide-act>, originally enacted in 1947. This law has been significantly
                                                                                                            <https://epa.gov/pesticide-
            amended several times, notably in the recent past by the Food Quality
                                                                                                            registration/pesticide-registration-
            Protection Act of 1996 (FQPA) <https://epa.gov/node/111505> and by the
                                                                                                            manual-chapter-7-notifications-and-
            Pesticide Registration Improvement Act of 2003 (PRIA), which was
                                                                                                            minor-formulation>
            reauthorized by the Pesticide Registration Improvement Extension Act of
                                                                                                         8. Inert Ingredients
            2012 <https://epa.gov/pria-fees>.
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-8-inert-ingredients>

                                                                                                         9. Supplemental Distribution of
                                                                                                            a Registered Pesticide
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-9-supplemental-
                                                                                                            distribution-registered>

                                                                                                        10. Data Compensation
                                                                                                            Requirements
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-10-data-
                                                                                                            compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                       2/23
                                                                                                                                                   AR0000360
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 361
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




                                                                                                        11. Tolerance Petitions
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-11-tolerance-
                                                                                                            petitions>

                                                                                                        12. Applying for an Experimental
                                                                                                            Use Permit
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-12-applying-
                                                                                                            experimental-use-permit>

                                                                                                        13. Devices <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-13-devices>

                                                                                                        14. How to Obtain an EPA
                                                                                                            Establishment Number
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-14-how-obtain-epa-
                                                                                                            company-or>

                                                                                                        15. Submitting Data and
                                                                                                            Confidential Business
                                                                                                            Information
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-15-submitting-data-
                                                                                                            and-confidential>

                                                                                                        16. Transfer of Product
                                                                                                            Registrations and Data Rights
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-16-transfer-product-
                                                                                                            registrations-and>

                                                                                                        17. State Regulatory Authority
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-17-state-regulatory-
                                                                                                            authority>

                                                                                                        18. Other Federal or State Agency
                                                                                                            Requirements
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-18-other-federal-or-
                                                                                                            state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                       3/23
                                                                                                                                                   AR0000361
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 362
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




                                                                                                        19. How to Obtain Publications
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-19-how-obtain-
                                                                                                            publications>

                                                                                                        20. Forms and How to Obtain
                                                                                                            Them <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-20-forms-and-how-
                                                                                                            obtain-them>

                                                                                                        21. Directions for Submitting
                                                                                                            Applications and Contacting
                                                                                                            EPA <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-21-directions-
                                                                                                            submitting-applications>


                                                                                                        Appendices

                                                                                                            Appendix A: Guidance
                                                                                                            Documents
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-guidance-
                                                                                                            documents>

                                                                                                            Appendix B: Examples of
                                                                                                            Registrant Documents
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-b-examples-
                                                                                                            registrant-documents>

                                                                                                            Appendix C: Pesticide Forms
                                                                                                            Overview Table
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-c-pesticide-forms-
                                                                                                            overview-table>

                                                                                                            Appendix D: Examples of
                                                                                                            Completed Forms
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-d-examples-
                                                                                                            completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                       4/23
                                                                                                                                                   AR0000362
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 363
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




                      FQPA significantly strengthened the safety criteria in the Federal Food, Drug, and
                      Cosmetic Act (FFDCA) <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>, under which
                      EPA evaluates pesticide uses on food crops.
                      PRIA established pesticide registration fees <https://epa.gov/pria-fees> for some registration
                      actions, under which applicants are required to pay a fee and, in exchange, EPA is
                      obligated to perform certain registration functions within defined timeframes.




            EPA also derives its authority to regulate pesticide residues on food items from provisions of the Federal Food, Drug,
            and Cosmetic Act (FFDCA). FIFRA and FFDCA require EPA to carefully evaluate any pesticide intended for use on food or
            animal feed crops before making a registration decision. If EPA determines that use of the product would result in
            residues of the chemical(s) in or on food/feed items, the Agency may not register the product under FIFRA unless EPA
            can determine that the residues are "safe" under the FFDCA. The FFDCA defines "safe" to mean that there is "a
            reasonable certainty of no harm" from the exposure to the residue in food and from other non-occupational sources.

            After making a determination as to safety, the Agency may establish a "tolerance <https://epa.gov/pesticide-tolerances/about-
            pesticide-tolerances>," i.e., a maximum permissible pesticide residue on a particular food/feed commodity. Alternatively,
            EPA may establish an exemption from the requirement of a tolerance, which would allow any amount of a pesticide
            residue to remain in or on food or feed, if EPA determines that granting the exemption would meet the FFDCA safety
            standard. There is a more detailed discussion of the FFDCA requirements and pesticide tolerances later in the
            "Pesticides Intended for Use on Food or Feed” section of this chapter.

            Further legal and technical authority regarding how EPA regulates pesticides in the United States is found in FIFRA’s
            implementing regulations at Title 40 of the Code of Federal Regulations (40 CFR) Parts 150-189. These sections of 40
            CFR govern the sale, distribution and use of pesticides. Persons or companies subject to the law are responsible for
            understanding and complying with FIFRA, FFDCA, and the relevant sections of 40 CFR.




            Identifying Which Products Require Registration
            For a company to know if EPA must register its pesticide product(s), it is necessary to know what the law defines as a
            pesticide. Anyone who plans to sell or distribute a product in the United States that is intended to control a pest or
            regulate plant growth should become familiar with the definition of pesticide in the law and regulations.

            The term pesticide, as defined in FIFRA section 2(u) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act> means:




                   1. any substance or mixture of substances intended for preventing, destroying, repelling,
                      or mitigating any pest;
                   2. any substance or mixture of substances intended for use as a plant regulator, defoliant,
                      or desiccant; and
                   3. any nitrogen stabilizer.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                    5/23
                                                                                                                                                AR0000363
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 364
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            EPA has listed in 40 CFR 152.6 substances that are excluded from regulation by FIFRA. Provided they meet the
            conditions or criteria specified in 40 CFR 152.6, such substances include liquid chemical sterilants, nitrogen stabilizers,
            human drugs, animal drugs, animal feeds vitamin hormone products, and products intended to aid the growth of
            desirable plants. Further, EPA has listed, in 40 CFR 152.8, fertilizer products that don’t contain pesticide and products
            intended to force bees from hives for the collection of honey as products that are not pesticides because they are not
            for use against pests. When other products are not pesticides because they are not intended for a pesticidal purpose is
            explained in 40 CFR 152.10        .

            Substances vs. Devices
            The use of the terms substance and mixtures of substances in the definition of pesticide provides the key to separating
            pesticides from devices (discussed below). If the product contains a substance that is intended to prevent, destroy,
            repel, or mitigate a pest or constitutes a plant regulator, defoliant, desiccant, or nitrogen stabilizer, then the product is
            considered to be a pesticide and, in general, will require registration (exceptions to registration also discussed below).

            If the pest is controlled by physical or mechanical action (as opposed to a substance), then the product is considered a
            device and registration by EPA is not required. However, devices are subject to other provisions of the law, which are
            more thoroughly explained in Chapter 13. <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices>

            Definition of Intent
            As set forth at 40 CFR section 152.15, a substance is considered to be intended for a pesticidal purpose, thus requiring
            EPA registration, if:



                      The person who distributes or sells the substance claims, states, or implies (by labeling
                      or otherwise):


                           that the substance (either by itself or in combination with any other substance) can
                           or should be used as a pesticide; or
                           that the substance consists of or contains an active ingredient and that it can be
                           used to manufacture a pesticide; or
                           the substance consists of or contains one or more active ingredients and has no
                           significant commercially valuable use as distributed or sold other than (1) use for
                           pesticidal purpose (by itself or in combination with any other substance), (2) use for
                           manufacture of a pesticide; or
                           the person who distributes or sells the substance has actual or constructive
                           knowledge that the substance will be used, or is intended to be used, for pesticidal
                           purpose.




            Toxicity to Humans and Nontarget Organisms
            Pesticides are substances that prevent, destroy, repel, or mitigate a pest. A product’s relative toxicity to humans or
            other nontarget organisms does not make it a pesticide. However, the product’s toxicity to humans and other
            organisms is carefully evaluated during EPA’s registration evaluation process. When EPA determines that a pesticide




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                     6/23
                                                                                                                                                 AR0000364
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 365
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            product can be registered for use, the Agency has concluded that the use of the pesticide product will not cause
            unreasonable adverse effects to humans or the environment when applied according to the label directions and
            restrictions.

            It is important to become familiar with the other definitions in the law and regulations. The definitions for devices,
            active and inert ingredients, and pests are terms that will be vital for fully understanding the definition of a pesticide.



                      Active ingredient (A.I.) – "Any substance (or group of structurally similar substances if
                      specified by the Agency) that will prevent, destroy, repel or mitigate any pest, or that
                      functions as a plant regulator, desiccant, or defoliant within the meaning of FIFRA sec.
                      2(a), except as provided in [40 CFR ] § 174.3." 40 CFR 152.3. See also FIFRA 2(a).


                      Inert ingredient – "Any substance (or group of structurally similar substances if
                      designated by the Agency), other than an active ingredient, which is intentionally
                      included in a pesticide product, except as provided by [40 CFR ] § 174.3." 40 CFR 152.3.
                      See also FIFRA 2(m).


                      Device – Devices are described in a following section in this chapter, FIFRA section 2(h)
                      <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> and in detail in Chapter 13

                      <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices>.



                      Pests – This term means "(1) any insect, rodent, nematode, fungus, weed, or (2) any
                      other form of terrestrial or aquatic plant or animal life or virus, bacteria, or other
                      micro-organism (except viruses, bacteria, or other micro-organisms on or in living man
                      or other living animals) which the [Agency] declares to be a pest under [FIFRA section
                      25(c)(1) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>]" FIFRA 2(t).




            Important Note: For assistance in determining whether a product is a pesticide or device under FIFRA, you may contact
            the Registration Division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-registration-division>, the Antimicrobials
            Division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-regulatory-divisions-ad-bppd-prd-rd>, or the Biopesticides
            and Pollution Prevention Division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-biopesticides-and-pollution-
            prevention> Ombudsmen in the Office of Pesticide Programs (OPP). The contact should be made in writing and should
            include detailed information about the intended uses and composition of the product. Submission of a proposed label
            for the product would also be helpful. The addresses and/or FAX numbers for the Regulatory Division Ombudsmen are
            found in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>.
            Please do not send any confidential information via FAX or e-mail.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                        7/23
                                                                                                                                                   AR0000365
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 366
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            Products or Substances that Are Regulated but Not
            Registered as Pesticides
            Adjuvants
            For pesticide regulation, adjuvants are chemicals added to a pesticide by users to improve the pesticide's efficacy.
            Agricultural chemical adjuvants are grouped according to their intended purpose in a tank mix. Examples of adjuvants
            include:



                       acidifying agents,
                       buffering agents,
                       anti-foam agents,
                       defoaming agents,
                       anti-transpirants,
                       dyes and brighteners,
                       compatibility agents,
                       crop oil concentrates,
                       oil surfactants,
                       deposition agents,
                       drift reduction agents,
                       foam markers,
                       feeding stimulants,
                       herbicide safeners,
                       spreaders, extenders,
                       adhesive agents,
                       suspension agents,
                       gelling agents,
                       synergists,
                       wetting agents,
                       emulsifiers,
                       dispersing agents,
                       penetrants,
                       tank and equipment cleaners,
                       neutralizers,
                       water absorbents, and
                       water softeners.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                             8/23
                                                                                                                                   AR0000366
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 367
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            Such agents are often included in pesticide formulations as "other ingredients," in which case the ingredient is
            reviewed during registration and any necessary tolerances or exemptions from the requirement of a tolerance are
            established. Where a product label directs the user to add a particular adjuvant before use, the registering division will
            treat that adjuvant as if it were an "other ingredient" in making the registration decision, and will assure that any
            necessary tolerances or exemptions from the requirement of a tolerance are established. It also would be within the
            Agency’s authority to treat any tank-mixed substance as part of the pesticide (and thus needing an FFDCA tolerance) in
            that it met the FIFRA definition of pesticide – i.e., a "mixture" of substances intended to kill a pest.

            Devices
            A device is defined in FIFRA section 2(h) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> as
            “any instrument or contrivance (other than a firearm) intended for trapping, destroying, repelling, or mitigating any
            pest or any other form of plant or animal life (other than humans and other than bacteria, virus, or other
            microorganism on or in living man or other living animals); but not including equipment used for the application of
            pesticides) when sold separately.” Tamper-resistant bait boxes for rodenticides are an example of application
            equipment that does not fall within the definition of a device.

            Items that depend more upon the performance of a person than on the performance of the device itself (e.g.,
            flyswatters) are considered devices but are not subject to regulation.

            As already stated, registration is not required for devices although devices are subject to other provisions of the law.
            Please refer to Chapter 13 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices> for further
            information. A nontechnical fact sheet on devices <https://epa.gov/pesticides/pesticide-devices-guide-consumers> is also available.

            Pesticide Intermediates
            Pesticide "intermediates" are substances that may not themselves be pesticides, but are used in the synthesis of the
            active ingredient or the manufacture of the pesticide product. Examples of intermediates are the starting materials
            used to synthesize by chemical reactions or purify a technical grade of the active ingredient. A pesticide intermediate
            may be produced at the same site as the final pesticide product or obtained from other sources. Some pesticide
            intermediates are also pesticides because they are intended for a pesticidal purpose. See 40 CFR section 152.15 for
            examples of what EPA considers a substance intended for a pesticidal purpose. Pesticide intermediates that are not
            also pesticides are not subject to registration under FIFRA but are subject to regulation under the Toxic Substances
            Control Act (TSCA) <https://epa.gov/laws-regulations/summary-toxic-substances-control-act>. Questions regarding chemicals or
            compounds that are not pesticides should be referred to EPA’s Office of Pollution Prevention and Toxics (OPPT).
            <https://epa.gov/chemicals-under-tsca>


            Pesticides and Pest Control Organisms Exempt from Registration
            Requirements
            The following pesticides, pest control organisms, and treated articles are exempt from the registration requirements of
            FIFRA under 40 CFR Part 152, Subpart B:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                      9/23
                                                                                                                                                  AR0000367
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 368
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            Exemptions for pesticides regulated by another Federal Agency (40 CFR 152.20)



                     Certain biological control agents are exempt (except for eucaryotic microorganisms,
                     including protozoa, algae, and fungi; procaryotic microorganisms, including bacteria;
                     and viruses).
                     All living plants intended for use as biological control agents are exempt from the
                     requirements of FIFRA. However, plant-incorporated protectants are not exempt
                     pursuant to this section. Regulations, including exemptions, for plant-incorporated
                     protectants are addressed in 40 CFR Part 174.
                     A nonliquid chemical sterilant, except ethylene oxide, that meets the criteria of 152.6(a)
                     (2) with respect to its claims and 152.6(a)(3) with respect to its use sites is exempted
                     from regulation under FIFRA.




            Exemptions for pesticides of a character not requiring FIFRA regulation(40 CFR 152.25)



                     Treated articles or substances that meet the specific criteria of 40 CFR 152.25(a),
                     pheromones and pheromone traps, preservatives for biological specimens, foods,
                     natural cedar, and certain minimum risk pesticides <https://epa.gov/node/40897/> listed in 40 CFR
                     152.25(f)(1) and on the OPP Pesticide Tolerances Website <https://epa.gov/pesticide-tolerances/about-
                     pesticide-tolerances> are exempt.




            Pesticides that may be transferred sold or distributed without registration (                    40 CFR 152.30)



                     A pesticide transferred between registered establishments operated by the same
                     producer. (40 CFR 152.30(a))
                     A pesticide transferred between registered establishments not operated by the same
                     producer. (40 CFR 152.30(b))
                     A pesticide distributed or sold under an experimental use permit. (40 CFR 152.30(c))
                     A pesticide transferred solely for export. (40 CFR 152.30(d)
                     A pesticide distributed or sold under an emergency exemption. (40 CFR 152.30(e))
                     A pesticide transferred for purposes of disposal. (40 CFR 152.30(f))
                     Existing stocks of a formerly registered product. (40 CFR 152.30(g))




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                           10/23
                                                                                                                                   AR0000368
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 369
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            Pesticides Intended for Use on Food or Feed
            EPA establishes maximum residue levels (tolerances) for pesticides in food, including animal feed, under section 408 of
            the Federal Food, Drug, and Cosmetic Act (FFDCA) <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>. In
            the absence of a tolerance covering pesticide residues in a food, that food is considered adulterated and subject to
            seizure. For this reason, EPA regulations require that all needed tolerances be in place before a FIFRA registration will be
            granted.

            Specifically, if the proposed product labeling bears instructions for use of the product on food or feed crops, or if the
            intended use of the product results or may be expected to result, directly or indirectly, in pesticide residues in or on
            food or feed (including residues of any active ingredient, inert ingredient, metabolite, or degradation product), the
            applicant must submit a statement indicating whether a tolerance or an exemption from the requirement of a tolerance
            has been established by the Agency under section 408 of the FFDCA for the pesticide residues resulting from the
            proposed use (40 CFR 152.50(i).

            If the appropriate tolerances or exemptions are not in place, the application must be accompanied by a petition for
            establishment of appropriate tolerances or exemptions from the requirement of a tolerance in accordance with 40 CFR
            Part 180 (40 CFR 152.50(i)). Please refer to Chapter 11 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-
            tolerance-petitions> for more detailed information on filing petitions for a tolerance.




            Import and Export of Pesticides
            FIFRA section 17 <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> contains import and
            export requirements for pesticides. Except for certain exemptions from the requirements of FIFRA listed under 40 CFR
            Part 152, Subpart B, FIFRA requires that a registration be obtained from EPA before any person in any state or foreign
            country can sell or distribute any pesticide in the United States.

            Pesticides produced by foreign manufacturers and imported for sale or distribution in the United States must comply
            with all requirements applicable to domestic producers. This includes registering the pesticide product (follow the
            guidance in Chapter 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product>) and
            obtaining an EPA Pesticide-Producing Establishment number before starting production (follow the guidance in
            Chapter 14 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or>). In addition,
            regulations require an importer to submit to EPA a Notice of Arrival of Pesticides and Devices (EPA Form 3540-1)
            <https://epa.gov/compliance/epa-form-3540-1-notice-arrival-pesticides-and-devices> for review and determination as to whether the
            shipment should be sampled and/or permitted entry into the United States.

            Technical materials may be imported without registration in sufficient quantities to formulate a pesticide for which an
            Experimental Use Permit has been granted if the EUP application cites the planned import (40 CFR 172.7). Per 40 CFR
            152.30(e). The unregistered product must be labeled in accordance with 40 CFR Part 156.

            FIFRA section 17 states that no pesticide, device, or active ingredient used in producing a pesticide solely for export to
            any foreign country shall be deemed in violation of FIFRA when prepared or packaged to the specifications or directions
            of the foreign producer, except that producers of such pesticides, devices, and active ingredients are subject to FIFRA
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> provisions on labels and labeling (section
            2(p)) and misbranding (sections 2(q)(1)(A), (C), (D), (E), (G), and (H); 2(q)(2)(A), (B), (C)(i) and (iii); and (D), 7 and 8).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                           11/23
                                                                                                                                                        AR0000369
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 370
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            FIFRA section 17(a)(2) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> and its interpretation
            in 40 CFR 168.75 further state that before the export of any pesticide not registered under section 3 or sold under
            section 6(a)(1) of FIFRA, the foreign purchaser must have signed a Prior Informed Consent statement acknowledging
            that the purchaser understands that such pesticide is not registered for use in the United States and cannot be sold in
            the United States under FIFRA. The purchaser must transmit a copy of that statement to an appropriate official of the
            government of the importing country. Refer to 40 CFR Part 168, Subpart D, for more information. Related information
            can also be found at the pesticides International Activities Website <https://epa.gov/pesticides/international-activities-related-
            pesticides>.




            Types of Pesticide Registration
            Any company wishing to sell its own pesticide product must either:



                      obtain a federal registration for its own product; or
                      become a supplemental registrant (often termed a supplemental distributor or sub-
                      registrant) for a product that is already federally registered.




            These types of registrations, together with amendments to a registration, are described in more detail below. Before
            submitting a registration request to EPA, the company must obtain a company number <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or>.


            Obtaining a Registration for a Pesticide Product
            An applicant who wishes to obtain a registration for its own pesticide product is responsible for submitting or citing all
            of the information and data that are required to support the registration. The information required includes:



                      forms,
                      proposed product labeling,
                      technical and scientific data that meet the data requirements related to the specific
                      product the applicant intends to produce, and
                      statement of how the applicant will comply with any data compensation requirements.




            Registrant Summary of Pesticide Petitions for EPA's Notice of Filing <https://epa.gov/pesticide-registration/pesticide-registration-
            manual-registrant-summary-pesticide-petitions-epas> provide a company with the ability to electronically prepare a pesticide
            tolerance petition for submission to EPA.

            Chapter 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product> contains detailed
            instructions on how to submit an application for pesticide registration.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                            12/23
                                                                                                                                                         AR0000370
8/14/23, 1:36 PM     Case  3:24-cv-01106-CVR
                        Pesticide                          Document
                                  Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                            of Requirements 04/24/24       Page 371
                                                                                               Pesticide Registration      of 739Obligations | US …
                                                                                                                      and Registrant




            Obtaining a Supplemental Registration to Distribute a Product Registered by
            Someone Else
            An applicant who does not wish to register and produce its own unique product may become a supplemental registrant
            for another company that has already registered a product. This supplemental registration allows the new registrant to
            market the product under its own company and brand name. To use the supplemental registration process, both
            parties (the original registrant and the supplemental distributor) must:



                      enter into an agreement with one another,
                      complete and file a Notice of Supplemental Distribution of a Registered Pesticide
                      Product (EPA Form 8570-5) <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms> with
                      EPA, and
                      ensure that the supplemental product bears the identical label language apart from the
                      exceptions listed at 40 CFR 152.132(d). Two of the exceptions include the supplemental
                      label utilizing a different product name and the supplemental distributor’s name and
                      address instead of the registrant’s.




            Refer to Chapter 9 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered> for
            detailed instructions on how to submit an application for supplemental distribution of a pesticide product.

            Amending the Registration of a Product Already Registered with EPA
            If a registrant has a product previously registered with EPA and wishes to make a change to the registration such as
            change the formulation or labeling text (i.e., add, delete, or change formulation components or label precautionary
            statements, or add or change uses), it must file an application to amend its registered product.

            Refer to Chapter 6 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide> for detailed
            instructions on how to submit an application for amended registration of a pesticide product. There are certain
            changes that registrants may make that do not require an amendment application, but simply require that registrants
            notify the Agency of the change, and other changes that require no notification at all. Notifications are discussed in
            Chapter 7 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation> and in PR
            Notice 98-10 <https://epa.gov/pesticide-registration/prn-98-10-notifications-non-notifications-and-minor-formulation-amendments>.

            Unconditional/Conditional Registration
            EPA has discretion to make pesticide registration decisions under either the unconditional registration criteria of FIFRA
            section 3(c)(5) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> or the conditional
            registration criteria of FIFRA section 3(c)(7). These are described below.

            Unconditional Registration

            An application will be approved under the unconditional registration criteria only if EPA has (as listed in 40 CFR
            152.112):




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                              13/23
                                                                                                                                                           AR0000371
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 372
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




                     determined that the application was complete and was accompanied by all materials
                     required by FIFRA, including but not limited to, evidence that the applicant had
                     complied with the data compensation requirements;
                     reviewed all relevant data in its possession;
                     determined that no additional data were necessary to make the determinations required
                     under FIFRA section 3(c)(5) with respect to the subject product;
                     determined that the composition of the product is such as to warrant the proposed
                     efficacy claims for it, if efficacy data were required;
                     determined that the product will perform its intended function without unreasonable
                     adverse effects on the environment, and that when used in accordance with widespread
                     and commonly recognized practice, the product will not generally cause unreasonable
                     adverse effects on the environment;
                     determined that the product was not misbranded as defined by FIFRA section 2(q) and
                     40 CFR Part 156;
                     determined that, if the proposed labeling bears directions for use on food, animal feed,
                     or food or feed crops, or if the intended use of the pesticide results or may reasonably be
                     expected to result, directly or indirectly, in pesticide residues of any active or inert
                     ingredient of the product in or on food or animal feed, all necessary tolerances or
                     exemptions from the requirement of a tolerance, and food additive regulations have
                     been issued under FFDCA section 408, section 409, or both; and
                     been notified by the FDA that the product complies with any requirements imposed by
                     FDA if the product, in addition to being a pesticide, is a drug within the meaning of
                     FFDCA section 201(q).




            Unconditional registrations can be granted for a variety of applications – such as identical/substantially similar (me-
            toos) (described below), new uses, or new active ingredients – so long as all criteria above are met.

            Conditional Registration under FIFRA 3(c)(7)

            EPA may conditionally approve an application for registration or amended registration of a pesticide product. This may
            occur if EPA determines that, while a registration decision can be made, further data, studies, or action by the registrant
            are required by EPA. This section further details how EPA grants a conditional registration depending on whether it is a
            new active ingredient, a new use, or an Identical/Substantially Similar (formerly "Me Too") product.

            Identical/Substantially Similar (Formerly Me-Too) Products:

            EPA may conditionally approve an application for registration or amended registration of a pesticide product under
            FIFRA section 3(c)(7)(A) if the Agency determines that:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                           14/23
                                                                                                                                   AR0000372
8/14/23, 1:36 PM      Case  3:24-cv-01106-CVR
                         Pesticide                          Document
                                   Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                             of Requirements 04/24/24       Page 373
                                                                                                Pesticide Registration      of 739Obligations | US …
                                                                                                                       and Registrant




                       it possesses all data necessary to make the determinations required by FIFRA section
                       3(c)(7)(A) with respect to the pesticide product that is the subject of the application
                       (including, at a minimum, data needed to characterize any incremental risk that would
                       result from approval of the application);
                       the pesticide and proposed uses are identical or substantially similar to any currently
                       registered pesticide and its uses, or differ only in ways that would not significantly
                       increase the risk of unreasonable adverse effects on the environment (See 40 CFR
                       152.113(b) ); and
                       approving the registration or amendment in the manner proposed would not
                       significantly increase the risk of any unreasonable adverse effect on the environment
                       (40 CFR 152.113(a)(2)).




            Each registration issued under 3(c)(7)(A) must submit or cite the same data that would be required for unconditional
            registration of a similar product under FIFRA section 3(c)(5).

            These data must be submitted or cited no later than the time that the data are required to be submitted for similar
            pesticide product(s) already registered. If a notice requiring these data has been issued under FIFRA section 3(c)(2)(B)
            before the application has been approved, the applicant must submit or cite those data at the time specified in the
            notice.

            New Uses: EPA may conditionally amend the registration of a pesticide to permit additional uses, even if the data
            concerning the pesticide may be insufficient to support the unconditional registration, if the Agency determines under
            FIFRA section 3(c)(7)(B) that:



                       the applicant has submitted satisfactory data pertaining to the proposed additional use,
                       amending the registration would not significantly increase the risk of any unreasonable
                       adverse effect on the environment, and




            Each registration issued under 3(c)(7)(B) must submit or cite the same data that would be required for unconditional
            registration of a similar product under FIFRA section 3(c)(5).

            Note: If an applicant is unable to submit an item of data (other than data pertaining to the proposed additional use)
            because it has not yet been generated (such as data required by a data call-in issued by EPA under FIFRA section 3(c)(2)
            (B)), the Agency may amend the registration to require the submission of those data at the same time that the data are
            required to be submitted with respect to similar pesticides already registered (FIFRA section 3(c)(7)(B)).

            New Active Ingredients: EPA may conditionally register a pesticide containing an active ingredient not in any currently
            registered product for a period reasonably sufficient for the generation and submission of data necessary for
            registration under FIFRA section 3(c)(7)(C) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>,
            if the Agency determines that:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                      15/23
                                                                                                                                                 AR0000373
8/14/23, 1:36 PM       Case  3:24-cv-01106-CVR
                          Pesticide                          Document
                                    Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                              of Requirements 04/24/24       Page 374
                                                                                                 Pesticide Registration      of 739Obligations | US …
                                                                                                                        and Registrant




                        insufficient time has elapsed since the imposition of the data requirement for those data
                        to be developed, on the condition that when the Agency receives such data that they do
                        not meet or exceed risk criteria stated in the regulations issued under FIFRA and other
                        conditions issued by the Agency;
                        the use of the pesticide during such period will not cause any unreasonable risk to the
                        environment; and
                        the use of the pesticide is in the public interest.




            Note: Additional requirements for conditional registration of new active ingredients are found in 40 CFR 152.114(b) and
            (c)    .

            Pesticides that Do Not Qualify for Conditional Registration:

            EPA will not approve the conditional registration of a pesticide product for a new use if (40 CFR 152.113(c)):



                        the pesticide is the subject of a Special Review, based on a use of the product that results
                        in human dietary exposure; and
                        the proposed new use is for a major food or feed crop, or involves use on a minor food or
                        feed crop for which there is an effective alternative registered pesticide that does not
                        meet the risk criteria associated with human dietary exposure.




            Registrant Obligations
            Registrants are entirely responsible for their pesticide and pesticide labeling and are required by FIFRA and EPA
            regulations (40 CFR Part 152 and 169) to:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                              16/23
                                                                                                                                      AR0000374
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 375
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




                     ensure that each production facility is registered and has an establishment number
                     <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or> (and ensure that

                     any contractor facility they use is registered) (40 CFR 167.20);
                     maintain a U.S. mailing address (40 CFR 152.122(a));
                     notify EPA of name and/or address changes (if a registrant changes its name and/or
                     address and fails to notify EPA of the change(s) and EPA's good faith attempts to contact
                     the registrant are not successful, EPA will issue in the Federal Register a notice of intent
                     to cancel all of the registrant’s products under FIFRA section 6(b)) (40 CFR 152.122(a));
                     notify EPA if the authorized agent changes (40 CFR 152.122(b));
                     provide information on any adverse effects of a pesticide that have not been previously
                     submitted to the Agency in accordance with FIFRA section 6(a)(2) (40 CFR 152.125);
                     ensure that their product labeling is in compliance with FIFRA (FIFRA 2(q) and 40 CFR
                     Part 156);
                     ensure that supplemental distributor products and their distributor product labeling are
                     in compliance with FIFRA (40 CFR Part 152.132);
                     obtain permission to transfer registration of a product and/or data to another person
                     (40 CFR 152.135); and
                     pay the annual pesticide registration maintenance fees <https://epa.gov/pesticide-registration/updated-
                     annual-pesticide-registration-maintenance-fees-2023>.




            If a registrant owns the production facility, the registrant must:



                     register the establishment number(s) for each production facility (40 CFR 167.20);
                     maintain product data records (40 CFR 169.2); and
                     report annual production volume (40 CFR 169.2(a)).




            Refer to 40 CFR Part 152, Subpart G, and 40 CFR Part 169.




            State Pesticide Regulatory Agencies
            The registration and use of pesticides are not only regulated by federal laws, but also by state laws and regulations,
            which differ from state to state. It is advisable to consult with each state and U.S. territory for information on their
            registration requirements. The National Pesticide Information Center <http://npic.orst.edu/reg/state_agencies.html> provides
            the telephone numbers and addresses for the primary pesticide regulatory agency in each state and U.S. territory.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                  17/23
                                                                                                                                             AR0000375
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 376
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            Enforcement and Compliance
            EPA's regulatory oversight of pesticides manufactured in, imported to, and/or used in the United States includes not
            only the science-based review and decision-making process performed by the Agency's Office of Pesticide Programs
            but also oversight to ensure compliance with federal laws and regulations related to pesticides. These efforts are
            conducted by EPA's Office of Enforcement and Compliance Assurance (OECA) <https://epa.gov/compliance/federal-insecticide-
            fungicide-and-rodenticide-act-compliance-monitoring>.




            Contacts for Additional Information
            The following chapters of this manual are intended to provide detailed information regarding the pesticide registration
            process and obligations of applicants and registrants during that process. However, if during the registration process
            you require additional information or clarification concerning a pending application for registration, contact the
            Product Manager assigned to the pesticide in your product. A listing of Product Managers and a sampling of the
            pesticides they are responsible for can be found in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-
            chapter-21-directions-submitting-applications>.


            For questions of a general nature that do not pertain to any specific pesticide, or pertain to a new pesticide active
            ingredient not yet applied for, contact the respective Ombudsman for the type of pesticide (i.e., conventional chemical,
            biopesticide, or antimicrobial) for which you have a question. A listing of the various Ombudsmen can be found in
            Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>.

            If you have any questions concerning devices, including whether they are subject to FIFRA or how to register an
            establishment, please contact:



                U.S. EPA
                Toxics and Pesticides Enforcement Division
                1200 Pennsylvania Avenue, N.W. (2245A)
                Washington, D.C., 20460-0001
                Email: OPPDeviceDeterminations@epa.gov




            References Cited in Chapter 1
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            To find current Code of Federal Regulations citations, use the e-CFR                .

            Code of Federal Regulation, Title 40




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                   18/23
                                                                                                                                                AR0000376
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 377
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




                     Part 152 - Pesticide Registration and Classification Procedures
                     Part 156 - Labeling Requirements for Pesticides and Devices
                     Part 158 - Data Requirements for Registration
                     Part 168 - Statements of Enforcement Policies and Interpretations
                     Part 169 - Books and Records of Pesticide Production and Distribution
                     Part 172 - Experimental Use Permits
                     Part 180 - Tolerances and exemptions from tolerances for pesticide chemicals in food




            Code of Federal Regulation, Title 21



                     Part 182 - Substance generally recognized as safe




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                     Section 2 - Definitions
                     Section 3 - Registration of pesticides
                     Section 6 - Administrative review; suspension
                     Section 7 - Registration of establishments
                     Section 8 - Books and Records
                     Section 17 - Imports and Exports




            Federal Food, Drug and Cosmetic Act <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>



                     Section 201 - Definitions
                     Section 408 - Requirement for Tolerance or Exemption




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                  19/23
                                                                                                                                               AR0000377
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 378
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                                      20/23
                                                                                                                                                 AR0000378
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 379
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                           21/23
                                                                                                                                   AR0000379
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 380
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                               22/23
                                                                                                                                            AR0000380
8/14/23, 1:36 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter 1 - Overview 57-3     Filed for
                                                                           of Requirements 04/24/24       Page 381
                                                                                              Pesticide Registration      of 739Obligations | US …
                                                                                                                     and Registrant




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-1-overview-requirements-pesticide                           23/23
                                                                                                                                   AR0000381
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration      57-3
                                                             Manual: ChapterFiled   04/24/24
                                                                             2 - Registering         Page
                                                                                             a Pesticide     382
                                                                                                         Product    ofEPA
                                                                                                                 | US  739


                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 2
            - Registering a Pesticide Product
            In this chapter:
                Registering a Pesticide Product                                                                    Registration Manual
                    Pre-Registration Meeting
                                                                                                                    Table of Contents
                General Pesticide Categories
                Reduced Risk Pesticides                                                                           Pesticides Registration Manual
                Examples of Pesticide Registration Applications                                                   Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                    New Chemical or New Active Ingredient
                                                                                                                  manual>
                    New Use
                                                                                                                  Introduction
                    Identical/Substantially Similar (Formerly “Me-Too”) Product
                                                                                                                  <https://epa.gov/pesticide-
                Required Contents of the Application Package
                                                                                                                  registration/pesticide-registration-
                    Administrative Portion of the Application Package                                             manual-introduction>
                    Data Portion of an Application Package
                                                                                                                  How to Register a Pesticide
                    Child‑Resistant Packaging (CRP) Certification
                                                                                                                  Product – A Guide for Applicants
                    Restricted Use Pesticide (RUP) Classification                                                 New to the Process
                    Statement Concerning Tolerances                                                               <https://epa.gov/pesticide-
                Registration Procedures                                                                           registration/how-register-pesticide-guide-
                                                                                                                  applicants-new-process>
                    Pesticide Registration Notice 11-3
                    Completeness Reviews                                                                            1. Requirements for Pesticide
                    Applications for Registration That May Qualify as                                                  Registration and Registrant
                    Identical/Substantially Similar (Formerly “Me-Too”) Products                                       Obligations
                    How to Submit an Identical/Substantially Similar Product                                          <https://epa.gov/pesticide-

                    Application                                                                                       registration/pesticide-registration-
                                                                                                                      manual-chapter-1-overview-
                    Where to Submit an Application for Registration
                                                                                                                      requirements-pesticide>
                    Electronic Submissions
                                                                                                                    2. Registering a Pesticide
                Contacts for Additional Information
                                                                                                                       Product
                References Cited in Chapter 2




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                                   1/29
                                                                                                                                                             AR0000382
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration      57-3
                                                             Manual: ChapterFiled   04/24/24
                                                                             2 - Registering         Page
                                                                                             a Pesticide     383
                                                                                                         Product    ofEPA
                                                                                                                 | US  739



            Registering a Pesticide Product                                                                3. Additional Considerations for
                                                                                                              Biopesticide Products
            This chapter discusses what information must be submitted to the Agency                           <https://epa.gov/pesticide-

            when applying for a pesticide product registration. The chapter also                              registration/pesticide-registration-

            outlines how the process for reviewing pesticide applications can vary                            manual-chapter-3-additional-

            based on what type of pesticide is being registered and that chemical’s or                        considerations>

            product’s previous registration history. This chapter also discusses the                       4. Additional Considerations for
            importance of correctly formatting data submissions to avoid delays or                            Antimicrobial Products
            rejection of application packages.                                                                <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
            Registrant Summary of Pesticide Petitions for EPA's Notice of Filing
                                                                                                              manual-chapter-4-additional-
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-registrant-summary-
                                                                                                              considerations>
            pesticide-petitions-epas> provide a company with the ability to electronically
                                                                                                           5. Registration Fees
            prepare a pesticide tolerance petition for submission to EPA.
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
            Pre-Registration Meeting
                                                                                                              manual-chapter-5-registration-fees>
            The Agency welcomes requests for a pre-registration meeting. This type of                      6. Amending a Registered
            meeting can provide useful guidance to the applicant regarding                                    Pesticide Product
            information needed for registration. Applicants are encouraged to contact                         <https://epa.gov/pesticide-
            the appropriate branch (see Chapter 21 <https://epa.gov/pesticide-                                registration/pesticide-registration-
            registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>)
                                                                                                              manual-chapter-6-amending-
            assigned to the active ingredient in their product before submitting an                           registered-pesticide>
            application for registration. Contact the ombudsman for the division
                                                                                                           7. Notifications and Minor
            <https://epa.gov/node/46259/> if the appropriate branch is unknown.
                                                                                                              Formulation Amendments
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-

            General Pesticide Categories                                                                      manual-chapter-7-notifications-and-
                                                                                                              minor-formulation>
            EPA separates pesticides into three general categories. Based on which                         8. Inert Ingredients
            type of pesticide is being reviewed for a pesticide registration decision,                        <https://epa.gov/pesticide-
            different divisions of EPA’s Office of Pesticide Programs will evaluate the                       registration/pesticide-registration-
            action, and the data requirements for registration will vary.                                     manual-chapter-8-inert-ingredients>

            The three general categories of pesticides are:                                                9. Supplemental Distribution of
                                                                                                              a Registered Pesticide
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-9-supplemental-
                                                                                                              distribution-registered>

                                                                                                          10. Data Compensation
                                                                                                              Requirements
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-10-data-
                                                                                                              compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                           2/29
                                                                                                                                                     AR0000383
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     384
                                                                                                        Product    ofEPA
                                                                                                                | US  739


                                                                                                          11. Tolerance Petitions
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-11-tolerance-
                                                                                                              petitions>

                                                                                                          12. Applying for an Experimental
                                                                                                              Use Permit
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-12-applying-
                                                                                                              experimental-use-permit>

                                                                                                          13. Devices <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-13-devices>

                                                                                                          14. How to Obtain an EPA
                                                                                                              Establishment Number
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-14-how-obtain-epa-
                                                                                                              company-or>

                                                                                                          15. Submitting Data and
                                                                                                              Confidential Business
                                                                                                              Information
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-15-submitting-data-
                                                                                                              and-confidential>

                                                                                                          16. Transfer of Product
                                                                                                              Registrations and Data Rights
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-16-transfer-product-
                                                                                                              registrations-and>

                                                                                                          17. State Regulatory Authority
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-17-state-regulatory-
                                                                                                              authority>

                                                                                                          18. Other Federal or State Agency
                                                                                                              Requirements
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-18-other-federal-or-
                                                                                                              state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                           3/29
                                                                                                                                                     AR0000384
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     385
                                                                                                        Product    ofEPA
                                                                                                                | US  739


                                                                                                          19. How to Obtain Publications
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-19-how-obtain-
                                                                                                              publications>

                                                                                                          20. Forms and How to Obtain
                                                                                                              Them <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-20-forms-and-how-
                                                                                                              obtain-them>

                                                                                                          21. Directions for Submitting
                                                                                                              Applications and Contacting
                                                                                                              EPA <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-21-directions-
                                                                                                              submitting-applications>


                                                                                                         Appendices

                                                                                                              Appendix A: Guidance
                                                                                                              Documents
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-guidance-
                                                                                                              documents>

                                                                                                              Appendix B: Examples of
                                                                                                              Registrant Documents
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-b-examples-
                                                                                                              registrant-documents>

                                                                                                              Appendix C: Pesticide Forms
                                                                                                              Overview Table
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-c-pesticide-forms-
                                                                                                              overview-table>

                                                                                                              Appendix D: Examples of
                                                                                                              Completed Forms
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-d-examples-
                                                                                                              completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                           4/29
                                                                                                                                                     AR0000385
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     386
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      Conventional chemical pesticides.
                      Biopesticides.
                      Antimicrobial pesticides.




            Conventional pesticides are generally synthetic chemicals used predominantly to kill insects, weeds, and fungi.

            Biopesticides include naturally occurring substances that control pests (biochemical pesticides
            <https://epa.gov/pesticides/biopesticides>), microorganisms that control pests (microbial pesticides), and pesticidal substances
            produced by plants containing added genetic material (plant-incorporated protectants or PIPs <https://epa.gov/regulation-
            biotechnology-under-tsca-and-fifra/overview-plant-incorporated-protectants>).


            Antimicrobial pesticides are substances or mixtures of substances intended to destroy or suppress the growth of
            harmful microbiological organisms, and pesticides that protect inanimate objects and surfaces from organisms such as
            bacteria, viruses, or fungi. See FIFRA section 2(mm).

            The three divisions of EPA’s Office of Pesticide Programs that review applications to register a pesticide or product and
            the types of product review they oversee are:



                      Registration Division (RD) for conventional chemicals <https://epa.gov/node/50781/>.
                      Biopesticides & Pollution Prevention Division (BPPD) for biopesticides and plant-
                      incorporated protectants <https://epa.gov/node/50763/>.
                      Antimicrobials Division (AD) for antimicrobial pesticides <https://epa.gov/node/50759/>.




            This chapter provides the basic information on registering any type of pesticide. However, additional information on
            the unique nature of biopesticides and antimicrobials is available in other chapters:



                      Chapter 3 provides additional detailed information on registration requirements for
                      biopesticides <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations>.
                      Chapter 4 provides additional detailed information on registration requirements for
                      antimicrobial pesticides <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-
                      considerations>.




            Reduced Risk Pesticides
            FIFRA section 3(c)(10)(B) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> provides for
            expediting the review of certain types of applications for registration. This program is referred to as the Conventional
            Reduced Risk Pesticide Program <https://epa.gov/pesticide-registration/conventional-reduced-risk-pesticide-program>. The Reduced Risk




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                        5/29
                                                                                                                                                  AR0000386
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     387
                                                                                                        Product    ofEPA
                                                                                                                | US  739


            program expedites the review and regulatory decision-making process of conventional pesticides that meet one or
            more of the following criteria:



                      Reduce the risks of pesticides to human health.
                      Reduce the risks of pesticides to non-target organisms.
                      Reduce the potential for contamination of groundwater, surface water, or other valued
                      environmental resources.
                      Broaden the adoption of integrated pest management strategies, or make such
                      strategies more effective.




            Expediting registrations for pesticides considered to be reduced risk ensures that these reduced risk pesticide uses get
            into the marketplace and are available to growers and users as soon as possible. For more information, see the
            Conventional Reduced Risk Pesticide Program <https://epa.gov/pesticide-registration/conventional-reduced-risk-pesticide-program>
            Web page.

            This program does not apply to biological or antimicrobial pesticides, which are handled through separate expediting
            processes.




            Examples of Pesticide Registration Applications
            In addition to the three broad categories of pesticide type described above that influence the registration process, EPA
            also takes into consideration the previous regulatory history of a pesticide registration application. New pesticide
            products and uses are further delineated in the following manner:

            New Chemical or New Active Ingredient
            “New Chemical” or “New Active Ingredient” is an Agency term that refers to a pesticide registration application for a
            product that contains a pesticide active ingredient that is not contained in any other pesticide product currently
            registered with the Agency.

            New Use
            A “New Use” pesticide registration application amendment refers to adding a use for previously registered active
            ingredient(s), where the requested use is not currently included in the labeled directions for use of any product that
            contains the active ingredient(s). New uses are defined in 40 CFR 152.3 as follows:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                     6/29
                                                                                                                                               AR0000387
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     388
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                   1. Any proposed use pattern that would require the establishment of, the increase in, or
                      the exemption from the requirement of a tolerance or food additive regulation (please
                      refer to Chapter 11 for a discussion of tolerances <https://epa.gov/pesticide-registration/pesticide-registration-
                      manual-chapter-11-tolerance-petitions>).

                   2. Any aquatic, terrestrial, outdoor, or forestry use pattern, if no product containing the
                      active ingredient is currently registered for that use pattern.
                   3. Any additional use pattern that would result in a significant increase in the level of
                      exposure, or a change in the route of exposure, to the active ingredient of man or other
                      organisms.




            Identical/Substantially Similar (Formerly “Me-Too”) Product
            An “Identical/Substantially Similar” pesticide registration application refers to a request to register a new pesticide
            product that is:

                identical in its uses and formulation; or
                substantially similar in its uses and formulation to one or more products that are currently registered and marketed
                in the United States; or
                differs only in ways that would not significantly increase the risk of unreasonable adverse effects on the
                environment.

            This section discusses only new “identical/substantially similar” product registrations. See:

                Chapter 6 of this document for a discussion of “identical/substantially similar” amendments <https://epa.gov/pesticide-
                registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide>.

                Chapter 10 for discussion of data compensation issues for both <https://epa.gov/pesticide-registration/pesticide-registration-
                manual-chapter-10-data-compensation-requirements>.


            Common terms used for some “identical/substantially similar” products are:



                      Identical Repack Registrations – A complete (100%) repackaging of an identical,
                      already-registered product, where an identical label is used for the product other than
                      name, address, name of product, and registration number.
                      Old Chemical New Product Registrations – A previously registered active ingredient that
                      is being reformulated to make a new product with the same use pattern as the registered
                      active ingredient. (Note: the applicant will be required to explain how the labeling has
                      been derived and justify certain aspects of the labeling. This is fully explained in Chapter
                      10 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements>.)




            Important Note: The following examples illustrate when an application is not considered to be an
            “identical/substantially similar” product. These are differences between the currently registered product and the
            application for registration:



https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                       7/29
                                                                                                                                                 AR0000388
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     389
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      the maximum use rate of the product is increased beyond that which is currently
                      registered;
                      a pre-harvest interval (PHI) is changed; or
                      any other changes are made that might affect the pesticide residues in food or feed
                      commodities or exposure to non-target organisms.




            Other examples are provided in the section titled “Review of Applications for Identical/Substantially Similar (Formerly
            “Me-Too”) Products." Also note that for “identical/substantially similar” product applications, the source (producer or
            manufacturer) of the active ingredient must be registered. A product with an unregistered source will not be considered
            an “identical/substantially similar” product.




            Required Contents of the Application Package
            A pesticide registration application for a new product must include certain types of information regarding the applicant
            as well as the pesticide product and comply with fee requirements. Application requirements described here are
            derived from regulatory requirements codified in 40 CFR 152.50 (Contents of Application) and section 33 of FIFRA as
            amended by the Pesticide Registration Improvement Extension Act (PRIA 3) <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-5-registration-fees>, which established registration service fees.


            When EPA receives the application and the applicable fee required by PRIA 3 <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-5-registration-fees>, the Agency will screen the application during a 21-day period to determine if it
            contains all required forms, labeling, and data formatted as described in the Agency’s guidance (PR Notice 11-3), and
            documentation of fee payment <https://epa.gov/pria-fees>. The fee payment documentation may include a request for a fee
            reduction or waiver <https://epa.gov/pria-fees/appeals-fee-and-waiver-decisions> or an exemption <https://epa.gov/pria-fees/guidance-ir-4-
            exemptions>. Any deficiencies identified during the 21-day Content Screen and uncorrected by the applicant may lead to
            the Agency’s rejection of the application and retention of 25% of the fee.

            After the 21-day Content Screen, PRIA 3 requires that a Preliminary Technical Screen be conducted within 45 days after
                                                                                                 ≤
            the PRIA start date for submissions with PRIA decision review timeframes 6 months and within 90 days for
            submissions with PRIA decision review timeframes > 6 months. The purpose of the preliminary technical screen is to
            determine if the pesticide registration application and accompanying information and data are:

             1. accurate and complete;
             2. consistent with proposed labeling and any tolerance or tolerance exemption, and
             3. such that subject to full review could result in the granting of the application.

            If the application fails the technical screen, and the deficiencies cannot be corrected by the applicant within 10
            business days after receipt of the Agency’s notification of deficiencies, the Agency will reject the application and
            provide the appropriate refund, if warranted.

            If applicants have any questions or concerns about the completeness of their application, the Agency strongly
            encourages applicants to contact the appropriate registration Ombudsman before submitting the application.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                         8/29
                                                                                                                                                  AR0000389
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     390
                                                                                                        Product    ofEPA
                                                                                                                | US  739


            Aside from the applicable fee (and fee waiver or exemption request, if any), an application consists of required
            elements that should be organized into two parts:



                      administrative information; and
                      data.




            Administrative Portion of the Application Package
            The administrative portion of an application consists of the following documentation:

            Fee Payment

            For PRIA 3-covered applications, documentation or certification of fee payment should be the first page of or on the
            front of an application. The cover letter, application form, etc., should be underneath it to enable the Agency to match a
            payment with an application. Certification of payment may be:



                      a copy of the check or pay.gov acknowledgement; or
                      a request for an exemption from registration service fees.




            Small business and minor use fee reductions or waiver requests should accompany the certification of payment as a
            document that can be separated from the rest of the application. Only applications received with a certification of
            payment will enter the review process.

            Note: Applicants are required to pay the Agency 25% of the applicable fee even if an application is withdrawn or
            rejected for failure to pay a fee.

            Cover Letter

            A cover letter is not required but is highly recommended. The cover letter should state the general purpose of the
            submission and identify each item in the application package. It should also contain the email address of the applicant
            in order to receive the Agency’s PRIA registration milestone tracking emails.

            Application Form

            Complete and submit an original Application for Pesticide Registration/Amendment form (EPA Form 8570-1 (PDF)
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms> with each application for registration. 40 CFR
            152.50(a) .

            Detailed instructions on completing the application form are provided on the back of the form and summarized in this
            chapter. These instructions also specify the number of copies of each item in an application package that needs to be
            submitted. It is important to read and follow these instructions and provide complete and accurate information.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                      9/29
                                                                                                                                                AR0000390
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     391
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      Tip: Remember to sign and date the application form.




            Identity of the Applicant

            Name of the Applicant: Applicants must identify themselves. An applicant not residing in the United States must also
            designate a U.S. agent (see below) to act on its behalf on all registration matters. 40 CFR 152.50(b)(1) .

            Address of Record: Applicants must provide an address in the United States for correspondence purposes. The U.S.
            address provided will be considered the applicant's address of record, and EPA will send notices imposing legal
            requirements and correspondence concerning the application and any subsequent registration information to that
            address. 40 CFR 152.50(b)(2)        .



                      It is the responsibility of the applicant or registrant to ensure that EPA has a current and
                      accurate address. Refer to Chapter 21 for how to notify the Agency of a change in address
                      <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>.




            Important Note: If the Agency's good faith attempts to contact the applicant are not successful, the Agency will issue in
            the Federal Register a notice of intent to cancel all of the applicant’s registered products under FIFRA section 6(b) (refer
            to 40 CFR 152.122 ).

            Authorized Agent: Any applicant may designate a person residing in the United States to act as its agent. 40 CFR
            152.50(b)(3) . Applicants not residing in the United States must designate a U.S. agent to act on their behalf on all
            registration matters. 40 CFR 152.50(b)(1) .

            For list of agents see: List of Pesticide Regulatory Consultants <https://epa.gov/pesticide-registration/list-pesticide-regulatory-
            consultants>.


            An applicant who designates an agent must send a letter to the Agency stating the name and U.S. address of the agent.
            Applicants must also notify the Agency if they change their designated agent. An applicant may terminate a designated
            agent at any time by notifying the Agency in writing.

            The Agency treats authorized agent notifications in the same way as company name and address changes. (See Chapter
            21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>).

            Company Number: If an applicant has been assigned a company number by the Agency, the application must
            reference that number.

            Summary of the Application: Each application must include a list of the data submitted with the application, together
            with a brief description of the results of the studies. The list of data submitted may be the same as the list required by
            40 CFR 158.32 . The summary must state that it is releasable to the public after registration in accordance with 40 CFR
            152.119     .

            Identity of the Product: The product for which the application is being submitted must be identified as follows:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                       10/29
                                                                                                                                                  AR0000391
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     392
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                       the product name;
                       the trade name(s) (if different); and
                       the EPA Registration Number, if currently registered.




            Draft Labeling: Section 2(p)(1) of FIFRA <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-
            act> defines the written, printed or graphic material on, or attached to, the pesticide or device or any of its containers or
            wrappers.” The term "labeling" is defined as “all labels and all other written, printed, or graphic matter –



                   A. accompanying the pesticide or device at any time; or
                   B. to which reference is made on the label or in literature accompanying the pesticide or
                      device." (See FIFRA section 2(p)(2) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
                      rodenticide-act>).




            It is unlawful to sell or distribute a pesticide if any claims made for it differ from claims made on labeling required for
            registration. (See FIFRA section 12(a)(1)(B) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>)
            Therefore, advertising claims for a pesticide product must not contradict claims made in the product’s labeling.
            Labeling requirements are codified in 40 CFR Part 156            .

            Labeling includes detailed information including the ingredients statement, warnings and precautionary statements,
            and directions for use. EPA has also developed a Label Review Manual <https://epa.gov/pesticide-registration/label-review-manual>
            as guidance to its staff on reviewing labels. This manual includes detailed information on content and format of labels
            and labeling.

            Five copies of the proposed draft labeling must be submitted with an application. (See 40 CFR 152.50(e) . The draft
            labeling may be typed or otherwise printed but must be legible, reproducible, and on 8-1/2 x 11-inch paper. EPA
            encourages electronic submission of the label. Applicants should refer to EPA’s Web site for the Agency’s guidance on
            submitting an electronic label <https://epa.gov/pesticide-registration/electronic-submission-labels>.

            Important Note: Only one complete set of the documents in the administrative portion of an application (as described
            in the instructions on the application form) is required (40 CFR 152.50(a) ). The formal requirements included in PR
            Notice 11-3 apply to the data portion of an application package only, not to the previously described administrative
            portion.

            Data Portion of an Application Package
            Applicants are responsible for citing or generating all data to meet data requirements. The purpose of these data
            requirements is to demonstrate that the product will not cause unreasonable adverse effects and for pesticides that will
            need a tolerance or tolerance exemption to demonstrate a reasonable certainty of no harm. These requirements
            include, as applicable, data on:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                         11/29
                                                                                                                                                  AR0000392
8/14/23, 1:37 PM       Case 3:24-cv-01106-CVR       Document
                                        Pesticide Registration      57-3
                                                               Manual: ChapterFiled   04/24/24
                                                                               2 - Registering         Page
                                                                                               a Pesticide     393
                                                                                                           Product    ofEPA
                                                                                                                   | US  739



                        residue chemistry,
                        environmental fate,
                        toxicology,
                        reentry protection,
                        spray drift,
                        wildlife and aquatic organisms,
                        plant protection,
                        non-target insects,
                        product performance, and
                        product chemistry.




            Data requirements in support of applications for registration of a pesticide product are specified in 40 CFR Part 158
            and for antimicrobial active ingredients and products in 40 CFR Part 161 .

            The data submitted in support of a registration must be formatted according to the requirements detailed in 40 CFR
            158.32-34 . See FIFRA section 33((f)(4)(B)(iii)(II) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>. Please refer to the section “Pesticide Registration Notice 11-3” later in this chapter and also Chapter 15 of
            this manual <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential>for additional
            guidance on how to format a data submission.



                        Tip: Currently, three identical copies of all applicable data required to support the
                        registration of a product must be submitted with an application. Alternatively, data may
                        be submitted electronically as described in the electronic submission guidance
                        <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>.




            Confidential Statement of Formula

            Two copies of a Confidential Statement of Formula (EPA Form 8570‑4 (PDF) <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-blank-forms>) must be completed and submitted with each application for registration. See FIFRA section
            3(c)(1)(D), 40 CFR 152.50(f) and 40 CFR 158.320 . Detailed instructions for completing the form and providing
            acceptable information are provided on the back of the form. Additional information can be found in 40 CFR 158.300-
            355    .

            Important Note: The Confidential Statement of Formula (CSF) is Confidential Business Information (CBI) and should not
            be transmitted over FAX machines or through electronic submission such as email unless senders want to waive their
            CBI rights. If you wish to waive these rights, this should be clearly stated on the CSF.

            A Confidential Statement of Formula must include




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                           12/29
                                                                                                                                                   AR0000393
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration      57-3
                                                             Manual: ChapterFiled   04/24/24
                                                                             2 - Registering         Page
                                                                                             a Pesticide     394
                                                                                                         Product    ofEPA
                                                                                                                 | US  739



                      all active ingredients;
                      all inert ingredients;
                      all impurities of toxicological significance associated with the active ingredient; and
                      all impurities found to be present at a level equal to or greater than 0.1 percent by weight
                      of the technical grade active ingredient. See 40 CFR 158.320                                  .




            In addition, all inert ingredients that are used in a product with food uses must have a tolerance or exemption from a
            tolerance. (Please refer to Inert Ingredients in Chapter 8 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-
            inert-ingredients>.) See Appendix A <https://epa.gov/pesticide-registration/pesticide-registration-manual-confidential-statement-formula-
            documents> for additional guidance on CSF issues.

            Product Chemistry and Acute Toxicology Data

            If a product is not substantially similar to another registered product, the applicant is required to submit, at a
            minimum, product chemistry and acute toxicity data for the product.


               Type of Pesticide          Product Chemistry                                 Acute Toxicology

               Conventional               40 CFR Part 158        Subpart D                  40 CFR 158.500

               Biopesticide               40 CFR Part 158        , Subpart U and V          40 CFR Part 158       , Subparts U and V

               Antimicrobial              40 CFR Part 158        , Subpart W                40 CFR Part 158       , Subpart W


            Additional information can be found in the OPPTS Harmonized Test Guidelines, Series 830 <https://epa.gov/test-guidelines-
            pesticides-and-toxic-substances/series-830-product-properties-test-guidelines> (Product Chemistry) and 870 (Toxicology)
            <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/series-870-health-effects-test-guidelines>. Additional guidance concerning
            product chemistry and CSF issues can be found in Appendix A <https://epa.gov/pesticide-registration/pesticide-registration-manual-
            appendix-guidance-documents>.


            If the source of the active ingredient used to formulate the final product is not an EPA-registered source, the applicant
            must provide, at a minimum, product chemistry data and acute toxicity data on the technical grade of the active
            ingredient in addition to the data for the formulated product.

            Products Substantially Similar or Identical to Registered Products

            At the very minimum, applications for products that claim to be substantially similar to other registered products must
            submit or reference the product-specific chemistry data, which are discussed in detail in 40 CFR 158.300-355, 40 CFR
            158.2030, 40 CFR 158.2120 to determine if products are substantially similar. No product chemistry data are required to
            be submitted for identical products, i.e., 100% repackage of a currently registered product. View 40 CFR Part 158                           .



                      Under a self-certification program begun in 1998, product chemistry information may
                      be submitted in summary form for qualifying products. Refer to PR Notice 98-1
                      <https://epa.gov/node/63243/> for details.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                                 13/29
                                                                                                                                                            AR0000394
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     395
                                                                                                        Product    ofEPA
                                                                                                                | US  739


            Efficacy Data (Product Performance Data)

            Efficacy data are routinely required to be submitted to support products that control pests of public health significance,
            including but not limited to products to control:



                      Pathogenic bacteria.
                      Viruses.
                      Mosquitoes.
                      Ticks.
                      Roaches.
                      Fleas.
                      Rats.
                      Mice.




            Efficacy data requirements related to these types of pest control products are detailed at 40 CFR 158.400, 40 CFR
            158.2070, 40 CFR 158.2160 and 40 CFR 158.2220. View 40 CFR Part 158               .

            Also, refer to the OPPTS Harmonized Test Guidelines, Series 810 <https://epa.gov/test-guidelines-pesticides-and-toxic-
            substances/series-810-product-performance-test-guidelines> and Antimicrobial Science Policies <https://epa.gov/pesticide-
            registration/antimicrobial-policy-and-guidance-documents>.


            Although efficacy data (product performance data) are not routinely required to be submitted for most insecticide,
            fungicide, or herbicide products, the applicant or registrant must conduct efficacy tests on each of its products in order
            to ascertain through testing that the product performs in accordance with its labeling and use directions claims.



                      Efficacy data may be required to be submitted on a case-by-case basis and must be kept
                      in the applicant’s or registrant’s files.




            Generic Data

            Generic data pertain to the active ingredient and not to the formulated end use pesticide product. These data must be
            submitted or cited for applicable new uses, products not formulated with a registered product, and new chemicals.
            These requirements include data on:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                             14/29
                                                                                                                                        AR0000395
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     396
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      residue chemistry;
                      environmental fate;
                      toxicology;
                      wildlife and aquatic organisms;
                      plant protection; and
                      non-target insects.




            Specific data requirements in support of applications for registration of a pesticide product are specified in 40 CFR Part
            158 .



                      If the Selective Method (40 CFR 152.90 ) of data support is used, the Data Matrix Form
                      <https://epa.gov/node/37487/>is used to show the data and corresponding EPA Master Record

                      Identifier (MRID) numbers. When using the Cite-all Method (40 CFR 152.86 ) of data
                      support, applicants must use the Data Matrix to list companies to whom they have made
                      offers to pay. Definitions of the different types of data support are also found in Chapter
                      10 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements>.




            Data Compensation Requirements

            FIFRA section 3(c)(1)(F) and its implementing regulations require that applicants applying for registration of a pesticide
            comply with data compensation procedures. This means that if an applicant decides to use data previously generated
            by another registrant in support of its own product registration, the applicant generally is required to offer payment to
            that original data submitter and in some cases must obtain permission to cite such data. See FIFRA section 3(c)(1)(F)
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> and 40 CFR Part 152, Subpart E .

            Normally, one or more of the following three data compensation forms are required to be submitted with an
            application for registration:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                  15/29
                                                                                                                                             AR0000396
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     397
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      A properly completed Certification with Respect to Citation of Data (EPA Form 8570‑34
                      <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) must accompany any application

                      for which data are being submitted or cited.
                      A properly completed Data Matrix must accompany any applications (EPA Form 8570-35
                      <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) for which data are being
                      submitted or cited under the selective method. Applicants should also use a Data Matrix
                      when using the cite-all method for purposes of listing the persons to whom offers of
                      compensation have been made.
                      A properly completed Formulator's Exemption Statement (EPA Form 8570‑27
                      <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) must accompany any application

                      (required only when utilizing the formulator’s exemption)




            These requirements and applicable forms are fully discussed in Chapter 10 <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-10-data-compensation-requirements> of this manual. For further reference, see FIFRA section 3(c)(1)(F)
            and 40 CFR 152.80 ‑ 152.99       .

            Data Waivers

            A waiver of data requirements may be warranted when the Agency determines that certain data that would otherwise
            be required are not needed.

            EPA will consider waiver requests for specific data requirements. Applicants must demonstrate in writing that a specific
            data requirement is unnecessary for their product. The waiver request should be accompanied by all of the pertinent
            information including copies of the references cited by the applicant.

            There is often confusion as to what constitutes a data waiver. For example, regulations can state that certain data
            requirements are not applicable to a category of products (such as some footnoted items in the Data Requirement
            Tables in 40 CFR Part 158      . These circumstances are not considered data waivers.

            In some cases data requirements may be fulfilled because other data can be substituted to fulfill the data requirement.
            For example, an applicant could submit studies done by the paint industry, or threshold levels determined by
            NIOSH/OSHA, to fulfill the requirement for inhalation toxicity data for the product. In this situation, data are required,
            but are already available from an existing source. Using data from such a source is not a waiver of data requirements.

            Thus, the term waiver is limited to those cases where data would ordinarily be required, but are not required in the
            given case because of an Agency determination that the data are not needed. Additionally, if the applicant or registrant
            believes a data requirement is not appropriate for its product, it should consider submitting a request for a data waiver.

            Rationale for a Data Waiver

            A waiver from a particular data requirement specified in 40 CFR Part 158 as applicable to a category of products, may
            be requested for an individual product in that category if that product has special features that make the development
            of such data inappropriate.

            For example, some products may have unusual physical, chemical, or biological properties or atypical use patterns that
            would make a particular data requirement inappropriate, either because it would not be possible to generate the
            required data or because the data would not be useful in the Agency's evaluation of the risks of the product. In these




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                 16/29
                                                                                                                                           AR0000397
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     398
                                                                                                        Product    ofEPA
                                                                                                                | US  739


            cases the Agency may waive data requirements that it finds are inappropriate but will ensure that sufficient data are
            available to make the determinations required by the applicable statutory standards. It is the applicant’s responsibility
            to provide compelling, substantiated information in the request for a data waiver.

            The applicant may, under 40 CFR 152.91          , demonstrate compliance for a data requirement by:



                      claiming that a waiver previously granted by the Agency also applies to a data
                      requirement for its product. To document this claim, the applicant must provide a
                      reference to the Agency record that describes the previously granted waiver, such as an
                      Agency list of waivers or an applicable Reregistration Eligibility Decision (RED)
                      document and must explain why that waiver should apply to its product; or
                      requesting and being granted a new waiver to satisfy the data requirement.




            Procedures for Submitting Data Waiver Requests

            To request a data waiver, the applicant must submit a written request which should accompany their PRIA registration
            application. Certain data waiver requests require a registration service fee. See Chapter 5 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-5-registration-fees>.




                      Tip: Applicants who plan to request a data waiver should discuss their plans with the
                      EPA staff person responsible for their product before developing and submitting
                      extensive support information for the request.




            The waiver request must specifically identify the data requirement for which a waiver is requested and must provide
            specific information relative to each requirement for the compound in question, explaining why the applicant thinks
            the data requirement(s) should be waived.

            The specific waiver must allow the Agency to determine if the kind and levels of exposure resulting from the proposed
            use may allow waiver of the ordinarily required data. In all cases, the Agency needs scientifically sound information to
            make a decision on specific data waiver requests. Simply stating that a product is ubiquitous in nature or is Generally
            Recognized as Safe (GRAS) is insufficient.

            A Waiver Request May Include:




                      description of unsuccessful attempts to generate the required data;
                      other information the applicant believes would support the request; and
                      suggestions of alternative means of obtaining data to address the concern that underlies
                      the data requirement.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                           17/29
                                                                                                                                      AR0000398
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     399
                                                                                                        Product    ofEPA
                                                                                                                | US  739


            For example, to support a waiver for inhalation toxicity data, an applicant might submit information showing that the
            product is of a nature that precludes the potential for inhalation exposure.

            Notice of Agency Decisions on Data Waiver Requests

            EPA will review each data waiver request and inform the applicant in writing of its decision. For decisions that could
            apply beyond a specific product, the Agency may choose to send a notice to all registrants or to publish a notice in the
            Federal Register announcing its decision.

            Agency decisions on data waiver requests will be available to the public at the Office of Pesticide Programs' Docket
            Reading Room, 2777 Crystal Drive, S-4400, Arlington, VA 22202. The telephone number is 703-305-5805. Hours are from
            8:00 a.m. to 4:00 p.m., Monday through Friday, except legal holidays.



                      An Agency decision denying a written request to waive a data requirement shall
                      constitute final Agency action for purposes of FIFRA section 16(a).




            Child‑Resistant Packaging (CRP) Certification
            The criteria for which products require child-resistant packaging are available at 40 CFR 157.20 – 157.36         .

            If a product meets the criteria requiring child‑resistant packaging, the applicant must submit a certification (see 40 CFR
            157.34 ) that the packaging to be used for the product meets the child‑resistant packaging standards described in 40
            CFR 157.32 .

            The certification must contain the following information:



                   1. The name and EPA registration number of the product to which the certification applies,
                      the registrant's name and address, the date, and the name, title and signature of the
                      company official making the certification.
                   2. A statement that the packaging that is being used for the product will meet the
                      standards of 40 CFR 157.32 . The statement, “I certify that the packaging that will be
                      used for this product meets the standards of 40 CFR 157.32,” will suffice for this
                      purpose.




            Also see PR Notice 97-9 <https://epa.gov/node/63243/> and PR Notice 96-2 <https://epa.gov/node/63243/> and Child-Resistant
            Packaging <https://epa.gov/pesticide-registration/child-resistant-packaging-pesticides> Web page.

            Restricted Use Pesticide (RUP) Classification
            EPA has classified some or all of the uses of certain pesticides as “Restricted Use.” The "Restricted Use" classification
            restricts a product, or its uses, to use by a certified pesticide applicator or under the direct supervision of a certified
            applicator. (For detailed information on the "Restricted Use" Classification, consult 40 CFR Part 152, Subpart I, 152.160 –
            152.171 ). See 40 CFR Part 171 for more information on certification of pesticide applicators.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                              18/29
                                                                                                                                         AR0000399
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     400
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      Tip: Criteria used for determining whether a product requires the restricted use
                      classification can be found in 40 CFR 152.170 .
                      More information on restricted use pesticides <https://epa.gov/pesticide-worker-safety/restricted-use-products-
                      rup-report>.




            Statement Concerning Tolerances
            If the proposed labeling bears instructions for use of the pesticide on food or feed crops, or if the intended use of the
            pesticide results or may be expected to result, directly or indirectly, in pesticide residues in or on food or feed, the
            applicant must submit a statement indicating whether such residues are authorized by a tolerance, exemption from the
            requirement of a tolerance, or food additive regulation issued under section 408 or 409 of FFDCA. If such residues have
            not been authorized, the application must be accompanied by a petition for establishment of appropriate tolerances,
            exemptions from the requirement of a tolerance, or food additive regulations, in accordance with 40 CFR Part 180 .




            Registration Procedures
            Procedures for submitting a complete application for registration of a pesticide product are detailed in regulations at 40
            CFR 152.40-152.55        (entitled Registration Procedures).

            A separate application for registration must be made for each pesticide product that will be distributed or sold. A
            pesticide product registration is required for each manufacturing use product or end use formulation.

            A manufacturing use product is a product intended and labeled for formulation and repackaging into other pesticide
            products. A manufacturing use product label does not bear directions for use, but states that the product is for use only
            in formulating other products. An end-use formulation is a product that bears directions for use on the label.

            Alternate Formulations
            Any change in formulation must contain the same certified limits for each active ingredient as the basic formulation.
            Any variation in certified limits of active ingredients in a product requires a separate registration.

            The percentages and identities of inert ingredients are allowed to vary as “alternate formulations” as long as these
            formulations are deemed to be substantially similar to the basic formulation (further information: 40 CFR 152.43 -
            Alternate Formulation ).



                      Applicants are responsible for the accuracy and completeness of all information
                      submitted in connection with their applications.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                         19/29
                                                                                                                                    AR0000400
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration      57-3
                                                             Manual: ChapterFiled   04/24/24
                                                                             2 - Registering         Page
                                                                                             a Pesticide     401
                                                                                                         Product    ofEPA
                                                                                                                 | US  739


            Pesticide Registration Notice 11-3
            In a Pesticide Registration Notice issued on July 29, 1986, EPA outlined how data should be submitted for review by the
            Agency. PR Notice 11-3 contains specific instructions on organizing and formatting submittals of supporting data. It
            does not address the substance of the test reports <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-
            under-fifra-and-certain-provisions>.

            Common Errors

            In an analysis conducted by the Office of Pesticide Programs in 2006, EPA identified common formatting errors of
            submitted data. These common errors included:



                      Incorrectly formatted Confidential Business Information Statement.
                      Missing or incomplete Good Laboratory Practice (GLP) Standards Compliance
                      Statement.
                      Incorrect pagination.
                      Legibility problems.
                      Unsigned documents.




            Certain forms have been identified that are often missing from the data submission, including the:

                Certification of Data Compensation statement.
                Formulator’s Exemption statement.
                Data Matrix Form.

            Specific problems with Data Matrix requirements include failure to include all required generic and product-specific
            data and citing incorrect MRID Numbers.

            Important Notes: Following the instructions in PR Notice 11-3 is essential. Taking time to ensure that data submissions
            follow these formatting guidelines will avoid rejection of the application or submission during PRIA 3’s 21-day initial
            content review.

            An application will be rejected if the required three copies of the data are not properly bound and formatted or the
            electronic submission does not follow Agency guidance. Read more about electronic submission of pesticide
            applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>.

            Completeness Reviews
            When EPA receives applications for pesticide registration, there are three steps in processing an application to
            determine whether the application is complete and contains sufficient information for the Agency to make a regulatory
            decision. These steps are:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                    20/29
                                                                                                                                               AR0000401
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     402
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      Initial 21-day Content Screen.
                      Preliminary Technical Screen.
                      In depth review of data -- data deficiencies or need for additional information
                      identified.




            These reviews are described in the next three sections.

            Initial 21-day Content Screen

            Upon receipt, an application will be assigned a file symbol. A file symbol is a temporary identification number that is a
            combination of the applicant’s company number and a letter, which is the precursor to the product number (ex. 12345-
            xxx). The Agency then conducts a 21-day initial content screen to determine whether the appropriate fee has been paid
            and that the application contains the necessary forms, draft labeling, and data formatted in accordance with Agency
            guidance (e.g., PR Notice 11-3 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-
            provisions>). Applicants must correct applications within the 21-day initial content review period to successfully complete
            the screen.

            Preliminary Technical Screen

            After the 21-day Content Screen, PRIA 3 requires that a Preliminary Technical Screen be conducted within 45 days after
                                                                                                ≤
            the PRIA start date for submissions with PRIA decision review timeframes 6 months and within 90 days for
            submissions with PRIA decision review timeframes > 6 months. The purpose of the preliminary technical screen is to
            determine if the pesticide registration application and accompanying information and data are:



                   1. accurate and complete;
                   2. consistent with proposed labeling and any tolerance or tolerance exemption; and
                   3. such that subject to full review could result in the granting of the application.




            If the application fails the technical screen and the deficiencies cannot be corrected by the applicant within 10 business
            days after receipt of the Agency’s notification of deficiencies, the Agency will reject the application.

            In-Depth Review of Data -- Data Deficiencies or Need for Additional Information Identified

            Once the application is placed into the Agency’s review process, it is reviewed in depth. If during this in-depth review,
            the Agency determines that there are data deficiencies or that further information is needed in order to complete the
            Agency's review, the Agency will notify the applicant of the deficiencies per 40 CFR 152.105 and allow the applicant
            75 days to make corrections or additions to complete the application. If the applicant believes that the deficiencies
            cannot be corrected within 75 days, he must notify the Agency within those 75 days of the date on which he expects to
            complete the application. If, after 75 days, the applicant has not responded, or if the applicant subsequently fails to
            complete the application within the time scheduled for completion, the Agency will terminate any action on such
            application, and will treat the application as if it had been withdrawn by the applicant. Any subsequent submission
            relating to the same product must be submitted as a new application.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                        21/29
                                                                                                                                                AR0000402
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     403
                                                                                                        Product    ofEPA
                                                                                                                | US  739


            If submitting in response to a deficiency letter from EPA, the applicant’s submission (on EPA Form 8570‑1
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) should be marked “Resubmission” at the top of the
            application form and should include a copy of EPA's deficiency letter.

            Read more about application submission and screening <https://epa.gov/pria-fees/application-submission-and-screening>.

            Applications for Registration That May Qualify as Identical/Substantially
            Similar (Formerly “Me-Too”) Products
            Section 3(c)(3)(B)(ii) of FIFRA requires EPA to review, as expeditiously as possible, applications for registration of
            products that are “substantially similar” or “identical” in composition and labeling to other EPA-registered pesticide
            products or would differ in ways that would not significantly increase the risk of unreasonable adverse effects on the
            environment. In addition, the Agency is required to:



                      Conduct an initial contents screen within 21 days of receiving the application and the
                      applicable fee.
                      Under PRIA 3 as part of the Preliminary Technical Screen, any similarity claim is
                      evaluated by the EPA. The applicant is allowed 2 attempts to identify an already
                      registered product that is substantially similar to the proposed product. If after the
                      second attempt the applicant fails to identify a substantially similar product, the
                      application is rejected, and no refund of the PRIA fee is granted.




            Applications for Registration That May Qualify as Identical/Substantially Similar (Formerly “Me-Too”)
            Products

            For “Identical/substantially similar” applications, the applicant must provide the EPA registration number of the
            currently registered product that is believed to be “substantially similar” or “identical” to the proposed product.

            Examples of end-use “identical/substantially similar” new product applications that may qualify as an
            identical/substantially similar product include:



                      Applicant references substantially similar, registered pesticide product with no data
                      review or only review of Product Chemistry data with cite-all data citation, or selective
                      citation where the applicant owns all the required data (or the applicant submits a
                      specific authorization letter from the data owner).
                      Applicant references substantially similar, registered pesticide product with no data
                      review or only review of Product Chemistry or selective data citation only for data on
                      product chemistry and/or acute toxicity and/or public health pest efficacy, where the
                      applicant does not own all required data and does not have a specific authorization letter
                      from data owner.
                      Applicant is repackaging a registered product that does not require the submission of
                      data nor the submission of a data matrix.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                    22/29
                                                                                                                                             AR0000403
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration      57-3
                                                             Manual: ChapterFiled   04/24/24
                                                                             2 - Registering         Page
                                                                                             a Pesticide     404
                                                                                                         Product    ofEPA
                                                                                                                 | US  739


            Applications That Do Not Qualify as Identical/Substantially Similar New Products

            Examples of end-use “identical/substantially similar” new product applications that may not qualify as an
            identical/substantially similar product include:



                       inert ingredients that do not currently exist in any other pesticide formulation;
                       a reference to a canceled product                 <http://npirspublic.ceris.purdue.edu/ppis/>;

                       significant changes in the percentage of active ingredient;
                       new formulation types;
                       directions for controlling new, nonpublic health pests;
                       directions for new dosage rates;
                       directions for different frequency and timing of applications;
                       directions for use in geographical locations other than those previously registered; and
                       directions for use on new sites and for new methods of application for the active
                       ingredient or ingredients.




            Applications that require review of acute toxicity and efficacy data do not qualify as identical/substantially similar new
            product applications since submission of such data would indicate that the product is not identical or substantially
            similar in composition and labeling to the currently registered pesticide identified in the application.

            Examples of end-use product applications that do not qualify as an identical/substantially similar include:



                       Applicant references similar, registered pesticide product and submits product
                       chemistry and required efficacy for specific formulation purposes.
                       Applicant asserts similarity but does not reference a registered pesticide product.
                       Submits product chemistry.
                       Applicant references a similar pesticide product and submits product chemistry and
                       required nitrosamine data for a specific formulation.
                       Applicant does not reference a pesticide product. Submits product chemistry and
                       required nitrosamine data for a specific formulation.
                       Applicant does not reference a pesticide product. Submits product chemistry and the full
                       battery of acute data.
                       Applicant references a similar registered pesticide product. Submits product chemistry,
                       the full battery of acute data and required efficacy data.
                       Applicant references a pending registration.




            Important Note: Applications for new Manufacturing Use Products, including Technical Grade Products, are covered by
            a number of registration service fee (PRIA) fee categories <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-
            5-registration-fees>.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                        23/29
                                                                                                                                                 AR0000404
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration      57-3
                                                             Manual: ChapterFiled   04/24/24
                                                                             2 - Registering         Page
                                                                                             a Pesticide     405
                                                                                                         Product    ofEPA
                                                                                                                 | US  739


            How to Submit an Identical/Substantially Similar Product Application
            If it is believed that product application qualifies as an identical/substantially similar new product application, the
            applicant should submit “Application for Pesticide Registration/Amendment” (EPA Form 8570‑1 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-blank-forms>) and identify – in Section II of the application form – the EPA Registration
            Number and name of the product to which it believes the product is substantially similar or identical.

            Where to Submit an Application for Registration
            Please refer to Chapter 21 for the address to be used in submitting all applications to the Agency <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>.


            Electronic Submissions
            EPA's Office of Pesticide Programs (OPP) is pursuing use of electronic data submission and review tools to improve the
            efficiency and effectiveness of its regulatory processes. These improvements would apply to information delivery,
            review, exchange and archiving functions. The approach is being implemented using current technology, considers the
            needs of data submitters and reviewers, and addresses legal requirements regarding both the pesticide program and
            information technology choices. More information can be found in the Agency’s electronic submission guidance
            <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>.




            Contacts for Additional Information
            For additional information concerning a specific application for registration, contact the Branch Chief or Product
            Manager assigned to the active ingredient contained in your product. See Chapter 21 for contact information
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>.


            For questions concerning the status of a new product application for registration, please contact the Office of Pesticide
            Programs, Information Technology and Resources Management Division (ITRMD) Front End Processing Staff
            <https://epa.gov/node/50777/>.


            For questions of a general nature that do not pertain to any specific pesticide or pertain to a new pesticide active
            ingredient for which an application has not been submitted, contact the appropriate Ombudsmen (listed in Chapter 21
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications>).




            References Cited in Chapter 2
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            To find current Code of Federal Regulations citations, use the e-CFR                      <https://www.ecfr.gov>.


            Code of Federal Regulation, Title 40




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                     24/29
                                                                                                                                                AR0000405
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     406
                                                                                                        Product    ofEPA
                                                                                                                | US  739



                      Part 152 - Pesticide Registration and Classification Procedures
                      Part 156 - Labeling Requirements for Pesticides and Devices
                      Part 157 - Packaging Requirements for Pesticide and Devices
                      Part 158 - Data Requirements for Registration
                      Part 161 - Data Requirements for Registration
                      Part 162 - State Registration of Pesticide Products




            Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-
            and-rodenticide-act> as amended by the Food Quality Protection Act of August 3, 1996




                      Section 3 - Registration of pesticides
                      Section 4 - Reregistration of pesticides




            Pesticide Registration Notices (PR Notices) <https://epa.gov/node/63243/>



                      PR Notice 11-3 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-
                      provisions> - Standard Format for Data Submitted Under the Federal Insecticide, Fungicide,

                      and Rodenticide Act (FIFRA) and Certain Provisions of the Federal Food, Drug, and
                      Cosmetic Act (FFDCA)
                      PR Notice 96-2 <https://epa.gov/pesticide-registration/prn-96-2-changes-child-resistant-packaging-crp-testing-requirements> -
                      Changes to Child-Resistant Packaging (CRP) Testing Requirements
                      PR Notice 97-9 <https://epa.gov/pesticide-registration/prn-97-9-electronic-submission-child-resistant-packaging-test-data-all>-
                      Electronic Submission of Child-Resistant Packaging Test Data for all Pesticides and
                      Child-Resistant Testing of Prefilled, Nonrefillable Insecticide Bait Stations not Designed
                      or Intended to be Opened or Activated in a Manner that Exposes the Contents to Human
                      Contact
                      PR Notice 98-1 <https://epa.gov/pesticide-registration/prn-98-1-self-certification-product-chemistry-data-attachments> - Self-
                      Certification of Product Chemistry Data w/ Attachments




            Label Review Manual <https://epa.gov/pesticide-registration/label-review-manual>

            Test Guidelines for Pesticides and Toxic Substances <https://epa.gov/test-guidelines-pesticides-and-toxic-substances>



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                        25/29
                                                                                                                                                  AR0000406
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     407
                                                                                                        Product    ofEPA
                                                                                                                | US  739



              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 28, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                        26/29
                                                                                                                                                 AR0000407
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     408
                                                                                                        Product    ofEPA
                                                                                                                | US  739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                 27/29
                                                                                                                            AR0000408
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     409
                                                                                                        Product    ofEPA
                                                                                                                | US  739



            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                                 28/29
                                                                                                                                            AR0000409
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR       Document
                                     Pesticide Registration      57-3
                                                            Manual: ChapterFiled   04/24/24
                                                                            2 - Registering         Page
                                                                                            a Pesticide     410
                                                                                                        Product    ofEPA
                                                                                                                | US  739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product                 29/29
                                                                                                                            AR0000410
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR
                                 Pesticide Registration Document
                                                        Manual: Chapter57-3       Filed
                                                                        3 - Additional   04/24/24for Biopesticide
                                                                                       Considerations Page 411      of 739
                                                                                                                  Products | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 3
            - Additional Considerations for
            Biopesticide Products
            In this chapter:
                Additional Considerations for Biopesticide Products                                                Registration Manual
                Products Exempt from Registration                                                                   Table of Contents
                Registration Package for Biochemical and Microbial Pesticides
                BPPD PRIA Review Phases                                                                           Pesticides Registration Manual

                    21-day Content Screen                                                                         Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                    Preliminary Technical Screen
                                                                                                                  manual>
                    In-depth review of the data
                Regulation of Plant-Incorporated Protectants                                                      Introduction
                                                                                                                  <https://epa.gov/pesticide-
                Pheromone Regulatory Relief
                                                                                                                  registration/pesticide-registration-
                Data Portion
                                                                                                                  manual-introduction>
                Small-Scale Field Test Notifications for Certain Genetically Modified
                Microbial Pesticides                                                                              How to Register a Pesticide
                                                                                                                  Product – A Guide for Applicants
                    Notification and Reporting Requirements
                                                                                                                  New to the Process
                Petition for Exemption from Notification Requirements
                                                                                                                  <https://epa.gov/pesticide-
                Substitution of an EUP Application for a Notification                                             registration/how-register-pesticide-guide-
                Contacts for Additional Information                                                               applicants-new-process>
                References Cited in Chapter 3
                                                                                                                    1. Requirements for Pesticide
                                                                                                                      Registration and Registrant
                                                                                                                      Obligations
            Additional Considerations for                                                                             <https://epa.gov/pesticide-

            Biopesticide Products                                                                                     registration/pesticide-registration-
                                                                                                                      manual-chapter-1-overview-

            Biopesticides are a type of pesticide derived from such natural materials                                 requirements-pesticide>

            as animals, plants, bacteria, and certain minerals. For example, canola oil
            and baking soda have pesticidal applications and are considered




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                                       1/14
                                                                                                                                                             AR0000411
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR
                                 Pesticide Registration Document
                                                        Manual: Chapter57-3       Filed
                                                                        3 - Additional   04/24/24for Biopesticide
                                                                                       Considerations Page 412      of 739
                                                                                                                  Products | US EPA




            biopesticides. Biopesticides fall into three major classes: microbial                           2. Registering a Pesticide
            pesticides, plant-incorporated protectants, and biochemical                                        Product <https://epa.gov/pesticide-
            pesticides.                                                                                        registration/pesticide-registration-
                                                                                                               manual-chapter-2-registering-
            A separate chapter on biopesticides is included in this manual because
                                                                                                               pesticide-product>
            there are different requirements for biopesticides
                                                                                                            3. Additional Considerations
            <https://epa.gov/pesticides/biopesticides> that need to be explained in detail. This
                                                                                                               for Biopesticide Products
            chapter should be referred to in conjunction with Chapter 2
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-
                                                                                                            4. Additional Considerations for
            pesticide-product>, “Registering a Pesticide Product.”
                                                                                                               Antimicrobial Products
                                                                                                               <https://epa.gov/pesticide-
            Microbial pesticides are microorganisms that produce a pesticidal effect                           registration/pesticide-registration-
            that are:                                                                                          manual-chapter-4-additional-
                                                                                                               considerations>
             1. eukaryotic microorganisms including, but not limited to, protozoa,
                                                                                                            5. Registration Fees
                algae, and fungi;
                                                                                                               <https://epa.gov/pesticide-
             2. prokaryotic microorganisms, including, but not limited to, bacteria; or                        registration/pesticide-registration-
                                                                                                               manual-chapter-5-registration-fees>
             3. autonomous replicating microscopic elements, including, but not
                                                                                                            6. Amending a Registered
                limited to, viruses.
                                                                                                               Pesticide Product
            Microbial pesticides can control many different kinds of pests, although                           <https://epa.gov/pesticide-

            each separate active ingredient is relatively specific for its target pest(s).                     registration/pesticide-registration-

            For example, there are fungi that control certain weeds and other fungi                            manual-chapter-6-amending-

            that kill specific insects.                                                                        registered-pesticide>

                                                                                                            7. Notifications and Minor
            The most widely used microbial pesticides are subspecies and strains of
                                                                                                               Formulation Amendments
            Bacillus thuringiensis, or Bt. Each strain of this bacterium produces a
                                                                                                               <https://epa.gov/pesticide-
            different mix of proteins, and specifically kills one or a few related species
                                                                                                               registration/pesticide-registration-
            of insect larvae. While some Bt strains control moth larvae found on
                                                                                                               manual-chapter-7-notifications-and-
            plants, others are specific for larvae of flies and mosquitoes. The target
                                                                                                               minor-formulation>
            insect species are determined by whether the particular Bt produces a
                                                                                                            8. Inert Ingredients
            protein that can bind to a larval gut receptor, thereby causing the insect
                                                                                                               <https://epa.gov/pesticide-
            larvae to starve.
                                                                                                               registration/pesticide-registration-

            Plant-Incorporated-Protectants (PIPs) are pesticidal substances that                               manual-chapter-8-inert-ingredients>

            plants produce and the genetic material that has been added to the plant.                       9. Supplemental Distribution of
            For example, scientists can take the gene for the Bt pesticidal protein and                        a Registered Pesticide
            introduce the gene into the plant's own genetic material. Then the plant,                          <https://epa.gov/pesticide-
            instead of the Bt bacterium, manufactures the substance that destroys the                          registration/pesticide-registration-
            pest. EPA regulates the protein and its genetic material, but not the plant                        manual-chapter-9-supplemental-
            itself.                                                                                            distribution-registered>

                                                                                                           10. Data Compensation
            Biochemical pesticides are pesticidal substances that:
                                                                                                               Requirements
             1. are naturally occurring chemicals or are synthetically derived                                 <https://epa.gov/pesticide-
                equivalents;                                                                                   registration/pesticide-registration-
                                                                                                               manual-chapter-10-data-
                                                                                                               compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                                2/14
                                                                                                                                                      AR0000412
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 413      of 739
                                                                                                                 Products | US EPA




             2. have a history of exposure to humans and the environment                                 11. Tolerance Petitions
                demonstrating minimal toxicity, or in the case of synthetically derived                        <https://epa.gov/pesticide-
                 biochemical pesticides, are equivalent to a naturally occurring                               registration/pesticide-registration-
                 chemical that has such a history; and                                                         manual-chapter-11-tolerance-

             3. have a nontoxic mode of action to the target pest(s)                                           petitions>

                                                                                                         12. Applying for an Experimental
            Biochemical pesticides include, but are not limited to:
                                                                                                               Use Permit
                                                                                                               <https://epa.gov/pesticide-
             1. semiochemicals (insect pheromones and kairomones),
                                                                                                               registration/pesticide-registration-
             2. natural plant and insect regulators,
                                                                                                               manual-chapter-12-applying-
             3. naturally occurring repellents and attractants, and
                                                                                                               experimental-use-permit>
             4. enzymes.
                                                                                                         13. Devices <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
            Biochemical pesticides include substances, such as insect sex
                                                                                                               manual-chapter-13-devices>
            pheromones, which interfere with mating, as well as various scented plant
            extracts that attract insect pests to traps. Because it is sometimes difficult               14. How to Obtain an EPA
            to determine whether a substance meets the criteria for classification as a                      Establishment Number
            biochemical pesticide, EPA has established the Biochemical Classification                          <https://epa.gov/pesticide-

            Committee to make such decisions. The chair of the Committee is Russell                            registration/pesticide-registration-

            Jones <https://epa.gov/node/50763/>.                                                               manual-chapter-14-how-obtain-epa-
                                                                                                               company-or>

                                                                                                         15. Submitting Data and
                                                                                                               Confidential Business
            Products Exempt from                                                                               Information
            Registration                                                                                       <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
            EPA has determined that pest control organisms such as insect predators,                           manual-chapter-15-submitting-data-
            nematodes, and macroscopic parasites are exempt from the requirements                              and-confidential>
            of FIFRA (40 CFR 152.20(a) ). In addition, pheromones and identical or
                                                                                                         16. Transfer of Product
            substantially similar compounds labeled for use only in pheromone traps
                                                                                                             Registrations and Data Rights
            and pheromone traps in which those chemicals are the sole active
                                                                                                               <https://epa.gov/pesticide-
            ingredients are not subject to regulation under FIFRA (40 CFR 152.25(b)
                                                                                                               registration/pesticide-registration-
            ).
                                                                                                               manual-chapter-16-transfer-product-

            Note: The use of pheromones in traps in conjunction with conventional                              registrations-and>

            pesticides, or in other application methods (other than traps), is subject to                17. State Regulatory Authority
            regulation under FIFRA.                                                                            <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
            Minimum risk pesticides that meet certain criteria are a special class of
                                                                                                               manual-chapter-17-state-regulatory-
            pesticides that are not subject to federal registration requirements                               authority>
            because their ingredients, both active and inert, are demonstrably safe for
                                                                                                         18. Other Federal or State Agency
            the intended use. They are exempt from federal registration under section
                                                                                                             Requirements
            25(b) of the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA).
                                                                                                               <https://epa.gov/pesticide-
            EPA does not review or register pesticides that satisfy the 25(b) criteria (PR
                                                                                                               registration/pesticide-registration-
            Notice 2000-6) <https://epa.gov/node/63243/>, though registration is required by
                                                                                                               manual-chapter-18-other-federal-or-
            most states. Read more about products exempt from registration
                                                                                                               state-agency>
            <https://epa.gov/node/64449/>.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                                3/14
                                                                                                                                                      AR0000413
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR
                                 Pesticide Registration Document
                                                        Manual: Chapter57-3       Filed
                                                                        3 - Additional   04/24/24for Biopesticide
                                                                                       Considerations Page 414      of 739
                                                                                                                  Products | US EPA




            Registration Package for                                                                     19. How to Obtain Publications
                                                                                                               <https://epa.gov/pesticide-
            Biochemical and Microbial                                                                          registration/pesticide-registration-

            Pesticides                                                                                         manual-chapter-19-how-obtain-
                                                                                                               publications>
            The application categories described in Chapter 2 <https://epa.gov/pesticide-                20. Forms and How to Obtain
            registration/pesticide-registration-manual-chapter-2-registering-pesticide-product> apply          Them <https://epa.gov/pesticide-
            to all applications for registration of conventional, biopesticide, and                            registration/pesticide-registration-
            antimicrobial pesticide products. All applications for registration must                           manual-chapter-20-forms-and-how-
            include the data, information, forms, and fees and/or fee waiver or                                obtain-them>
            exemption requests as described in Chapter 2.                                                21. Directions for Submitting
                                                                                                             Applications and Contacting
            Biochemical and microbial pesticides are, however, subject to a different
            set of data requirements for registration than conventional chemicals, and                         EPA <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
            are listed in Data Requirements for Registration 40 CFR Part 158:
                                                                                                               manual-chapter-21-directions-
                                                                                                               submitting-applications>


                                                                                                         Appendices

                                                                                                               Appendix A: Guidance
                                                                                                               Documents
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-guidance-
                                                                                                               documents>

                                                                                                               Appendix B: Examples of
                                                                                                               Registrant Documents
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-b-examples-
                                                                                                               registrant-documents>

                                                                                                               Appendix C: Pesticide Forms
                                                                                                               Overview Table
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-c-pesticide-forms-
                                                                                                               overview-table>

                                                                                                               Appendix D: Examples of
                                                                                                               Completed Forms
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-d-examples-
                                                                                                               completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                                4/14
                                                                                                                                                      AR0000414
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 415      of 739
                                                                                                                 Products | US EPA




                      Subpart U         : Biochemical Pesticides 158.2000
                      Subpart V         : Microbial Pesticides 158.2100




            EPA has published guidance for developing these data in the Biochemical Pesticides Test Guidelines, OPPTS Series 880
            <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/series-880-biochemicals-test-guidelines> and the Microbial Pesticides Test
            Guidelines, OPPTS Series 885 <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/series-885-microbial-pesticide-test-guidelines>.
            Please also refer to Chapter 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product>
            of this manual for general information on submitting an application for registration, and to Chapter 12
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit> for additional information
            concerning experimental use permits.

            Several helpful tips are available on the Web page for biopesticides, specifically the Biopesticide Registration Tools Web
            page <https://epa.gov/pesticide-registration/biopesticide-registration>, to aid applicants in preparing biopesticide submissions.
            Among these are:



                   1. how to avoid Confidential Statement of Formula or product chemistry issues with
                      biopesticide submissions <https://epa.gov/pesticide-registration/tips-avoiding-confidential-statement-formula-or-product-
                      chemistry-issues>, and

                   2. examples of BPPD internal application checklists <https://epa.gov/pesticide-registration/pesticide-registration-
                      manual-biopesticide-application-checklists-documents> for amendment and registration application review.




            Genetically modified microbial pesticides may be subject to additional (or fewer) data requirements or information
            requirements on a case-by-case basis, depending on the particular microorganism, the parent microorganism, the
            proposed use pattern, and the manner and extent to which the organism has been genetically modified.

            Additional data requirements may include:



                      information on the genetic engineering techniques used;
                      the identity of the inserted or deleted gene segment (base sequence data or enzyme
                      restriction map of the gene)
                      information on the control region of the gene in question;
                      a description of the new traits or characteristic that are intended to be expressed;
                      tests to evaluate genetic stability and exchange; and/or
                      selected Tier II environmental expression and toxicology tests.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                                 5/14
                                                                                                                                                     AR0000415
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 416      of 739
                                                                                                                 Products | US EPA




            BPPD PRIA Review Phases
            The Biopesticides and Pollution Prevention Division (BPPD) has grouped its review of Pesticide Registration
            Improvement Extension Act (PRIA 3) actions into five phases.



                      Phase I includes in–processing, specifically, documentation of receipt of the application
                      in the Agency’s tracking systems, the PRIA 21-day initial content screen (including
                      review for consistency with PR Notice 11-3), follow up on 11-3 issues, and initiation of
                      the PRIA 3 Preliminary Technical Screen.
                      Phase II includes completion of the preliminary technical screen, any follow-up
                      regarding deficiencies identified during the screen, and Federal Register
                      announcements such as a notice of filing of a tolerance petition, when applicable.
                      Phase III includes primary science reviews and, in some cases, drafts of a Biopesticide
                      Regulatory Action Document (BRAD). Start dates for Phases II and III are the same, as
                      these phases generally occur concurrently.
                      Phase IV includes secondary science reviews, risk and benefit assessments, and where
                      appropriate, preparation for a Scientific Advisory Panel (SAP) meeting.
                      Phase V includes (where appropriate) SAP meeting, document development, Office of
                      General Counsel and senior management review, sign-offs, logging the action out of the
                      tracking system, and final Federal Register notices announcing the decision.




            21-day Content Screen
            When EPA receives the application and the applicable fee required by PRIA 3, the Agency will screen the application
            during a 21-day period to determine if it contains all required forms, labeling, and data formatted as described in the
            Agency’s guidance (PR Notice 11-3), and documentation of fee payment. The fee payment documentation may include
            a request for a fee reduction or waiver or an exemption. Any deficiencies identified during the 21-day Content Screen
            and uncorrected by the applicant may lead to the Agency’s rejection of the application and retention of 25% of the fee.

            Preliminary Technical Screen
            After the 21-day Content Screen, PRIA 3 requires that a Preliminary Technical Screen be conducted within 45 days after
                                                                                              ≤
            the PRIA start date for submissions with PRIA decision review timeframes 6 months and within 90 days for
            submissions with PRIA decision review timeframes > 6 months. The purpose of the preliminary technical screen is to
            determine if the pesticide registration application and accompanying information and data are:

             1. accurate and complete;
             2. consistent with proposed labeling and any tolerance or tolerance exemption, and
             3. likely to result in the granting of the application.

            If the application fails the technical screen and the deficiencies cannot be corrected by the applicant within 10 business
            days after receipt of the Agency’s notification of failure, the Agency will reject the application.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                             6/14
                                                                                                                                  AR0000416
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 417      of 739
                                                                                                                 Products | US EPA




            In-depth review of the data
            Once the submission clears the two screens, it is placed into in-depth science review. If during this in-depth review the
            Agency determines that there are data deficiencies, the applicant is notified in writing of the deficiencies per 40 CFR
            152.105 and allowed 75 days to make the corrections or additions to complete the application. If after 75 days, the
            applicant has not responded or failed to complete the application, the Agency will terminate further action and treat
            the application as if withdrawn. In this case, the completed application will have to be resubmitted and treated as a
            new application. If the applicant believes that the deficiencies cannot be corrected within 75 days, it must notify the
            Agency within those 75 days of the date on which it expects to complete the application. For registration applications
            that fall under the Pesticide Registration Improvement Act (PRIA), the Agency has timeframes in which decisions need
            to be made on the applications. Application deficiencies may require that the timeframe be extended, and Chapter 5’s
            section on Negotiated Due Date Extensions <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-
            fees#negotiated> describes the process for extending due dates. The Phase at which a deficiency is identified influences
            the new due date proposed.




            Regulation of Plant-Incorporated Protectants
            Consistent with the Coordinated Framework for Regulation of Biotechnology issued by the U.S. Office of Science and
            Technology Policy in 1986 (51 FR 23302) genetically modified (GM) crops with pesticidal traits fall under the oversight of
            EPA, the U.S. Department of Agriculture, and the U.S. Food and Drug Administration.

            EPA’s oversight focuses on the pesticidal substance produced (e.g., Bt Cry proteins) and the genetic material necessary
            for its production in the plant (e.g., cry genes). EPA calls this unique class of biotechnology-based pesticides plant-
            incorporated protectants (PIPs) and describes procedures specific for PIPs in Procedures and Requirements for Plant-
            Incorporated Protectants (40 CFR Part 174 ). Read tips regarding experimental programs for PIPs
            <https://epa.gov/regulation-biotechnology-under-tsca-and-fifra/tips-plant-incorporated-protectant-pip-experimental>. Further guidance on
            small-scale field testing of PIPs and low-level presence in food is listed in PR Notice 2007-2 <https://epa.gov/pesticide-
            registration/prn-2007-2-guidance-small-scale-field-testing-and-low-level-presence-food>.




            Pheromone Regulatory Relief
            The Agency acknowledges that use of certain types of pheromone products presents lower risk than conventional
            pesticides, and also acknowledges the unique properties of these niche-type products regarding their inherently
            narrow host range. To promote the use of pheromone products, the Agency initiated a regulatory relief program that
            allows flexible confidential statements of formula for pheromone experimental use permits (EUPs) to allow for active
            ingredient adjustments during the course of experimentation. The Agency has also published generic tolerances and
            relaxed the acreage cut-off when an EUP is required. Refer to Chapter 12 <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-12-applying-experimental-use-permit> on EUPs.


            EPA established the following special regulations as a result of the pheromone regulatory relief program:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                            7/14
                                                                                                                                                  AR0000417
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 418      of 739
                                                                                                                 Products | US EPA




                      exemption from requirement of a tolerance for inert materials in polymeric matrix
                      dispensers, 40 CFR 180.1122 (58 FR 64494);
                      exemption from requirement of tolerance for pheromones in polymeric matrix
                      dispensers, 40 CFR 180.1124                 (59 FR 14759);
                      EUP limit raised to 250 acres for pheromones in polymeric matrix dispensers (59 FR
                      3681);
                      EUP limit raised to 250 acres for testing of nonfood-use broadcast pheromones (59 FR
                      34182);
                      EUP acreage limit raised to 250 acres for straight-chained pheromones (sprayables) (60
                      FR 168);
                      tolerance exemption for straight-chained lepidopteran pheromones (sprayables), 40
                      CFR 180.1153  (60 FR 45399); and
                      exemption from requirement of a tolerance for inert polymers in sprayable
                      formulations, 40 CFR 180.1162  (61 FR 6551).




            Data Portion
            The data portion of a registration amendment that requires product-specific data may include the following items, as
            applicable:



                      acute toxicity data, especially if a change is proposed in the precautionary labeling or
                      the signal word for the product, and if no previously submitted data can be cited or
                      bridged;
                      product chemistry data if the basic or alternate formulas are being changed
                      substantially; and
                      efficacy (product performance) data if proposing to add a new pest of public health
                      significance, e.g., products to control pathogenic bacteria, viruses, mosquitoes, ticks,
                      roaches, fleas, rats, and mice. Changes to the basic product formulation may also
                      require additional efficacy data.




            Please note that efficacy data for nonpublic-health uses must be conducted and maintained on file by the registrant,
            although these data are not generally required to be submitted for review.

            Important Note: When submitting data, three copies are required, properly bound and formatted in accordance with
            PR Notice 86‑5 <https://epa.gov/node/51183/> Refer to Chapter 15 <https://epa.gov/pesticide-registration/pesticide-registration-manual-
            chapter-15-submitting-data-and-confidential> for additional information on submitting data.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                           8/14
                                                                                                                                                 AR0000418
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 419      of 739
                                                                                                                 Products | US EPA




            Small-Scale Field Test Notifications for Certain
            Genetically Modified Microbial Pesticides
            Notification and Reporting Requirements
            Applicants must submit a notification to EPA to obtain approval before starting small-scale testing of certain genetically
            modified microbial pesticides or non-indigenous microbial pesticides that USDA has not previously acted upon. This
            approval covers intentional introduction into the environment or small-scale testing in a facility that lacks adequate
            containment and inactivation controls (40 CFR 172.45 ).

            The notification should be submitted to EPA for approval at least 90 days prior to the initiation of the proposed test (40
            CFR 172.46 ).

            Mail the Notification as described in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-
            directions-submitting-applications>.


            EPA will review and evaluate each Notification as quickly as possible and will make a determination no later than 90
            days after receipt of the complete Notification. However, under no circumstances shall the proposed test proceed until
            the submitter has received notice from EPA of its approval of such test.

            Before making a final determination, the Agency may



                      require additional information,
                      approve the proposed test provided the submitter makes certain modifications,
                      require an EUP, or
                      disapprove the test.




            Petition for Exemption from Notification
            Requirements
            A petition for exemption from the notification requirements for a specific microbial pesticide or class of microbial
            pesticides may be submitted to the Biopesticides and Pollution Prevention Division. EPA will review and evaluate
            petitions as expeditiously as possible (no later than 180 days after the submission or 90 days after the last submission
            of additional information, whichever is later), and may request further information from the petitioner to assess the
            proposed exemption adequately. EPA will



                      grant the petition and publish a notice of proposed rulemaking in the Federal Register
                      for a 45-day comment period; or
                      deny the petition and provide the petitioner with a written explanation of EPA’s decision
                      (40 CFR 172.52 ).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                           9/14
                                                                                                                                                 AR0000419
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 420      of 739
                                                                                                                 Products | US EPA




            Substitution of an EUP Application for a Notification
            In lieu of a Notification, an application for an EUP may be submitted to EPA for approval.




            Contacts for Additional Information
            For contact information, refer to the Organizational Charts in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-21-directions-submitting-applications> or to the Biopesticides Contacts Web page
            <https://epa.gov/node/50763/>.




            References Cited in Chapter 3
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            Find Code of Federal Regulations citations in the e-CFR              .

            Code of Federal Regulation, Title 40



                      Part 152 - Pesticide Registration and Classification Procedures
                      Part 158 - Data Requirements for Registration
                      Part 172 – Experimental Use Permits
                      Part 174 – Procedures and Requirements for Plant-Incorporated Protectants
                      Part 180 – Tolerances and Exemptions for Pesticide Chemical Residues in Food




            Harmonized Test Guidelines <https://epa.gov/test-guidelines-pesticides-and-toxic-substances>



                      Series 880 - Biochemicals Test Guidelines - Final Guidelines
                      Series 885 - Microbial Pesticide Test Guidelines




            Pesticide Registration Notices <https://epa.gov/node/63243/> (PR Notices)




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                         10/14
                                                                                                                                                AR0000420
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 421      of 739
                                                                                                                 Products | US EPA




                      PR Notice 86-5 - Standard Format for Data Submitted Under the Federal Insecticide,
                      Fungicide, and Rodenticide Act (FIFRA) and Certain Provisions of the Federal Food,
                      Drug, and Cosmetic Act (FFDCA)
                      PR Notice 2007-2 - Guidance on Small-Scale Field Testing and Low-level Presence in
                      Food of Plant-Incorporated Protectants (PIPs)
                      PR Notice 2000-6 - Minimum Risk Pesticides Exempted under FIFRA Section 25(b)
                      Clarification of Issues




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                            11/14
                                                                                                                                                 AR0000421
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 422      of 739
                                                                                                                 Products | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                         12/14
                                                                                                                               AR0000422
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 423      of 739
                                                                                                                 Products | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                                     13/14
                                                                                                                                            AR0000423
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3       Filed
                                                                       3 - Additional   04/24/24for Biopesticide
                                                                                      Considerations Page 424      of 739
                                                                                                                 Products | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-considerations                         14/14
                                                                                                                               AR0000424
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR            Document
                                Pesticide Registration Manual: Chapter57-3      Filed
                                                                      4 - Additional    04/24/24for Antimicrobial
                                                                                     Considerations Page 425Products
                                                                                                                  of 739
                                                                                                                       | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 4
            - Additional Considerations for
            Antimicrobial Products
            In this chapter:
                Introduction                                                                                       Registration Manual
                What Is an Antimicrobial Pesticide?                                                                 Table of Contents
                Types of Antimicrobial Pesticides
                Unique Label Claims and Efficacy Test Protocols                                                   Pesticides Registration Manual
                Applying for Registration                                                                         Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                Use Patterns
                                                                                                                  manual>
                Other Relevant Guidance Documents
                Contacts for Additional Information                                                               Introduction
                References Cited in Chapter 4                                                                     <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                                                                                                                  manual-introduction>


            Introduction                                                                                          How to Register a Pesticide
                                                                                                                  Product – A Guide for Applicants
            Antimicrobial pesticides comprise a highly diverse group of pesticides that                           New to the Process
            is distinctly different from conventional pesticides and biopesticides.                               <https://epa.gov/pesticide-
            Although they are subject to the same basic regulatory provisions of FIFRA                            registration/how-register-pesticide-guide-
            as are conventional pesticides and biopesticides, antimicrobial pesticides                            applicants-new-process>
            are also specifically defined in FIFRA section 2(mm) and subject to
            additional registration requirements described in FIFRA section 3(h). In                                1. Requirements for Pesticide
            addition, antimicrobial pesticides are managed solely by the                                              Registration and Registrant
            Antimicrobials Division (AD) of the Office of Pesticide Programs. This                                    Obligations
            chapter provides additional guidance unique to antimicrobial pesticides                                   <https://epa.gov/pesticide-
                                                                                                                      registration/pesticide-registration-
            that is not covered in the other chapters.
                                                                                                                      manual-chapter-1-overview-
                                                                                                                      requirements-pesticide>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                                       1/19
                                                                                                                                                             AR0000425
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR            Document
                                Pesticide Registration Manual: Chapter57-3      Filed
                                                                      4 - Additional    04/24/24for Antimicrobial
                                                                                     Considerations Page 426Products
                                                                                                                  of 739
                                                                                                                       | US EPA




            What Is an Antimicrobial                                                                      2. Registering a Pesticide
                                                                                                             Product <https://epa.gov/pesticide-
            Pesticide?                                                                                         registration/pesticide-registration-
                                                                                                               manual-chapter-2-registering-
            “Antimicrobial pesticide” is defined in section 2(mm) of FIFRA
                                                                                                               pesticide-product>
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-
                                                                                                          3. Additional Considerations for
            act> as a pesticide that is intended to:
                                                                                                               Biopesticide Products
                disinfect, sanitize, reduce, or mitigate growth or development of                              <https://epa.gov/pesticide-

                microbiological organisms; or                                                                  registration/pesticide-registration-

                protect inanimate objects, industrial processes or systems, surfaces,                          manual-chapter-3-additional-

                water, or other chemical substances from contamination, fouling, or                            considerations>

                deterioration caused by bacteria, viruses, fungi, protozoa, algae, or                     4. Additional Considerations
                slime; and                                                                                     for Antimicrobial Products
                is exempt from or not subject to a tolerance…or a food additive                           5. Registration Fees
                regulation.                                                                                    <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
            The following products are also antimicrobial pesticides:                                          manual-chapter-5-registration-fees>

                any other chemical sterilant products (other than liquid chemical                         6. Amending a Registered
                sterilant products exempted under FIFRA section 2(u)                                           Pesticide Product
                <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-                   <https://epa.gov/pesticide-

                rodenticide-act>),                                                                             registration/pesticide-registration-
                                                                                                               manual-chapter-6-amending-
                any other disinfectant products,
                                                                                                               registered-pesticide>
                any other industrial microbiocide products, and
                                                                                                          7. Notifications and Minor
                any other preservative products that are not excluded below.
                                                                                                             Formulation Amendments
            The following products are NOT antimicrobial pesticides:                                           <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-7-notifications-and-
                                                                                                               minor-formulation>

                                                                                                          8. Inert Ingredients
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-8-inert-ingredients>

                                                                                                          9. Supplemental Distribution of
                                                                                                             a Registered Pesticide
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-9-supplemental-
                                                                                                               distribution-registered>

                                                                                                         10. Data Compensation
                                                                                                               Requirements
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-10-data-
                                                                                                               compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                                2/19
                                                                                                                                                      AR0000426
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 427Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                                                                                                         11. Tolerance Petitions
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-11-tolerance-
                                                                                                               petitions>

                                                                                                         12. Applying for an Experimental
                                                                                                               Use Permit
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-12-applying-
                                                                                                               experimental-use-permit>

                                                                                                         13. Devices <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-13-devices>

                                                                                                         14. How to Obtain an EPA
                                                                                                             Establishment Number
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-14-how-obtain-epa-
                                                                                                               company-or>

                                                                                                         15. Submitting Data and
                                                                                                               Confidential Business
                                                                                                               Information
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-15-submitting-data-
                                                                                                               and-confidential>

                                                                                                         16. Transfer of Product
                                                                                                             Registrations and Data Rights
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-16-transfer-product-
                                                                                                               registrations-and>

                                                                                                         17. State Regulatory Authority
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-17-state-regulatory-
                                                                                                               authority>

                                                                                                         18. Other Federal or State Agency
                                                                                                             Requirements
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-18-other-federal-or-
                                                                                                               state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                                3/19
                                                                                                                                                      AR0000427
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 428Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                                                                                                         19. How to Obtain Publications
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-19-how-obtain-
                                                                                                               publications>

                                                                                                         20. Forms and How to Obtain
                                                                                                               Them <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-20-forms-and-how-
                                                                                                               obtain-them>

                                                                                                         21. Directions for Submitting
                                                                                                             Applications and Contacting
                                                                                                               EPA <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-21-directions-
                                                                                                               submitting-applications>


                                                                                                         Appendices

                                                                                                               Appendix A: Guidance
                                                                                                               Documents
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-guidance-
                                                                                                               documents>

                                                                                                               Appendix B: Examples of
                                                                                                               Registrant Documents
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-b-examples-
                                                                                                               registrant-documents>

                                                                                                               Appendix C: Pesticide Forms
                                                                                                               Overview Table
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-c-pesticide-forms-
                                                                                                               overview-table>

                                                                                                               Appendix D: Examples of
                                                                                                               Completed Forms
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-appendix-d-examples-
                                                                                                               completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                                4/19
                                                                                                                                                      AR0000428
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR            Document
                                Pesticide Registration Manual: Chapter57-3      Filed
                                                                      4 - Additional    04/24/24for Antimicrobial
                                                                                     Considerations Page 429Products
                                                                                                                  of 739
                                                                                                                       | US EPA




                      wood preservative or antifouling paint products for which a claim of pesticidal activity
                      other than or in addition to antimicrobial activity is made [Note: In other words, wood
                      preservative and antifoulant paint products that only have claims pertaining to
                      microorganisms are antimicrobial pesticides, but the presence of additional claims such
                      as insecticidal claims make the product a non-antimicrobial pesticide];
                      agricultural fungicide products, and
                      aquatic herbicide products.




            The following products may qualify for exemption from FIFRA <https://epa.gov/laws-regulations/summary-federal-insecticide-
            fungicide-and-rodenticide-act>:




                      treated articles exempted under 40 CFR 152.25(a).




            In general, antimicrobial substances used on inanimate surfaces are subject to FIFRA, whereas antimicrobial
            substances used in or on living animals or humans are subject to the Federal Food, Drug, and Cosmetic Act
            <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act> (e.g., human or animal drugs, antiseptics, liquid
            chemical sterilants used on medical devices, etc.). Some antimicrobial products are subject to both FIFRA
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> and FFDCA <https://epa.gov/laws-
            regulations/summary-federal-food-drug-and-cosmetic-act> (i.e., dual jurisdiction products) because they involve direct or indirect
            food uses, or use on food contact surfaces (see Use Patterns section below for uses that may be subject to both FIFRA
            and FFDCA). Also refer to FDA’s web site for a description of antimicrobial products that are subject to the FFDCA
            <https://www.fda.gov/regulatory-information/search-fda-guidance-documents/guidance-industry-antimicrobial-food-additives>.




            Types of Antimicrobial Pesticides
            Antimicrobial pesticide products are categorized as either "public health" or "non-public health," depending on the
            specific claims made on each product's labeling. Registrants of public health antimicrobial pesticide products must
            submit efficacy data to support their application for registration or amendments to add public health claims, whereas
            registrants of non-public health antimicrobial pesticide products are required to generate efficacy data but not submit
            those data, unless EPA requests that the data be submitted on a case-by-case basis.

            Public health antimicrobial pesticide products are those products that bear a claim to control pest microorganisms
            that pose a threat to human health, and whose presence cannot readily be observed by the user, including but not
            limited to, microorganisms infectious to man in any area of the inanimate environment. A product makes a public
            health claim if one or more of the following apply:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                        5/19
                                                                                                                                              AR0000429
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 430Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                   1. A claim is made for control of specific microorganisms or classes of microorganisms
                      that are directly or indirectly infectious or pathogenic to man (or both man and
                      animals).
                   2. A claims is made for the pesticide product as a sterilant, disinfectant, virucide, sanitizer,
                      or tuberculocide against microorganisms that are infectious or pathogenic to man.
                   3. A claim is made for the pesticide product as a fungicide against fungi infectious or
                      pathogenic to man, or the product does not clearly state that it is intended for use only
                      against non-public health fungi.
                   4. A claim is made for the pesticide product as a microbiological water purifier or microbial
                      purification system.
                   5. A non-specific claim is made that the pesticide product will beneficially impact or affect
                      public health at the site of use or in the environment in which applied, and:


                           The pesticide product contains one or more ingredients that, under the criteria in 40
                           CFR 153.125(a), is an active ingredient with respect to a public health microorganism
                           and there is no other functional purpose for the ingredient in the product; or


                           The pesticide product is similar in composition to a registered pesticide product that
                           makes explicit antimicrobial public health claims.




            Examples of the most common public health products include:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     6/19
                                                                                                                           AR0000430
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 431Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                      Sanitizer – A substance, or mixture of substances, that reduces the bacterial population
                      in the inanimate environment by significant numbers, (e.g., 3 log10 reduction) or more,
                      but does not destroy or eliminate all bacteria. Sanitizers meeting Public Health
                      Ordinances are used on food contact surfaces and are termed sanitizing rinses.
                      Disinfectant – A substance, or mixture of substances, that destroys or irreversibly
                      inactivates bacteria, fungi and viruses, but not necessarily bacterial spores, in the
                      inanimate environment. EPA registers three types of disinfectants based on the type of
                      efficacy data submitted: Limited, General (or Broad-spectrum), and Hospital.


                           Limited - A disinfectant that is effective against only a specific major group of
                           microorganisms (such as gram-positive [e.g., Staphylococcus aureus] or gram-
                           negative [e.g., Salmonella enterica] bacteria) is considered to be a limited
                           disinfectant.
                           General or Broad-spectrum – A disinfectant that is effective against both gram-
                           positive and gram-negative bacteria (Staphylococcus aureus and Salmonella
                           enterica) is considered to be a general or broad spectrum disinfectant. General or
                           broad spectrum disinfectants have a wide variety of uses in residential, commercial,
                           institutional, and other sites.
                           Hospital - A disinfectant that is a general or broad-spectrum disinfectant and also
                           is effective against the nosocomial bacterial pathogen Pseudomonas aeruginosa is a
                           Hospital disinfectant. These disinfectants are generally for use in hospitals, clinics,
                           dental offices, or other health care related facilities.
                      Sterilant – A substance, or mixture of substances, that destroys or eliminates all forms
                      of microbial life in the inanimate environment, including all forms of vegetative
                      bacteria, bacterial spores, fungi, fungal spores, and viruses. These products are
                      commonly used in hospitals, laboratories, pharmaceutical clean rooms, and similar
                      environments where sterilization is necessary.
                      Fungicide – A substance, or mixture of substances, that destroys fungi (including
                      yeasts) and fungal spores pathogenic to man or other animals in the inanimate
                      environment.
                      Microbiological water purifier – Any unit, water treatment product or system that
                      removes, kills or inactivates all types of disease-causing microorganisms from the
                      water, including bacteria, viruses and protozoan cysts, so as to render the treated water
                      safe for drinking.
                      Tuberculocide – A substance, or mixture of substances, that destroys or irreversibly
                      inactivates tubercule bacilli in the inanimate environment.
                      Virucide – A substance, or mixture of substances, that destroys or irreversibly
                      inactivates viruses in the inanimate environment.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     7/19
                                                                                                                           AR0000431
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 432Products
                                                                                                                 of 739
                                                                                                                      | US EPA




            EPA’s web site contains a series of Disinfectant Technical Support Section (DIS/TSS) information sheets that describe
            the efficacy data guidelines for public health antimicrobial pesticides. See our science policy guidance
            <https://epa.gov/pesticide-registration/efficacy-requirements-antimicrobial-pesticides> to view this information.


            Nonpublic-health antimicrobial pesticide products are those products that bear a label claim to control
            microorganisms of economic or aesthetic significance, where the presence of the microorganism would not normally
            lead to infection or disease in humans. Examples of non-public health claims would include, but are not limited to,
            algaecides, slimicides, preservatives and products for which a pesticidal claim with respect to odor sources is made.

            Find out about determining if cleaning products are considered as pesticides under FIFRA <https://epa.gov/pesticide-
            registration/determining-if-cleaning-product-pesticide-under-fifra>.


            Animal disease pathogen and zoonotic microorganism products include products that are intended to prevent,
            destroy, or control microorganisms that cause significant animal diseases and/or have the potential to infect humans.
            Before the Foot-and-mouth disease outbreak in Great Britain in 2001, EPA generally considered these products to be
            non-public health products that did not require the submission of efficacy data to support label claims. However, after
            that event, EPA became concerned about the significant health impacts that these diseases can have on animals (or in
            some cases on humans) and their substantial economic impacts. Subsequently, the Agency has been requiring that
            registrants submit efficacy data to support these claims. Applicants should consult the Agency for a current listing of
            organisms that meet these criteria (see the Organization of International Epizootics' listing
            <https://www.woah.org/en/what-we-do/animal-health-and-welfare/animal-diseases/> ).




            Unique Label Claims and Efficacy Test Protocols
            A registrant who wishes to add a claim for any specific public health microorganism other than those actually included
            in the product’s basic efficacy testing (e.g, Salmonella enterica, Staphylococcus aureus, and Pseudomonas aeruginosa),
            must submit efficacy testing for each such additional microorganism. For example, to add a claim for the human
            immunodeficiency virus 1 (HIV-1) to a hospital disinfectant, the registrant must perform and submit acceptable efficacy
            testing supporting any claims for its product against that specific virus.

            Because efficacy test protocols may not exist or be validated for certain microorganisms, the registrant should consult
            with EPA prior to testing with new or amended protocols. In such cases, the registrant should submit the proposed test
            protocol to EPA for review and acceptance prior to the study being conducted. If EPA accepts the data from the new
            efficacy test protocol <https://epa.gov/pesticide-registration/antimicrobial-policy-and-guidance-documents> and approves the claim
            requested by the registrant, then EPA will post the new protocol on its Web site for other registrants to use. For
            example, efficacy test protocols for several specific pathogens such as Feline Calicivirus as a surrogate for norovirus,
            Bovine Viral Diarrhea virus as a surrogate for Hepatitis C, and duck Hepatitis B virus as a surrogate for human Hepatitis
            B virus are available. (Read more about efficacy test protocols by going to the Antimicrobial Web page
            <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration> and using the search feature to locate a specific test or
            organism.)




            Applying for Registration
            Before assembling an application for product registration or an amendment to a product registration, an applicant or
            registrant should first consider contacting the appropriate Product Team and/or requesting a pre-application meeting
            to discuss and confirm the data and labeling requirements that apply to that application. The applicant or registrant




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                                8/19
                                                                                                                                                      AR0000432
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 433Products
                                                                                                                 of 739
                                                                                                                      | US EPA




            may go to the Antimicrobial Contact List <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-antimicrobials-division>
            for the Product Team contacts and for guidance on requesting a pre-application meeting <https://epa.gov/pesticide-
            registration/guidance-pre-application-meetings-new-active-ingredients-major-new-uses-and>.


            The application categories described in Chapter 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-
            registering-pesticide-product> apply to all applications for registration of conventional, biopesticide, and antimicrobial
            pesticide products. Also, all applications for registration must include the data, information, forms, and fees or fee
            waiver requests as described in Chapter 2. However, for antimicrobial pesticide products, the following additional items
            may be needed as part of an application for registration:



                      Documentation of Pre-Submission Consultation. If a pre-submission consultation has
                      occurred, the applicant should submit written documentation describing the
                      consultation and a copy of any Agency correspondence regarding that consultation.
                      Product Samples. Samples of the product should NOT be submitted with an application.
                      Product or ingredient samples may be required by the Agency for various purposes but
                      will be requested separately.




            Use Patterns
            EPA’s regulation "Data Requirements for Registration," which was issued in 1984 as 40 CFR Part 158                    , specifies the
            types of data and information generally required to make sound regulatory judgments under FIFRA <https://epa.gov/laws-
            regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> for each pesticide proposed for experimental use,
            registration, amended registration, or reregistration with respect to a pesticide product’s potential for causing
            unreasonable adverse effects. On October 26, 2007, EPA promulgated final rules establishing updated data
            requirements for conventional (72 FR 60934), biochemical, and microbial pesticides (72 FR 60988). On May 08, 2013 EPA
            promulgated the final rules <https://www.regulations.gov/document/epa-hq-opp-2008-0110-0111> (EPA-HQ-OPP-2008-0110-
            0111) to update the data requirements for antimicrobial pesticides. These final rules include the new Part 158W .

            The use patterns in 158W, are based on similarity of use, purpose, pesticidal function and, in some cases, application
            practice. Applicants should consult the Agency’s Antimicrobial Division Contact List <https://epa.gov/pesticide-
            contacts/contacts-office-pesticide-programs-antimicrobials-division> to determine who to contact for questions pertaining to
            antimicrobial pesticide use patterns and/or for advice when a use site is not listed below.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                              9/19
                                                                                                                                                    AR0000433
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 434Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                   1. Agricultural Premises and Equipment - This use pattern includes many indirect food
                      uses with mostly indoor use sites:


                           farm and farm animal premises such as animal houses and pens (including milk
                           houses), parlors, stalls, and barns;
                           transportation vehicles used to transport animals;
                           equipment such as forks, shovels, scrapers; halters, ropes, other restraining
                           equipment; racks, mangers, feeders, waterers, troughs, and fountains; and
                           food-handling equipment such as milking equipment.


                   2. Food Handling/Storage Establishments, Premises, and Equipment - This use pattern
                      also includes many indirect food uses due to the treatment of food contact surfaces and
                      the resultant human exposures. All use sites are indoor and include:


                           food or feed processing plants;
                           eating establishments such as restaurants and cafeterias;
                           food storage or distribution facilities;
                           commercial transportation vehicles, shipping and storage containers;
                           food or feed stores and markets; and
                           vending machines.


                   3. Commercial, Institutional and Industrial Premises, and Equipment - This use pattern
                      includes nonfood-contact areas of commercial sites. Typically, antimicrobial pesticides
                      would be applied to ceilings, doors, doorknobs, fixtures, floors, light switches, stairs,
                      walls, windows, and woodwork as part of routine cleaning practices. Included within
                      this use pattern are school and daycare institutions. This use pattern includes both
                      indoor and outdoor uses. Some of the uses have the potential for significant exposure
                      due to the repetitive nature of certain exposures, and therefore may be considered as
                      high human exposure.


                   4. Residential and Public Access Premises - This use pattern includes mostly nonfood
                      areas, although it includes food-handling areas in homes. Some of the uses have the
                      potential for significant exposure due to the repetitive nature of certain exposures and
                      therefore may be considered as high human exposure. Most uses are indoor and include:


                           premises, contents, and equipment of homes, apartments, mobile homes, and
                           shelters, including home-based daycare;
                           public areas, public buildings, and public rooms; and
                           commercial kennels, or living quarters of pets, zoo animals, race horses, or
                           laboratory animals.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     10/19
                                                                                                                           AR0000434
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 435Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                   5. Medical Premises and Equipment - Medical waste is defined as any solid waste that is
                      generated in the diagnosis, treatment, or immunization of human beings or animals, in
                      research pertaining thereto, or in the production of biologicals including, but not
                      limited to, culture and stocks, pathological wastes, human blood and blood products,
                      and sharps. This use pattern is considered to be indoor nonfood. Some of the uses have
                      the potential for repeated exposure and therefore may be considered as high human
                      exposure. Use sites include:


                           hospital or medical environments such as clinics, dental offices, nursing homes, sick
                           rooms, morgues, and veterinary clinics; and
                           non-critical medical equipment such as bedpans, basins, and furniture.


                   6. Human Drinking Water Systems - Human drinking water systems include any methods
                      used to provide potable water from raw water supplies. This use pattern is considered to
                      be high human exposure due to the potential for human exposures via drinking water,
                      as well as dermal exposures to the treated water. Use sites include:


                           public water systems;
                           individual water systems;
                           emergency water systems;
                           water purifier units;
                           private water systems of individual homes, farms, institutions, camps, resorts, and
                           industrial plants; and
                           emergency water systems for the public, campers, travelers, military, and
                           fishermen.


                      EPA does not set tolerances for these uses under FIFRA.


                   7. Materials Preservatives - Materials preservatives are antimicrobial chemicals added
                      during industrial processes to prevent the growth of microorganisms. Examples of such
                      uses include paints, coatings, adhesives, textiles, and paper. This use pattern includes
                      food and nonfood, and mostly indoor uses.


                      This category is further divided into (a) indoor food, (b) indoor nonfood, and (c)
                      indoor/outdoor nonfood uses. Certain uses in category (b) may have high human
                      exposure potential, such as finger paints, and plastic making. Products registered for
                      papermaking must have indirect food additive clearances from the U.S. Food and Drug
                      Administration. Products registered for plastic making (i.e., where the antimicrobial in
                      the plastic will kill microorganisms on items stored in a plastic container) require
                      tolerances or tolerance exemptions from EPA under section 408 of FFDCA since plastics
                      may come into contact with food items. Products in category (c) include coatings, paints
                      (applied film), and dispersions, which have potential for widespread use.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     11/19
                                                                                                                           AR0000435
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 436Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                   8. Industrial Processes and Water Systems - Certain antimicrobial chemicals, known as
                      microbiocides, are used to control the growth of bacteria, fungi, and algae in water
                      systems. There are two types of systems: "once-through” and “recirculating."


                           For “once-through” systems, the water is not re-used, and is therefore released
                           into the aquatic environment or a wastewater treatment plant after a single cycle
                           through the system. Once-through uses have the potential for significant
                           environmental exposure when the treated water is released to the environment.
                           Large volumes of water (as much as millions of gallons per minute) may be released
                           directly to a river, estuary, or marine environment within minutes or hours of
                           adding the antimicrobial to the system. In addition to the potential for
                           environmental exposure after release, there is the potential for high human
                           exposure via drinking water if the intake pipe for a drinking water treatment plant is
                           downstream. Also, the water could be used in crop and/or livestock production thus
                           providing for additional human exposure.


                           However, for many uses of water in industrial plants the treated water is re-used
                           repeatedly within the system, “recirculating” in the system multiple times until
                           released into the aquatic environment or a wastewater treatment plant. EPA has
                           assumed that the releases are scheduled as the antimicrobial has been “used up.”
                           Given the lower frequency of release, resulting in lower volumes released to the
                           environment, recirculating uses are likely to have less environmental exposure than
                           once-through systems.


                      For the purposes of determining data requirements for environmental fate and
                      ecological effects, the industrial processes and water systems use pattern are
                      subdivided. Because of the distinct differences between the once-through and
                      recirculating water systems, the once-through water system are grouped with the other
                      use patterns with potential for higher environmental exposures and the recirculating
                      water system with those use patterns with the potential for lower environmental
                      exposures.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     12/19
                                                                                                                           AR0000436
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 437Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                   9. Antifouling coatings - Antifoulants are coatings and paints applied to boat hulls and
                      bottoms, crab and lobster pots, and underwater structures or equipment to control the
                      growth of freshwater or marine fouling organisms. Antifoulant coatings have the
                      potential for high environmental exposure, most particularly for marine (both
                      freshwater and saltwater) environments.

                      Also included within this use pattern is ballast water, that is, the water that is pumped
                      in and out of ballast tanks as a ship’s weight changes due to loading and unloading of
                      cargo. Ballast water provides needed stability for safe operation of marine vessels. In
                      recent years there have been significant concerns about transport of marine species
                      from one marine environment to another in ballast water. When discharged into a new
                      environment, the new species may become invasive and disrupt the native ecology.
                      Ballast water treatments (such as adding an antimicrobial to the ballast water before
                      discharge) are intended to prevent this. The Agency has reviewed few applications for
                      ballast water treatments, presumably because treatment of ballast water to prevent the
                      transfer of microorganisms from one marine environment to another is relatively new.
                      Since ballast water treatments also have the potential for high exposure to the aquatic
                      (both freshwater and seawater) environment, EPA has grouped the ballast water
                      treatment pesticide chemicals with the antifoulant coating pesticide chemicals.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     13/19
                                                                                                                           AR0000437
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR            Document
                                Pesticide Registration Manual: Chapter57-3      Filed
                                                                      4 - Additional    04/24/24for Antimicrobial
                                                                                     Considerations Page 438Products
                                                                                                                  of 739
                                                                                                                       | US EPA




                   10. Wood Preservatives - Wood preservative products are those that claim to control wood
                       degradation problems due to fungal rot or decay, sapstain, molds, or wood-destroying
                      insects. This use pattern has the potential for high exposure for both humans and the
                      environment with mostly outdoor use sites. Certain uses can be food uses. The types of
                      wood and the products that can be manufactured with this treated wood are:


                           freshly cut logs or lumber;
                           seasoned building materials;
                           utility poles, fence posts, and rails,
                           structural members;
                           structures and dwellings;
                           transportation vehicles (truck beds and support structures);
                           crop containers;
                           lawn furniture and decks;
                           playground equipment;
                           garden/landscape timbers; and
                           log homes.



                      While wood preservative treatment plant sites are regulated under the Resource
                      Conservation and Recovery Act (RCRA) <https://epa.gov/laws-regulations/summary-resource-conservation-and-
                      recovery-act>, the focus of environmental risk assessment under FIFRA <https://epa.gov/laws-

                      regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> is on the use of the treated wood.
                      Exposure concerns for wood treatment products are many and varied. The nature and
                      extent of these concerns depend primarily upon the types of wood items treated and
                      their end-use locations. For example, pressure-treated wood may be intended
                      specifically for use in salt or fresh water, for ground or soil contact, or for above-ground
                      use. Sapstain-control products are for temporary treatment and are not intended for
                      ground, soil, or aquatic contact.


                   11. Swimming Pools - Products in this use pattern are used to prevent/control the growth
                      of bacteria or algae in the water systems of swimming pools, Jacuzzis and hot tubs. This
                      use pattern is considered to be high human exposure. Under routine use little or no
                      environmental exposure is expected, as the water in swimming pools, Jacuzzis, or hot
                      tubs is considered to be separated from the natural environment. However, when
                      draining is needed, depending on the volume of water and the location of the pool or hot
                      tub, it is most likely that discharge would be down-the-drain to a wastewater treatment
                      plant, to a storm drain that discharges to a stream, or directly to soil.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                           14/19
                                                                                                                                  AR0000438
8/14/23, 1:37 PM     Case 3:24-cv-01106-CVR            Document
                                Pesticide Registration Manual: Chapter57-3      Filed
                                                                      4 - Additional    04/24/24for Antimicrobial
                                                                                     Considerations Page 439Products
                                                                                                                  of 739
                                                                                                                       | US EPA




                   12. Aquatic Areas - Products in this use pattern are designed to control or kill slime-
                       forming bacteria, fungi, or algae in lakes, ponds, streams, drainage ditches, and other
                       bodies of water. In addition to the potential for environmental exposure, there is the
                       potential for high human exposure via drinking water if the intake pipe for a drinking
                       water treatment plant is in a lake or downstream, or through recreational activities such
                       as swimming. Also, the water could be used in crop and/or livestock production thus
                       providing for additional human exposure.




            Other Relevant Guidance Documents
            EPA’s Web page for antimicrobial pesticides <https://epa.gov/pesticide-registration/antimicrobial-policy-and-guidance-documents>
            provides numerous guidance documents that address a wide range of science and policy issues. For example, EPA has
            issued many Pesticide Registration (PR) Notices <https://epa.gov/pesticide-registration/pesticide-registration-notices-year> since the
            1970s that include guidance relevant to antimicrobials. Applicants and registrants should review these and other
            guidance documents available on the EPA Antimicrobials Web page before submitting an application for registration or
            amendment.




            Contacts for Additional Information
            For contact information, refer to the organizational charts in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-21-directions-submitting-applications> or the Antimicrobials Web page <https://epa.gov/pesticide-
            contacts/contacts-office-pesticide-programs-antimicrobials-division>.




            References Cited in Chapter 4
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the sources of these documents.

            Code of Federal Regulation, Title 40



                       Part 152 – Pesticide registration and classification procedures
                       Part 158 – Data requirements for pesticides




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                         15/19
                                                                                                                                                AR0000439
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 440Products
                                                                                                                 of 739
                                                                                                                      | US EPA




                      Section 2(mm)
                      Section 2(u)




            Federal Food, Drug and Cosmetic Act <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>



                      Section 408 - Tolerances and Exemptions for Pesticide Chemical Residues




            Resource Conservation and Recovery Act (RCRA) <https://epa.gov/laws-regulations/summary-resource-conservation-and-recovery-act>

            Label Review Manual <https://epa.gov/pesticide-registration/label-review-manual>

            40 CFR Part 158W Data Requirements for Antimicrobial Pesticides



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JULY 11, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                            16/19
                                                                                                                                                 AR0000440
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 441Products
                                                                                                                 of 739
                                                                                                                      | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     17/19
                                                                                                                           AR0000441
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 442Products
                                                                                                                 of 739
                                                                                                                      | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                                     18/19
                                                                                                                                            AR0000442
8/14/23, 1:37 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3      Filed
                                                                     4 - Additional    04/24/24for Antimicrobial
                                                                                    Considerations Page 443Products
                                                                                                                 of 739
                                                                                                                      | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-4-additional-considerations                     19/19
                                                                                                                           AR0000443
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR     Document
                                          Pesticide Registration 57-3    Filed 504/24/24
                                                                 Manual: Chapter                Page
                                                                                 - Registration Fees | US444
                                                                                                          EPA of 739




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 5
            - Registration Fees
            In this chapter:
                Registration Fees                                                                                  Registration Manual
                    Background
                                                                                                                    Table of Contents
                Actions that Require a Fee
                    New Active Ingredient                                                                         Pesticides Registration Manual
                                                                                                                  Home Page <https://epa.gov/pesticide-
                    New Use (As Defined in 40 CFR 152.3)
                                                                                                                  registration/pesticide-registration-
                    Experimental Use Permit (As Defined in 40 CFR 172.2)
                                                                                                                  manual>
                Fee Determinations and Payments
                                                                                                                  Introduction
                    Small Business Fee Waivers
                                                                                                                  <https://epa.gov/pesticide-
                    Fee Exemptions
                                                                                                                  registration/pesticide-registration-
                    Minor Use Fee Waivers/Exemptions                                                              manual-introduction>
                Initial Contents Screen
                                                                                                                  How to Register a Pesticide
                Preliminary Technical Screen
                                                                                                                  Product – A Guide for Applicants
                Withdrawn Applications                                                                            New to the Process
                Decision Review Periods (PRIA 3 Timeframes)                                                       <https://epa.gov/pesticide-

                    Negotiated Due Dates or Due Date Extensions                                                   registration/how-register-pesticide-guide-
                                                                                                                  applicants-new-process>
                    PRIA 3 "Cannot Grant" Determination
                Denials                                                                                             1. Requirements for Pesticide
                Annual Pesticide Registration Maintenance Fees                                                         Registration and Registrant
                Contacts for Additional Information                                                                    Obligations
                                                                                                                      <https://epa.gov/pesticide-
                References Cited in Chapter 5
                                                                                                                      registration/pesticide-registration-
                                                                                                                      manual-chapter-1-overview-
                                                                                                                      requirements-pesticide>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                               1/20
                                                                                                                                                             AR0000444
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US445
                                                                                                         EPA of 739




            Registration Fees                                                                           2. Registering a Pesticide
                                                                                                           Product <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
            Background
                                                                                                          manual-chapter-2-registering-
            An amendment to FIFRA in 2004 created a registration service fee system                       pesticide-product>
            for applications for specific pesticide registration, amended registration,                 3. Additional Considerations for
            and associated tolerance actions. This amendment, contained in the                            Biopesticide Products
            Consolidated Appropriations Act of 2004 (Pub. L. 108-199 (HR 2673)),                          <https://epa.gov/pesticide-
            established a new section 33 of the Federal Insecticide, Fungicide, and                       registration/pesticide-registration-
            Rodenticide Act (FIFRA) <https://epa.gov/laws-regulations/summary-federal-                    manual-chapter-3-additional-
            insecticide-fungicide-and-rodenticide-act>. The goal is to create a more predictable          considerations>
            evaluation process for affected pesticide decisions and couple the
                                                                                                        4. Additional Considerations for
            collection of individual fees with specific decision review periods. The
                                                                                                          Antimicrobial Products
            provision specific to FIFRA is also known as the Pesticide Registration
                                                                                                          <https://epa.gov/pesticide-
            Improvement Act of 2003 (PRIA) <https://epa.gov/pria-fees>.
                                                                                                          registration/pesticide-registration-

            The registration service fee system was reauthorized by the Pesticide                         manual-chapter-4-additional-
                                                                                                          considerations>
            Registration Improvement Extension Act (PRIA 3) <https://epa.gov/pria-fees>
            until September 30, 2019 although the decision times or the timeframe or                    5. Registration Fees
            amount of time that the Agency has to make a decision under the system                      6. Amending a Registered
            do not apply to applications received after September 30, 2017.                                Pesticide Product
                                                                                                          <https://epa.gov/pesticide-
            Regulatory actions are categorized first by type of chemical (i.e.,
                                                                                                          registration/pesticide-registration-
            conventional, antimicrobial, or biopesticide chemical product), and next
                                                                                                          manual-chapter-6-amending-
            by the type of action (e.g., new active ingredient (nonfood use), new food
                                                                                                          registered-pesticide>
            use, new registration of an old product, etc.). Under this system, each
                                                                                                        7. Notifications and Minor
            individual category corresponds to a certain registration service fee and
                                                                                                          Formulation Amendments
            decision review period.
                                                                                                          <https://epa.gov/pesticide-
            The fees and decision review periods may change between fiscal years                          registration/pesticide-registration-
            and fees are periodically increased as prescribed by statute. Applicants                      manual-chapter-7-notifications-and-
            should refer to the most recent fee schedule available on the PRIA 3 Web                      minor-formulation>
            <https://epa.gov/pria-fees> page prior to paying a fee.                                     8. Inert Ingredients
                                                                                                          <https://epa.gov/pesticide-
            The Pesticide Registration Improvement Extension Act can be
                                                                                                          registration/pesticide-registration-
            reauthorized and revised by Congress at any time. Congress may amend
                                                                                                          manual-chapter-8-inert-ingredients>
            provisions such as the fee categories, fees, and procedures at that time.
            Changes in policy and process may also occur. Applicants should refer to                    9. Supplemental Distribution of
            the Agency registration service fee and PRIA 3 Web page <https://epa.gov/pria-                 a Registered Pesticide
                                                                                                          <https://epa.gov/pesticide-
            fees> for the most recent regulations, policy and guidance and to
                                                                                                          registration/pesticide-registration-
            determine whether their application requires a fee and the applicable
                                                                                                          manual-chapter-9-supplemental-
            decision review period. Some of the key links are provided below:
                                                                                                          distribution-registered>

                                                                                                       10. Data Compensation
                                                                                                           Requirements
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-10-data-
                                                                                                          compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                   2/20
                                                                                                                                                 AR0000445
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US446
                                                                                                         EPA of 739




                                                                                                       11. Tolerance Petitions
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-11-tolerance-
                                                                                                           petitions>

                                                                                                       12. Applying for an Experimental
                                                                                                           Use Permit
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-12-applying-
                                                                                                           experimental-use-permit>

                                                                                                       13. Devices <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-13-devices>

                                                                                                       14. How to Obtain an EPA
                                                                                                           Establishment Number
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-14-how-obtain-epa-
                                                                                                           company-or>

                                                                                                       15. Submitting Data and
                                                                                                           Confidential Business
                                                                                                           Information
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-15-submitting-data-
                                                                                                           and-confidential>

                                                                                                       16. Transfer of Product
                                                                                                           Registrations and Data Rights
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-16-transfer-product-
                                                                                                           registrations-and>

                                                                                                       17. State Regulatory Authority
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-17-state-regulatory-
                                                                                                           authority>

                                                                                                       18. Other Federal or State Agency
                                                                                                           Requirements
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-18-other-federal-or-
                                                                                                           state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                    3/20
                                                                                                                                                  AR0000446
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US447
                                                                                                         EPA of 739




                                                                                                       19. How to Obtain Publications
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-19-how-obtain-
                                                                                                          publications>

                                                                                                       20. Forms and How to Obtain
                                                                                                          Them <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-20-forms-and-how-
                                                                                                          obtain-them>

                                                                                                       21. Directions for Submitting
                                                                                                           Applications and Contacting
                                                                                                          EPA <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-21-directions-
                                                                                                          submitting-applications>


                                                                                                       Appendices

                                                                                                          Appendix A: Guidance
                                                                                                          Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-guidance-
                                                                                                          documents>

                                                                                                          Appendix B: Examples of
                                                                                                          Registrant Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-b-examples-
                                                                                                          registrant-documents>

                                                                                                          Appendix C: Pesticide Forms
                                                                                                          Overview Table
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-c-pesticide-forms-
                                                                                                          overview-table>

                                                                                                          Appendix D: Examples of
                                                                                                          Completed Forms
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-d-examples-
                                                                                                          completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                   4/20
                                                                                                                                                 AR0000447
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US448
                                                                                                         EPA of 739




                      Fee tables <https://epa.gov/pria-fees/fy-2023-2024-fee-schedule-registration-applications>
                      Fee category decision tree <https://epa.gov/node/45435/>
                      Small business waivers <https://epa.gov/node/46523/>
                      IR-4 exemptions <https://epa.gov/node/46547/>
                      Fee reduction and refund formula <https://epa.gov/node/49547/>
                      Paying fees <https://epa.gov/node/46913/>




            Actions that Require a Fee
            A fee or a waiver from paying the fee is required for the following types of actions (refer to Chapter 2
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product> for additional information):




                      new active ingredients,
                      new uses,
                      new products,
                      certain amendments,
                      certain tolerances,
                      certain inert ingredients,
                      certain combination products,
                      cancer reassessments and certain ecological/endangered species assessments,
                      manufacturing use products (MUPs),
                      experimental use permits (EUPs),
                      human study protocols and completed studies that require review by the Human Studies
                      Review Board,
                      certain covered actions that require external review by the FIFRA Science Advisory
                      Panel,
                      Gold Seal letters,
                      Exclusive use of data extension requests.




            Actions not covered by fees include but are not limited to:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                            5/20
                                                                                                                                                          AR0000448
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US449
                                                                                                         EPA of 739




                      the re-establishment of a time-limited tolerance;
                      review of confirmatory data submitted in support of an already-issued registration
                      (excluding efficacy data);
                      Agency-initiated amendments (e.g., label amendments to comply with a reregistration
                      eligibility decision);
                      label amendments involving an advisory statement as described in Pesticide
                      Registration Notice 95-2; SEARCH EPA ARCHIVE <https://archive.epa.gov/>
                      label amendments that involve only changes specified in Pesticide Registration Notice
                      2005-1 <https://epa.gov/pesticide-registration/prn-2005-1-labeling-statements-products-used-adult-mosquito-control>
                      submission of a sub-registrant/supplemental distributor label;
                      Special Local Needs registrations submitted under FIFRA section 24(c) <https://epa.gov/pesticide-
                      registration/pesticide-registration-manual-chapter-17-state-regulatory-authority>;

                      Emergency Exemption requests submitted under FIFRA section 18 <https://epa.gov/pesticide-
                      registration/pesticide-registration-manual-chapter-17-state-regulatory-authority>;

                      notifications as described in Pesticide Registration Notice 98-10 <https://epa.gov/pesticide-
                      registration/prn-98-10-notifications-non-notifications-and-minor-formulation-amendments>;

                      Fast-track amendments <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-
                      registered-pesticide>;

                      Minor formulation amendments as described in Pesticide Registration Notice 98-10
                      <https://epa.gov/pesticide-registration/prn-98-10-notifications-non-notifications-and-minor-formulation-amendments>

                      registrant responses to State Label Information Tracking System (SLITS) inquiries; and
                      6(a)(2) submissions.




            If, upon initial review by the Agency of an application submitted as a non-PRIA 3 action, the Agency determines that the
            application is covered by PRIA 3, the Agency will inform the applicant and invoice or bill the applicant for the
            registration service fee. The fee is due upon submission of the PRIA 3 application. If the applicant submits a pesticide
            registration application without a fee and withdraws the application before paying the fee, the applicant will
            nonetheless owe 25% of the fee.

            Under PRIA 3, there are 189 fee categories that have been grouped to reflect the three major types of pesticidal
            products - antimicrobial (A categories), biopesticide (B categories), and conventional active ingredients (R categories) -
            and the type of action as well as inert ingredients and miscellaneous actions. EPA has issued and will update as needed
            its interpretation of the fee categories in fee interpretation guidance <https://epa.gov/pria-fees>. Questions concerning
            whether a fee is required or the interpretation of a fee category should be referred to the Registering Division.

            General definitions for the difference types of actions covered by PRIA 3 include:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                              6/20
                                                                                                                                            AR0000449
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US450
                                                                                                         EPA of 739




            New Active Ingredient


                      An active ingredient that is not currently contained as an active ingredient in any
                      registered pesticide product.




            New Use (As Defined in 40 CFR 152.3)


                      New use, when used with respect to a product containing a particular active ingredient,
                      means:
                           any proposed use pattern that would require the establishment of, the increase in, or
                           the exemption from the requirement of a tolerance regulation under section 408 of
                           the Federal Food, Drug, and Cosmetic Act;
                           any aquatic, terrestrial, outdoor, or forestry use pattern, if no product containing
                           the active ingredient is currently registered for that use pattern; or
                           any additional use pattern that would result in a significant increase in the level of
                           exposure, or a change in the route of exposure, of the active ingredient to man or
                           other organisms.




            Experimental Use Permit (As Defined in 40 CFR 172.2)
            A permit authorized under FIFRA section 5 that allows applicants to develop data to support an anticipated registration
            application and may involve a pesticide not registered with the Agency, or a registered pesticide for a use not previously
            approved in the registration of the pesticide.

            Pesticides under experimental use permits may not be sold or distributed other than through participants and, if sold
            or distributed through participants, may be used only at an application site of a cooperator and in accordance with the
            terms and conditions of the experimental use permit. Read more about EUPs in Chapter 12 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit>.




            Fee Determinations and Payments
            Under section 33(b)(2)(D), the fee is due upon submission of the application and is either



                      the fee prescribed by the fee category;
                      a request for an exemption from registration service fees; or
                      a portion of the fee with the remainder covered by a request for a fee waiver or
                      reduction.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                     7/20
                                                                                                                                  AR0000450
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US451
                                                                                                         EPA of 739




            A reduction of 50% or 75% in the fee can be granted for a qualified small business. Applications from federal and state
            agencies and those solely associated with a tolerance petition submitted by IR-4 can be exempted from registration
            service fees. Fees may be reduced or exempted for minor uses. Applications with exemptions and waivers are discussed
            in subsequent sections of this chapter.

            Section 33(b)(2)(F) directs the Agency to reject any application submitted without the required registration service fee.
            A portion of the fee, 25%, is non-refundable once an application is submitted per section 33(b)(2)(G), even if it is
            rejected. If any fee is unpaid 30 days after the fee is due, it shall be treated as a claim of the U.S. government subject to
            subchapter II of chapter 37 of title 31, United States Code.

            To help applicants identify the appropriate fee and pay it in advance of submitting an application (pre-payment) or
            upon submission to EPA, the Fee Determination Decision Tree <https://epa.gov/pria-fees/pria-4-fee-determination-decision-tree> is
            available. Through a series of questions and answers, pesticide registration applicants are led to the appropriate fee
            category and fee.

            A certification of payment should be the first page of the submission or application and precede a cover letter or fee
            waiver or reduction request to enable the Agency to match a payment with an application. Credit or debit card, PayPal,
            Dwolla or wire transfer payments (ACH) can be made using the Department of Treasury’s pay.gov system, which
            provides an acknowledgement of payment. Credit card payments will only be accepted on amounts not greater than
            $24,999. PayPal or Dwolla payments will only be accepted on amounts not greater than $10,000. Wire transfer
            payments (ACH) will be accepted in any amount. Please note that checks will not be accepted after October 1, 2015.

            Once the Agency receives an application covered by PRIA 3, the Agency assigns it a fee category and fee. If the Agency
            has not received the appropriate payment, the Agency invoices the applicant for the unpaid portion, typically within 48-
            72 hours of receipt of an application. During an in-depth review of the application, the Agency may determine that the
            application belongs to a different fee category and if fees are due, will invoice the applicant for any difference owed.
            The invoice will contain payment instructions. In the case of an overpayment, the Agency will provide a refund for the
            overpaid amount. If upon receiving an invoice, an applicant disagrees with the PRIA 3 fee category or amount, it should
            not pay the fee and contact the appropriate Registration Ombudsman <https://epa.gov/node/51787/> to discuss the situation.
            The phone number of the Registration Ombudsman will be included in the invoice.

            Unless the applicant is requesting a fee waiver or exemption, the decision review period (i.e., the PRIA 3 timeframe)
            begins 21 days after receipt of the application and the fee. When a fee category is changed, the PRIA 3 timeframe will be
            recalculated.

            Small Business Fee Waivers
            Each request <https://epa.gov/node/46523/> must be submitted with supporting documentation and a certification. If more
            than one registration application is submitted at the same time, the supporting documentation should be submitted
            with each registration request.

            The Agency will review the documentation provided by the applicant as well as other available information to
            determine if the applicant meets the applicable criteria for a fee waiver. The Agency will respond in writing to the
            applicant with the decision regarding the waiver. If the waiver is denied, the letter or invoice will include the amount to
            be paid and instructions for submitting payment. Should an applicant disagree with the Agency’s decision on a fee
            waiver or reduction, the applicant should respond to the invoice with a written appeal including a rationale explaining
            why the original request should be granted or the Agency’s decision should be reversed, following the instructions on
            the small business fee waiver Web pages. Once received by the Office of Pesticide Programs, the Agency will review the
            appeal and then call the applicant to explain the Agency's decision, followed by a confirmatory letter.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                             8/20
                                                                                                                                           AR0000451
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US452
                                                                                                         EPA of 739




            Waiver Decisions and Decision Review Times



                      If no additional fees are required, the decision review period begins the earlier of
                           the date the Agency grants the small business fee waiver or
                           60 days after submission of the application.
                      If the Agency grants the small business request but additional fees are still due, the
                      decision review period begin when the Agency receives certification of payment of the
                      outstanding portion of the registration service fee.
                      If the Agency denies the request for a small business fee waiver, the decision time
                      review period begins when the Agency receives certification of payment of the
                      registration service fee.
                      If the fee is paid in full before the Agency completes its review of the fee waiver request,
                      the fee waiver request will not be considered further.




            CBI Claims

            A business confidentiality claim covering part or all of the information in the application may be claimed at the time it is
            submitted to the Agency. Information on such claims may be found in Chapter 10 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-10-data-compensation-requirements> and Chapter 15 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential> describes how to submit Confidential Business
            Information (CBI).

            Fee Exemptions
            Under FIFRA section 33(b)(7)(E), the Agency shall exempt an application from the registration service fee if it determines
            that the application is solely associated with a tolerance petition submitted in connection with the Inter-Regional
            Research Project Number 4 (IR-4) and that the exemption is in the public interest. Submission of the application and the
            request for the exemption are coordinated by IR-4. Guidance on IR-4 exemptions <https://epa.gov/node/46547/> is available
            and should be closely followed. Applications from agencies of the federal government or a state government are also
            exempt from registration service fees <https://epa.gov/node/46567/>.

            The Agency will review the exemption request and confirm that the request meets the criteria in section 33 –
            specifically, whether the application is solely associated with an IR-4 tolerance petition and the exemption is in the
            public interest or, in the case of a federal or state government exemption, whether the applicant qualifies as a federal or
            state agency. It is the applicant’s responsibility to establish that it is in fact a state agency under applicable state law.
            EPA will generally defer to the opinion of a state attorney general on matters of state law and whether an applicant is a
            “state agency.” The decision time review period begins when the Agency grants the exemption from a registration
            service fee.

            Minor Use Fee Waivers/Exemptions
            Either a fee waiver or exemption may be requested with an application for a new minor use under FIFRA section 33(b)
            (7)(D). In general, the Agency may exempt the fee or waive a portion of the registration service fee for an application for
            minor uses of a pesticide. Applicants requesting such a waiver or exemption shall provide supporting documentation




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                9/20
                                                                                                                                              AR0000452
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US453
                                                                                                         EPA of 739




            that demonstrates to the satisfaction of the Agency that anticipated revenues from the uses that are the subject of the
            application would be insufficient to justify imposition of the full application fee. Applicants may also contract a
            Registration Ombudsman <https://epa.gov/node/51787/>.

            The Agency will review a minor use exemption or partial fee waiver request to determine whether the use is a minor use
            and that anticipated revenues will be insufficient to justify imposition of the entire fee. In the case of a request for a
            minor use exemption, the decision review period begins when the Agency grants the exemption from a registration
            service fee. In the case of a request to waive a portion of the fee, the start of the decision review period will be
            calculated in the same manner as a small business waiver request.

            Other Fee Reductions

            Under section 33(b)(8)(C) of FIFRA, the Agency has discretionary authority to issue a partial refund (up to 75%) of
            registration service fee on the basis that, in reviewing the application, the Administrator has considered data submitted
            in support of another pesticide registration application or submitted in support of an application pending with the
            Agency on March 24, 2004. Some discretionary refunds are routine and are applied at the time of submission. Guidance
            on these refunds may be obtained on the primary/secondary <https://epa.gov/node/46487/> Web page and by contacting
            a Registration Ombudsman <https://epa.gov/node/51787/>.

            All discretionary refund requests must be requested up front and be included in the application. Before submitting an
            application, it is recommended that discretionary refunds first be discussed with the appropriate Registration
            Ombudsman. In most instances, the applicant will pay the appropriate fee and the Agency will then provide the
            discretionary refund after the data have been reviewed and the Agency knows the amount of work involved. The
            request must be submitted either in the cover letter for the application or on the application form. The Agency suggests
            that the applicant as part of the request submit a rationale for the request. The rationale should reference the previous
            applications and could contain a comparison of the data submitted previously and with the application against the
            data requirements. To calculate the amount of any discretionary refund, the Agency will compare the data and
            information reviewed in past applications with that submitted in the new application. (For more information on
            refunds see Fee reduction and refund formula <https://epa.gov/node/49547/>). The maximum amount of any fee reduction
            is 75%. If a fee is reduced by 75% as a result of a discretionary refund, the fee cannot be further reduced by a small
            business fee waiver. A portion of the fee, 25%, is always nonrefundable. Also, if an application is rejected, a refund may
            be appropriate.




            Initial Contents Screen
            FIFRA section 33(f)(4)(B), “Initial Content and Preliminary Technical Screenings,” first directs the Agency, no later than
            21 days after receiving an application and the required registration service fee, to conduct an initial screening of the
            contents of the application. In conducting this screen, the Agency must determine:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                          10/20
                                                                                                                                         AR0000453
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US454
                                                                                                         EPA of 739




                   1. whether the applicable registration service fee has been paid; or
                   2. at least 25% of the applicable registration service fee has been paid and the application
                      contains a waiver or refund request for the outstanding amount and documentation
                      establishing the basis for the waiver request; and
                   3. that the application contains all the necessary forms, data, and draft labeling, formatted
                      in accordance with guidance published by the Agency.




            A screening worksheet was developed and tested for the Agency’s internal use and is available to help applicants
            assemble their submission. In conducting the screen, the Agency will verify that the payment requirements have been
            met. If they have not, the applicant must resolve any fee issue by the end of the 21-day period. The Agency will reject
            applications with an unpaid fee and invoice the applicant for 25% of the fee. If there are other missing contents, an
            Agency representative will contact the applicant with instructions on how to submit the missing form, label, data, or
            other information.

            If the application fails the screen and cannot be corrected by the applicant within the 21-day period, the Agency will
            reject the application not later than 10 days after making the determination and will retain 25% of the fee.

            Certain forms that are often missing from the data submission include the Offer to Pay statement, Formulator’s
            Exemption statement, and the Data Matrix Form.

            Specific problems with Data Matrix requirements include failure to include all required generic and product-specific
            data, and for data previously submitted to EPA, citing incorrect EPA Master Record Identifier (MRID) Numbers or the
            unique cataloging numbers assigned to individual pesticide studies at the time of their submission to EPA. The
            Certification with Respect to Citation of Data form (EPA Form 8570-34 <https://epa.gov/pesticide-registration/pesticide-registration-
            manual-blank-forms>) must always accompany a Data Matrix form.


            An application will be rejected if the required three copies of the data are not properly bound and formatted.

            Do not forget to provide a Data Matrix Form showing the data and for data previously submitted to EPA, corresponding
            MRID numbers if the Selective Method of data support is used. Applicants must use the Data Matrix to list companies to
            whom they have made offers to pay when using the Cite-all Method of data support.

            After the 21-day initial content screen is completed, PRIA 3 directs the Agency to conduct a Preliminary Technical
            Screen of the application.




            Preliminary Technical Screen
            FIFRA section 33(f)(4)(B), “Initial Content and Preliminary Technical Screenings” directs the Agency to conduct a
            preliminary technical screen of the application. This screening is conducted no later than 45 days after the start of the
            decision review period for actions with decision review time periods equal to or less than 6 months and no later than 90
            days after the start of the decision review period for actions with decision review time periods greater than 6 months. In
            conducting this technical screen, the Agency determines whether:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                11/20
                                                                                                                                              AR0000454
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US455
                                                                                                         EPA of 739




                   1. the application and the data and information submitted with the application are
                      accurate and complete, and
                   2. the application, data and information are consistent with the proposed labeling and any
                      proposed tolerance or tolerance exemption, and
                   3. the application, data and information are such that subject to full review could result in
                      the granting of the application.




            If the application fails the technical screen, and the deficiencies cannot be corrected by the applicant within 10
            business days after receipt of the Agency’s notification of the failure, the Agency will reject the application.




            Withdrawn Applications
            If the applicant withdraws a pesticide registration application before paying the fee, the applicant still owes the
            nonrefundable portion, 25%, of the fee. An invoice will be sent to the applicant for the amount due. Fees that are not
            been paid within 30 days of submission of the application are subject to collections.

            If the applicant withdraws a pesticide registration application after paying a fee and during the first 60 days after the
            beginning of the applicable decision time review period, EPA must refund all but 25% of the total registration service
            fees. The Agency will confirm that the application has been withdrawn, and the refund will be sent to the applicant as
            soon as practical. However, if the applicant was granted a small business fee waiver of 75%, no refund will be provided
            since 25% of the fee is nonrefundable.

            If a pesticide registration application is withdrawn after paying a fee and after the first 60 days after the beginning of the
            applicable decision time review period, EPA must determine what portion, if any, of the total registration service fee for
            the application may be refunded based on the proportion of the work completed at the time of withdrawal. The
            maximum that can be refunded is 75% of the total fee. The Agency uses a fee-reduction formula <https://epa.gov/pria-
            fees/overview-pria-fee-reduction-and-refund-formula>, updated for PRIA 3, and has 90 days to make this determination. The
            Agency will confirm that the application has been withdrawn and in this confirmation letter notify the applicant of the
            percentage of the fee that will be refunded. Any refund will be sent to the applicant as soon as practical. If the applicant
            was granted a small business fee waiver of 75%, no refund will be provided since 25% of the fee is nonrefundable.

            Once an application has been withdrawn, any future submission related to the withdrawn application must be
            submitted as a new application that requires either the appropriate fee, a percentage of the fee with a fee waiver
            request for the remainder, or a request for an exemption of the registration service fee.




            Decision Review Periods (PRIA 3 Timeframes)
            Each PRIA 3 fee category has an associated period of time in which the Agency must make a determination, which has
            been called a decision review period or PRIA 3 timeframe. The Agency is committed to meeting the “PRIA 3 due dates.”
            For applications that do not include a request for a waiver or exemption, the PRIA 3 timeframe begins 21 days after
            receipt of the application and fee. As previously described, for applications with a waiver or exemption request, the
            PRIA 3 timeframe begins when the request is granted, or in the case of a waiver request, if no additional fee is required,




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                         12/20
                                                                                                                                        AR0000455
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US456
                                                                                                         EPA of 739




            the earlier of (i) the date the Agency grants the waiver or (ii) the date that is 60 days after receipt of the application. If
            the Agency denies the request for a waiver or if it grants the waiver and additional fees are required, the decision review
            period begins when the Agency receives payment of the outstanding portion of the registration service fee.

            At any time after the 21-day initial content screen and the 45-day or 90-day preliminary technical screen, during the
            Agency’s in-depth review of an application, the Agency may determine that an application is incomplete or that further
            information is needed in order to complete the Agency’s review. A 75-day deficiency letter may be issued pursuant to 40
            CFR 152.105 notifying the applicant that the applicant has 75 days in which to address the deficiencies or provide a
            schedule for addressing the deficiencies. If, after 75 days, the applicant has not responded, or fails to address the
            deficiencies within the time scheduled, the Agency will treat the application as if it has been withdrawn by the
            applicant. Once the Agency withdraws the application, a determination will be made on a refund as described in the
            section “Withdrawn Applications.”

            The Agency may also determine that there will be insufficient time for an applicant to submit the needed
            data/information and/or the Agency to review the data/information within the PRIA 3 timeframe. The Agency will then
            contact the applicant and discuss the situation. Some possible outcomes include:



                      withdrawal of the application (and a determination with respect to any refund);
                      negotiation of a new due date with the Agency;
                      a determination by the Agency on whether the application, in the absence of the data,
                      can be granted; or
                      a denial of the application based on data (or lack thereof) before the Agency.




            Negotiated Due Dates or Due Date Extensions
            The PRIA 3 due date may be extended by a mutual agreement between the applicant and the Agency. The new due date
            is called a negotiated due date. Negotiated due dates occur predominately as a result of missing information or data or
            data deficiencies identified during an in-depth review of the application. The due date then is extended to allow the
            applicant the time to submit the data or information and for the Agency to review the data and make a determination.

            In estimating the amount of time that may be required to address the issues and then make a determination on the
            application, the Agency analyzes which steps in its process need to be completed and the amount of time required for
            each. Steps in processing an application may include in-processing or intake of a submission, screening to determine
            its contents, data review, secondary or management review of documents, risk assessment, and regulatory decision-
            making. The amount of time that the applicant may take to submit the data or information is estimated and then the
            registering division estimates the amount of time it will take to reach a determination on the application.

            Delays in submitting information may result in the applicant requesting additional extensions in the due date; however,
            additional delays in submitting the data or information may result in a determination that the Agency cannot grant the
            application or denial of the application. If substantial delays are expected in submitting the data or information or a
            new due date cannot be estimated by the applicant, the applicant is advised to withdraw the application and submit a
            new application with the data or information at a later date. The withdrawal procedures in the section “Withdrawn
            Applications” would apply.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                         13/20
                                                                                                                                     AR0000456
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US457
                                                                                                         EPA of 739




            The process for reaching a negotiated due date generally involves the applicant submitting its request for or consent to
            an extension in writing (e-mail is sufficient) to the Agency representative, generally a Product Manager or Regulatory
            Action Leader. The registering division then finalizes the agreement by obtaining the approval of the Office Director or
            Deputy Office Director.

            PRIA 3 "Cannot Grant" Determination
            A determination by the Agency that it cannot grant the application completes the Agency’s review of the application
            under PRIA 3. Usually, it is a determination that on account of missing or deficient data, the Agency has determined that
            the application does not meet the standard for registration and, therefore, the application cannot be granted. It is not,
            however, a denial of the application pursuant to FIFRA section 3(c)(6). Once the Agency makes a determination that it
            cannot grant the application, the applicant may withdraw the application, continue to address any deficiencies without
            a PRIA 3 timeframe, or request a denial. If the applicant does not request the Agency to initiate denial proceedings or
            withdraw the application, the Agency may continue to diligently work with the applicant without a PRIA 3 timeframe or
            due date.




            Denials
            The denial process is described in section 3(c)(6) of FIFRA <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-
            and-rodenticide-act>and 40 CFR Part 152  . The process includes publication of a notice of denial in the Federal Register
            and a possible public hearing.




            Annual Pesticide Registration Maintenance Fees
            All section 3 and section 24(c) registrations are subject to an annual maintenance fee described in FIFRA Section 4(i)(5)
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>. PRIA 3 requires that $27.8 million in
            maintenance fees be collected for each of the five years of PRIA 3 (FY’13 – FY’17). Affected applicants will be contacted
            by mail in November with instructions for submitting the fee, which is due by January 15. No extensions of this due
            date are possible. The amount of the 2013 maintenance fee was $3,250 per product up to pre-set limits determined by
            legislation. The amount of the per product fee will vary from year to year as the fee is dependent upon the projected
            number of products for which registrants will pay this fee.

            Although there are procedures for requesting a fee waiver for individual products, maintenance fees will be reduced by
            25% for the first registration only, if the applicant can show that:



                   1. the applicant has 500 or fewer employees globally,
                   2. during the 3-year period prior to the most recent maintenance fee billing cycle the
                      applicant has average annual gross revenue from all sources that do not exceed
                      $10,000,000, and
                   3. the applicant holds a total of 5 or fewer registrations subject to the maintenance fee.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                               14/20
                                                                                                                                              AR0000457
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US458
                                                                                                         EPA of 739




            There also are maintenance fee waivers for products that meet certain narrow criteria in two categories: minor
            agricultural use products and public health pesticides. The procedure for requesting a fee waiver for individual
            products is described in the instructions.




            Contacts for Additional Information
            If an applicant has a question regarding the category in which a potential submission may fall, the applicant may
            contact one of the Registration Fee Ombudsmen (See Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-
            manual-chapter-21-directions-submitting-applications>).




            References Cited in Chapter 5
            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                      Section 3 - Registration of Pesticides
                      Section 18 - Exemption of Federal and State Agencies
                      Section 24(c) - Authority of States
                      Section 33 - Pesticide Registration Service Fees




            Code of Federal Regulation, Title 21



                      Part 152 - Pesticide Registration and Classification Procedures
                      Part 156 - Labeling Requirements for Pesticides and Devices
                      Part 157 - Packaging Requirements for Pesticide and Devices
                      Part 158 - Data Requirements for Registration
                      Part 161 - Data Requirements for Registration of Antimicrobial Pesticides
                      Part 162 - State Registration of Pesticide Products
                      Part 172 - Experimental Use Permits
                      Part 174 - Procedures and Requirements for Plant-Incorporated Protectants




            Federal Register Notices




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                15/20
                                                                                                                                               AR0000458
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US459
                                                                                                         EPA of 739




                      Federal Register Notice:March 17, 2004 (Volume 69, Number 52) Pesticides; Fees and
                      Decision Times for Registration Applications (PDF) <https://www.govinfo.gov/content/pkg/fr-2004-03-
                      17/pdf/04-6001.pdf>(10 pp, 223 K, About PDF <https://epa.gov/home/pdf-files>)

                      Federal Register Notice: June 2, 2005 (Volume 70, Number 105), [Page 32327-32335]
                      Pesticides; Revised Fee Schedule for Registration Applications (PDF)
                      <https://www.govinfo.gov/content/pkg/fr-2005-06-02/pdf/05-10998.pdf>(9 pp, 178 K, About PDF <https://epa.gov/home/pdf-

                      files>)

                      Federal Register Notice:October 30, 2007 (Volume 72, Number 209), [Page 61465-
                      61477] Pesticides; Revised Fee Schedule for Registration Applications (PDF)
                      <https://www.govinfo.gov/content/pkg/fr-2007-10-30/pdf/07-5381.pdf>(13 pp, 237 K, About PDF <https://epa.gov/home/pdf-

                      files>)

                      Federal Register Notice: August 5, 2008 (Volume 73, Number 151)Page 45438-45450]
                      Pesticides; Revised Fee Schedule for Registration Applications (PDF)
                      <https://www.govinfo.gov/content/pkg/fr-2008-08-05/pdf/e8-17936.pdf>(13 pp, 195 K, About PDF <https://epa.gov/home/pdf-

                      files>)

                      Federal Register Notice: August 11, 2010 (Volume 75, Number 154) Page 48672-48683)
                      Pesticides; Revised Fee Schedule for Registration Applications
                      <https://www.govinfo.gov/content/pkg/fr-2010-08-11/html/2010-19720.htm>

                      Federal Register Notice: September 26, 2013 (Volume 78, Number 187) [Page 59347 –
                      59359] Pesticides: Revised Fee Schedule for Registration Applications
                      <https://www.govinfo.gov/content/pkg/fr-2013-09-26/html/2013-23368.htm>




            PR Notices



                      PR Notice 86-5 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-
                      provisions> - Standard Format for Data Submitted Under the Federal Insecticide, Fungicide,
                      and Rodenticide Act (FIFRA) and Certain Provisions of the Federal Food, Drug, and
                      Cosmetic Act (FFDCA)
                      PR Notice 95-2 - Notifications, Non-Notifications and Minor Formulation
                      Amendments SEARCH EPA ARCHIVE <https://archive.epa.gov/>
                      PR Notice 98-10 <https://epa.gov/pesticide-registration/prn-98-10-notifications-non-notifications-and-minor-formulation-
                      amendments> - Notifications, Non-Notifications and Minor Formulation Amendments




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                   16/20
                                                                                                                                                  AR0000459
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US460
                                                                                                         EPA of 739




              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                                    17/20
                                                                                                                                                 AR0000460
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US461
                                                                                                         EPA of 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                       18/20
                                                                                                                      AR0000461
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US462
                                                                                                         EPA of 739




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                                             19/20
                                                                                                                                            AR0000462
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR     Document
                                         Pesticide Registration 57-3    Filed 504/24/24
                                                                Manual: Chapter                Page
                                                                                - Registration Fees | US463
                                                                                                         EPA of 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees                       20/20
                                                                                                                      AR0000463
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 464
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



            Pesticide                                       CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 6
            - Amending a Registered Pesticide
            Product
            In this chapter:
                Amending a Registered Pesticide Product                                                           Registration Manual
                    Amendment Toolkit
                                                                                                                   Table of Contents
                Amendments Requiring No Scientific Review of Data (Fast Track)
                    Labeling Change                                                                              Pesticides Registration Manual
                                                                                                                 Home Page <https://epa.gov/pesticide-
                    Formula Change
                                                                                                                 registration/pesticide-registration-
                Amendments Requiring Product-Specific Data
                                                                                                                 manual>
                Administrative Portion of the Registration Amendment Package
                                                                                                                 Introduction
                Data Portion of Registration Amendment Requiring Product-Specific
                                                                                                                 <https://epa.gov/pesticide-
                Data
                                                                                                                 registration/pesticide-registration-
                Amendments Requiring Generic Data (“New Uses”)
                                                                                                                 manual-introduction>
                Administrative Portion of the New Uses Amendment Package
                Data Portion of the Amendment Package                                                            How to Register a Pesticide
                                                                                                                 Product – A Guide for Applicants
                Review of Identical/Substantially Similar and Fast Track Amendments
                                                                                                                 New to the Process
                    Applications That Qualify for Expedited Review                                               <https://epa.gov/pesticide-
                    Applications That Do Not Qualify for Expedited Review                                        registration/how-register-pesticide-guide-
                    Active Ingredients from Unregistered Sources                                                 applicants-new-process>

                    Deletion of Use Patterns or Use Sites
                                                                                                                   1. Requirements for Pesticide
                How to Submit an Amendment Application for Expedited Review                                          Registration and Registrant
                Final Printed Labeling                                                                               Obligations
                Contacts for Additional Information                                                                  <https://epa.gov/pesticide-

                References Cited in Chapter 6                                                                        registration/pesticide-registration-
                                                                                                                     manual-chapter-1-overview-
            This chapter covers all aspects of amending a registered product including                               requirements-pesticide>
            label changes, formulation changes, associated data requirements, and
            the forms that need to be submitted.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                                  1/16
                                                                                                                                                            AR0000464
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR          Document
                                   Pesticide Registration           57-36 - Amending
                                                          Manual: Chapter    Filed 04/24/24        Page 465
                                                                                     a Registered Pesticide      of| US
                                                                                                            Product  739EPA




            Amending a Registered Pesticide                                                               2. Registering a Pesticide
                                                                                                             Product <https://epa.gov/pesticide-
            Product                                                                                         registration/pesticide-registration-
                                                                                                            manual-chapter-2-registering-
            Almost all modifications to the composition, labeling, or packaging of a
                                                                                                            pesticide-product>
            registered product must be submitted to EPA with an application for
                                                                                                          3. Additional Considerations for
            amended registration (EPA Form 8570‑1, Application for Pesticide
                                                                                                            Biopesticide Products
            Registration/Amendment <https://epa.gov/pesticide-registration/pesticide-
                                                                                                            <https://epa.gov/pesticide-
            registration-manual-blank-forms>).
                                                                                                            registration/pesticide-registration-
            Applications for amended registration must contain the information                              manual-chapter-3-additional-
            required by 40 CFR 152.50 , as applicable to the change requested.                              considerations>

            While not all changes to current registrations require an application for                     4. Additional Considerations for
            amendment, if an application for amended registration is required, the                          Antimicrobial Products
            application must be approved by the Agency before the modified product                          <https://epa.gov/pesticide-
            may be legally distributed or sold.                                                             registration/pesticide-registration-
                                                                                                            manual-chapter-4-additional-
            Amendments for certain minor changes may qualify as a “notification,”
                                                                                                            considerations>
            which does not require approval before sale or distribution. These
            amendments are discussed in Chapter 7 <https://epa.gov/pesticide-                             5. Registration Fees
                                                                                                            <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation>.
                                                                                                            registration/pesticide-registration-
            General guidance for notifications is PR Notice 98-10 <https://epa.gov/pesticide-
                                                                                                            manual-chapter-5-registration-fees>
            registration/prn-98-10-notifications-non-notifications-and-minor-formulation-amendments>.
                                                                                                          6. Amending a Registered
            Amendment Toolkit                                                                                Pesticide Product
                                                                                                          7. Notifications and Minor
            Documents Necessary for Amendments Requiring an Application
                                                                                                             Formulation Amendments
            Generally, one or more of the following items may be required when                              <https://epa.gov/pesticide-

            submitting an amendment to a product registration for EPA approval:                             registration/pesticide-registration-
                                                                                                            manual-chapter-7-notifications-and-
                                                                                                            minor-formulation>

                                                                                                          8. Inert Ingredients
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-8-inert-ingredients>

                                                                                                          9. Supplemental Distribution of
                                                                                                             a Registered Pesticide
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-9-supplemental-
                                                                                                            distribution-registered>

                                                                                                         10. Data Compensation
                                                                                                            Requirements
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-10-data-
                                                                                                            compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                         2/16
                                                                                                                                                   AR0000465
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 466
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




                                                                                                        11. Tolerance Petitions
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-11-tolerance-
                                                                                                            petitions>

                                                                                                        12. Applying for an Experimental
                                                                                                            Use Permit
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-12-applying-
                                                                                                            experimental-use-permit>

                                                                                                        13. Devices <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-13-devices>

                                                                                                        14. How to Obtain an EPA
                                                                                                            Establishment Number
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-14-how-obtain-epa-
                                                                                                            company-or>

                                                                                                        15. Submitting Data and
                                                                                                            Confidential Business
                                                                                                            Information
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-15-submitting-data-
                                                                                                            and-confidential>

                                                                                                        16. Transfer of Product
                                                                                                            Registrations and Data Rights
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-16-transfer-product-
                                                                                                            registrations-and>

                                                                                                        17. State Regulatory Authority
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-17-state-regulatory-
                                                                                                            authority>

                                                                                                        18. Other Federal or State Agency
                                                                                                            Requirements
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-18-other-federal-or-
                                                                                                            state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                         3/16
                                                                                                                                                   AR0000466
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 467
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




                                                                                                        19. How to Obtain Publications
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-19-how-obtain-
                                                                                                            publications>

                                                                                                        20. Forms and How to Obtain
                                                                                                            Them <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-20-forms-and-how-
                                                                                                            obtain-them>

                                                                                                        21. Directions for Submitting
                                                                                                            Applications and Contacting
                                                                                                            EPA <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-21-directions-
                                                                                                            submitting-applications>


                                                                                                        Appendices

                                                                                                            Appendix A: Guidance
                                                                                                            Documents
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-guidance-
                                                                                                            documents>

                                                                                                            Appendix B: Examples of
                                                                                                            Registrant Documents
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-b-examples-
                                                                                                            registrant-documents>

                                                                                                            Appendix C: Pesticide Forms
                                                                                                            Overview Table
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-c-pesticide-forms-
                                                                                                            overview-table>

                                                                                                            Appendix D: Examples of
                                                                                                            Completed Forms
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-appendix-d-examples-
                                                                                                            completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                         4/16
                                                                                                                                                   AR0000467
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR          Document
                                   Pesticide Registration           57-36 - Amending
                                                          Manual: Chapter    Filed 04/24/24        Page 468
                                                                                     a Registered Pesticide      of| US
                                                                                                            Product  739EPA




                      EPA Form 8570-1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Application For
                      Pesticide/Amendment (with the box checked [X] for Amendment);
                      EPA Form 8570-34 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Certification
                      with Respect to Citation of Data (if applicable);
                      EPA Form 8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Data Matrix (if
                      data are required);
                      EPA Form 8570-4 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Confidential
                      Statement of Formula (if applicable);
                      EPA Form 8570-27 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Formulator’s
                      Exemption Statement (if applicable);
                      Child-resistant packaging certification <https://epa.gov/pesticide-registration/child-resistant-packaging-pesticides>
                      ( if applicable);
                      Submission of supporting data (if applicable); and
                      Five copies of draft labeling (if applicable). Submitting labels electronically is highly
                      encouraged. Submit a text PDF copy on a CD <https://epa.gov/pesticide-registration/electronic-submission-labels>
                      and a Certification with Respect to Label Integrity <https://epa.gov/pesticide-registration/electronic-
                      submission-labels> certifying that the text PDF copy is the same as the paper copy.




            Amendments Requiring No Scientific Review of Data
            (Fast Track)
            Fast track amendments include labeling changes or basic or alternate product formulation changes that do not require
            supporting data. Fast track amendments are also not subject to PRIA fees (for further information on PRIA fees, see
            Chapter 5 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees>).

            If an amendment requests a change to a product that is “substantially similar” or “identical” to another product or
            “differs only in ways that would not significantly increase the risk of unreasonable adverse effects on the environment”
            from another product, the similar or identical product and its applicable data may be cited instead of submitting
            required product-specific data. This amendment, now described as an “identical/substantially similar amendment,”
            was formerly called a “me-too” amendment. Each applicant applying for an “identical/substantially similar”
            amendment must comply with the data compensation procedures as discussed in FIFRA section 3(c)(1)(F)
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>. A discussion of these requirements and
            the applicable forms are in Chapter 10 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-
            requirements> of this manual.


            Fast track amendments require the following documentation:

            Labeling Change
            These amendments require an Application for Pesticide Registration/Amendment (EPA Form 8570‑1
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>), and five copies of the proposed labeling. Labeling
            changes must comply with current regulations, policies, and format. Please refer to the Label Review Manual




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                         5/16
                                                                                                                                                 AR0000468
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR          Document
                                   Pesticide Registration           57-36 - Amending
                                                          Manual: Chapter    Filed 04/24/24        Page 469
                                                                                     a Registered Pesticide      of| US
                                                                                                            Product  739EPA




            <https://epa.gov/pesticide-registration/label-review-manual> for details regarding labeling changes. In addition, to facilitate
            processing, registrants are highly encouraged to submit their proposed label on a CD as a text PDF file
            <https://epa.gov/pesticide-registration/electronic-submission-labels> with a Certification with Respect to Label Integrity
            <https://epa.gov/pesticide-registration/electronic-submission-labels>.


            Formula Change
            Basic and alternate formula changes may be accomplished by amending a current registration only when the new
            formulation remains substantially similar to the original formula. See 40 CFR 152.43 . An Application for Pesticide
            Registration/Amendment (EPA Form 8570‑1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, with
            the box checked [X] for Amendment); the Confidential Statement of Formula (EPA Form 8570‑4 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-blank-forms>); and Formulator’s Exemption Statement (if applicable) (EPA Form 8570-
            27 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) are required when a revision to the basic
            formulation or an alternate formula is requested. Five copies of draft labeling are required if the revision to the formula
            results in a change in the ingredient statement on the label and in addition, registrants are highly encouraged to submit
            their proposed label on a CD as a text PDF file <https://epa.gov/pesticide-registration/electronic-submission-labels> with a
            Certification with Respect to Label Integrity <https://epa.gov/pesticide-registration/electronic-submission-labels>.

            Important Note: Some revisions to the formulation of pesticide products that control pests of public health
            significance may not be made through a fast track amendment. Such products (e.g., products to control pathogenic
            bacteria, viruses, mosquitoes, ticks, roaches, fleas, rats, and mice), may require the submission of efficacy data to
            support the revised formulation.




            Amendments Requiring Product-Specific Data
            When a product is initially submitted for registration, data specific to the product are required to be submitted or cited
            (Chapter 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product>).

            If an amendment proposes to change a product’s claims, precautions, or use directions such that the product or its
            labeling is substantially changed, then additional product-specific data may be required (e.g., acute toxicity, product
            chemistry, or efficacy) in some cases. Such amendments with product-specific data will require submission of an
            administrative package and a data package. Data previously submitted with another application may be cited instead.
            Any amendments that require data review are subject to PRIA fees (Chapter 5 <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-5-registration-fees>).


            Important Note: The discussion provided below concerning the information to be submitted with a data-supported
            amendment is general in nature and does not cover all possible types of amendments. Questions about the type of
            information to be submitted with the application should be addressed to the appropriate Product Branch or Divisional
            Ombudsman <https://epa.gov/pesticide-contacts/contacting-epa-about-regulating-pesticides-issues>.




            Administrative Portion of the Registration
            Amendment Package
            The administrative portion of a registration amendment package includes the following:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                    6/16
                                                                                                                                              AR0000469
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 470
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




                     EPA Form 8570‑1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Application for
                     Pesticide Registration/Amendment (with box checked [X] for Amendment);
                     For an “identical/substantially similar” amendment, a statement identifying the
                     currently registered product that is “substantially similar” or “identical” or “differs
                     only in ways that would not significantly increase the risk of unreasonable adverse
                     effects on the environment” by its EPA Registration Number and product name, and a
                     description of the labeled change being proposed for the product;
                     EPA Form 8570‑4 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Confidential
                     Statement of Formula, if proposing a change in the formulation;
                     EPA Form 8570-27 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Formulator’s
                     Exemption Statement, if applicable;
                     Five copies of the proposed draft labeling (Agency review is faster if the changes in the
                     proposed labeling are:
                        1. highlighted in a way that can be photocopied; or
                        2. computer edited, with italics, shading, and strike-out; or
                        3. hand marked on one copy; if a text PDF copy is submitted with a Certification with
                           Respect to Label Integrity, the electronic label should not be marked up. The Agency
                           will electronically compare the submitted label with the existing label to identify the
                           proposed changes.
                     EPA Form 8570‑34 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Certification
                     with Respect to Citation of Data; and
                     EPA form 8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Data Matrix.
                     The data required to support the application may be addressed by either submitting the
                     actual data or by referencing EPA's Master Record Identification (MRID) number on the
                     Data Matrix.




            Data Portion of Registration Amendment Requiring
            Product-Specific Data
            The data portion of a registration amendment that requires product-specific data may include the following items, as
            applicable (refer to 40 CFR 158 for data requirements and test guidelines for pesticides and toxic substances
            <https://epa.gov/test-guidelines-pesticides-and-toxic-substances> for testing protocols):




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                              7/16
                                                                                                                                        AR0000470
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 471
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




                      Acute toxicity data (40 CFR 161.340, 40 CFR 158.500, 40 CFR 158.2050, and 40 CFR
                      158.2140); especially if a change is proposed in the precautionary labeling or the signal
                      word for the product, and if no previously submitted data can be cited or referenced;
                      Product chemistry data 40 CFR 161.150-190, 40 CFR 158.300-355, 40 CFR 158.2030, and
                      40 CFR 158.2120 if the basic or alternate formulas are being changed substantially; and
                      Efficacy (product performance) data 40 CFR 161.640, 40 CFR 158.400, 40 CFR 158.2070,
                      and 40 CFR 158.2160 if proposing to add a new pest of public health significance, e.g.,
                      products to control pathogenic bacteria, viruses, mosquitoes, ticks, roaches, fleas, rats,
                      and mice. Changes to the basic product formulation may also require additional efficacy
                      data.

                Please note that efficacy data for nonpublic-health uses must be conducted and maintained
                on file by the registrant, although they are not generally required to be submitted for review.



            Important Note: When submitting data, three copies are required, properly bound and formatted in accordance with
            PR Notice 86‑5 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-provisions>. The
            Agency will at some point revise PR Notice 86-5 to reflect changes in process as a result of electronic submission.
            Applicants are advised to periodically consult the Agency’s pesticides website <https://epa.gov/pesticides> or the Agency’s
            registration ombudsman <https://epa.gov/pesticide-contacts/contacting-epa-about-regulating-pesticides-issues> for the latest guidance.
            Refer to Chapter 15 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential> for
            additional information on submitting data.




            Amendments Requiring Generic Data (“New Uses”)
            An amendment that proposes to add a “new use” (i.e., a crop or site that is not currently registered for any product
            containing a particular active ingredient) must be supported by new data. Examples would be a new crop or animal
            feed use, or a change in use pattern from indoor to outdoor use. New uses are defined in 40 CFR 152.3 . Supporting
            data for a new active ingredient and a new use are called generic data because they support the registration of the
            active ingredient rather than a specific product. Applications to amend a registration to add a new use contain an
            administrative portion and a data portion.

            Important Note: The discussion provided below concerning the information to be submitted with a new use
            amendment is general in nature and does not cover all possible types of new use amendments. Any questions
            concerning what information should be submitted with an application should be directed to the appropriate Product
            Branch for the product in the Antimicrobials Division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-
            antimicrobials-division>, Biopesticides and Pollution Prevention Division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-
            programs-biopesticides-and-pollution-prevention> or Registration Division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-
            programs-registration-division> (chemical pesticides).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                             8/16
                                                                                                                                                       AR0000471
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 472
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




            Administrative Portion of the New Uses Amendment
            Package
            The administrative portion of amendment applications includes the following:



                     EPA Form 8570‑1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Application for
                     Pesticide Registration/Amendment (with the box checked [X] for Amendment);
                     Five copies of the proposed draft labeling. (In addition, applicants should submit one
                     label clearly marked to show the addition(s), deletion(s), or change(s) proposed for the
                     amended labeling. This marked up label can be done on a copy of the proposed label or
                     on the label that was previously registered.
                     EPA’s review is faster if the changes in the proposed labeling are:
                        1. highlighted in a way that can be photocopied;
                        2. computer edited with italics, shading, and strike-out; or
                        3. hand marked; if a text PDF copy is submitted with a Certification with Respect to
                           Label Integrity, the electronic label should not be marked up.
                     EPA Form 8570‑34 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Certification
                     with Respect to Citation of Data;
                     EPA Form 8570‑27 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Formulator's
                     Exemption Statement (if applicable); and
                     EPA Form 8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Data Matrix.
                     The data required to support the application may be addressed by either submitting the
                     actual data or by referencing EPA's Master Record Identification (MRID) number on the
                     Data Matrix Chart.




            Data Portion of the Amendment Package
            Applicants should refer to 40 CFR Part 158 , and Test Guidelines for Pesticides and Toxic Substances <https://epa.gov/test-
            guidelines-pesticides-and-toxic-substances> to determine what data are required to support a new use. Applicants may be
            required to submit data on both the technical grade of the active ingredient and on the formulated product.



                     In addition, new food or feed uses will require a petition for a tolerance or an exemption
                     from the requirement of a tolerance. Please refer to Chapter 11 <https://epa.gov/pesticide-
                     registration/pesticide-registration-manual-chapter-11-tolerance-petitions> for a discussion on Tolerance Petitions.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                            9/16
                                                                                                                                      AR0000472
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 473
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




            Review of Identical/Substantially Similar and Fast
            Track Amendments
            Section 3(c)(3)(B)(ii) of FIFRA <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> requires EPA
            to expedite (fast track) the review of certain applications including amendments of a registered product for which
            scientific review of the data is not required. This section deals with fast track amendments that require no scientific
            data review by the Agency.

            For these amendments, EPA is required to:



                      determine within 21 days of receipt whether or not the application contains all of the
                      necessary forms and labeling formatted in accordance with guidance published by the
                      Agency and, if determined that contents are missing, to reject the application;
                      notify the applicant within 90 days after receiving a complete application whether the
                      application has been granted or denied; and
                      notify the applicant in writing of the specific reasons if the application is denied.




            Applications That Qualify for Expedited Review
            Applications for amended registration that do not need scientific review qualify for expedited registration under FIFRA
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> section 3(c)(3)(B)(ii). This includes any
            labeling or formulation change that is not significant (i.e., does not significantly increase risk) and for which either no
            data or minimal (i.e., confirmatory product chemistry, acute toxicity, or efficacy) data are submitted (for example, one
            or two acute toxicity bridging studies).

            Applications That Do Not Qualify for Expedited Review
            EPA will not expedite applications to amend the registration of products for which the proposed formulation or labeling
            varies significantly from that of currently registered products. Applications will not be expedited if the proposed
            amendments:



                      change the product so that it is not “substantially similar” or “identical” to another EPA
                      registered product, or
                      substantially change the same product, or
                      require review of scientific data.




            Active Ingredients from Unregistered Sources
            EPA will not expedite applications to amend the registration of products proposing unregistered source(s) of the active
            ingredient because extensive product chemistry and often toxicology data are required for these types of amendments.
            These data are more complex and require more time to review than the data associated with the administrative




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                          10/16
                                                                                                                                                     AR0000473
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 474
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




            applications for an amended registration described above. These applications are subject to PRIA <https://epa.gov/pria-fees>
            and have an associated fee <https://epa.gov/pria-fees>.

            Deletion of Use Patterns or Use Sites
            EPA will not expedite applications to amend the labeling of a registered product to delete use patterns and sites of use.
            Amendments for use deletions must be accompanied by a request for voluntary cancellation as described in section
            6(f) of FIFRA. FIFRA requires the Agency to publish 6(f) requests in the Federal Register and provide an opportunity for
            public comment on the requested use deletion before EPA may act upon such a request. Read about the voluntary
            cancellation process <https://epa.gov/node/189017>.




            How to Submit an Amendment Application for
            Expedited Review
            When submitting an application for amended registration to qualify for expedited “fast track” review, the word
            “EXPEDITE” (typed or printed) should appear at the top of the Application for Pesticide Registration/Amendment
            ((EPA Form 8570-1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) with the box checked [X] for
            Amendment) to facilitate identifying the application for expedited review.

            If the application is a submission of additional information in response to an objection letter from EPA, the word
            “EXPEDITE-RESUBMISSION” (typed or printed) should appear at the top of the Application for Pesticide
            Registration/Amendment (EPA Form 8570‑1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) with
            the box checked [X] for Amendment) and must include a copy of EPA's objection letter to allow the Agency to efficiently
            process the application.

            Important Note: For an explanation of the review process and procedures for processing applications, refer to Chapter
            2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product>.




            Final Printed Labeling
            After acceptance of a new product registration, labeling amendment, or labeling notification, final printed labeling
            must be submitted before the product is sold or distributed. See 40 CFR 156.10(a)(6) . Two copies of the final printed
            labeling that incorporate any labeling changes required by the acceptance letter and/or notification must be submitted.




            Contacts for Additional Information
            Any questions or need for additional information regarding label amendments should be directed to the appropriate
            Product Manager/Team Leader assigned the product in question. Refer to Chapter 21 <https://epa.gov/pesticide-
            registration/pesticide-registration-manual-chapter-21-directions-submitting-applications> for a listing of Product Branches. Please contact
            the Product Manager if there are questions concerning the status of identical/substantially similar or “me too” product
            applications.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                          11/16
                                                                                                                                                  AR0000474
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 475
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




            References Cited in Chapter 6
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            Code of Federal Regulation, Title 40



                      Part 152 - Pesticide Registration and Classification Procedures
                      Part 156 - Labeling Requirements for Pesticides and Devices
                      Part 157 - Packaging Requirements for Pesticide and Devices
                      Part 158 - Data Requirements for Registration
                      Part 158W - Data Requirements for Antimicrobial Pesticides
                      Part 180 - Tolerances and Exemptions from Tolerances for Pesticide Chemicals in Foods




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                      Section 2 - Definitions
                      Section 3 - Registration of pesticides
                      Section 6 - Administrative review; suspensions
                      Section 12 - Unlawful Acts




            Pesticide Registration Notices Web Site <https://epa.gov/pesticide-registration/pesticide-registration-notices-year>

            Label Review Manual <https://epa.gov/pesticide-registration/label-review-manual>



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                     12/16
                                                                                                                                                AR0000475
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 476
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                        13/16
                                                                                                                                                 AR0000476
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 477
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                  14/16
                                                                                                                             AR0000477
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 478
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                                 15/16
                                                                                                                                            AR0000478
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-36 - Amending
                                                         Manual: Chapter    Filed 04/24/24        Page 479
                                                                                    a Registered Pesticide      of| US
                                                                                                           Product  739EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-6-amending-registered-pesticide                  16/16
                                                                                                                             AR0000479
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR
                                 Pesticide RegistrationDocument      57-3
                                                       Manual: Chapter          Filed 04/24/24
                                                                       7 - Notifications               PageAmendments
                                                                                         and Minor Formulation 480 of 739
                                                                                                                       | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 7
            - Notifications and Minor Formulation
            Amendments
            In this chapter:
                Notifications, Non-Notifications, and Minor Formulation Amendments                                 Registration Manual
                    Parties Authorized to Submit
                                                                                                                    Table of Contents
                Labeling Notifications
                    Permitted Modifications to Registrations through Notification                                 Pesticides Registration Manual
                                                                                                                  Home Page <https://epa.gov/pesticide-
                Product Chemistry Notifications
                                                                                                                  registration/pesticide-registration-
                Submitting Notifications
                                                                                                                  manual>
                Non-Notifications
                                                                                                                  Introduction
                Minor Formulation Amendments
                                                                                                                  <https://epa.gov/pesticide-
                    Criteria for Accelerated Review
                                                                                                                  registration/pesticide-registration-
                    Grounds for Denying Accelerated Review                                                        manual-introduction>
                    Submitting Minor Formulation Amendments
                                                                                                                  How to Register a Pesticide
                Final Printed Labeling
                                                                                                                  Product – A Guide for Applicants
                Contacts for Additional Information                                                               New to the Process
                References Cited in Chapter 7                                                                     <https://epa.gov/pesticide-
                                                                                                                  registration/how-register-pesticide-guide-
                                                                                                                  applicants-new-process>

            Notifications, Non-                                                                                     1. Requirements for Pesticide

            Notifications, and Minor                                                                                  Registration and Registrant
                                                                                                                      Obligations
            Formulation Amendments                                                                                    <https://epa.gov/pesticide-
                                                                                                                      registration/pesticide-registration-
            This chapter discusses certain minor amendments that can be made to a
                                                                                                                      manual-chapter-1-overview-
            registered product and do not require the applicant to apply to amend a
                                                                                                                      requirements-pesticide>
            registration. Such amendments are not subject to the data compensation
            provisions of FIFRA section 3(c)(1)(F) <https://epa.gov/laws-regulations/summary-




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                             1/20
                                                                                                                                                             AR0000480
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 481 of 739
                                                                                                                      | US EPA




            federal-insecticide-fungicide-and-rodenticide-act> because they do not need to be              2. Registering a Pesticide
            supported by new data. To emphasize that these applications can only be                           Product <https://epa.gov/pesticide-
            submitted by the registrant of the product, the applicant is generally                           registration/pesticide-registration-
            referred to as “the registrant” in this chapter.                                                 manual-chapter-2-registering-
                                                                                                             pesticide-product>
            Some minor changes referred to as “notifications” can be made to a
                                                                                                           3. Additional Considerations for
            registration, such as changes to a brand name, provided that the Agency is
                                                                                                             Biopesticide Products
            notified before the change is made and before the product is distributed
                                                                                                             <https://epa.gov/pesticide-
            or sold.
                                                                                                             registration/pesticide-registration-

            “Non-notifications” are changes that can be made to a pesticide label                            manual-chapter-3-additional-

            without notifying the Agency (such as the correction of typographical                            considerations>

            errors).                                                                                       4. Additional Considerations for
                                                                                                             Antimicrobial Products
            Although a formulation change may only be accomplished through
                                                                                                             <https://epa.gov/pesticide-
            applying for amended registration, the Agency has developed an
                                                                                                             registration/pesticide-registration-
            accelerated review process for certain “minor formulation amendments”
                                                                                                             manual-chapter-4-additional-
            (such as the addition, deletion, or substitution of one or more fragrances,
                                                                                                             considerations>
            colorants, or other inert ingredients in a formulation).
                                                                                                           5. Registration Fees
            A notification does not constitute official acceptance of the product label,                     <https://epa.gov/pesticide-
            nor does it guarantee the product’s compliance with regulations. For more                        registration/pesticide-registration-
            detailed information, please refer to PR Notice 98-10 Notifications, Non-                        manual-chapter-5-registration-fees>
            Notifications and Minor Formulation Amendments <https://epa.gov/pesticide-                     6. Amending a Registered
            registration/prn-98-10-notifications-non-notifications-and-minor-formulation-amendments>.         Pesticide Product
                                                                                                             <https://epa.gov/pesticide-
            Parties Authorized to Submit                                                                     registration/pesticide-registration-
                                                                                                             manual-chapter-6-amending-
            Only the registrant or the authorized agent for the company may submit a
                                                                                                             registered-pesticide>
            notification or minor formulation amendment, which must be properly
            signed and dated. The registrant is also responsible for ensuring that the                     7. Notifications and Minor
            labeling of any of its distributors or supplementally registered products is                      Formulation Amendments
            in compliance with FIFRA. (Refer to 40 CFR Part 156 ) Supplemental                             8. Inert Ingredients
            distributors, commonly known as sub-registrants, may not submit                                  <https://epa.gov/pesticide-
            notifications, nor may registrants submit supplemental distributor                               registration/pesticide-registration-
            labeling for notifications.                                                                      manual-chapter-8-inert-ingredients>

                                                                                                           9. Supplemental Distribution of
            Important Note: An applicant or registrant should be aware that
                                                                                                              a Registered Pesticide
            knowingly falsifying any part of any application for registration or other
                                                                                                             <https://epa.gov/pesticide-
            information submitted to the Agency is an unlawful act under FIFRA
                                                                                                             registration/pesticide-registration-
            section 12 (a)(2)(M) and 18 USC 1001 and may result in civil or criminal
                                                                                                             manual-chapter-9-supplemental-
            penalties.
                                                                                                             distribution-registered>

                                                                                                         10. Data Compensation
                                                                                                             Requirements
            Labeling Notifications                                                                           <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
            Certain permitted changes to a registration require a notice to EPA but do
                                                                                                             manual-chapter-10-data-
            not require Agency approval. As provided in 40 CFR 152.46(a), minor
                                                                                                             compensation-requirements>
            changes that the Agency has determined have no potential to cause




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                    2/20
                                                                                                                                                    AR0000481
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR
                                 Pesticide RegistrationDocument      57-3
                                                       Manual: Chapter          Filed 04/24/24
                                                                       7 - Notifications               PageAmendments
                                                                                         and Minor Formulation 482 of 739
                                                                                                                       | US EPA




            unreasonable adverse effects to the environment can be made to a                               11. Tolerance Petitions
            registration, provided that the Agency is notified before the change is                            <https://epa.gov/pesticide-
            made. OPP refers to these changes as “notifications.” As described in 40                           registration/pesticide-registration-
            CFR 152.46(a), the Agency has issued a notice describing which actions are                         manual-chapter-11-tolerance-
            appropriate as notifications and the procedures to follow. See PR Notice                           petitions>
            98-10 <https://epa.gov/pesticide-registration/prn-98-10-notifications-non-notifications-and-   12. Applying for an Experimental
            minor-formulation-amendments>.                                                                     Use Permit
                                                                                                               <https://epa.gov/pesticide-
            Except for the special procedures for antimicrobials discussed below, it is
                                                                                                               registration/pesticide-registration-
            not necessary to obtain Agency approval of such a change or amendment,
                                                                                                               manual-chapter-12-applying-
            and the product may be distributed or sold, as changed, as soon as EPA
                                                                                                               experimental-use-permit>
            receives the notification of the change, as long as EPA does not reject the
            notification. However, to assure the registrants and state regulatory                          13. Devices <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
            agencies that a notification has been received and reviewed by the
                                                                                                               manual-chapter-13-devices>
            Agency, the Agency is attempting to respond in writing to all notifications.
                                                                                                           14. How to Obtain an EPA
            FIFRA, as amended in 1996, specifies slightly different notification                               Establishment Number
            requirements for antimicrobial products (FIFRA section 3(c)(9)). For                               <https://epa.gov/pesticide-
            antimicrobial products, registrants must notify the Agency of certain                              registration/pesticide-registration-
            labeling changes at least 60 days prior to distribution or sale of a product                       manual-chapter-14-how-obtain-epa-
            bearing the new label. The Agency may disapprove changes within 30                                 company-or>
            days of their receipt.
                                                                                                           15. Submitting Data and
                                                                                                               Confidential Business
                                                                                                               Information
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-15-submitting-data-
                                                                                                               and-confidential>

                                                                                                           16. Transfer of Product
                                                                                                               Registrations and Data Rights
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-16-transfer-product-
                                                                                                               registrations-and>

                                                                                                           17. State Regulatory Authority
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-17-state-regulatory-
                                                                                                               authority>

                                                                                                           18. Other Federal or State Agency
                                                                                                               Requirements
                                                                                                               <https://epa.gov/pesticide-
                                                                                                               registration/pesticide-registration-
                                                                                                               manual-chapter-18-other-federal-or-
                                                                                                               state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                      3/20
                                                                                                                                                      AR0000482
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 483 of 739
                                                                                                                      | US EPA




                                                                                                         19. How to Obtain Publications
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-19-how-obtain-
                                                                                                             publications>

                                                                                                         20. Forms and How to Obtain
                                                                                                             Them <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-20-forms-and-how-
                                                                                                             obtain-them>

                                                                                                         21. Directions for Submitting
                                                                                                             Applications and Contacting
                                                                                                             EPA <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-21-directions-
                                                                                                             submitting-applications>


                                                                                                         Appendices

                                                                                                             Appendix A: Guidance
                                                                                                             Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-guidance-
                                                                                                             documents>

                                                                                                             Appendix B: Examples of
                                                                                                             Registrant Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-b-examples-
                                                                                                             registrant-documents>

                                                                                                             Appendix C: Pesticide Forms
                                                                                                             Overview Table
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-c-pesticide-forms-
                                                                                                             overview-table>

                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                    4/20
                                                                                                                                                    AR0000483
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR
                                 Pesticide RegistrationDocument      57-3
                                                       Manual: Chapter          Filed 04/24/24
                                                                       7 - Notifications               PageAmendments
                                                                                         and Minor Formulation 484 of 739
                                                                                                                       | US EPA




                      For any requested change made through notification, the Agency reserves the right to
                      require that a formal application for amended registration be submitted.




            Normally, EPA will screen a notification within 30 days of receipt. If EPA determines that the proposed amendment
            (change) does not qualify as a notification, the Agency will notify the applicant, stating the reason(s) why an application
            is required for amended registration in lieu of a notification. If the registrant fails to submit an application for amended
            registration without good cause, and markets the product as if the notification was accepted, the Agency may
            determine that the registered product is no longer in compliance with the requirements of FIFRA and initiate regulatory
            action under FIFRA section 6 and/or enforcement actions under FIFRA section 13 <https://epa.gov/laws-regulations/summary-
            federal-insecticide-fungicide-and-rodenticide-act> and section 12 <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>.


            Permitted Modifications to Registrations through Notification
            EPA issued general procedures for notifications in PR Notice 98-10 <https://epa.gov/pesticide-registration/prn-98-10-notifications-
            non-notifications-and-minor-formulation-amendments> and a list of changes that may be made through notification. Subsequent
            PR Notices have modified the original list. As described in PR Notice 98-10, the following registration amendments
            generally may be accomplished by notification. See PR Notice 98-10 for more descriptions on these categories.

                Brand Names
                Addition or Deletion of Pests on the Label

                    Exceptions: To add claims to a label against a public health pest, termites, or pests on plants subject to
                    quarantine, the registrant may not use notification, but must receive approval to amend the pesticide product
                    registration. Public health pests include, but are not limited to, mosquitoes, cockroaches, fleas, ticks, biting flies,
                    rodents, viruses, and pathogenic bacteria. Refer to PR Notice 2002-1 for list of public health pests
                    <https://epa.gov/pesticide-registration/prn-2002-1-lists-pests-significant-public-health-importance>. Special instructions to add
                    claims for H1N1 can be found on the Guidance for Testing and Labeling Claims against Pandemic 2009 H1N1
                    Influenza A Virus (Formerly called Swine Flu) web page. SEARCH EPA ARCHIVE <https://archive.epa.gov/> Questions
                    about public health pests, termiticides, and products used for plant quarantine may be referred to the
                    appropriate regulatory division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-regulatory-divisions-ad-
                    bppd-prd-rd> that manages those products.

                Addition of Indoor, Nonfood Sites for Antimicrobial Products
                Changes in Packaging and Related Labeling Statements (except Child Resistant Packaging)
                Use Deletions Related to a Data Call-In




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                       5/20
                                                                                                                                                       AR0000484
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 485 of 739
                                                                                                                      | US EPA




                Storage and Disposal Statements
                    ​Registrants may adopt storage and disposal labeling statements as specified in the following notices without
                    submitting an amendment for approval:
                        PR Notice 83-3 <https://epa.gov/pesticide-registration/prn-83-3-label-improvement-program-storage-and-disposal-label-statements>
                        Label Improvement Program – Storage and Disposal
                        PR Notice 84-1 <https://epa.gov/pesticide-registration/prn-84-1-clarification-label-improvement-program-farmworker-safety-and>
                        Clarification of Label Improvement Program
                    Since PR Notice 98-10, the storage and disposal statements have been revised according to the following PR
                    Notices.
                        PR Notice 2007-1 <https://epa.gov/pesticide-registration/prn-2007-1-disposal-instructions-non-antimicrobial-residential-or-
                        household> Disposal Instructions on Non-Antimicrobial Residential or Household Use Pesticide Product Labels

                        PR Notice 2007-4 <https://epa.gov/pesticide-registration/prn-2007-4-labeling-revisions-required-final-rule-pesticide-management-
                        and> Labeling Revisions Required by the Final Rule “Pesticide Management and Disposal Standards for
                        Pesticide Containers and Containment"
                    Registrants may continue to adopt labeling statements verbatim from these notices by notification. However, a
                    request for variation in the wording of these statements must be submitted as an amendment.
                Use of Symbols and Graphics
                Redundant Labeling Statements
                Changes in Warranty Statement
                Labeling Statements about Product Composition (such as pesticide category, source of ingredient(s), odor or
                fragrance statements, and water-based statements)
                Risk Reduction Statements (such as non flammability or closed system statements)
                Minor Changes to Directions for Use (such as changes in mixing directions that do not affect the dilution ratio or the
                minimum or maximum use dilutions; addition of tables, charts, or other graphics; addition of similar application
                methods; and mixing with a fertilizer).

            Other Allowable Minor Label Revisions

            There are additional minor label changes not described above that may be made by notification, provided they:



                      are consistent with or specified by a PR Notice <https://epa.gov/pesticide-registration/pesticide-registration-
                      notices-year>; or

                      are consistent with 40 CFR Part 156                      ; and
                      involve no change in the ingredients statement, signal word, use classification,
                      precautionary statements, statements of practical treatment (First Aid),
                      physical/chemical/biological properties, storage and disposal, or directions for use.




            Product Chemistry Notifications
            See PR Notice 98-10 for more descriptions on these categories.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                      6/20
                                                                                                                                                      AR0000485
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 486 of 739
                                                                                                                      | US EPA




            Source of Active Ingredients
            A registrant may change the source of an active ingredient by notification, provided that the alternate source:



                      is registered for at least the same uses for which the formulated product is registered;
                      and
                      is similar to the current source, i.e., meets the criteria given in 40 CFR 152.43(b)(1) and
                      (2))




            A registrant must submit a Formulator's Exemption (EPA Form 8570-27) <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-blank-forms> along with the notification of source change if the new source is registered for the same uses
            as the existing source (40 CFR 152.85(c)).

            Changes to Active Ingredients That Are Not Allowed by Notification

            A registrant may not make the following active ingredient related changes by notification but must submit an
            application for amendment:



                      A change in the source of an active ingredient that would result in a change in a nominal
                      inert ingredient total or result in a changed toxicological category or chemical property
                      of a product. This changed formula would be considered an alternate formulation.
                      A change to an unregistered source of an active ingredient.
                      Addition, deletion, or substitution of an active ingredient, or increase or decrease in the
                      amounts of existing active ingredients. This would constitute a new formulation, which
                      may require a separate registration.
                      A change in the stated nominal concentration of any active ingredient or change of
                      certified limits from that shown on the previously submitted Confidential Statement of
                      Formula (CSF), EPA Form 8570-4 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>.
                      A new source that is not registered for the complete set of uses as the existing source.
                      An amendment for registration and a FIFRA 6(f) request must be submitted to delete
                      unsupported uses from the formulated product, or an amendment for registration citing
                      or providing appropriate data to support the additional uses must be submitted.




            Change in Source of Inert Ingredients

            If the Agency has required that a registrant identify the source of an individual inert ingredient, the identity of which is
            known to the registrant, the registrant may change the source of that inert ingredient by notification.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                        7/20
                                                                                                                                      AR0000486
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 487 of 739
                                                                                                                      | US EPA




                      If EPA has not required identification of the source of an inert ingredient, the registrant
                      may change a source without notification to the Agency.




            Change in Nominal Concentration of Inert Ingredients

            A registrant may change the stated nominal concentration of any inert ingredient by notification, provided that:



                      the nominal concentration falls within the certified limits for that ingredient as listed
                      on the accepted CSF; and
                      the composition of the ingredient is known to the registrant.




            Change in the Certified Limits of Inert Ingredients

            A registrant may change the certified limits of any inert ingredient(s) in a formulation by notification, provided that they
            fall within the standard certified limits in 40 CFR 158.350 for 40 CFR 161.175 for antimicrobials.

            Changes to Inert Ingredients Not Permitted by Notification

            EPA does not permit changing proprietary ingredients such as specific solvents or common commodity diluents by
            notification because they are generally composed of a mixture of ingredients and the registrant does not disclose their
            composition. Such changes would require the Agency to determine their acceptability based upon information on their
            composition supplied by the producer.

            The Agency also does not permit changing inert ingredients by notification for:



                      antifoulant paints (because such changes may affect the release rate of these products);
                      products used for the control of vertebrate animals (because odor, taste and dye are
                      usually crucial to product effectiveness); and
                      baits used to control insects and vertebrates.




            Certified limits of inert ingredients may not be changed via notification for products for which:



                      the Agency has previously determined that alternative certified limits will apply; or
                      the registrant has already changed the nominal concentration consistent with the
                      requirements for changes in nominal concentrations of inert ingredients as listed in 40
                      CFR 158.350 and for antimicrobials, in 40 CFR 161.175.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                     8/20
                                                                                                                                    AR0000487
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 488 of 739
                                                                                                                      | US EPA




            Sources for Starting Materials for Integrated Systems Products

            An integrated system is a process for producing a pesticide product that: (1) contains any active ingredient derived from
            a source that is not an EPA-registered product; or (2) contains any active ingredient that was produced or acquired in a
            manner that does not permit its inspection by the Agency under FIFRA section 9(a) before its use in the process. Refer to
            40 CFR 158.300 and for antimicrobials, 40 CFR 161.153.

            A registrant who produces a product by an integrated system and uses an unregistered source of active ingredient is
            required to supply the Agency with the sources of the starting materials for each ingredient. (40 CFR 158.325 and for
            antimicrobials, 40 CFR 161.160).

            Registrants may change the source of the starting materials to other sources by notification if the integrated system
            product is:



                      not a microbial pesticide, a botanical pesticide, or any other pesticide produced via any
                      methods other than man-made chemical synthesis; and
                      the change will not result in:
                           an increase in the upper certified limit of any existing impurity,
                           the formation of any new impurity at a level greater than 0.1 percent by weight of
                           the technical grade active ingredient, or
                           the formation of other impurities of toxicological significance (e.g., dioxins, furans,
                           nitrosamines, arsenicals) that have not previously been reported to, or that occur
                           above levels previously permitted by, the Agency.




            Changes to the Formulation Process for Non-Integrated Systems

            A registrant may modify a formulation process of a product made by a non-integrated system (a blending or dilution of
            product components involving no chemical reaction-distinguished from a reaction process), provided:



                      the certified limits of the active and inert ingredients do not change as a result; and
                      the physical/chemical/biological characteristics or the effectiveness (efficacy) of the
                      product will not change.




            Submitting Notifications
            Application Form: For each product, a notification should be submitted with a completed Application for Registration
            (EPA Form 8570-1 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>). A photocopy of the EPA
            application form is acceptable; an original form is not needed. In order for the application to be processed, include the
            following statements on the application:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                     9/20
                                                                                                                                     AR0000488
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 489 of 739
                                                                                                                      | US EPA




                “Notification of (insert type of change, such as 'Alternate Brand Name') per PR Notice 98-
                10”

                "This notification is consistent with the provisions of PR Notice 98-10 and EPA regulations
                at 40 CFR 152.46, and no other changes have been made to the labeling or the confidential
                statement of formula of this product. I understand that it is a violation of 18 U.S.C. Sec. 1001
                to willfully make any false statement to EPA. I further understand that if this notification is
                not consistent with the terms of PR Notice 98-10 and 40 CFR 152.46, this product may be in
                violation of FIFRA and I may be subject to enforcement action and penalties under sections
                12 and 14 of FIFRA."



            Labeling: For each notification involving labeling changes, one copy of the labeling must be submitted with the
            changes clearly marked so that they can be photocopied.

            Confidential Statement of Formula (CSF): Two original and signed CSFs must be submitted for either a notification or
            an amendment involving a CSF change. In addition, a Formulator's Exemption form (EPA Form 8570-27
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) must be submitted for any change in the identity or
            source of active ingredients.

            Signature: Each notification must be signed by the registrant or authorized agent and include that person's current
            address and telephone number.

            Address: Notifications should be sent to the address listed in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-
            registration-manual-chapter-21-directions-submitting-applications>.




            Non-Notifications
            In accordance with 40 CFR 152.46(b) and PR Notice 98-10 <https://epa.gov/pesticide-registration/prn-98-10-notifications-non-
            notifications-and-minor-formulation-amendments>, a registrant may make certain changes to its pesticide label without notifying
            the Agency. See PR Notice 98-10 for more descriptions on these categories.

                Typographical and Printing Errors
                Changes in Package Size and Net Contents
                Revision, Addition, or Deletion of Non-FIFRA Related Label Elements
                Transfer of Ownership
                Changes in the Name or Address of the Registrant on the Label
                Redesign of Label Format




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                10/20
                                                                                                                                               AR0000489
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 490 of 739
                                                                                                                      | US EPA




                Nonpesticidal Characteristics
                    The following are examples of nonpesticidal characteristics statement changes allowed by non-notifications:

                        Nonpesticidal Effectiveness;
                        Cleanup or Ease of Removal;
                        Effects on Treated Objects or Sites;
                        Price or Price-Related Marketing;
                        Where a Product Is Made;
                        Approval by Other Federal Agencies;
                        Consumer Access Numbers; and
                        Use of the Words “Other Ingredients” in the Ingredients Statement.

            Statement of Practical Treatment
            The heading “First Aid” may be substituted for “Statement of Practical Treatment” without notification to the Agency.

            Product Packaging
            The Agency allows the addition of “Recycled Content” claims to the pesticide label without prior notification. A
            statement about the recycled content of pesticide packaging itself may be made in accordance with guidance from the
            Federal Trade Commission.

            Bilingual Labeling
            A registrant may provide bilingual labeling on any product without notification to the Agency. EPA may require bilingual
            language as well. Refer to 40 CFR 156.10(a)(3). The foreign text must be a true and accurate translation of the English
            text.

            Important Note: Foreign text may be used on all or part of the labeling.

            Recycling of Containers
            The Agency allows certain types of statements regarding the recycling of containers to be added to the label without
            prior notification. Refer to 40 CFR Part 156, Subpart H Container Labeling 156.140, 156.144, 156.146, and 156.156 for
            appropriate statements.




            Minor Formulation Amendments
            Although a formulation change may only be accomplished through submission of an application for amended
            registration, the Agency has developed an accelerated review process for certain minor formulation amendments.

            The criteria for accelerated review are listed below, followed by a description of the review process.



                      Note that confirmatory efficacy data are not required for minor formulation
                      amendments, except for aerosols.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                 11/20
                                                                                                                                AR0000490
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 491 of 739
                                                                                                                      | US EPA




            Criteria for Accelerated Review
            Amendments involving the following types of formulation changes will be considered eligible for accelerated review
            subject to the following limitations:

            Addition, deletion, or substitution of one or more colorants in a formulation:



                      the total percentage of changed colorant does not exceed 1 percent by weight of the
                      formulation;
                      the component(s) of the colorant are listed on EPA's Pesticide Inert Ingredient List
                      <https://epa.gov/pesticide-registration/inert-ingredients-overview-and-guidance>;

                      the colorant has the appropriate exemption from the requirement of a tolerance under
                      40 CFR 180.910 – 180.960 if the product is registered for food use; and
                      the product is not intended for use as a seed treatment or rodenticide.




            Addition, deletion, or substitution of one or more fragrances in a formulation:



                      the total percentage of changed, added or deleted fragrance does not exceed 1 percent by
                      weight of the formulation;
                      information on the composition of the fragrance has been provided to the Agency by the
                      fragrance manufacturer or registrant;
                      the fragrance has been determined to be acceptable for such use by the Agency at the
                      proposed concentration or the component(s) of the fragrance are listed on EPA's
                      Pesticide Inert Ingredient List <https://epa.gov/pesticide-registration/inert-ingredients-overview-and-guidance>;
                      the fragrance components are exempt from the requirement of a tolerance under 40 CFR
                      180.910 – 180.960 if the product is registered for food use; and
                      the product is not intended for use in baits or repellents.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                         12/20
                                                                                                                                          AR0000491
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 492 of 739
                                                                                                                      | US EPA




            Addition, deletion, or substitution of one or more inert ingredients (other than fragrances or dyes) in a
            formulation:



                      the nominal concentration of active ingredient does not change;
                      the change does not invalidate any product-specific data submitted in support of the
                      initial registration that causes additional data to be required;
                      the identity of any proposed substitute inert ingredient is known by the registrant and is
                      listed on EPA's Pesticide Inert Ingredient List <https://epa.gov/pesticide-registration/inert-ingredients-overview-
                      and-guidance>;

                      the inert ingredient is exempt from the requirement of a tolerance under 40 CFR 180.910
                      – 180.960 if the product is registered for food use;
                      any change involves inert ingredients used for the same purpose in the formulation
                      (e.g., carrier, emulsifier, surfactant); and
                      the product is not a bait or repellent and is not intended to be used to control pests of
                      significance to public health.




            Grounds for Denying Accelerated Review
            Applications for the above kinds of amendments will not be considered for accelerated review if:



                      a change would alter the product's acute toxicity category or physical/chemical
                      characteristics such that label modifications become necessary; or
                      a change would affect the product's efficacy such that supporting data become necessary
                      (such as for vertebrate control products, tin-based antifoulant paints, food-contact
                      surface sanitizers and liquid or aerosol insecticides intended for household use).




            Submitting Minor Formulation Amendments
            If a registrant believes that an amendment meets the criteria above, he/she should highlight this on the application for
            amended registration with a statement such as “Minor Formulation Amendment per PR Notice 98-10.” The
            submission should be addressed to the appropriate regulatory division’s Product Manager/Team Leader and to the
            address listed in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-
            applications> and include:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                  13/20
                                                                                                                                                   AR0000492
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 493 of 739
                                                                                                                      | US EPA




                      EPA Form 8570-1, Application For Pesticide Registration/Amendment <https://epa.gov/pesticide-
                      registration/pesticide-registration-manual-blank-forms>;

                      one copy of the existing formulation, EPA Form 8570-4, Confidential Statement of
                      Formula (CSF) <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>;
                      two copies of the CSF of the proposed formulation;
                      any supporting information such as the Material Safety Data Sheet (MSDS) on the added
                      inert ingredient(s); and
                      confirmatory efficacy data only if the product is an aerosol or bears a public health
                      claim.




            EPA will make every effort to prepare an appropriate response to the registrant either accepting or rejecting the
            amendment within 45 days of receipt of the application except when confirmatory data are submitted. Additional time
            is required for review of such data.




            Final Printed Labeling
            After acceptance of a new product registration, labeling amendment or labeling notification, final printed labeling must
            be submitted before the product is sold or distributed. Two copies of the final printed labeling that incorporate any
            labeling changes required by the acceptance letter and/or notification must be submitted.




            Contacts for Additional Information
            Any questions or need for additional information regarding notifications should be directed to the appropriate Product
            Manager assigned the product in question. Refer to Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-
            chapter-21-directions-submitting-applications> for a listing of Product Branches.




            References Cited in Chapter 7
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications>for
            information on the source of these documents.

            Code of Federal Regulation, Title 40




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                              14/20
                                                                                                                                               AR0000493
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 494 of 739
                                                                                                                      | US EPA




                      Part 152 - Pesticide Registration and Classification Procedures
                      Part 156 - Labeling Requirements for Pesticides and Devices
                      Part 157 - Packaging Requirements for Pesticide and Devices
                      Part 158 - Data Requirements for Registration
                      Part 161 - Data Requirements for Registration of Antimicrobial Pesticides
                      Part 180 - Tolerances and Exemptions from Tolerances for Pesticide Chemicals in Foods




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                      Section 2 - Definitions
                      Section 3 - Registration of pesticides
                      Section 6 - Administrative review; suspensions
                      Section 12 - Unlawful Acts




            Pesticide Registration Notices <https://epa.gov/pesticide-registration/pesticide-registration-notices-year>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                              15/20
                                                                                                                                               AR0000494
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 495 of 739
                                                                                                                      | US EPA




                      PR Notice 83-3 <https://epa.gov/pesticide-registration/prn-83-3-label-improvement-program-storage-and-disposal-label-
                      statements> Label Improvement Program – Storage and Disposal Statements

                      PR Notice 84-1 <https://epa.gov/pesticide-registration/prn-84-1-clarification-label-improvement-program-farmworker-safety-and>
                      Clarification of Label Improvement Program
                      PR Notice 91-1 <https://epa.gov/pesticide-registration/prn-91-1-procedures-voluntarily-requesting-deletion-approved-uses-
                      registered> Procedures for Voluntarily Requesting Deletion of Approved Uses from
                      Registered Labels
                      PR Notice 94-2 <https://epa.gov/pesticide-registration/prn-94-2-recycling-empty-aerosol-pesticide-containers> Recycling
                      Empty Aerosol Pesticide Container
                      PR Notice 97-4 <https://epa.gov/pesticide-registration/prn-97-4-consumer-access-numbers-pesticide-labels> Consumer
                      Access Numbers on Pesticide Labels
                      PR Notice 97-6 <https://epa.gov/pesticide-registration/prn-97-6-use-term-inert-label-ingredients-statement> Use of Term
                      “Inert” in the Label Ingredients Statement
                      PR Notice 98-10 <https://epa.gov/pesticide-registration/prn-98-10-notifications-non-notifications-and-minor-formulation-
                      amendments> Notifications, Non-Notifications and Minor Formulation Amendments

                      PR Notice 2007-1 <https://epa.gov/pesticide-registration/prn-2007-1-disposal-instructions-non-antimicrobial-residential-or-
                      household> Disposal Instructions on Non-Antimicrobial Residential/Household Use
                      Pesticide Product Labels
                      PR Notice 2007-4 <https://epa.gov/pesticide-registration/prn-2007-4-labeling-revisions-required-final-rule-pesticide-
                      management-and> Labeling Revisions Required by the Final Rule “Pesticide Management and
                      Disposal Standards for Pesticide Containers and Containment




            Label Review Manual <https://epa.gov/pesticide-registration/label-review-manual>



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                   16/20
                                                                                                                                                    AR0000495
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 496 of 739
                                                                                                                      | US EPA




              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                                  17/20
                                                                                                                                                 AR0000496
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 497 of 739
                                                                                                                      | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation           18/20
                                                                                                                            AR0000497
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 498 of 739
                                                                                                                      | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation                           19/20
                                                                                                                                            AR0000498
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR
                                Pesticide RegistrationDocument      57-3
                                                      Manual: Chapter          Filed 04/24/24
                                                                      7 - Notifications               PageAmendments
                                                                                        and Minor Formulation 499 of 739
                                                                                                                      | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-7-notifications-and-minor-formulation           20/20
                                                                                                                            AR0000499
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR    Document
                                          Pesticide Registration57-3
                                                                 Manual: Filed
                                                                         Chapter 04/24/24         Page
                                                                                 8 - Inert Ingredients | US500
                                                                                                           EPA of 739




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 8
            - Inert Ingredients
            In this chapter:
                Inert Ingredients                                                                                  Registration Manual
                Regulation of Inert Ingredients                                                                     Table of Contents
                New Inert Ingredients under PRIA 3
                Inert Ingredient Review Process                                                                   Pesticides Registration Manual
                Inert Mixture Products                                                                            Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                Pesticide Product Registration and Inert Ingredients
                                                                                                                  manual>
                Contacting the Chemistry, Inerts, and Toxicology Branch
                References Cited in Chapter 8                                                                     Introduction
                                                                                                                  <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-


            Inert Ingredients
                                                                                                                  manual-introduction>


                                                                                                                  How to Register a Pesticide
            Many pesticide products contain substances in addition to the active                                  Product – A Guide for Applicants
            ingredient(s) that are referred to as inert ingredients or sometimes as                               New to the Process
            “other ingredients.” This chapter describes how EPA reviews inert                                     <https://epa.gov/pesticide-
            ingredients as part of the pesticide product review process. For the most                             registration/how-register-pesticide-guide-
            recent information and updates on this process, see the Inert Ingredients                             applicants-new-process>
            <https://epa.gov/pesticide-registration/inert-ingredients-regulation> Web page.
                                                                                                                    1. Requirements for Pesticide
            This Web page provides information on and links to:                                                        Registration and Registrant
                                                                                                                       Obligations
                Inert Ingredient Frequently Asked Questions <https://epa.gov/pesticide-
                                                                                                                      <https://epa.gov/pesticide-
                registration/guidance-documents-inert-ingredients>, which provides answers to
                                                                                                                      registration/pesticide-registration-
                commonly asked questions including guidance on finding approved
                                                                                                                      manual-chapter-1-overview-
                food and nonfood inert ingredients and instructions for obtaining a
                                                                                                                      requirements-pesticide>
                trade name or mixture in the Agency database.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                                               1/10
                                                                                                                                                             AR0000500
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US501
                                                                                                          EPA of 739




                Guidance documents for submitting a request for approval of a new or                    2. Registering a Pesticide
                amended food use, nonfood use and Low Risk Polymer inert                                   Product <https://epa.gov/pesticide-
                ingredient.                                                                               registration/pesticide-registration-
                                                                                                          manual-chapter-2-registering-
                                                                                                          pesticide-product>
                    Food - “General Guidance for Petitioning the Agency for the
                    Establishment of a New/Amended Food Use Inert Ingredient                            3. Additional Considerations for
                    Tolerance or Tolerance Exemption <https://epa.gov/pesticide-                          Biopesticide Products
                    registration/guidance-documents-inert-ingredients>”                                   <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                    Nonfood - “General Guidance for Requesting a New Nonfood Use
                                                                                                          manual-chapter-3-additional-
                    Inert Ingredient <https://epa.gov/pesticide-registration/guidance-documents-
                                                                                                          considerations>
                    inert-ingredients>”

                    Low Risk Polymer - “Guidance to Petitioners for Low Risk Polymer                    4. Additional Considerations for

                    Submissions <https://epa.gov/pesticide-registration/guidance-documents-inert-         Antimicrobial Products
                                                                                                          <https://epa.gov/pesticide-
                    ingredients>”
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-4-additional-
                A page listing inert ingredients permitted for use in pesticide products
                                                                                                          considerations>
                including a list of food-use, nonfood-use, 25(b) and organic inert
                ingredients <https://epa.gov/pesticide-registration/inert-ingredients-overview-and-     5. Registration Fees
                                                                                                          <https://epa.gov/pesticide-
                guidance>.
                                                                                                          registration/pesticide-registration-
                Completed inert ingredient tolerance reassessment decision
                                                                                                          manual-chapter-5-registration-fees>
                documents <https://epa.gov/ingredients-used-pesticide-products/inert-ingredients-
                reassessment-decision-documents>.
                                                                                                        6. Amending a Registered
                                                                                                           Pesticide Product
                The Fragrance Ingredient List <https://epa.gov/pesticide-registration/guidance-
                                                                                                          <https://epa.gov/pesticide-
                documents-inert-ingredients>.
                                                                                                          registration/pesticide-registration-

            EPA plans to continue to post additional guidance and documents for                           manual-chapter-6-amending-

            inert ingredients on the Web page. Therefore, regular visits to the Web                       registered-pesticide>

            page are recommended.                                                                       7. Notifications and Minor
                                                                                                           Formulation Amendments
            Section 2(m) of FIFRA defines an inert ingredient as “an ingredient which
                                                                                                          <https://epa.gov/pesticide-
            is not active.” EPA further describes an inert ingredient in 40 CFR 152.3
                                                                                                          registration/pesticide-registration-
             as “any substance (or group of structurally similar substances if
                                                                                                          manual-chapter-7-notifications-and-
            designated by the Agency), other than an active ingredient, which is
                                                                                                          minor-formulation>
            intentionally included in a pesticide product, except as provided by 40
                                                                                                        8. Inert Ingredients
            CFR 174.3 .” Inert ingredients may be, for example, solvents, carriers,
            aerosol propellants, fragrances, and dyes.                                                  9. Supplemental Distribution of
                                                                                                           a Registered Pesticide
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
            Regulation of Inert Ingredients                                                               manual-chapter-9-supplemental-
                                                                                                          distribution-registered>
            The registration and reregistration of pesticide products under FIFRA
                                                                                                       10. Data Compensation
            include a determination that the pesticide product formulation meets the
                                                                                                           Requirements
            registration standard under FIFRA section 3 (including the lack of
                                                                                                          <https://epa.gov/pesticide-
            unreasonable adverse effects on the environment). The entire
                                                                                                          registration/pesticide-registration-
            formulation, including the inert ingredients, must meet this standard. In
                                                                                                          manual-chapter-10-data-
            addition, the Federal Food, Drug, and Cosmetic Act (FFDCA)
                                                                                                          compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                                   2/10
                                                                                                                                                 AR0000501
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US502
                                                                                                          EPA of 739




            <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act> requires     11. Tolerance Petitions
            that inert ingredients in pesticide products used on food and feed crops,                      <https://epa.gov/pesticide-
            agricultural commodities, or livestock must have a tolerance or tolerance                      registration/pesticide-registration-
            exemption under 40 CFR Part 180 . Inert ingredient approval                                    manual-chapter-11-tolerance-
            submissions are now covered categories under PRIA 3. See the PRIA 3 Fee                        petitions>
            Schedule Tables <https://epa.gov/node/53395/> or the Fee Determination                     12. Applying for an Experimental
            Decision Tree <https://epa.gov/pria-fees/pria-4-fee-determination-decision-tree> for           Use Permit
            descriptions of these inert categories, their PRIA 3 fees and corresponding                    <https://epa.gov/pesticide-
            decision review timeframes.                                                                    registration/pesticide-registration-
                                                                                                           manual-chapter-12-applying-
                                                                                                           experimental-use-permit>

            New Inert Ingredients under                                                                13. Devices <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
            PRIA 3                                                                                         manual-chapter-13-devices>

            Under PRIA 3 there are ten inert ingredient categories that cover new food,                14. How to Obtain an EPA
            nonfood, low risk polymer inert ingredients as well as amendments to                           Establishment Number
                                                                                                           <https://epa.gov/pesticide-
            previously approved inert ingredients and nonfood inert ingredients that
                                                                                                           registration/pesticide-registration-
            are substantially similar to approved inert ingredients. See the PRIA 3 Fee
                                                                                                           manual-chapter-14-how-obtain-epa-
            Schedule Tables <https://epa.gov/pria-fees/fy-2023-2024-fee-schedule-registration-
                                                                                                           company-or>
            applications> or the Fee Determination Decision Tree <https://epa.gov/pria-
            fees/pria-4-fee-determination-decision-tree> for descriptions of these ten covered         15. Submitting Data and
            inert categories, their PRIA 3 fees and corresponding decision review                          Confidential Business
            timeframes.                                                                                    Information
                                                                                                           <https://epa.gov/pesticide-
            PRIA 3 allows new inert ingredients to be submitted in conjunction with a                      registration/pesticide-registration-
            new active ingredient or first food use application. Each component of                         manual-chapter-15-submitting-data-
            such a joint application would be charged its appropriate PRIA fee, but the                    and-confidential>
            decision review timeframe for the joint application would be that of the
                                                                                                       16. Transfer of Product
            PRIA category with the longer timeframe, which in most cases would be
                                                                                                           Registrations and Data Rights
            the new active ingredient or first food use.
                                                                                                           <https://epa.gov/pesticide-

            PRIA 3 also allows for the submission of covered applications that are                         registration/pesticide-registration-

            associated with and dependent upon a currently pending inert ingredient                        manual-chapter-16-transfer-product-

            action. The decision review timeframe for the associated covered                               registrations-and>

            application will be extended to match the timeframe for the pending inert                  17. State Regulatory Authority
            action unless the PRIA due date for the associated application is further                      <https://epa.gov/pesticide-
            out, in which case it will be subject to its own decision review timeframe.                    registration/pesticide-registration-
                                                                                                           manual-chapter-17-state-regulatory-
            For approval of a new inert ingredient intended for use in a food-use                          authority>
            pesticide product, see “General Guidance for Petitioning the Agency for
                                                                                                       18. Other Federal or State Agency
            the Establishment of a Tolerance or Tolerance Exemption under PRIA 3
                                                                                                           Requirements
            <https://epa.gov/pesticide-registration/guidance-documents-inert-ingredients>”. EPA
                                                                                                           <https://epa.gov/pesticide-
            recommends that parties interested in establishing a tolerance or
                                                                                                           registration/pesticide-registration-
            tolerance exemption for a new inert ingredient first consult with the
                                                                                                           manual-chapter-18-other-federal-or-
            Agency to determine the adequacy of available data and/or the need for
                                                                                                           state-agency>
            additional data.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                                    3/10
                                                                                                                                                  AR0000502
8/14/23, 1:38 PM     Case 3:24-cv-01106-CVR    Document
                                          Pesticide Registration57-3
                                                                 Manual: Filed
                                                                         Chapter 04/24/24         Page
                                                                                 8 - Inert Ingredients | US503
                                                                                                           EPA of 739




            For approval of a new inert ingredient intended for use in a nonfood-use                   19. How to Obtain Publications
            pesticide product, see “General Guidance for requesting the Approval of a                     <https://epa.gov/pesticide-
            New Nonfood Use Inert Ingredient or Amending a Currently Approved                             registration/pesticide-registration-
            Nonfood Use Inert Ingredient under PRIA 3 <https://epa.gov/pesticide-                         manual-chapter-19-how-obtain-
            registration/guidance-documents-inert-ingredients>”.                                          publications>

                                                                                                       20. Forms and How to Obtain
            For approval of a new low risk polymer see “General Guidance for
                                                                                                          Them <https://epa.gov/pesticide-
            Requesting the Establishment of a Tolerance Exemption for a Low Risk
                                                                                                          registration/pesticide-registration-
            Polymer or Nonfood Use Approval of a Low Risk Polymer under PRIA 3
                                                                                                          manual-chapter-20-forms-and-how-
            <https://epa.gov/pesticide-registration/guidance-documents-inert-ingredients>".
                                                                                                          obtain-them>

                                                                                                       21. Directions for Submitting
                                                                                                           Applications and Contacting
            Inert Ingredient Review Process                                                               EPA <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
            The Agency screens all PRIA submissions during a 21-day Content Screen
                                                                                                          manual-chapter-21-directions-
            for adequacy/completeness upon receipt. Submission packages not
                                                                                                          submitting-applications>
            deemed acceptable are returned to the applicant to correct the deficiency.
            The PRIA decision review time period begins 21 days after receipt of the                   Appendices
            application (i.e. after the 21-day Completeness Screen).
                                                                                                          Appendix A: Guidance
            In addition to the 21-day Content Screen, under PRIA 3 the Agency also                        Documents
            conducts a Preliminary Technical Screen of the application to determine if                    <https://epa.gov/pesticide-
            the data and information submitted in the application are accurate,                           registration/pesticide-registration-
            complete and appear to be consistent with the request such that a full and                    manual-appendix-guidance-
            complete assessment can be conducted. This screen is concluded no later                       documents>
            than 45 days after the start of the decision review period for actions with                   Appendix B: Examples of
            decision review time periods less than or equal to six months and no later                    Registrant Documents
            than 90 days after the start of the decision review period for actions with                   <https://epa.gov/pesticide-
            decision review periods greater than six months.                                              registration/pesticide-registration-
                                                                                                          manual-appendix-b-examples-
            After the review and risk assessment are completed, a decision will be
                                                                                                          registrant-documents>
            made regarding the safety of the inert ingredient in question. For food use
            inerts for which a tolerance or tolerance exemption will be granted, a final                  Appendix C: Pesticide Forms
            rule outlining IIAB’s decision will be published in the Federal Register.                     Overview Table
            After the rule is published granting the use of the inert, the inert                          <https://epa.gov/pesticide-

            ingredient will be permitted for use under the appropriate use pattern. For                   registration/pesticide-registration-

            nonfood use inerts a letter outlining IIAB’s decision will be emailed to the                  manual-appendix-c-pesticide-forms-

            submitter. After issuance of this letter granting the use of the nonfood use                  overview-table>

            inert, the inert will be permitted for use under the appropriate use                          Appendix D: Examples of
            pattern.                                                                                      Completed Forms
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-d-examples-
            Inert Mixture Products                                                                        completed-forms-0>

            Pesticide applicants typically include individual inert ingredients in their
            pesticide products. In addition, applicants often purchase products
            containing a mixture of inert ingredients and add them to their pesticide products. For example, applicants may buy
            surfactants and anti-foaming agents made by other companies. These products may be mixtures containing multiple



https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                                   4/10
                                                                                                                                                 AR0000503
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US504
                                                                                                          EPA of 739




            inert ingredients. Just as with individual inert ingredients, each component in a mixture must be approved for use by
            the Agency. It is the applicant’s responsibility to ensure that EPA has sufficient information about the inert mixture the
            applicant wishes to use.

            When the composition of a mixture product is held as proprietary by the company that sells the mixture to the
            applicant, the Agency establishes a Master File for the mixture that contains the complete compositional information. If
            an applicant wishes to use a proprietary inert mixture as part of its product formulation, the following information
            should be submitted on the letterhead of the manufacturing company:



                      The full product name and, for each component* in the mixture, its chemical name, CAS
                      Registry Number, and percentage by weight.
                      The total percentage by weight for all components must total 100%.




            Items submitted for inclusion in the Master File may be claimed as confidential business information (CBI). Information
            claimed as confidential will be treated in accordance with established procedures for handling FIFRA CBI. To assure
            proper routing and processing, the cover letter should identify the submission as inert ingredient mixture information.

            *Please note - If the product contains a component that is itself a mixture or trade name product, EPA needs to receive
            the above information for all of the proprietary products. If there are impurities remaining in the final product, those
            components should be listed as such along with their percentage in the final formulation.

            Formulators sometimes have difficulty determining whether a trade name product is permitted for use as an inert
            ingredient. EPA is offering companies an opportunity to add their trade name product to a list for posting on EPA’s web
            page, along with the uses for which it is approved, and possibly the manufacturer’s name. The public listing will not
            include any information related to the composition of trade name inert ingredients, nor products they are used in.




            Pesticide Product Registration and Inert Ingredients
            Pesticide applicants who would like to use a chemical or substance as an inert ingredient in their pesticide product
            should first ensure that it has been approved by EPA or is currently pending before the Agency for approval. As part of
            the Agency’s review of an application for the registration of a pesticide product, the product’s composition information
            will be examined to verify that all of the inert ingredients proposed for use in the pesticide formulation have been
            approved by the Agency or are currently pending before the Agency for approval.

            All Confidential Statements of Formula (CSF) submitted with a new or amended pesticide registration application for
            conventional pesticides, antimicrobial pesticides, and biopesticides are screened to ensure that all inert ingredients are
            approved for the labeled use of the pesticide product or are currently pending before the Agency for approval. If an
            inert ingredient is not currently approved for the intended use of the pesticide formulation nor currently pending
            before the Agency for approval and the application is covered by PRIA <https://epa.gov/pesticide-registration/pesticide-registration-
            manual-chapter-5-registration-fees> (FIFRA section 33) but does not contain the data necessary for the Agency to make a
            decision on the inert ingredient, then the submission will be rejected and a portion of the PRIA fee will be retained.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                                5/10
                                                                                                                                             AR0000504
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US505
                                                                                                          EPA of 739




            If a new inert ingredient is part of an application for registration of a new conventional chemical product, the PRIA 3 fee
            category will be I001 or I008 for a food use <https://epa.gov/pria-fees/pria-fee-category-table-inert-ingredients> and I004 or I009 for a
            nonfood use <https://epa.gov/pria-fees/pria-fee-category-table-inert-ingredients> product. If a new conventional product is
            submitted and it requires an amendment to an existing inert tolerance exemption (e.g. adding post-harvest use) it will
            fall under the PRIA 3 fee category I002, I003 or I010. If a new product is submitted and it requires an amendment to an
            approved inert use pattern, it would fall under the PRIA 3 fee category of I005 or I006. Another category of pesticide
            application involving a request to approve an inert ingredient that is covered by PRIA 3 is a request to approve a Plant
            Incorporated Protectant inert ingredient such as a marker protein with a fee category of B903 <https://epa.gov/pria-fees/b903-
            pria-fee-category>.


            The Agency’s current process for confirming the approval status of an inert ingredient included within other types of
            applications covered by PRIA are described in Footnote A of the 21 Day Content Screen Review Worksheet
            <https://epa.gov/pria-fees/pria-21-day-content-screen-worksheet>. To avoid unnecessary delays and possible loss of fees, it is
            strongly recommended that applicants confirm the approval status of all components in their new product before
            submitting a registration application. Approved inert ingredient tolerances and tolerance exemptions are found in the
            Code of Federal Regulations (CFR) under 40 CFR Part 180 . Links to inert ingredients approved for nonfood uses are
            listed on the Inert Ingredients Web page <https://epa.gov/pesticide-registration/inert-ingredients-regulation>.




            Contacting the Chemistry, Inerts, and Toxicology
            Branch
            The staff of the Chemistry, Inerts, and Toxicology Assessment Branch (CITAB) (formerly the Inert Ingredient Assessment
            Branch) is available to assist you with your questions. The Branch’s e-mail address is: Inert Ingredient Assessment
            Branch (inertsbranch@epa.gov).

            Information is also available on the Inert Ingredients Web page <https://epa.gov/pesticide-registration/inert-ingredients-regulation>.
            If you need further assistance contact CITAB Chief, PV Shah at shah.pv@epa.gov or (703) 308-1846.




            References Cited in Chapter 8
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on how to obtain these documents.

            Code of Federal Regulation, Title 40



                      Part 152 - Pesticide Registration and Classification Procedures
                      Part 174 - Procedures and Requirements for Plant-Incorporated Protectants
                      Part 180 - Tolerances and Exemptions from Tolerances for Pesticide Chemicals in Food




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                                    6/10
                                                                                                                                                 AR0000505
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US506
                                                                                                          EPA of 739




                      Section 2 Definition




            Federal Food, Drug and Cosmetic Act <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>



                      Section 408 - Tolerances and Exemptions for Pesticide Chemical Residues




            Inert Ingredients Web page <https://epa.gov/pesticide-registration/inert-ingredients-regulation>.



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 28, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                                    7/10
                                                                                                                                                 AR0000506
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US507
                                                                                                          EPA of 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                         8/10
                                                                                                                       AR0000507
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US508
                                                                                                          EPA of 739




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                                              9/10
                                                                                                                                            AR0000508
8/14/23, 1:38 PM    Case 3:24-cv-01106-CVR    Document
                                         Pesticide Registration57-3
                                                                Manual: Filed
                                                                        Chapter 04/24/24         Page
                                                                                8 - Inert Ingredients | US509
                                                                                                          EPA of 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients                        10/10
                                                                                                                       AR0000509
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR            Document
                                Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                      9 - Supplemental Distribution of aPage   510
                                                                                                        Registered   of 739
                                                                                                                   Pesticide | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 9
            - Supplemental Distribution of a
            Registered Pesticide
            In this chapter:
                Supplemental distribution of a registered pesticide                                                Registration Manual
                Requirements for approval of supplemental distribution                                              Table of Contents
                Cancellation of a distributor product
                Concerning a supplemental registration of a distributor product                                   Pesticides Registration Manual
                Where to request a company number                                                                 Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                Where to request an establishment registration
                                                                                                                  manual>
                Contacts for more information
                References cited in chapter 9                                                                     Introduction
                                                                                                                  <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                                                                                                                  manual-introduction>
            Supplemental Distribution of a
            Registered Pesticide                                                                                  How to Register a Pesticide
                                                                                                                  Product – A Guide for Applicants
            According to 40 CFR 152.132, registrants may distribute or sell their                                 New to the Process
            registered product under another company’s name and address instead of                                <https://epa.gov/pesticide-

            (or in addition to) their own. Such distribution and sale is termed                                   registration/how-register-pesticide-guide-

            “supplemental distribution” and the product is referred to as a                                       applicants-new-process>

            “supplemental registration” or “distributor product.” The distributor, also
                                                                                                                    1. Requirements for Pesticide
            known as a “subregistrant,” is considered an agent of the registrant, and
                                                                                                                      Registration and Registrant
            both the registrant and the distributor may be held liable for violations
                                                                                                                      Obligations
            pertaining to the distributor product.
                                                                                                                      <https://epa.gov/pesticide-

            Detailed information on the supplemental distribution or supplemental                                     registration/pesticide-registration-

            registration of another federally registered product can be found in 40 CFR                               manual-chapter-1-overview-

            152.132.                                                                                                  requirements-pesticide>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                                            1/12
                                                                                                                                                             AR0000510
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   511
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




            Important Note: Supplemental registrations are only an extension of a                         2. Registering a Pesticide
            currently federally registered pesticide product. They are a duplication of                      Product <https://epa.gov/pesticide-
            the basic registered product and must reflect any changes in formulation                         registration/pesticide-registration-
            or labeling made to the basic registered product within the same                                 manual-chapter-2-registering-
            timeframe imposed on that product.                                                               pesticide-product>

                                                                                                          3. Additional Considerations for
                                                                                                             Biopesticide Products
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-3-additional-
                                                                                                             considerations>

                                                                                                          4. Additional Considerations for
                                                                                                             Antimicrobial Products
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-4-additional-
                                                                                                             considerations>

                                                                                                          5. Registration Fees
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-5-registration-fees>

                                                                                                          6. Amending a Registered
                                                                                                             Pesticide Product
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-6-amending-
                                                                                                             registered-pesticide>

                                                                                                          7. Notifications and Minor
                                                                                                             Formulation Amendments
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-7-notifications-and-
                                                                                                             minor-formulation>

                                                                                                          8. Inert Ingredients
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-8-inert-ingredients>

                                                                                                          9. Supplemental Distribution
                                                                                                             of a Registered Pesticide
                                                                                                         10. Data Compensation
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-10-data-
                                                                                                             compensation-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                                   2/12
                                                                                                                                                    AR0000511
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   512
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




                                                                                                         11. Tolerance Petitions
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-11-tolerance-
                                                                                                             petitions>

                                                                                                         12. Applying for an Experimental
                                                                                                             Use Permit
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-12-applying-
                                                                                                             experimental-use-permit>

                                                                                                         13. Devices <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-13-devices>

                                                                                                         14. How to Obtain an EPA
                                                                                                             Establishment Number
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-14-how-obtain-epa-
                                                                                                             company-or>

                                                                                                         15. Submitting Data and
                                                                                                             Confidential Business
                                                                                                             Information
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-15-submitting-data-
                                                                                                             and-confidential>

                                                                                                         16. Transfer of Product
                                                                                                             Registrations and Data Rights
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-16-transfer-product-
                                                                                                             registrations-and>

                                                                                                         17. State Regulatory Authority
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-17-state-regulatory-
                                                                                                             authority>

                                                                                                         18. Other Federal or State Agency
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-18-other-federal-or-
                                                                                                             state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                                   3/12
                                                                                                                                                    AR0000512
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   513
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




                                                                                                         19. How to Obtain Publications
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-19-how-obtain-
                                                                                                             publications>

                                                                                                         20. Forms and How to Obtain
                                                                                                             Them <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-20-forms-and-how-
                                                                                                             obtain-them>

                                                                                                         21. Directions for Submitting
                                                                                                             Applications and Contacting
                                                                                                             EPA <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-21-directions-
                                                                                                             submitting-applications>


                                                                                                         Appendices

                                                                                                             Appendix A: Guidance
                                                                                                             Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-guidance-
                                                                                                             documents>

                                                                                                             Appendix B: Examples of
                                                                                                             Registrant Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-b-examples-
                                                                                                             registrant-documents>

                                                                                                             Appendix C: Pesticide Forms
                                                                                                             Overview Table
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-c-pesticide-forms-
                                                                                                             overview-table>

                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                                   4/12
                                                                                                                                                    AR0000513
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   514
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




                      If the basic registered product is canceled, the supplemental registration is
                      automatically canceled effective on the same date as the basic registered product, and
                      existing stocks must be sold in the same time period (40 CFR 152.132(e)).
                      If the basic registered product is transferred to another company, supplemental
                      distributorships do not transfer with the section 3 registration. Registrants must notify
                      all supplemental distributors of the transferred product of the transfer agreement.
                      If the new basic registrant wishes to continue any supplemental distributorship or add
                      new ones, the basic registrant must fill out a new "Notice of Supplemental Distribution
                      of a Registered Product” Form 8570-5 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-
                      forms>.




            Requirements for Approval of Supplemental
            Distribution
            The following conditions must be met before EPA will permit supplemental distribution of a federally registered
            pesticide product:

                The registrant of the federally registered product for which a second party wishes to obtain supplemental
                registration must have submitted to the Agency a statement (EPA Form 8570‑5 <https://epa.gov/pesticide-
                registration/pesticide-registration-manual-blank-forms>, Notice of Supplemental Registration of Distributor) in triplicate signed
                by both the registrant of the basic registered product and the second party (“the distributor”). Refer to 40 CFR
                152.132(a) The basic registrant is the only one who can submit EPA Form 8570-5 as explained in 40 CFR
                152.132(a) and in the EPA Form 8570-5 instructions. The application, which includes the 8570-5 form and a cover
                letter must include the following information:


                    the cover letter must have the name and address of the registrant of the basic registered product;
                    the 8570-5 form must have the basic registered product and the registration number of the federally registered
                    product; and
                    the name and address of the distributor, the distributor's company number, and the name of the distributor
                    product. If EPA has not already assigned the distributor a company number, one will be assigned upon written
                    request, and must be assigned before 8570-5 is completed and submitted. Refer to Chapter 14
                    <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or>, or below, for obtaining
                    a company number; and to Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-
                    submitting-applications> for the address and distribution code when submitting.




                Applications that are incomplete or that contain errors will be returned with a checklist explaining the reason for
                rejection or disapproval.
                The distributor product is produced, packaged, and labeled in a registered establishment operated by the same
                producer (or under contract with basic producer according to 40 CFR 152.30) who produces, packages, and labels
                the basic registered product (40 CFR 152.132(b)).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                                    5/12
                                                                                                                                                   AR0000514
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   515
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




                The distributor product may not be repackaged. It must remain in the basic registrant's or producer's original,
                unopened container. Refer to Chapter 14 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-
                epa-company-or>, which explains how to obtain an establishment registration.

                The labeling associated with the distributor product must be the same as that of the basic registered product, with
                the following exceptions:


                    the product name of the distributor's product may be different from that of the registrant's, but it may not be
                    misleading (40 CFR 152.132(d)(1);
                    the name and address of the distributor's company may appear instead of the registrant's name and address (a
                    phrase such as “Distributed by...” must be used) (40 CFR 152.132(d)(2)), and 40 CFR 156.10(c));
                    the EPA registration number of the basic registered product must be followed by a hyphen, followed by the
                    distributor's company number (e.g., if the registration number of the registrant's product is EPA Reg. No.
                    999999‑88888, and the distributor's company number is 777777, then the distributor's number appearing on the
                    label should be EPA Reg. No. 999999‑88888‑777777) (40 CFR 152.132(d)(3));
                    the establishment number on the label must be that of the final establishment at which the basic registered
                    product was produced, which includes packaging and/or repackaging for sale (40 CFR 152.132(d)(4)); and
                    any specific claims on the registrant's label, such as the sites of application or pests to be controlled, may be
                    omitted from the distributor's product label provided that no changes are necessary in any of the precautionary
                    or other labeling of the basic registered product (40 CFR 152.132(d)(5)).

            Important Note: The distributor, also known as a “subregistrant,” may not make additions to the registrant’s basic
            product label (i.e., add claims, additional sites, or pests).




            Cancellation of a Distributor Product
            When a registrant enters into a relationship with a supplement distributor, for each product involved, the registrant
            must submit to the Agency a statement (8570-5 form) signed by both registrant and supplemental distributor that lists
            the names and addresses of the distributor, the distributor’s company number, any additional brand names to be used,
            and the registration number of the basic product (40 CFR 152.132(a) ). Providing a complete Form 8570-5
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms> fulfills this requirement. Since the basic registrant is
            the only one who can submit EPA Form 8570-5 as explained in 40 CFR 152.132(a) and in the EPA Form 8570-5
            instructions. A cover letter from the basic registrant including their address and reason for the application will aid in
            the Agency’s approval process. Just as the registrant’s product (“the basic registration”) may have alternate brand
            names, a Supplemental (Distributor) Product can have multiple names associated with a product.

            If a basic registrant voluntarily cancels its basic product registration, 40 CFR 152.132(e)             states all distributor products
            distributed or sold under that registration number are also canceled and that the registrant is responsible for notifying
            all distributors of the terms and conditions of cancellation.

            In addition to instances when a basic registration is voluntarily canceled, and therefore all distributor products are
            canceled, the registrant may wish to notify the Agency that a supplemental distributor relationship has ended. In this
            situation the basic registration remains but the distributor product(s) is/are canceled. There are also times when the
            basic registrant and/or distributor wants to remove a brand name from a distributor product while keeping both the
            basic and distributor registrations active. The Agency requests that these types of notifications be provided by letter. To
            assure efficient processing, when notifying the Agency of the end of a supplemental distributor relationship, the
            following should be included in the subject line and body of the request letter:



https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                                   6/12
                                                                                                                                                  AR0000515
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   516
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




            “Notification of Termination of Supplemental Distributor Agreement,” then add the PRODUCT NUMBER including the
            distributor company number for which the relationship has ended. This will terminate all distributor products
            associated with the cited registrant’s product and distributor company number.

            When notifying the Agency of changes to the brand name of a supplemental distributor product, the following should
            be included in the subject line and body of the request letter:

            “Notification of [Removal and/or Change] of Distributor Product Name,” then add the PRODUCT NAME you would like
            removed or changed.

            Please note, when a basic registrant terminates a supplemental registration, EPA interprets 40 CFR 152.130(c) to
            generally permit a supplemental distributor 18 months to sell and distribute existing stocks after the basic registrant
            terminates the supplemental registration. In this context, the supplemental registrant's existing stocks are only those
            affected pesticide products that have been released for shipment as of the effective date of termination of the subject
            supplemental registration. Sale or distribution of any quantities of the affected distributor product produced after the
            effective date of termination would be considered illegal under FIFRA.

            It is important to note that while EPA regulations and policy may permit such distribution or sale of existing stocks for
            18 months following termination of the supplemental distribution, the contractual arrangement between the basic
            registrant and the supplemental distributor may contain terms that further limit or preclude sale and distribution by
            the supplemental distributor (although such contractual arrangements would be enforceable through the courts, and
            not by EPA). The registrant and supplemental distributor are equally liable for any violations that occur during the 18
            months during which the existing supplemental product can be sold, unless a contractual arrangement between the
            two limits the existing stocks period. The ability for the supplemental distributor to sell and distribute is linked to the
            liability of the basic registrant.

            If the supplemental distributor is legally selling and distributing, the basic registrant is still liable for any violations. The
            basic registrant would not, however, be liable for any violations stemming from distributor product that is produced
            after the termination of the relationship.

            After the relationship between basic registrant and supplemental distributor is officially and totally terminated (either
            by the passing of 18 months after the basic registrant notified the Agency of the end of the relationship or by a contract
            that finally ends the relationship earlier by disallowing existing stocks), the basic registrant is no longer liable for any
            violations that occur based on the distributor’s product.




            Concerning a Supplemental Registration of a
            Distributor Product
            The registrant of the basic registered product should submit the completed application (cover letter and 8570-5 form)
            and any subsequent requests or notifications via the Pesticide Submission Portal (PSP):
            https://cdx.epa.gov/epa_home.asp <https://cdx.epa.gov/epa_home.asp> or to Shirley Burgess (burgess.shirley@epa.gov).

            For more information on electronic submissions of pesticide applications go here <https://epa.gov/node/29751>.

            Please note, these items should not be directed/sent to the registering division or product manager.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                         7/12
                                                                                                                                         AR0000516
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   517
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




            Where to Request a Company Number
            To obtain an EPA assigned company number go here <https://epa.gov/node/37715>.




            Where to Request an Establishment Registration
            Information on how and where to register an establishment (pesticide product producing facility) may be found on the
            Pesticide Establishment Registration and Reporting <https://epa.gov/compliance/pesticide-establishment-registration-and-reporting>
            Web page and Chapter 14 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or>.




            Contacts for More Information
            For further information, please contact Shirley Burgess (burgess.shirley@epa.gov) or by calling 703-308-8628.




            References Cited in Chapter 9
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the sources of these documents.

            Code of Federal Regulation, Title 40



                      Part 152 - Pesticide registration and classification procedures
                      Part 156 - Labeling requirements for pesticides and devices




            EPA Form 8570-5 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms> - Notice of Supplemental
            Registration of Distributors



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                               8/12
                                                                                                                                                AR0000517
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   518
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 28, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                                 9/12
                                                                                                                                                 AR0000518
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   519
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                10/12
                                                                                                                                 AR0000519
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   520
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                          11/12
                                                                                                                                            AR0000520
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter57-3     Filed 04/24/24
                                                                     9 - Supplemental Distribution of aPage   521
                                                                                                       Registered   of 739
                                                                                                                  Pesticide | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-9-supplemental-distribution-registered                12/12
                                                                                                                                 AR0000521
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR        Document
                                    Pesticide Registration         57-3 10Filed
                                                           Manual: Chapter - Data04/24/24     Page 522| of
                                                                                 Compensation Requirements US 739
                                                                                                              EPA




               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



           Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
           Registration


           Pesticide Registration Manual: Chapter 10
           - Data Compensation Requirements
           In this chapter:
               Introduction                                                                                       Registration Manual
               FIFRA Provisions Relating to Data Compensation Obligations                                          Table of Contents
               Expansion of Exclusive-Use Rights by FQPA
               Complying with Data Compensation Procedures                                                       Pesticides Registration Manual
                   Methods for Complying with the Data Compensation Requirements                                 Home Page <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                   of FIFRA Section 3(c)(1)(F)
                                                                                                                 manual>
                   Categories of Data
                   When Materials Must Be Submitted to the Agency                                                Introduction
                   The Cite-All Method of Support                                                                <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                   The Selective Method of Support
                                                                                                                 manual-introduction>
               Data Compensation Charges/Payment Disputes
                   Petitions to Cancel Registration                                                              How to Register a Pesticide
                                                                                                                 Product – A Guide for Applicants
               Questions and Answers
                                                                                                                 New to the Process
               Contacts for Additional Information
                                                                                                                 <https://epa.gov/pesticide-
               References Cited in Chapter 10                                                                    registration/how-register-pesticide-guide-
                                                                                                                 applicants-new-process>


                                                                                                                   1. Requirements for Pesticide
           Introduction                                                                                               Registration and Registrant
                                                                                                                      Obligations
           This chapter describes the information that an applicant must submit
                                                                                                                     <https://epa.gov/pesticide-
           with the application for registration, amended registration, reregistration
                                                                                                                     registration/pesticide-registration-
           or registration review to comply with the provisions of FIFRA section 3(c)
                                                                                                                     manual-chapter-1-overview-
           (1)(F) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
                                                                                                                     requirements-pesticide>
           rodenticide-act>. This chapter also describes the procedures by which data
           submitters may challenge registration actions that allegedly failed to
           comply with these procedures. Addressing data compensation obligations
           is a critical part of the registration and reregistration processes. If the




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                                                1/22
                                                                                                                                                            AR0000522
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 523| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           Agency determines that an applicant has failed to comply with the                           2. Registering a Pesticide
           requirements in FIFRA and its implementing regulations, the application                        Product <https://epa.gov/pesticide-
           may be denied or a registration previously issued may be canceled.                             registration/pesticide-registration-
                                                                                                          manual-chapter-2-registering-
                                                                                                          pesticide-product>


           FIFRA Provisions Relating to                                                                3. Additional Considerations for
                                                                                                          Biopesticide Products
           Data Compensation Obligations                                                                  <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
           A substantial amount of scientific data and information are required to
                                                                                                          manual-chapter-3-additional-
           support the registration of a pesticide. These data and information can be
                                                                                                          considerations>
           very costly to the data submitter. To protect the interests of data
                                                                                                       4. Additional Considerations for
           submitters, Congress included provisions in FIFRA that provide data
                                                                                                          Antimicrobial Products
           submitters certain rights to the data they submit to EPA. In particular,
                                                                                                          <https://epa.gov/pesticide-
           FIFRA section 3(c)(1)(F) <https://epa.gov/laws-regulations/summary-federal-insecticide-
                                                                                                          registration/pesticide-registration-
           fungicide-and-rodenticide-act> provides for both “exclusive-use” and
                                                                                                          manual-chapter-4-additional-
           compensation rights in data submitted to EPA to support registration
                                                                                                          considerations>
           actions.
                                                                                                       5. Registration Fees
           “Exclusive-use” treatment for data means that the data may not be relied                       <https://epa.gov/pesticide-
           upon by other applicants or registrants to support FIFRA registration and                      registration/pesticide-registration-
           reregistration actions without the permission of the data submitter. As a                      manual-chapter-5-registration-fees>
           general matter, exclusive-use protections apply to those data that are                      6. Amending a Registered
           submitted to support the initial registration of a product containing a new                    Pesticide Product
           active ingredient. A 10-year period of protection for such data begins from                    <https://epa.gov/pesticide-
           the date of the original registration of the pesticide. This 10-year period of                 registration/pesticide-registration-
           protection also extends to data submitted solely to support the addition                       manual-chapter-6-amending-
           of any new use to that registration during the 10-year period (note that                       registered-pesticide>
           such new use data are entitled to exclusive-use treatment only for the
                                                                                                       7. Notifications and Minor
           balance of the 10-year period remaining following addition of the new use
                                                                                                          Formulation Amendments
           to the registration).
                                                                                                          <https://epa.gov/pesticide-

           While exclusive-use rights apply to data submitted to EPA in support of the                    registration/pesticide-registration-

           first registration of a pesticide, “compensation” rights extend to all data                    manual-chapter-7-notifications-and-

           necessary to support or maintain a registration or that are necessary to                       minor-formulation>

           support of an experimental use permit. Applicants and registrants may                       8. Inert Ingredients
           not rely on data that retain compensation rights to support registration or                    <https://epa.gov/pesticide-
           reregistration unless they have first offered the data submitter                               registration/pesticide-registration-

           compensation for the use of such data. Section 3(c)(1)(F) provides for a 15-                   manual-chapter-8-inert-ingredients>
           year period of protection for such data following the date of submission of                 9. Supplemental Distribution of
           that data to the Agency. There is a more detailed discussion below                             a Registered Pesticide
           describing how the Agency protects data rights.                                                <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-9-supplemental-
                                                                                                          distribution-registered>

                                                                                                      10. Data Compensation
                                                                                                          Requirements




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                                     2/22
                                                                                                                                                 AR0000523
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR        Document
                                    Pesticide Registration         57-3 10Filed
                                                           Manual: Chapter - Data04/24/24     Page 524| of
                                                                                 Compensation Requirements US 739
                                                                                                              EPA




           Expansion of Exclusive-Use                                                                 11. Tolerance Petitions
                                                                                                          <https://epa.gov/pesticide-
           Rights by FQPA                                                                                 registration/pesticide-registration-
                                                                                                          manual-chapter-11-tolerance-
           The Food Quality Protection Act (FQPA) of 1996 <https://epa.gov/node/111505>
                                                                                                          petitions>
           amended the data protection rights section of FIFRA by expanding
                                                                                                      12. Applying for an Experimental
           exclusive-use rights. Under FIFRA section 3(c)(1)(F)(ii) <https://epa.gov/laws-
                                                                                                          Use Permit
           regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>, the Agency
                                                                                                          <https://epa.gov/pesticide-
           may extend the 10-year period of exclusivity for a period of up to three
                                                                                                          registration/pesticide-registration-
           years by the addition of new minor uses to the original registration (three
                                                                                                          manual-chapter-12-applying-
           minor uses required for each additional year of exclusive-use protection).
                                                                                                          experimental-use-permit>
           The new minor uses must have been registered within seven years of the
           date the original registration was granted to qualify and they must also                   13. Devices <https://epa.gov/pesticide-
           meet at least one of the statutory criteria (e.g., there are insufficient                      registration/pesticide-registration-

           efficacious alternatives registered).                                                          manual-chapter-13-devices>

                                                                                                      14. How to Obtain an EPA
           It is the registrants’ responsibility to request the extension. Registrants                    Establishment Number
           must also provide information to the Agency explaining how they meet                           <https://epa.gov/pesticide-
           the applicable statutory criteria in order for EPA to determine whether the                    registration/pesticide-registration-
           registration is entitled to the extension of exclusive-use protection rights.                  manual-chapter-14-how-obtain-epa-
           Read more about expanding exclusive-use rights <https://epa.gov/pesticide-                     company-or>
           registration/details-exclusive-use-data-protection-minor-use-registrations>.
                                                                                                      15. Submitting Data and
           FQPA also amended the FIFRA data protection provisions by adding                               Confidential Business
           section 3(c)(1)(F)(vi) that provides the Agency with the authority to afford                   Information
           exclusive-use protection to data submitted by an applicant, or by a                            <https://epa.gov/pesticide-

           registrant to support an amendment adding a new minor use to an                                registration/pesticide-registration-

           existing registration that does not retain any period of exclusive use. The                    manual-chapter-15-submitting-data-

           data associated with the new minor use are entitled to 10 years of                             and-confidential>

           exclusive-use protection from the date the data are submitted if the data                  16. Transfer of Product
           relate solely to a new minor use. In order to obtain the exclusive-use                         Registrations and Data Rights
           protection, the applicant or registrant must at the time the new use is                        <https://epa.gov/pesticide-
           requested notify the Agency that to the best of its knowledge the                              registration/pesticide-registration-
           exclusive-use period for the pesticide has expired and that the data                           manual-chapter-16-transfer-product-
           pertaining solely to the minor use of a pesticide are eligible for the                         registrations-and>
           protection under this section of FIFRA.                                                    17. State Regulatory Authority
                                                                                                          <https://epa.gov/pesticide-
           Important Notes: The registrant or applicant must request the exclusive-
                                                                                                          registration/pesticide-registration-
           use protection of section 3(c)(1)(F)(vi) at the time they request the
                                                                                                          manual-chapter-17-state-regulatory-
           amendment for the new minor use.
                                                                                                          authority>

           Under 3(c)(1)(F)(ii), as appropriate, EPA shall modify or terminate the                    18. Other Federal or State Agency
           exclusive-use period if the registrant voluntarily cancels the product or                      Requirements
           deletes from the registration the minor uses that formed the basis for the                     <https://epa.gov/pesticide-
           extension of exclusive use, or if EPA determines that the registrant is not                    registration/pesticide-registration-
           actually marketing the product for such minor uses.                                            manual-chapter-18-other-federal-or-
                                                                                                          state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                                     3/22
                                                                                                                                                 AR0000524
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 525| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           Complying with Data                                                                        19. How to Obtain Publications
                                                                                                          <https://epa.gov/pesticide-
           Compensation Procedures                                                                        registration/pesticide-registration-
                                                                                                          manual-chapter-19-how-obtain-
           As stated in 40 CFR 152.81(a), data compensation procedures apply to
                                                                                                          publications>
           each application for:
                                                                                                      20. Forms and How to Obtain
                                                                                                          Them <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-20-forms-and-how-
                                                                                                          obtain-them>

                                                                                                      21. Directions for Submitting
                                                                                                          Applications and Contacting
                                                                                                          EPA <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-21-directions-
                                                                                                          submitting-applications>


                                                                                                      Appendices

                                                                                                          Appendix A: Guidance
                                                                                                          Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-guidance-
                                                                                                          documents>

                                                                                                          Appendix B: Examples of
                                                                                                          Registrant Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-b-examples-
                                                                                                          registrant-documents>

                                                                                                          Appendix C: Pesticide Forms
                                                                                                          Overview Table
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-c-pesticide-forms-
                                                                                                          overview-table>

                                                                                                          Appendix D: Examples of
                                                                                                          Completed Forms
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-d-examples-
                                                                                                          completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                                     4/22
                                                                                                                                                 AR0000525
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 526| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




                     registration of a new product;
                     amendment to add a new use to an existing product registration; and
                     reregistration and registration review of an existing product.




           However, (a) is limited by 40 CFR 152.81(b) in that data compensation procedures do not apply to the following types of
           applications:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                   5/22
                                                                                                                              AR0000526
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 527| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




                     applications for registration submitted by states under FIFRA section 24(c);
                     applications for experimental use permits under FIFRA section 5;
                     applications for emergency exemptions under FIFRA section 18; and
                     applications to make only one or more of the following types of amendments to existing
                     registrations, unless the consideration of scientific data would be necessary in order to
                     approve the amendment under FIFRA section 3(c)(5) per 40 CFR 152.81(b)(4)
                          an increase or decrease in the percentage in the product of one or more of its active
                          ingredients or deliberately added inert ingredients;
                          a revision of the identity or amount of impurities present in the product;
                          the addition or deletion of one or more deliberately added inert ingredients;
                          the deletion of one or more active ingredients;
                          a change in the source of supply of one or more of the active ingredients used in the
                          product, if the new source of the active ingredient is a product which is registered
                          under FIFRA section 3;
                          deletion of approved uses of claims;
                          redesign of the label format involving no substantive changes, express or implied, in
                          the directions for use, claims, representations, or precautionary statements;
                          change in the product name or addition of an additional brand name, if no
                          additional claims, representations, or uses are expressed or implied by the changes;
                          clarification of directions for use;
                          correction of typographical errors;
                          changes in the registrant's name or address;
                          adding or deleting supplemental registrants;
                          changes in the package or container size;
                          changes in warranty, warranty disclaimer, or liability limitation statements, or
                          addition to or deletion of such statements;
                          “splitting” a label for the sole purpose of facilitating the marketing of a product in
                          different geographic regions with appropriate labels, where each amended label will
                          contain previously approved use instructions (and related label statements)
                          appropriate to a particular geographic region;
                          any other type of amendment, if the Administrator or his designee determines, by
                          written finding, that the Agency consideration of scientific data would not be
                          necessary in order to approve the amendment under FIFRA section 3(c)(5); and
                          compliance with Agency Regulations, adjudicatory hearing decisions, notices, or
                          other Agency announcements that unless the registration is amended in the manner
                          the Agency proposes, the product's registration will be suspended or cancelled, or
                          that a hearing will be held under FIFRA section 6. (However, this paragraph does not
                          apply to amendments designed to avoid cancellation or suspension threatened under
                          FIFRA section 3(c)(2)(B) or because of failure to submit data.)




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements         6/22
                                                                                                                     AR0000527
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 528| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           Methods for Complying with the Data Compensation Requirements of FIFRA
           Section 3(c)(1)(F)
           In order for the Agency to evaluate an application for registration or to amend a registered product, the applicant
           generally must either submit its own data or cite to data previously submitted by it or others that cover the required
           data to support the application or amendment. 40 CFR 152.80‑99 and 152.116‑119 provide detailed information on how
           to comply with the data compensation provisions of FIFRA section 3(c)(1)(F).

           The methods for complying with data requirements may be addressed in one of two ways and are discussed in detail in
           this chapter:



                     Cite-All: The applicant cites to all the data in the Agency files that are pertinent to EPA’s
                     consideration of the requested registration action. See 40 CFR 152.86.
                     Selective Method: The applicant lists the specific data requirements that apply to its
                     product, its active ingredients, and use patterns and then selectively cites to individual
                     studies, including the applicant’s own data. The selective method also allows an
                     applicant to “cite all” data in the Agency’s files to satisfy specific data requirements
                     (commonly referred to as “selective cite-all”). See 40 CFR 152.90(b)(5).




           Categories of Data
           FIFRA section 3(c)(1)(F) establishes three categories of data and the regulations and legislative history provide further
           information on each:



                     Exclusive-Use Data. Under FIFRA section 3(c)(1)(F)(i), data submitted to the Agency in
                     support of the initial registration of a new active ingredient, a new combination of active
                     ingredients, or in support of an application to amend the original registration to add a
                     new use have “exclusive-use” protection for a period of 10 years after the date of the
                     initial registration. The Agency cannot consider these data in support of an application
                     for registration or amendment to a registration unless written authorization from the
                     original data submitter is obtained authorizing the Agency to use these data to support
                     the application. After the “exclusive” use period has expired, the owner of the data may
                     still be entitled to compensation as described below. See 40 CFR 152.83(c) and 40 CFR
                     152.116.




           As described above, FIFRA sections 3(c)(1)(F)(ii) and (vi) provide for extensions of the 10-year period and establish
           exclusive-use protection for certain minor use data where the data no longer retain exclusive-use protection,
           respectively.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                       7/22
                                                                                                                                   AR0000528
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 529| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




                     Compensable Data. The Agency may, without the permission of the original data
                     submitter, consider data that: (1) no longer retains exclusive-use protection, (2) were
                     submitted to support an application, and (3) are within the 15-year compensatory period
                     (period begins on the date the data were originally submitted to EPA), as long as the
                     applicant/registrant relying on these data has certified to the Agency that it has offered
                     to pay compensation to the original data submitter(s). In addition, the applicant must
                     provide a notification to the registrants who own the data being relied upon of its intent
                     to apply for registration, including the name of the proposed product, and a list of the
                     product’s active ingredients.
                     All Other Data. Data not falling into the first two categories (e.g., public literature
                     articles, government-generated studies, and data for which all periods of exclusive use
                     and compensation have expired) may be cited by an applicant without permission or an
                     offer of compensation. However, the applicant or registrant is still required to submit a
                     data compensation certification form. See 40 CFR 152.94.

                * Note that when a study is developed jointly with government and private resources, the
                private component may be compensable under certain circumstances. For further
                information, see Question and Answer 13 below.



           When Materials Must Be Submitted to the Agency
           Information and materials required to demonstrate compliance with data compensation procedures must be
           submitted at the time of application (40 CFR 152.84), unless it is determined that data compensation procedures do not
           apply to the application 40 CFR 152.81(b).

           The Cite-All Method of Support
           Applicants may comply with the data compensation requirements under the cite‑all method (40 CFR 152.86 and 40 CFR
           152.95) for an application to register a new product or to amend or reregister a product by:



                     citing all pertinent data in the Agency's files and making appropriate offers to pay
                     compensation. If exclusive-use data are being used, written permission from the
                     original data submitter is required.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                  8/22
                                                                                                                             AR0000529
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 530| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           Information to be submitted if an applicant chooses the cite-all method of support:



                     Certification with Respect to Citation of Data (EPA Form 8570‑34 <https://epa.gov/pesticide-
                     registration/pesticide-registration-manual-blank-forms>)


                     Except for applications for amendments that require no supporting data, applicants
                     must complete this form to indicate how they will meet their data submission/data
                     citation obligations under FIFRA. When a registrant relies on another company’s data, it
                     generally must certify that an offer of compensation has been made to the original data
                     submitter or that it has the original data submitter’s permission to cite the data. For
                     further information on how to comply with data compensation requirements see FIFRA
                     section 3(c)(1)(F), 40 CFR 152, Subpart E and the PRIA Web page.


                          Check the first box in section I, indicating the cite-all method of support; and
                          Check the box in section II indicating a general offer to pay compensation to other
                          data submitters to the extent required by FIFRA section 3(c)(1)(F).


                     Data Matrix (EPA Form 8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>)


                     Applicants/registrants must include with the data certification form a completed list of
                     companies sent offers of compensation. Data Matrix (EPA Form 8570-35
                     <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) should be used for this purpose.


                     When submitting a Certification with Respect to Citation of Data (EPA Form 8570-34
                     <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) under the cite-all method, the

                     data matrix should indicate the companies to whom offers of compensation were made.

                     There are two different copies of Form 8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-
                     manual-blank-forms>: the “Public File Copy” and the “Agency Internal Use Copy.” The Agency
                     Internal Use Copy is normally retained for Agency use but is available by request under
                     the Freedom of Information Act (FOIA) <https://epa.gov/foia>. The Public File Copy will not
                     contain the guideline reference number, the guideline study name, and the MRID
                     number but will indicate the submitter and status of the data. (MRID numbers are not
                     confidential.) This version of the data matrix will be available for public inspection
                     along with Form 8570-34 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms> once a
                     product is registered.


                     Important Note: The data tables and bibliography in an applicable Registration Standard
                     and/or Reregistration Eligibility Document can be very helpful in developing a data
                     matrix.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                              9/22
                                                                                                                                          AR0000530
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 531| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           The Selective Method of Support
           Applicants may comply with the data compensation requirements under the selective method by listing the specific
           data requirements that apply to their product (its active ingredients and/or use patterns) and by demonstrating
           compliance with the data requirements by either submitting the actual studies, citing individual studies, or by
           demonstrating that no study has been previously submitted to the Agency (a data gap). The selective method also
           allows an applicant to “cite all” data in the Agency’s files to satisfy specific data requirements. This is known as the
           “cite-all” option under the selective method. Please refer to 40 CFR 152.90 for a detailed discussion of the selective
           method.

           Important Note:The Data Gap option is not available to certain applicants, i.e., those seeking the registration of a
           product containing a new active ingredient or those seeking to add a new use pattern to a registered product. Please
           refer to 40 CFR 152.96 for additional information on documentation of a data gap.



                     Certification with Respect to Citation of Data (EPA Form 8570‑34 <https://epa.gov/pesticide-
                     registration/pesticide-registration-manual-blank-forms>)


                     Except for applications for amendments that require no supporting data, applicants
                     must complete this form to indicate how they will meet their data submission/data
                     citation obligations under FIFRA. When a registrant relies on another company’s data, it
                     generally must certify that an offer of compensation has been made to the original data
                     submitter or that it has the original data submitter’s permission to cite the data. For
                     further information on how to comply with data compensation requirements see FIFRA
                     section 3(c)(1)(F) and 40 CFR 152, Subpart E and the PRIA Web page.


                          Check the second box in section I, indicating the selective method of support.
                          Check the box in section II indicating a general offer to pay compensation to other
                          data submitters to the extent required by FIFRA section 3(c)(1)(F) if using the cite-
                          all option under the selective method of support.


                     Data Matrix (EPA Form 8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>)


                     Include with this form a completed list of data requirements. Data Matrix (EPA Form
                     8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) must be used for this
                     purpose. See PR Notice 98-5 <https://epa.gov/pesticide-registration/prn-98-5-new-forms-certification-respect-citation-
                     data>.




           Data Compensation Charges/Payment Disputes
           FIFRA sections 3(c)(1)(F)(iii) and 3(c)(2)(B)(iii) state that the terms and amount of compensation may be fixed by
           agreement between the original data submitter and the applicant or, failing such agreement, by binding arbitration
           under the procedure and rules of the Mediation and Conciliation Service. EPA is not involved with such disputes or the




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                                 10/22
                                                                                                                                              AR0000531
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 532| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           procedures for arbitration. The arbitrator is to be appointed from the roster of arbitrators maintained by such Service.

           The findings and determination of the arbitrator shall be final and conclusive, and no official or court of the United
           States shall have power or jurisdiction to review any such findings and determination, except for fraud,
           misrepresentation, or other misconduct by one of the parties to the arbitration or the arbitrator. All parties to the
           arbitration shall share equally in the payment of the fee and expenses of the arbitrator. Please refer to 29 CFR Part 1440
              for details on the arbitration procedures.

           Petitions to Cancel Registration
           40 CFR 152.99 describes the procedures by which data submitters may challenge registration actions that allegedly
           failed to comply with FIFRA section 3(c)(1)(F).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                       11/22
                                                                                                                                    AR0000532
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 533| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




                Grounds for petition.




                If an applicant has offered to pay compensation to an original data submitter of a study
                (either specifically or by filing a general offer to pay statement), the original data submitter
                may petition the Agency to deny or cancel the registration for any of the following reasons
                40 CFR 152.99(a)(1):



                       1. the applicant failed to reach an agreement on the amount and terms of
                         compensation;
                      2. the applicant failed to comply with the terms of an agreement on compensation;
                      3. the applicant failed to participate in an arbitration proceeding; or
                      4. the applicant failed to comply with the terms of an arbitration decision.




                When no offer to pay has been made, grounds for challenge include but are not limited to
                the following 40 CFR 152.99(a)(2):




                       1. the applicant has failed to list a data requirement applicable to its product, or has
                         failed to demonstrate compliance with all applicable data requirements;
                      2. the applicant has submitted or cited a study that is not valid;
                      3. the applicant has submitted or cited a study that does not satisfy the data
                         requirement for which it was submitted or cited;
                      4. the applicant has failed to comply with the procedure for showing that a data gap
                         exists;
                      5. the applicant has improperly certified that a data gap exists (An original data
                         submitter who has failed without good cause to respond to an applicant’s request for
                         confirmation of a data gap may not petition the Agency for review on this basis.); or
                      6. the applicant has submitted or cited a study originally submitted by the petitioner,
                         without the required authorization or offer to pay.




                Timing of Petition 40 CFR 152.99(b)

                A petition under paragraph (a)(1) above may be filed at any time that the circumstances
                warrant. A petition under paragraph (a)(2) above must be filed within one year after the
                Agency makes public the issuance of the registration.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements        12/22
                                                                                                                     AR0000533
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 534| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           Questions and Answers
           The following questions reflect those most frequently asked inquiries regarding data compensation procedures:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements              13/22
                                                                                                                           AR0000534
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR        Document
                                    Pesticide Registration         57-3 10Filed
                                                           Manual: Chapter - Data04/24/24     Page 535| of
                                                                                 Compensation Requirements US 739
                                                                                                              EPA




                   1. What data compensation information does the Agency require for a product or an
                      amendment under the Cite‑All Method of Support?

                     The Agency requires a completed and signed Certification With Respect to Citation of
                     Data (EPA Form 8570‑34 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) including
                     a completed list of companies sent offers of compensation. Data Matrix (EPA Form
                     8570-35 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) should be used for this
                     purpose. The PRIA Web page provides information on the contents of an application
                     <https://epa.gov/pria-fees>. Information on exclusive use and data rights extensions can be found
                     on the minor use Web page <https://epa.gov/pesticide-registration/minor-uses-and-grower-resources>.

                   2. What are the data compensation requirements when submitting an application for an
                      amendment to the registration of a product, when the Selective Method of Support is
                      selected?

                     If an applicant wishes to use the Selective Method of Support, the Agency requires a
                     completed and signed Certification With Respect to Citation of Data (EPA Form 8570‑34
                     (PDF) <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) and a Data Matrix (EPA
                     Form 8570-35 (PDF) <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) with
                     appropriate information showing how each data requirement is to be satisfied for the
                     amendment, taking into consideration the most up‑to‑date information, i.e., the data
                     tables and bibliography in the most recent Registration Standard or Reregistration
                     Eligibility Document (if any) and the data requirements in 40 CFR Part 158 and for
                     antimicrobials, 40 CFR 161. The PRIA Web page provides information on the contents of
                     an application. <https://epa.gov/pria-fees>

                     If a data matrix previously submitted in support of the product's initial registration or
                     amendment is still valid, and no additional data are required, an applicant may
                     reference that data matrix in support of its current applications for amended
                     registration. If additional data are required to support their current amendment
                     requests, then an updated data matrix must be submitted.

                   3. Does an applicant requesting a registration for 100% repackaging of a registered
                      technical grade, manufacturing-use or end-use product qualify for a formulators’
                      exemption?

                     Yes, within the limits prescribed in 3(c)(2)(D) and 40 CFR 152.85. Other than the
                     formulators’ exemption form, no other data compensation form needs to be submitted
                     to EPA. Under 40 CFR 152.116, if the registered product to be repackaged has exclusive-
                     use data associated with it, OPP will send a Notice of Intent to register the product to the
                     original data submitter(s).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                          14/22
                                                                                                                                       AR0000535
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR        Document
                                    Pesticide Registration         57-3 10Filed
                                                           Manual: Chapter - Data04/24/24     Page 536| of
                                                                                 Compensation Requirements US 739
                                                                                                              EPA




                   4. When submitting an application for an amendment to the registration of a product,
                      and data are required to support the proposed amendment, does an applicant have to
                      once again offer to pay compensation for all of the data necessary to support the
                      amendment?

                      Yes. The entire product is subject to the data compensation provisions, including any
                      amendment. There are several reasons for this requirement:

                           either generic data or product-specific data may have been submitted to the Agency
                           to fill data gaps since the first offer to pay compensation was made with the initial
                           application for registration or amendment; and


                           some of the data initially used to support the registration may have been determined
                           to be unacceptable and may have been replaced. As a result, if additional data are
                           required to support the proposed amendment to the registration, the entire product
                           including the proposed amendment is subject to the data compensation
                           requirements of section 3(c)(1)(F) of FIFRA.
                   5. If an applicant obtains a letter from a company on the Data Submitters List
                      <https://epa.gov/pesticide-registration/pesticide-data-submitters-list-pdsl> indicating that the company does not
                      want any compensation for its data, may the applicant use this letter to demonstrate
                      that the company has granted permission to use its data? What is necessary to comply
                      with the permission required for the use of exclusive-use data?

                      The contents of a letter of authorization are described in 40 CFR 152.93(b)(1). Only in the
                      case of exclusive use is explicit permission required. Otherwise, if the applicant goes
                      through the proper data compensation procedures, permission from the data submitter
                      is not required.

                   6. If an applicant has a letter from a data submitter in its files granting the applicant
                      permission to use the data submitter's data, can the applicant use the letter to support
                      its application without getting new authorization to use the same data?

                      EPA will allow an applicant to use such a letter to certify that it has received written
                      permission from the data submitter to cite its data, provided the letter of authorization
                      is sufficiently clear that it extends to the use of the data to support the action in
                      question.

                      The Agency will honor the terms and conditions of an original letter of authorization to
                      cite data and will not accept a letter withdrawing that authorization unless both the
                      original data submitter and the applicant relying on the data submitter's data agree that
                      such authorization has been withdrawn.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                         15/22
                                                                                                                                      AR0000536
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration         57-3 10Filed
                                                            Manual: Chapter - Data04/24/24     Page 537| of
                                                                                  Compensation Requirements US 739
                                                                                                               EPA




                    7. If an applicant has a product that contains multiple active ingredients, some of which
                       are purchased from registered sources and others that are not, can they claim a
                      formulators’ exemption for those active ingredients that are purchased from a
                      registered source?

                      Yes, within the limits prescribed in 3(c)(2)(D) and 40 CFR 152.85, EPA will allow the
                      formulators’ exemption for the registered active ingredients if the use patterns on the
                      applicant’s label are supported by the applicant’s registered source. Applicants should
                      submit a properly completed Formulator's Exemption Statement (EPA Form 8570‑27
                      <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>).


                   8. If the Cite‑All Method of Support is used, does the applicant also have to submit a list of
                      data requirements and references?

                      The cite-all method does not require an accompanying list of data requirements such as
                      that required for the selective method; however, the Data Matrix (EPA Form 8570-35)
                      must be submitted under the cite‑all method to indicate the companies to whom offers
                      of compensation were made.

                   9. What is the specific timeframe by which a data submitter must respond to an
                      applicant’s offer to pay for data compensation, and if a data submitter does not
                      respond, is the applicant still liable to pay for data compensation?

                      FIFRA and the regulations in 40 CFR Part 152, Subpart D     do not require a data
                      submitter to respond to offers within a specific timeframe to preserve data
                      compensation rights. A data submitter may seek compensation at any time. Generally,
                      the offer is made and negotiation commences shortly thereafter concerning the amount
                      of compensation and the timing of payment.

                   10. If an applicant writes to a company on the Data Submitters' List via certified mail and
                       the letter is returned with an indication that the data submitter's company cannot be
                      located, what else is required to find the company?

                      If the applicant has obtained a certified or registered mail statement that there is no
                      known address for the data submitter’s company, then the applicant has made a
                      reasonable effort to notify that company. Of course, the applicant may pursue the matter
                      further if so desired. Under these circumstances, the applicant should indicate in the
                      application the actions undertaken to locate the data submitter. This documentation
                      would be especially useful should a data submitter wish to challenge a registration in the
                      future based on the applicant’s failure to make an offer of compensation.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements        16/22
                                                                                                                     AR0000537
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration         57-3 10Filed
                                                            Manual: Chapter - Data04/24/24     Page 538| of
                                                                                  Compensation Requirements US 739
                                                                                                               EPA




                   11. If eligible for the formulators’ exemption, does an applicant have to submit anything
                       else in addition to the Formulator's Exemption Statement (EPA Form 8570‑ 27
                      <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>) and the Confidential Statement of
                      Formula (EPA Form 8570‑4 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>)?

                      Unless the product is a 100% repack, i.e., the registered product purchased from another
                      producer has only been repackaged or placed in a different container with no changes to
                      the formulation, an applicant must submit information required for either the Selective
                      or the Cite All Method of Support in addition to submitting the Formulator’s Exemption
                      Statement and Confidential Statement of Formula.

                   12. Do applicants have to get permission from, or make an offer to pay, the person whose
                       study appears in the public literature in order to cite that literature?

                      No, there is no such requirement. Under 40 CFR 152.94(b), submission of a public
                      literature study or government-generated study does not confer any rights on the data
                      submitter to exclusive use of data or compensation.

                   13. If a study is jointly developed with government and private funds, are there
                      circumstances when the private component may be subject to data compensation?

                      Yes. Provided the data are submitted by an applicant or registrant to support or
                      maintain the registration of a pesticide, the private portion of the data development
                      effort is subject to compensation, even when there may have been some measure of
                      government involvement in the generation or funding of the data. EPA expects that the
                      data submitter and the follow-on applicant will, through negotiation (or arbitration,
                      should negotiations fail), determine the portion of the data development activity that
                      was supported by private funds and therefore subject to compensation. It is important to
                      note, however, that when EPA receives data directly from a government agency rather
                      than from an applicant or registrant, it will presume these data to be entirely
                      government-generated data under 40 CFR 152.94(b), and therefore “public literature”
                      within the meaning of FIFRA section 3(c)(1)(F) that may be freely cited. Thus if
                      applicants wish to receive compensation for data that may have been jointly developed
                      with a government agency, the data must be submitted to EPA by the applicant or
                      registrant.

                      While compensation rights may apply to government-generated studies, exclusive use
                      rights do not extend to these studies. EPA believes it would be inconsistent with the
                      intent of Congress in enacting FIFRA to provide exclusive use treatment for data that
                      have been generated or funded to some extent by the government. Since exclusive use
                      rights, unlike compensation rights, are not segregable, rewarding such data with
                      exclusive use treatment would be contrary to the direction in FIFRA that allows public
                      literature to be cited freely.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                            17/22
                                                                                                                                       AR0000538
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR        Document
                                    Pesticide Registration         57-3 10Filed
                                                           Manual: Chapter - Data04/24/24     Page 539| of
                                                                                 Compensation Requirements US 739
                                                                                                              EPA




           Contacts for Additional Information
           For assistance concerning the data compensation procedures, please contact the appropriate Branch for your pesticide
           product. Refer to Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-
           applications>.




           References Cited in Chapter 10
           Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
           information on the sources of these documents.

           Code of Federal Regulation, Title 40



                     Part 152 - Pesticide registration and classification procedures
                     Part 156 - Labeling Requirements for Pesticides and Devices
                     Part 158 - Data Requirements for Registration
                     Part 161 - Data Requirements for Registration of Antimicrobial Pesticides




           Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
           rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                     Section 3(c)(1)(F)
                     Section 3(c)(2)(B)
                     Section 3(c)(5)
                     Section 3(c)(7)




           PR Notices



                     PR Notice 94-1 <https://epa.gov/pesticide-registration/prn-94-1-withdrawal-pr-notice-91-8> Withdrawal of PR Notice
                     91-8
                     PR Notice 98-5 <https://epa.gov/pesticide-registration/prn-98-5-new-forms-certification-respect-citation-data> New forms
                     for the Certification with Respect to Citation of Data




           Data Submitters List <https://epa.gov/pesticide-registration/pesticide-data-submitters-list-pdsl>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                                     18/22
                                                                                                                                                  AR0000539
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR        Document
                                    Pesticide Registration         57-3 10Filed
                                                           Manual: Chapter - Data04/24/24     Page 540| of
                                                                                 Compensation Requirements US 739
                                                                                                              EPA




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




           Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
           report a problem.

           LAST UPDATED ON NOVEMBER 2, 2022




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                                     19/22
                                                                                                                                                AR0000540
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 541| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements        20/22
                                                                                                                     AR0000541
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 542| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




           Discover.
           Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

           Budget & Performance <https://epa.gov/planandbudget>

           Contracting <https://epa.gov/contracts>

           EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

           Grants <https://epa.gov/grants>

           No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

           Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

           Privacy <https://epa.gov/privacy>

           Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



           Connect.
           Data.gov        <https://www.data.gov/>

           Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

           Jobs <https://epa.gov/careers>

           Newsroom <https://epa.gov/newsroom>

           Open Government <https://epa.gov/data>

           Regulations.gov            <https://www.regulations.gov/>

           Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

           USA.gov         <https://www.usa.gov/>

           White House           <https://www.whitehouse.gov/>




           Ask.
           Contact EPA <https://epa.gov/home/forms/contact-epa>

           EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

           Hotlines <https://epa.gov/aboutepa/epa-hotlines>

           FOIA Requests <https://epa.gov/foia>

           Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


           Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements                              21/22
                                                                                                                                           AR0000542
8/14/23, 1:39 PM   Case 3:24-cv-01106-CVR        Document
                                   Pesticide Registration         57-3 10Filed
                                                          Manual: Chapter - Data04/24/24     Page 543| of
                                                                                Compensation Requirements US 739
                                                                                                             EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-10-data-compensation-requirements        22/22
                                                                                                                     AR0000543
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR     Document
                                         Pesticide              57-3 Chapter
                                                   Registration Manual: Filed1104/24/24       Page| US
                                                                                - Tolerance Petitions 544
                                                                                                       EPAof 739




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 11
            - Tolerance Petitions
            In this chapter:
                Tolerances and Exemptions from Tolerances                                                          Registration Manual
                Pesticide Tolerances                                                                                Table of Contents
                    New Pesticide Registrations and Amendments to Existing
                    Registrations                                                                                 Pesticides Registration Manual
                    Temporary Tolerances for Experimental Use Permits                                             Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                    Tolerances for Use of Pesticides Under an Emergency Exemption
                                                                                                                  manual>
                    Import Tolerances
                    Tolerance-Setting Requirements for Inert Ingredients                                          Introduction
                    Adjuvants                                                                                     <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                    Antimicrobials
                                                                                                                  manual-introduction>
                Filing a Petition
                    Completing the Application                                                                    How to Register a Pesticide
                                                                                                                  Product – A Guide for Applicants
                    Registration or Amendment under FIFRA Section 3
                                                                                                                  New to the Process
                    Fee Requirements
                                                                                                                  <https://epa.gov/pesticide-
                References Cited in Chapter 11                                                                    registration/how-register-pesticide-guide-
                                                                                                                  applicants-new-process>


                                                                                                                    1. Requirements for Pesticide
            Tolerances and Exemptions                                                                                  Registration and Registrant
            from Tolerances                                                                                            Obligations
                                                                                                                      <https://epa.gov/pesticide-
            This chapter provides information on definitions, interpretative                                          registration/pesticide-registration-
            regulations and procedures for filing a petition for establishment of a                                   manual-chapter-1-overview-
            tolerance or an exemption from the requirement of a tolerance. Read                                       requirements-pesticide>
            more about tolerances <https://epa.gov/pesticide-tolerances/about-pesticide-
            tolerances>.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                            1/18
                                                                                                                                                             AR0000544
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 545
                                                                                                      EPAof 739




            Under section 408 of the Federal Food, Drug, and Cosmetic Act (FFDCA)                         2. Registering a Pesticide
            <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>, EPA is            Product <https://epa.gov/pesticide-
            responsible for regulating the amount of pesticide residues that can                            registration/pesticide-registration-
            remain in or on food or feed commodities as the result of a pesticide                           manual-chapter-2-registering-
            application. A tolerance is the maximum residue level of a pesticide                            pesticide-product>
            (usually measured in parts per million, or ppm) that legally can be present                   3. Additional Considerations for
            in food or feed.                                                                                Biopesticide Products
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-3-additional-
                                                                                                            considerations>

                                                                                                          4. Additional Considerations for
                                                                                                            Antimicrobial Products
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-4-additional-
                                                                                                            considerations>

                                                                                                          5. Registration Fees
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-5-registration-fees>

                                                                                                          6. Amending a Registered
                                                                                                             Pesticide Product
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-6-amending-
                                                                                                            registered-pesticide>

                                                                                                          7. Notifications and Minor
                                                                                                             Formulation Amendments
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-7-notifications-and-
                                                                                                            minor-formulation>

                                                                                                          8. Inert Ingredients
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-8-inert-ingredients>

                                                                                                          9. Supplemental Distribution of
                                                                                                            a Registered Pesticide
                                                                                                            <https://epa.gov/pesticide-
                                                                                                            registration/pesticide-registration-
                                                                                                            manual-chapter-9-supplemental-
                                                                                                            distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                  2/18
                                                                                                                                                   AR0000545
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 546
                                                                                                      EPAof 739




                                                                                                          10. Data Compensation
                                                                                                              Requirements
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-10-data-
                                                                                                              compensation-requirements>

                                                                                                          11. Tolerance Petitions
                                                                                                          12. Applying for an Experimental
                                                                                                              Use Permit
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-12-applying-
                                                                                                              experimental-use-permit>

                                                                                                          13. Devices <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-13-devices>

                                                                                                          14. How to Obtain an EPA
                                                                                                              Establishment Number
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-14-how-obtain-epa-
                                                                                                              company-or>

                                                                                                          15. Submitting Data and
                                                                                                              Confidential Business
                                                                                                              Information
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-15-submitting-data-
                                                                                                              and-confidential>

                                                                                                          16. Transfer of Product
                                                                                                              Registrations and Data Rights
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-16-transfer-product-
                                                                                                              registrations-and>

                                                                                                          17. State Regulatory Authority
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-17-state-regulatory-
                                                                                                              authority>

                                                                                                          18. Other Federal or State Agency
                                                                                                              Requirements
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-18-other-federal-or-
                                                                                                              state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                    3/18
                                                                                                                                                     AR0000546
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 547
                                                                                                      EPAof 739




                                                                                                          19. How to Obtain Publications
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-19-how-obtain-
                                                                                                             publications>

                                                                                                          20. Forms and How to Obtain
                                                                                                             Them <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-20-forms-and-how-
                                                                                                             obtain-them>

                                                                                                          21. Directions for Submitting
                                                                                                              Applications and Contacting
                                                                                                             EPA <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-21-directions-
                                                                                                             submitting-applications>


                                                                                                          Appendices

                                                                                                             Appendix A: Guidance
                                                                                                             Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-guidance-
                                                                                                             documents>

                                                                                                             Appendix B: Examples of
                                                                                                             Registrant Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-b-examples-
                                                                                                             registrant-documents>

                                                                                                             Appendix C: Pesticide Forms
                                                                                                             Overview Table
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-c-pesticide-forms-
                                                                                                             overview-table>

                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                   4/18
                                                                                                                                                    AR0000547
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 548
                                                                                                      EPAof 739




                      If residues of a pesticide exceed the established tolerance, or no tolerance has been
                      established, the crop is considered adulterated and may be seized by the U.S. Food and
                      Drug Administration (FDA), the U.S. Department of Agriculture (USDA), or a state
                      enforcement agency.




            The Food Quality Protection Act of 1996 (FQPA) amended the FFDCA by, among other things, consolidating EPA’s
            authority for establishing, modifying, and revoking pesticide tolerances under FFDCA section 408. EPA no longer
            establishes tolerances for pesticides in processed food/feed commodities under FFDCA section 409. Now all tolerances
            for raw agricultural commodities (RACs) and processed food/feed commodities (if required) are established under
            FFDCA section 408. Subsequently, the Antimicrobial Regulation Technical Corrections Act (ARTCA) of 1998 amended
            the FFDCA <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act> by excluding certain antimicrobial
            pesticides from FFDCA section 408. Tolerances for residues of those pesticides are set by FDA under FFDCA section 409.



                      As EPA amends or renews tolerances in accordance with FQPA, the Agency will issue
                      those amendments and renewals in 40 CFR Part 180                            .




            Pesticide Tolerances
            Foods in interstate commerce containing pesticide residues must be covered by pesticide tolerances. Pesticide residues
            may result from:



                      direct treatment of target crop or treatment to seed stock with a pesticide (whether that
                      treatment occurs in the United States or a foreign country);
                      use of antimicrobial pesticides in food processing (under ARTCA, tolerances for many
                      antimicrobial uses are set by FDA under FFDCA section 409);
                      inadvertent carryover of residues in the soil to rotational or replacement crops;
                      runoff and spray drift;
                      consumption of treated commodities by livestock (including primary or secondary
                      residues in meat, milk, poultry, and eggs); and
                      post-harvest applications.




            Tolerances for residues in raw commodities apply to those same residues in processed commodities. If the residues in
            processed commodities may exceed the residues in the raw commodity, a separate processed food tolerance is needed.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                    5/18
                                                                                                                                     AR0000548
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 549
                                                                                                      EPAof 739




            Registration of a pesticide is not, however, a prerequisite for establishing a tolerance. For example, EPA may establish a
            temporary tolerance under FFDCA section 408(r) <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act> to
            permit the experimental use of a non‑registered pesticide, or EPA may establish a tolerance for a pesticide residue
            resulting from the use of the pesticide in food or feed production in a foreign country <https://epa.gov/pesticide-
            tolerances/nafta-guidance-data-requirements-pesticide-import-tolerances-questions-answers>.


            New Pesticide Registrations and Amendments to Existing Registrations
            A tolerance or the exemption from the requirement of a tolerance must be established for each active and inert
            ingredient in the formulation before a pesticide can be registered for use on a food or feed crop, or for use in a food
            processing or storage area. In addition, an amendment to an established tolerance may be required if an amendment is
            proposed for a currently registered use that might result in residue levels higher than the established tolerance.
            Examples include an increase in the dosage rates and/or an increase in the frequency of application. To enable the
            Agency to establish or amend a tolerance or tolerance exemption, a tolerance petition needs be submitted.

            Temporary Tolerances for Experimental Use Permits
            An applicant must obtain a temporary tolerance or exemption from the requirement of a tolerance to accompany an
            experimental use permit (EUP) for uses that have not been registered if the crop(s) treated during the EUP is (are) not
            destroyed or otherwise prevented from entering food or feed in interstate commerce

            Under FFDCA section 408(r) <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>, EPA may establish a
            temporary tolerance or exemption from the requirement of a tolerance on its own initiative or at the request of any
            person who holds an EUP. A temporary tolerance allows participants in the EUP program to market or use commodities
            harvested from the EUP test plots.



                      The petition for the temporary tolerance must be submitted with the application for the
                      experimental use permit (Chapter 12 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-
                      applying-experimental-use-permit>).




            Tolerances for Use of Pesticides Under an Emergency Exemption
            A time-limited tolerance or exemption from the requirement must be established for pesticides approved for use on
            food or feed crops under emergency exemptions according to FIFRA section 18 <https://epa.gov/laws-regulations/summary-
            federal-insecticide-fungicide-and-rodenticide-act>).


            Import Tolerances
            Residues of a pesticide not registered for use in the United States may be present in raw agricultural commodities
            (RACs) and processed foods produced abroad and imported into this country if a tolerance has been established for
            those residues and the residues are within the tolerance.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                           6/18
                                                                                                                                            AR0000549
8/14/23, 1:39 PM      Case 3:24-cv-01106-CVR     Document
                                          Pesticide              57-3 Chapter
                                                    Registration Manual: Filed1104/24/24       Page| US
                                                                                 - Tolerance Petitions 550
                                                                                                        EPAof 739




                       Under FFDCA section 408 <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>, these
                       imported commodities are considered adulterated unless the Agency has established a
                       tolerance for the pesticide on that commodity and the residues are within the tolerance.




            The requirements of section 408 of the FFDCA apply equally to domestically produced and imported food and feed
            found to contain pesticide residues. Therefore, even though the use of a pesticide in a foreign country is not subject to
            EPA registration requirements under FIFRA, a pesticide residue in imported food or feed must conform with a tolerance
            or tolerance exemption established by EPA.

            Shipments of imported food/feed items found to have pesticide residues for which a tolerance or exemption from the
            requirement of a tolerance has not been issued will be held up and the importer required to:



                    1. file for a tolerance or exemption from a tolerance;
                   2. return the shipment to the country of origin; or
                   3. destroy the shipment.




            Registrants who wish to submit an import tolerance petition under NAFTA (North American Free Trade Agreement)
            should refer to the NAFTA Guidance Document on Data Requirements for Tolerances on Imported Commodities in the
            United States and Canada (December 2005) <https://epa.gov/pesticide-tolerances/nafta-guidance-document-data-requirements-
            tolerances-imported-commodities> announced in the Federal Register on April 5, 2006 (71 FR 17099). This document finalized
            the requirements originally proposed in the Federal Register on April 16, 2003 (68 FR 18638). For more information, see
            the “Questions and Answers at the NAFTA Guidance on Data Requirements for Pesticide Import Tolerances”
            <https://epa.gov/pesticide-tolerances/nafta-guidance-data-requirements-pesticide-import-tolerances-questions-answers> Web page developed
            by EPA.

            Tolerance-Setting Requirements for Inert Ingredients
            Inert ingredients in pesticide product formulations are regulated under both FIFRA and FFDCA (Chapter 8
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-8-inert-ingredients>).


            Inert ingredients in products labeled for food use must have a tolerance or exemption from tolerance before the
            product can be registered. Under the FFDCA, both the active and inert ingredients in a pesticide need a tolerance or an
            exemption from tolerance. Further, regulations found in 40 CFR 152.50(i) require that inert ingredients, as well as active
            ingredients, in a pesticide product must have all needed tolerances or exemptions for tolerances before the pesticide
            can be registered under FIFRA. A statement must be submitted indicating whether a tolerance or exemption from the
            requirement of a tolerance has been issued by the Agency under section 408 of FFDCA if the proposed labeling bears
            instructions for use of the product on food or feed crops or if the intended use of the product may result directly or
            indirectly in pesticide residues in or on food or feed.

            If a tolerance or exemption from the requirement of a tolerance has not been issued for such residues, an application
            must be accompanied by a petition for establishment of appropriate tolerances or exemptions from the requirement of
            a tolerance in accordance with 40 CFR Part 180 (tolerance or exemption petitions).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                7/18
                                                                                                                                                 AR0000550
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR     Document
                                         Pesticide              57-3 Chapter
                                                   Registration Manual: Filed1104/24/24       Page| US
                                                                                - Tolerance Petitions 551
                                                                                                       EPAof 739




                      EPA will not register a pesticide product for food/feed uses unless all of the inert
                      ingredients in the product have been approved for use under the FFDCA on food/feed
                      items.
                      Refer to 40 CFR 180.910 – 180.960 for a listing of the inert ingredients that have been
                      approved for use under the FFDCA on food/feed items.




            Adjuvants
            If the use of an adjuvant may result in detectable residues on food, the applicant should contact the EPA product
            manager or registration ombudsman (Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-
            directions-submitting-applications>) prior to submitting the application to discuss the potential need for a tolerance.


            Antimicrobials
            EPA has jurisdiction for certain food contact sanitizing solutions under FIFRA and FFDCA section 408. Permitted active
            and inert components of food contact sanitizing solutions are found in 40 CFR 180.940, 180.950 and 180.960.




            Filing a Petition
            Procedures for filing a petition requesting the establishment or amendment of a tolerance, a temporary tolerance, an
            exemption from the requirement of a tolerance, or a temporary exemption from a tolerance are described in detail in 40
            CFR 180.7 and below in the section titled "Completing the Application".

            Additional information concerning requests for temporary tolerances, or a temporary exemption from a tolerance in
            conjunction with an experimental use permit, can be found in 40 CFR 180.31.

            There is no application form for petitions. Requests must contain the information listed in 40 CFR 180.7. Please refer to
            PR Notice 97-1 <https://epa.gov/pesticide-registration/prn-97-1-agency-actions-under-requirements-food-quality-protection-act> for
            information on filing a tolerance petition under FQPA. General information on the format recommended by the Agency
            to submit this information is provided below.

            Completing the Application
            In order to assure expeditious processing, the petition should present the information required in 40 CFR 180.7 in the
            following format:

            Summary

            The Federal Food, Drug and Cosmetic Act requires that the petitioner submit an informative summary of the petition
            and the data, and any other information and arguments submitted or cited in support of the petition (40 CFR 180.7(b)
            (1) and (2)). Both a paper and electronic copy of the summary should be submitted. The electronic copy should be
            formatted according to OPP’s current standard for electronic data submission <https://epa.gov/pesticide-registration/electronic-
            submissions-pesticide-applications> and the Notice of Filing <https://epa.gov/pesticide-registration/pesticide-registration-manual-registrant-
            summary-pesticide-petitions-epas>. The petition must include a statement that the petitioner agrees that such summary and
            any information it contains may be published as part of the notice of filing of the petition to be published under FFDCA
            section 408(d)(3) and as part of a proposed or final regulation issued under FFDCA section 408. The Agency will use this




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                       8/18
                                                                                                                                                        AR0000551
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR     Document
                                         Pesticide              57-3 Chapter
                                                   Registration Manual: Filed1104/24/24       Page| US
                                                                                - Tolerance Petitions 552
                                                                                                       EPAof 739




            summary to provide the public with information concerning the petition. The summary will be included in the EPA’s
            electronic public docket, and the Notice of Filing of the petition published in the Federal Register will refer interested
            parties to the summary in the docket.

            Section A

            Include the name, chemical identity, and composition of the pesticide chemical (40 CFR 180.7(b)(3)). For EPA to assess
            the composition of the pesticide, information is required on the manufacturing process, chemical analysis of the active
            ingredient, certified limits for ingredients of a product, and analytical methods to determine the composition of the
            pesticide. Please refer to 40 CFR 158.300 - 158.355 and Product Chemistry Data Requirements and OPPTS Harmonized
            Guidelines Series 830 <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/final-test-guidelines-pesticides-and-toxic> for more
            detailed information.

            Applicants are encouraged to use the study profile templates in developing their manufacturing and chemical analysis
            study documents. These templates provide a summary of the study that if submitted electronically with the study
            report, can be used by the Agency to efficiently develop its own review of the study and may be found by going to the
            Study Profile Templates <https://epa.gov/pesticide-registration/study-profile-templates> Web page.

            Important Note: EPA evaluates the composition data to determine whether impurities could constitute a significant
            component of the residues in food and feed commodities. Impurities that arise in the manufacture of pesticides can
            become a residue problem if they are not identified before tolerances are established. Dioxins and nitrosamines are the
            best-known examples of significant impurities of toxicological concern. If impurities are at levels that may lead to
            toxicologically significant residues in crops or the environment, then adjustments to the manufacturing process or
            additional purification steps will be necessary to reduce the impurities to a safe level. Refer to PR Notice 96-8
            <https://epa.gov/pesticide-registration/prn-96-8-toxicologically-significant-levels-pesticide-active-ingredients>.

            Section B

            Indicate the amount, frequency, and timing of application of the pesticide chemical (40 CFR 180.7(b)(4)). This refers to
            the directions for use, dosage rates, number of applications, restrictions, pre‑harvest intervals, and times of application
            proposed for inclusion on the label of the product to be marketed.

            Section C

            Include the full reports on investigations made with respect to the safety of the pesticide chemical, including full
            information as to the methods and controls used in conducting the tests and investigations (40 CFR 180.7(b)(5)). Refer
            to 40 CFR 158.500, Toxicology Data Requirements (for antimicrobial pesticides,40 CFR 161.340) and OPPTS Harmonized
            Guidelines, Series 870 <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/final-test-guidelines-pesticides-and-toxic>, for the
            types of toxicity data that are needed to support a petition request. The required data are identified under the "Food
            Crop" headings. Include in this section such information that may be required on whether the pesticide chemical may
            have an effect in humans that is similar to an effect produced by a naturally occurring estrogen or other endocrine
            effects (40 CFR 180.7(b)(12)) and information regarding exposure to the pesticide chemical residue due to any tolerance
            or exemption already granted for such residue (40 CFR 180.7(b)(13).

            Applicants are encouraged to use the study profile templates in developing their toxicity study documents. These
            templates provide a summary of the study that if submitted electronically with the study report, can be used by the
            Agency to efficiently develop its own review of the study and may be found by going to the Study Profile Templates
            <https://epa.gov/pesticide-registration/study-profile-templates> Web page.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                     9/18
                                                                                                                                                      AR0000552
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR     Document
                                         Pesticide              57-3 Chapter
                                                   Registration Manual: Filed1104/24/24       Page| US
                                                                                - Tolerance Petitions 553
                                                                                                       EPAof 739




            Section D

            Include the results of tests on the amount of residue remaining, including a description of the analytical method used
            (40 CFR 180.7(b)(6) and 40 CFR 180.7(b)(10)). Information on testing for the amount of residue remaining in the raw
            agricultural commodity or processed food or feed, when the pesticide is applied according to the proposed label
            directions, is provided in 40 CFR 180.34 Tests on the amount of residue remaining, 40 CFR 158.1400 (for antimicrobial
            pesticides, 40 CFR 161.240), Residue Chemistry Data Requirements, and the OPPTS Harmonized Guidelines, Series 860
            <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/final-test-guidelines-pesticides-and-toxic>.


            Applicants are encouraged to use the study profile templates in developing their residues and analytical methods study
            documents. These templates provide a summary of the study that if submitted electronically with the study report, can
            be used by the Agency to efficiently develop its own review of the study and may be found by going to the Study Profile
            Templates <https://epa.gov/pesticide-registration/study-profile-templates> Web page.

            Submitting Analytical Methods for Use in Tolerance Enforcement

            Applicants will need to develop and submit accurate and precise analytical methods for identifying and measuring the
            amount of pesticide residues in the agricultural commodity and processed foods (40 CFR 180.7(b)(9)).

            Those methods need to be practical in order to be used in tolerance enforcement and should meet all of the
            specifications for pesticide residue methods identified in the Residue Chemistry Test Guidelines, OPPTS Series 860
            <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/final-test-guidelines-pesticides-and-toxic>.




                       The enforcement analytical method cannot be claimed Confidential or Trade Secret.




            In addition, petitioners should submit pesticide validation data showing the results from their own (or a contract)
            laboratory, as well as the results from an additional independent laboratory that confirms those results. Further, it is
            recommended that tandem-stage MS (e.g., LC-MS/MS or GC-MS/MS) methods monitor two ion transitions to include
            both identification and confirmation of that identification, as this is the generally recognized standard for regulatory
            monitoring.

            The exact procedure for conducting an independent laboratory validation (ILV) can be found in OPPTS Harmonized
            Guidelines, Series 860, Guideline 860.1340 <https://epa.gov/test-guidelines-pesticides-and-toxic-substances/final-test-guidelines-pesticides-
            and-toxic> and PR Notice 96-1 <https://epa.gov/pesticide-registration/prn-96-1-tolerance-enforcement-methods-independent-laboratory-
            validation>. Additional information can be found in the Residue Analytical Methods Index <https://epa.gov/pesticide-analytical-
            methods/analytical-methods-measuring-pesticide-residues>.

            Section E

            This section details the practical methods for removing residues that exceed any proposed tolerance (40 CFR 180.7(b)
            (8)). Tolerances are usually set at levels that are adequate to cover residues that are likely to result from a proposed use
            without any special processing of the commodities to reduce residues to the tolerance level.

            Section F

            This section includes proposed tolerances for the pesticide chemical (40 CFR 180.7(b)(7). Tolerances should be
            proposed in terms that best represent the total residues on the raw agricultural commodity, whether it be the parent
            pesticide, altered forms of it, or both.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                     10/18
                                                                                                                                                    AR0000553
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 554
                                                                                                      EPAof 739




            An exemption from the requirement of a tolerance may be proposed when appropriate.



                      According to 40 CFR 180.900, an exemption from a tolerance shall be granted when it
                      appears that the total quantity of the pesticide chemical in or on all raw agricultural
                      commodities for which it is useful under conditions of use currently prevailing or
                      proposed will involve no hazard to human health.




            When an exemption is proposed, data may be necessary to show the level of residues expected.

            This section also includes information concerning any maximum residue level established by the Codex Alimentarius
            Commission for the pesticide chemical residue addressed in the petition. If a Codex maximum residue level has been
            established for the pesticide chemical residue and the petitioner does not propose that this level be adopted, a
            statement explaining the reasons for this departure from the Codex level (40 CFR 180.7(b)(14) should be provided.

            Section G

            This section presents the reasonable grounds in support of the petition. Such reasons should include a rationale of how
            the residue data support the proposed tolerance, brief discussions on the adequacy of the analytical method with
            respect to sensitivity and determination of total toxic residues, an explanation of any aberrant residue values reported,
            an explanation for the omission or substitution of required data or information, discussion of the fate of the pesticide in
            the environment (i.e., soil persistence, contamination of groundwater or runoff water), and any residue considerations
            applicable to the proposed use. In addition, a summary of the grounds for safety of the proposed tolerance, based on
            the toxicology data submitted under Section C, may also be included.

            Important Note: If EPA does not receive all of the items identified above listed in 40 CFR 180.7, the petition and
            application will be rejected at the end of the 21-day initial content screen under PRIA as described in Chapter 5
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees>. Petitioners are encouraged to contact
            their registration ombudsman with any questions on required testing or formatting prior to submitting an application
            or petition.

            Supporting Data

            Three copies of any data required in support of the petition must be submitted in accordance with the data formatting
            requirements set forth in PR Notice 86‑5 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-
            and-certain-provisions>.


            Registration or Amendment under FIFRA Section 3
            Except in certain instances, a petition request must be accompanied by an application for registration, an application to
            amend the registration of a currently registered product, or an experimental use permit for the uses proposed in the
            petition. A request for an import tolerance generally would not require an accompanying application for registration.

            Fee Requirements
            Refer to Chapter 5 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees> for detailed
            information on the Pesticide Registration Improvement Act of 2003 (PRIA) <https://epa.gov/pria-fees>, which was
            reauthorized by the Pesticide Registration Improvement Extension Act of 2012 <https://epa.gov/pria-fees> and how this




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                  11/18
                                                                                                                                                    AR0000554
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 555
                                                                                                      EPAof 739




            legislation has created a registration service fee system for specific pesticide registration, amended registration, and
            tolerance-setting actions.

            Fees are assessed for specific EPA review actions for conventional chemical pesticide products, antimicrobial products,
            and biopesticide products. In return, EPA is obligated to perform certain review functions and make regulatory
            determinations within a specific timeframe.

            Please contact the appropriate Ombudsman for the type of pesticide product (or new active ingredients) or,
            alternatively, the Product Manager or Branch Chief (Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-
            chapter-21-directions-submitting-applications>) responsible for the pesticide (for existing active ingredients) for questions
            concerning:



                      whether a petition for a tolerance is required;
                      the appropriate fee;
                      how to submit a request for a petition for a tolerance and/or application for product
                      registration; or
                      what data are required to support a petition for tolerance and/or application for product
                      registration.




            If the petition request involves a new chemical not yet assigned, then the inquiry should be directed to the
            Ombudsman.




            References Cited in Chapter 11
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            Code of Federal Regulation, Title 40



                      Part 158 - Data Requirements for Registration
                      Part 161 – Data Requirements for Registration of Antimicrobial Pesticides (Currently
                      being revised, refer to last proposed revision in the Federal Register of March 11, 2005
                      (70 FR 12276 <https://www.govinfo.gov/content/pkg/fr-2005-03-11/pdf/05-4873.pdf>)
                      Part 180 - Tolerances and Exemptions from Tolerances for Pesticide Chemicals in Foods




            Code of Federal Regulation, Title 21




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                              12/18
                                                                                                                                                AR0000555
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 556
                                                                                                      EPAof 739




                      Part 178 –Indirect Food Additives: Adjuvants, Production Aids, and Sanitizers




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996


            Federal Food, Drug and Cosmetic Act <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>



                      Section 408 – Tolerances and Exemptions for Pesticide Chemical Residues




            OPPTS Harmonized Test Guidelines <https://epa.gov/test-guidelines-pesticides-and-toxic-substances>



                      830 Series - Product Properties Test Guidelines
                      860 Series - Residue Chemistry Test Guidelines
                      870 Series - Health Effects Test Guidelines




            Federal Register Notices



                      NAFTA Guidance Document on Requirements for Tolerances on Imported Commodities
                      in the U.S. and Canada: Notice of Availability (PDF) <https://www.govinfo.gov/content/pkg/fr-2006-04-
                      05/pdf/e6-4948.pdf> (1 pp, 139 K, About PDF <https://epa.gov/home/pdf-files>), April 5, 2006 (71 FR 17099).

                      Inert Ingredient Tolerances (PDF)                  <https://www.govinfo.gov/content/pkg/fr-2000-07-24/pdf/00-

                      18646.pdf> (6 pp, 234 K, About PDF <https://epa.gov/home/pdf-files>), July 24, 2000 (65 FR 45569)




            NAFTA Guidance Document on Data Requirements for Tolerances on Imported Commodities in the United States and
            Canada (December 2005) <https://epa.gov/pesticide-tolerances/nafta-guidance-document-data-requirements-tolerances-imported-
            commodities> dated December 2005


            PR Notices




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                             13/18
                                                                                                                                               AR0000556
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 557
                                                                                                      EPAof 739




                      PR Notice 86-5 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-
                      provisions> - Standard Format for Data Submitted Under the Federal Insecticide, Fungicide,

                      and Rodenticide Act (FIFRA) and Certain Provisions of the Federal Food, Drug, and
                      Cosmetic Act (FFDCA)
                      PR Notice 96-1 <https://epa.gov/pesticide-registration/prn-96-1-tolerance-enforcement-methods-independent-laboratory-
                      validation> -Tolerance Enforcement Methods – Independent Laboratory Validation by

                      Petitioner
                      PR Notice 96-8 <https://epa.gov/pesticide-registration/prn-96-8-toxicologically-significant-levels-pesticide-active-ingredients> -
                      Toxicologically Significant Levels of Pesticide Active Ingredients
                      PR Notice 97-1 <https://epa.gov/pesticide-registration/prn-97-1-agency-actions-under-requirements-food-quality-protection-act>
                      - Agency Actions under the Requirements of the Food Quality Protection Act




            Antimicrobial Regulation Technical Corrections Act of 1998                 <http://www.fda.gov/ohrms/dockets/98fr/081399a.txt> amending
            FFDCA

            Indexes to Part 180 Tolerance Information for Pesticide Chemicals in Food and Feed Commodities <https://epa.gov/pesticide-
            tolerances/indexes-part-180-tolerance-information-pesticide-chemicals-food-and-feed>


            Pesticides and Food: What the Pesticide Residue Limits are on Food <https://epa.gov/pesticide-tolerances>

            Food and Feed Commodity Vocabulary <https://epa.gov/pesticide-tolerances/food-and-feed-commodity-vocabulary>



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                    14/18
                                                                                                                                                    AR0000557
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 558
                                                                                                      EPAof 739




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                                 15/18
                                                                                                                                                 AR0000558
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 559
                                                                                                      EPAof 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                16/18
                                                                                                                  AR0000559
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 560
                                                                                                      EPAof 739




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                                          17/18
                                                                                                                                            AR0000560
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR     Document
                                        Pesticide              57-3 Chapter
                                                  Registration Manual: Filed1104/24/24       Page| US
                                                                               - Tolerance Petitions 561
                                                                                                      EPAof 739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions                18/18
                                                                                                                  AR0000561
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use562  of| US
                                                                                                            Permit  739EPA




               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



            Pesticide                                       CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 12
            - Applying for an Experimental Use
            Permit
            In this chapter:
                Introduction to Experimental Use Permits                                                          Registration Manual
                Requirements for an Experimental Use Permit                                                        Table of Contents
                Exemptions from EUP Requirements
                EUPs for Indoor and Certain Antimicrobial Uses                                                   Pesticides Registration Manual
                EUPs for Small-Scale Field Testing of Microbial Pesticides                                       Home Page <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                Applying for an EUP
                                                                                                                 manual>
                   Information Required in All EUP Applications
                   Information Required When the Product to be Tested is Not Already                             Introduction
                   Registered                                                                                    <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                   When Testing May Result in Pesticide Residues on Food
                                                                                                                 manual-introduction>
                   Labeling Requirements
                   Fee Requirements                                                                              How to Register a Pesticide
                   Suggested Format for an Experimental Use Permit Application                                   Product – A Guide for Applicants
                                                                                                                 New to the Process
                Extensions or Renewal of Experimental Use Permits
                                                                                                                 <https://epa.gov/pesticide-
                Program Surveillance and Data Reporting Requirements for an
                                                                                                                 registration/how-register-pesticide-guide-
                Experimental Use Permit
                                                                                                                 applicants-new-process>
                References Cited in Chapter 12
                                                                                                                   1. Requirements for Pesticide
                                                                                                                     Registration and Registrant
                                                                                                                     Obligations
            Introduction to Experimental                                                                             <https://epa.gov/pesticide-

            Use Permits                                                                                              registration/pesticide-registration-
                                                                                                                     manual-chapter-1-overview-
            This chapter describes the requirements for Experimental Use Permits                                     requirements-pesticide>
            (EUPs) and includes how to apply for an EUP, labeling requirements,
            application format, and data reporting requirements.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                              1/19
                                                                                                                                                            AR0000562
8/14/23, 1:39 PM     Case 3:24-cv-01106-CVR          Document
                                   Pesticide Registration           57-312 -Filed
                                                          Manual: Chapter   Applying04/24/24       Page
                                                                                     for an Experimental Use563  of| US
                                                                                                             Permit  739EPA




            EPA requires that a pesticide product undergo extensive chemical,                            2. Registering a Pesticide
            toxicological, and field-testing before being registered as a pesticide.                        Product <https://epa.gov/pesticide-
            Some testing is done under field conditions using commercial application                       registration/pesticide-registration-
            equipment to fully understand the pesticide’s chemical properties, safety,                     manual-chapter-2-registering-
            and efficacy.                                                                                  pesticide-product>

                                                                                                         3. Additional Considerations for
            Because testing undertaken as part of the registration process necessarily
                                                                                                           Biopesticide Products
            involves an unregistered product or is for a use not previously approved in
                                                                                                           <https://epa.gov/pesticide-
            the registration of the pesticide, EPA sometimes must first authorize the
                                                                                                           registration/pesticide-registration-
            distribution and sale for testing purposes by means of an experimental
                                                                                                           manual-chapter-3-additional-
            use permit (EUP) under FIFRA section 5 <https://epa.gov/laws-
                                                                                                           considerations>
            regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>.
                                                                                                         4. Additional Considerations for
            The EUP establishes limited conditions for the transportation, application,                    Antimicrobial Products
            and disposal of the pesticide material used in the tests. Pesticides                           <https://epa.gov/pesticide-
            registered under an EUP may not be sold or distributed other than                              registration/pesticide-registration-
            through approved participants in the test program, and use is limited to                       manual-chapter-4-additional-
            the conditions specified in the EUP. Please refer to 40 CFR Part 172 for                       considerations>
            detailed information on EUPs.                                                                5. Registration Fees
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-

            Requirements for an                                                                            manual-chapter-5-registration-fees>

                                                                                                         6. Amending a Registered
            Experimental Use Permit                                                                         Pesticide Product
                                                                                                           <https://epa.gov/pesticide-
            A first step for the applicant is to determine whether an EUP is required for
                                                                                                           registration/pesticide-registration-
            the particular testing being considered. If the product is not intended to
                                                                                                           manual-chapter-6-amending-
            be used as a pesticide, an EUP would not be needed to test the product.
                                                                                                           registered-pesticide>
            Additionally, certain pesticide testing operations may not require an EUP
            if the criteria of 40 CFR 172.3 are met, as discussed below.                                 7. Notifications and Minor
                                                                                                            Formulation Amendments
            In general, EUPs are issued for:                                                               <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-7-notifications-and-
                                                                                                           minor-formulation>

                                                                                                         8. Inert Ingredients
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-8-inert-ingredients>

                                                                                                         9. Supplemental Distribution of
                                                                                                           a Registered Pesticide
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-9-supplemental-
                                                                                                           distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                    2/19
                                                                                                                                                  AR0000563
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use564  of| US
                                                                                                            Permit  739EPA




                                                                                                       10. Data Compensation
                                                                                                           Requirements
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-10-data-
                                                                                                           compensation-requirements>

                                                                                                       11. Tolerance Petitions
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-11-tolerance-
                                                                                                           petitions>

                                                                                                       12. Applying for an
                                                                                                           Experimental Use Permit
                                                                                                       13. Devices <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-13-devices>

                                                                                                       14. How to Obtain an EPA
                                                                                                           Establishment Number
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-14-how-obtain-epa-
                                                                                                           company-or>

                                                                                                       15. Submitting Data and
                                                                                                           Confidential Business
                                                                                                           Information
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-15-submitting-data-
                                                                                                           and-confidential>

                                                                                                       16. Transfer of Product
                                                                                                           Registrations and Data Rights
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-16-transfer-product-
                                                                                                           registrations-and>

                                                                                                       17. State Regulatory Authority
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-17-state-regulatory-
                                                                                                           authority>

                                                                                                       18. Other Federal or State Agency
                                                                                                           Requirements
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-18-other-federal-or-
                                                                                                           state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                    3/19
                                                                                                                                                  AR0000564
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use565  of| US
                                                                                                            Permit  739EPA




                                                                                                       19. How to Obtain Publications
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-19-how-obtain-
                                                                                                           publications>

                                                                                                       20. Forms and How to Obtain
                                                                                                           Them <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-20-forms-and-how-
                                                                                                           obtain-them>

                                                                                                       21. Directions for Submitting
                                                                                                           Applications and Contacting
                                                                                                           EPA <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-chapter-21-directions-
                                                                                                           submitting-applications>


                                                                                                       Appendices

                                                                                                           Appendix A: Guidance
                                                                                                           Documents
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-appendix-guidance-
                                                                                                           documents>

                                                                                                           Appendix B: Examples of
                                                                                                           Registrant Documents
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-appendix-b-examples-
                                                                                                           registrant-documents>

                                                                                                           Appendix C: Pesticide Forms
                                                                                                           Overview Table
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-appendix-c-pesticide-forms-
                                                                                                           overview-table>

                                                                                                           Appendix D: Examples of
                                                                                                           Completed Forms
                                                                                                           <https://epa.gov/pesticide-
                                                                                                           registration/pesticide-registration-
                                                                                                           manual-appendix-d-examples-
                                                                                                           completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                    4/19
                                                                                                                                                  AR0000565
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use566  of| US
                                                                                                            Permit  739EPA




                     pesticides containing any chemical or combination of chemicals that have not been
                     included in any previously registered pesticide; and
                     registered pesticides for which a use, e.g., application to a particular crop, is not
                     registered with the Agency.




            However, there are certain tests and circumstances that are exempt from the requirements of an EUP because they are
            presumed not to involve unreasonable adverse effects. These exemptions are summarized below and described in
            detail in 40 CFR 172.3(b) and (c).




            Exemptions from EUP Requirements
            EPA generally will not require an EUP for a substance or mixture of substances if the EUP is limited to:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit               5/19
                                                                                                                             AR0000566
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use567  of| US
                                                                                                            Permit  739EPA




                     Laboratory or Greenhouse Tests
                     Limited Replicated Field Trials involving fewer than 10 acres per pest for terrestrial
                     tests or less than one acre per pest for aquatic tests, in which the sole purpose is to
                     determine pesticidal value, toxicity, or other properties under the following small-scale
                     field testing scenarios:
                           Land - Pesticide testing on plots of land 10 acres or less in size. Specifically, test
                           plots may be as large as 10 acres per pest if the effect of each pesticide on several
                           pests is being investigated at a different time for each pest. However, if pesticide
                           effects on more than one pest are being investigated all at the same time, the test
                           plot may not exceed 10 acres in size. Furthermore, any food or feed crops involved in
                           or affected by the tests must be destroyed or consumed only by experimental
                           animals unless a tolerance or exemption from a tolerance has been established.
                           Please refer to 40 CFR 172.3(c)(1).
                           Aquatic Uses - Pesticide testing on water bodies one surface acre or less in size.
                           Specifically, water bodies may be as large as one acre per pest if the effect of each
                           pesticide on several pests is being investigated at a different time for each pest.
                           However, if pesticide effects on more than one pest are being investigated all at the
                           same time, the water body may not exceed one acre in size.
                                Bodies of water involved in or affected by the tests may not be used for
                                irrigation, drinking water supplies, or body contact through recreational
                                activities. In addition, pesticides may not be tested in waters that contain or that
                                affect any fish, shellfish, or other plants or animals that may be taken for food
                                or feed unless a tolerance or exemption from tolerance exists for the test
                                product. Please refer to 40 CFR 172.3(c)(2).
                     Animal Treatment Uses - Tests may be conducted only in cases where experimental
                     animals will not be used for food or feed unless a tolerance or exemption from tolerance
                     exists for the test product. Please refer to 40 CFR 172.3(c)(3).
                     Other Uses - For testing operations for which acreage limits do not accurately reflect
                     whether the testing is to be considered small- or large-scale, the Agency will determine
                     on a case-by-case basis whether an exemption from the requirement of an EUP is
                     appropriate. Applicants should consult with the appropriate regulatory division in OPP
                     before initiating such testing.




            The exemptions described above are not definitive. 40 CFR 172.3 gives EPA discretionary authority to exempt particular
            testing operations from the EUP requirements under other conditions, as well as allowing EPA discretionary authority
            to require EUPs for testing operations even when the exemption conditions of 40 CFR 172.3(b) and (c) are met.

            Important Note: EUPs are required for testing of pesticides indoors, as well as in outdoor agricultural settings. This
            includes testing pesticides to control roaches in domestic dwellings and institutions, and for field-testing of swimming
            pool sanitizers and disinfectants under actual use conditions.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                   6/19
                                                                                                                                 AR0000567
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use568  of| US
                                                                                                            Permit  739EPA




            EUPs for Nonagricultural and Certain Antimicrobial
            Uses
            EUPs are generally required for testing of pesticides indoors, some non-agricultural uses as well as in outdoor
            agricultural settings. This includes testing pesticides to control roaches and other insects in domestic dwellings and
            institutions, control termites in and around structures and buildings, control invasive species, and control birds and
            animals. EPA will determine on a case-by-case basis when an EUP will be required in these situations in accordance
            with 40 CFR 172.3(e). Applicants should contact the appropriate registration ombudsman <https://epa.gov/pesticide-
            contacts/contacting-epa-about-regulating-pesticides-issues> who will consult with appropriate staff to determine whether an EUP
            will be required.

            EUPS are required for field-testing of swimming pool sanitizers and disinfectants under actual use conditions. 40 CFR
            172.3(c)(2) states that an EUP is not required for a small scale test conducted on a cumulative total of no more than one
            surface acre of water per pest with several exceptions including that the treated body of water cannot be used for
            irrigation, drinking water supplies, or body contact through recreational activities. However, a swimming pool
            disinfection/sanitization use requires an EUP because the efficacy testing required to support the use involves in-use
            field testing in at least two swimming pools.

            There are numerous factors that influence the concentrations necessary for disinfection of swimming pool water in
            practical applications such as the numbers of swimmers in the pool, frequency of use, frequency with which water is
            changed, general weather conditions, types and degree of organic contamination of the water by the swimmers
            themselves (e.g., suntan lotions and oils) and other types of debris. These factors need to be considered when
            evaluating the effectiveness of a swimming pool sanitizer or disinfectant.

            Thus, the efficacy data required to support a swimming pool disinfection/sanitization use consists of a two-phased
            study (laboratory testing and field testing). The EUP application should include an efficacy protocol that describes in
            detail all tests and step-by-step procedures that are proposed for the in-use swimming pool field tests. Guidance for
            field testing water that the public may come into contact with through recreational activities such as swimming in pools
            and spas, is located in the Pesticide Assessment Guidelines Subdivision G, Section 91-8(c) .




            EUPs for Small-Scale Field Testing of Microbial
            Pesticides
            Because of concern about the potential for microorganisms to reproduce and multiply in the environment and the
            potential for these microbials to cause unforeseen adverse impacts, the Agency may require an EUP for small-scale
            field-testing of certain microbial pesticides (i.e., genetically altered and nonindigenous microbial pest control agents).

            Before the initiation of certain small scale testing involving genetically altered or nonindigenous microbial pest control
            agents, the research organization, company, or individual must submit a notification to EPA so a determination can be
            made as to whether an EUP is required. 40 CFR 172.43-59 presents the requirements for an EUP for field-testing of
            microbial pesticides. Note that these differ significantly from the EUP requirements for testing other pesticides.

            Applicants should also refer to Chapter 3 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-3-additional-
            considerations> of this document for a more detailed discussion of the Agency's policy and requirements for small‑scale
            field-testing for microbial pesticides.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                 7/19
                                                                                                                                               AR0000568
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use569  of| US
                                                                                                            Permit  739EPA




            Applying for an EUP
            An application for an EUP may be submitted by any company or person wishing to generate information necessary to
            register a product under FIFRA as per 40 CFR 172.2(a). The applicant may be a potential registrant, an independent
            researcher or testing laboratory, or any similar agent or consultant of a manufacturer. Applications must be submitted
            to the appropriate address given in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-
            directions-submitting-applications>.


            EPA Form 8570-17, Application for Experimental Use Permit <https://epa.gov/pesticide-registration/pesticide-registration-manual-
            blank-forms>, must be submitted to EPA with each EUP application. The type of information to be submitted with the
            application depends on whether the product is already registered and whether a tolerance is required for the testing
            covered under the EUP. 40 CFR 172.4 lists the information required in each case.

            Information Required in All EUP Applications
            Each EUP application must contain the following information together with a completed copy of EPA Form 8570-17
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>, Application for Experimental Use Permit, and five
            copies of the proposed labeling (refer to the Labeling Requirements section of this chapter):




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                      8/19
                                                                                                                                                    AR0000569
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use570  of| US
                                                                                                            Permit  739EPA




                     applicant’s name and address;
                     the registration number of the product, if it has been registered (Information
                     requirements for unregistered products are listed below in a separate section);
                     purpose or objectives of the proposed testing;
                     detailed description of the proposed testing program including the following test
                     parameters:
                           pest organism(s) involved;
                           amount of pesticide proposed to be used;
                           crops, fauna, and flora involved;
                           sites and modes of pesticide applications;
                           pesticide dosage rates;
                           location of test site, including states;
                           number of acres in test site;
                           number of structural sites or number of animals by state to be included in the
                           testing;
                           proposed dates of the testing;
                           how the testing will be supervised;
                           name, street address, telephone number and qualifications of program participants,
                           including those not employed by the applicant;
                           names and street addresses of cooperators (persons owning or controlling
                           application sites and granting permission to permittees to use these sites), if
                           available at the time of the application or as soon thereafter as available;
                           results of prior testing of product by applicant to determine:
                                toxicity and effects in or on target organisms;
                                toxicity and effects in or on nontarget plants, animals and insects at or near the
                                application site;
                                harm to the environment from application of this product; and
                           how the applicant intends to store and dispose of unused pesticide and containers
                           from the proposed experimental use.




            Information Required When the Product to be Tested is Not Already
            Registered
            In addition to the information listed immediately above, when the product to be tested has not been registered, the
            applicant must provide the following information:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                    9/19
                                                                                                                                  AR0000570
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use571  of| US
                                                                                                            Permit  739EPA




                     a complete confidential statement of formula of the product to be tested that provides a
                     tabulation of the names and percentage by weight of each ingredient, both active and
                     inert ( EPA Form 8570-4 <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>),
                     Confidential Statement of Formula)
                     chemical and physical properties of each active ingredient of the formulation being
                     tested, including the analytical methods to be used to determine these (40 CFR 158.210,
                     158.220, 40 CFR 158.310, 40 CFR 158.2081, 40 CFR 158.2171 and 40 CFR 161.150-161.190);
                     available data on the rate of decline of residues on the treated crop or site together with
                     other information relevant to determining when workers can safely re-enter treated
                     areas (40 CFR 158.250, 40 CFR 158.270, 40 CFR 2082, 40 CFR 158.2172, 40 CFR 161.240
                     and 40 CFR 161.390);
                     available toxicity and exposure data, including human epidemiological data, relevant to
                     assessing the potential of the product to cause injury to users and other people who may
                     be exposed (40 CFR 158.230, 40 CFR 158.240, 40 CFR 158.243, 40 158.260, 40 CFR
                     158.2083, 40 CFR 158.2084, 40 CFR 158.2173, 40 CFR 158.2174 and 40 CFR 161.340).
                     submitted data (three copies) should be bound and formatted in accordance with the
                     requirements of PR Notice 86-5 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-
                     under-fifra-and-certain-provisions>.




            When Testing May Result in Pesticide Residues on Food
            When the product to be tested is to be used in such a manner as to leave residue on food or feed, the applicant has
            three options regarding tolerances:



                     The applicant may submit evidence that a tolerance or a tolerance requirement
                     exemption has been established under section 408 of the Federal Food, Drug, and
                     Cosmetic Act (FFDCA).
                     The applicant may submit a petition for a new tolerance or for an exemption from the
                     requirement for a tolerance established under section 408 of FFDCA. Chapter 11
                     <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions> of this document,
                     Tolerance Petitions, describes this process in detail. Or
                     The applicant may certify that the food or feed derived from the experimental program
                     will be destroyed or will be fed only to experimental animals, which will be destroyed.
                     Alternatively, the applicant may certify that the food or feed derived from the
                     experimental program will be disposed of in another manner that does not endanger
                     man or the environment. The permit application shall specify the means of such
                     disposal.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                10/19
                                                                                                                                               AR0000571
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use572  of| US
                                                                                                            Permit  739EPA




            Important Note: The Agency review process is greatly facilitated if applicants include a table indicating the states to
            which the product is to be shipped, the pounds of product to be shipped to each state for each pest or pest complex,
            and the total pounds of product to be shipped to each state. Also note that if the participants change, the permit needs
            to be modified (40 CFR 172.4(iv)).

            Labeling Requirements
            40 CFR 172.6 requires that all pesticides shipped or used under an experimental use permit must be labeled with
            directions and conditions for use, including the following:



                      the prominent statement “For Experimental Use Only”;
                      the Experimental Use Permit Number;
                      the statement “Not for sale to any person other than a participant or cooperator of the
                      EPA‑approved Experimental Use Program”;
                      the name, brand, or trademark;
                      the name and address of the permittee, producer, or registrant;
                      the net contents;
                      an ingredient statement;
                      warning or caution statements;
                      any limitations on entry of persons into treated areas;
                      the establishment registration number, except in those cases where application of the
                      pesticide is made solely by the producer; and
                      the directions for trial use.




            In the case of a registered pesticide, EPA may permit a pesticide to be used under an experimental use permit with
            approved supplemental labeling.

            Note: Please refer to Chapter 2 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-2-registering-pesticide-product>
            for more information on label and labeling formats.

            Fee Requirements
            Refer to Chapter 5 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees> for detailed
            information on fees.

            Based on legislative requirements, fees are assessed for specific EPA review actions for conventional chemical
            pesticides, antimicrobial products, and biological products. In return, EPA is obligated to perform certain review
            functions and make regulatory determinations within a specific timeframe.

            Suggested Format for an Experimental Use Permit Application
            The following format is an example of an acceptable EUP application. Please note that all of the items are not necessary
            in every case. Depending on whether the product being tested is already registered with EPA, and whether a tolerance
            is necessary because treated crops will be used as food or feed, several of these entries may not be necessary. See the




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                         11/19
                                                                                                                                                      AR0000572
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use573  of| US
                                                                                                            Permit  739EPA




            section earlier in this chapter entitled “Applying for an EUP” for an explanation of what information is required in each
            of these situations.

            Section A

            This section should include a data sheet detailing the chemical and physical properties of the test chemical along with
            a complete statement of the names and percentages by weight of each active and inert ingredient in the formulation to
            be shipped. The Confidential Statement of Formula, EPA Form 8570-4 <https://epa.gov/pesticide-registration/pesticide-registration-
            manual-blank-forms> can be used for some of this information.

            Section B

            This section should include a copy of the proposed experimental label. The minimum labeling requirements are set
            forth in 40 CFR 172.6.

            Section C

            This section should include toxicity data, including oral and dermal LD50 values, inhalation LC50 values, and eye and
            skin irritation data for the formulated product, as well as subchronic toxicity, developmental toxicity (one species),
            mutagenicity, and potentially, chronic toxicity and reproduction data on the active ingredient. Data on the product’s
            toxicity to fish and wildlife may also be included in Section C, as appropriate (40 CFR Part 158 ) and for antimicrobial
            pesticides, 40 CFR Part 161     ).

            Section D

            This section should include residue data, including, when appropriate, data on: (1) food or feed commodities; (2)
            nonfood crops such as tobacco; or (3) foliage or other sites where the product may be used and on which remaining
            residues of the product may pose a risk to humans or the environment. Section D also includes a description of the
            analytical methods used, a summary of the residue data acquired, and when appropriate, environmental fate data.

            Section E

            This section should include product performance information demonstrating that the product is useful for the
            purposes proposed. Because EPA has waived the requirement for submitting efficacy data for all products except those
            with public health uses, Section E need not contain actual efficacy data, but should include a summary of the results of
            all efficacy testing performed on the product.

            Section F

            This section should include a statement explaining whether a tolerance exists or is being requested, especially if the
            product is to be tested in a manner that may result in residues in food or feed. If a tolerance is being requested, the
            temporary tolerance petition must be provided with the EUP application. Whenever all food or feed derived from the
            experimental program is to be destroyed or fed to experimental animals, a statement must be included explaining this.

            Section G

            The section should include details concerning the proposed experimental program, including:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                             12/19
                                                                                                                                          AR0000573
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use574  of| US
                                                                                                            Permit  739EPA




                     qualifications, names, addresses, and telephone numbers of all EUP participants,
                     including cooperators, i.e., persons who grant permission for an experimental use
                     pesticide to be used on application sites they own or control;
                     names of states in which the product will be used, along with the amount of active
                     ingredient and acreage (or other appropriate measures) to be used in each state, and the
                     names of states in which the pesticide may be shipped for further distribution;
                     details of the proposed EUP program:
                           types of pests or organisms targeted;
                           the crops, animals, surface, or sites to be treated;
                           the geographical areas where the material is to be used;
                           the use patterns, intended plot sizes, number of plots, number of replicates, and
                           other test parameters to be used;
                     information on prior testing:
                           description and the specific results of any appropriate prior testing of the product
                           conducted by the applicant to determine toxicity and effects in or on any target
                           organisms at the site of application,
                           phytotoxicity and other forms of toxicity or effects on nontarget plants, animals,
                           and insects, at or near the site of application, or
                           adverse effects on the environment;
                     objectives of the EUP program, including a statement specifying the type of data to be
                     collected and the intended gain from conducting the program;
                     justification for the quantity (volume) of active ingredient proposed to be used under the
                     EUP, including a statement specifying the various parameters used to determine the
                     quantity of active ingredient;
                     a statement proposing a suitable duration for the EUP commensurate with the program
                     objectives; and
                     details concerning the method of disposing of unused materials at the conclusion of the
                     testing program.




            Extensions or Renewal of Experimental Use Permits
            EUPs and associated temporary tolerances are usually issued for a period of one or two years. The permit and any
            associated temporary tolerances may be extended, renewed, or amended upon written request to the Agency, if
            circumstances warrant. The written request should include an explanation/justification for requesting the
            extension/renewal/amendment. Please note that the Agency processing time may, in certain circumstances, be similar
            to new EUPs. The applicant must request an amendment to an EUP if one or more of the following changes are
            requested:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                13/19
                                                                                                                               AR0000574
8/14/23, 1:39 PM      Case 3:24-cv-01106-CVR          Document
                                    Pesticide Registration           57-312 -Filed
                                                           Manual: Chapter   Applying04/24/24       Page
                                                                                      for an Experimental Use575  of| US
                                                                                                              Permit  739EPA




                       if the EUP was established as a crop destruct, but the applicant seeks to change it to a
                       noncrop destruct;
                       if the applicant seeks to reallocate acreage across states or add new states; and
                       if the applicant intends to make EUP labeling change




            Program Surveillance and Data Reporting
            Requirements for an Experimental Use Permit
            Once the permit is issued and the pesticide testing is under way, the applicant is required to track the results at each
            test site and submit to EPA within 180 days after the expiration of the permit a final report that shall include (40 CFR
            172.8):



                       All data gathered during the testing program. Although field notes need not be included
                       in this report, they must be kept available for EPA review upon request.
                       A report of how pesticide containers and unused pesticides were disposed of, including
                       the quantity disposed of, disposal sites, and disposal methods.
                       The method of disposition of affected food and/or feed.
                       In the case where meat-producing animals or birds are treated by or exposed to an
                       experimental use pesticide, the applicant must report the name and location where the
                       animals will be processed to the U.S. Department of Agriculture, Animal and Plant
                       Health Inspection Service, Washington, DC 20250.




            EPA, as well as the state, may require advance notice from the applicant of the intended test dates, sites, and times. The
            applicant must also allow EPA and state access to the testing site to determine whether the testing complies with the
            terms and conditions of the permit.




            References Cited in Chapter 12
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            Code of Federal Regulation, Title 40




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                 14/19
                                                                                                                                                AR0000575
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use576  of| US
                                                                                                            Permit  739EPA




                      Part 152 - Pesticide registration and classification procedures
                      Part 158 - Data requirements for registration
                      Part 161 – Data requirements for antimicrobial pesticides
                      Part 172 - Experimental use permits
                      Part 180 - Tolerances and exemptions from tolerances for pesticide chemicals in food




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                      Section 3 - Registration of pesticides
                      Section 5 - Experimental use permits
                      Section 33 - Pesticide registration service fees




            Federal Food, Drug and Cosmetic Act <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>



                      Section 408 - Tolerances and exemptions for pesticide chemical residues




            PR Notice 2011-3 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-provisions> -
            Standard Format for Data Submitted Under the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) and Certain
            Provisions of the Federal Food, Drug, and Cosmetic Act (FFDCA).



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                   15/19
                                                                                                                                                AR0000576
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use577  of| US
                                                                                                            Permit  739EPA




              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                                    16/19
                                                                                                                                                 AR0000577
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use578  of| US
                                                                                                            Permit  739EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit              17/19
                                                                                                                             AR0000578
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use579  of| US
                                                                                                            Permit  739EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit                             18/19
                                                                                                                                            AR0000579
8/14/23, 1:39 PM    Case 3:24-cv-01106-CVR          Document
                                  Pesticide Registration           57-312 -Filed
                                                         Manual: Chapter   Applying04/24/24       Page
                                                                                    for an Experimental Use580  of| US
                                                                                                            Permit  739EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-experimental-use-permit              19/19
                                                                                                                             AR0000580
8/14/23, 1:40 PM     Case 3:24-cv-01106-CVR Pesticide
                                             Document         57-3
                                                      Registration     Filed
                                                                   Manual:    04/24/24
                                                                           Chapter 13 - DevicesPage    581 of 739
                                                                                                | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 13
            - Devices
            In this chapter:
                Devices - Introduction                                                                             Registration Manual
                How to Obtain a Device Determination from EPA                                                       Table of Contents
                Devices Subject to Regulation
                Devices Not Subject to Regulation                                                                 Pesticides Registration Manual
                Requirements for a Device Subject to Regulation                                                   Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                     Registration Not Required
                                                                                                                  manual>
                     Production Requirements
                     Labeling Requirements                                                                        Introduction
                                                                                                                  <https://epa.gov/pesticide-
                     Device Efficacy
                                                                                                                  registration/pesticide-registration-
                     Child‑Resistant Packaging
                                                                                                                  manual-introduction>
                Import and Export of Devices
                Contacts for Additional Information                                                               How to Register a Pesticide
                                                                                                                  Product – A Guide for Applicants
                References Cited in Chapter 13
                                                                                                                  New to the Process
                                                                                                                  <https://epa.gov/pesticide-
                                                                                                                  registration/how-register-pesticide-guide-
            Devices - Introduction                                                                                applicants-new-process>


            This chapter describes how EPA regulates pesticidal devices and clarifies                               1. Requirements for Pesticide
            which types of devices are subject to regulatory oversight and what                                        Registration and Registrant
            requirements apply to them.                                                                                Obligations
                                                                                                                      <https://epa.gov/pesticide-
            In 1976, EPA issued a Federal Register Notice concerning the regulatory                                   registration/pesticide-registration-
            status of devices <https://epa.gov/pesticide-registration/pest-control-devices-and-device-                manual-chapter-1-overview-
            producers-1976-federal-register-notice>. In that notice, EPA also explained its
                                                                                                                      requirements-pesticide>
            interpretation of the distinction between a “pesticide” and a “device.”
            More information can be found on the EPA’s Pest Control Devices and
            Device Producers: 1976 Federal Register Notice webpage
            <https://epa.gov/pesticide-registration/pest-control-devices-and-device-producers-1976-
            federal-register-notice>.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                                        1/14
                                                                                                                                                             AR0000581
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    582 of 739
                                                                                               | US EPA




            FIFRA defines a device as any instrument or contrivance (other than a                   2. Registering a Pesticide
            firearm) that is intended for trapping, destroying, repelling, or mitigating               Product <https://epa.gov/pesticide-
            any pest or any other form of plant or animal life (other than man and                    registration/pesticide-registration-
            other than bacteria, virus, or other microorganism on or in living man or                 manual-chapter-2-registering-
            other living animals); but not including equipment used for the                           pesticide-product>
            application of pesticides when sold separately therefrom. Refer to FIFRA                3. Additional Considerations for
            section 2(h) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-     Biopesticide Products
            and-rodenticide-act>.                                                                     <https://epa.gov/pesticide-
                                                                                                      registration/pesticide-registration-
            In general, if an article is an instrument or contrivance that uses physical
                                                                                                      manual-chapter-3-additional-
            or mechanical means to trap, destroy, repel, or mitigate any plant or
                                                                                                      considerations>
            animal life declared to be a pest at 40 CFR 152.5, it is considered to be a
            device and subject to regulation under FIFRA. However, devices are not                  4. Additional Considerations for
            subject to the registration requirements that apply to pesticides and                     Antimicrobial Products
                                                                                                      <https://epa.gov/pesticide-
            pesticide products under FIFRA section 3. Further information can be
                                                                                                      registration/pesticide-registration-
            found on EPA’s Pest Control Devices Webpage.
                                                                                                      manual-chapter-4-additional-
            <https://epa.gov/pesticides/pesticide-devices-guide-consumers>
                                                                                                      considerations>
            If a product consists of an object or article that incorporates a substance             5. Registration Fees
            or mixture of substances intended to prevent, destroy, repel, or mitigate                 <https://epa.gov/pesticide-
            any pest, the entire product is considered to be a pesticide and is subject               registration/pesticide-registration-
            to registration under FIFRA section 3. Also, if such a product is sold with               manual-chapter-5-registration-fees>
            any substance that functions as a precursor for creation of a pesticidal
                                                                                                    6. Amending a Registered
            substance, the entire product is generally considered to be a pesticide and
                                                                                                       Pesticide Product
            subject to registration under FIFRA section 3.
                                                                                                      <https://epa.gov/pesticide-

            If the product is an instrument or contrivance and claims to control pests                registration/pesticide-registration-

            through physical or mechanical means, the product is considered to be a                   manual-chapter-6-amending-

            device, unless it is a firearm.                                                           registered-pesticide>

                                                                                                    7. Notifications and Minor
            Distinctions among devices, pesticides, and pesticide application                          Formulation Amendments
            equipment can be illustrated by comparing products that are outwardly                     <https://epa.gov/pesticide-
            similar but are treated differently under FIFRA. For example, a bait station              registration/pesticide-registration-
            that is sold by itself to be used in conjunction with other products in the               manual-chapter-7-notifications-and-
            control of insects or rodents is considered to be pesticide application                   minor-formulation>
            equipment and is not directly regulated under FIFRA, although the labels
                                                                                                    8. Inert Ingredients
            for registered pesticide products may require them to be used in bait
                                                                                                      <https://epa.gov/pesticide-
            stations in some or all applications.
                                                                                                      registration/pesticide-registration-

            If the same design of bait station is sold with toxic bait in it (or packaged             manual-chapter-8-inert-ingredients>

            with it for use in it), the entire product is considered a “pesticide product”          9. Supplemental Distribution of
            and is regulated and labeled as such. If the bait station is sold with a sticky           a Registered Pesticide
            trap inside it (or is packaged with sticky traps that are to be placed inside             <https://epa.gov/pesticide-
            it), the entire product is a device, and is regulated under FIFRA because it              registration/pesticide-registration-
            achieves pest control by physical means.                                                  manual-chapter-9-supplemental-
                                                                                                      distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                        2/14
                                                                                                                                             AR0000582
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    583 of 739
                                                                                               | US EPA




                                                                                              10. Data Compensation
                                                                                                  Requirements
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-10-data-
                                                                                                 compensation-requirements>

                                                                                              11. Tolerance Petitions
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-11-tolerance-
                                                                                                 petitions>

                                                                                              12. Applying for an Experimental
                                                                                                 Use Permit
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-12-applying-
                                                                                                 experimental-use-permit>

                                                                                              13. Devices
                                                                                              14. How to Obtain an EPA
                                                                                                  Establishment Number
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-14-how-obtain-epa-
                                                                                                 company-or>

                                                                                              15. Submitting Data and
                                                                                                 Confidential Business
                                                                                                 Information
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-15-submitting-data-
                                                                                                 and-confidential>

                                                                                              16. Transfer of Product
                                                                                                 Registrations and Data Rights
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-16-transfer-product-
                                                                                                 registrations-and>

                                                                                              17. State Regulatory Authority
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-17-state-regulatory-
                                                                                                 authority>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                   3/14
                                                                                                                                        AR0000583
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    584 of 739
                                                                                               | US EPA




                                                                                              18. Other Federal or State Agency
                                                                                                  Requirements
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-18-other-federal-or-
                                                                                                 state-agency>

                                                                                              19. How to Obtain Publications
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-19-how-obtain-
                                                                                                 publications>

                                                                                              20. Forms and How to Obtain
                                                                                                 Them <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-20-forms-and-how-
                                                                                                 obtain-them>

                                                                                              21. Directions for Submitting
                                                                                                 Applications and Contacting
                                                                                                 EPA <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-chapter-21-directions-
                                                                                                 submitting-applications>


                                                                                              Appendices

                                                                                                 Appendix A: Guidance
                                                                                                 Documents
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-appendix-guidance-
                                                                                                 documents>

                                                                                                 Appendix B: Examples of
                                                                                                 Registrant Documents
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-appendix-b-examples-
                                                                                                 registrant-documents>

                                                                                                 Appendix C: Pesticide Forms
                                                                                                 Overview Table
                                                                                                 <https://epa.gov/pesticide-
                                                                                                 registration/pesticide-registration-
                                                                                                 manual-appendix-c-pesticide-forms-
                                                                                                 overview-table>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                   4/14
                                                                                                                                        AR0000584
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    585 of 739
                                                                                               | US EPA




                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




                     Pesticidal devices must be produced in an EPA registered pesticide-producing
                     establishment. It is important to note that EPA establishment numbers, which are
                     required for devices, are not the same as EPA pesticide registration numbers required
                     for pesticide products. Obtaining an establishment number <https://epa.gov/pesticide-
                     registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or> is an administrative process,
                     completed upon request to the EPA. In contrast, obtaining an EPA pesticide registration
                     requires a fee for review of product specific data and is a longer process.
                     EPA establishment numbers are composed of a company number, followed by a 2-letter
                     U.S. State or 3-letter Country abbreviation, followed by the unique facility number (e.g.,
                     xxxx-PA-xx; xxxxx-CHN-xxxx)
                     EPA Registration Numbers are composed of a company number followed by a product
                     number (e.g., xxxxx-xxxx). For registered distributor products, the company number
                     and product number are followed by the distributor company number (e.g., xxxxx-xx-
                     xxxx)
                     See Chapter 14 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or>
                     for information on how to register a pesticide-producing establishment. Devices are
                     also subject to certain labeling requirements. Refer to FIFRA section 2(q)(1)
                     <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> and 40 CFR Part 156 .




            How to Obtain a Device Determination from EPA
            If you are uncertain about whether your product requires EPA registration as a pesticide, you may request a
            determination from EPA. If you would like a determination from EPA as to whether your product is considered a
            pesticidal device, please submit a request to the Agency using PRIA code M009. The cost is $2,482* and the timeframe is
            4 months. Please submit the following information with your request:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                               5/14
                                                                                                                                                    AR0000585
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    586 of 739
                                                                                               | US EPA




                      Submit 8570-1 application form (select “miscellaneous” and provide an explanation in
                      the space provided);
                      Submit a cover letter on company letterhead requesting a device determination and
                      include as much of the following information as possible:
                            Your EPA issued company number;
                            The complete brand names of the product;
                            Complete copy of the label for the product, and a statement of all claims to be made
                            for the product, including all written, printed, or broadcast claims made for the
                            product;
                            Directions for use and warnings or cautionary statements;
                            All material distributed with the product;
                            A detailed written description of how the product works to kill, destroy, repel, or
                            mitigate a pest;
                            Starting material inputs or ingredients or specifications used in the operation of the
                            product. Ingredients in the product must be identified by common name and CAS
                            number if applicable;
                            Schematic diagram or detailed engineering drawings, diagrams, flow diagrams or
                            patent(s) application information. Note: if a patent(s) has been issued, please
                            include copies;
                            Photographs of the product from all sides, including digital copies available upon
                            request; and
                            Comparisons to current industry products;
                      Provide proof of payment;




            Once all of the submitted information is reviewed by the Agency, a determination letter will be issued to the applicant
            within the 4-month PRIA timeframe.

            *There are provisions for waiving up to 75% of the fee if you qualify as a small business (waiver information is also on
            the website <https://epa.gov/pria-fees/pria-fee-waivers-small-businesses>). The fee waiver application must be submitted with the
            registration application.

                Fees may be reduced under some circumstances <https://epa.gov/pria-fees/overview-pria-fee-reduction-and-refund-formula>.

            If you have questions, please contact us at OPP_FIFRA_Jurisdictional_Issues@epa.gov.




            Devices Subject to Regulation
            In a Federal Register notice published on November 19, 1976 (Pest Control Devices and Device Producers
            <https://epa.gov/pesticide-registration/pest-control-devices-and-device-producers-1976-federal-register-notice>), EPA stated that devices
            subject to FIFRA section 2(q)(1) and section 7 include, but are not limited to:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                                   6/14
                                                                                                                                                        AR0000586
8/14/23, 1:40 PM      Case 3:24-cv-01106-CVR Pesticide
                                              Document         57-3
                                                       Registration     Filed
                                                                    Manual:    04/24/24
                                                                            Chapter 13 - DevicesPage    587 of 739
                                                                                                 | US EPA




                       certain ultraviolet light systems, ozone generators, water filters and air filters (except
                       those containing substances), and ultrasonic devices for which claims are made to kill,
                       inactivate, entrap, or suppress the growth of fungi, bacteria, or viruses in various sites;
                       certain high frequency sound generators, carbide cannons, foils, and rotating devices for
                       which claims are made to repel birds;
                       black light traps, fly traps, electronic and heat screens, fly ribbons, and fly paper for
                       which claims are made to kill or entrap certain insects; and
                       mole thumpers, sound repellents, foils, and rotating devices for which claims are made
                       to repel certain mammals.




            Since that notice was issued, EPA has determined that products of the following types also fall within the definition of
            device:



                       products that are claimed to control pests via electromagnetic and/or electrical
                       emissions (e.g., hand held bug zappers, eletric flea combs);
                       products that are claimed to control burrowing animals via product-caused
                       subterranean explosions; and
                       products that work via principles indicated in the 1976 Federal Register Notice for one
                       category of pest but are claimed to control pests of different types (e.g., sticky traps for
                       rodents (without attractants), light or laser repellents for birds, etc.).




            Important Note: In applying the definition of "device" in FIFRA section 2(h), EPA examines each individual product on a
            case-by-case basis. For instance, the public should be aware that EPA has reviewed a number of individual products
            that claim to provide pest control through the use of electromagnetic radiation and has found these products to be
            devices within the meaning of section 2(h). In addition, EPA has found that a silver ion generating washing machine
            marketed with claims that odor causing bacteria will be killed on laundry must be registered as a pesticide. Read more
            about regulation of ion generating equipment <https://epa.gov/pesticide-registration/pesticide-registration-clarification-ion-generating-
            equipment>.




            Devices Not Subject to Regulation
            The November 19, 1976, Federal Register Notice Pest Control Devices and Device Producers <https://epa.gov/pesticide-
            registration/pest-control-devices-and-device-producers-1976-federal-register-notice> also provided examples of those types of devices
            that are not subject to regulation under FIFRA:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                             7/14
                                                                                                                                                  AR0000587
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    588 of 739
                                                                                               | US EPA




                      devices that depend for their effectiveness more upon the performance of the person
                      using the device than on the performance of the device itself; and
                      devices that operate to entrap vertebrate animals.




            Products generally falling within these two categories include rat and mousetraps, fly swatters, tillage equipment for
            weed control, and fish traps.




            Requirements for a Device Subject to Regulation
            Registration Not Required
            A device is not required to be registered under FIFRA section 3. However, devices are subject to certain requirements of
            FIFRA as specified in 40 CFR 152.500 .

            Production Requirements
            Pesticidal devices must be produced in a registered pesticide-producing establishment. Refer to 40 CFR 152.500(b)(2).
            See Chapter 14 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or> for information
            on registering a site.

            Labeling Requirements
            Devices are subject to the labeling requirements of FIFRA section 2(q)(1) and 40 CFR Part 156. These requirements are
            summarized below.

            Misbranding - Under FIFRA section 2(q)(1) a device is considered to be misbranded and subject to enforcement action
            if:



                      the labeling bears any statements, designs, or graphic representations that are false or
                      misleading (see 40 CFR 156.10(a)(5));
                      its packaging or wrapping does not conform to standards established pursuant to FIFRA
                      section 25(c)(3) (as of 2010, such standards have yet to be established for devices);
                      it is an imitation of, or is offered for sale under the name of another device;
                      the label fails to bear the establishment number of the establishment where it was
                      produced;
                      any required information is not prominently displayed on the label;
                      it lacks adequate directions for use; or
                      it lacks an adequate warning or caution statement.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                              8/14
                                                                                                                                                 AR0000588
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    589 of 739
                                                                                               | US EPA




            Device Efficacy
            Unlike registrants of pesticide products, FIFRA does not require device producers to submit any data concerning either
            safety or efficacy of a device prior to distribution or sale. This is particularly important to note for antimicrobial
            pesticide devices that claim to disinfect, sanitize, and/or sterilize items or ambient air. Because microbial pests are not
            visible to the naked eye, users of such devices generally cannot evaluate the actual performance of the device. The
            device may be “misbranded” if labels, labeling, and/or websites for devices including general or specific efficacy claims
            include any statement, design, or graphic representation that is “false or misleading in any particular.” Distribution or
            sale of a misbranded device is prohibited under FIFRA. Therefore, every producer or seller of devices is responsible for
            ensuring that these products perform as claimed, and that such performance claims are not misleading to the intended
            user.

            Also, please note that some state laws have requirements for devices in addition to those imposed by FIFRA. Some state
            governments require registration of devices, including submission and review of efficacy data and labeling, before a
            device can be sold or distributed in that state. Therefore, compliance with FIFRA’s requirements does not ensure that a
            device can be legally sold in those states. Click the link below for a contact list of state lead agencies.

            http://npic.orst.edu/reg/state_agencies.html              <http://npic.orst.edu/reg/state_agencies.html>


            Child‑Resistant Packaging
            Devices are subject to child-resistant packaging (CRP) requirements when they meet certain toxicity and use criteria.
            For information concerning CRP requirements, see:

                Child-Resistant Packaging for Pesticides <https://epa.gov/pesticide-registration/child-resistant-packaging-pesticides>
                EPA regulations on child-resistant packaging --40 CFR 157.20 – 157.36

            Child-resistant packaging is defined as packaging designed or constructed to be significantly difficult for children less
            than five years of age to open or obtain a toxic or harmful amount of the substance contained therein within a
            reasonable time, and that is not difficult for normal adults to use properly. 40 CFR 157.21(b).




            Import and Export of Devices
            Please refer to FIFRA section 17 <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> for
            information concerning import and export requirements for devices. U.S. Customs regulations at 19 CFR 12.1(b) related
            to the implementation of FIFRA section 17 require, in part, that devices produced by foreign manufacturers and
            imported into the U.S. comply with all requirements applicable to domestic producers. In addition, the regulations
            require an importer to submit to EPA a Notice of Arrival of Pesticides and Devices <https://epa.gov/compliance/importing-and-
            exporting-pesticides-and-devices> (EPA Form 3540‑1) for review and determination as to whether the shipment should be
            sampled and/or permitted entry into the U.S.

            FIFRA section 17 states that no device produced solely for export to any foreign country shall be deemed in violation of
            FIFRA when prepared or packaged to the specifications or directions of the foreign producer, except that producers of
            such devices are subject to labeling requirements and certain misbranding restrictions found in sections 2(p) and 2(q)
            of FIFRA.

            In addition, producers of devices are subject to record keeping and inspection requirements in accordance with section
            8 of FIFRA <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                     9/14
                                                                                                                                         AR0000589
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    590 of 739
                                                                                               | US EPA




            Contacts for Additional Information
            If you have any questions concerning regulatory requirements for devices that are not subject to registration, please
            contact:

            OPP_FIFRA_Jurisdictional_Issues@epa.gov




            References Cited in Chapter 13
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            Code of Federal Regulation, Title 40



                       Part 152 - Pesticide registration and classification procedures
                       Part 153 - Statement of policies and interpretations
                       Part 156 - Labeling requirements for pesticides and devices
                       Part 157 - Packaging requirements for pesticides and devices
                       Part 167 - Registration of pesticide-producing establishments, submission of pesticide
                       reports, and labeling
                       Part 169 - Books and records of pesticide production and distribution




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                       Section 2 - Definitions
                       Section 3 - Registration of pesticides
                       Section 7 - Registration of establishments
                       Section 8 - Books and records
                       Section 9 - Inspection of establishments, etc.
                       Section 12 - Unlawful acts
                       Section 13 - Stop sale, use, removal, and seizure
                       Section 14 - Penalties
                       Section 17 - Imports and exports
                       Section 25 - Child-resistant packaging




            Federal Register Notice, Pest Control Devices and Device Producers <https://epa.gov/pesticide-registration/pest-control-devices-and-
            device-producers-1976-federal-register-notice>, (41 FR 51065), November 19, 1976




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                          10/14
                                                                                                                                                AR0000590
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    591 of 739
                                                                                               | US EPA




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON MARCH 1, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                             11/14
                                                                                                                                                 AR0000591
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    592 of 739
                                                                                               | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                             12/14
                                                                                                                   AR0000592
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    593 of 739
                                                                                               | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                                                      13/14
                                                                                                                                            AR0000593
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR Pesticide
                                            Document         57-3
                                                     Registration     Filed
                                                                  Manual:    04/24/24
                                                                          Chapter 13 - DevicesPage    594 of 739
                                                                                               | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-13-devices                             14/14
                                                                                                                   AR0000594
8/14/23, 1:40 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter             57-3an Filed
                                                              14 - How to Obtain       04/24/24
                                                                                 EPA Company          Page Number
                                                                                             or Establishment 595 ofor739
                                                                                                                      Change Address or Co…




               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



           Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
           Registration


           Pesticide Registration Manual: Chapter 14
           - How to Obtain an EPA Company or
           Establishment Number or Change Address
           or Contact Information
           In this chapter:
               What is an EPA company number                                                                      Registration Manual
               How to obtain an EPA company number                                                                 Table of Contents
               How to obtain an EPA establishment number
               Definition of an establishment                                                                    Pesticides Registration Manual
               Definition of produce                                                                             Home Page <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
               Registering pesticide-producing and device-producing establishments
                                                                                                                 manual>
               Information requirements
               Reporting requirements                                                                            Introduction
               How to report official company name, address or agent changes to                                  <https://epa.gov/pesticide-

               EPA                                                                                               registration/pesticide-registration-
                                                                                                                 manual-introduction>
               Contacts for additional information
               References cited in Chapter 14                                                                    How to Register a Pesticide
                                                                                                                 Product – A Guide for Applicants
                                                                                                                 New to the Process

           What is an EPA Company                                                                                <https://epa.gov/pesticide-
                                                                                                                 registration/how-register-pesticide-guide-
           Number                                                                                                applicants-new-process>


           A “company number” is a unique identifier assigned to a company that                                    1. Requirements for Pesticide
           wishes to register a pesticide (e.g., herbicide, rodenticide, or                                          Registration and Registrant
           antimicrobial) with the U.S. Environmental Protection Agency (EPA).                                       Obligations
           These companies are commonly called registrants.                                                          <https://epa.gov/pesticide-
                                                                                                                     registration/pesticide-registration-
           A "company number" is also necessary for a company that plans to                                          manual-chapter-1-overview-
           “produce” pesticides or devices. Such production requires the company to                                  requirements-pesticide>
           obtain a “Pesticide-Producing or Device-Producing Establishment




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                                     1/11
                                                                                                                                                            AR0000595
8/14/23, 1:40 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter             57-3an Filed
                                                              14 - How to Obtain       04/24/24
                                                                                 EPA Company          Page Number
                                                                                             or Establishment 596 ofor739
                                                                                                                      Change Address or Co…




           Number.” The company number is part of the establishment number.                            2. Registering a Pesticide
                                                                                                          Product <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-


           How to Obtain an EPA Company
                                                                                                          manual-chapter-2-registering-
                                                                                                          pesticide-product>

           Number                                                                                      3. Additional Considerations for
                                                                                                          Biopesticide Products
           Registrants must obtain a company number prior to registering their first
                                                                                                          <https://epa.gov/pesticide-
           product with the Agency. For subsequent products or amendment to
                                                                                                          registration/pesticide-registration-
           existing registrations, the registrant must refer to this company number.
                                                                                                          manual-chapter-3-additional-
           (Note: registrants who plan to produce their own products will also need
                                                                                                          considerations>
           to obtain an “establishment number <https://epa.gov/compliance/pesticide-
                                                                                                       4. Additional Considerations for
           establishment-registration-and-reporting>.”)
                                                                                                          Antimicrobial Products
           The registrant must submit a signed letter on company letterhead to                            <https://epa.gov/pesticide-

           request a company number and establish an official address with EPA as                         registration/pesticide-registration-

           described in the Agency’s guidance “How to Obtain a Company Number                             manual-chapter-4-additional-

           and Register an Official Address <https://epa.gov/pesticide-registration/pesticide-            considerations>

           registration-manual-how-obtain-company-number-and-register>.” EPA will direct all           5. Registration Fees
           future correspondence to the official address. The registrant must keep                        <https://epa.gov/pesticide-
           this official address record up to date.                                                       registration/pesticide-registration-
                                                                                                          manual-chapter-5-registration-fees>
           In their request for a company number, foreign companies must designate
                                                                                                       6. Amending a Registered
           a U.S. agent to receive correspondence and represent them in matters
                                                                                                          Pesticide Product
           concerning their application. 40 CFR 152.50(b). U.S. registrants may also
                                                                                                          <https://epa.gov/pesticide-
           designate an agent. The letter should include a statement authorizing the
                                                                                                          registration/pesticide-registration-
           agent to act in all matters concerning the registration of the product with
                                                                                                          manual-chapter-6-amending-
           EPA. It should also include a statement acknowledging that all official
                                                                                                          registered-pesticide>
           correspondence from EPA will be directed to the agent.
                                                                                                       7. Notifications and Minor
                                                                                                          Formulation Amendments
                                                                                                          <https://epa.gov/pesticide-
           How to Obtain an EPA                                                                           registration/pesticide-registration-

           Establishment Number                                                                           manual-chapter-7-notifications-and-
                                                                                                          minor-formulation>
           When producing or formulating a pesticide, it is necessary to register the                  8. Inert Ingredients
           place(s) [or facility(ies)] where the pesticide or device is to be produced.                   <https://epa.gov/pesticide-
           This chapter describes how an applicant can obtain an establishment                            registration/pesticide-registration-
           number for its facility.                                                                       manual-chapter-8-inert-ingredients>

           FIFRA section 7 <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-    9. Supplemental Distribution of
           and-rodenticide-act> governs pesticide establishments and recordkeeping.
                                                                                                          a Registered Pesticide
                                                                                                          <https://epa.gov/pesticide-
           Detailed information concerning definitions, registration procedures,
                                                                                                          registration/pesticide-registration-
           labeling, and reporting requirements is provided in 40 CFR Part 167,
                                                                                                          manual-chapter-9-supplemental-
           Registration of Pesticide and Active Ingredient Producing Establishments,
                                                                                                          distribution-registered>
           Submission of Pesticide Report , and 40 CFR Part 169, Books and
           Records of Pesticide Production and Distribution .




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                          2/11
                                                                                                                                                 AR0000596
8/14/23, 1:40 PM   Case  3:24-cv-01106-CVR
                      Pesticide                          Document
                                Registration Manual: Chapter             57-3an Filed
                                                             14 - How to Obtain       04/24/24
                                                                                EPA Company          Page Number
                                                                                            or Establishment 597 ofor739
                                                                                                                     Change Address or Co…




           Definition of an Establishment                                                             10. Data Compensation
                                                                                                          Requirements
           The Code of Federal Regulations (40 CFR 167.3) defines an establishment                        <https://epa.gov/pesticide-

           as any site where a pesticide product, active ingredient, or device is                         registration/pesticide-registration-

           produced, regardless of whether:                                                               manual-chapter-10-data-
                                                                                                          compensation-requirements>

                                                                                                      11. Tolerance Petitions
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-11-tolerance-
                                                                                                          petitions>

                                                                                                      12. Applying for an Experimental
                                                                                                          Use Permit
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-12-applying-
                                                                                                          experimental-use-permit>

                                                                                                      13. Devices <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-13-devices>

                                                                                                      14. How to Obtain an EPA
                                                                                                          Establishment Number
                                                                                                      15. Submitting Data and
                                                                                                          Confidential Business
                                                                                                          Information
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-15-submitting-data-
                                                                                                          and-confidential>

                                                                                                      16. Transfer of Product
                                                                                                          Registrations and Data Rights
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-16-transfer-product-
                                                                                                          registrations-and>

                                                                                                      17. State Regulatory Authority
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-17-state-regulatory-
                                                                                                          authority>

                                                                                                      18. Other Federal or State Agency
                                                                                                          Requirements
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-18-other-federal-or-
                                                                                                          state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                          3/11
                                                                                                                                                 AR0000597
8/14/23, 1:40 PM   Case  3:24-cv-01106-CVR
                      Pesticide                          Document
                                Registration Manual: Chapter             57-3an Filed
                                                             14 - How to Obtain       04/24/24
                                                                                EPA Company          Page Number
                                                                                            or Establishment 598 ofor739
                                                                                                                     Change Address or Co…




                                                                                                      19. How to Obtain Publications
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-19-how-obtain-
                                                                                                          publications>

                                                                                                      20. Forms and How to Obtain
                                                                                                          Them <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-20-forms-and-how-
                                                                                                          obtain-them>

                                                                                                      21. Directions for Submitting
                                                                                                          Applications and Contacting
                                                                                                          EPA <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-21-directions-
                                                                                                          submitting-applications>


                                                                                                      Appendices

                                                                                                          Appendix A: Guidance
                                                                                                          Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-guidance-
                                                                                                          documents>

                                                                                                          Appendix B: Examples of
                                                                                                          Registrant Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-b-examples-
                                                                                                          registrant-documents>

                                                                                                          Appendix C: Pesticide Forms
                                                                                                          Overview Table
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-c-pesticide-forms-
                                                                                                          overview-table>

                                                                                                          Appendix D: Examples of
                                                                                                          Completed Forms
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-d-examples-
                                                                                                          completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                          4/11
                                                                                                                                                 AR0000598
8/14/23, 1:40 PM   Case  3:24-cv-01106-CVR
                      Pesticide                          Document
                                Registration Manual: Chapter             57-3an Filed
                                                             14 - How to Obtain       04/24/24
                                                                                EPA Company          Page Number
                                                                                            or Establishment 599 ofor739
                                                                                                                     Change Address or Co…




                     the site is independently owned or operated;
                     site is domestic (i.e., located in the United States) and is producing the pesticide or
                     device only for export; or
                     the site is located in a foreign country and is producing the pesticide or device for
                     importation into the United States.




           Definition of Produce
           The term “produce,” as defined in 40 CFR 167.3, means “to manufacture, prepare, propagate, compound, or process
           any pesticide, including any pesticide produced pursuant to [an Experimental Use Permit], any active ingredient or
           device, or to package, repackage, label, relabel, or otherwise change the container of any pesticide or device.”




           Registering Pesticide-Producing and Device-
           Producing Establishments
           To register an establishment, EPA Form 3540‑8 <https://epa.gov/compliance/epa-form-3540-8-application-registration-pesticide-
           producing-and-device-producing>, Application for Registration of Pesticide‑Producing Establishments must be completed and
           submitted to the Agency. The corresponding instructions provide information on how to properly complete the form
           and where to send it <https://epa.gov/compliance/epa-form-3540-8-application-registration-pesticide-producing-and-device-producing>.

           Domestic Establishments - The completed application should be sent to the EPA Regional Office having jurisdiction over
           the state in which the company headquarters is located. EPA has 10 regional offices throughout the United States,
           which in turn oversee implementation and compliance with EPA programs and environmental standards in the 50
           states and in the U.S. Territories. The instructions for Form 3540-8 list the Regional Offices’ mailing addresses and
           telephone contacts.

           Foreign Establishments - Foreign companies should submit their applications to EPA headquarters at the address listed
           in the instructions on how to properly complete Form 3540-8.

           To request termination of a pesticide-producing or device-producing establishment, domestic establishments should
           notify the EPA Regional Office having jurisdiction over the state in which the company headquarters is located. Foreign
           establishments should notify the EPA Headquarters Office listed in the instructions for Registering Establishments
           <https://epa.gov/compliance/pesticide-establishment-registration-and-reporting-contacts> on the EPA Web page.


           Read more about pesticide establishment registration <https://epa.gov/compliance/pesticide-establishment-registration-and-
           reporting>.




           Information Requirements
           Applications for the registration of an establishment require the following information:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                           5/11
                                                                                                                                                  AR0000599
8/14/23, 1:40 PM   Case  3:24-cv-01106-CVR
                      Pesticide                          Document
                                Registration Manual: Chapter             57-3an Filed
                                                             14 - How to Obtain       04/24/24
                                                                                EPA Company          Page Number
                                                                                            or Establishment 600 ofor739
                                                                                                                     Change Address or Co…




                     name and address of the company;
                     EPA company number;
                     type of ownership (individual, partnership, cooperative association, corporation, or any
                     organized group of people whether incorporated or not);
                     name(s) of new producing establishment(s);
                     site address and the mailing address of the new producing establishments; and
                     name of the company official or authorized agent, a signature, date of signature, and
                     phone number.




           Reporting Requirements
           All active establishments are required to submit an annual production report on EPA Form 3540-16
           <https://epa.gov/compliance/epa-form-3540-16-pesticide-report-pesticide-producing-and-device-producing>, Pesticide Report for Pesticide-
           Producing Establishments by March 1 of each year to the appropriate EPA Regional Office listed in the “Instructions for
           Completing EPA Form 3540-16 <https://epa.gov/compliance/epa-form-3540-16-pesticide-report-pesticide-producing-and-device-producing>”.
           Refer to 40 CFR 167.85; 40 CFR 167.90. For new establishments, an initial report must be submitted no later than 30
           days after the first registration of each establishment. Refer to 40 CFR 167.85(d). The records that must be maintained
           and the retention period are described in 40 CFR 169              .

           Read more about pesticide establishment reporting <https://epa.gov/compliance/pesticide-establishment-registration-and-reporting>.




           How to Report Official Company Name, Address or
           Agent Changes to EPA
           Any changes to the official company name, address, withdrawal of an existing agent, appointment of a new agent or
           changes to any of the contact information listed under Information Requirements above should be reported to EPA as a
           separate transaction to ensure proper handling. Instructions for notifying the Agency of these changes are found in
           Agency's guidance “How to Report Official Company Name, Address or Agent Changes <https://epa.gov/pesticide-
           registration/pesticide-registration-manual-how-report-changes-company-name-or-address>”. (Note: A sale, merger or spin-off of an EPA
           Company Number to another entity usually involves a Company Number Transfer [rather then just a Company Name
           Change]. See Chapter 16 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and>
           regarding transfers.

           Report changes related to pesticide-producing establishments                  <https://compliancegov.zendesk.com/hc/en-us/articles/211428768-
           how-do-i-update-my-company-or-establishment-s-information->.




           Contacts for Additional Information
           For Company Numbers: How to request a company number <https://epa.gov/pesticide-registration/pesticide-registration-manual-
           how-obtain-company-number-and-register#howto>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                              6/11
                                                                                                                                                    AR0000600
8/14/23, 1:40 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter             57-3an Filed
                                                              14 - How to Obtain       04/24/24
                                                                                 EPA Company          Page Number
                                                                                             or Establishment 601 ofor739
                                                                                                                      Change Address or Co…




           For Official Address Changes: How to Report Official Company Name, Address or Agent Changes <https://epa.gov/pesticide-
           registration/pesticide-registration-manual-how-report-changes-company-name-or-address>


           For Establishments: Information on registering an establishment and annual production reports may be obtained from
           the Pesticide Establishment Registration and Reporting Contacts <https://epa.gov/compliance/pesticide-establishment-registration-
           and-reporting-contacts>. EPA’s Office of Enforcement and Compliance Assurance provides additional information on its Web
           page <https://epa.gov/compliance/pesticide-establishment-registration-and-reporting>.




           References Cited in Chapter 14
           Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
           information on the source of these documents.

           Refer to Chapter 16 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and> for
           information on transfer of product registrations and data rights

           Code of Federal Regulation, Title 40



                     Part 167 - Registration of pesticide-producing establishments, submission of pesticide
                     reports, and labeling
                     Part 169 -Books and records of pesticide production and distribution




           Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
           rodenticide-act>, as amended by the Food Quality Protection Act of August 3, 1996




                     Section 7 - Registration of establishments




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                                   7/11
                                                                                                                                                          AR0000601
8/14/23, 1:40 PM    Case  3:24-cv-01106-CVR
                       Pesticide                          Document
                                 Registration Manual: Chapter             57-3an Filed
                                                              14 - How to Obtain       04/24/24
                                                                                 EPA Company          Page Number
                                                                                             or Establishment 602 ofor739
                                                                                                                      Change Address or Co…




              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




           Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
           report a problem.

           LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                          8/11
                                                                                                                                                AR0000602
8/14/23, 1:40 PM   Case  3:24-cv-01106-CVR
                      Pesticide                          Document
                                Registration Manual: Chapter             57-3an Filed
                                                             14 - How to Obtain       04/24/24
                                                                                EPA Company          Page Number
                                                                                            or Establishment 603 ofor739
                                                                                                                     Change Address or Co…




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                         9/11
                                                                                                                           AR0000603
8/14/23, 1:40 PM   Case  3:24-cv-01106-CVR
                      Pesticide                          Document
                                Registration Manual: Chapter             57-3an Filed
                                                             14 - How to Obtain       04/24/24
                                                                                EPA Company          Page Number
                                                                                            or Establishment 604 ofor739
                                                                                                                     Change Address or Co…




           Discover.
           Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

           Budget & Performance <https://epa.gov/planandbudget>

           Contracting <https://epa.gov/contracts>

           EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

           Grants <https://epa.gov/grants>

           No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

           Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

           Privacy <https://epa.gov/privacy>

           Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



           Connect.
           Data.gov        <https://www.data.gov/>

           Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

           Jobs <https://epa.gov/careers>

           Newsroom <https://epa.gov/newsroom>

           Open Government <https://epa.gov/data>

           Regulations.gov            <https://www.regulations.gov/>

           Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

           USA.gov         <https://www.usa.gov/>

           White House           <https://www.whitehouse.gov/>




           Ask.
           Contact EPA <https://epa.gov/home/forms/contact-epa>

           EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

           Hotlines <https://epa.gov/aboutepa/epa-hotlines>

           FOIA Requests <https://epa.gov/foia>

           Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


           Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                                   10/11
                                                                                                                                           AR0000604
8/14/23, 1:40 PM   Case  3:24-cv-01106-CVR
                      Pesticide                          Document
                                Registration Manual: Chapter             57-3an Filed
                                                             14 - How to Obtain       04/24/24
                                                                                EPA Company          Page Number
                                                                                            or Establishment 605 ofor739
                                                                                                                     Change Address or Co…




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-14-how-obtain-epa-company-or                        11/11
                                                                                                                           AR0000605
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      606
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



            Pesticide                                       CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 15
            - Submitting Data and Confidential
            Business Information
            In this chapter:
                Submitting Data and Confidential Business Information                                             Registration Manual
                    Overview
                                                                                                                   Table of Contents
                Synopsis of FIFRA Section 10
                    Confidential Business Information                                                            Pesticides Registration Manual
                                                                                                                 Home Page <https://epa.gov/pesticide-
                Procedures for Submitting Data
                                                                                                                 registration/pesticide-registration-
                Data Formatting
                                                                                                                 manual>
                    Transmittal Document
                                                                                                                 Introduction
                    Studies Must be Bound Separately
                                                                                                                 <https://epa.gov/pesticide-
                    Supplements to Previously Submitted Studies
                                                                                                                 registration/pesticide-registration-
                    Replacement Pages for Previously Submitted Studies                                           manual-introduction>
                    Statement of Data Confidentiality Claims
                                                                                                                 How to Register a Pesticide
                    Confidential Business Information Claims for Plant-Incorporated
                                                                                                                 Product – A Guide for Applicants
                    Protectant Submissions
                                                                                                                 New to the Process
                    Good Laboratory Practice Statement                                                           <https://epa.gov/pesticide-
                    Flagging Statement                                                                           registration/how-register-pesticide-guide-
                    Adverse Effects Submitted Under FIFRA 6(a)(2)                                                applicants-new-process>

                Common Errors
                                                                                                                   1. Requirements for Pesticide
                Contacts for Additional Information                                                                  Registration and Registrant
                References Cited in Chapter 15                                                                       Obligations
                                                                                                                     <https://epa.gov/pesticide-
                                                                                                                     registration/pesticide-registration-
                                                                                                                     manual-chapter-1-overview-
                                                                                                                     requirements-pesticide>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                              1/14
                                                                                                                                                            AR0000606
8/14/23, 1:40 PM     Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                         - Submitting    04/24/24
                                                                                      Data              Page
                                                                                           and Confidential      607
                                                                                                            Business    of 739| US EPA
                                                                                                                     Information




            Submitting Data and                                                                           2. Registering a Pesticide
                                                                                                             Product <https://epa.gov/pesticide-
            Confidential Business                                                                            registration/pesticide-registration-

            Information                                                                                      manual-chapter-2-registering-
                                                                                                             pesticide-product>
            This chapter includes information on how to submit data as well as                            3. Additional Considerations for
            special considerations concerning what data and information can be                               Biopesticide Products
            considered to be confidential business information.                                              <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
            Overview                                                                                         manual-chapter-3-additional-
                                                                                                             considerations>
            Section 10 of FIFRA <https://epa.gov/laws-regulations/summary-federal-insecticide-
            fungicide-and-rodenticide-act> provides applicants with the ability to claim                  4. Additional Considerations for
            information as confidential, and requires EPA to protect information,                            Antimicrobial Products
            which, in the Administrator’s judgment, is entitled to confidential                              <https://epa.gov/pesticide-

            treatment.                                                                                       registration/pesticide-registration-
                                                                                                             manual-chapter-4-additional-
            Conversely, FIFRA section 10(d)(1) <https://epa.gov/laws-regulations/summary-                    considerations>
            federal-insecticide-fungicide-and-rodenticide-act> also provides that safety and
                                                                                                          5. Registration Fees
            efficacy information must be made available to the public. The exceptions                        <https://epa.gov/pesticide-
            to this mandatory disclosure requirement are listed in FIFRA section 10(d)
                                                                                                             registration/pesticide-registration-
            (1)(A), (B), and (C) <https://epa.gov/laws-regulations/summary-federal-insecticide-              manual-chapter-5-registration-fees>
            fungicide-and-rodenticide-act>.
                                                                                                          6. Amending a Registered
            The procedures for asserting confidentiality claims for safety and efficacy                      Pesticide Product
            information are described in 40 CFR 158.33, 40 CFR 161.33, and PR Notice                         <https://epa.gov/pesticide-

            2011-3 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-        registration/pesticide-registration-

            under-fifra-and-certain-provisions>.                                                             manual-chapter-6-amending-
                                                                                                             registered-pesticide>

                                                                                                          7. Notifications and Minor
                                                                                                             Formulation Amendments
            Synopsis of FIFRA Section 10                                                                     <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
            Confidential Business Information
                                                                                                             manual-chapter-7-notifications-and-

            Section 10 of FIFRA <https://epa.gov/laws-regulations/summary-federal-insecticide-               minor-formulation>

            fungicide-and-rodenticide-act> specifies how and to what extent information                   8. Inert Ingredients
            submitted to the Agency under FIFRA may be afforded protection as                                <https://epa.gov/pesticide-
            confidential business information (CBI). FIFRA section 10(b) protects from                       registration/pesticide-registration-
            disclosure “trade secrets and commercial or financial information                                manual-chapter-8-inert-ingredients>
            obtained from a person and privileged or confidential.” Certain annual                        9. Supplemental Distribution of
            facility data are also granted confidentiality under section 7(d)                                a Registered Pesticide
            <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-         <https://epa.gov/pesticide-
            act>.                                                                                            registration/pesticide-registration-
                                                                                                             manual-chapter-9-supplemental-
            However, FIFRA section 10(d)(1) limits the types of data that may be
                                                                                                             distribution-registered>
            claimed confidential. Safety and efficacy data (such as studies submitted
            to the Agency) on registered or previously registered pesticides are not




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                      2/14
                                                                                                                                                    AR0000607
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      608
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




            considered CBI and must be made available to the public. However,                            10. Data Compensation
            certain information is excluded from the definition of safety and efficacy                       Requirements
            data, and may therefore be claimed as CBI. These include the following:                          <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-10-data-
                                                                                                             compensation-requirements>

                                                                                                         11. Tolerance Petitions
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-11-tolerance-
                                                                                                             petitions>

                                                                                                         12. Applying for an Experimental
                                                                                                             Use Permit
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-12-applying-
                                                                                                             experimental-use-permit>

                                                                                                         13. Devices <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-13-devices>

                                                                                                         14. How to Obtain an EPA
                                                                                                             Establishment Number
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-14-how-obtain-epa-
                                                                                                             company-or>

                                                                                                         15. Submitting Data and
                                                                                                             Confidential Business
                                                                                                             Information
                                                                                                         16. Transfer of Product
                                                                                                             Registrations and Data Rights
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-16-transfer-product-
                                                                                                             registrations-and>

                                                                                                         17. State Regulatory Authority
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-17-state-regulatory-
                                                                                                             authority>

                                                                                                         18. Other Federal or State Agency
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-18-other-federal-or-
                                                                                                             state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                      3/14
                                                                                                                                                    AR0000608
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      609
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




                                                                                                         19. How to Obtain Publications
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-19-how-obtain-
                                                                                                             publications>

                                                                                                         20. Forms and How to Obtain
                                                                                                             Them <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-20-forms-and-how-
                                                                                                             obtain-them>

                                                                                                         21. Directions for Submitting
                                                                                                             Applications and Contacting
                                                                                                             EPA <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-21-directions-
                                                                                                             submitting-applications>


                                                                                                         Appendices

                                                                                                             Appendix A: Guidance
                                                                                                             Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-guidance-
                                                                                                             documents>

                                                                                                             Appendix B: Examples of
                                                                                                             Registrant Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-b-examples-
                                                                                                             registrant-documents>

                                                                                                             Appendix C: Pesticide Forms
                                                                                                             Overview Table
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-c-pesticide-forms-
                                                                                                             overview-table>

                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                      4/14
                                                                                                                                                    AR0000609
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      610
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




                       information that discloses manufacturing or quality control processes (FIFRA 10(d)(1)
                       (A));
                       information that discloses methods for testing and measuring the quantity of
                       deliberately added inert ingredients (FIFRA 10(d)(1)(B)); and
                       information that discloses the identity or percentage quantity of deliberately added inert
                       ingredients (FIFRA 10(d)(1)(C)).




            On rare occasions it may be necessary to reveal, under the authority of section 10(b), to federal agencies in public
            hearings or in findings of fact issued by EPA, formulas of products, even if confidential, to carry out other provisions of
            FIFRA, e.g., in cancellation or suspension hearings.

            FIFRA section 10(e) permits EPA to give submitted confidential business information (CBI) to its contractors who are
            helping to do the work of the Agency. Such contractors are bound to protect this information to the same extent as EPA
            staff. The Agency will notify submitters of CBI whenever their data will be shared with a contractor. This is usually done
            by publishing a Notice in the Federal Register and always precedes giving the CBI to the contractor.

            FIFRA section 10(g) prohibits the disclosure of certain information submitted by an applicant or registrant to any
            representative of a multinational pesticide producer or to anybody who intends to deliver such information to a
            multinational pesticide producer. Those persons may see certain abstracted data, or may view unabstracted data
            without copying.

            FIFRA provides that, in certain circumstances, the EPA Administrator may disclose information that is otherwise
            protected. Such action is rare, and is described in FIFRA sections 10(b), 10(d)(3), 10(g), and 12(a)(2)(D).

            The preceding section provides a brief overview of certain points regarding CBI. For more detailed information on
            policies related to EPA’s handling of CBI, and allowances regarding CBI, refer to:



                       FIFRA sections 7, 10, and 12 <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>
                       40 CFR Part 2




            Procedures for Submitting Data
            When data are submitted to the Agency, they are reviewed to determine whether they meet the data-formatting
            requirements in 40 CFR 158.32-33, 40 CFR 161.32-33, and PR Notice 2011-3 <https://epa.gov/pesticide-registration/prn-2011-3-
            standard-format-data-submitted-under-fifra-and-certain-provisions>. The submitter will be notified of the results of this screening
            process.

            Each study that meets the formatting requirements will be assigned a Master Record Identification Number (MRID)
            number and entered into OPP’s data archive. These studies may then be retrieved at any time by referring to the MRID
            number. Refer to these MRID numbers instead of submitting additional copies of the studies to support additional
            applications for registration.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                    5/14
                                                                                                                                                  AR0000610
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      611
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




            Please refer to 40 CFR 158.32‑33, 40 CFR 161.32-33, and PR Notice 2011-3 <https://epa.gov/pesticide-registration/prn-2011-3-
            standard-format-data-submitted-under-fifra-and-certain-provisions> for a more detailed discussion on how to format data
            submissions.

            Data submitted for certain actions may be submitted electronically as discussed in the guidance on electronic
            submissio <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>n. Applicants are advised to follow this
            guidance closely and contact EPA before developing their electronic submission.



                      Contact OPP’s Information Services Branch in the Information Technology & Resources
                      Management Division <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-information-technology-and-
                      resources> for assistance and additional information on data-formatting procedures.




            Data Formatting
            The following paragraphs summarize the major data-formatting requirements.



                      Reminder: Each study should be submitted in triplicate. Data submitted for certain
                      actions may be submitted electronically as discussed in the guidance on electronic
                      submission <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>. Applicants are
                      advised to follow this guidance closely and contact EPA before developing their
                      electronic submission.
                      Note: EPA Forms 8570-36 (Summary of Physical/Chemical Properties) <https://epa.gov/pesticide-
                      registration/pesticide-registration-manual-blank-forms> and 8570-37 (Self-Certification Statement for
                      Physical/Chemical Properties) <https://epa.gov/pesticide-registration/pesticide-registration-manual-blank-forms>
                      should be placed in the study portion of an application package if they are applicable to
                      that action. Information on self certification of product chemistry data is available in PR
                      Notice 98-1 <https://epa.gov/pesticide-registration/prn-98-1-self-certification-product-chemistry-data-attachments>.




            Transmittal Document
            Each submission of data to the Agency must include a transmittal document. At a minimum, the transmittal document
            should include the name of the data submitter (or submitters, if more than one), the regulatory action the data are
            submitted in support of, and a listing of the data. The transmittal document can be a stand-alone document or may be
            incorporated into the cover letter for the action, at the submitter’s option but may not include any confidential business
            information. A representative example of a stand-alone transmittal document can be found in PR Notice 86-5
            <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-provisions>.




                      Ensure that all studies physically included in the submission are itemized.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                   6/14
                                                                                                                                                 AR0000611
8/14/23, 1:40 PM     Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                         - Submitting    04/24/24
                                                                                      Data              Page
                                                                                           and Confidential      612
                                                                                                            Business    of 739| US EPA
                                                                                                                     Information




            EPA will send submitters an annotated copy of the transmittal document, provided the studies are accepted, with the
            corresponding MRID numbers. Please refer to PR Notice 2011-3 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-
            data-submitted-under-fifra-and-certain-provisions> for a sample transmittal document.


            Studies Must be Bound Separately
            Each study should be separately bound on 8.5 x 11-inch paper, single-sided, with black and white printing. All bindings
            should be secure, but easily removable to permit imaging.

            Supplements to Previously Submitted Studies
            Whenever information is submitted to supplement a previously submitted study, whether in response to a request by
            EPA or on the data submitter’s own initiative, it must be prepared in the format required by 40 CFR 158.32-33, 40 CFR
            161.32-33, and by PR Notice 86-5 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-
            provisions>.


            Replacement Pages for Previously Submitted Studies
            EPA will not accept unbound, unformatted, individual replacement pages or inadvertently omitted pages sent in for
            inclusion in previously submitted studies. However, EPA will accept a complete replacement version of the study that
            meets all the requirements 40 CFR 158.32-33 and of 40 CFR 161.32-33, and by PR Notice 2011-3 <https://epa.gov/pesticide-
            registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-provisions>.




                      When submitting a complete replacement study, the title page of the replacement study
                      should clearly identify the previously submitted study it replaces and include that
                      study’s MRID number.




            The transmittal for the replacement study should fully explain both the relationship of the newly submitted study to the
            original study and the specific differences between the two versions. This will allow EPA reviewers to quickly discern
            whether or not the replacement study will significantly affect a review already under way or completed.

            Statement of Data Confidentiality Claims
            Each study submitted must include a Confidentiality Statement. The exact text of one of the two alternative forms of
            the statement (either the “Statement of No Data Confidentiality Claims” or “Statement of Data Confidentiality Claims”)
            must appear on page 2 of the study (Refer to 40 CFR 158.33, 40 CFR 161.33, and PR Notice 2011-3 <https://epa.gov/pesticide-
            registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-provisions>.


            When data are submitted, confidential data must be physically separated from the rest of the data (study) and placed in
            a confidential attachment at the back of the study report to enable the Agency to quickly identify the confidential data
            and to cross-reference it with the citations in the report.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                      7/14
                                                                                                                                                   AR0000612
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      613
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




            Confidential Business Information Claims for Plant-Incorporated Protectant
            Submissions
            Although it is strongly recommended that the submitter minimize the amount of data and other information claimed as
            Confidential Business Information (CBI), a submitter may assert a claim of confidentiality for all or part of the
            information submitted to EPA in a submission for a plant-incorporated protectant (40 CFR 174.9). To assert such a
            claim, the submitter must comply with all of the following procedures:



                      Any claim of confidentiality must accompany the information at the time the
                      information is submitted to EPA. Failure to assert a claim at that time constitutes a
                      waiver of confidentiality for the information submitted, and the information may be
                      made available to the public, subject to section 10(g) of FIFRA, with no further notice to
                      the submitter.


                      Any claim of confidentiality must be accompanied, at the time the claim is made, by
                      comments substantiating the claim and explaining why the submitter believes that the
                      information should not be disclosed. The submitter must address each of the points
                      listed in 40 CFR 2.204(e)(4) in the substantiation. EPA will consider incomplete all
                      plant-incorporated protectant submissions containing information claimed as CBI that
                      are not accompanied by substantiation, and will suspend any applicable review of such
                      submissions until the required substantiation is provided.




            Good Laboratory Practice Statement
            A statement of compliance or non-compliance with the Good Laboratory Practice Standards contained in 40 CFR Part
            160 is required for all studies as defined in 40 CFR 160.3 that support or are intended to support pesticide
            applications.



                      This statement should appear on page 3 of each study, and must be signed and dated by
                      the study sponsor, the study submitter, and the study director.


                      If the submitter neither conducted nor sponsored the study and therefore does not know
                      whether or not the study complies with 40 CFR Part 160, then a statement to that effect,
                      signed and dated by the submitter, is acceptable.




            Flagging Statement
            Flagging statements are required for certain types of subchronic and chronic toxicology data to alert EPA to potential
            adverse effects. Based on the results of the data, submitters must include one of two statements that indicate that the
            study either does or does not meet or exceed the triggers listed in 40 CFR 158.34 or 40 CFR 161.34.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                    8/14
                                                                                                                                 AR0000613
8/14/23, 1:40 PM     Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                         - Submitting    04/24/24
                                                                                      Data              Page
                                                                                           and Confidential      614
                                                                                                            Business    of 739| US EPA
                                                                                                                     Information




                       This statement, when required, should appear on page 4 of the study, and must be
                       signed and dated by an authorized representative of the submitting company.




            Adverse Effects Submitted Under FIFRA 6(a)(2)
            Whenever an applicant becomes aware of any potential unreasonable adverse effects data meeting the statutory
            requirements of FIFRA section 6(a)(2), such data must be submitted to the Agency. The exact procedures concerning
            when data must be submitted are outlined in the following pesticide registration notices:



                       98-3 <https://epa.gov/pesticide-registration/prn-98-3-guidance-final-fifra-6a2-regulations-pesticide-product-registrants>,
                       98-4 <https://epa.gov/pesticide-registration/prn-98-4-additional-guidance-final-fifra-section-6a2-regulations-pesticide>, and
                       2000-8 <https://epa.gov/pesticide-registration/prn-2000-8-reportability-attorneys-opinions-and-conclusions-under-40-cfr>, as
                       well as 40 CFR Part 159, Subpart D .




            These studies are subject to the same data-formatting requirements as all other data submissions. They must be sent in
            triplicate to the Document Processing Desk, using distribution code 6(a)(2). FIFRA 6(a)(2) incidents are submitted in
            single copy. More information is found on the Web page: Incident Reporting by Pesticide Manufacturers
            <https://epa.gov/pesticide-incidents/incident-reporting-pesticide-manufacturers-registrants>.




            Common Errors
            In an analysis conducted by the Office of Pesticide Programs in 2006, EPA identified common formatting errors of
            submitted data. These common errors included:



                       incorrectly formatted Confidential Business Information Statement,
                       missing or incomplete Good Laboratory Practice (GLP) Standards Compliance
                       Statement,
                       incorrect pagination,
                       legibility problems, and
                       unsigned documents.




            Important Notes: Following the instructions in PR Notice 86-5 is critical. Taking time to ensure that data submissions
            are in accordance with these formatting requirements will help avoid delays due to incorrectly formatted submissions
            and avoid rejection under FIFRA section 33(f)(4)(B) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act> (see Chapter 5 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-5-registration-fees>).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                         9/14
                                                                                                                                                       AR0000614
8/14/23, 1:40 PM     Case 3:24-cv-01106-CVR            Document
                               Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                         - Submitting    04/24/24
                                                                                      Data              Page
                                                                                           and Confidential      615
                                                                                                            Business    of 739| US EPA
                                                                                                                     Information




            Contacts for Additional Information
            If you have any questions concerning confidential business information as it may concern your application or how to
            format and submit supporting data, please contact the Information Technology & Resources Management Division,
            Information Services Branch <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-information-technology-and-resources>.
            Refer to Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications> of this
            manual for contact names, telephone numbers, and addresses.




            References Cited in Chapter 15
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the sources of these documents.

            Code of Federal Regulation, Title 40



                      Part 2 – Public Information
                      Part 158 - Data Requirements for Registration
                      Part 159 – Statements of Policies and Interpretations
                      Part 160 – Good Laboratory Practice Standards
                      Part 161 – Data Requirements for Registration of Antimicrobial Pesticides
                      Part 174 – Procedures and Requirements for Plant-Incorporated Protectants




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act <https://epa.gov/node/111505> of August 3, 1996




                      Section 7(d)
                      Section 10
                      Section 12




            PR Notices <https://epa.gov/pesticide-registration/pesticide-registration-notices-year>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                           10/14
                                                                                                                                                       AR0000615
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      616
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




                      PR Notice 2011-3 <https://epa.gov/pesticide-registration/prn-2011-3-standard-format-data-submitted-under-fifra-and-certain-
                      provisions> - Standard Format for Data Submitted Under the Federal Insecticide, Fungicide,

                      and Rodenticide Act (FIFRA) and Certain Provisions of the Federal Food, Drug, and
                      Cosmetic Act (FFDCA)
                      PR Notice 98-1 <https://epa.gov/pesticide-registration/prn-98-1-self-certification-product-chemistry-data-attachments> - Self-
                      Certification of Product Chemistry Data with Attachments
                      PR Notice 98-3 <https://epa.gov/pesticide-registration/prn-98-3-guidance-final-fifra-6a2-regulations-pesticide-product-registrants>
                      - Guidance on Final FIFRA 6(a)(2) Regulations for Pesticide Product Registrants
                      PR Notice 98-4 <https://epa.gov/pesticide-registration/prn-98-4-additional-guidance-final-fifra-section-6a2-regulations-pesticide>
                      - Additional Guidance on Final FIFRA Section 6(a)(2) Regulations for Pesticide Product
                      Registrants w/Attachment
                      PR Notice 2000-8 <https://epa.gov/pesticide-registration/prn-2000-8-reportability-attorneys-opinions-and-conclusions-under-40-
                      cfr> - Reportability of Attorneys’ Opinions and Conclusions Under 40 CFR Part 159 and

                      FIFRA section 6(a)(2)




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                                        11/14
                                                                                                                                                    AR0000616
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      617
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                    12/14
                                                                                                                                AR0000617
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      618
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                             13/14
                                                                                                                                            AR0000618
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR            Document
                              Pesticide Registration Manual: Chapter 1557-3    Filed
                                                                        - Submitting    04/24/24
                                                                                     Data              Page
                                                                                          and Confidential      619
                                                                                                           Business    of 739| US EPA
                                                                                                                    Information




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-15-submitting-data-and-confidential                    14/14
                                                                                                                                AR0000619
8/14/23, 1:40 PM     Case 3:24-cv-01106-CVR
                                 Pesticide Registration Document
                                                        Manual: Chapter57-3      Filed
                                                                        16 - Transfer     04/24/24
                                                                                      of Product         Page
                                                                                                 Registrations and620  of 739
                                                                                                                  Data Rights | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 16
            - Transfer of Product Registrations and
            Data Rights
            In this chapter:
                Introduction                                                                                       Registration Manual
                Transfer of Product Registrations                                                                   Table of Contents
                    Requirements for Approval of Registration Transfers
                    Transferor Submission of a Notarized Affirmation Statement                                    Pesticides Registration Manual

                    Timeframe for the Submittal of Data or Other Information                                      Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                    Requests for Time Extensions
                                                                                                                  manual>
                    Canceled Products and Unpaid Fees
                Transfer of Data and Data Rights                                                                  Introduction
                                                                                                                  <https://epa.gov/pesticide-
                Required Documentation for Processing Transfer of Data Rights
                                                                                                                  registration/pesticide-registration-
                Notarized Transferor Affirmation Statement for Transferring Data
                                                                                                                  manual-introduction>
                Rights
                Transfer of Company Ownership                                                                     How to Register a Pesticide
                Contacts for More Information                                                                     Product – A Guide for Applicants
                                                                                                                  New to the Process
                Transfer Deficiencies
                                                                                                                  <https://epa.gov/pesticide-
                Sample Transfer Documents
                                                                                                                  registration/how-register-pesticide-guide-
                References Cited in Chapter 16                                                                    applicants-new-process>


                                                                                                                    1. Requirements for Pesticide
                                                                                                                      Registration and Registrant
            Introduction                                                                                              Obligations
                                                                                                                      <https://epa.gov/pesticide-
            This chapter discusses specific information to be submitted to EPA for the
                                                                                                                      registration/pesticide-registration-
            transfer of product registration and/or data rights from one person or
                                                                                                                      manual-chapter-1-overview-
            company to another, as outlined in 40 CFR 152.135 (registration transfers)
                                                                                                                      requirements-pesticide>
            and 40 CFR 152.98 (data rights transfers).




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                             1/15
                                                                                                                                                             AR0000620
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and621  of 739
                                                                                                                 Data Rights | US EPA




            Applications for new products that are still pending registration (not                         2. Registering a Pesticide
            registered) may also be transferred, as well as Special Local Need                                Product <https://epa.gov/pesticide-
            registrations (SLNs), Experimental Use Permits (EUPs), and Tolerance                             registration/pesticide-registration-
            Petitions.                                                                                       manual-chapter-2-registering-
                                                                                                             pesticide-product>

                                                                                                           3. Additional Considerations for

            Transfer of Product                                                                              Biopesticide Products
                                                                                                             <https://epa.gov/pesticide-
            Registrations                                                                                    registration/pesticide-registration-
                                                                                                             manual-chapter-3-additional-
            Upon receipt and approval by EPA of the documents described in 40 CFR
                                                                                                             considerations>
            152.135(b), the registration is transferred to the new registrant. At that
                                                                                                           4. Additional Considerations for
            point, the new registrant is responsible for all actions concerning that
                                                                                                             Antimicrobial Products
            registration and is liable as the registrant under FIFRA and the regulations.
                                                                                                             <https://epa.gov/pesticide-
            The new registrant is then permitted to distribute and sell the registered
                                                                                                             registration/pesticide-registration-
            pesticide without having to apply for a new registration.
                                                                                                             manual-chapter-4-additional-
                                                                                                             considerations>
            Requirements for Approval of Registration
            Transfers                                                                                      5. Registration Fees
                                                                                                             <https://epa.gov/pesticide-
            Persons seeking approval of the transfer of a product registration are                           registration/pesticide-registration-
            required to submit a document (a Transfer Agreement) signed by the                               manual-chapter-5-registration-fees>
            authorized representative of the registrant of the product to be
                                                                                                           6. Amending a Registered
            transferred (the transferor) and by the person to whom the product
                                                                                                              Pesticide Product
            registration is to be transferred (the transferee), containing the following
                                                                                                             <https://epa.gov/pesticide-
            information (See 40 CFR 152.135(b)):
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-6-amending-
                                                                                                             registered-pesticide>

                                                                                                           7. Notifications and Minor
                                                                                                              Formulation Amendments
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-7-notifications-and-
                                                                                                             minor-formulation>

                                                                                                           8. Inert Ingredients
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-8-inert-ingredients>

                                                                                                           9. Supplemental Distribution of
                                                                                                             a Registered Pesticide
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-9-supplemental-
                                                                                                             distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                    2/15
                                                                                                                                                    AR0000621
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and622  of 739
                                                                                                                 Data Rights | US EPA




                                                                                                         10. Data Compensation
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-10-data-
                                                                                                             compensation-requirements>

                                                                                                         11. Tolerance Petitions
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-11-tolerance-
                                                                                                             petitions>

                                                                                                         12. Applying for an Experimental
                                                                                                             Use Permit
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-12-applying-
                                                                                                             experimental-use-permit>

                                                                                                         13. Devices <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-13-devices>

                                                                                                         14. How to Obtain an EPA
                                                                                                             Establishment Number
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-14-how-obtain-epa-
                                                                                                             company-or>

                                                                                                         15. Submitting Data and
                                                                                                             Confidential Business
                                                                                                             Information
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-15-submitting-data-
                                                                                                             and-confidential>

                                                                                                         16. Transfer of Product
                                                                                                             Registrations and Data
                                                                                                             Rights
                                                                                                         17. State Regulatory Authority
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-17-state-regulatory-
                                                                                                             authority>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                    3/15
                                                                                                                                                    AR0000622
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and623  of 739
                                                                                                                 Data Rights | US EPA




                                                                                                         18. Other Federal or State Agency
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-18-other-federal-or-
                                                                                                             state-agency>

                                                                                                         19. How to Obtain Publications
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-19-how-obtain-
                                                                                                             publications>

                                                                                                         20. Forms and How to Obtain
                                                                                                             Them <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-20-forms-and-how-
                                                                                                             obtain-them>

                                                                                                         21. Directions for Submitting
                                                                                                             Applications and Contacting
                                                                                                             EPA <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-21-directions-
                                                                                                             submitting-applications>


                                                                                                         Appendices

                                                                                                             Appendix A: Guidance
                                                                                                             Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-guidance-
                                                                                                             documents>

                                                                                                             Appendix B: Examples of
                                                                                                             Registrant Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-b-examples-
                                                                                                             registrant-documents>

                                                                                                             Appendix C: Pesticide Forms
                                                                                                             Overview Table
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-c-pesticide-forms-
                                                                                                             overview-table>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                    4/15
                                                                                                                                                    AR0000623
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and624  of 739
                                                                                                                 Data Rights | US EPA




                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




                      the name, address, phone number, EPA‑assigned company number <https://epa.gov/pesticide-
                      registration/pesticide-registration-manual-how-obtain-company-number-and-register>(4 pp, 118 K, PDF), and state of
                      incorporation (if any) of the transferor;
                      the name, address, phone number, EPA‑assigned company number, and state of
                      incorporation of the transferee (Note: If the transferee does not have an EPA‑assigned
                      company number, one should be requested before a transfer request is submitted);
                      the product name(s) and EPA registration number(s), or the EPA File Symbol for
                      pending products, of the products to be transferred;
                      a statement that the transferor transfers irrevocably to the transferee all right, title, and
                      interest in the EPA registration(s) listed by product name and EPA Registration Number
                      in the document;
                      a statement that the transferred registration(s) will not serve as collateral or otherwise
                      secure any loan or other payment arrangement or executory promise, and that the
                      registration(s) will not revert to the transferor unless a new transfer agreement is
                      submitted to and approved by the Agency;
                      a description of the general nature of the underlying transaction, e.g., sale, merger,
                      spin-off, or bankruptcy transfer (no financial information need be disclosed);
                      a statement that the transferor and transferee understand that any false statement may
                      be punishable under 18 U.S.C. 1001; and
                      an acknowledgment by the transferee that his rights and duties concerning the
                      registration under FIFRA and its implementing regulations will be deemed by EPA to be
                      the same as those of the transferor at the time the transfer is approved.




            Transferor Submission of a Notarized Affirmation Statement
            In addition to the Transfer Agreement, the transferor must submit to the Agency, as required by 40 CFR 152.135(c), a
            notarized statement affirming that:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                    5/15
                                                                                                                                                    AR0000624
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and625  of 739
                                                                                                                 Data Rights | US EPA




                      the person signing the transfer agreement is authorized by the registrant to bind the
                      transferor;
                      no court order prohibits the transfer, and that any required court approvals have been
                      obtained; and
                      the transfer is authorized under all relevant federal, state and local laws and all relevant
                      corporate charters, bylaws, partnerships, or other agreement.




            Important Note: For the protection of all parties, it is highly recommended that the notarized Affirmation Statement be
            signed by an authorized person or company official other than the one signing the transfer agreement.

            If the required documents are submitted, and no information available to the Agency indicates that the information is
            incorrect, the Agency will approve the transfer without requiring that the transferee obtain a new registration(s) and
            notify the transferor and the transferee of its approval.

            The transfer will be effective on the date of Agency approval. Thereafter, the transferee will be regarded as the registrant
            for all purposes under FIFRA. The Agency cannot “postdate” or “backdate” a transfer, therefore the time it takes the
            Agency to process the transfer needs to be considered.

            Important Note: When product registrations are transferred from one registrant to another, all restrictions, data
            requirements, conditions of registration, including timeframes for the submittal of data or other information,
            suspensions or any other requirements existing on the registration are transferred with the registration. The new
            registrant (transferee) is responsible for adhering to or complying with all such restrictions, data requirements,
            conditions of registration, timeframes, suspensions, or any other requirements that have been imposed on the
            acquired product registration.

            Rights to exclusive use of data or compensation under FIFRA section 3(c)(1)(D) are separate from the registration itself
            and may be retained by the transferor, or may be transferred independently in accordance with the provisions of 40 CFR
            152.98. If the registrant as the original data submitter wishes to transfer data rights at the same time as the registration
            is transferred, a single transfer document containing the information required by this section for both the registration
            and the data may be submitted.

            Timeframe for the Submittal of Data or Other Information
            The new registrant is responsible for the submittal of all required data according to the schedules already established
            by the Agency as a result of a Data Call‑In under FIFRA section 3(c)(2)(B), or a condition of the registration under FIFRA
            section 3(c)(7), for the acquired product registrations. Failure to comply with these timeframes may result in the
            issuance of a Notice of Intent to Suspend the registration of the affected product under FIFRA section 3(c)(2)(B), or a
            Notice of Intent to Cancel the registration of the affected product under FIFRA section 6(e) <https://epa.gov/laws-
            regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>.


            Requests for Time Extensions
            Requests for the extension of time to submit required data or other information from the new registrant, merely
            because it acquired the registration after the FIFRA section 3(c)(2)(B) <https://epa.gov/laws-regulations/summary-federal-insecticide-
            fungicide-and-rodenticide-act> data call‑in was issued, or after the conditions of registration under FIFRA section 3(c)(7) were
            imposed, will not be granted. If new registrants have other valid reasons for delays in the testing that were clearly




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                               6/15
                                                                                                                                             AR0000625
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and626  of 739
                                                                                                                 Data Rights | US EPA




            outside of their control, then such a request for time extensions will be considered based on established procedures. If
            a registrant expects delays, and believes a time extension is necessary, the Agency should be informed as soon as
            possible and well before the due date.

            Transfers that occur while a FIFRA section 3(c)(2)(B) data call‑in is being issued or during the 90-day response time to
            the data call‑in are subject to the same conditions expressed above.

            Canceled Products and Unpaid Fees
            The owner of a registration is responsible for payment of any new or previously unpaid fees for product maintenance
            and regulatory actions, including new applications, reregistrations, amendments, or tolerances.

            Important Note: Neither registrations nor data can be transferred while fees, including maintenance fees, are listed as
            unpaid. Also, canceled or withdrawn products cannot be transferred.




            Transfer of Data and Data Rights
            The transfer of data and data rights is described in 40 CFR 152.98.

            Transfer of data protection rights (including rights to exclusive use of data and/or data compensation) under FIFRA
            section 3(c)(1)(F) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>) is separate from the
            product registration itself and does not automatically transfer to the new registrant. These data and the respective
            ownership rights may be retained by the transferor or may be transferred independently in accordance with 40 CFR
            152.98. If a registrant, as the original data submitter, wishes to transfer data rights at the same time as it transfers the
            registration, it may submit a single transfer document containing the information required by both 40 CFR 152.98 and
            40 CFR 152.135.




            Required Documentation for Processing Transfer of
            Data Rights
            A person who possesses rights to exclusive use or compensation under FIFRA 3(c)(1)(F) <https://epa.gov/laws-
            regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> may transfer such rights to another person by submitting a
            transfer document to EPA that contains the following information (See 40 CFR 152.98(a))




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                    7/15
                                                                                                                                                    AR0000626
8/14/23, 1:40 PM     Case 3:24-cv-01106-CVR
                                 Pesticide Registration Document
                                                        Manual: Chapter57-3      Filed
                                                                        16 - Transfer     04/24/24
                                                                                      of Product         Page
                                                                                                 Registrations and627  of 739
                                                                                                                  Data Rights | US EPA




                      The name, address, and state of incorporation (if any) of the original data submitter
                      (the transferor).
                      The name, address, and state of incorporation (if any) of the person to whom the data
                      rights are being transferred (the transferee). (Note: Inclusion of phone number and e-
                      mail address of both the transferor and transferee is highly recommended).
                      Identification of each item of data being transferred including:
                            the name of the study or item of data;
                            whether the study is an exclusive use study, and, if so, when the period of exclusive
                            use protection expires;
                            the name of the party or laboratory that conducted the study;
                            the date the study was submitted to the Agency;
                            the EPA document number assigned to the item of data (the Master Record
                            Identification Number [MRID] or Accession Number), if known, if not known, the
                            EPA administrative number (such as the EPA Registration Number, petition number,
                            file symbol, or permit number) with which the item of data was submitted, such that
                            the Agency can identify the item of data;
                            a statement that the transferor transfers irrevocably to the transferee all rights,
                            titles and interest in the items of data named;
                            a statement that the transferor and transferee understand that any false statement
                            may be punishable under 18 U.S.C. 1001; and
                            the names, signatures, and titles of the transferor and transferee, and the date
                            signed.




            Note Regarding Exclusive Use: Exclusive use of data does not generally extend beyond 10 years from the date of
            registration of the pesticide. For more information see FIFRA section 3(c)(1)(F) <https://epa.gov/laws-regulations/summary-
            federal-insecticide-fungicide-and-rodenticide-act> and Chapter 10 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-
            10-data-compensation-requirements>.


            Note: A transfer of data will not automatically be reflected on the Data Submitters List. If you wish for additions or
            changes to the Data Submitters List, please submit a separate request to:



                Document Processing Desk (DSL)
                Office of Pesticide Programs (7504P)
                U. S. Environmental Protection Agency
                Ariel Rios Building
                1200 Pennsylvania Avenue, N.W.
                Washington, DC 20460-0001




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                         8/15
                                                                                                                                                        AR0000627
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and628  of 739
                                                                                                                 Data Rights | US EPA




            Notarized Transferor Affirmation Statement for
            Transferring Data Rights
            In addition to the Transfer Agreement, the transferor must submit to the Agency, as required by 40 CFR 152.98(b), a
            notarized statement affirming that:



                       the person signing this transfer agreement is authorized by the original data submitter
                       to bind the data submitter;
                       no court order prohibits the transfer and any required court approvals have been
                       obtained; and
                       this transfer is authorized under federal, state and local laws and relevant corporate
                       charters, bylaws or partnership agreements.




            Important Note: There are subtle differences in the language of the Affirmation Statement requirements outlined in 40
            CFR 152.135 and 40 CFR 152.98. For transfers that include both registrations and data, one notarized Affirmation
            Statement may be submitted as long as it contains all of the information required by both subsections.

            The Agency will acknowledge the transfer of the data by notifying both transferor and transferee, and will state the
            effective date of the transfer. Thereafter, the transferee will be considered to be the original data submitter of the items
            of data transferred for all purposes under FIFRA section 3(c)(1)(F) <https://epa.gov/laws-regulations/summary-federal-insecticide-
            fungicide-and-rodenticide-act> unless a new transfer agreement is submitted to the Agency


            Important Note: It is the transferee’s responsibility to ensure that copies of all data, and any underlying raw data, are
            received from the transferor. The Agency does not provide such copies of data to the new registrant. The Agency
            requires registrants to maintain copies of all studies and the relevant raw data for the life of the registration (see 40 CFR
            Part 169     ).

            Important Note: Registration and/or Data transfers can only be executed between existing EPA company numbers (i.e.
            from EPA one company number to another EPA company number). If the transferee does not have an EPA-issued
            company number then, one must be requested before the transfer process can begin. To request for an EPA company
            number please see: Pesticide Registration Manual: How to Obtain a Company Number and Register an Official Address
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-how-obtain-company-number-and-register#howto>. Note: if a company
            number is being transferred then, a new company number is not needed (see section "Transfer of Company
            Ownership").




            Transfer of Company Ownership
            The transfer of a company ownership, including all registrations and data must also follow the requirements for
            transferring registrations outlined in both 40 CFR 152.135 and 40 CFR 152.98. In the section of the Transfer Agreement
            that refers to registrations substitute “Company Ownership.”

            Company Number (Ownership) Transfers: If the transferring parties wish to transfer an existing EPA company number
            (Company Transfer) the following must be true:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                  9/15
                                                                                                                                                  AR0000628
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and629  of 739
                                                                                                                 Data Rights | US EPA




                      The transferor is (or will be effective on the date of transfer) no longer engaged in
                      production, sale, or distribution of pesticides and is transferring all pesticide products
                      and data to the transferee;
                      The transferee will, in effect, assume the transferor’s EPA company number; or
                      The transferred EPA company number will become a separate division or D/B/A of the
                      transferee’s existing EPA company number.




            Example: Joe’s Pesticide Company (EPA company # 1234) decides to get out of the agricultural pesticide business and
            sell all of its agricultural pesticide registrations and data to Lou’s Pesticide Company (EPA company # 5678). Since Lou’s
            Pesticide Company already has EPA company # 5678, the parties may transfer EPA company number 1234 to Lou’s
            Pesticide Company/Agricultural Division. From that point, EPA company number 1234* will be known by the name
            Lou’s Pesticide Company/Agricultural Division (EPA company # 1234).

            Another Example: The new company number could also be named Lou’s Pesticide Company, D/B/A/ Joe’s Agricultural
            Pesticides. These are just two examples.

            Important Note: The owner of a company number must keep the Agency informed of its current name, address, and
            contact or authorized agent (40 CFR 152.122 ) as described in the Agency’s guidance on company numbers
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-how-report-changes-company-name-or-address>.




            Submitting Transfer Requests and Contacts for More
            Information
            To submit your transfer request or if you require additional information concerning the transfer of product registrations
            or data rights, please send all requests and inquiries to companyownershipchanges@epa.gov. ATTN: Louis Vaughn




            Transfer Deficiencies
            If a transfer submission is found deficient, a Notice of Transfer Deficiency will be issued by EPA, requesting additional
            information or corrections. It is the Agency’s policy that if the requested information is not received within 60 days of
            the date of the Notice of Transfer Deficiency, the transfer will be considered to be inactive and abandoned by the
            transferor and no further action will be taken on the request.




            Sample Transfer Documents
            There is no required form for the Transfer Agreement or for the Transferor Affirmation Statement. However, as a
            convenience, a sample file is available:    Registration and Data Transfer Agreement (rtf)
            <https://epa.gov/sites/default/files/2020-07/registration_and_data_transfer_sample_agreement-2020.rtf> (294.01 KB, July 16, 2020) .
            Company Transfer Agreement (rtf) <https://epa.gov/sites/default/files/2020-07/company_transfer_agreement_sample-2020.rtf> (151.06 KB,
            July 16, 2020)




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                              10/15
                                                                                                                                             AR0000629
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and630  of 739
                                                                                                                 Data Rights | US EPA




            References Cited in Chapter 16
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications>for
            information on the source of these documents.

            Code of Federal Regulation, Title 40



                      Part 152 - Pesticide registration and classification procedures




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act <https://epa.gov/node/111505/> of August 3, 1996




                      Section 3 - Registration of pesticides
                      Section 6 - Administrative review; suspension




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                              11/15
                                                                                                                                               AR0000630
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and631  of 739
                                                                                                                 Data Rights | US EPA




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                                  12/15
                                                                                                                                                 AR0000631
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and632  of 739
                                                                                                                 Data Rights | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                  13/15
                                                                                                                                  AR0000632
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and633  of 739
                                                                                                                 Data Rights | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                           14/15
                                                                                                                                            AR0000633
8/14/23, 1:40 PM    Case 3:24-cv-01106-CVR
                                Pesticide Registration Document
                                                       Manual: Chapter57-3      Filed
                                                                       16 - Transfer     04/24/24
                                                                                     of Product         Page
                                                                                                Registrations and634  of 739
                                                                                                                 Data Rights | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-16-transfer-product-registrations-and                  15/15
                                                                                                                                  AR0000634
8/14/23, 1:41 PM     Case 3:24-cv-01106-CVR       Document
                                       Pesticide Registration    57-3
                                                              Manual:     Filed
                                                                      Chapter      04/24/24
                                                                              17 - State RegulatoryPage
                                                                                                   Authority635   of 739
                                                                                                             | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 17
            - State Regulatory Authority
            In this chapter:
                State Regulatory Authority                                                                         Registration Manual
                State Issuance of Experimental Use Permit (EUP)                                                     Table of Contents
                State Registration of Special Local Needs
                    24(c) Registration Regulations                                                                Pesticides Registration Manual
                    Conditions for a Section 24(c) Registration                                                   Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                    EPA's Responsibilities with the Section 24(c) Registration Program
                                                                                                                  manual>
                Emergency Exemptions under FIFRA Section 18
                                                                                                                  Introduction
                    Types of Emergency Exemptions that May Be Authorized
                                                                                                                  <https://epa.gov/pesticide-
                    Tolerances for Pesticide Chemical Residues in Food or Feed Owing
                                                                                                                  registration/pesticide-registration-
                    to an Emergency Exemption
                                                                                                                  manual-introduction>
                References Cited in Chapter 17
                                                                                                                  How to Register a Pesticide
                                                                                                                  Product – A Guide for Applicants
                                                                                                                  New to the Process
            State Regulatory Authority                                                                            <https://epa.gov/pesticide-
                                                                                                                  registration/how-register-pesticide-guide-
            FIFRA authorizes states to issue Experimental Use Permits (EUPs)
                                                                                                                  applicants-new-process>
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-12-applying-
            experimental-use-permit>, Special Local Needs (SLNs) <https://epa.gov/pesticide-
                                                                                                                    1. Requirements for Pesticide
            registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency>
                                                                                                                       Registration and Registrant
            registrations, and to apply for Emergency Exemptions under specific                                        Obligations
            conditions. This chapter provides detailed information relevant to state                                  <https://epa.gov/pesticide-
            actions under FIFRA. State contact information can be found at the                                        registration/pesticide-registration-
                                                                                                                      manual-chapter-1-overview-
                                                                                                                      requirements-pesticide>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                                     1/16
                                                                                                                                                             AR0000635
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority636   of 739
                                                                                                            | US EPA




                                                                                                           2. Registering a Pesticide
                                                                                                              Product <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-2-registering-
                                                                                                                 pesticide-product>

                                                                                                           3. Additional Considerations for
                                                                                                                 Biopesticide Products
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-3-additional-
                                                                                                                 considerations>

                                                                                                           4. Additional Considerations for
                                                                                                                 Antimicrobial Products
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-4-additional-
                                                                                                                 considerations>

                                                                                                           5. Registration Fees
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-5-registration-fees>

                                                                                                           6. Amending a Registered
                                                                                                              Pesticide Product
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-6-amending-
                                                                                                                 registered-pesticide>

                                                                                                           7. Notifications and Minor
                                                                                                              Formulation Amendments
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-7-notifications-and-
                                                                                                                 minor-formulation>

                                                                                                           8. Inert Ingredients
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-8-inert-ingredients>

                                                                                                           9. Supplemental Distribution of
                                                                                                                 a Registered Pesticide
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-9-supplemental-
                                                                                                                 distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                                2/16
                                                                                                                                                        AR0000636
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority637   of 739
                                                                                                            | US EPA




                                                                                                          10. Data Compensation
                                                                                                              Requirements
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-10-data-
                                                                                                                 compensation-requirements>

                                                                                                          11. Tolerance Petitions
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-11-tolerance-
                                                                                                                 petitions>

                                                                                                          12. Applying for an Experimental
                                                                                                                 Use Permit
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-12-applying-
                                                                                                                 experimental-use-permit>

                                                                                                          13. Devices <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-13-devices>

                                                                                                          14. How to Obtain an EPA
                                                                                                                 Establishment Number
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-14-how-obtain-epa-
                                                                                                                 company-or>

                                                                                                          15. Submitting Data and
                                                                                                                 Confidential Business
                                                                                                                 Information
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-15-submitting-data-
                                                                                                                 and-confidential>

                                                                                                          16. Transfer of Product
                                                                                                                 Registrations and Data Rights
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-16-transfer-product-
                                                                                                                 registrations-and>

                                                                                                          17. State Regulatory Authority
                                                                                                          18. Other Federal or State Agency
                                                                                                              Requirements
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-18-other-federal-or-
                                                                                                                 state-agency>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                                3/16
                                                                                                                                                        AR0000637
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority638   of 739
                                                                                                            | US EPA




                                                                                                          19. How to Obtain Publications
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-19-how-obtain-
                                                                                                                 publications>

                                                                                                          20. Forms and How to Obtain
                                                                                                                 Them <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-20-forms-and-how-
                                                                                                                 obtain-them>

                                                                                                          21. Directions for Submitting
                                                                                                              Applications and Contacting
                                                                                                                 EPA <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-chapter-21-directions-
                                                                                                                 submitting-applications>


                                                                                                          Appendices

                                                                                                                 Appendix A: Guidance
                                                                                                                 Documents
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-appendix-guidance-
                                                                                                                 documents>

                                                                                                                 Appendix B: Examples of
                                                                                                                 Registrant Documents
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-appendix-b-examples-
                                                                                                                 registrant-documents>

                                                                                                                 Appendix C: Pesticide Forms
                                                                                                                 Overview Table
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-appendix-c-pesticide-forms-
                                                                                                                 overview-table>

                                                                                                                 Appendix D: Examples of
                                                                                                                 Completed Forms
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                                                                                                                 manual-appendix-d-examples-
                                                                                                                 completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                                4/16
                                                                                                                                                        AR0000638
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority639   of 739
                                                                                                            | US EPA




                      Association of American Pesticide Control Officials                           <https://aapco.org/>,

                      National Association of State Departments of Agriculture                               <https://www.nasda.org/>,   and
                      EPA Regional Office contact information <https://epa.gov/aboutepa/#regional>.




            In general, authorized states can issue experimental use permits only for the purpose of gathering data necessary to
            support the state registration of a pesticide to meet special local needs under FIFRA section 24(c) <https://epa.gov/laws-
            regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> and for the purpose of experimentation.


            Important Note: Most states require state registration in addition to federal registration. This chapter covers state
            actions under the federal registration regulatory framework but does not cover state registrations. Registrants should
            contact the appropriate state for information on obtaining a state registration.




            State Issuance of Experimental Use Permit (EUP)
            FIFRA section 5 <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> authorizes any state to
            issue an Experimental Use Permit in accordance with an EPA-approved state plan (40 CFR Part 172 provides detailed
            information on state experimental use permits).

            Contact for More Information: For additional information concerning state EUPs, you should contact the pesticide
            regulatory authority in the state in which you wish to obtain a state EUP.




            State Registration of Special Local Needs
            FIFRA section 24(c) <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-rodenticide-act> authorizes state lead
            agencies to register additional uses of federally registered pesticides (also called Special Local Needs (SLN)
            registrations or SLNs). The SLN permits distribution and use only in the registering state. The SLN is otherwise deemed
            a federal registration for all other purposes under FIFRA. All SLNs must be submitted to EPA for review subsequent to
            registration by the state.

            See:

                40 CFR Part 162, Regulations Pertaining to State Registration of Pesticides to Meet Special Local Needs
                <https://www.govinfo.gov/content/pkg/cfr-2014-title40-vol24/xml/cfr-2014-title40-vol24-part162.xml>; and

                Guidance on FIFRA 24(c) Registrations <https://epa.gov/pesticide-registration/guidance-fifra-24c-registrations>.

            24(c) Registration Regulations
            In general, section 24(c) registration regulations specify:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                         5/16
                                                                                                                                                 AR0000639
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority640   of 739
                                                                                                            | US EPA




                      types of registrations a state may grant under 40 CFR Part 162
                      <https://www.govinfo.gov/content/pkg/cfr-2014-title40-vol24/xml/cfr-2014-title40-vol24-part162.xml> (FIFRA section 24(c));

                      circumstances under which a special local needs registration may be granted by a state;
                      and
                      circumstances under which the EPA Administrator may disapprove or invalidate a
                      special local needs registration.




            Important Notes:



                      A state may not register an amendment to a federally registered manufacturing-use
                      product (40 CFR 162.152(b)(1)(iv)).
                      A state may only grant 24(c) registrations for voluntarily canceled uses of products after
                      consulting with appropriate EPA personnel (40 CFR 162.152(b)(1)(iii)).
                      A state may not register a new manufacturing-use product (40 CFR 162.152(b)(2)(iv)).




            Conditions for a Section 24(c) Registration
            Under FIFRA section 24(c) and its implementing regulations at 40 CFR Part 162, states are authorized to register new
            end use products or additional uses of federally registered pesticides if the following conditions exist:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                     6/16
                                                                                                                                             AR0000640
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority641   of 739
                                                                                                            | US EPA




                      There is a special local need for that product use.
                      The use, if a food or feed use, is covered by an appropriate tolerance or has been
                      exempted from the requirement of a tolerance.
                      The registration for the same use has not previously been denied, disapproved,
                      suspended, or canceled by EPA, or voluntarily canceled by the registrant subsequent to
                      EPA’s issuance of a notice of intent to cancel because of health or environmental
                      concerns about an ingredient contained in the product, unless EPA has reversed the
                      original action.
                      The registration is in accord with the purposes of FIFRA.
                      If the proposed use or product falls into one of the following categories, the state must
                      first determine that it will not cause unreasonable adverse effects on man or the
                      environment:


                           its composition is not similar to any federally registered product;
                           its use pattern is not similar to any federally registered use of the same product or a
                           product of similar composition; and
                           other uses of the same product, or uses of a product of similar composition, have
                           had their registration denied, disapproved, suspended, or canceled by the
                           Administrator.




            Under the special local needs registration regulations, a state may register a new end-use product (not previously
            federally registered) meeting one of the following conditions (as well as the basic requirements for all special local
            needs registrations) (40 CFR 162.152(b)(2)(A) and (B)):



                      a product that is identical in composition to a federally registered product but has
                      differences in packaging, or in the identity of the formulator; or
                      a product that contains the same active and inert ingredients as a federally registered
                      product, but in different percentages.




            In addition, 40 CFR 162.152(b)(2)(ii) sets forth the criteria for a state to register a new end-use product that contains a
            new combination of active, or active and inert, ingredients. A state may register such a product:



                      only if each of the active ingredients in the new product is present because of the use of
                      one or more federally registered products and if each of the inert ingredients in the new
                      product is contained in a federally registered product




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                             7/16
                                                                                                                                     AR0000641
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority642   of 739
                                                                                                            | US EPA




            A state can issue a 24(c) registration for any use of a new end-use product containing an ingredient described in 40 CFR
            162.152(a)(3) (i.e., registration for the same use has not previously been denied, disapproved, suspended, or canceled
            by the Agency, or voluntarily canceled subsequent to the issuance of a notice of intent to cancel that registration, unless
            the action is superseded by subsequent action of the Agency). A state may register any use of a federally registered
            product for which registration of other uses was denied, disapproved, suspended, or canceled if the new product is for
            a formulation or a use not included in the denial, disapproval, suspension, or cancellation, or if the federally registered
            use was voluntarily canceled without a prior notice of intent to cancel. However, a formulation or use not considered by
            the Agency during the aforementioned proceedings, or which was not the subject to a notice of intent to cancel, may be
            registered by a state only after the state consults with the appropriate Agency personnel regarding the application.

            State Registration Procedures

            Pesticide companies generally make requests for Special Local Need registrations to the specific state.

            States require all applicants for registration to submit the following information:



                      Name and address of the applicant and any other person whose name will appear on the
                      labeling or in the directions for use.
                      The name of the pesticide product, and if the application is for an amendment to a
                      federally registered product, the EPA registration number of that product.
                      A copy of proposed labeling, including all claims made for the product as well as
                      directions for its use to meet the special local need, consisting of:


                           for a new product, a copy of the complete proposed labeling; or
                           for an additional use of a federally registered product, a copy of proposed
                           supplemental labeling and a copy of the labeling for the federally registered product.


                      The complete formula of the product, if the application is for a new product registration.
                      Any other information that is required to be reviewed prior to registration under this
                      section.
                      Electronic reporting under state registration of pesticide products for special local
                      needs. States that choose to receive electronic documents under the regulations
                      pertaining to state registration of pesticides to meet special local needs must ensure
                      that the requirements of 40 CFR Part 3      (Cross-Media Electronic Reporting) are
                      satisfied by their state procedures for such registrations.




            The state then reviews the application according to 40 CFR 162.153(b) – (g). Within 10 working days from the date the
            state issues, amends, or revokes a registration, the state notifies EPA, in writing, of the action.

            EPA's Responsibilities with the Section 24(c) Registration Program
            EPA’s role is to ensure that each FIFRA section 24(c) registration meets the requirements of FIFRA, because these
            registrations become federal registrations unless the Agency disapproves them. EPA reviews the individual section 24(c)
            registrations and broadly oversees the states section 24(c) registration programs.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                            8/16
                                                                                                                                    AR0000642
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority643   of 739
                                                                                                            | US EPA




            With section 24(c) registrations, states have the initial obligation to ensure that the SLNs they issue meet the
            requirements of FIFRA. Given the statutory time period for EPA review under section 24(c), EPA’s review of SLN was not
            intended to be – and is not – the equivalent of its review of new registration actions under section 3. For example, EPA
            will generally not request data for amendments to federal products or new products that are substantially similar to
            currently registered products in composition and use.

            For products registered under section 24(c) that are not substantially similar to a registered product, EPA generally will
            ask for only a brief summary of the data, the state’s conclusions, and a certification that the product will not cause
            unreasonable adverse effects as defined in FIFRA for registration of pesticides (40 CFR 162.153). Refer to



                      Guidance on FIFRA 24(c) Registrations, dated February 9, 1996 <https://epa.gov/pesticide-
                      registration/guidance-fifra-24c-registrations>.




            Quality Control and Conflict Resolution

            EPA will also conduct general oversight by periodically reviewing all records of section 24(c) registrations to ensure that
            states and EPA have properly followed procedures and policies. If EPA finds problems, it will discuss and resolve them
            with the appropriate state(s).

            EPA will make every effort to work out problems with states, but EPA retains the authority under 40 CFR 162.155 to
            suspend a state’s authority to issue section 24(c) registrations, if necessary.

            Grounds for Disapproving a State Registration

            General Disapprovals

            40 CFR 162.154(a) sets forth the process and requirements for disapproving a state registration that involves products
            with composition or use patterns that are not similar to a currently registered product. Reasons for disapproving these
            types of special local need registrations include, but are not limited to:



                      probable creation of unreasonable adverse effects on man or the environment by the
                      registered use;
                      refusal of the registering state to submit information supporting the registration, i.e.,
                      application form (within 10 working days), labeling for the section 24(c) registration,
                      Confidential Statement of Formula (new product only), final printed label (within 60
                      days), state revocation notice with date of revocation and reason(s) for revocation, and
                      scientific studies supporting a no unreasonable adverse effects finding by the state
                      (within 15 working days);
                      failure of the information submitted by the state to support the decision to issue the
                      section 24(c) registration under the standards set forth in 40 CFR 162.153.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                             9/16
                                                                                                                                     AR0000643
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority644   of 739
                                                                                                            | US EPA




            Special Disapprovals

            Under 40 CFR 162.154(b), EPA may disapprove any special local needs registration at any time (even beyond the 90-day
            period) if it is determined that the registration:



                      would constitute an imminent hazard; or
                      may result in a residue on food or feed exceeding, or not covered by, a tolerance,
                      exemption, or other clearance under the FFDCA.




            Once the special local needs use is registered under FIFRA, it is subject to any additional data requirements that may be
            required by EPA either as the result of a Reregistration Eligibility Decision Document, registration review
            <https://epa.gov/node/35867>, or other FIFRA section 3(c)(2)(B) data call‑in. FIFRA section 24(c)(1).

            Contacts for More Information

            Additional information concerning applications for a state special local need registration should be addressed to the
            state in which you wish to make an application for a SLN registration. A listing of the various state pesticide agencies
            can be found in Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-
            applications> of this manual.




            Emergency Exemptions under FIFRA Section 18
            FIFRA section 18 authorizes the Administrator to exempt state and federal agencies from any provision of FIFRA when
            emergency conditions exist that require an exemption. 40 CFR Part 166 sets forth the four types of emergency
            exemptions that may be authorized:



                   1. specific,
                   2. quarantine,
                   3. public health, and
                   4. crisis.




            Notably, the section 18 exemption process can be relied upon as a time-limited authorization from EPA to use a
            pesticide for a use that is not registered if a determination is made that emergency conditions exist and that use of the
            pesticide will not cause unreasonable harm to human health or the environment.

            Regulations in 40 CFR Part 166 establish procedures by which the Administrator may exempt a federal or state
            agency from the registration requirements of FIFRA.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                        10/16
                                                                                                                                                 AR0000644
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority645   of 739
                                                                                                            | US EPA




            Types of Emergency Exemptions that May Be Authorized
            Specific Exemption (40 CFR 166.2(a) and 40 CFR Part 166, Subpart B)

            A specific exemption may be authorized in an emergency condition to avert a significant economic loss or a significant
            risk to endangered species, threatened species, beneficial organisms, or the environment. EPA shall allow the use of a
            pesticide under a specific exemption for as long a period as is reasonably expected to be necessary, up to one year.

            Quarantine Exemption (40 CFR 166.2(b) and 40 CFR 166, Subpart B)

            A quarantine exemption may be authorized in an emergency condition to control the introduction or spread of any pest
            new to or not previously known to be widely prevalent or distributed within and throughout the United States and its
            territories. EPA shall allow use of a pesticide under a quarantine exemption for as long a period as is deemed necessary
            but in no case for longer than three years.

            Public Health Exemption (40 CFR 166.2(c) and 40 CFR Part 166, Subpart B)

            A public health exemption may be authorized in an emergency condition to control a pest that will cause a significant
            risk to human health. EPA shall allow the use of a pesticide under a public health exemption for as long a period as is
            reasonably expected to be necessary but in no case for longer than one year.

            Note: Specific, quarantine, and public health exemptions may be renewed. Interim reports containing the information
            specified in 40 CFR 166.32(b)       to the extent available shall be filed annually.

            Crisis Exemption (40 CFR 166.2(d) and 40 CFR Part 166, Subpart C)

            A crisis exemption may be utilized in an emergency situation when the time from discovery of the emergency to the
            time when the pesticide use is needed is insufficient to allow for the authorization of a specific, quarantine, or public
            health exemption. A state or federal agency may issue a crisis exemption. The state or federal agency must notify EPA in
            advance of issuing a crisis exemption. EPA will review the proposed use to determine whether the crisis authority
            should not be exercised or the crisis exemption should be revoked.

            Important Note: The crisis exemption may not be used to authorize a pesticide use if any of the following have
            occurred:



                      EPA has informed the head of the federal or state agency, the Governor, or his/her
                      official designee, not to issue such an exemption;
                      the pesticide use has been suspended under section 6(c) of FIFRA;
                      the pesticide use has been canceled following a notice issued under section 6(b) of
                      FIFRA;
                      the pesticide contains a new chemical; or
                      the application proposes the first food use of a pesticide.




            Duration of a Crisis Exemption (40 CFR 166.45)

            A crisis exemption may be authorized for:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                           11/16
                                                                                                                                    AR0000645
8/14/23, 1:41 PM     Case 3:24-cv-01106-CVR       Document
                                       Pesticide Registration    57-3
                                                              Manual:     Filed
                                                                      Chapter      04/24/24
                                                                              17 - State RegulatoryPage
                                                                                                   Authority646   of 739
                                                                                                             | US EPA




                      only as long as is necessary to control the pest or conditions causing the emergency; and
                      no longer than 15 days, unless an application requesting a specific, quarantine, or public
                      health exemption for this use has been submitted to the Agency.




            Tolerances for Pesticide Chemical Residues in Food or Feed Owing to an
            Emergency Exemption
            Section 408(l)(6) of the Federal Food, Drug, and Cosmetic Act (FFDCA) <https://epa.gov/laws-regulations/summary-federal-food-
            drug-and-cosmetic-act> requires the establishment of time-limited tolerances or exemptions from tolerance requirements
            for residues of those pesticides exempted from regulation under FIFRA section 18.

            The tolerances or exemptions must be consistent with the FFDCA safety standard, namely that there is a reasonable
            certainty that no harm will result from aggregate exposure to the pesticide chemical residue, including all anticipated
            dietary exposures and all other exposures for which there is reliable information.

            More information on safety findings and information required for tolerance setting can be found in Chapter 11
            <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-11-tolerance-petitions>, Tolerance Petitions




            References Cited in Chapter 17
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            Code of Federal Regulation, Title 40



                      Part 162 - State registration of pesticide products
                      Part 166 - Exemption of federal and state agencies for use of pesticides under
                      emergency conditions
                      Part 172 - Experimental use permits




            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act <https://epa.gov/node/111505> of August 3, 1996




                      Section 3 - Registration of pesticides
                      Section 5 - Experimental use permits
                      Section 6 - Administrative review, suspension
                      Section 18 - Exemption of federal and state agencies
                      Section 24 - Authority of States




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                       12/16
                                                                                                                                                AR0000646
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority647   of 739
                                                                                                            | US EPA




            Standard Operating Procedure 4001.7: 24(c) Review Process <https://epa.gov/pesticide-registration/guidance-fifra-24c-registrations>,
            Office of Pesticide Programs, EPA, February 9, 1996



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                          13/16
                                                                                                                                                 AR0000647
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority648   of 739
                                                                                                            | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                 14/16
                                                                                                                          AR0000648
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority649   of 739
                                                                                                            | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                                   15/16
                                                                                                                                            AR0000649
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:     Filed
                                                                     Chapter      04/24/24
                                                                             17 - State RegulatoryPage
                                                                                                  Authority650   of 739
                                                                                                            | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-17-state-regulatory-authority                 16/16
                                                                                                                          AR0000650
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    651 of 739
                                                                                                           Requirements | US EPA




               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



            Pesticide                                       CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 18
            - Other Federal or State Agency
            Requirements
            In this chapter:
                Introduction                                                                                      Registration Manual
                State Regulation of Federally Registered Pesticides                                                Table of Contents
                Toxic Substances Control Act (TSCA)
                    Premanufacturing Notices for New Chemicals                                                   Pesticides Registration Manual

                    Inert Ingredients Must Be on TSCA Inventory                                                  Home Page <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                    Nonindigenous and Genetically Engineered Microbial Products
                                                                                                                 manual>
                    Including Killed Microbials
                Uses of Pesticides Regulated by the Food and Drug Administration                                 Introduction
                (FDA)                                                                                            <https://epa.gov/pesticide-
                                                                                                                 registration/pesticide-registration-
                    Antimicrobial Pesticides Regulated by FDA and EPA
                                                                                                                 manual-introduction>
                    Antimicrobial Uses Regulated Solely by the FDA
                    Antimicrobial Uses Subject to Dual Jurisdiction                                              How to Register a Pesticide
                    Antimicrobial Pesticides Used on Medical Devices                                             Product – A Guide for Applicants
                                                                                                                 New to the Process
                    Human Drugs
                                                                                                                 <https://epa.gov/pesticide-
                    Animal Drugs
                                                                                                                 registration/how-register-pesticide-guide-
                Use of Pesticides Regulated by the Federal Aviation Administration                               applicants-new-process>
                (FAA)
                Use of Pesticides Regulated by the Department of Transportation                                    1. Requirements for Pesticide
                (DOT)                                                                                                Registration and Registrant
                                                                                                                     Obligations
                    Shipping (Transportation) of Pesticides
                                                                                                                     <https://epa.gov/pesticide-
                U.S. Department of Agriculture (USDA)                                                                registration/pesticide-registration-
                    National Organics Program                                                                        manual-chapter-1-overview-

                Occupational Safety and Health Administration (OSHA) Requirements                                    requirements-pesticide>

                References Cited in Chapter 18




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                                 1/15
                                                                                                                                                            AR0000651
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    652 of 739
                                                                                                           Requirements | US EPA




            Introduction                                                                                  2. Registering a Pesticide
                                                                                                             Product <https://epa.gov/pesticide-
            Sometimes even after obtaining a federal registration, a pesticide                               registration/pesticide-registration-

            registrant may need to meet other federal, state, or local requirements.                         manual-chapter-2-registering-

            The following listing is only intended to provide general information on                         pesticide-product>

            some of these requirements and/or to provide a point of contact. It should                    3. Additional Considerations for
            be noted that the listing is not all inclusive. It remains the applicant’s and                   Biopesticide Products
            the registrant’s responsibility to comply with all federal, state, or local                      <https://epa.gov/pesticide-
            regulations.                                                                                     registration/pesticide-registration-
                                                                                                             manual-chapter-3-additional-
                                                                                                             considerations>


            State Regulation of Federally                                                                 4. Additional Considerations for
                                                                                                             Antimicrobial Products
            Registered Pesticides                                                                            <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
            FIFRA section 24(a) <https://epa.gov/laws-regulations/summary-federal-insecticide-
                                                                                                             manual-chapter-4-additional-
            fungicide-and-rodenticide-act> provides that “A state may regulate the sale or
                                                                                                             considerations>
            use of any federally registered pesticide or device in the state, but only if
                                                                                                          5. Registration Fees
            and to the extent that the regulation does not permit any sale or use
                                                                                                             <https://epa.gov/pesticide-
            prohibited by this Act.”
                                                                                                             registration/pesticide-registration-
            Even though a federal registration may have been obtained for a given                            manual-chapter-5-registration-fees>
            pesticide product allowing the distribution and sale of the product within                    6. Amending a Registered
            the United States, a state may have additional requirements that must be                         Pesticide Product
            met before the pesticide product can be distributed or sold within that                          <https://epa.gov/pesticide-
            state. The requirements vary from state to state, and may include:                               registration/pesticide-registration-
                                                                                                             manual-chapter-6-amending-
                                                                                                             registered-pesticide>

                                                                                                          7. Notifications and Minor
                                                                                                             Formulation Amendments
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-7-notifications-and-
                                                                                                             minor-formulation>

                                                                                                          8. Inert Ingredients
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-8-inert-ingredients>

                                                                                                          9. Supplemental Distribution of
                                                                                                             a Registered Pesticide
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-9-supplemental-
                                                                                                             distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                         2/15
                                                                                                                                                    AR0000652
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    653 of 739
                                                                                                           Requirements | US EPA




                                                                                                         10. Data Compensation
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-10-data-
                                                                                                             compensation-requirements>

                                                                                                         11. Tolerance Petitions
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-11-tolerance-
                                                                                                             petitions>

                                                                                                         12. Applying for an Experimental
                                                                                                             Use Permit
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-12-applying-
                                                                                                             experimental-use-permit>

                                                                                                         13. Devices <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-13-devices>

                                                                                                         14. How to Obtain an EPA
                                                                                                             Establishment Number
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-14-how-obtain-epa-
                                                                                                             company-or>

                                                                                                         15. Submitting Data and
                                                                                                             Confidential Business
                                                                                                             Information
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-15-submitting-data-
                                                                                                             and-confidential>

                                                                                                         16. Transfer of Product
                                                                                                             Registrations and Data Rights
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-16-transfer-product-
                                                                                                             registrations-and>

                                                                                                         17. State Regulatory Authority
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-17-state-regulatory-
                                                                                                             authority>

                                                                                                         18. Other Federal or State
                                                                                                             Agency Requirements



https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                         3/15
                                                                                                                                                    AR0000653
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    654 of 739
                                                                                                           Requirements | US EPA




                                                                                                         19. How to Obtain Publications
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-19-how-obtain-
                                                                                                             publications>

                                                                                                         20. Forms and How to Obtain
                                                                                                             Them <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-20-forms-and-how-
                                                                                                             obtain-them>

                                                                                                         21. Directions for Submitting
                                                                                                             Applications and Contacting
                                                                                                             EPA <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-21-directions-
                                                                                                             submitting-applications>


                                                                                                        Appendices

                                                                                                             Appendix A: Guidance
                                                                                                             Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-guidance-
                                                                                                             documents>

                                                                                                             Appendix B: Examples of
                                                                                                             Registrant Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-b-examples-
                                                                                                             registrant-documents>

                                                                                                             Appendix C: Pesticide Forms
                                                                                                             Overview Table
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-c-pesticide-forms-
                                                                                                             overview-table>

                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                         4/15
                                                                                                                                                    AR0000654
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    655 of 739
                                                                                                           Requirements | US EPA




                      additional data requirements,
                      additional restrictions on pesticide use within its jurisdiction, and
                      licensing requirements.




            The applicant should contact each state in which the product is to be marketed to determine what additional
            requirements may affect the sale, distribution, or use of that product.

            Guidance on FIFRA Section 24(c) registrations. <https://epa.gov/pesticide-registration/guidance-fifra-24c-registrations>




            Toxic Substances Control Act (TSCA)
            The Environmental Protection Agency's (EPA's) New Chemicals Program <https://epa.gov/reviewing-new-chemicals-under-toxic-
            substances-control-act-tsca>, located in the Office of Pollution Prevention and Toxics, was established to help manage the
            potential risk from chemicals new to the marketplace. It is mandated by section 5 of the Toxic Substances Control Act
            (TSCA) <https://www.govinfo.gov/app/collection/uscode/>. TSCA, enacted by Congress in 1976, gives EPA broad authority to
            identify and control substances that may pose a threat to human health or the environment.

            Premanufacturing Notices for New Chemicals
            The New Chemicals Program functions as a "gatekeeper" that can identify conditions up to and including a ban on
            production to be placed on the use of a new chemical before it is entered into commerce. Anyone who plans to
            manufacture or import a new chemical substance for a non-exempt commercial purpose is required by section 5 of
            TSCA to provide EPA with notice before initiating the activity. This premanufacturing notice, or PMN, must be submitted
            at least 90 days before the manufacture or import of the chemical.

            Inert Ingredients Must Be on TSCA Inventory
            All applicants for new inert ingredients need to confirm that their chemical is on the TSCA inventory (either
            “grandfathered in” or reviewed in the PMN program). If it is not, they need to go through the PMN process to get the
            inert on the inventory as an initial step toward its approval as an inert ingredient. Refer to the TSCA New Chemicals
            Program <https://epa.gov/reviewing-new-chemicals-under-toxic-substances-control-act-tsca> for further information.

            Nonindigenous and Genetically Engineered Microbial Products Including
            Killed Microbials
            Products of recombinant DNA technology are also regulated by EPA under TSCA by the Office of Pollution Prevention
            and Toxics (OPPT) during stages of production before the products become pesticides (such as during fermentation). A
            Premanufacturing Notice (PMN) may be required for these products. PMNs are not required while the product is under
            research and development (such as under an EUP), and are also not required for nonindigenous or trans conjugant
            organisms. For information on TSCA requirements related to microbial pesticide production contact:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                            5/15
                                                                                                                                       AR0000655
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    656 of 739
                                                                                                           Requirements | US EPA




                U.S. Environmental Protection Agency
                Office of Pollution Prevention and Toxics
                Chemical Control Division (7405)
                New Chemicals Notice Management Branch
                1200 Pennsylvania Ave, N.W.
                Washington, DC 20460
                Telephone: Toxics Assistance Information System (202) 554-1404
                OPPT New Chemicals Web site <https://epa.gov/reviewing-new-chemicals-under-toxic-substances-control-act-tsca>




            Uses of Pesticides Regulated by the Food and Drug
            Administration (FDA)
            The Food and Drug Administration (FDA) and EPA have several areas of mutual regulatory responsibility, which may
            require review by one or both agencies. The following is a brief summary of these areas and the Antimicrobial Web
            pages <https://epa.gov/pesticide-registration/antimicrobial-policy-and-guidance-documents> should be consulted periodically for any
            recent agreements between FDA and EPA on emerging technologies and issues.

            Antimicrobial Pesticides Regulated by FDA and EPA
            Antimicrobial agents are subject to regulation by FDA and EPA, either singly or jointly, depending upon the use. The
            most complex area involves the use of antimicrobials in or on food. The descriptions provided below address both food
            and nonfood uses regulated by FDA; antimicrobial food uses subject to dual jurisdiction, regulated by both FDA and
            EPA; and antimicrobial food uses regulated by EPA.

            Antimicrobial Uses Regulated Solely by the FDA
            The following are uses of antimicrobials that are regulated exclusively by FDA. No section 3 registration under FIFRA is
            required.



                      Use of an antimicrobial in/on processed food.
                      Application of an antimicrobial to process water in a food processing facility where the
                      water is only a vehicle for transporting the antimicrobial chemical to the processed food.
                      Use of an antimicrobial in/on living man or animal.
                      Use of an antimicrobial in/on cosmetics.
                      Use of an antimicrobial in/on beverages.
                      Use of an antimicrobial in/on drugs.
                      Use of an antimicrobial in/on animal feed.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                   6/15
                                                                                                                                              AR0000656
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    657 of 739
                                                                                                           Requirements | US EPA




            Antimicrobial Uses Subject to Dual Jurisdiction
            The following are antimicrobial food uses that are subject to dual jurisdiction. FDA regulates residues that may occur on
            processed food through the indirect food additives process, which is described in 21 CFR Parts 175 - 178 . These uses
            are also considered pesticide uses subject to registration under FIFRA. However, a food additive clearance must be
            obtained from FDA before EPA will approve the application. Inquiries to FDA should be directed to the address listed at
            the end of this section.



                      Treatment of raw agricultural commodities in a food processing facility.
                      Application of an antimicrobial to process water in a food processing facility to control a
                      pest in the water (e.g., pulp and paperboard use, use in cane-sugar and beet-sugar
                      mills).
                      Production of food packaging.
                      Production of food contact articles other than food packaging; no intended effect on the
                      surface of the article.




            Antimicrobial Food Uses Regulated Solely by EPA

            The following are antimicrobial food uses regulated exclusively by EPA:



                      Use of an antimicrobial for pre- and/or post-harvest field use on crops.
                      Use of antimicrobials by consumers on raw agricultural commodities (e.g., home
                      gardens, home produce washes).
                      Application of an antimicrobial to process water for post-harvest use (field washing) of
                      raw agricultural commodities.
                      Application of an antimicrobial to animal drinking water.
                      Treatment of permanent or semi-permanent food contact surfaces (sanitizers).
                      Use of an antimicrobial in the production of food contact articles, other than food
                      packaging, where the antimicrobial is intended to have an ongoing effect on the article’s
                      food contact surface or in food that may contact the article.




            Contact Information for FDA

            Inquiries and questions concerning establishment of indirect food additive regulations and FDA jurisdiction should be
            sent to the following address:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                       7/15
                                                                                                                                 AR0000657
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    658 of 739
                                                                                                           Requirements | US EPA




                Center for Food Safety and Applied Nutrition
                Food and Drug Administration
                5100 Paint Branch Parkway
                College Park, MD 20740
                FDA Web site            <http://www.fda.gov/aboutfda/centersoffices/officeoffoods/cfsan/default.htm>




            Antimicrobial Pesticides Used on Medical Devices
            An antimicrobial agent used on medical devices is considered by FDA to be an accessory to a medical device.
            Accordingly, FDA requires pre-market notification under section 510(k) of the FFDCA <https://epa.gov/laws-
            regulations/summary-federal-food-drug-and-cosmetic-act> for marketing of such agents. FDA reviews the safety and efficacy of
            these antimicrobial products. Approval by both FDA and EPA must be obtained before these products may be sold or
            distributed. Section 510(k) petitions may be submitted to:



                Food and Drug Administration
                Center for Devices and Radiological Health (CDRH)
                Division of Gastroenterology‑Urology and General Use Devices
                Office of Device Evaluation
                (HFZ‑332) 8757 Georgia Avenue
                Silver Spring, MD 20910
                CDRH Web site             <http://www.fda.gov/aboutfda/centersoffices/officeofmedicalproductsandtobacco/cdrh/default.htm>




            Human Drugs
            FDA and EPA have areas of mutual responsibility with respect to applications for drugs under FFDCA <https://epa.gov/laws-
            regulations/summary-federal-food-drug-and-cosmetic-act> and for registration of pesticides under FIFRA <https://epa.gov/laws-
            regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>. In 1971, FDA and EPA issued a “Memorandum of Agreement”
            stating which agency has primary or secondary responsibility on specific matters (Federal Register Notice, 36 FR 24234).
            This agreement was updated in 1973 (38 FR 24233), in 1979 (44 FR 63749), in 1993 referring to pediculicides (58 FR
            65452), and in 1994 (PR Notice 94-6 <https://epa.gov/pesticide-registration/prn-94-6-pesticide-products-registered-use-humans-control-lice-
            pediculicides>). Briefly, EPA has primary jurisdiction for disinfectants and sanitizers.


            FDA has primary jurisdiction for new human drugs, and products that are intended to:



                      control parasites on humans,
                      relieve the effect of insect bites,
                      prevent diaper rash through treatment of diapers,
                      treat athletes foot, and
                      treat drinking water to control animal parasites or diseases.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                         8/15
                                                                                                                                                    AR0000658
8/14/23, 1:41 PM     Case 3:24-cv-01106-CVR            Document
                                  Pesticide Registration             57-3
                                                         Manual: Chapter       Filed
                                                                         18 - Other    04/24/24
                                                                                    Federal            Page
                                                                                            or State Agency    659 of 739
                                                                                                            Requirements | US EPA




            Questions on these areas of jurisdiction may be referred to EPA's Antimicrobials Division for disinfectant and sanitizer
            treatments, and Registration Division, Insecticide Branch, for human or animal drug/pesticide treatments. Please refer
            to Chapter 21 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications> of this
            manual.

            Animal Drugs
            The EPA and FDA are currently in discussion to determine what categories of products are regulated as pesticides and
            what categories of products are regulated as animal drugs. Applicants should contact either FDA or EPA for additional
            information.




            Use of Pesticides Regulated by the Federal Aviation
            Administration (FAA)
            Antimicrobial Fuel Additives

            Any pesticide product intended for use in aviation fuel must have the approval of the Federal Aviation Administration
            (FAA) for use in aircraft engines. Persons who wish to obtain FAA approval must submit their request to:



                U.S. Department of Transportation
                Federal Aviation Administration
                FAA Flight Standards Service
                Engineering and Manufacturing Division
                Washington, DC 20591
                Telephone number: (202) 366-4000
                FAA Flight Standards Service Web site                         <http://www.faa.gov/about/office_org/headquarters_offices/avs/offices/afs/>




            Use of Pesticides Regulated by the Department of
            Transportation (DOT)
            Shipping (Transportation) of Pesticides

            The U.S. Department of Transportation (DOT) and EPA have several areas of mutual regulatory responsibility, which
            may require review by one or both agencies.

            The Hazardous Material Transportation Uniform Safety Act, as amended in 1990, requires that pesticides being shipped
            are properly packaged, marked, and labeled. If the pesticide to be shipped is considered a hazardous material, it will
            need to bear the proper DOT Hazard Warning Labels prominently on the product labeling. Also, depending upon the
            size of the shipment, trucks may need to be placarded.

            If you wish to transport pesticides that may present physical or chemical hazards, you must obtain shipping papers
            from DOT before such shipment.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                              9/15
                                                                                                                                                         AR0000659
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    660 of 739
                                                                                                           Requirements | US EPA




            For additional information on the transportation of pesticides, and how to obtain shipping papers, contact:



                Department of Transportation
                Office of Hazardous Material Standards (Rm. 8100)
                400 7th St., S.W.
                Washington, DC 20590‑0001
                Phone: (202) 366‑4488
                HAZMAT Web site              <https://www.phmsa.dot.gov/about-phmsa/offices/office-hazardous-materials-safety>




            U.S. Department of Agriculture (USDA)
            Any organism (including plants) may be considered a potential plant pest. Such organisms may be regulated under
            either the Plant Pest Act and/or the Plant Quarantine Act. Such organisms may require a permit for import and/or
            introduction testing, and use. For information on USDA permit requirements contact:



                U.S. Department of Agriculture
                Plant Protection and Quarantine Service
                Unit 133
                4700 River Road
                Riverdale, MD 20737
                Telephone: (301) 734-8896
                USDA Plant Web site              <https://www.aphis.usda.gov/aphis/ourfocus/planthealth>




            National Organics Program
            The National Organic Program (NOP) <https://www.ams.usda.gov/about-ams/programs-offices/national-organic-program> develops,
            implements, and administers national production, handling, and labeling standards for organic agricultural products.
            The NOP also accredits the certifying agents (foreign and domestic) who inspect organic production and handling
            operations to certify that they meet USDA standards. Pesticide Registration Notice 2003-1 <https://epa.gov/pesticide-
            registration/prn-2003-1-labeling-pesticide-products-under-national-organic-program> describes how registrants can obtain EPA approval
            of label language indicating that all ingredients (active and inert) in a pesticide product and all uses of that pesticide
            meet the criteria defined in the USDA NOP Rule.




            Occupational Safety and Health Administration
            (OSHA) Requirements
            As employers, pesticide manufacturers and registrants may be subject to requirements designed to promote worker
            safety and health under the laws administered by OSHA.



https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                   10/15
                                                                                                                                             AR0000660
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    661 of 739
                                                                                                           Requirements | US EPA




            OSHA under 29 CFR 1910 has established health standards (such as permissible exposure limits for certain hazardous
            chemicals) and safety standards (such as providing personal protective equipment). These standards may be
            applicable to workplaces where pesticides are manufactured, handled or stored, if these hazards are present. In
            addition, generally the Hazard Communication Standard (HCS) (29 CFR 1910.1200 requires labeling, material safety
            data sheets, and training for workers who may be exposed to hazardous chemicals. One exception is that pesticides
            bearing an EPA-approved FIFRA label are not subject to the OSHA label requirements, though the HCS data sheet and
            training requirements may still apply.

            More information on OSHA requirements is available on OSHA's web site                     <https://www.osha.gov/>.




            References Cited in Chapter 18
            Refer to Chapter 19 <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications> for
            information on the source of these documents.

            Federal Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-regulations/summary-federal-insecticide-fungicide-and-
            rodenticide-act>, as amended by the Food Quality Protection Act <https://epa.gov/node/111505> of August 3, 1996




                      Section 3 - Registration of pesticides
                      Section 24 - Authority of States




            Toxic Substances Control Act <https://epa.gov/laws-regulations/summary-toxic-substances-control-act>



                      Section 5 - New Chemicals Program




            Federal Food, Drug and Cosmetic Act <https://epa.gov/laws-regulations/summary-federal-food-drug-and-cosmetic-act>



                      Section 510(k)




            Federal Register Notices



                      36 FR 24234
                      38 FR 24233
                      44 FR 63749
                      58 FR 65452




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                    11/15
                                                                                                                                                AR0000661
8/14/23, 1:41 PM     Case 3:24-cv-01106-CVR            Document
                                  Pesticide Registration             57-3
                                                         Manual: Chapter       Filed
                                                                         18 - Other    04/24/24
                                                                                    Federal            Page
                                                                                            or State Agency    662 of 739
                                                                                                            Requirements | US EPA




            PR Notice 94-6 <https://epa.gov/pesticide-registration/prn-94-6-pesticide-products-registered-use-humans-control-lice-pediculicides> -
            Pesticide Products Registered for Use on Humans to Control Lice (Pediculicides)



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                         12/15
                                                                                                                                                     AR0000662
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    663 of 739
                                                                                                           Requirements | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                   13/15
                                                                                                                               AR0000663
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    664 of 739
                                                                                                           Requirements | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                                14/15
                                                                                                                                            AR0000664
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR            Document
                                 Pesticide Registration             57-3
                                                        Manual: Chapter       Filed
                                                                        18 - Other    04/24/24
                                                                                   Federal            Page
                                                                                           or State Agency    665 of 739
                                                                                                           Requirements | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-18-other-federal-or-state-agency                   15/15
                                                                                                                               AR0000665
8/14/23, 1:41 PM     Case 3:24-cv-01106-CVR       Document
                                       Pesticide Registration    57-3
                                                              Manual:      Filed
                                                                      Chapter       04/24/24
                                                                              19 - How            Page 666
                                                                                       to Obtain Publications | US of
                                                                                                                   EPA739




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 19
            - How to Obtain Publications
            In this chapter:
                Documents Available from EPA                                                                       Registration Manual
                     Pesticide Registration Notices
                                                                                                                    Table of Contents
                Federal Register Notices
                Documents Available from the Government Printing Office                                           Pesticides Registration Manual
                Documents Available from NTIS                                                                     Home Page <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                                                                                                                  manual>


            Documents Available from EPA                                                                          Introduction
                                                                                                                  <https://epa.gov/pesticide-
            The Agency has made most of its recent publications and documents                                     registration/pesticide-registration-
            available on the Internet. Documents including the registration forms                                 manual-introduction>
            <https://epa.gov/pesticide-registration/completing-and-submitting-pesticide-registration-
                                                                                                                  How to Register a Pesticide
            forms>, Reregistration Eligibility Documents, and laws such as Federal
                                                                                                                  Product – A Guide for Applicants
            Insecticide, Fungicide, and Rodenticide Act <https://epa.gov/laws-
                                                                                                                  New to the Process
            regulations/summary-federal-insecticide-fungicide-and-rodenticide-act>, and the
                                                                                                                  <https://epa.gov/pesticide-
            Federal Food, Drug, and Cosmetic Act (FFDCA <https://epa.gov/laws-
                                                                                                                  registration/how-register-pesticide-guide-
            regulations/summary-federal-food-drug-and-cosmetic-act>), etc. are available on the
                                                                                                                  applicants-new-process>
            EPA Web site.
                                                                                                                    1. Requirements for Pesticide
            Copies are available from the following address:
                                                                                                                       Registration and Registrant
                                                                                                                       Obligations
                                                                                                                      <https://epa.gov/pesticide-
                                                                                                                      registration/pesticide-registration-
                                                                                                                      manual-chapter-1-overview-
                                                                                                                      requirements-pesticide>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                                        1/10
                                                                                                                                                             AR0000666
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 667
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




                                                                                                         2. Registering a Pesticide
                                                                                                            Product <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-2-registering-
                                                                                                              pesticide-product>

                                                                                                         3. Additional Considerations for
                                                                                                              Biopesticide Products
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-3-additional-
                                                                                                              considerations>

                                                                                                         4. Additional Considerations for
                                                                                                              Antimicrobial Products
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-4-additional-
                                                                                                              considerations>

                                                                                                         5. Registration Fees
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-5-registration-fees>

                                                                                                         6. Amending a Registered
                                                                                                            Pesticide Product
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-6-amending-
                                                                                                              registered-pesticide>

                                                                                                         7. Notifications and Minor
                                                                                                            Formulation Amendments
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-7-notifications-and-
                                                                                                              minor-formulation>

                                                                                                         8. Inert Ingredients
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-8-inert-ingredients>

                                                                                                         9. Supplemental Distribution of
                                                                                                              a Registered Pesticide
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-9-supplemental-
                                                                                                              distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                                2/10
                                                                                                                                                     AR0000667
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 668
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




                                                                                                        10. Data Compensation
                                                                                                            Requirements
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-10-data-
                                                                                                              compensation-requirements>

                                                                                                        11. Tolerance Petitions
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-11-tolerance-
                                                                                                              petitions>

                                                                                                        12. Applying for an Experimental
                                                                                                              Use Permit
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-12-applying-
                                                                                                              experimental-use-permit>

                                                                                                        13. Devices <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-13-devices>

                                                                                                        14. How to Obtain an EPA
                                                                                                              Establishment Number
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-14-how-obtain-epa-
                                                                                                              company-or>

                                                                                                        15. Submitting Data and
                                                                                                              Confidential Business
                                                                                                              Information
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-15-submitting-data-
                                                                                                              and-confidential>

                                                                                                        16. Transfer of Product
                                                                                                              Registrations and Data Rights
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-16-transfer-product-
                                                                                                              registrations-and>

                                                                                                        17. State Regulatory Authority
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-17-state-regulatory-
                                                                                                              authority>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                                3/10
                                                                                                                                                     AR0000668
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 669
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




                                                                                                        18. Other Federal or State Agency
                                                                                                            Requirements
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-18-other-federal-or-
                                                                                                              state-agency>

                                                                                                        19. How to Obtain Publications
                                                                                                        20. Forms and How to Obtain
                                                                                                              Them <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-20-forms-and-how-
                                                                                                              obtain-them>

                                                                                                        21. Directions for Submitting
                                                                                                            Applications and Contacting
                                                                                                              EPA <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-chapter-21-directions-
                                                                                                              submitting-applications>


                                                                                                        Appendices

                                                                                                              Appendix A: Guidance
                                                                                                              Documents
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-guidance-
                                                                                                              documents>

                                                                                                              Appendix B: Examples of
                                                                                                              Registrant Documents
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-b-examples-
                                                                                                              registrant-documents>

                                                                                                              Appendix C: Pesticide Forms
                                                                                                              Overview Table
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-c-pesticide-forms-
                                                                                                              overview-table>

                                                                                                              Appendix D: Examples of
                                                                                                              Completed Forms
                                                                                                              <https://epa.gov/pesticide-
                                                                                                              registration/pesticide-registration-
                                                                                                              manual-appendix-d-examples-
                                                                                                              completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                                4/10
                                                                                                                                                     AR0000669
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 670
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




                U.S. Environmental Protection Agency
                Office of Pesticide Programs
                Registration Division
                Registration Support Branch (7505P)
                1200 Pennsylvania Avenue, N.W.
                Washington, DC 20460
                Telephone: (703) 305‑6549



            Other publications from the Office of Pesticide Programs may be obtained from EPA’s National Service Center for
            Environmental Publications by contacting 1-800-490-9198 or faxing 301-604-3408.

            Pesticide Registration Notices
            Pesticide Registration Notices (PR Notices) are mailed to registrants of record when issued. Recent and current PR
            Notices can also be accessed directly on the Pesticide Registration Notices <https://epa.gov/pesticide-registration/pesticide-
            registration-notices-year> website. Other or back copies are available from the National Technical Information Service as
            described below.




            Federal Register Notices
            The Federal Register is available for examination at government depository libraries and many other libraries. A
            complete listing of Government Depository Libraries is available without charge from The Library, U.S. Government
            Printing Office, 5236 Eisenhower Avenue, Alexandria, VA 22304.

                View the list of depository libraries     <https://www.fdlp.gov/>.

                View all Federal Register documents published from 1994 forward             <https://www.govinfo.gov/app/collection/fr/>.




            Documents Available from the Government Printing
            Office
            The Code of Federal Regulations is a codification of the general and permanent rules published in the Federal Register
            by the Executive departments and agencies of the Federal Government. Title 40, Protection of the Environment (40
            CFR), comprises 32 volumes, and regulation of pesticides is specifically covered by:



                     40 CFR Part 2           ‑ Public Information (contained in Volume 1, 40 CFR Parts 1 to 49); and
                     40 CFR Parts 150 to 189              - Chapter I, Subchapter E—Pesticide Programs (contained in
                     Volume 23, 40 CFR Parts 150 to 189)




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                        5/10
                                                                                                                                             AR0000670
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 671
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




            These documents are available for purchase from the Superintendent of Documents, U.S. Government Printing Office
            (GPO), Washington DC 20402. They can also be accessed directly on the GPO Web site.

            The Code of Federal Regulations is also available for examination at government depository libraries and many other
            libraries.

            View a listing of libraries where the Code of Federal Regulations is available         <https://www.fdlp.gov/>.


            A complete listing of Government Depository Libraries is available without charge from:



                The Library
                U.S. Government Printing Office
                5236 Eisenhower Avenue
                Alexandria, VA 22304




            Documents Available from NTIS
            Documents can be purchased from National Technical Information Service (NTIS), using the NTIS search engine
            <https://www.ntis.gov/> to identify the document by title or topic if its NTIS product code is not known. The documents that
            can be ordered from NTIS include such items as:



                     Pesticide Registration Notices (copies not available on the Web)
                     Label Review Manual
                     Reregistration Eligibility Documents
                     Antimicrobial Pesticide Reregistration Eligibility Documents
                     Pesticide Fact Sheets
                     Special Review Documents
                     OPPTS Harmonized Test Guidelines
                     Standard Evaluation Procedures
                     Pesticide Assessment Guidelines
                     Registration Standards Report
                     Publications prior to the EPA Web site




            The address for the National Technical Information Service (NTIS) is:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                6/10
                                                                                                                                    AR0000671
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 672
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




                National Technical Information Service                          <https://www.ntis.gov/>

                U.S. Department of Commerce
                5285 Port Royal Road
                Springfield, VA 22161
                Telephone: 1-800-553-6847
                (https://www.ntis.gov/)




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                             7/10
                                                                                                                                                 AR0000672
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 673
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                      8/10
                                                                                                                           AR0000673
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 674
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                                       9/10
                                                                                                                                            AR0000674
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR       Document
                                      Pesticide Registration    57-3
                                                             Manual:      Filed
                                                                     Chapter       04/24/24
                                                                             19 - How            Page 675
                                                                                      to Obtain Publications | US of
                                                                                                                  EPA739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-19-how-obtain-publications                     10/10
                                                                                                                           AR0000675
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 676| US
                                                                                                               ofEPA
                                                                                                                  739


               An official website of the United States government



                                                                                                                                                  MAIN MENU



             Search EPA.gov



           Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
           Registration


           Pesticide Registration Manual: Chapter 20
           - Forms and How to Obtain Them
           In this chapter:
               Forms and how to obtain them                                                                       Registration Manual
               EPA forms                                                                                           Table of Contents
               Pesticide forms overview table
                                                                                                                 Pesticides Registration Manual
                                                                                                                 Home Page <https://epa.gov/pesticide-

           Forms and How to Obtain Them                                                                          registration/pesticide-registration-
                                                                                                                 manual>

           The forms required to be submitted when applying for the registration of a
                                                                                                                 Introduction
           pesticide product, experimental use permit, or distributor registration are
                                                                                                                 <https://epa.gov/pesticide-
           listed below. A table at the end of this chapter describes the
                                                                                                                 registration/pesticide-registration-
           circumstances under which each of the forms should be submitted.
                                                                                                                 manual-introduction>
           Copies of these forms also are available from:
                                                                                                                 How to Register a Pesticide
                                                                                                                 Product – A Guide for Applicants
                                                                                                                 New to the Process
                                                                                                                 <https://epa.gov/pesticide-
                                                                                                                 registration/how-register-pesticide-guide-
                                                                                                                 applicants-new-process>


                                                                                                                   1. Requirements for Pesticide
                                                                                                                      Registration and Registrant
                                                                                                                      Obligations
                                                                                                                     <https://epa.gov/pesticide-
                                                                                                                     registration/pesticide-registration-
                                                                                                                     manual-chapter-1-overview-
                                                                                                                     requirements-pesticide>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                                     1/10
                                                                                                                                                            AR0000676
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 677| US
                                                                                                               ofEPA
                                                                                                                  739


                                                                                                        2. Registering a Pesticide
                                                                                                           Product <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-2-registering-
                                                                                                          pesticide-product>

                                                                                                        3. Additional Considerations for
                                                                                                          Biopesticide Products
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-3-additional-
                                                                                                          considerations>

                                                                                                        4. Additional Considerations for
                                                                                                          Antimicrobial Products
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-4-additional-
                                                                                                          considerations>

                                                                                                        5. Registration Fees
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-5-registration-fees>

                                                                                                        6. Amending a Registered
                                                                                                           Pesticide Product
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-6-amending-
                                                                                                          registered-pesticide>

                                                                                                        7. Notifications and Minor
                                                                                                           Formulation Amendments
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-7-notifications-and-
                                                                                                          minor-formulation>

                                                                                                        8. Inert Ingredients
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-8-inert-ingredients>

                                                                                                        9. Supplemental Distribution of
                                                                                                          a Registered Pesticide
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-9-supplemental-
                                                                                                          distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                          2/10
                                                                                                                                                 AR0000677
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 678| US
                                                                                                               ofEPA
                                                                                                                  739


                                                                                                      10. Data Compensation
                                                                                                          Requirements
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-10-data-
                                                                                                          compensation-requirements>

                                                                                                      11. Tolerance Petitions
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-11-tolerance-
                                                                                                          petitions>

                                                                                                      12. Applying for an Experimental
                                                                                                          Use Permit
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-12-applying-
                                                                                                          experimental-use-permit>

                                                                                                      13. Devices <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-13-devices>

                                                                                                      14. How to Obtain an EPA
                                                                                                          Establishment Number
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-14-how-obtain-epa-
                                                                                                          company-or>

                                                                                                      15. Submitting Data and
                                                                                                          Confidential Business
                                                                                                          Information
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-15-submitting-data-
                                                                                                          and-confidential>

                                                                                                      16. Transfer of Product
                                                                                                          Registrations and Data Rights
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-16-transfer-product-
                                                                                                          registrations-and>

                                                                                                      17. State Regulatory Authority
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-17-state-regulatory-
                                                                                                          authority>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                          3/10
                                                                                                                                                 AR0000678
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 679| US
                                                                                                               ofEPA
                                                                                                                  739


                                                                                                      18. Other Federal or State Agency
                                                                                                          Requirements
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-18-other-federal-or-
                                                                                                          state-agency>

                                                                                                      19. How to Obtain Publications
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-19-how-obtain-
                                                                                                          publications>

                                                                                                      20. Forms and How to Obtain
                                                                                                          Them
                                                                                                      21. Directions for Submitting
                                                                                                          Applications and Contacting
                                                                                                          EPA <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-chapter-21-directions-
                                                                                                          submitting-applications>


                                                                                                      Appendices

                                                                                                          Appendix A: Guidance
                                                                                                          Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-guidance-
                                                                                                          documents>

                                                                                                          Appendix B: Examples of
                                                                                                          Registrant Documents
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-b-examples-
                                                                                                          registrant-documents>

                                                                                                          Appendix C: Pesticide Forms
                                                                                                          Overview Table
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-c-pesticide-forms-
                                                                                                          overview-table>

                                                                                                          Appendix D: Examples of
                                                                                                          Completed Forms
                                                                                                          <https://epa.gov/pesticide-
                                                                                                          registration/pesticide-registration-
                                                                                                          manual-appendix-d-examples-
                                                                                                          completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                          4/10
                                                                                                                                                 AR0000679
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 680| US
                                                                                                               ofEPA
                                                                                                                  739



                U.S. Environmental Protection Agency
                Registration Support Branch, Registration Division (7505P)
                Attn: Registration Forms
                Office of Pesticide Programs
                1200 Pennsylvania Avenue, N.W.
                Washington DC 20460
                or e-mail: Eleanor Thornton (thornton.eleanor@epa.gov)



           For guidance in selecting the appropriate form contact one of OPP's product registration contacts <https://epa.gov/pesticide-
           contacts/contacting-epa-about-regulating-pesticides-issues>.


           Information on completing and submitting registration forms <https://epa.gov/pesticide-registration/completing-and-submitting-
           pesticide-registration-forms>.




           EPA Forms
           These forms are in PDF format, which allows them to be completed (filled out) on-screen, printed, and submitted to
           EPA.


              EPA Form No.                                     Title

              8570-1 <https://epa.gov/pesticide-               Application for Pesticide Registration/Amendment (Note: Do not be
              registration/pesticide-registration-manual-      concerned that the Internet copy of this form may not have a red number
              blank-forms>                                     in the upper right-hand corner. EPA will fill in this number upon receipt.)

              8570-4 <https://epa.gov/pesticide-
              registration/pesticide-registration-manual-      Confidential Statement of Formula
              blank-forms>


              8570-5 <https://epa.gov/pesticide-
              registration/pesticide-registration-manual-      Notice of Supplemental Distribution of a Registered Pesticide Product
              blank-forms>


              8570-17 <https://epa.gov/pesticide-
              registration/pesticide-registration-manual-      Application for an Experimental Use Permit
              blank-forms>


              8570-25 <https://epa.gov/pesticide-
                                                               Application for/Notification of State Registration of a Pesticide To Meet a
              registration/pesticide-registration-manual-
                                                               Special Local Need
              blank-forms>


              8570-27 <https://epa.gov/pesticide-
              registration/pesticide-registration-manual-      Formulator's Exemption Statement
              blank-forms>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                      5/10
                                                                                                                                             AR0000680
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 681| US
                                                                                                               ofEPA
                                                                                                                  739



              EPA Form No.                                    Title

              8570-28 <https://epa.gov/pesticide-
              registration/pesticide-registration-manual-     Certification of Compliance with Data Gap Procedures
              blank-forms>


              8570-32 <https://epa.gov/pesticide-
                                                              Certification of Attempt to Enter into an Agreement with other Registrants
              registration/pesticide-registration-manual-
                                                              for Development of Data
              blank-forms>


              8570-34 <https://epa.gov/pesticide-             Certification with Respect to Citations of Data (as referenced in PR Notice
              registration/pesticide-registration-manual-     98-5 <https://epa.gov/pesticide-registration/prn-98-5-new-forms-certification-respect-
              blank-forms>                                    citation-data>)


              8570-35 <https://epa.gov/pesticide-
                                                              Data Matrix (as referenced in PR Notice 98-5 <https://epa.gov/pesticide-
              registration/pesticide-registration-manual-
                                                              registration/prn-98-5-new-forms-certification-respect-citation-data>)
              blank-forms>


              8570-36 <https://epa.gov/pesticide-             Summary of the Physical/Chemical Properties (as referenced in PR Notice
              registration/pesticide-registration-manual-     98-1 <https://epa.gov/pesticide-registration/prn-98-1-self-certification-product-chemistry-
              blank-forms>                                    data-attachments>)


              8570-37 <https://epa.gov/pesticide-             Self-Certification Statement for the Physical/Chemical Properties (as
              registration/pesticide-registration-manual-     referenced in PR Notice 98-1 <https://epa.gov/pesticide-registration/prn-98-1-self-
              blank-forms>                                    certification-product-chemistry-data-attachments>)



           The following forms may also be required in order to sell or distribute a pesticide product or device in the United States
           and can be obtained from the EPA Regional Office where your company headquarters is located or via links in the
           following list. Foreign establishments should contact the HQ EPA Office of Compliance. See Chapter 21
           <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications> for listing of all addresses.


              EPA Form No.                                                               Title

              3540-1 <https://epa.gov/compliance/epa-form-3540-1-notice-arrival-
                                                                                         Notice of Arrival of Pesticides or Devices
              pesticides-and-devices>


              3540-8 <https://epa.gov/compliance/epa-form-3540-8-application-            Application for Registration of Pesticide-Producing
              registration-pesticide-producing-and-device-producing>                     Establishments and Instructions for Application

                                                                                         Pesticide Report for Pesticide-Producing and Device-
              3540-16 <https://epa.gov/compliance/epa-form-3540-16-pesticide-
                                                                                         Producing Establishments and Instructions for
              report-pesticide-producing-and-device-producing>
                                                                                         Report


           Pesticide Forms Overview Table <https://epa.gov/pesticide-registration/pesticide-registration-manual-appendix-c-pesticide-forms-overview-
           table>


           The Table lists which forms are needed for a registration, a label amendment, a formulation amendment and an
           Experimental Use Permit.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                                     6/10
                                                                                                                                                            AR0000681
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 682| US
                                                                                                               ofEPA
                                                                                                                  739



              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




           Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
           report a problem.

           LAST UPDATED ON JUNE 26, 2023




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                          7/10
                                                                                                                                                AR0000682
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 683| US
                                                                                                               ofEPA
                                                                                                                  739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                 8/10
                                                                                                                        AR0000683
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 684| US
                                                                                                               ofEPA
                                                                                                                  739



           Discover.
           Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

           Budget & Performance <https://epa.gov/planandbudget>

           Contracting <https://epa.gov/contracts>

           EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

           Grants <https://epa.gov/grants>

           No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

           Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

           Privacy <https://epa.gov/privacy>

           Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



           Connect.
           Data.gov        <https://www.data.gov/>

           Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

           Jobs <https://epa.gov/careers>

           Newsroom <https://epa.gov/newsroom>

           Open Government <https://epa.gov/data>

           Regulations.gov            <https://www.regulations.gov/>

           Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

           USA.gov         <https://www.usa.gov/>

           White House           <https://www.whitehouse.gov/>




           Ask.
           Contact EPA <https://epa.gov/home/forms/contact-epa>

           EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

           Hotlines <https://epa.gov/aboutepa/epa-hotlines>

           FOIA Requests <https://epa.gov/foia>

           Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


           Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                                    9/10
                                                                                                                                           AR0000684
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR        Document
                                     Pesticide Registration Manual:57-3
                                                                    Chapter Filed   04/24/24
                                                                            20 - Forms            PageThem
                                                                                       and How to Obtain 685| US
                                                                                                               ofEPA
                                                                                                                  739




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them                10/10
                                                                                                                        AR0000685
8/14/23, 1:41 PM     Case 3:24-cv-01106-CVR             Document
                              Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                        - Directions       04/24/24
                                                                                     for Submitting        Page
                                                                                                    Applications and686   of 739
                                                                                                                     Contacting EPA | US EPA




                An official website of the United States government



                                                                                                                                                   MAIN MENU



             Search EPA.gov



            Pesticide                                        CONTACT US <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration>
            Registration


            Pesticide Registration Manual: Chapter 21
            - Directions for Submitting Applications
            and Contacting EPA
            In this chapter:
                Directions for Submitting Applications and Contacting EPA                                          Registration Manual
                     Where to Send Applications for Product Registrations
                                                                                                                    Table of Contents
                Using the Correct Distribution Code
                     Distribution Codes for OPP Regulatory Divisions                                              Pesticides Registration Manual
                                                                                                                  Home Page <https://epa.gov/pesticide-
                Where to Send Applications for Pesticide and Pesticide Device
                                                                                                                  registration/pesticide-registration-
                Producing Establishments
                                                                                                                  manual>
                Organizational Charts
                Contacting EPA                                                                                    Introduction
                                                                                                                  <https://epa.gov/pesticide-
                                                                                                                  registration/pesticide-registration-
                                                                                                                  manual-introduction>
            Directions for Submitting
                                                                                                                  How to Register a Pesticide
            Applications and Contacting EPA                                                                       Product – A Guide for Applicants

            PLEASE NOTE: An alternative to hard copy deliveries is available for                                  New to the Process
                                                                                                                  <https://epa.gov/pesticide-
            certain types of actions via the Pesticide Submission Portal. The Portal is
                                                                                                                  registration/how-register-pesticide-guide-
            accessed through EPA’s Central Data Exchange (CDX) Network
                                                                                                                  applicants-new-process>
            <https://cdx.epa.gov/> and requires user registration.


            Registrants currently submitting CDs or DVDs using the e-Dossier                                        1. Requirements for Pesticide

            downloadable tool or their own builder tools using EPA’s XML                                              Registration and Registrant
            guidance can use the portal and forego courier delivery costs. Additional                                 Obligations
                                                                                                                      <https://epa.gov/pesticide-
            information, including a user guide and updated XML guidance, is
                                                                                                                      registration/pesticide-registration-
            available on EPA’s Electronic Submission for Pesticide Applications
                                                                                                                      manual-chapter-1-overview-
            <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>
                                                                                                                      requirements-pesticide>
            page.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                                             1/12
                                                                                                                                                             AR0000686
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and687   of 739
                                                                                                                    Contacting EPA | US EPA




            Where to Send Applications for Product                                                         2. Registering a Pesticide
            Registrations                                                                                     Product <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
            Applications for registration, petitions, experimental use permits, etc.,
                                                                                                             manual-chapter-2-registering-
            must be sent to the following address, using the appropriate distribution
                                                                                                             pesticide-product>
            code (see below):
                                                                                                           3. Additional Considerations for
                                                                                                             Biopesticide Products
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-3-additional-
                                                                                                             considerations>

                                                                                                           4. Additional Considerations for
                                                                                                             Antimicrobial Products
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-4-additional-
                                                                                                             considerations>

                                                                                                           5. Registration Fees
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-5-registration-fees>

                                                                                                           6. Amending a Registered
                                                                                                              Pesticide Product
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-6-amending-
                                                                                                             registered-pesticide>

                                                                                                           7. Establishment and Minor
                                                                                                              Formulation Amendments
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-7-notifications-and-
                                                                                                             minor-formulation>

                                                                                                           8. Inert Ingredients
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-8-inert-ingredients>

                                                                                                           9. Supplemental Distribution of
                                                                                                             a Registered Pesticide
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-9-supplemental-
                                                                                                             distribution-registered>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                                    2/12
                                                                                                                                                    AR0000687
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and688   of 739
                                                                                                                    Contacting EPA | US EPA




                                                                                                         10. Data Compensation
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-10-data-
                                                                                                             compensation-requirements>

                                                                                                         11. Tolerance Petitions
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-11-tolerance-
                                                                                                             petitions>

                                                                                                         12. Applying for an Experimental
                                                                                                             Use Permit
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-12-applying-
                                                                                                             experimental-use-permit>

                                                                                                         13. Devices <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-13-devices>

                                                                                                         14. How to Obtain an EPA
                                                                                                             Establishment Number
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-14-how-obtain-epa-
                                                                                                             company-or>

                                                                                                         15. Submitting Data and
                                                                                                             Confidential Business
                                                                                                             Information
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-15-submitting-data-
                                                                                                             and-confidential>

                                                                                                         16. Transfer of Product
                                                                                                             Registrations and Data Rights
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-16-transfer-product-
                                                                                                             registrations-and>

                                                                                                         17. State Regulatory Authority
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-17-state-regulatory-
                                                                                                             authority>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                                    3/12
                                                                                                                                                    AR0000688
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and689   of 739
                                                                                                                    Contacting EPA | US EPA




                                                                                                         18. Other Federal or State Agency
                                                                                                             Requirements
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-18-other-federal-or-
                                                                                                             state-agency>

                                                                                                         19. How to Obtain Publications
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-19-how-obtain-
                                                                                                             publications>

                                                                                                         20. Forms and How to Obtain
                                                                                                             Them <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-chapter-20-forms-and-how-
                                                                                                             obtain-them>

                                                                                                         21. Directions for Submitting
                                                                                                             Applications and Contacting
                                                                                                             EPA

                                                                                                         Appendices

                                                                                                             Appendix A: Guidance
                                                                                                             Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-guidance-
                                                                                                             documents>

                                                                                                             Appendix B: Examples of
                                                                                                             Registrant Documents
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-b-examples-
                                                                                                             registrant-documents>

                                                                                                             Appendix C: Pesticide Forms
                                                                                                             Overview Table
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-c-pesticide-forms-
                                                                                                             overview-table>

                                                                                                             Appendix D: Examples of
                                                                                                             Completed Forms
                                                                                                             <https://epa.gov/pesticide-
                                                                                                             registration/pesticide-registration-
                                                                                                             manual-appendix-d-examples-
                                                                                                             completed-forms-0>




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                                    4/12
                                                                                                                                                    AR0000689
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and690   of 739
                                                                                                                    Contacting EPA | US EPA




                      by U.S. Postal Service Delivery:


                      U.S. Environmental Protection Agency
                      Document Processing Desk (Distribution Code)
                      Office of Pesticide Programs (7504P)
                      1200 Pennsylvania Avenue, N.W.
                      Washington DC 20460-0001


                      or by Personal (hand)/Courier Service Delivery:

                      U.S. Environmental Protection Agency
                      Document Processing Desk (Distribution Code)
                      Office of Pesticide Programs (7504P)
                      1200 Pennsylvania Ave. NW
                      Washington, D.C. 20460




            The Document Processing Desk (DPD) is the point of delivery for all hard copy deliveries addressed to OPP’s regulatory
            divisions. The DPD does not accept deliveries addressed to OPP’s non-regulatory divisions. Hours of operation for the
            DPD are: 8:00 A.M. to 4:00 P.M. Monday through Friday, excluding Federal holidays.

            View directions to One Potomac Yard and security/building access information <https://epa.gov/aboutepa/visiting-epa-
            headquarters#tab-2>.




            Using the Correct Distribution Code
            Using the correct distribution code enables the Agency to process applications more quickly, since the application can
            be quickly identified and routed. Please refer to the list below for a selection of codes to be used in making a
            submission to the Office of Pesticide Programs. Failure to use the appropriate code can lead to delays in processing
            your action.

            Distribution Codes for OPP Regulatory Divisions
            Section 3 ‑ Product Registrations


              Submission Type                                                      Distribution Code

              Application for New Product Registration                             REGFEE

              Non‑Fast Track Amendment to Existing Registration                    REGFEE

              Fast Track Amendment to Existing Registration                        AMEND

              PRIA Fee Waiver Request                                              WAIVER

              Request to Withdraw a Pending Registration Application               WD




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                        5/12
                                                                                                                                    AR0000690
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and691   of 739
                                                                                                                    Contacting EPA | US EPA




              Submission Type                                                      Distribution Code

              Certification of Registration (Gold Seal letter)                     CERT

              Response to PR Notice                                                PRN


            Other Regulatory Submissions


                                                                                                                         Distribution
              Submission Type
                                                                                                                         Code

              Total Release of Fog                                                                                       FOG

              Electronic Data Submission for EDSP                                                                        E-Sub PRD-EDSP

              Unreasonable Adverse Effects Data Report                                                                   6(a)(2)

              Emergency Exemption                                                                                        EMEX

              Experimental Use Permit                                                                                    REGFEE

              Genetically Modified and/or Nonindigenous Microbial Pesticide Pre-EUP Notifications                        BIOTECH

              Minor Use (IR‑4) Petition                                                                                  R4

              Special Local Need Registration                                                                            SLN

              Supplemental (Distributor) Registration                                                                    DIST

              Notifications                                                                                              NOTIF

              Data Submitters List                                                                                       DSL

              Voluntary Cancellation                                                                                     VOLCAN

              Voluntary Use Deletion                                                                                     USEDEL

              Maintenance Fees                                                                                           MFEE

              Reconstruction of Jacket                                                                                   RECON

              Inert Ingredient Actions                                                                                   INERT

              Spray Drift Reduction Technology Program                                                                   SDRTP

              Water Soluble Packaging amendments where mixing directions changes are due to an
                                                                                                                         WSP
              Agency initiated action


            Administrative Actions


              Submission Type                                      Distribution Code

              Request for a Company Number                         NEWCO




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                        6/12
                                                                                                                                        AR0000691
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and692   of 739
                                                                                                                    Contacting EPA | US EPA




              Submission Type                                      Distribution Code

              Company Name, Address or Agent Change                COADR

              Transfer of Companies, Products or Data              XFER


            Data Call‑In Responses (Product Specific)


              Submission Type                                              Distribution Code

              Response to a Data Call‑In                                   DCI‑RD‑PMxx

              Response to a Reregistration Eligibility Document            RED‑RD‑PMxx




                Note: (xx identifies the PM Team number)



            Data Call‑In Responses (Generic)


              Submission Type                                              Distribution Code

              Response to a Data Call‑In                                   DCI‑PRD‑xxx

              Response to a Reregistration Eligibility Document            RED‑PRD‑xxx

              Response to EDSP Data Call-In                                EDSP-PRD-xxx




                Note: (xxx identifies the regulatory case number or chemical name as specified in individual
                OPP instructions)




            Where to Send Applications for Pesticide and
            Pesticide Device Producing Establishments
            Applications for pesticide-producing establishments and reports for pesticide producing establishments should be sent
            to the following:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                        7/12
                                                                                                                                    AR0000692
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and693   of 739
                                                                                                                    Contacting EPA | US EPA




                For Domestic Establishments:

                Applications should be sent to the EPA Regional Office having jurisdiction over the state in
                which the company headquarters is located.

                For Foreign Establishments:

                Foreign companies should submit their application to:

                Michelle Stevenson
                U.S. Environmental Protection Agency
                Agriculture Division (2225A)
                1200 Pennsylvania Avenue, N.W.
                Washington, DC 20460-0001
                Telephone number: (202) 564-2280



            Where to Send Notices of Arrival of Pesticides and Devices
            19 CFR 12.112 (PDF) <https://www.govinfo.gov/content/pkg/cfr-2012-title19-vol1/pdf/cfr-2012-title19-vol1-sec12-112.pdf> (2 pp, 184.54 K)
            requires an importer desiring to import pesticides or devices into the United States to submit EPA Form 3540-1, Notice
            of Arrival of Pesticides and Devices, to the U.S. EPA prior to the arrival of shipment in the United States. The completed
            form should be sent to the appropriate Regional office where the import will be occurring. EPA Regional Offices and the
            states that they cover are listed in the instructions on the form. More information about importing pesticides
            <https://epa.gov/compliance/importing-and-exporting-pesticides-and-devices>.




            Organizational Charts
            Links to the organizational charts for the Office of Chemical Safety and Pollution Prevention (OCSPP), the Office of
            Pesticide Programs (OPP), the Office of Enforcement and Compliance Assurance (OECA), and EPA Regional Offices are
            presented below.



                      OCSPP <https://epa.gov/aboutepa>
                      OPP <https://epa.gov/pesticide-contacts>
                      OECA <https://epa.gov/aboutepa/about-office-enforcement-and-compliance-assurance-oeca>
                      EPA Regions <https://epa.gov/pesticide-contacts/pesticide-contacts-our-regional-offices>




            Contacting EPA
            The following Web pages list individuals to contact for:




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                                 8/12
                                                                                                                                                AR0000693
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and694   of 739
                                                                                                                    Contacting EPA | US EPA




                      Applications, Fees and Registration Information <https://epa.gov/pesticide-contacts/contacting-epa-about-
                      regulating-pesticides-issues>

                      Registration Ombudsman <https://epa.gov/pesticide-contacts/contacting-epa-about-regulating-pesticides-issues>
                      Conventional pesticide products <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-registration-
                      division>

                      Antimicrobial pesticide products <https://epa.gov/pesticide-contacts/contacts-office-pesticide-programs-antimicrobials-
                      division>

                      Biopesticides and Pollution Prevention Division - Branch Chiefs <https://epa.gov/pesticide-
                      contacts/contacts-office-pesticide-programs-biopesticides-and-pollution-prevention>

                      Science Policy and Topics <https://epa.gov/pesticide-contacts/contacting-epa-about-pesticides-science-and-policy-issues>
                      General Topics <https://epa.gov/pesticide-contacts>




              Pesticide Registration Home <https://epa.gov/pesticide-registration>

              About Pesticide Registration <https://epa.gov/pesticide-registration/about-pesticide-registration>

              Electronic Submission of Applications <https://epa.gov/pesticide-registration/electronic-submissions-pesticide-applications>

              Pesticide Registration Manual <https://epa.gov/pesticide-registration/pesticide-registration-manual>

              Fees and Waivers <https://epa.gov/pesticide-registration/pesticide-registration-fees-and-fee-waivers>

              Registration Information by Type of Pesticide <https://epa.gov/pesticide-registration/registration-information-type-pesticide>

              — Antimicrobial Registration <https://epa.gov/pesticide-registration/antimicrobial-pesticide-registration>

              — Biopesticide Registration <https://epa.gov/pesticide-registration/biopesticide-registration>

              — Conventional Registration <https://epa.gov/pesticide-registration/conventional-pesticide-registration>

              — Inert Ingredient Regulation <https://epa.gov/pesticide-registration/inert-ingredients-regulation>

              Requirements and Guidance <https://epa.gov/pesticide-registration/registration-requirements-and-guidance>

              — Data <https://epa.gov/pesticide-registration/data-requirements-pesticide-registration>

              — Forms <https://epa.gov/pesticide-registration/pesticide-registration-manual-chapter-20-forms-and-how-obtain-them>

              — Labeling <https://epa.gov/pesticide-registration/labeling-requirements>




            Contact Us <https://epa.gov/pesticide-registration/forms/contact-us-about-pesticide-registration> to ask a question, provide feedback, or
            report a problem.

            LAST UPDATED ON SEPTEMBER 26, 2022




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                                  9/12
                                                                                                                                                 AR0000694
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and695   of 739
                                                                                                                    Contacting EPA | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                        10/12
                                                                                                                                    AR0000695
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and696   of 739
                                                                                                                    Contacting EPA | US EPA




            Discover.
            Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

            Budget & Performance <https://epa.gov/planandbudget>

            Contracting <https://epa.gov/contracts>

            EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

            Grants <https://epa.gov/grants>

            No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

            Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

            Privacy <https://epa.gov/privacy>

            Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



            Connect.
            Data.gov        <https://www.data.gov/>

            Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

            Jobs <https://epa.gov/careers>

            Newsroom <https://epa.gov/newsroom>

            Open Government <https://epa.gov/data>

            Regulations.gov            <https://www.regulations.gov/>

            Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

            USA.gov         <https://www.usa.gov/>

            White House           <https://www.whitehouse.gov/>




            Ask.
            Contact EPA <https://epa.gov/home/forms/contact-epa>

            EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

            Hotlines <https://epa.gov/aboutepa/epa-hotlines>

            FOIA Requests <https://epa.gov/foia>

            Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


            Follow.




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                           11/12
                                                                                                                                            AR0000696
8/14/23, 1:41 PM    Case 3:24-cv-01106-CVR             Document
                             Pesticide Registration Manual: Chapter 21 57-3      Filed
                                                                       - Directions       04/24/24
                                                                                    for Submitting        Page
                                                                                                   Applications and697   of 739
                                                                                                                    Contacting EPA | US EPA




https://www.epa.gov/pesticide-registration/pesticide-registration-manual-chapter-21-directions-submitting-applications                        12/12
                                                                                                                                    AR0000697
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 698 of 739




                                                 March 6, 2000

                         PESTICIDE REGISTRATION (PR) NOTICE 2000 - 1*

                 NOTICE TO MANUFACTURERS, FORMULATORS, PRODUCERS
                      AND REGISTRANTS OF PESTICIDE PRODUCTS

ATTENTION:               Persons Responsible for Registration of Pesticide Products

SUBJECT:                 Applicability of the Treated Articles Exemption to Antimicrobial Pesticides

         This notice clarifies current EPA policy with respect to the scope of the "treated articles
exemption" in 40 CFR 152.25(a). This exemption covers qualifying treated articles and substances
bearing claims to protect the article or substance itself. EPA does not regard this exemption as including
articles or substances bearing implied or explicit public health claims against human pathogens. This
notice addresses the types of claims which are not permitted for antimicrobial pesticide products exempt
from registration under this provision and gathers together in one place guidance the Agency has offered
in recent years on labeling statements which it believes would or would not be covered under this
provision. This notice also explains the requirement that the pesticide in a treated article be "registered
for such use."

         This notice provides guidance to producers and distributors of pesticide treated articles and
substances, and to producers and distributors of pesticides used as preservatives to protect treated
articles from microbial deterioration.

I.        BACKGROUND

        EPA regulations in 40 CFR 152.25(a) exempt certain treated articles and substances from
regulation under the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) if specific conditions
are met. The specific regulatory language is:

            Section 152.25 Exemptions for pesticides of a character not requiring FIFRA regulation

          "(a) Treated articles or substances. An article or substance treated with, or containing, a pesticide
            to protect the treated article or substance itself (for example, paint treated with a pesticide to
protect


* This version makes corrections to the February 3, 2000 PR Notice 2000-1. Corrections in
bold/italics or editorial deletions were made on pages 3, 4, 7, and 9.




                                                                                                                  AR0000698
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 699 of 739




           the paint coating, or wood products treated to protect the wood against insect or fungus
infestation),
           if the pesticide is registered for such use."

        Known as the "Treated Articles Exemption," section 152.25(a) provides an exemption from all
requirements of FIFRA for qualifying articles or substances treated with, or containing a pesticide, if:

        (1) the incorporated pesticide is registered for use in or on the article or substance, and;
        (2) the sole purpose of the treatment is to protect the article or substance itself.

         The exemption gives two examples of treatments that are intended to protect only the treated
article or substance itself. In the first case, paint is being protected from deterioration of the paint film or
coating. In the second case, wood is being protected from fungus or insect infestations which may
originate on the surface of the wood. Pesticides used in this manner are generally classified as
preservatives. Other pesticides are incorporated into treated articles because of their ability to inhibit
the growth of microorganisms which may cause odors or to inhibit the growth of mold and mildew.
Because of this treatment, it is claimed that a fresher and more pleasing surface can be maintained.

        To qualify for the treated articles exemption, both conditions stated above must be met. If both
are not met, the article or substance does not qualify for the exemption and is subject to regulation under
FIFRA.

          In recent years, the marketplace has experienced a proliferation of products that are treated
with pesticides and bear implied or explicit public health claims for protection against bacteria, fungi and
viruses, as well as specific claims against pathogenic organisms which may cause food poisoning,
infectious diseases or respiratory disorders. Examples of such articles include toothbrushes, denture
cleansers, children’s toys, kitchen accessories such as cutting boards, sponges, mops, shower curtains,
cat litter, vacuum cleaner bags, pillows, mattresses and various types of finished consumer textiles. In
many cases, these products have made public health claims that extend beyond the protection of the
article itself, and thus, they do not qualify for the treated articles exemption.

II.     TYPES OF ANTIMICROBIAL CLAIMS

        A. Public Health Claims

         Because consumers have long associated the following widely used claims and references to
microorganisms harmful to humans with products providing public health protection, EPA considers an
article or substance to make a public health claim if any of the following claims are made either explicitly
or implicitly:

         1. A claim for control of specific microorganisms or classes of microorganisms that are directly
or indirectly infectious or pathogenic to man (or both man and animals). Examples of specific
microorganisms include Mycobacterium tuberculosis, Pseudomonas aeruginosa, E. coli, HIV,




                                                                                                            AR0000699
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 700 of 739




Streptococcus and Staphylococcus aureus.

        2. A claim for the product as a sterilant, disinfectant, virucide or sanitizer, regardless of the site
of use of the product, and regardless of whether specific microorganisms are identified.

        3. A claim of “antibacterial,” “bactericidal,” or “germicidal” activity or references in any
context to activity against germs or human pathogenic organisms implying public health related
protection is made.

        4. A claim for the product as a fungicide against fungi infections or fungi pathogenic to man, or
the product does not clearly indicate it is intended for use against non-public health fungi.

       5. A claim to control the spread of allergens through the inhibition or removal of
microorganisms such as mold or mildew.

        6. A non-specific claim that the product will beneficially impact or affect public health by
pesticidal means at the site of use or in the environment in which applied.

        7. An unqualified claim of “antimicrobial” activity. Refer to Unit IV.C.

        B. Non-Public Health Claims

        EPA considers a product to make a non-public health claim if any of the following applies:

        1. A claim to inhibit the growth of mildew on the surface of a dried paint film or paint coating.


        2. A claim to inhibit microorganisms which may cause spoilage or fouling of the treated article
or substance.

        3. A claim to inhibit offensive odors in the treated article or substance.

        4. EPA considers terms such as “antimicrobial,” “fungistatic,” “mildew-resistant,” and “
preservative,” as being acceptable for exempted treated articles or substances provided that they are
properly, and very clearly, qualified as to their intended non-public health use. Refer to Unit IV.C. Use
of these terms in product names or elsewhere in the labeling in bolder text than accompanying
information may render such qualifications inadequate.

III.    PAST EPA LABELING CLAIMS INTERPRETATIONS

        A. Odor and Mildew-Resistant Properties May Be Claimed

        Over the past twenty-five years the Agency has issued several interpretations concerning the




                                                                                                            AR0000700
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 701 of 739




exemption from FIFRA regulations of certain types of antimicrobial treated article claims associated
with mildew-resistant paint, films and coatings. In the same period, EPA has also issued other
interpretations concerning certain types of odor-resistant antimicrobial treated article claims.

         During this period there has been widespread dissemination and adoption by the antimicrobial
pesticide product community of these EPA interpretations regarding mildew-resistant and odor-resistant
claims under the “treated articles exemption.” Furthermore, the Agency continues to treat these general
types of claims as covered by the term “to protect the treated article or substance itself” because
mitigation of these non-public health related organisms can contribute to the protection of the
appearance and maintenance of the intended useful life of the treated article or substance. Because
during this period, there has also been widespread misinterpretation of EPA’s guidance, the Agency has
developed a representative set of statements designed to clarify its position in this area. Consequently,
if they otherwise qualify for the exemption, properly labeled treated articles and substances bearing
claims such as those described under Unit IV.B. continue to be eligible for the treated articles
exemption.

        B. Product Names May Not Contain Public Health Claims

         The Agency regards trademarked product names of treated articles or substances [or
references to trademarked names of registered pesticides] as potential sources of public health claims
that could render a product ineligible for the “treated articles exemption” just as could other direct or
indirect public health claims on or in a product’s packaging or in its labeling or advertising literature.
The Agency has maintained this position in enforcement actions against pesticide-treated articles, such
as pesticide-treated cutting boards and other items, which bore names suggesting health or other
benefits beyond mere preservation of the treated article itself. In determining the eligibility of a treated
article or substance for the exemption, the Agency will examine the product name, its context, labeling
claims and other related elements on a case-by-case basis

IV.     TREATED ARTICLE LABELING CLAIMS

         Products treated with antimicrobial pesticides with claims such as those described in Section A
below are likely to not be acceptable under the “treated articles exemption” because they imply or
express protection that extends beyond the treated article or substance itself. Products treated with
antimicrobial pesticides registered for such use and which only bear claims for protection of the article
or substance itself such as those described in Section B below are likely to be acceptable and eligible
for the “treated articles exemption”, assuming all other conditions have been met. Section C below
contains examples of appropriate qualifying and prominence statements which have been extracted from
multiple enforcement proceedings dealing with claims that can be made for treated articles without
obtaining registration.

  A.    Examples of Labeling Claims That the Agency is Likely to Consider Unacceptable
        Under the Exemption




                                                                                                           AR0000701
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 702 of 739




          The following examples are not intended to be an all-inclusive listing of unacceptable treated
article labeling claims. If persons are not sure whether their antimicrobial pesticides are covered by the
provisions of this section, the Agency encourages them to request a written opinion from the
Antimicrobials Division at one of the addresses listed under Unit VII.

       These examples represent claims or types of claims for a treated article that would lead to a
requirement to register the article as a pesticide product.

o Antibacterial

o Bactericidal

o Germicidal

o Kills pathogenic bacteria.

o Effective against E. coli and Staphylococcus.

o Reduces the risk of food-borne illness from bacteria.

o Provides a germ-resistant surface.

o Provides a bacteria-resistant surface.

o Surface kills common gram positive and negative bacteria.

o Surface controls both gram positive and negative bacteria.

o Surface minimizes the growth of both gram positive and negative bacteria.

o Reduces risk of cross-contamination from bacteria.

o Controls allergy causing microorganisms.

o Improves indoor air quality through the reduction of microorganisms.

  B.    Examples of Labeling Claims the Agency is Likely to Consider Acceptable Under the
        Exemption

        The following examples are not intended to be an all-inclusive listing of acceptable treated article
labeling claims. If persons are not sure whether their antimicrobial pesticides are covered by the
provisions of this section, the Agency encourages them to request a written opinion from the




                                                                                                        AR0000702
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 703 of 739




Antimicrobials Division at one of the addresses listed under Unit VII.

        1. Mold and Mildew Resistant Claims

o This article has been treated with a fungistatic agent to protect the product from fungal growth.

o Mildew Resistant - treated with a fungistatic agent to protect the paint itself from the growth of
  mildew.

o Mildew Resistant - This paint contains a preservative which inhibits the growth of mildew on         the
surface of this paint film.

o Mildew Resistant - Extends useful life of article by controlling deterioration caused by
mildew.

o Algae Resistant - This article contains a preservative to prevent discoloration by algae.

o A fungistatic agent has been incorporated into the article to make it resistant to stain
caused by mildew.

o Article treated to resist deterioration by mold fungus.

o Article treated to resist deterioration from mildew.

o The fungistatic agent in this article makes it especially useful for resisting deterioration
caused by mildew.

o Dry coating of this paint mildew resistant.

o Dried paint film resists mold fungus.

o Dry enamel coating resists discoloration from mildew.

o Cured sealant is mildew resistant.

o Dried film resists stains by mold.

o A mold or mildew resisting component has been incorporated in this article to make its dry
film mildew resistant.

o Specially formulated to resist mildew growth on the paint film.

o Gives mildew-resistant coating.




                                                                                                        AR0000703
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 704 of 739




o The mildew resistance of this outside house paint film makes it especially useful in high
humidity areas.

o Retards paint film spoilage.

o Resists film attack by mildew.

        2. Odor Resistant Claims

o This product contains an antimicrobial agent to control odors.

o This product contains an antimicrobial agent to prevent microorganisms from degrading the
product.

o Resists Odors - This product has been treated to resist bacterial odors.

o Inhibits the growth of bacterial odors.

o Resists microbial odor development.

o Retards the growth and action of bacterial odors.

o Guards against the growth of odors from microbial causes.

o Guards against degradation from microorganisms.

o Reduces odors from microorganisms.

o Odor-resistant.

o Acts to mitigate the development of odors.

        C. Antimicrobial Qualifying and Prominence Considerations

         EPA does not believe that claims such as “antimicrobial,” “fungistatic,” “mildew-resistant,” and “
preservative” or related terms are consistent with the intent of 40 CFR 152.25(a) if they are: (1) part of
the name of the product; or (2) not properly qualified as to their intended non-public health use.
Examples of permissible statements would include, but not be limited to: “Antimicrobial properties built
in to protect the product” and “Provides mildew-resistant dried paint coating.” All references to the
pesticidal properties and the required qualifying statements should be located together, should be
printed in type of the same size, style, and color, and should be given equal prominence. Moreover,
such references should not be given any greater prominence than any other described product feature.




                                                                                                        AR0000704
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 705 of 739




         In addition, treated articles or substances intended for microbial odor control or article
preservation in areas where food-borne or disease-causing organisms may be present have the potential
to create the impression that the article provides protection against food-borne and disease-causing
bacteria. This potential should be addressed through very careful narrowing and qualification of the
non-public health claims. A complete assurance that there is no misleading impression could be
achieved through use of language like: “This product does not protect users or others against
food-borne (or disease-causing) bacteria. Always clean this product thoroughly after each use.” or “
This product does not protect users or others against bacteria, viruses, germs or other disease
organisms. Always clean this product thoroughly after each use.”

V.      ADDITIONAL INFORMATION

        A. Registration of Treated Articles Making Public Health Claims

         Treated articles or substances with implied or explicit public health claims or which otherwise
fail to qualify for exemption are pesticide products subject to all requirements of FIFRA. They may not
be legally sold or distributed unless they are registered with EPA or unless such claims have been
removed and the article otherwise qualifies for exemption. To obtain a registration, an applicant must
submit acceptable data supporting all the proposed claims under which the product will be marketed
and meet all other applicable registration requirements. Refer to 40 CFR Parts 152, 156, and 158.

         The Agency currently has no established protocols for the development of data to support
public health claims on treated articles for which registration is sought. Acceptable protocols for
product testing reflecting actual use conditions need to be submitted and approved by EPA prior to the
development of these data. As part of this review process, the Agency will require that these protocols
be independently validated for accuracy and reproducibility. Antimicrobial treated articles requiring
registration must meet the same efficacy performance standards that are required for corresponding
antimicrobial public health products. For any questions regarding the need for registration or the
registration requirements for specific treated articles or substances, contact the Antimicrobials Division
at the address listed under Unit VII.

        B. The Term “Registered for Such Use”

         In order to qualify for the treated articles exemption, 40 CFR 152.25(a) specifies that an article
or substance must be treated with, or contain, a pesticide to protect the treated article or substance
itself. The terms “treated with, or containing, a pesticide” and “if the pesticide is registered for such use”
in 40 CFR 152.25(a) refer to actual incorporation or adding of an antimicrobial pesticide specifically
registered for that use. To qualify under the “treated articles exemption” (assuming the article or
substance otherwise qualifies), it is not sufficient that the antimicrobial pesticidal substance in the treated
article merely resemble or have activity like a registered pesticide. The antimicrobial pesticide in the
treated article or substance must be present in the article or substance solely as the result of




                                                                                                           AR0000705
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 706 of 739




incorporating an antimicrobial pesticide which is registered for treating the specific article or substance.

         Because of the wide range of exposure scenarios associated with the use of treated articles
such as cutting boards and conveyor belts used in the food processing industry, and the wide range of
household consumer uses, the Agency has interpreted 40 CFR 152.25(a) to mean that the registration
and the labeling of the antimicrobial pesticide intended for incorporation into the treated article or
substance needs to include specific listings of the articles or substances that may be treated.
Accordingly, in registration actions over the past several years, EPA has not permitted broad general
use patterns, such as the preservation of hard surfaces, plastics, adhesives or coatings for the registered
pesticide. Instead, it has required that specific listings such as toys, kitchen accessories and clothing
articles be reflected in the product registration and labeling as a prerequisite for incorporation of the
pesticide into an article or substance under 40 CFR 152.25(a).

VI.    EFFECTIVE DATE AND PROCEDURES

         In order to remain in compliance with FIFRA and avoid regulatory or enforcement
consequences as described here and below, it is the Agency’s position that producers, distributors, and
any other person selling or distributing pesticide treated articles and substances not in compliance with
the Agency’s interpretation of 40 CFR 152.25(a), as clarified by this notice, need to bring their
products, labeling and packaging, any collateral literature, advertisements or statements made or
distributed in association with the marketing (sale or distribution) of the treated article or substance
into full compliance with the regulation as clarified by this notice as soon as possible.

         Because some of the elements of this interpretation may not have been well understood by the
regulated community, the Agency expects that some companies may need up to a year in order to
comply with those elements that have been clarified by this notice. Therefore, for the present, the
Agency is following the approach set forth in the April 17, 1998 Federal Register (63 FR 19256).
Although non-public health claims for microbial odor control and mold and mildew claims associated
with deterioration, discoloration, and staining were not specifically mentioned in the April 17, 1998
Federal Register, such claims are also consistent with the enforcement approach set forth in that
notice, as well as with this guidance, provided that they are properly, and very clearly, qualified as to
their non-public health use. The Agency will begin to rely on the guidance provided in this Notice on
February 11, 2001. Products in commerce after that date which make statements, etc. that do not
reflect the clarification offered in this notice would risk being considered out of compliance with
40 CFR 152.25(a).

VII.    ADDRESSES

By mail:
Antimicrobials Division (7510C)
U. S. Environmental Protection Agency
1200 Pennsylvania Avenue, NW
Washington, D. C. 20460-0001




                                                                                                          AR0000706
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 707 of 739




By courier:
Antimicrobials Division (7510C)
U. S. Environmental Protection Agency
Room 300, Crystal Mall 2
1921 Jefferson Davis Highway
Arlington, VA 22202-4501

VIII. FOR FURTHER INFORMATION CONTACT

       If you have questions about the content of this notice, you should contact Debra Edwards at
(703) 308-7891.




                                                      /signed/

                                               Marcia E. Mulkey, Director
                                               Office of Pesticide Programs




                                                                                                     AR0000707
8/14/23, 9:35 PM    Case 3:24-cv-01106-CVR Document    57-3 Treated
                                            Consumer Products  Filed   04/24/24
                                                                    with               Page
                                                                         Pesticides | US EPA 708 of 739




               An official website of the United States government



                                                                                                                                           MAIN MENU



             Search EPA.gov



           Related Topics: Pesticides                        CONTACT US <https://epa.gov/safepestcontrol/forms/contact-us-about-pesticides-and-consumers>
           and Consumers
           <https://epa.gov/safepestcontrol>




           Consumer Products Treated with
           Pesticides
           On this page:
              Background
               Tips to control microorganisms
               How products treated with pesticides are regulated
               Enforcement
               For more information




           Background                                                                                               Tips to Control
                                                                                                                    Microorganisms
           The presence of microorganisms (bacteria, fungi and viruses) in or on
           various items has become of increased concern to consumers. In response
           to these concerns, many products (e.g., cutting boards, kitchen sponges,                            These are some common sense
           cat litter, toothbrushes and juvenile toys) are being treated with                                  steps you can take to reduce the
           antimicrobial pesticides. Antimicrobial pesticides are substances or                                spread of microorganisms. For
           mixtures of substances used to destroy or limit the growth of                                       example:
           microorganisms, whether bacteria, viruses, or fungi -- many of which are
           harmful -- on inanimate objects and surfaces.                                                           Wash hands frequently and
                                                                                                                   thoroughly, especially if you
                                                                                                                   think you have been in
                                                                                                                   contact with harmful
           How Products Treated with                                                                               microorganisms.

           Pesticides are Regulated                                                                                Wash surfaces that contact
                                                                                                                   food (e.g., utensils, cutting
           The term "treated articles" typically refers to items that are treated with                             boards, counter tops) with a
           an antimicrobial pesticide to protect the item itself. The pesticides are                               detergent and warm water.
           usually added to the products (e.g., plastic shower curtain) during                                     Wash children's hands and
           manufacture; however, they may be added after manufacture but before                                    toys regularly.
           use of the article (e.g., incorporation of a pesticide in paint).




https://www.epa.gov/safepestcontrol/consumer-products-treated-pesticides                                                                                    1/6
                                                                                                                                                    AR0000708
8/14/23, 9:35 PM   Case 3:24-cv-01106-CVR Document    57-3 Treated
                                           Consumer Products  Filed   04/24/24
                                                                   with               Page
                                                                        Pesticides | US EPA 709 of 739




           These treated products often claim to protect the public against harmful microorganisms. These fall into a regulatory
           category of implied or explicit public health pesticidal claims.

           The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) requires the registration of any substance intended to
           prevent, destroy, repel, or mitigate pests. However, the Code of Federal Regulations prescribes the conditions under
           which an exemption from registration is allowed for treated articles or substances. It allows an exemption for:



                An article or a substance treated with or containing a pesticide to protect the article or
                substance itself (for example, paint treated with a pesticide to protect the paint coating, or
                wood products treated to protect the wood against insects or fungus infestation), if the
                pesticide is registered for such use.



           EPA grants the treated articles exemption for a non-public-health use of a pesticide that is intended to protect only the
           treated article or substance itself. Consumers may distinguish such products by the absence of the EPA's pesticide
           registration number of the registered pesticide used for protecting the article itself. An EPA registration number would
           be found on the product label. It should be noted that the EPA registration number would also be absent from an illegal
           product that should be registered. Products that qualify for this exemption must display appropriate clarifying
           statements. For example:

               Claims for treated articles or substances are limited to statements like, "This product contains a preservative (e.g.,
               fungicide or insecticide) built in or applied as a coating only to protect the product. An example of an acceptable
               label statement would be:

                   Antimicrobial properties are built in to inhibit the growth of bacteria that may affect this product. The
                   antimicrobial properties do not protect users or others against bacteria, viruses, germs, or other disease
                   organisms. Always clean and wash this product thoroughly before and after each use.
               Treated kitchen accessories or other food contact articles such as a cutting board, high chair or conveyor belt that
               may come in contact with food should carry an appropriately qualifying statement, such as:

                   This product does not protect users or others against food-borne bacteria. Always clean and wash this product
                   thoroughly before and after each use.
               Treated products such as bed pans and potty seats that involve potential human contact with bodily fluids or
               excrement (e.g., blood, vomit, saliva, urine or feces) should carry an appropriate qualifying statement, such as:

                   This product does not protect users against bacteria, viruses or other disease organisms. Always clean and wash
                   this product thoroughly before and after each use.
               In addition, it should be noted that:
                   The treated articles exemption is available only for the protection of the product and not for public health uses.
                   The preservative claim and qualifying statement on the product packaging (type, size, color) must be given no
                   greater prominence than other described product features.

           Articles or products that claim to be effective in controlling microorganisms such as E. coli, S. aureus, Salmonella sp. or
           Streptococcus sp. must be registered as a pesticide. These articles or products make a public health claim that goes
           beyond the preservation of the treated article itself. EPA requires the submission of chemical data in support of the
           public health labeling claims and patterns of use of the product.




https://www.epa.gov/safepestcontrol/consumer-products-treated-pesticides                                                                   2/6
                                                                                                                                     AR0000709
8/14/23, 9:35 PM   Case 3:24-cv-01106-CVR Document    57-3 Treated
                                           Consumer Products  Filed   04/24/24
                                                                   with               Page
                                                                        Pesticides | US EPA 710 of 739




           If EPA determines that such a product is exempt from registration as a pesticide, the product may claim only that it
           contains a pesticidal preservative to protect the product itself. These pesticides are known as materials preservatives.
           In these cases, the pesticide is registered for the intended use, and the sole purpose of treatment is to protect the
           product itself. These pesticides are widely used in the manufacture of textiles, plastics, paper, adhesives and coatings.

           Any pesticide-treated product that is not registered by EPA must not make public health claims, such as "fights germs,
           provides antibacterial protection, or controls fungus." EPA's policy is predicated on the fact that no scientific evidence
           exists that these products prevent the spread of germs and harmful microorganisms in humans.


           Enforcement
           FIFRA does not allow companies to make public health pesticidal claims for any product distributed or sold unless the
           product has been approved and registered by EPA or is covered by an exemption from registration. EPA is concerned
           about these claims because, in addition to being unlawful, they are also potentially harmful to the public (e.g., if people
           believe that a product has a self-sanitizing quality, they may become lax in their hygiene practices). Practicing standard
           hygiene practices has been proven to prevent the transmission of harmful microorganisms and, therefore, reduce the
           possibility of public health risk.

           In response to the marketing of unregistered pesticide-treated products with illegal, unsubstantiated public health
           claims, EPA has acted quickly and decisively to prohibit sales of such products. It will continue to be the Agency's policy
           to take action against companies that make such illegal claims.

           Report a suspected violation <https://echo.epa.gov/report-environmental-violations>.



           For More Information
               View or obtain an electronic copy of the guidance document (PR 2000-1) <https://epa.gov/pesticide-registration/prn-2000-1-
               applicability-treated-articles-exemption-antimicrobial-pesticides>.

               Questions On Pesticides? National Pesticide Information Center (NPIC)              <http://npic.orst.edu/> 1-800-858-7378




           Contact Us <https://epa.gov/safepestcontrol/forms/contact-us-about-pesticides-and-consumers> to ask a question, provide feedback, or
           report a problem.

           LAST UPDATED ON JUNE 6, 2023




https://www.epa.gov/safepestcontrol/consumer-products-treated-pesticides                                                                          3/6
                                                                                                                                           AR0000710
8/14/23, 9:35 PM   Case 3:24-cv-01106-CVR Document    57-3 Treated
                                           Consumer Products  Filed   04/24/24
                                                                   with               Page
                                                                        Pesticides | US EPA 711 of 739




https://www.epa.gov/safepestcontrol/consumer-products-treated-pesticides                                       4/6
                                                                                                         AR0000711
8/14/23, 9:35 PM   Case 3:24-cv-01106-CVR Document    57-3 Treated
                                           Consumer Products  Filed   04/24/24
                                                                   with               Page
                                                                        Pesticides | US EPA 712 of 739




           Discover.
           Accessibility Statement <https://epa.gov/accessibility/epa-accessibility-statement>

           Budget & Performance <https://epa.gov/planandbudget>

           Contracting <https://epa.gov/contracts>

           EPA www Web Snapshot <https://epa.gov/utilities/wwwepagov-snapshots>

           Grants <https://epa.gov/grants>

           No FEAR Act Data <https://epa.gov/ocr/whistleblower-protections-epa-and-how-they-relate-non-disclosure-agreements-signed-epa>

           Plain Writing <https://epa.gov/web-policies-and-procedures/plain-writing>

           Privacy <https://epa.gov/privacy>

           Privacy and Security Notice <https://epa.gov/privacy/privacy-and-security-notice>



           Connect.
           Data.gov        <https://www.data.gov/>

           Inspector General <https://epa.gov/office-inspector-general/about-epas-office-inspector-general>

           Jobs <https://epa.gov/careers>

           Newsroom <https://epa.gov/newsroom>

           Open Government <https://epa.gov/data>

           Regulations.gov            <https://www.regulations.gov/>

           Subscribe <https://epa.gov/newsroom/email-subscriptions-epa-news-releases>

           USA.gov         <https://www.usa.gov/>

           White House           <https://www.whitehouse.gov/>




           Ask.
           Contact EPA <https://epa.gov/home/forms/contact-epa>

           EPA Disclaimers <https://epa.gov/web-policies-and-procedures/epa-disclaimers>

           Hotlines <https://epa.gov/aboutepa/epa-hotlines>

           FOIA Requests <https://epa.gov/foia>

           Frequent Questions <https://epa.gov/home/frequent-questions-specific-epa-programstopics>


           Follow.




https://www.epa.gov/safepestcontrol/consumer-products-treated-pesticides                                                                         5/6
                                                                                                                                           AR0000712
8/14/23, 9:35 PM   Case 3:24-cv-01106-CVR Document    57-3 Treated
                                           Consumer Products  Filed   04/24/24
                                                                   with               Page
                                                                        Pesticides | US EPA 713 of 739




https://www.epa.gov/safepestcontrol/consumer-products-treated-pesticides                                       6/6
                                                                                                         AR0000713
           Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 714 of 739
,cED S1.
                       UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                                  WASHINGTON, D.C. 20460


                                                      NOV 172022
                                                                                                           THE ADMINISTRATOR




MEMORANDUM

SUBJECT:            1-142. Civil Judicial and Administrative Enforcement Actions, Inspections and
                    Information Gathering Outside of Geographic Regional Boundaries

FROM:               Michael S. Regan

TO:                 Assistant Administrator for Enforcement and Compliance Assurance
                    Regional Administrators
                    Regional Counsels
                    Regional Enforcement and Compliance Assurance Division Directors

1-142. Civil Judicial and Administrative Enforcement Actions, Inspections and
Information Gathering Outside of Geographic Regional Boundaries (1200 TN 725)

A steadily increasing number of civil judicial and administrative enforcement actions address,
or. could address, noncompliance beyond a single regional boundary and involve multiple
agency enforcement organizations. U.S. Environmental Protection Agency delegations of
enforcement authority to regions, however, generally follow regional boundaries and
organizational lines.1

I hereby delegate to the regional administrators the authority to conduct inspections, gather
information and engage in civil judicial and administrative enforcement actions outside of the
geographic boundaries of their regions on behalf of other regions, as detailed below. In addition,
I delegate the authorities to issue a final order, ratify a consent agreement and serve as a
presiding officer, as detailed below. These broader authorities may be exercised only if a multi                      -




regional enforcement coordination agreement is in place between the affected regions and,
unless waived, the Office of Enforcement and Compliance Assurance.

I
    Introduction to the 1200 Delegations Manual, paragraph 2.8 (Jan. 1,2021), available at https://intranet.epa.gov/ohr/
     rmpolicy/ads/drn/intro.htm. There are, however, exceptions to the general rule. Id. at para. 3.3 ("The
     Administrator may choose, however, to delegate authority to one regional administrator to exercise on behalf of
     all regions due to the delegated region's expertise or to further efficiencies when an action involves more than one
     region."); see, e.g., Delegation 2-107 (designating Region 7 as a Center of Excellence for biosolids enforcement);
     Delegations 7-177 and 12-44 (designating Region 5 as a Center of Excellence for ozone -depleting substances and
     asbestos hazards enforcement); and Delegation 12-45 (delegating all regional administrators the authority to
     enforce titles I, IV and VI of the Toxic Substances Control Act outside of the boundaries of their respective
     regions).




                                                                                                                          AR0000714
         Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 715 of 739



This delegation does not apply to matters that otherwise would be commenced at EPA
headquarters. This delegation does not limit or rescind any authority granted under the
delegations referenced in section 1 to any delegatee, including regional administrators or the
assistant administrator for OECA, nor does it change any of the limitations in those
delegations.2 This delegation does add other limitations that apply to the cross -regional exercise
of those authorities.

1. AUTHORITY.

      a. To carry out the authorities delegated to the regional administrators in the following
         delegations for conducting inspections, infonnation gathering, and administrative
         and civil judicial enforcement outside the geographic boundaries of the region, as set
         forth below:

           i. Delegations 2-13, 2 -14-A2 -222-5i,                                    and 2-89, pursuant to the
              Clean Water Act          \                                \
                                                          .-
                                                                  .'.         \\
           ii. Delegations 3-1-A, 3-i -I and 3-1-C, pursuant to the Marine Protection, Research
               and Sanctuaries Act;

           iii. Delegations 5-8, 5-9, 5-14, 5-15-A, 5-15-B, and 5-17-A, pursuant to the Federal
                Insecticide, Fungicide and Rodenticide Act;

           iv. Delegations 7-6-A, 7-6-B, 7-6-C, 7-8, 7-16, 7-17, 7-19 (except as relates to Section
               211), 7-22-A, 7-33, 7-41-A, 7-41-B, 7-42, 7-43, 7-44, 7-45, 7-46, and 7-47,
               pursuant to the Clean Air Act;

          v.    Delegations 8-8, 8-9-A, 8-9-B, 8-9-C, 8-10-A, 8-20, 8-24, 8-25, 8-26, 8-27, 8-3 1, 8-
                32, 8-33, 8-37, 8-39, 8-49, and 8-57, pursuant to the Solid Waste Disposal Act;

          vi. Delegations 9-7-A, 9-7-B, 9-12, 9-16-A, 9-28, 9-32, 9-33-A, 9-33-B, 9-34, 9-35, 9-
              47, and 9-62, pursuant to the Safe Drinking Water Act;

          vii. Delegations 12-i, 12-2-A, 12-2-B, 12-2-C, 12-2-D, and 12-3-A, pursuant to the
               Toxic Substances Control Act;

          viii. Delegations 14-6, 14-12, 14-31, and 14-32, pursuant to the Comprehensive
                Environmental Response, Compensation and Liability Act;

          ix. Delegation 2 1-5, pursuant to the Act to Prevent Pollution from Ships;

          x.    Delegations 22-1, 22-3-A, 22-3-B, and 22-3-C, pursuant to the Emergency Planning
                and Community Right -to -Know Act; and


2
    In addition, nothing in this delegation affects the delegation of authority related to areas of Indian country that
cross regional boundaries: Delegation 1-140.

                                                              2


                                                                                                                          AR0000715
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 716 of 739




        xi. Delegations 37-2, 37-3, 37-4, 37-5, and 37-6, pursuant to the Mercury Containing
            and Rechargeable Battery Management Act.

   b. To the extent not already covered by any delegation referenced above, to issue a final
      order following payment of a proposed penalty as provided under 40 C.F.R. § 22.18(a)
      or to ratify a consent agreement under 40 C.F.R. § 22.18(b).

   c. To the extent not already covered by any delegation referenced above, to serve as a
      presiding officer in any proceeding under subpart I of 40 C.F.R. part 22 or until the
      respondent files an answer in any proceeding under of 40 C.F.R. part 22 to which
      subpart I does not apply, as provided in 40 C.F.R. § 22.4(b).

2. TO WHOM DELEGATED. Regional administrators, for matters occurring outside of the
   geographic boundaries of their respective regions.

3. LIMITATIONS.

   a.    The authorities in section 1 may not be exercised unless a written multiregional
         enforcement coordination agreement is entered into between the region(s) exercising
         the delegated authority, the region(s) on whose behalf the acting region is exercising
         the delegated authority and, unless waived, the Office of Enforcement and Compliance
         Assurance. Any region may elect to not participate in the multiregional action. Such
         agreements may be case -specific or may cover a set of investigations or cases. The
         initial multiregional enforcement coordination agreement for each matter or set of
         matters must be signed by managers no lower than the directors of Enforcement and
         Compliance Assurance divisions in Regions 1-10, or their designees, and by the
         division director(s) in OECA, or their designee(s). The multiregional enforcement
         coordination agreement also must be signed by the regional counsel, or designee, for
         each participating region if there is a regional counsel role in the underlying
         delegation(s).

   b.    In the event of inconsistencies between the multiregional enforcement coordination
         agreement and any delegation referenced in section 1 .a, the delegation will govern.

   c.    In the event of inconsistencies between this delegation and any delegation referenced
         in section 1 .a, the delegation listed in section l.a will govern.

   d.    The CERCLA authorities in section 1 .a.viii are limited to the enforcement of release
         reporting requirements pursuant to Section 103 of CERCLA.

4. REDELEGATION AUTHORITY.

   a.    The authorities in section l.a may be redelegated to the same level otherwise allowed
         by the relevant delegations referenced in section l.a.




                                                                                                  AR0000716
       Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 717 of 739



  b. Regional administrators may redelegate the authority in section 1 .b to one or more
      regional judicial officers.

  c. Regional administrators shall redelegate the authority in section 1 .c to one or more
     regional judicial officers.

  d. An official who redelegates an authority retains the right to exercise or withdraw the
     authority. Redelegated authority may be exercised by any official in the chain of
     command, including deputies, to the official to whom it has been specifically
     redelegated. This section 4.d shall not apply to the authority in section 1 .c.

5. ADDITIONAL REFERENCES.

  a. Sections 308, 309 and 311 of the CWA.

  b. Sections 104B and 105 of the MPRSA.

  c. Sections 8, 9, 14 and 16 of FIFRA.

  d. Sections 113, 114, 205, 208, 213 and 307 of the CAA.

  e. Sections 3007, 3008, 9005 and 9006 of the SWDA.

  f. Sections 1414, 1423 and 1445 of the SDWA.

  g. Sections 11 and 16 of TSCA.

  h. Section 109 of CERCLA.

  i.    33 U.S.C. § 1902 and 1907 of the APPS.

  j.    Section 325 of EPCRA.

  k. Section 5 of the MCRBMA.

  1. "Nationally Significant Issues List Updates," Rosemarie Kelley (Oct. 28, 2020) (or
     most recent version of the NSI memorandum).

  m. "Procedures for Determining Level of Federal Facility Enforcement Office Involvement
     in Nationally Significant Federal Facility Enforcement and Compliance Issues," Karin
     Leff (December 21, 2021) (or most recent version of this memo).




                                                                                              AR0000717
            Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 718 of 739
                      THE ADMINISTRATOR OF THE ENVIRONMENTAL PROTECTION AGENCY
                                                                 WASHINGTON, D.C. 20460




                                                                   JAN 1 8 2017


MEMORANDUM

S UBJECT:         Delegation of Authority 5-12, Issuance of Stop Sale, Use or Removal Orders

FROM:             Gina McCarthy

TO:               Assistant Administrator
                  Office of Enforcement and Compliance Assurance

                 Regional Administrators

5-12. Issuance of Stop Sale, Use or Removal Orders (1200 TN 350 5-12)

1. AUTHORITY. To issue stop sale, use or removal orders as provided in the Federal Insecticide,
   Fungicide and Rodenticide Act, including Section 13( a), whenever there is reason to believe on the
   basis of inspection or tests that a pesticide or device is in violation of any provision of FIFRA or that
   such pesticide or device has been or is intended to be distributed or sold in violation of any such
   provisions or when the registration of the pesticide has been cancelled by a final order or has been
   suspended.

2. TO WHOM DELEGATED. Regional administrators and the assistant administrator for the Office
   of Enforcement and Compliance Assurance.

3. LIMITATIONS.
     a. Regional administrators may exercise the above authority against persons in their region.
        Regional administrators may also exercise the above authority against persons in another
        region after consulting with that region.
     b. The regional administrator must obtain the advance concurrence of the regional counsel, or
        equivalent, on the legal sufficiency of the action before exercising this authority. The
        regional counsel, or equivalent, may waive concurrence in writing.
     c. The assistant administrator for OECA must notify any affected regional administrators before
        exercising any of the above authorities, however, a regional administrator may waive this
        notification requirement.

4. REDELEGATION AUTHORITY.

        a. This authority may be redelegated to the section chief level, or equivalent, and no further.
        b. An official who redelegates an authority retains the right to exercise or withdraw the
           authority. Redelegated authority may be exercised by any official in the chain of command to
           the official to whom it has been specifically redelegated.




                                                                                                                                        AR0000718
 This paper is printed with vegetable-oil-based inks and is 1 OD-percent postconsumer recycled material. chlorine-free-processed and recyclable.
      Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 719 of 739


5. ADDITIONAL REFERENCES.

    a. Chapter 5 delegation titled "Civil Judicial Enforcement Actions" and "Emergency
       Temporary Restraining Orders" for seizure and related authority under Sections 13(b)-(d).




                                                                                            AR0000719
        Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 720 of 739

     DELEGATIONS MANUAL                                                                     R8.1200

             FEDERAL INSECTICIDE, FUNGICIDE, AND RODENTICIDE ACT
                       5-12. Issuance of Stop Sale, Use or Removal Orders


1.      AUTHORITY. To issue stop sale, use, or removal orders as provided in the Federal
        Insecticide, Fungicide and Rodenticide Act, including Section 13(a), whenever there is
        reason to believe on the basis of inspection or tests that a pesticide or device is in
        violation of any provision of FIFRA, or that such pesticide or device has been or is
        intended to be distributed or sold in violation of any such provisions, or when the
        registration of the pesticide has been cancelled by a final order or has been suspended.
2.      TO WHOM DELEGATED. Director, Enforcement and Compliance Assurance
        Division.

3.      LIMITATIONS.
        a. This authority may be exercised against persons in Region 8. This authority also may
           be exercised against persons in another region after the official with the delegated
           authority or designee consults with that region.
        b. Any person exercising this authority must obtain the advance concurrence of the
           regional counsel or designee on the legal sufficiency of the action before exercising
           this authority. The RC may waive concurrence in writing.

4.      REDELEGATION AUTHORITY.
        a. This authority may be redelegated to the section chief level, or equivalent, and no
           further.
        b. An official who redelegates an authority retains the right .to exercise or withdraw the
           authority. Redelegated authority may be exercised by any official in the chain of
           command down to the official to whom it has been specifically redelegated.
5.      ADDITIONAL REFERENCES. Chapter 5 delegations entitled "Civil Judicial
        Enforcement Actions" and "Emergency Temporary Restraining Orders" for seizure and
        related authority under Sections 13(6)-( d).


                                                                             APR 2 9 2019
        Debra H. Thomas                                               Date
        Acting Regional Administrator




                                                                                                     AR0000720
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 721 of 739

DELEGATIONS MANUAL                                                             RS.1200.ECAD
          FEDERAL INSECTICIDE, FUNGICIDE, AND RODENTICIDE ACT

                    5-12. Issuance of Stop Sale, Use or Removal Orders


1.   AUTHORITY. To issue stop sale, use, or removal orders as provided in the Federal
     Insecticide, Fungicide and Rodenticide Act, including Section 13(a), whenever there is
     reason to believe on the basis of inspection or tests that a pesticide or device is in
     violation of any provision of FIFRA, or that such pesticide or device has been or is
     intended to be distributed or sold in violation of any such provisions, or when the
     registration of the pesticide has been cancelled by a final order or has been suspended.

2.   TO WHOM DELEGATED. Chief, Air Enforcement Branch.
3.   LIMITATIONS.
     a. This authority may be exercised against persons in Region 8. This authority also may
        be exercised against persons in another region after the official with the delegated
        authority or designee consults with that region.

     b. Any person exercising this authority must obtain the advance concurrence of the
        regional counsel or designee on the legal sufficiency of the action before exercising
        this authority. The RC may waive concurrence in writing.

4.   REDELEGATION AUTHORITY.
     a. This authority may be redelegated to the section chief level, or equivalent, and no
        further.

     b. An official who redelegates an authority retains the right to exercise or withdraw the
        authority. Redelegated authority may be exercised by any official in the chain of
        command down to the official to whom it has been specifically redelegated.

5.   ADDITIONAL REFERENCES. Chapter 5 delegations entitled "Civil Judicial
     Enforcement Actions" and "Emergency Temporary Restraining Orders" for seizure and
     related authority under Sections 13(b)-(d).




                     n, Director                                          Date
                    d Compliance Assurance Division




                                                                                                 AR0000721
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 722 of 739

DELEGATIONS MANUAL                                                               RS.1200.ECAD

          FEDERAL INSECTICIDE, FUNGICIDE, AND RODENTICIDE ACT

                    5-12. Issuance of Stop Sale, Use or Removal Orders


1.   AUTHORITY. To issue stop sale, use, or removal orders as provided in the Federal
     Insecticide, Fungicide and Rodenticide Act, including Section 13(a), whenever there is
     reason to believe on the basis of inspection or tests that a pesticide or device is in
     violation of any provision of FIFRA, or that such pesticide or device has been or is
     intended to be distributed or sold in violation of any such provisions, or when the
     registration of the pesticide has been cancelled by a final order or has been suspended.

2.   TO WHOM DELEGATED. Chief, Pesticides and Toxics Enforcement Section.
3.   LIMITATIONS.
     a. This authority may be exercised against persons in Region 8. This authority also may
        be exercised against persons in another region after the official with the delegated
        authority or designee consults with that region.

     b. Any person exercising this authority must obtain the advance concurrence of the
        regional counsel or designee on the legal sufficiency of the action before exercising
        this authority. The RC may waive concurrence in writing.

4.   REDELEGA TION AUTHORITY.
     a. This authority may not be redelegated.

     b. An official who redelegates an authority retains the right to exercise or withdraw the
        authority. Redelegated authority may be exercised by any official in the chain of
        command down to the official to whom it has been specifically redelegated.

5.   ADDITIONAL REFERENCES. Chapter 5 delegations entitled "Civil Judicial
     Enforcement Actions" and "Emergency Temporary Restraining Orders" for seizure and
     related authority under Sections 13(b)-(d).




     Scott Patefield, Chief                                               Date
     Air Enforcement Branch




                                                                                                 AR0000722
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 723 of 739


From:             Henderson, Dedre
To:               Tokarz, Christine
Subject:          RE: Annual Revenue -when you get a moment!
Date:             Wednesday, February 8, 2023 11:35:39 AM


This is somewhat better.

Todd Emerson
todd@james-enterprise.com

James Enterprises, Inc.
Westlaw
Annual sales: $1,423,622- estimated (last update 7/30/2022)
Employees: 33




From: Tokarz, Christine <tokarz.christine@epa.gov>
Sent: Wednesday, February 8, 2023 8:18 AM
To: Henderson, Dedre <Henderson.Dedre@epa.gov>
Subject: RE: Annual Revenue -when you get a moment!

Dedre,

Since Berkey is a DBA, is it possible to see if James Enterprise has a different annual revenue?

The Berkey one seems low based on the evidence I collected at the inspection.


James Enterprise, Inc.
https://james-enterprise.com/

Thanks!

Chris


From: Henderson, Dedre <Henderson.Dedre@epa.gov>
Sent: Tuesday, February 7, 2023 11:05 AM
To: Tokarz, Christine <tokarz.christine@epa.gov>
Subject: RE: Annual Revenue -when you get a moment!

Chris- here is the sales information:

Berkey Filters, Inc.



                                                                                                   AR0000723
    Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 724 of 739


Reference Solutions/Experian

Sales: $730,000 ( updated September 2022)
Employees: 11


From: Tokarz, Christine <tokarz.christine@epa.gov>
Sent: Monday, February 6, 2023 5:46 PM
To: Henderson, Dedre <Henderson.Dedre@epa.gov>
Subject: Annual Revenue -when you get a moment!

Hi Dedre!

If you get a chance can you get annual revenue for these folks?

Berkey Filters, Inc. (James Enterprise, Inc.)
1976 Aspen Circle
Pueblo, CO 81006
800-350-4170
www.berkeyfilters.com

James Enterprise, Inc.
https://james-enterprise.com/

Todd Emerson- Founder & CEO of James Enterprises, Inc.
todd@berkeyfilters.com

Renee Emerson
renee@berkeyfilters.com



Thanks!
Chris




                                                                          AR0000724
4/6/23, 9:57 AM                                    Case 3:24-cv-01106-CVR Document 57-3    Filed
                                                                                   Corporation      04/24/24 Page 725 of 739
                                                                                               Information


                                                                                                               PRDOS     Contact Us   Help    English


          https://rceweb.estado.pr.gov/en/entity-information/?c=365440-1511

         CORPORATION INFORMATION

         Corporation Information


         BERKEY INTERNATIONAL LLC


                      Details                                       Articles              Annual Filings                       Certificates



         General Information

         Name                                          BERKEY INTERNATIONAL LLC

         Register No.                                  365440

         Status                                        ACTIVE

         Class                                         Limited Liability Company

         Type                                          For Profit

         Jurisdiction                                  Domestic

         Formation Date                                19-Nov-2015 04:10 PM

         Effective Date                                19-Nov-2015 04:10 PM

         Expiration Date                               Does not expire




         Main Office

         Street Address                                Royal Industrial Park, B-2, 869 Km 1.5, Barrio Palmas, CATANO, PR, 00962

         Mailing Address                               PO Box 2206, OROCOVIS, PR, 00720




         Resident Agent

         Name                                          Shepherd , James B (Individual)

         Street Address                                Royal Industrial Park, B-2, 869 Km 1.5, Barrio Palmas, CATANO, PR, 00962

         Mailing Address                               PO Box 2206, OROCOVIS, PR, 00720




https://rceweb.estado.pr.gov/en/entity-information/?c=365440-1511                                                                                         1/3
                                                                                                                                                    AR0000725
4/6/23, 9:57 AM                                    Case 3:24-cv-01106-CVR Document 57-3    Filed
                                                                                   Corporation      04/24/24 Page 726 of 739
                                                                                               Information


         Authorized Persons


            Name                        Street Address                                                           Mailing Address




            Velez Silva,                235 Federico Costa St., Suite 310, Parque Las Americas I, SAN            PO Box 11917, San Juan, SAN JUAN, PR,
            Xenia                       JUAN, PR, 00918                                                          00922




         Administrators


            Name                                      Title         Address




            Shepherd , James B.                       President     Royal Industrial Park, B-2, 869 Km 1.5, Barrio Palmas, CATANO, PR, 00962

                                                                    PO Box 2206, OROCOVIS, PR, 00720




         Purpose

         Todos los propósitos lícitos bajo la ley




                                                                              Return to Search Results



         Actions


      Pay 2022 Annual Due




      Pay Prior Year(s) Annual Due




      Order Certificate of Good Standing




      Order Certificate of Existence




https://rceweb.estado.pr.gov/en/entity-information/?c=365440-1511                                                                                          2/3
                                                                                                                                                     AR0000726
4/6/23, 9:57 AM                                    Case 3:24-cv-01106-CVR Document 57-3    Filed
                                                                                   Corporation      04/24/24 Page 727 of 739
                                                                                               Information

      Amend Entity




      Cancel Entity




      Convert




      Merge / Consolidate




      Manage Access




      Payment Plan




                                                                    Navigation                                 Resources


                                                                    Entrepreneurs                              Regulation No. 8688

                                                                    Foreigners                                 Act No. 55-2020

         Government of Puerto Rico                                  Travelers                                  Act No. 164-2009
         Department of State
                                                                    Examination Boards                         Puerto Rico's Treasury Department
         of Puerto Rico



         Contact


         San José with San Francisco Street
         San Juan, Puerto Rico

         PO Box 9023271
         San Juan, Puerto Rico 00902-3271




         © 2021 - 2022 Department of State. Government of Puerto Rico
                                                                                                                         Terms of Use     Privacy Policy




https://rceweb.estado.pr.gov/en/entity-information/?c=365440-1511                                                                                          3/3
                                                                                                                                                   AR0000727
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 728 of 739


From:             Henderson, Dedre
To:               Tokarz, Christine
Subject:          Berkey International, LLC
Date:             Monday, April 10, 2023 2:35:33 PM


Hi Chris-

Berkey International, LLC was registered in Puerto Rico in 2015.

James B. Shepherd- President (current registered agent)
PO Box 2206
OROCOVIS, PR 00720
(719) 221-5351
js-tw@startmail.com


Pérez Riera, Jose R. – (Previous registered agent until January 22, 2021)
2000 Kennedy Ave., Suite 315
SAN JUAN, PR, 00920
(787) 777-1919
jpr@predco.net


Westlaw:
Modeled (last updated 4/30/2021)
Annual sales $79,288 (??)
Employees: 6

Xenia Vélez- Attorney (from 2015 registration, may still be his attorney)
xv@mcvpr.com
Phone: 787-250-2620
https://www.mcvpr.com/attorneys

Katherine Betancourt -Paralegal (from 2021 amended registration)
https://sanchezlrv.com/

Registration history:
https://prcorpfiling.estado.pr.gov/CorpInfo/CorporationFilings.aspx



NYT Wirecutter - negative review of Berkey Water Filters, 2022
https://www.nytimes.com/wirecutter/reviews/big-berkey-water-filter-system/


This is more information that I thought would be available.

Dedre




                                                                             AR0000728
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 729 of 739



Dedre Henderson, Librarian
Arctic Slope Mission Services
U.S. EPA Region 8 Technical Library
1595 Wynkoop Street, 8MSD/IMB | Denver, CO 80202-1129
w. 303-312-6745 | henderson.dedre@epa.gov

Library hours: 8:00-4:00, M-TR

Tell us how we're doing - rate our customer service!
https://forms.office.com/g/NmQEzE1mj2




From: Tokarz, Christine <tokarz.christine@epa.gov>
Sent: Thursday, April 6, 2023 9:51 AM
To: Henderson, Dedre <Henderson.Dedre@epa.gov>
Subject: Whoops one more

Hi Again!

I am assisting Region 2 with a Stop Sale Order for a location in Puerto Rico. If you are interested in
the reading one of the 5 SSUROS that Region 8 issued for the filter manufacturers in our Region see
attached .

And now I am drafting the one for Region 2, at their request.

Since we send some of these documents and communications by email- I was wondering if you
could get some background on this company, and most especially some contacts?

Thanks a million- talk about a wide variety of company investigations this week! Haha!

Berkey International
Royal Industrial Park, B-2
869 Km 1.5, Barrio Palmas
Catano, Puerto Rico 00962

Not sure if this site is helpful, but just in case: https://www.berkeywater.com/authorized-
international-dealers/


Christine Tokarz
FIFRA Inspector
EPA, Region 8
tokarz.christine@epa.gov




                                                                                                         AR0000729
     Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 730 of 739


O:303-312-6147
C:518-416-8965
Tips for FIFRA Imports: https://www.cbp.gov/document/publications/ace-tips-filing-epa-pesticides
File a Tip or Complaint to EPA: https://echo.epa.gov/report-environmental-violations
Confidential: This transmission may contain deliberative, attorney-client, attorney work product or otherwise privileged
material. Do not release under FOIA without appropriate review. If you have received this message in error, please delete it
from your machine and all storage media, whether electronic or hard copy.




                                                                                                                               AR0000730
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 731 of 739




                                                                      AR0000731
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 732 of 739




                                                                      AR0000732
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 733 of 739




                                                                      AR0000733
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 734 of 739




                                                                      AR0000734
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 735 of 739




             AR0000735-AR0000738
                       Contains CBI


                    Berkey International, LLC v. EPA
                     Case No. 3:24-cv-01106-CVR
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 736 of 739




             AR0000739-AR0000741
                       Contains CBI


                    Berkey International, LLC v. EPA
                     Case No. 3:24-cv-01106-CVR
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 737 of 739




             AR0000742-AR0000745
                       Contains CBI


                    Berkey International, LLC v. EPA
                     Case No. 3:24-cv-01106-CVR
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 738 of 739




             AR0000746-AR0000747
                       Contains CBI


                    Berkey International, LLC v. EPA
                     Case No. 3:24-cv-01106-CVR
Case 3:24-cv-01106-CVR Document 57-3 Filed 04/24/24 Page 739 of 739




             AR0000748-AR0001007
                       Contains CBI


                    Berkey International, LLC v. EPA
                     Case No. 3:24-cv-01106-CVR
